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                              Exhibit B

                          Barr Certification
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                        §
In re:                                                  §        Chapter 11
                                                        §
FIELDWOOD ENERGY LLC, et al.,                           §        Case No. 20-33948 (MI)
                                                        §
                   Debtors.1                            §        (Jointly Administered)
                                                        §

              CERTIFICATION OF MATTHEW S. BARR IN SUPPORT OF
      SECOND INTERIM FEE APPLICATION OF WEIL, GOTSHAL & MANGES LLP,
        AS ATTORNEYS FOR THE DEBTORS, FOR INTERIM ALLOWANCE OF
           COMPENSATION FOR PROFESSIONAL SERVICES RENDERED
          AND REIMBURSEMENT OF ACTUAL AND NECESSARY EXPENSES
            INCURRED NOVEMBER 1, 2020 THROUGH JANUARY 31, 2021

          I, Matthew S. Barr, hereby certify that:

                    1.       I am a Partner of the firm, Weil, Gotshal & Manges LLP (“Weil”), with

    responsibility for the chapter 11 cases of Fieldwood Energy LLC and its debtor affiliates, as

    debtors and debtors in possession in the above-captioned chapter 11 cases (collectively, the

    “Debtors”) in the above-captioned chapter 11 cases.

                    2.       This certification (“Certification”) is made in connection with Weil’s fee

    application, dated April 30, 2021 (the “Application”), 2 for interim compensation and

    reimbursement of expenses for the period commencing November 1, 2020 through January 31,

    2021 (the “Compensation Period”). I have reviewed the Application and hereby certify that the


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778);
      Fieldwood Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489);
      Fieldwood SD Offshore LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM
      Shelf LLC (8107); Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP
      LLC (1971); Galveston Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’
      primary mailing address is 2000 W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.
2
      Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to such terms in the
      Application.
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Application complies with the applicable provisions of the Bankruptcy Code, Bankruptcy Rules,

Bankruptcy Local Rules, and Fee Guidelines.

               3.      Weil discussed its rates, fees, and budget with the Debtors during the

chapter 11 cases. The budget prepared in connection with Weil’s representation of the Debtors

in the chapter 11 cases and a summary of the staffing plan are attached to the Application as

Exhibit G and Exhibit H, respectively. Weil seeks fees that are less than the budgeted amounts.

               4.      In accordance with the Fee Guidelines, Weil responds to the questions

identified therein as follows:

              Question 1:        Did Weil agree to any variations from, or alternatives to, Weil's
                                 standard or customary billing rates, fees or terms for services
                                 pertaining to this engagement that were provided during the
                                 Compensation Period? If so, please explain.

              Answer:            No.

              Question 2:        If the fees sought in the Application as compared to the fees
                                 budgeted for the time period covered by the Application are higher
                                 by 10% or more, did Weil discuss the reasons for the variation with
                                 the client?

              Answer:            The fees sought in the Application are less than the budgeted fees.

              Question 3:        Have any of the professionals included in the Application varied
                                 their hourly rate based on geographic location of the bankruptcy
                                 case?

              Answer:            No.

              Question 4:        Does the Application include time or fees related to reviewing or
                                 revising time records or preparing, reviewing or revising invoices?
                                 If so, please quantify by hours and fees.

              Answer:            Yes. The total time expended for such matters during the
                                 Compensation Period is included within Task Code 024.

              Question 5:        Does the Application include time or fees for reviewing time records
                                 to redact any privileged or other confidential information? If so,
                                 please quantify hours and fees.

              Answer:            Yes. The total time expended for such matters during the


                                                   2
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                            Compensation Period is included within Task Code 024.

              Question 6:   Does the Application include any rate increases since Weil’s
                            retention in these cases? If so, did the client review and approve
                            those rate increases in advance? Did the client agree when retaining
                            the law firm to accept all future rate increases?

              Answer:       Yes, Weil’s rates increased on January 1, 2021. Fieldwood, the US
                            Trustee, and the Creditors Committee were notified of the rate
                            increase on September 18, 2020. In addition, the Engagement Letter
                            provides that Weil periodically adjusts its billing rates.

Dated:   April 30, 2021
         Short Hills, New Jersey



                                           /s/ Matthew S. Barr
                                           Matthew S. Barr
                                           Partner
                                           Weil, Gotshal & Manges LLP




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                               Exhibit C

                      Schedule of Professional Fees
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                                    COMPENSATION BY PROFESSIONAL
                         NOVEMBER 1, 2020 THROUGH AND INCLUDING JANUARY 31, 2021

The attorneys who rendered professional services in these chapter 11 cases during the Compensation Period are:


                                                                                          TOTAL
NAME OF PROFESSIONAL:                                          YEAR         HOURLY        HOURS          TOTAL
PARTNERS AND COUNSEL            POSITION   DEPARTMENT        ADMITTED        RATE         BILLED      COMPENSATION
Perez, Alfredo R.                Partner    Restructuring       1980         $1,595.00     100.20        $159,819.00
Perez, Alfredo R.                Partner    Restructuring       1980         $1,500.00     105.30        $157,950.00
Goldring, Stuart J.              Partner         Tax            1984         $1,795.00     11.80          $21,181.00
Goldring, Stuart J.              Partner         Tax            1984         $1,695.00     28.20          $47,799.00
Ballack, Karen N.                Partner      Corporate         1987         $1,495.00      4.70           $7,026.50
Moore, Rodney L.                 Partner      Corporate         1987         $1,495.00     100.80        $150,696.00
Moore, Rodney L.                 Partner      Corporate         1987         $1,425.00     178.20        $253,935.00
Adams, Frank R.                  Partner      Corporate         1994         $1,525.00      1.60           $2,440.00
Genender, Paul R.                Partner      Litigation        1994         $1,350.00     43.40          $58,590.00
Kronman, Ariel                   Partner      Corporate         1994         $1,300.00      2.70           $3,510.00
Kronman, Ariel                   Partner      Corporate         1994         $1,250.00      6.80           $8,500.00
Barr, Matthew S.                 Partner    Restructuring       1997         $1,795.00     75.50         $122,687.50
Barr, Matthew S.                 Partner    Restructuring       1997         $1,625.00     80.70         $144,856.50
Malonson, Jeffery Karl           Partner      Corporate         1998         $1,400.00     16.50          $23,100.00
Marcus, Courtney S.              Partner      Corporate         1998         $1,450.00     64.10          $92,945.00
Marcus, Courtney S.              Partner      Corporate         1998         $1,375.00     30.90          $42,487.50
Heyliger, Adelaja K.             Partner      Corporate         1998         $1,175.00      1.20           $1,410.00
Mastando III, John P.            Partner      Litigation        2000         $1,350.00      5.10           $6,885.00
Mastando III, John P.            Partner      Litigation        2000         $1,250.00     23.70          $29,625.00
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                                                                                    TOTAL
NAME OF PROFESSIONAL:                                          YEAR     HOURLY      HOURS         TOTAL
PARTNERS AND COUNSEL             POSITION   DEPARTMENT       ADMITTED    RATE       BILLED     COMPENSATION
Rahman, Faiza N.                  Partner     Corporate        2006     $1,275.00    14.40       $18,360.00
Rahman, Faiza N.                  Partner     Corporate        2006     $1,175.00    47.30       $55,577.50
Budovalcev-Nicholas, Daniel R.    Partner        Tax           2007     $1,395.00    10.50       $14,647.50
Tripp, Zachary D.                 Partner     Litigation       2007     $1,175.00     8.10        $9,517.50
Macke, Jonathan J.                Partner        Tax           2009     $1,295.00    14.30       $18,518.50
Macke, Jonathan J.                Partner        Tax           2009     $1,200.00    59.50       $71,400.00
Liou, Jessica                     Partner    Restructuring     2010     $1,325.00   346.30       $406,902.50
Liou, Jessica                     Partner    Restructuring     2010     $1,175.00   185.70       $246,052.50
Peca, Samuel C.                   Partner     Corporate        2011     $1,225.00    83.70       $102,532.50
Peca, Samuel C.                   Partner     Corporate        2011     $1,125.00    98.80       $111,150.00
Margolis, Steven M.               Counsel        Tax           1993     $1,225.00    46.00        $56,350.0
Margolis, Steven M.               Counsel        Tax           1993     $1,125.00    30.60       $34,425.00
Goslin, Thomas D.                 Counsel     Corporate        2003     $1,175.00     2.50        $2,937.50
Goslin, Thomas D.                 Counsel     Corporate        2003     $1,100.00     2.90        $3,190.00
Brusser, Vadim M.                 Counsel     Litigation       2004     $1,100.00     1.70        $1,870.00
Greer, Olivia J.                  Counsel     Corporate        2013     $1,150.00     1.00        $1,150.00
Swenson, Robert M.                Counsel     Litigation       2013     $1,150.00    28.00       $32,200.00
Swenson, Robert M.                Counsel     Litigation       2013     $1,100.00    83.30       $91,630.00
Delaney, Scott Michael            Counsel     Corporate        2018     $1,150.00    76.90       $88,435.00
Total Partners and Counsel:                                                         2,022.90    $2,702,289.00
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      NAME OF                                                                         TOTAL
    PROFESSIONAL:                                                YEAR     HOURLY      HOURS        TOTAL
     ASSOCIATES                  POSITION     DEPARTMENT       ADMITTED    RATE       BILLED    COMPENSATION
Smith, Leslie S.                  Associate     Corporate        1995     $1,100.00    101.30     $111,430.00
Smith, Leslie S.                  Associate     Corporate        1995     $1,050.00    18.80       $19,740.00
Friedman, Julie T.                Associate    Restructuring     2003      $650.00     11.70       $7,605.00
Friedman, Julie T.                Associate    Restructuring     2003      $625.00     17.40       $10,875.00
Fliman, Ariel                     Associate     Corporate        2009     $1,075.00     2.40       $2,580.00
Fliman, Ariel                     Associate     Corporate        2009     $1,010.00     2.20       $2,222.00
Choi, Erin Marie                  Associate     Litigation       2011     $1,100.00    140.60     $154,660.00
Choi, Erin Marie                  Associate     Litigation       2011     $1,050.00    31.60       $33,180.00
Gonzalez, Luis                    Associate     Corporate        2014     $1,100.00     4.80       $5,280.00
Carlson, Clifford W.              Associate    Restructuring     2014     $1,100.00    255.40     $280,940.00
Carlson, Clifford W.              Associate    Restructuring     2014     $1,050.00    429.70     $451,185.00
Conley, Brendan C.                Associate     Corporate        2014     $1,100.00    51.30       $56,430.00
Conley, Brendan C.                Associate     Corporate        2014     $1,050.00    36.10       $37,905.00
Bailey, Edgar Scott               Associate     Corporate        2014     $1,040.00     1.70       $1,768.00
Bailey, Edgar Scott               Associate     Corporate        2014      $930.00      2.10       $1,953.00
Greene, Anthony L.                Associate    Restructuring     2014     $1,040.00    143.20     $148,928.00
Greene, Anthony L.                Associate    Restructuring     2014     $980.00      164.90     $161,602.00
Martin, Robert Crawford           Associate     Corporate        2015     $1,075.00    44.70       $48,052.50
Martin, Robert Crawford           Associate     Corporate        2015     $1,010.00    83.70       $84,537.00
Marzocca, Anthony P.              Associate    Restructuring     2015      $985.00     66.00       $65,010.00
Marzocca, Anthony P.              Associate    Restructuring     2015      $930.00     331.60     $308,388.00
Abraham, Melissa S.               Associate     Corporate        2016     $1,075.00     5.20       $5,590.00
Abraham, Melissa S.               Associate     Corporate        2016     $1,010.00     8.30       $8,383.00
Edwards, Laura Elaine             Associate     Corporate        2016     $1,010.00     2.60       $2,626.00
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      NAME OF                                                                         TOTAL
    PROFESSIONAL:                                                YEAR     HOURLY      HOURS        TOTAL
     ASSOCIATES                  POSITION     DEPARTMENT       ADMITTED    RATE       BILLED    COMPENSATION
Tippett, Matthew                  Associate        Tax           2016     $1,075.00    45.40       $48,805.00
Tippett, Matthew                  Associate        Tax           2016     $1,010.00    126.10     $127,361.00
Bonhamgregory, Veronica
                                  Associate     Corporate        2016     $1,040.00    35.40       $36,816.00
Gayle
Bonhamgregory, Veronica
                                  Associate     Corporate        2016      $980.00     16.40       $16,072.00
Gayle
Miller, Ronald Lee                Associate     Litigation       2016     $1,040.00    35.00       $36,400.00
Miller, Ronald Lee                Associate     Litigation       2016     $980.00       7.80       $7,644.00
Rutherford, Jake Ryan             Associate     Litigation       2016     $1,040.00     3.40       $3,536.00
Rutherford, Jake Ryan             Associate     Litigation       2016     $980.00       1.10       $1,078.00
Hong, Jessun                      Associate        Tax           2017      $985.00     21.40       $21,079.00
Hong, Jessun                      Associate        Tax           2017      $930.00     64.90       $60,357.00
Moore, Nathaniel                  Associate     Corporate        2017      $930.00      4.10       $3,813.00
Moore, Preston Kirk               Associate     Corporate        2017      $930.00      1.80       $1,674.00
Delaney, Scott Michael            Associate     Corporate        2018     $1,050.00    37.30       $39,165.00
Hufendick, Jason                  Associate    Restructuring     2018     $985.00      31.70       $31,224.50
Hufendick, Jason                  Associate    Restructuring     2018     $930.00      127.60     $118,668.00
Chung, Steven                     Associate     Corporate        2018      $930.00     15.50       $14,415.00
Simmons, Kevin Michael            Associate     Litigation       2018     $895.00      65.50       $58,622.50
Simmons, Kevin Michael            Associate     Litigation       2018     $845.00      12.40       $10,478.00
James, Hillarie R.                Associate    Restructuring     2018      $895.00     107.10      $95,854.50
James, Hillarie R.                Associate    Restructuring     2018      $845.00     227.80     $192,491.00
Tahiliani, Radhika                Associate        Tax           2019      $985.00     20.00       $19,700.00
Tahiliani, Radhika                Associate        Tax           2019      $930.00      8.40       $7,812.00
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      NAME OF                                                                        TOTAL
    PROFESSIONAL:                                                YEAR     HOURLY     HOURS         TOTAL
     ASSOCIATES                 POSITION     DEPARTMENT        ADMITTED    RATE      BILLED     COMPENSATION
Brogan, Aaron Joseph             Associate      Litigation       2019     $845.00      9.60        $8,112.00
Ahmad, Harris                    Associate      Corporate        2019      $895.00     2.10        $1,879.50
George, Jason                    Associate     Restructuring     2019      $770.00    144.40      $111,188.00
George, Jason                    Associate     Restructuring     2019      $730.00    237.60      $173,448.00
Riles, Richard Roy               Associate      Corporate        2019      $730.00     2.30        $1,679.00
Sierra, Tristan M.               Associate     Restructuring     2019      $770.00    197.60      $152,152.00
Sierra, Tristan M.               Associate     Restructuring     2019      $730.00    288.70      $210,751.00
Vinson, Elizabeth Blaine         Associate      Corporate        2019      $895.00    10.10        $9,039.50
Stracar, Nicolle                 Associate      Corporate        2020      $730.00     6.00        $4,380.00
Whitelaw, Alexander              Associate      Litigation       2020     $770.00     67.00        $51,590.00
Whitelaw, Alexander              Associate      Litigation       2020      $730.00    40.40        $29,492.00
Smith, Samantha Nicole           Associate      Litigation       2020     $630.00     16.60        $10,458.00
Hosch, Patrick B.                Associate      Corporate         *        $630.00     5.20        $3,276.00
Hosch, Patrick B.                Associate      Corporate         *        $595.00     9.40        $5,593.00
Wheeler, Emma                    Associate     Restructuring      *       $630.00     135.60       $85,428.00
Wheeler, Emma                    Associate     Restructuring      *       $595.00     131.70       $78,361.50
Total Associates:                                                                    4,277.70     $3,900,762.50
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The paraprofessionals and other non-legal staff who rendered professional services in these chapter 11 cases during the Compensation
Period are:

                      NAME OF
                 PARAPROFESSIONALS                                                            TOTAL
                   AND OTHER NON-                                                  HOURLY     HOURS       TOTAL
                    LEGAL STAFF                POSITION           DEPARTMENT‡       RATE      BILLED   COMPENSATION
                 Lee, Kathleen Anne              Paralegal         Restructuring   $460.00     1.50        $690.00
                 Lee, Kathleen Anne              Paralegal         Restructuring   $435.00     2.90       $1,261.50
                 Fabsik, Paul                    Paralegal         Restructuring   $405.00     7.80       $3,159.00
                 Fabsik, Paul                    Paralegal         Restructuring   $390.00     11.60      $4,524.00
                 Morris, Sharron                 Paralegal          Litigation     $405.00     10.40      $4,212.00
                 Morris, Sharron                 Paralegal          Litigation     $390.00     1.90        $741.00
                 Olvera, Rene A.                 Paralegal         Restructuring    $405.00    38.40      $15,552.00
                 Olvera, Rene A.                 Paralegal         Restructuring    $370.00    41.40      $15,318.00
                 Gilchrist, Roy W.               Paralegal          Litigation     $400.00     2.60       $1,040.00
                 Roland, Dana                    Paralegal          Corporate       $390.00    1.50        $585.00
                 Jewett, Laura               Litigation Support        LSS          $390.00    15.90      $6,201.00
                 Jewett, Laura               Litigation Support        LSS          $375.00    4.30       $1,612.50
                 Ting, Lara                  Litigation Support        LSS          $390.00    2.00        $780.00
                 Ting, Lara                  Litigation Support        LSS          $375.00    7.60       $2,850.00
                 Nudelman, Peter             Litigation Support        LSS         $375.00     1.10        $412.50
                 Robin, Artur                Litigation Support        LSS          $375.00    5.70       $2,137.50
                 Bogota, Alejandro           Litigation Support        LSS          $360.00    1.50        $540.00
                 Bogota, Alejandro           Litigation Support        LSS          $345.00    3.00       $1,035.00
                 Chavez, Miguel              Litigation Support        LSS          $360.00    2.00        $720.00


‡
    LSS – Litigation Support Services
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     NAME OF
PARAPROFESSIONALS                                                              TOTAL
  AND OTHER NON-                                                    HOURLY     HOURS        TOTAL
   LEGAL STAFF                  POSITION           DEPARTMENT‡       RATE      BILLED    COMPENSATION
Chavez, Miguel                Litigation Support        LSS          $345.00     2.50        $862.50
Mo, Suihua                    Litigation Support        LSS          $360.00     6.50       $2,340.00
Mo, Suihua                    Litigation Support        LSS          $345.00     4.00       $1,380.00
Jalomo, Chris                     Paralegal          Litigation     $320.00     13.10       $4,192.00
Jalomo, Chris                     Paralegal          Litigation     $290.00     23.00       $6,670.00
Thomas, April M.                  Paralegal          Corporate       $295.00     4.40       $1,298.00
Altman-Desole, Jacob              Paralegal         Restructuring   $260.00      4.00       $1,040.00
Altman-Desole, Jacob              Paralegal         Restructuring   $250.00      4.50       $1,125.00
Pal, Himansu                      Paralegal         Restructuring   $260.00      2.00        $520.00
Pal, Himansu                      Paralegal         Restructuring   $250.00      3.90        $975.00
Kleissler, Matthew J.             Paralegal         Restructuring    $250.00     9.40       $2,350.00
Total Paraprofessionals and
                                                                                240.40      $86,123.50
Other Non-Legal Staff:
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 The total fees for the Compensation Period are:

             PROFESSIONALS                    BLENDED RATE   TOTAL HOURS      TOTAL
                                                               BILLED      COMPENSATION
TOTALS:
Partners and Counsel                            $1,335.85      2,022.90     $2,702,289.00

Associates                                       $911.88       4,277.70     $3,900,762.50
Paraprofessionals and Other Non-Legal Staff      $358.25        240.40       $86,123.50

Blended Attorney Rate                           $1,048.00
Blended Rate for All Timekeepers                $1,022.65
Total Fees Incurred                                            6,541.00     $6,689,175.00
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                             COMPENSATION BY PROJECT CATEGORY
                           NOVEMBER 1, 2020 THROUGH JANUARY 31, 2021
TASK
                                      DESCRIPTION                          HOURS       AMOUNT
CODE
 001      Administrative Expense Claims (excluding 503(b))                  24.90      $19,178.50
 002      Adversary Proceedings                                             27.50      $31,867.00
 003      Assets Acquisitions/ Dispositions/ 363 Matters                    12.80      $13,191.50
 004      Automatic Stay                                                   526.60     $488,914.50
 005      Bar Date and Claims Matters                                      243.40     $248,941.00
 006      Case Administration (WIP and Calendar)                           207.00     $188,250.50
 007      Chapter 11 Plan/ Confirmation/ Implementation/ Plan Supplement   1,201.10   $1,274,609.00
 008      Corporate Governance/ Securities/Equity Matters                  166.10     $183,920.50
 009      Customer/ Vendor Matters and Reclamation/ 503(b)(9) Claims        77.40      $88,401.50
 010      DIP Financing/ Cash Collateral/ Cash Management                   33.80      $34,556.00
 011      Disclosure Statement/ Solicitation/ Voting                       741.80     $719,348.00
 012      Employee Matters                                                  47.50      $52,498.00
 013      Exclusivity                                                      134.80     $126,931.50
 014      Executory Contracts/ Leases/ Real Property/ Other 365 Matters    269.80     $277,572.50
 015      General Case Strategy (Including Team and Client Calls)          409.90     $465,433.00
 016      Hearing and Court Matters                                        127.20     $108,056.00
 017      Hedges and Related Matters                                        16.60      $17,061.00
 018      Insurance, Surety Bond, & Letters of Credit Matters              488.40     $401,918.00
 019      Non-Bankruptcy Litigation                                         47.10      $43,115.00
 021      Regulatory / Decommissioning / Environmental Matters              38.10      $50,973.00
 022      Retention / Fee Applications: OCPs                                12.10      $10,023.00
 023      Retention / Fee Applications: Non-Weil Professionals              66.90      $55,175.50
 024      Retention / Fee Applications: Weil                               104.30      $85,247.00
 025      Royalty/ JIB Matters                                             106.60      $97,744.00
 026      Secured Creditor Issues / Meetings / Communications              606.40     $700,759.00
 027      Tax Matters                                                      349.20     $395,453.50
 028      Unsecured Creditors/ Meetings / Communications                    32.00      $37,605.00
 029      U.S. Trustee / MORs/ Schedules & SOFAs/ 2015.3 Report             29.10      $26,137.50
 031      Apache Definitive Documentation                                  390.20     $443,561.50
 032      Plugging & Abandonment Liabilities                                2.40       $2,733.00
Total:                                                                     6,541.00   $6,689,175.00
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                              Exhibit D

                             Time Records
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                  SUMMARY OF PRIOR MONTHLY FEE STATEMENTS


                                  First Interim Fee Application


                                Total Compensation and Expenses
                     Period                                        Total Amount Paid to Date
 Date Served                      Incurred for Period Covered
                    Covered
                                    Fees            Expenses          Fees         Expenses
                   08/03/2020
 10/09/2020         through     $1,437,382.00      $35,917.24     $1,437,382.00   $35,917.24
                   08/31/2020
                   09/01/2020
 11/06/2020         through     $1,368,327.50       $3,785.71     $1,368,327.50    $3,785.71
                   09/30/2020
                   10/01/2020
 12/08/2020         through     $1,302,494.50       $5,255.85     $1,302,494.50    $5,255.85
                   10/31/2020
Total for First
 Interim Fee                    $4,108,204.00      $44,958.80     $4,108,204.00   $44,958.80
 Application
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                                                    Second Interim Fee Application


                                                                Total Amount Previously
                            Total Compensation and Expenses                                                               Holdback Fees
                                                              Requested with Prior Monthly   Total Amount Paid to Date
                 Period       Incurred for Period Covered                                                                  Requested
Date Served                                                          Fee Statement
                Covered
                                                                  Fees           Expenses        Fees         Expenses        Fees
                                 Fees          Expenses
                                                                (@ 80%)         (@ 100%)       (@ 80%)       (@ 100%)       (@ 20%)
               11/01/2020
 1/15/2021      through      $1,251,622.50     $2,794.03      $1,001,298.00     $2,794.03    $1,001,298.00   $2,794.03     $250,324.50
               11/30/2020
               12/01/2020
 2/06/2021      through      $2,501,744.00     $8,803.70      $2,001,395.20     $8,803.70    $2,001,395.20   $8,803.70     $500,348.80
               12/31/2020
               01/01/2021
 4/06/2021      through      $2,935,808.50     $10,066.34     $2,348,646.80     $10,066.34   $2,348,646.80   $10,066.34    $587,161.70
               01/31/2021
 Total for
  Second
                             $6,689,175.00     $21,664.07     $5,351,340.00     $21,664.07   $5,351,340.00   $21,664.07   $1,337,835.00
Interim Fee
Application

Summary of Any Objections to Monthly Fee Statements: None.

Compensation Sought in this Application Not Yet Paid: $1,337,835.00
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   11/25/20   Carlson, Clifford W.                   3.10        3,255.00         002        60583788
       PARTICIPATE ON CALLS REGARDING HEARING PREPARATION (.5); MULTIPLE EMAILS WITH A. PEREZ
       REGARDING HEARING PREPARATION (.4); REVIEW WITNESS AND EXHIBIT LIST (.3); EMAILS WITH
       OPPOSING COUNSEL REGARDING HEARING (.3); FINALIZE FILING OF COMPLAINT AND MOTION FOR
       PRELIMINARY INJUNCTION AND EMAILS REGARDING SAME (1.6).


   11/30/20  Liou, Jessica                          0.50       587.50        002               60602471
       CONFER WITH R. SEERSKEGETTER AND R. PADDOCK RE: ADVERSARY PROCEEDING.


   11/30/20  Carlson, Clifford W.                     0.90       945.00         002          60611522
       MULTIPLE EMAILS WITH E. CHOI AND T. SIERRA REGARDING ATLANTIC ADVERSARY PROCEEDING (0.3);
       EMAILS REGARDING APPLICABILITY OF ARBITRATION PROVISION IN CHAPTER 11 (0.3); MULTIPLE
       EMAILS REGARDING ADVERSARY PROCEEDING SEEKING EXTENSION OF STAY (0.3).


   11/30/20  Choi, Erin Marie                        0.40       420.00                  002    60595538
       ATTENTION TO SERVICE OF PROCESS IN ATLANTIC ADVERSARY PROCEEDING.


    SUBTOTAL TASK 002 - Adversary Proceedings:                4.90         $5,207.50

   11/24/20  Liou, Jessica                                    0.20            235.00    003    60616955
       CONFER RE: SALE PROCESS.


    SUBTOTAL TASK 003 - Asset Acquisitions/                   0.20          $235.00
    Dispositions/ 363 Matters:

   11/06/20  Sierra, Tristan M.                     5.00      3,650.00                  004    60466060
       RESEARCH ISSUES RELATED TO RESPONSE TO VIOLATION TO AUTOMATIC STAY.


   11/10/20  Choi, Erin Marie                      0.10                       105.00    004    60433217
       CORRESPONDENCE REGARDING LIFT STAY REQUEST.


   11/11/20     Perez, Alfredo R.                             0.50            750.00    004    60444780
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        REVIEW MOTION TO LIFT STAY FOR VALARIS (.2); TELEPHONE CONFERENCE WITH J. NORRIS REGARDING
        MOTION TO LIFT STAY (.1); REVIEW SUPERIOR M&M LIEN FILING (.1); VARIOUS COMMUNICATIONS
        WITH MANAGEMENT REGARDING ISSUES RELATED TO SUPERIOR (.1).


   11/11/20  Brogan, Aaron Joseph                   1.40       1,183.00              004     60467979
       DRAFT STIPULATION TO LIFT STAY FOR ARNULFO GARCIA ACTION.


   11/12/20  Choi, Erin Marie                         0.30       315.00      004         60454839
       REVIEW STIPULATION TO LIFT STAY IN GARCIA CASE AND CORRESPONDENCE REGARDING SAME.


   11/18/20  Tripp, Zachary D.                       1.60       1,880.00       004        60519106
       COMMUNICATIONS WITH A. PEREZ AND T. SIERRA TO DISCUSS ATLANTIC'S SEQUESTRATION EFFORTS
       AND STRATEGY FOR RESPONDING.


   11/18/20  Sierra, Tristan M.                    1.00       730.00       004        60601192
       REVIEW DRAFT OF MOTION TO EXTEND AUTOMATIC STAY TO INCLUDE CO-WORKING INTEREST
       OWNERS FROM JONES WALKER AND SUMMARIZE FOR A. PEREZ.


   11/19/20    Perez, Alfredo R.                      1.40       2,100.00       004        60510530
       CONFERENCE CALL WITH J. NOE AND WEIL TEAM REGARDING MOTION TO EXTEND THE STAY (.3);
       REVIEW AND REVISE MOTION AND DECLARATION SEVERAL TIMES (.5); TELEPHONE CONFERENCES WITH
       J. NOE REGARDING FILINGS (.2); VARIOUS COMMUNICATIONS WITH KIRKLAND, JONES WALKER,
       MANAGEMENT, AND WEIL REGARDING FILINGS (.4).


   11/20/20  Perez, Alfredo R.                        5.80         8,700.00        004       60519967
       CONFERENCE CALL WITH R. SERGESKETTER, M. DANE, J. NOE, AND WEIL TEAM REGARDING MOTION TO
       EXTEND THE STAY (.5); CONFERENCE CALL WITH Z. TRIPP AND T. SIERRA REGARDING REVISIONS TO THE
       PLEADINGS (.2); TELEPHONE CONFERENCES WITH J. NOE REGARDING ISSUES (.2); TELEPHONE
       CONFERENCES WITH T. SIERRA AND C. JALOMO REGARDING FILINGS (.4); REVIEW CASE LAW AND
       DOCUMENTS RELATED TO THE ACTIONS BY ATLANTIC (1.7); REVIEW AND REVISE FILINGS (2.4);
       TELEPHONE CONFERENCE WITH CHAMBERS (.1); VARIOUS COMMUNICATIONS WITH M. DANE AND J.
       NOE REGARDING FILINGS (.3).


   11/20/20     Perez, Alfredo R.                          0.10            150.00    004     60521676
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        REVIEW STIPULATION AND COMMUNICATIONS WITH S. CHOI REGARDING GARCIA MOTION TO LIFT
        STAY.


   11/20/20  Tripp, Zachary D.                      2.70     3,172.50      004        60518440
       REVIEW AND REVISE MOTION TO EXTEND STAY, AND COMMUNICATIONS WITH TEAM REGARDING
       SAME.


   11/20/20     Sierra, Tristan M.                      0.90        657.00           004          60600960
       ATTEND CALL REGARDING STRATEGY AND RESPONSE TO SUIT FILED BY BY ATLANTIC ON NOVEMBER
       13, 2020 IN THE EASTERN DISTRICT OF LOUISIANA AGAINST CO-WORKING INTEREST OWNER ECOPETROL
       WITH A. PEREZ, Z. TRIPP JONES WALKER COUNSEL J. NOE, D. BALDWIN, J. BAIN, AND J. NORRIS, AND
       CLIENT M. DANE, T. LAMME, T. ALLEN, AND R. SERGESKETTER.


   11/20/20  Sierra, Tristan M.                   11.90           8,687.00       004        60601148
       DRAFT MOTION TO EXTEND AUTOMATIC STAY TO CERTAIN CO-WORKING INTEREST OWNERS (6);
       DRAFT DECLARATION OF FIELDWOOD CHIEF FINANCIAL OFFICER M. DANE IN SUPPORT OF MOTION (2);
       DISCUSS DRAFT AND COMMENTS WITH A. PEREZ AND Z. TRIPP (.5); IMPLEMENT UPDATES (3.4).


   11/20/20  Olvera, Rene A.                        0.50       185.00        004                  60615781
       PREPARE AND ELECTRONICALLY FILE STIPULATION REGARDING GARCIA LIFT STAY.


   11/21/20   Perez, Alfredo R.                       0.70      1,050.00       004     60521701
       COMMUNICATIONS WITH CHAMBERS AND WEIL TEAM REGARDING HEARING ON MOTION TO EXTEND
       THE STAY (.2); REVIEW AND REVISE DRAFT NOTICE AND COMMUNICATIONS WITH WEIL TEAM
       REGARDING SERVICE (.4); COMMUNICATIONS WITH J. NOE REGARDING ECOPETROL (.1).


   11/21/20   Sierra, Tristan M.                      2.80        2,044.00       004      60601137
       FINALIZE DRAFTS OF MOTION TO EXTEND AUTOMATIC STAY TO CERTAIN CO-WORKING INTEREST
       OWNERS (1.5) AND DRAFT DECLARATION OF FIELDWOOD CHIEF FINANCIAL OFFICER M. DANE IN
       SUPPORT OF MOTION (1); ENSURE FILING AND SERVICE OF FINALIZED DRAFTS(.3).


   11/22/20  Liou, Jessica                         0.30                    352.50    004          60538136
       CONFER WITH STROOCK RE: MOTION TO EXTEND STAY.
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   11/22/20    Carlson, Clifford W.                    1.10      1,155.00       004        60582680
       PARTICIPATE ON CALL WITH COMMITTEE'S COUNSEL REGARDING MOTION TO EXTEND AUTOMATIC
       STAY (.4); CALL AND EMAILS WITH T. SIERRA REGARDING MOTION TO EXTEND AUTOMATIC STAY (.2);
       REVIEW MOTION TO EXTEND STAY (.3); REVIEW AND REVISE WITNESS AND EXHIBIT LIST (.2).


   11/22/20   George, Jason                                0.10             73.00    004      60543415
       EMAIL R. OLVERA RE: EMERGENCY HEARING.


   11/22/20  Sierra, Tristan M.                     2.50       1,825.00           004        60601054
       DRAFT NOTICE OF HEARING FOR MOTION TO EXTEND AUTOMATIC STAY TO CERTAIN CO-WORKING
       INTEREST OWNERS (1.7); INCORPORATE COMMENTS FROM A. PEREZ (.6); FILE AND SERVE NOTICE OF
       HEARING (.2).


   11/23/20  Tripp, Zachary D.                      0.20                   235.00    004      60575709
       REVIEW ATLANTIC OPPOSITION TO MOTION TO EXTEND STAY.


   11/23/20   Carlson, Clifford W.                     7.80         8,190.00       004       60583279
       PARTICIPATE ON CALL WITH CLIENT REGARDING HEARING ON MOTION TO EXTEND STAY (.4);
       PARTICIPATE ON HEARING PREPARATION CALL REGARDING SAME (.6); PARTICIPATE ON CALLS WITH
       A. PEREZ, T. SIERRA, AND J. GEORGE REGARDING SAME (.7); REVIEW AND REVISE OUTLINE FOR
       ARGUMENTS AT HEARING (2.5); REVISE DIRECT EXAMINATION OUTLINE (2.1); REVIEW OBJECTION TO
       MOTION TO EXTEND STAY AND CONDUCT RELATED RESEARCH (1.5).


   11/23/20  George, Jason                        2.10      1,533.00         004         60543449
       RESEARCH AND DRAFT OUTLINE FOR ARGUMENT ON MOTION TO EXTEND STAY (1.7); CALL WITH C.
       CARLSON AND T. SIERRA (0.4).


   11/23/20     Sierra, Tristan M.                      0.50        365.00         004        60601084
       ATTEND CALL REGARDING STRATEGY AND RESPONSE TO SUIT FILED BY BY ATLANTIC ON NOVEMBER
       13, 2020 IN THE EASTERN DISTRICT OF LOUISIANA AGAINST CO-WORKING INTEREST OWNER ECOPETROL
       WITH A. PEREZ, JONES WALKER COUNSEL J. NOE, AND J. NORRIS, AND CLIENT M. DANE, T. LAMME, T.
       ALLEN.
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   11/23/20  Sierra, Tristan M.                        11.90      8,687.00         004        60601207
       DRAFT AGENDA FOR NOVEMBER 24 HEARING ON MOTION TO EXTEND AUTOMATIC STAY TO CERTAIN
       CO-WORKING INTEREST OWNERS (1); DISCUSS DRAFT AGENDA WITH C. CARLSON AND IMPLEMENT
       COMMENTS (.6); FINALIZE AND FILE AGENDA (.4); REVIEW WITNESS AND EXHIBIT LIST FILED BY
       ATLANTIC AND CIRCULATE TO FIELDWOOD (.5); DRAFT WITNESS AND EXHIBIT LIST TO FILE IN
       PREPARATION OF NOVEMBER 24 HEARING (2); DISCUSS DRAFT WITNESS AND EXHIBIT LIST WITH C.
       CARLSON AND IMPLEMENT COMMENTS (.5); REVIEW ATLANTIC'S OBJECTION TO MOTION TO EXTEND
       AUTOMATIC STAY (.5); DRAFT DIRECT EXAMINATION OUTLINE OF FIELDWOOD CHIEF FINANCIAL
       OFFICER M. DANE (5); DISCUSS DIRECT EXAMINATION OUTLINE WITH C. CARLSON AND IMPLEMENT
       COMMENTS AND FEEDBACK (1.4).


   11/24/20     Perez, Alfredo R.                     10.10      15,150.00         004           60553903
       REVIEW DIRECT OUTLINE, HEARING ARGUMENT OUTLINE, AND CASES IN PREPARATION FOR HEARING
       (2.3); CONFERENCE CALL WITH WEIL TEAM IN PREPARATION FOR THE HEARING (.5); PARTICIPATE IN
       THE HEARING (.3); VARIOUS CONFERENCE CALLS WITH M. DANE, R. SERGESKETTER AND THE ADVISORS
       REGARDING THE HEARING (.6); TELEPHONE CONFERENCE WITH R. OLVERA REGARDING FILINGS (.1);
       TELEPHONE CONFERENCE WITH M. DANE (.1), T. LAMME AND R. SERGESKETTER (.4), J. NOE (.2), AND K.
       SINGER (.1) REGARDING THE HEARING AND NEXT STEPS; VARIOUS CALLS WITH C. CARLSON (.9) AND E.
       CHOI AND T. SIERRA (.1) REGARDING SAME; REVIEW AND REVISE COMPLAINT, MOTION, AND PREPARE
       FOR THE TRO HEARING (4.5).


   11/24/20  Liou, Jessica                             1.10      1,292.50       004       60616919
       CONFER WITH FIELDWOOD RE: AUTOMATIC STAY ISSUES (.5); REVIEW AUTOMATIC EXTENSION STAY
       PAPERS (.5); CONFER WITH C. CARLSON RE: PRECEDENTS FOR COMPLAINTS AND PRELIMINARY
       INJUNCTIONS (.1).


   11/24/20  Tripp, Zachary D.                      1.90      2,232.50         004         60575434
       CALL TO PREPARE FOR HEARING ON MOTION TO EXTEND THE STAY (.5); REVIEW AND REVISE DRAFT
       ADVERSARY COMPLAINT AND COMMUNICATIONS REGARDING SAME (1.4).


   11/24/20  Swenson, Robert M.                  0.70       770.00        004       60745581
       CONFER WITH RESTRUCTURING TEAM REGARDING EMERGENCY MOTION AND TRO CONCERNING
       EXTENDING THE AUTOMATIC STAY.


   11/24/20     Carlson, Clifford W.                      16.60         17,430.00    004         60583176
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        PARTICIPATE ON MULTIPLE CALLS WITH E. CHOI, J. GEORGE, AND T. SIERRA REGARDING COMPLAINT
        AND RELATED DOCUMENTS (1.5); DRAFT COMPLAINT AGAINST ATLANTIC (3.8); DRAFT MOTION FOR
        PRELIMINARY INJUNCTION (3.1); REVISE DECLARATION IN SUPPORT OF COMPLAINT AND MOTION (1.8);
        MULTIPLE EMAILS WITH CLIENT REGARDING SAME (.5); CONDUCT RESEARCH REGARDING COMPLAINT
        (.8); REVIEW AND REVISE HEARING OUTLINE (2.1); PARTICIPATE ON HEARING PREPARATION CALL WITH
        A. PEREZ, J. GEORGE, AND T. SIERRA (1.3); PARTICIPATE ON HEARING PREPARATION CALL WITH CLIENT
        AND A. PEREZ, J. GEORGE, AND T. SIERRA (1.2); REVISE OUTLINE OF DIRECT EXAMINATION (.5).


   11/24/20   George, Jason                            10.30        7,519.00       004         60568259
       CALL WITH C. CARLSON, T. SIERRA AND A. PEREZ RE: MOTION TO EXTEND AUTOMATIC STAY (0.4);
       CALLS WITH M. DANE, T. LAMME, AND A. PEREZ RE: MOTION TO EXTEND AUTOMATIC STAY (1.5);
       REVISE BAR DATE STIPULATION (0.7); CALL WITH R. RUSSELL RE: BAR DATE STIPULATION (0.1);
       CORRESPONDENCE TO R. RUSSELL RE: BAR DATE STIPULATION (0.2); EMAIL TO T. LAMME RE: BAR DATE
       STIPULATION (0.1); CONDUCT RESEARCH AND DRAFT OUTLINE FOR ARGUMENT ON MOTION TO
       EXTEND STAY (3.5); DRAFT ADVERSARY COMPLAINT SEEKING EXTENSION OF THE AUTOMATIC STAY
       AND REVIEW RELATED DOCUMENTS (3.8).


   11/24/20  Choi, Erin Marie                     6.50      6,825.00       004        60546595
       PREPARE ADVERSARY COMPLAINT AND MOTION FOR PRELIMINARY INJUNCTION AGAINST ATLANTIC.


   11/24/20  James, Hillarie                       3.30      2,788.50                004       60600594
       DRAFT SECTIONS OF ATLANTIC COMPLAINT FOR AUTOMATIC STAY.


   11/24/20   Sierra, Tristan M.                    17.20     12,556.00         004        60601120
       DRAFT DIRECT EXAMINATION OUTLINE OF FIELDWOOD CHIEF FINANCIAL OFFICER M. DANE (3);
       DISCUSS DIRECT EXAMINATION OUTLINE WITH C. CARLSON AND IMPLEMENT COMMENTS AND
       FEEDBACK (1); ATTEND HEARING PREPARATION CALL WITH M. DANE, AND A. PEREZ (1); DRAFT
       ATTEND HEARING PREPARATION OF M. DANE FOR NOVEMBER 25 HEARING ON ADVERSARIAL
       COMPLAINT AND MOTION TO EXTEND AUTOMATIC STAY (1); DRAFT EMERGENCY MOTION FOR
       PRELIMINARY INJUNCTION (7); DISCUSS EMERGENCY MOTION WITH E. CHOI AND C. CARLSON AND
       IMPLEMENT COMMENTS AND FEEDBACK (1); UPDATE DRAFT OF MOTION TO EXTEND AUTOMATIC
       STAY (3.2).


   11/25/20     Perez, Alfredo R.                          2.00          3,000.00    004       60577084
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        CONFERENCE CALL WITH M. DANE AND ADVISORS REGARDING HEARING PREPARATION (.3); VARIOUS
        COMMUNICATIONS WITH CLIENT AND THE WEIL TEAM REGARDING FILING AND HEARINGS (.3);
        TELEPHONE CONFERENCE WITH C. CARLSON REGARDING FILINGS (.1); PREPARE FOR THE HEARING ON
        THE MOTION TO EXTEND THE STAY (.8); TELEPHONE CONFERENCE WITH M. DANE, J. NOE, Z. TRIPP, C.
        CARLSON AND T. SIERRA REGARDING HEARING AND NEXT STEPS (.5).


   11/25/20   George, Jason                          0.20                     146.00    004       60568267
       EMAIL C. CARLSON RE: EXTENSION OF STAY RESEARCH.


    SUBTOTAL TASK 004 - Automatic Stay:                     133.10       $127,483.50

   11/03/20  George, Jason                                    0.20            146.00    005       60400370
       EMAIL A. PEREZ RE: BAR DATE NOTICE.


   11/04/20   Perez, Alfredo R.                      0.70      1,050.00           005      60415295
       CONFERENCE CALL WITH J. LIOU AND J. GEORGE REGARDING BAR DATE ISSUES (.6); COMMUNICATIONS
       WITH C. CARLSON REGARDING ARENA'S PROPOSAL (.1).


   11/04/20  Swenson, Robert M.                   1.40      1,540.00       005                    60398702
       REVIEW ARENA PROOF OF CLAIM AND GOVERNING DOCUMENTS IN CONNECTION WITH ARENA
       DISPUTE.


   11/04/20   Carlson, Clifford W.                 1.20          1,260.00       005        60420041
       PARTICIPATE ON CALL REGARDING CLAIMS-RELATED ISSUES (.7); MULTIPLE CALLS AND EMAILS
       REGARDING ARENA DISPUTE (.5).


   11/04/20   George, Jason                             0.70            511.00         005        60402566
       EMAIL C. GRING RE: BAR DATE NOTICE (.1); CALL WITH A. PEREZ, J. LIOU, AND C. CARLSON RE: BAR
       DATE NOTICE (.6).


   11/05/20  Mastando III, John P.                            1.20          1,500.00    005       60403125
       REVIEW ARENA LITIGATION MATERIALS.
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   11/05/20   Swenson, Robert M.                    1.30      1,430.00      005        60408408
       CONFER WITH C, CARLSON AND COUNSEL FOR ARENA REGARDING DISPUTE AND NEGOTIATIONS RE:
       SAME (0.5); CONFER WITH COMPANY REGARDING UNDERLYING ARGUMENTS AND ACCOUNTING
       METHODOLOGY CONCERNING DISPUTE WITH ARENA (0.8).


   11/05/20  Whitelaw, Alexander                      3.20        2,336.00       005      60403347
       CALL WITH FWE DISCUSSING ARENA DISPUTE (.6); CALL WITH R. SWENSON DISCUSSING ARENA
       DISPUTE (.1); REVIEW RELEVANT DOCUMENTS AND BACKGROUND MATERIALS FOR DISPUTE WITH
       ARENA (2.5).


   11/06/20  Whitelaw, Alexander                0.70       511.00        005                   60414792
       REVIEW RELEVANT DOCUMENTS AND BACKGROUND MATERIALS FOR DISPUTE WITH ARENA.


   11/09/20  Carlson, Clifford W.                     0.70         735.00        005        60428758
       EMAILS WITH J. GEORGE REGARDING CLAIMS ISSUES (.2); EMAILS WITH R. SWENSON REGARDING
       ARENA DISPUTE (.3); EMAILS WITH CLIENT REGARDING VENDOR ISSUES (.2).


   11/09/20  George, Jason                          0.20                   146.00    005       60423220
       RESEARCH PRECEDENT RE: BAR DATE STIPULATION.


   11/10/20  Carlson, Clifford W.                    0.30        315.00              005       60465087
       EMAILS WITH J.GEORGE AND J. LIOU REGARDING BAR DATE NOTICE.


   11/10/20   George, Jason                           0.40            292.00        005        60450364
       EMAIL J. LIOU AND C. CARLSON RE: BAR DATE NOTICE (0.3); EMAIL PRIME CLERK RE: BAR DATE NOTICE
       (0.1).


   11/10/20  James, Hillarie                      0.10         84.50                 005       60454759
       CORRESPONDENCE WITH PRIME CLERK REGARDING CLAIMS ISSUE.


   11/11/20  Mastando III, John P.                         0.50            625.00    005       60444531
       STRATEGY RE: ARENA LITIGATION.
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   11/11/20  Swenson, Robert M.                   1.80          1,980.00      005       60447183
       CONFER WITH KIRKLAND REGARDING ARENA DISPUTE (0.5); REVIEW AND ANALYZE DOCUMENTS
       REGARDING PROPER ALLOCATION METHODOLOGIES (0.8); DRAFT AND SEND CORRESPONDENCE TO C.
       CARLSON REGARDING ARENA DISPUTE AND PROPOSAL FOR MEDIATION TIMING (0.5).


   11/11/20  Carlson, Clifford W.                          0.30            315.00     005          60465602
       REVIEW STIPULATION REGARDING BAR DATE.


   11/11/20  George, Jason                              1.80        1,314.00       005         60450391
       CALL WITH O. BITMAN AND J. LIOU RE: BAR DATE NOTICE (0.2); DRAFT STIPULATION RE: EXTENSION OF
       BAR DATE (1.5); EMAIL J. CHIANG RE: BAR DATE NOTICE (0.1).


   11/12/20  Liou, Jessica                           0.80        940.00        005         60499932
       REVIEW AND REVISE DRAFT BAR DATE EXTENSION (.6); REVIEW AND RESPOND TO EMAILS RE: BAR
       DATE EXTENSION AND 503(B)(9) CLAIMS (.2).


   11/12/20  Carlson, Clifford W.                    0.20        210.00               005          60467646
       EMAILS WITH J. GEORGE AND J. LIOU REGARDING BAR DATE MATTERS.


   11/12/20     George, Jason                           0.80         584.00          005           60459625
       REVISE STIPULATION RE: BAR DATE (0.2); EMAILS TO A. PEREZ AND J. LIOU RE: SAME (0.2); EMAIL TO R.
       RUSSEL RE: BAR DATE (0.1); CORRESPONDENCE WITH O. BITMAN AND J. CHIANG RE: BAR DATE NOTICE
       (0.2); EMAILS TO J. CHIANG RE: SAME (0.1).


   11/13/20  Swenson, Robert M.                        1.10      1,210.00        005         60464620
       CONFER WITH T. ALLEN, C. CARLSON, AND G. PESCE REGARDING ARENA DISPUTE (0.8); REVIEW AND
       ANALYZE MEMO REGARDING AUDIT AND HISTORY OF DISPUTE (0.3).


   11/16/20  Mastando III, John P.                         0.20            250.00     005          60474202
       CALL WITH R. SWENSON RE: ARENA.


   11/16/20     Swenson, Robert M.                         1.60          1,760.00     005          60478863
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        CONFER WITH T. ALLEN, C. CARLSON, AND G. PESCE REGARDING ARENA DISPUTE (0.8); DRAFT AND
        SEND CORRESPONDENCE CONCERNING COUNTER-OFFER FOR SETTLEMENT (0.4); CONFER WITH J.
        MASTANDO REGARDING STRATEGY FOR ARENA MEDIATION (0.4).


   11/16/20  Carlson, Clifford W.                     0.80       840.00        005        60494225
       CALL WITH CLIENT REGARDING ARENA DISPUTE (.4); EMAILS REGARDING VARIOUS VENDOR ISSUES (.4).


   11/16/20  George, Jason                                 0.10             73.00    005       60493952
       EMAIL O. BITMAN RE: BAR DATE NOTICE.


   11/17/20  Liou, Jessica                          0.20         235.00              005       60496527
       REVIEW AND RESPOND TO EMAILS FROM J. GEORGE RE: BAR DATE.


   11/17/20   Swenson, Robert M.                      2.10      2,310.00        005        60492498
       REVIEW AND ANALYZE JIB AND REBILL DOCUMENTS CONCERNING THE ARENA DISPUTE (0.8); CONFER
       WITH C. CARLSON REGARDING ARENA DISPUTE (0.5); CONFER WITH POTENTIAL EXPERT WITNESS
       REGARDING ARENA DISPUTE (0.8).


   11/17/20   Carlson, Clifford W.                 0.90        945.00          005          60494014
       PARTICIPATE ON CALL WITH ALIXPARTNERS REGARDING CLAIMS ANALYSIS (.7); CALL WITH J. GEORGE
       REGARDING CLAIMS ISSUES (.2).


   11/17/20  George, Jason                                0.70        511.00         005       60493925
       CALL WITH C. GRING, J. CHIANG AND C. CARLSON RE: CLAIM SCHEDULE (0.5); EMAIL PRIME CLERK
       TEAM RE: BAR DATE NOTICE (0.1); EMAIL J. LIOU RE: PROOF OF CLAIM ISSUE (0.1).


   11/18/20  Carlson, Clifford W.                  0.50         525.00        005          60526085
       REVIEW ALIXPARTNERS' CLAIMS ANALYSIS AND CALL WITH C. GRING REGARDING SAME (.3); EMAILS
       REGARDING ARENA DISPUTE (.2).


   11/18/20     George, Jason                              1.00            730.00    005       60514511
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        CALL WITH C. CARLSON RE: CLAIMS ANALYSIS (0.3); EMAIL R. STASSI RE: PROOF OF CLAIM (0.2); DRAFT
        LETTER RE: BAR DATE NOTICE (0.4); EMAIL J. LIOU RE: SAME (0.1).


   11/19/20  Swenson, Robert M.                      1.50        1,650.00       005     60510692
       CONFER WITH E. CHOI REGARDING ARENA DISPUTE (0.4); CONFER WITH COUNSEL FOR ARENA
       REGARDING MEDIATION AND UPCOMING MEET AND CONFER SESSION (0.3); REVIEW AUDIT MATERIALS
       IN CONNECTION WITH RETENTION OF EXPERT WITNESS (0.8).


   11/19/20  Carlson, Clifford W.                    0.40        420.00               005         60526458
       MULTIPLE EMAILS WITH M. BARR AND J. LIOU REGARDING CLAIMS ISSUES.


   11/19/20  George, Jason                          0.80          584.00       005            60514514
       CORRESPONDENCE WITH C. CARLSON RE: PROOF OF CLAIM (0.2); RESEARCH BAR DATE ISSUE (0.3);
       CORRESPONDENCE WITH C. CARLSON RE: BAR DATE (0.2); CORRESPONDENCE WITH C. CARLSON RE:
       EQUITY HOLDERS (0.1).


   11/19/20  Choi, Erin Marie                      0.40                    420.00     005         60507578
       CONFER WITH R. SWENSON REGARDING ARENA DISPUTE.


   11/19/20   Greene, Anthony L.                   0.60                    588.00     005         60501347
       PARTICIPATE ON CLAIMS ANALYSIS AND RESOLUTION CALL.


   11/20/20  Liou, Jessica                          0.60        705.00        005        60522643
       REVIEW AND REVISE BAR DATE REMINDER EMAIL; EMAIL TO DPW AND EMAIL TO FW RE: MILESTONES.


   11/20/20  Barr, Matthew S.                    0.40          650.00        005         60521728
       CORRESPONDENCES REGARDING BAR DATE WITH TEAM (.1); REVIEW ISSUES REGARDING SAME (.3).


   11/20/20  Swenson, Robert M.                    2.60       2,860.00        005          60524330
       REVIEW AUDIT MATERIALS IN CONNECTION WITH RETENTION OF EXPERT WITNESS (1.4); CONFER WITH
       COUNSEL FOR ARENA REGARDING NEXT STEPS IN MEDIATION AND NEGOTIATIONS (1.2).
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   11/20/20  Carlson, Clifford W.                      0.40        420.00        005           60526107
       EMAILS WITH J. GEORGE REGARDING BAR DATE (.2); REVISE DRAFT EMAIL TO DIRECTORS AND
       OFFICERS REGARDING SAME (.2).


   11/24/20  Carlson, Clifford W.                  0.20        210.00                 005      60583268
       DRAFT AND CIRCULATE EMAIL REGARDING NOTICE OF BAR DATE.


   11/24/20  Marzocca, Anthony P.                           0.30            279.00    005      60631704
       CORRESPONDENCE WITH J. LIOU RE: CLAIMS ISSUE.


   11/25/20  Swenson, Robert M.                   0.80        880.00                  005      60583216
       CONFER WITH COUNSEL FOR ARENA REGARDING CURE CLAIM DISPUTE.


   11/30/20  Choi, Erin Marie                      0.50                     525.00    005      60744999
       CONFER WITH R. SWENSON REGARDING ARENA ISSUES.


    SUBTOTAL TASK 005 - Bar Date and Claims                37.20        $37,404.50
    Matters:

   11/02/20  Liou, Jessica                         0.50          587.50        006        60396938
       EMAILS WITH TEAM RE: CASE CALENDAR DEADLINES (.3); MULTIPLE EMAILS AND COMMENTS TO
       NOTICE OF FILING OF UPDATED MSL (.2).


   11/02/20  Chung, Steven                                  0.10             93.00    006      60365873
       REVIEW WIP.


   11/02/20   George, Jason                          1.70          1,241.00        006         60366354
       DRAFT AND REVISE NOTICE OF FILING UPDATED MASTER SERVICE LIST (1.0); CORRESPONDENCE WITH
       O. BITMAN RE: SERVICE OF UPDATED MASTER SERVICE LIST (0.1); CALL WITH H. JAMES RE: MASTER
       SERVICE LIST (0.1); REVISE WIP LIST (.5).


   11/02/20     James, Hillarie                             0.90            760.50    006      60389250
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        REVISE CALENDARS (0.8); CORRESPONDENCE WITH WEIL TEAM REGARDING SAME (0.1).


   11/02/20   Jewett, Laura                         0.30           112.50       006        60364827
       TEST ZIP FILES ON CLOUDSHARE PER ATTORNEY REQUEST (0.2). PROVIDE ATTORNEY INSTRUCTIONS
       FOR CO-COUNSEL TO UNZIP DATA (0.1).


   11/03/20  Liou, Jessica                           0.50       587.50           006        60397096
       REVIEW AND COMMENT ON CASE CALENDAR (.2); EMAILS RE: CALLS (.1); REVIEW AND RESPOND TO
       EMAILS RE: BOARD AGENDA, INVOICES, AND REVISED CASE CALENDAR (.2).


   11/03/20  Chung, Steven                          0.20                   186.00    006     60379475
       REVIEW WIP, APACHE CHECKLIST, CASE CALENDAR.


   11/03/20   James, Hillarie                       0.50        422.50        006       60397003
       REVISE CALENDAR (0.4); CORRESPONDENCE WITH ADVISOR TEAMS AND CLIENT REGARDING SAME (0.1).


   11/04/20  Liou, Jessica                            2.20       2,585.00         006        60404421
       CONFER WITH C. CARLSON RE: STATUS, NEXT STEPS AND OPEN ITEMS (.5); ALL HANDS CONFER WITH D.
       CROWLEY (.7); CONFER WITH A. PEREZ AND D. CROWLEY RE: NEXT STEPS (1.0).


   11/04/20  Carlson, Clifford W.                          0.20            210.00    006     60735662
       REVIEW WIP AND CALENDAR.


   11/04/20  Jewett, Laura                        0.50                     187.50    006     60393282
       PROCESS DOCUMENTS FOR REVIEW PER ATTORNEY REQUEST.


   11/04/20  Bogota, Alejandro                             1.00            345.00    006     60390007
       IMPORT DOCUMENTS FOR ATTORNEY REVIEW.


   11/05/20   Liou, Jessica                                1.20          1,410.00    006     60408747
       PARTICIPATE ON WIP CALL.
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   11/05/20   Carlson, Clifford W.                  0.80       840.00         006         60420159
       REVISE WIP AND EMAILS WITH RESTRUCTURING ASSOCIATES REGARDING SAME (.6); REVIEW CASE
       CALENDARS (.2).


   11/05/20  Chung, Steven                                 0.10             93.00    006    60403996
       REVIEW WIP.


   11/05/20   George, Jason                                0.50            365.00    006    60400309
       REVISE WIP LIST.


   11/05/20   Marzocca, Anthony P.                         1.40          1,302.00    006    60630893
       PARTICIPATE ON WIP CALL.


   11/05/20  Jewett, Laura                      1.00         375.00      006                60402678
       UPLOAD PRODUCTION DOCUMENTS TO CLOUDSHARE SERVER PER ATTORNEY REQUEST.


   11/05/20  Olvera, Rene A.                     1.50        555.00       006               60632126
       REVIEW AND ELECTRONICALLY ORGANIZE STROOCK MATERIALS WITHIN DATAROOM.


   11/09/20   Carlson, Clifford W.                   0.40                  420.00    006    60428777
       REVISE WIP AND CALL WITH J. GEORGE REGARDING SAME.


   11/09/20  Chung, Steven                                 0.10             93.00    006    60424570
       REVIEW WIP LIST.


   11/09/20   George, Jason                                0.60            438.00    006    60423210
       REVISE WIP LIST.


   11/09/20   James, Hillarie                              0.50            422.50    006    60454432
       REVISE CASE CALENDARS.
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   11/10/20  Liou, Jessica                                 0.30            352.50    006     60453017
       REVIEW AND COMMENT ON CASE CALENDARS.


   11/10/20  Carlson, Clifford W.                      0.50          525.00          006     60465098
       REVIEW AND REVISE WIP (.3); REVIEW AND REVISE CALENDARS (.2).


   11/10/20  Chung, Steven                                 0.10             93.00    006     60433645
       REVIEW WIP AND CASE CALENDAR.


   11/10/20   George, Jason                         1.00           730.00        006         60450358
       REVISE WIP LIST TO INCORPORATE C. CARLSON COMMENTS (0.2); ATTEND WIP CALL (.8).


   11/10/20   James, Hillarie                       1.30       1,098.50       006         60454853
       REVISE CALENDARS (1.0); CORRESPONDENCE WITH WEIL TEAM AND CLIENT REGARDING SAME (0.3).


   11/10/20   Kleissler, Matthew Joseph             1.30        325.00       006        60434985
       ASSIST WITH PREPARATION OF MATERIALS RE: PURCHASE AND SALE AGREEMENT FOR A. MARZOCCA.


   11/11/20  Carlson, Clifford W.                       1.80       1,890.00        006       60465489
       REVIEW AND REVISE PLAN WIP LIST (1.5); PARTICIPATE ON CALL WITH J. GEORGE REGARDING WIP LIST
       (.3).


   11/11/20  Chung, Steven                                 0.10             93.00    006     60444947
       REVIEW CONFIRMATION WIP.


   11/11/20   George, Jason                                0.20            146.00    006     60450393
       REVISE WIP LIST.


   11/12/20  Liou, Jessica                                 0.40            470.00    006     60499924
       REVIEW AND REVISE PLAN WIP LIST.
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   11/12/20   Carlson, Clifford W.                          0.50            525.00    006    60467781
       REVISE WIP (0.3); REVISE CALENDARS (.2).


   11/12/20  Chung, Steven                           0.30        279.00       006            60454258
       REVIEW WIP AND CONFIRMATION WIP (0.2); CORRESPONDENCE RE: CONFIRMATION WIP (0.1).


   11/12/20   George, Jason                        0.20        146.00                 006    60459648
       REVISE WIP LIST TO INCORPORATE COMMENTS FROM WEIL TEAM.


   11/13/20  Chung, Steven                                  0.10             93.00    006    60464855
       REVIEW CONFIRMATION WIP.


   11/13/20   Kleissler, Matthew Joseph             0.10         25.00         006           60520496
       ASSIST WITH PREPARATION OF MATERIALS RE: WORKING GROUP LIST FOR J. HUFENDICK.


   11/14/20  Perez, Alfredo R.                    0.10        150.00       006               60463537
       REVIEW COMMUNICATIONS WITH DOJ AND T. LAMME REGARDING STATUS AND NEXT STEPS.


   11/16/20  Barr, Matthew S.                        1.60       2,600.00       006          60477475
       REVIEW NEXT STEP ISSUES (.7); AND CORRESPONDENCES WITH TEAM REGARDING SAME (.2); REVIEW
       DOCUMENT ISSUES (.6); AND CORRESPONDENCES REGARDING SAME (.1).


   11/16/20   James, Hillarie                               0.50            422.50    006    60500228
       REVISE CALENDAR AND WIP LIST.


   11/17/20   Swenson, Robert M.                    0.60        660.00       006             60492538
       PARTICIPATE ON WEEKLY WIP CALL TO DISCUSS OUTSTANDING ISSUES AND WORK STREAMS.


   11/17/20  Carlson, Clifford W.                      0.50          525.00           006    60494005
       REVIEW AND REVISE WIP (.3); REVIEW AND REVISE CALENDARS (.2).
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   11/17/20  Chung, Steven                                   0.10             93.00    006    60496633
       REVIEW WIP.


   11/17/20   George, Jason                                  1.20            876.00    006    60493902
       REVISE WIP LIST (0.4); PARTICIPATE IN WIP CALL (0.8).


   11/17/20   James, Hillarie                                0.40            338.00    006    60525510
       REVISE CASE CALENDARS.


   11/19/20   Liou, Jessica                                  0.90          1,057.50    006    60509418
       PARTICIPATE ON WIP CALL.


   11/19/20   Carlson, Clifford W.                           0.30            315.00    006    60526412
       REVISE WIP (.2); REVISE CALENDARS (.1).


   11/19/20  Chung, Steven                                   0.10             93.00    006    60506872
       REVIEW WIP.


   11/19/20   George, Jason                                  0.30            219.00    006    60514524
       REVISE WIP LIST.


   11/19/20  Fabsik, Paul                          1.70         663.00       006              60503435
       UPDATE AND REVISE VARIOUS CALENDAR INVITES RE: DEADLIENS AND HEARING DATES.


   11/20/20  Fabsik, Paul                          1.70         663.00       006              60515408
       UPDATE AND REVISE VARIOUS CALENDAR INVITES RE: DEADLINES AND HEARING DATES.


   11/22/20   George, Jason                                  0.30            219.00    006    60543417
       REVISE WIP LIST.


   11/23/20     Liou, Jessica                                0.60            705.00    006    60621170
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        REVIEW AND COMMENT ON PLAN WIP LIST (.3); REVIEW AND REVISE PLAN WIP LIST (.3).


   11/23/20  Hufendick, Jason                              0.80            744.00    006    60568485
       UPDATE CONFIRMATION WIP LIST.


   11/23/20  Carlson, Clifford W.                       0.50       525.00       006         60583246
       REVIEW WIP (.2); MULTIPLE EMAILS WITH J. LIOU REGARDING VARIOUS WORKSTREAMS (.3).


   11/23/20  Chung, Steven                                 0.10             93.00    006    60536972
       REVIEW CONFIRMATION WIP.


   11/23/20   James, Hillarie                              0.30            253.50    006    60591050
       REVISE CALENDARS.


   11/23/20  Fabsik, Paul                          0.20          78.00       006            60533098
       UPDATE AND REVISE VARIOUS CALENDAR INVITES RE: DEADLINES AND HEARING DATES.


   11/24/20  Liou, Jessica                             1.30       1,527.50         006      60616952
       CONFER WITH WEIL TEAM RE: WIP CALL (.8); REVIEW AND COMMENT ON CASE CALENDAR AND
       DEADLINES, EMAIL WITH H. JAMES RE: SAME, CONFER WITH J. GEORGE RE: SAME (.5).


   11/24/20  Chung, Steven                                 0.10             93.00    006    60546739
       REVIEW WIP.


   11/24/20   George, Jason                                0.30            219.00    006    60568285
       REVISE WIP LIST.


   11/24/20  Wheeler, Emma                                 0.40            238.00    006    60630919
       REVIEW WIP LIST AND RELATED EMAILS.


   11/24/20     James, Hillarie                            0.70            591.50    006    60600608
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        REVISE CALENDARS (0.4); CORRESPONDENCE WITH WEIL TEAM REGARDING SAME (0.3).


   11/25/20  Liou, Jessica                         2.20       2,585.00        006        60602446
       CONFER WITH ALIXPARTNERS, FIELDWOOD RE: WORKSTREAMS (.7); CONFER WITH D. CROWLEY RE:
       STATUS, OPEN ISSUES, ETC. (1.5).


   11/25/20   James, Hillarie                       0.50        422.50        006           60600523
       REVISE CALENDARS (0.4); CORRESPONDENCE WITH WEIL TEAM REGARDING SAME (0.1).


   11/28/20  Olvera, Rene A.                        0.70      259.00        006             60604090
       PREPARE CALENDAR INVITES IN CONNECTION WITH UPCOMING HEARINGS AND DEADLINES IN
       REGARDS TO FWE V. ATLANTIC ADVERSARY PROCEEDING.


   11/29/20  Hufendick, Jason                              0.80            744.00    006    60591706
       UPDATE PLAN CONFIRMATION WIP LIST.


   11/30/20  Liou, Jessica                                 0.20            235.00    006    60745110
       REVIEW AND COMMENT ON PLAN WIP.


   11/30/20  Carlson, Clifford W.                    0.30                  315.00    006    60611560
       REVIEW AND REVISE WIP AND DISCUSS WITH J. GEORGE.


   11/30/20   George, Jason                                0.60            438.00    006    60631132
       REVISE WIP LIST.


   11/30/20   James, Hillarie                              0.20            169.00    006    60614334
       REVISE CALENDARS.


   11/30/20  Fabsik, Paul                         0.30       117.00                  006    60585910
       REVIEW AND CALENDAR VARIOUS DEADLINES PER ATTORNEY REQUEST.
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    SUBTOTAL TASK 006 - Case Administration (WIP           46.30        $39,668.50
    and Calendar):

   11/01/20   George, Jason                          3.20       2,336.00       007       60348898
       RESEARCH AND OUTLINE RE: SURETY RESEARCH (3.0); CORRESPONDENCE WITH R. OLVERA AND M.
       KLEISSLER RE: SURETY RESEARCH (0.2).


   11/02/20   Hufendick, Jason                              4.10          3,813.00    007        60412929
       REVISE DRAFT CHAPTER 11 PLAN.


   11/03/20  Liou, Jessica                                  0.80            940.00    007        60397166
       CONFER WITH J. HUFENDICK RE: CHAPTER 11 PLAN.


   11/03/20  Hufendick, Jason                        0.70                   651.00    007        60412827
       CALL WITH J. LIOU RE: DPW COMMENTS TO DRAFT PLAN.


   11/05/20  Liou, Jessica                         3.90                   4,582.50    007        60408765
       REVIEW AND COMMENT ON REVISED CHAPTER 11 PLAN.


   11/05/20   Hufendick, Jason                              3.50          3,255.00    007        60412908
       REVISE DRAFT OF FWE CHAPTER 11 PLAN.


   11/05/20   Carlson, Clifford W.                     0.70        735.00       007        60420168
       CALL WITH J. HUFENDICK REGARDING PLAN (.4); REVIEW EXIT TERM SHEET AND EMAILS REGARDING
       SAME (.3).


   11/06/20    Liou, Jessica                            2.80       3,290.00          007         60419052
       CONFER WITH M. BARR, A. PEREZ, J. LACHANCE, M. DANE, T. LAMME, J. HANSON, D. CROWLEY; (.8);
       EMAIL WITH N. TSIOURIS RE: MILESTONES (.3); CONFER WITH M. BARR AND A. PEREZ RE: NEXT STEPS
       AND STRATEGY (.5); EMAIL J. HUFENDICK RE: PLAN WORKSTREAMS, OPEN ISSUES, AND NEXT STEPS (.4);
       EMAILS WITH J. HUFENDICK RE: CHAPTER 11 WORKSTREAMS (.3); EMAILS WITH J. HANSON RE: NEXT
       STEPS, TIMING AND STRATEGY (.3); CONFER WITH M. BARR (.2).
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   11/06/20   Hufendick, Jason                      2.10      1,953.00           007        60412763
       CALL WITH CLIENT RE: CONFIRMATION TIMELINE AND STRATEGY (.8); REVISE FWE CHAPTER 11 PLAN
       (1.3).


   11/06/20   Carlson, Clifford W.                    1.30   1,365.00         007         60420817
       PARTICIPATE ON CALL WITH COMPANY AND ADVISORS REGARDING PLAN ISSUES (.8); REVIEW REVISED
       CHAPTER 11 PLAN AND DISCUSS WITH J. HUFENDICK (.5).


   11/07/20  Perez, Alfredo R.                        0.30      450.00        007        60417448
       REVIEW PROPOSED COUNTER TO FLFO (.1); VARIOUS COMMUNICATIONS WITH M. DANE, HOULIHAN
       AND WEIL REGARDING PROPOSAL (.2).


   11/07/20  Liou, Jessica                                 0.10            117.50    007    60419117
       REVIEW GOLDMAN EMAIL FROM HL.


   11/07/20  Carlson, Clifford W.                  2.50        2,625.00          007        60420783
       REVIEW AND REVISE MEMO/OUTLINE OF PLAN RELATED ISSUES (1.5); PARTICIPATE ON CALL WITH J.
       GEORGE AND T. SIERRA REGARDING SAME (1.0).


   11/07/20   Sierra, Tristan M.                   0.80         584.00        007       60465935
       CALL REGARDING PLAN RESEARCH WITH C. CLIFFORD AND J. GEORGE AND REVIEW COMMENTS FROM
       C. CARLSON TO INITIAL OUTLINE.


   11/08/20  Perez, Alfredo R.                  0.10        150.00       007        60417464
       VARIOUS COMMUNICATIONS WITH MANAGEMENT, HOULIHAN AND WEIL TEAMS REGARDING FLFO
       TERM SHEET AND MILESTONES.


   11/09/20  Carlson, Clifford W.                  0.30      315.00                  007    60428735
       CALL WITH J. GEORGE REGARDING PLAN RESEARCH WORKSTREAMS.


   11/09/20  Hong, Jeesun                          0.50        465.00        007            60424596
       REVIEW UPDATED PLAN AND M.TIPPETT'S COMMENTS TO DISCLOSURE STATEMENT.
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   11/09/20  Sierra, Tristan M.                    0.60       438.00        007           60466711
       ATTEND AND PARTICIPATE ON CALL REGARDING PLAN RESEARCH WITH C. CARLSON, J. GEORGE, AND
       A. MARZOCCA.


   11/10/20  Mastando III, John P.                         0.70            875.00    007    60433317
       REVIEW DRAFT PLAN.


   11/10/20  Hufendick, Jason                              0.30            279.00    007    60523277
       DISCUSS CONFIRMATION ISSUES WITH C. CARLSON.


   11/10/20  Carlson, Clifford W.                 1.30      1,365.00          007        60464908
       REVIEW AND REVISE MEMO REGARDING PLAN RELATED RESEARCH (.9); DISCUSS POTENTIAL PLAN
       OBJECTIONS WITH J. HUFENDICK (.4).


   11/10/20  Chung, Steven                           1.00        930.00        007          60433491
       REVIEW PLAN OF MERGER AND CHAPTER 11 PLAN (0.9); CORRESPONDENCE RE: SAME (0.1).


   11/10/20   Marzocca, Anthony P.                    3.20       2,976.00       007        60630924
       LEGAL RESEARCH RE: LEASE ASSIGNMENT ISSUES (3.0); CORRESPONDENCE WITH C. CARLSON RE: SAME
       (0.2).


   11/11/20  Mastando III, John P.                         0.50            625.00    007    60745253
       REVIEW DRAFT PLAN.


   11/11/20  Rahman, Faiza N.                              0.30            352.50    007    60445682
       REVIEW PLAN/DS.


   11/11/20  Liou, Jessica                          1.10       1,292.50              007    60745255
       EMAILS RE: MCCARROLL AGREEMENTS (.1); CONFER WITH DPW AND R/I (1.0).


   11/11/20     Hufendick, Jason                           2.20          2,046.00    007    60523444
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        REVIEW AND REVISE DRAFT CHAPTER 11 PLAN.


   11/11/20    Carlson, Clifford W.                   2.50      2,625.00         007          60465378
       PARTICIPATE ON CALL WITH J. LIOU REGARDING VARIOUS PLAN WORKSTREAMS (.5); PREPARE
       TIMELINE FOR CONFIRMATION AND PROPOSED LITIGATION SCHEDULE (.8) REVIEW MEMO ON PLAN
       ISSUES (.7); CALL WITH A. MARZOCCA REGARDING ASSIGNMENT RESEARCH (.2); CALL WITH J. GEORGE
       REGARDING PLAN RESEARCH (.3).


   11/11/20  Sierra, Tristan M.                    0.20          146.00       007               60753073
       CALL REGARDING PLAN RESEARCH WITH C. CARLSON, J. GEORGE, AND A. MARZOCCA.


   11/12/20  Hufendick, Jason                     2.10      1,953.00          007        60523339
       REVIEW DRAFT CHAPTER 11 PLAN AND CORRESPONDENCE RELATED THERETO (1.1); REVISE DRAFT
       CONFIRMATION WIP (1.0).


   11/12/20   Carlson, Clifford W.                    2.90         3,045.00       007         60467734
       REVIEW AND REVISE MEMO ON PLAN RELATED RESEARCH AND READ RELEVANT CASE LAW (1.7);
       REVIEW PLAN WIP AND DISCUSS WITH J. HUFENDICK (.4); EMAILS REGARDING EXIT FINANCING (.4);
       REVISE FORM NDA FOR EXIT LENDERS (.4).


   11/12/20  Chung, Steven                              1.80        1,674.00         007        60454259
       DRAFT NDA (1.5); CALL WITH C. CARLSON RE: SAME (0.1); CORRESPOND RE: SAME (0.2).


   11/13/20  Liou, Jessica                           0.50         587.50        007             60496671
       CONFER WITH C. MARCUS AND B. CONLEY RE: CHAPTER 11 STATUS, NEXT STEPS AND OPEN
       WORKSTREAMS RE: BANKING ITEMS (.3); CONFER WITH A. GREENE AND C. CARLSON RE:
       CONFIRMATION (.2).


   11/13/20  Conley, Brendan C.                       0.60       630.00           007           60456648
       PREPARE FOR AND PARTICIPATE IN CALL RE: CREDIT APPROACH FOR EXIT (.4); FOLLOW UP RE:
       STROOCK DILIGENCE (.2).


   11/13/20     Bonhamgregory, Veronica Gayle                  0.90            882.00    007    60457172
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        REVIEW QUESTIONS FROM STROOCK(.4) INTERNAL CALL WITH RESTRUCTURING (.4) CALL WITH
        STROOCK (.1).


   11/13/20   Hufendick, Jason                             0.60            558.00     007          60523408
       REVISE PLAN CONFIRMATION WIP.


   11/13/20   Carlson, Clifford W.                    3.90      4,095.00         007        60466384
       PARTICIPATE ON CALL WITH WEIL TEAM REGARDING PLAN RESEARCH (1.8); PARTICIPATE ON CALL
       WITH A. GREENE REGARDING PLAN CONFIRMATION (.3); DRAFT TIMELINE FOR CONFIRMATION (.5);
       CALLS WITH A. MARZOCCA REGARDING SAME (.2); MULTIPLE EMAILS TO J. LIOU REGARDING
       DISCOVERY SCHEDULE (.7); PARTICIPATE ON CALL WITH BANKING TEAM AND J. LIOU EXIT FINANCING
       (.4).


   11/13/20    Marzocca, Anthony P.                       3.40       3,162.00         007          60630898
       CALL WITH C. CARLSON, A. GREENE, T. SIERRA, E. WHEELER, J. GEORGE, J. LIOU, AND A. PEREZ RE: PLAN
       ISSUES (1.5); REVIEW MATERIALS RE: PLAN ISSUES (1.9).


   11/13/20  Marzocca, Anthony P.                    1.60      1,488.00               007          60630965
       CORRESPONDENCE WITH C. CARLSON AND J. LIOU RE: CONFIRMATION TIMELINE.


   11/16/20  Perez, Alfredo R.                   1.40     2,100.00        007                      60479265
       CONFERENCE CALL WITH MANAGEMENT AND WEIL TEAM REGARDING PLAN ISSUES.


   11/16/20  Liou, Jessica                             1.90         2,232.50        007           60496587
       REVIEW FW PLAN WIP (.2); CONFER WITH T. LAMME, A. PEREZ, C. CARLSON RE: PLAN WIP LIST (1.5);
       REVIEW AND RESPOND TO EMAILS RE: PLAN WORK STREAMS (.2).


   11/16/20  Hufendick, Jason                            3.00      2,790.00      007       60523308
       CALL WITH CLIENT RE: CONFIRMATION WIP LIST (1.4); INTERNAL TEAM CALL REGARDING PLAN
       UPDATES (.5); REVIEW AND REVISE DRAFT PLAN (1.1).


   11/16/20     Carlson, Clifford W.                       3.00          3,150.00     007          60494250
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        PARTICIPATE ON CALL WITH CLIENT REGARDING PLAN WIP (1.5); PARTICIPATE ON CALL WITH
        LITIGATION TEAM REGARDING DISCOVERY SCHEDULE AND CONFIRMATION PREPARATION (.5);
        PARTICIPATE ON CALL WITH WEIL RESTRUCTURING TEAM REGARDING PLAN AND DISCLOSURE
        STATEMENT (.8); EMAILS WITH ALIXPARTNERS REGARDING PLAN WORKSTREAMS (.2).


   11/16/20  Choi, Erin Marie                      1.60      1,680.00       007              60474186
       PREPARE FOR AND PARTICIPATE ON CONFERENCE WITH RESTRUCTURING TEAM REGARDING
       CONFIRMATION DISCOVERY.


   11/16/20  Marzocca, Anthony P.                          0.80            744.00    007     60631418
       CALL WITH C. CARLSON RE: PLAN UPDATES.


   11/16/20  Greene, Anthony L.                      3.80      3,724.00         007          60470149
       INTERNAL TEAM CALL (.7); REVIEW DRAFT PLAN AND DISCLOSURE STATEMENT (3.1).


   11/17/20  Liou, Jessica                          0.30        352.50               007     60496717
       CONFER WITH J. HANSON AND D. CROWLEY RE: CHAPTER 11 UPDATES.


   11/17/20  Hufendick, Jason                              0.80            744.00    007     60523480
       DRAFT TRANSACTION STEPS MEMORANDUM.


   11/17/20    Carlson, Clifford W.                  1.20     1,260.00           007        60493997
       PARTICIPATE ON CALL WITH HOULIHAN AND WEIL RESTRUCTURING REGARDING PLAN UPDATES (.5);
       PARTICIPATE ON CALL WITH DAVIS POLK REGARDING PLAN CATCH UP (.3); PARTICIPATE ON CALLS
       WITH J. LIOU REGARDING PLAN WORKSTREAMS (.4).


   11/17/20  Hong, Jeesun                              1.10       1,023.00           007     60487788
       PREPARE FOR DPW CALL RE: PLAN (0.6); CALL WITH DPW RE: PLAN (0.5).


   11/17/20  Greene, Anthony L.                      1.10                1,078.00    007     60477116
       REVIEW FIRST-DAY DECLARATION RE: PLAN ISSUES.
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   11/18/20  Perez, Alfredo R.                      0.50         750.00              007    60502343
       CONFERENCE CALL WITH M. BARR AND J. LIOU REGARDING PLAN ISSUES.


   11/18/20  Moore, Rodney L.                     2.70      3,847.50          007           60746095
       REVIEW AND PROVIDE COMMENTS ON PLAN AND DISCLOSURE STATEMENT (2.2); TELEPHONE
       CONFERENCE CALL REGARDING TOGGLE STRATEGY (.5).


   11/18/20  Rahman, Faiza N.                        1.40        1,645.00    007         60502320
       REVIEW TERM SHEET AND PLAN (0.8); CORRESPONDENCE WITH RESTRUCTURING TEAM RE: DEAL
       STRUCTURE (0.3); CALL WITH M ABRAHAM RE: TRANSACTION (0.3).


   11/18/20  Abraham, Melissa S.                      0.50                 505.00    007    60498104
       CALL WITH F. RAHMAN (.1); REVIEW PLAN AND TERM SHEET (.4).


   11/18/20  Hufendick, Jason                       0.70        651.00       007            60523568
       CORRESPONDENCE WITH WEIL TEAM MEMBERS (.1); CALL WITH SECURED LENDERS (.6).


   11/18/20   Carlson, Clifford W.                      2.10       2,205.00     007        60526077
       PARTICIPATE ON CALL WITH J. LIOU REGARDING PLAN WORKSTREAMS (0.9); EMAILS WITH ALIX
       PARTNERS AND CLIENT REGARDING PLAN WORKSTREAMS (.3); REVIEW FLTL LENDERS' BUSINESS TERM
       SHEET (.3); PARTICIPATE ON CALL WITH A. GREENE REGARDING CONFIRMATION ORDER AND FOLLOW
       UP EMAILS (.4); CALL WITH J. HUFENDICK REGARDING PLAN (.2).


   11/18/20  Chung, Steven                            0.10       93.00               007    60496528
       REVIEW BUSINESS TERM SHEET RE: EXIT CAPITAL STRUCTURE TERMS.


   11/18/20 Greene, Anthony L.                    2.50                   2,450.00    007    60492120
       BANKRUPTCY RESEARCH RE: CONFIRMATION REQUIREMENTS.


   11/19/20  Perez, Alfredo R.                    0.10         150.00                007    60510556
       TELEPHONE CONFERENCE WITH C. CARLSON REGARDING PLAN ISSUES.
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   11/19/20   Liou, Jessica                         1.40       1,645.00       007           60509416
       CONFER WITH F. RAHMAN AND C. CARLSON RE: CHAPTER 11 PLAN AND TERM SHEET (.8); CONFER WITH
       ALIX AND FW RE: CHAPTER 11 PLAN WORKSTREAMS (.6).


   11/19/20  Abraham, Melissa S.                     3.10         3,131.00        007         60507504
       PLAN TREATMENT TERM SHEET CALL (.8); REVIEW NALS (2.1); CORRESPONDENCE (0.2).


   11/19/20  Hufendick, Jason                        0.80                  744.00    007      60523623
       CALL WITH F. RAHMAN RE: SECURITIES LAW IMPLICATIONS.


   11/19/20   Carlson, Clifford W.                     2.90      3,045.00        007          60526388
       CALL WITH DAVIS POLK REGARDING PLAN ISSUES (.3); FOLLOW UP EMAIL REGARDING SAME (.1);
       PARTICIPATE ON CALL WITH CAPITAL MARKETS TEAM REGARDING PLAN AND FOLLOW UP EMAILS
       REGARDING SAME (.8); CALLS AND EMAILS WITH J. HUFENDICK AND J. LIOU REGARDING PLAN (.5);
       CALL WITH COMPANY AND ALIXPARTNERS REGARDING PLAN WORKSTREAMS (.7); REVISE PLAN WIP
       (.5).


   11/19/20  Wheeler, Emma                          1.40                   833.00    007      60631023
       REVIEW DISCLOSURE STATEMENT RE: PLAN ISSUES.


   11/20/20   Hufendick, Jason                     0.50       465.00                 007      60523677
       REVISE AND UPDATE CONFIRMATION WIP IN ADVANCE OF WEEKLY CLIENT CALL.


   11/20/20  Carlson, Clifford W.                  0.40          420.00        007            60526071
       CALL WITH J. HUFENDICK REGARDING PLAN WORKSTREAMS (.2); REVIEW PLAN WIP LIST (.2).


   11/20/20  Hong, Jeesun                           2.80      2,604.00               007      60518062
       REVIEW S. GOLDRING'S COMMENTS AND REVISE TAX DISCLOSURE.


   11/22/20  Rahman, Faiza N.                         0.50       587.50        007            60523899
       CALL WITH A. HEYLIGER, F. ADAMS, G. WESTERMAN AND M. ABRAHAM RE: SECURITIES LAW
       ANALYSIS ON WARRANT ISSUANCE.
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   11/22/20  Abraham, Melissa S.                   0.90           909.00         007         60523589
       §REVIEW PRECEDENT NALS IN PREPARATION FOR CALL (.4); CALL WITH TEAM RE: §1145 (.5).


   11/23/20  Liou, Jessica                                 0.20            235.00    007     60621164
       EMAILS WITH C. CARLSON RE: RSA.


   11/23/20    Carlson, Clifford W.                     1.80       1,890.00      007        60583305
       REVIEW AND REVISE PLAN WIP LIST (.5); PARTICIPATE ON CALL WITH COMPANY REGARDING PLAN
       WORKSTREAMS (.4); CALL WITH J. LIOU REGARDING SAME (.3); REVIEW RSA AND MULTIPLE EMAILS
       WITH J. LIOU REGARDING SAME (.3); MULTIPLE EMAILS WITH LENDERS' COUNSEL REGARDING
       DILIGENCE ITEMS (.3).


   11/23/20  Greene, Anthony L.                       0.80       784.00         007       60569226
       RESEARCH RELATED TO CONFIRMATION ISSUES (.5); REVIEW AND REVISE STIPULATION EXTENDING
       CHALLENGE PERIOD (.3).


   11/24/20  Moore, Rodney L.                      0.60                    855.00    007     60864052
       REVIEW AND RESPOND TO EMAILS RE: PLAN MATTERS.


   11/24/20  Liou, Jessica                            0.40      470.00               007     60616925
       CONFER WITH R. ALBERGOTTI RE: CHAPTER 11 PLAN BUDGET WORKSTREAMS.


   11/24/20  Peca, Samuel C.                         0.50         562.50             007     60546066
       REVIEW TRANSACTION DECK (0.4); DISCUSS TRANSACTION WITH R. MOORE (0.1).


   11/24/20  Marzocca, Anthony P.                   0.50         465.00        007        60631643
       CORRESPONDENCE WITH A. GREENE, C. CARLSON, AND R. FOUST RE: CONFIRMATION PROOF CHART.


   11/24/20   Greene, Anthony L.                           0.30            294.00    007     60569285
       REVISE CHALLENGE PERIOD STIPULATION.


   11/25/20     Hufendick, Jason                           0.60            558.00    007     60568474
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        CALL REGARDING PLAN IMPLEMENTATION AND CONTRACT/LEASE ASSUMPTION.


   11/25/20    Carlson, Clifford W.                   1.80      1,890.00        007      60583863
       PARTICIPATE ON CALL WITH COMPANY REGARDING PLAN WORKSTREAMS (.6); PARTICIPATE ON CALL
       WITH J. LIOU REGARDING PLAN WORKSTREAMS AND EMAILS REGARDING SAME (.4); MULTIPLE EMAILS
       WITH LENDERS' COUNSEL REGARDING RSA (.5); CALL AND EMAILS WITH LENDERS' COUNSEL
       REGARDING DILIGENCE REQUESTS (.3).


   11/25/20  George, Jason                           0.20                  146.00    007    60568280
       CALL WITH J. LIOU AND C. CARLSON RE: ABANDONMENT.


   11/25/20   Greene, Anthony L.                     1.90         1,862.00       007        60548808
       CORRESPONDENCE WITH COUNSEL TO THE PREPETITION AGENTS AND THE COMMITTEE REGARDING
       STIPULATION EXTENDING THE CHALLENGE PERIOD (.7); REVISE CHALLENGE PERIOD STIPULATION (.5);
       FINALIZE CHALLENGE PERIOD STIPULATION FOR FILING (.3); RESEARCH RELATED TO OIL AND GAS
       LEASES (.4).


   11/27/20  Greene, Anthony L.                    1.50       1,470.00               007    60585747
       PREPARE CONFIRMATION ORDER OUTLINE PER CALL WITH C. CARLSON.


   11/28/20  Greene, Anthony L.                    2.50                  2,450.00    007    60587164
       REVIEW DRAFT AGREEMENTS PERTINENT TO DRAFT PLAN.


   11/29/20  Greene, Anthony L.                    0.50                    490.00    007    60587199
       REVIEW DRAFT PLAN AND DISCLOSURE STATEMENT.


   11/30/20  Perez, Alfredo R.                        1.00       1,500.00 007          60590901
       CONFERENCE CALL WITH MANAGEMENT AND WEIL TEAM REGARDING PLAN ISSUES (.5); CONFERENCE
       CALL WITH M. BARR AND J. LIOU REGARDING PLAN ISSUES (.5).


   11/30/20     Liou, Jessica                              1.60          1,880.00    007    60602452
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        REVIEW AND COMMENT ON PLAN WIP (.2); CONFER WITH M. BARR AND A. PEREZ RE: CHAPTER 11 PLAN
        (.6); CONFER WITH M. BARR AND A. PEREZ RE: CHAPTER 11 PLAN (.8).


   11/30/20  Conley, Brendan C.                                 0.10            105.00    007    60585134
       FOLLOW UP RE: PLAN SUPPLEMENT.


   11/30/20  Hufendick, Jason                                   1.20          1,116.00    007    60591566
       UPDATE CONFIRMATION WIP LIST.


   11/30/20   Carlson, Clifford W.                      1.90         1,995.00       007         60611502
       PARTICIPATE ON CALL WITH COMPANY REGARDING PLAN WORKSTREAMS (.5); REVIEW AND REVISE
       PLAN WIP (.2); DRAFT PLAN ISSUES LIST AND CALL WITH J. LIOU REGARDING SAME (.9); EMAILS WITH J.
       HUFENDICK REGARDING SAME (.3).


   11/30/20    Wheeler, Emma                      0.90         535.50        007       60631012
       REVIEW PRECEDENT PROOF CHART AND PLAN DRAFT TO PREPARE FOR CALL ON PLAN CONFIRMATION
       ISSUES.


   11/30/20  Greene, Anthony L.                                 5.50          5,390.00    007    60584923
       DRAFT CONFIRMATION ORDER.


    SUBTOTAL TASK 007 - Chapter 11 Plan /                     131.50       $134,152.50
    Confirmation / Implementation /Plan Supplement:

   11/01/20  Brogan, Aaron Joseph                   0.60      507.00                      008    60352083
       REVIEW J. MASTANDO COMMENTS TO LITIGATION DILIGENCE MEMORANDUM.


   11/02/20   Mastando III, John P.                             1.30          1,625.00    008    60365834
       REVISE DRAFT CLAIMS ANALYSIS.


   11/02/20  Swenson, Robert M.                    0.80       880.00       008                   60734451
       DRAFT AND REVISE CLAIMS ANALYSIS MEMO AND CONFER WITH TEAM REGARDING SAME.
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   11/02/20  Brogan, Aaron Joseph                  1.20                  1,014.00    008          60368194
       REVIEW RESEARCH FOR LITIGATION DILIGENCE MEMO.


   11/02/20   Whitelaw, Alexander                          2.30          1,679.00    008          60371773
       REVISE CLAIMS ANALYSIS MEMO.


   11/03/20    Perez, Alfredo R.                      1.70       2,550.00      008        60414674
       PARTICIPATE IN BOARD CALL (.9); FOLLOW-UP CALL WITH INDEPENDENT DIRECTORS REGARDING NEXT
       STEPS (.8).


   11/03/20   Mastando III, John P.                        1.10          1,375.00    008          60378996
       REVISE DRAFT CLAIMS ANALYSIS.


   11/03/20  Liou, Jessica                              2.00        2,350.00        008           60397138
       POST-CALL WITH M. BOYADJIAN, J. PAINTER, J. LACHANCE, J. HANSON, A. PEREZ AND M. BARR (.8);
       DRAFT BOARD AGENDA (.2); EMAIL TO BOARD WITH MATERIALS AND AGENDA (.1); PARTICIPATE ON
       BOARD CALL (.9).


   11/03/20   Barr, Matthew S.                        1.80      2,925.00             008          60735432
       PARTICIPATE ON BOARD CALL (.9); FOLLOW UP WITH SMALLER GROUP (.9).


   11/03/20  Hufendick, Jason                       0.80        744.00               008          60412766
       ATTEND BOARD CALL RE: CHAPTER 11 CASE UPDATES AND OTHER UPDATES.


   11/03/20   Chung, Steven                                0.70            651.00    008          60379538
       PARTICIPATE ON BOARD CALL.


   11/03/20  George, Jason                                 0.90            657.00    008          60400338
       ATTEND BOARD CALL.


   11/03/20     Sierra, Tristan M.                         1.00            730.00    008          60735645
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        ATTEND FIELDWOOD BOARD MEETING CALL.


   11/04/20   Mastando III, John P.                        2.10          2,625.00    008      60395903
       REVISE DRAFT CLAIMS ANALYSIS ANALYSIS.


   11/05/20   Mastando III, John P.                  1.60        2,000.00       008           60864063
       REVISE DRAFT CLAIMS ANALYSIS PRESENTATION (0.7); REVISE DRAFT CLAIMS ANALYSIS (0.9).


   11/05/20  Swenson, Robert M.                    0.70       770.00         008        60743048
       DRAFT AND REVISE CLAIMS INVESTIGATION MEMO AND CIRCULATE REVISED VERSION TO WEIL TEAM.


   11/10/20  Perez, Alfredo R.                   0.10       150.00       008         60433189
       REVIEW COMMUNICATIONS WITH BOARD REGARDING STATUS AND CANCELLATION OF MEETING.


   11/10/20  Liou, Jessica                           0.30        352.50        008        60453007
       REVIEW AND RESPOND TO BOARD EMAIL (.1); REVIEW AND REVISE DRAFT UPDATE EMAIL TO BOARD
       AND CASE CALENDAR (.2).


   11/10/20  Barr, Matthew S.                    0.70         1,137.50        008             60433279
       CORRESPONDENCES REGARDING BOARD CALL WITH TEAM (.1); REVIEW NEXT STEP ISSUES (.6).


   11/10/20  Carlson, Clifford W.                          0.60            630.00    008      60465008
       DRAFT EMAIL UPDATE TO BOARD.


   11/13/20  Liou, Jessica                       1.30                    1,527.50    008      60496500
       REVIEW AND COMMENT ON CLAIMS ANALYSIS MEMO.


   11/14/20  Liou, Jessica                       0.80                      940.00    008      60496714
       REVIEW AND COMMENT ON CLAIMS ANALYSIS MEMO.


   11/16/20     James, Hillarie                            0.80            676.00    008      60745832
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        TELEPHONE CONFERENCE WITH WEIL TEAM REGARDING PLAN AND DISCLOSURE STATEMENT.


   11/17/20    Perez, Alfredo R.                    1.00         1,500.00      008         60492513
       WEEKLY BOARD CALL TO DISCUSS OPEN ISSUES AND STATUS (.5); CONFERENCE CALL WITH M. BARR
       AND J. LIOU REGARDING PREPARATION FOR BOARD CALL (.5).


   11/17/20   Liou, Jessica                                0.50            587.50    008        60496684
       PARTICIPATE ON BOARD CALL.


   11/17/20   Barr, Matthew S.                             0.50            812.50    008        60745918
       PARTICIPATE ON BOARD CALL.


   11/17/20  Carlson, Clifford W.                    0.70        735.00              008        60494013
       PREPARE AGENDA FOR BOARD CALL (.2); PARTICIPATE ON BOARD CALL (.5).


   11/17/20   Chung, Steven                                0.70            651.00    008        60745920
       PARTICIPATE ON WIP CALL.


   11/19/20     Rahman, Faiza N.                         5.50       6,462.50         008        60509051
       CALL WITH J. LIOU, RESTRUCTURING TEAM AND M. ABRAHAM RE: TRANSACTION STRUCTURING (0.7);
       CALL WITH M. ABRAHAM RE: STRUCTURING (0.2); RESEARCH NO ACTION LETTERS RE: §1145 ANALYSIS
       (3.2); PREPARE INITIAL SUMMARY OF ANALYSIS (0.8); CALL WITH F. ADAMS RE: §1145 NO ACTION
       LETTERS (0.2); REVIEW POTENTIAL HOLDER LISTS FOR SECURITIES REPORTING ISSUES (0.4).


   11/19/20  Liou, Jessica                                 0.80            940.00    008        60509461
       RESEARCH RE: CLAIMS ANALYSIS ISSUES.


   11/20/20   Mastando III, John P.                   2.00      2,500.00        008       60521454
       REVISE DRAFT CLAIMS ANALYSIS PRESENTATION (.8); TEAM CONFERENCE CALL RE: CLAIMS ANALYSIS
       PRESENTATION (.5); REVISE DRAFT CLAIMS ANALYSIS MEMORANDUM (.7).


   11/20/20     Liou, Jessica                              0.50            587.50    008        60522711
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        CONFER WITH R. SWENSON, J. MASTANDO AND A. PEREZ RE: CLAIMS ANALYSIS MEMO AND SLIDES.


   11/20/20   Swenson, Robert M.                      1.30      1,430.00     008          60524385
       CONFER WITH WEIL TEAM REGARDING COMMENTS TO CLAIMS ANALYSIS MEMO AND PRESENTATION
       DECKS (0.6); DRAFT AND REVISE CLAIMS ANALYSIS MEMO TO IMPLEMENT COMMENTS FROM J. LIOU
       (0.7).


   11/20/20   Whitelaw, Alexander                   0.80       584.00          008        60531710
       CLAIMS ANALYSIS SLIDE DECK CALL WITH RESTRUCTURING TEAM (.5); CIRCULATE NOTES FROM CALL
       TO LITIGATION TEAM (.3).


   11/23/20   Mastando III, John P.                        0.90          1,125.00    008    60538086
       REVISE DRAFT CLAIMS ANALYSIS REPORT.


   11/23/20 Rahman, Faiza N.                       0.60        705.00                008    60540099
       SUMMARIZE SECURITIES LAW ISSUES FOR RESTRUCTURING TEAM.


   11/23/20  Liou, Jessica                       0.90         1,057.50       008        60621175
       REVIEW AND COMMENT ON CLAIMS ANALYSIS MEMO (.7); REVIEW AND REVISE EMAIL UPDATE TO
       BOARD (.2).


   11/23/20  Carlson, Clifford W.                  0.60         630.00               008    60583293
       DRAFT EMAIL UPDATE TO BOARD AND EMAILS WITH J. LIOU REGARDING SAME.


   11/24/20   Mastando III, John P.                  1.60        2,000.00       008         60549793
       REVISE DRAFT CLAIMS ANALYSIS PRESENTATION (0.7); REVISE DRAFT CLAIMS ANALYSIS
       MEMORANDUM (.9).


   11/24/20  Rahman, Faiza N.                              0.10            117.50    008    60552476
       REVIEW WIP RE: SECURITIES ISSUES.


   11/24/20     Whitelaw, Alexander                        1.80          1,314.00    008    60551946
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        REVIEW RX TEAM'S EDITS TO CLAIMS MEMO AND REVISE RELEVANT SECTIONS.


   11/25/20  Swenson, Robert M.                    1.60      1,760.00      008               60583263
       DRAFT AND REVISE CLAIMS ANALYSIS MEMO AND POWERPOINT PRESENTATIONS.


   11/30/20  Swenson, Robert M.                    0.80       880.00       008               60597038
       DRAFT AND REVISE CLAIMS ANALYSIS MEMO AND POWERPOINT PRESENTATIONS.


    SUBTOTAL TASK 008 - Corporate Governance /             48.40        $54,874.50
    Securities/Equity Matters:

   11/03/20  George, Jason                            0.30          219.00      009          60400353
       CALL WITH ROYALTY OWNER RE: CLAIM (0.2); EMAIL T. ALLEN RE: ROYALTY PAYMENTS (0.1).


   11/04/20  Carlson, Clifford W.                           0.30            315.00    009    60420078
       MULTIPLE EMAILS REGARDING VENDOR ISSUES.


   11/04/20  George, Jason                          0.20        146.00         009       60402612
       EMAILS TO DPW TEAM, STROOCK TEAM, AND S. STATHAM AND H. DURAN RE: JIB/VENDOR MATRICES.


   11/05/20  Carlson, Clifford W.                           0.50            525.00    009    60420194
       EMAILS REGARDING VENDOR ISSUES.


   11/05/20  Marzocca, Anthony P.                0.20                       186.00    009    60630921
       CORRESPONDENCE WITH VENDOR TEAM RE: VENDOR INQUIRY.


   11/06/20     Perez, Alfredo R.                           2.10          3,150.00    009    60417001
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        VARIOUS COMMUNICATIONS WITH T. LAMME REGARDING VALARIS (.2); CONFERENCE CALL WITH M.
        DANE, T. ALLEN, T. LAMME, J. NOE, AND T. SIERRA REGARDING VALARIS ISSUES (.6); REVIEW VARIOUS
        DOCUMENTS RECEIVED AND DRAFT LETTER (.5); VARIOUS COMMUNICATIONS WITH T. SIERRA
        REGARDING RESPONSE (.2); REVIEW AND REVISE LETTER TO S. PECK (.2); TELEPHONE CONFERENCES
        WITH T. SIERRA REGARDING DOCUMENTS AND RESPONSE (.3); TELEPHONE CONFERENCE WITH J. NOE
        REGARDING RESPONSE (.1).


   11/06/20  Liou, Jessica                                 0.40            470.00    009        60419114
       CONFER RE: VALARIS.


   11/06/20  Carlson, Clifford W.                          0.40            420.00    009        60420826
       EMAILS AND CALL WITH CO-OWNER.


   11/06/20    Marzocca, Anthony P.                 0.50          465.00    009       60630911
       CORRESPONDENCE WITH VENDOR TEAM AND T. ALLEN RE: VENDOR INQUIRY AND TRADE AGREEMENT
       ISSUES (0.3); CORRESPONDENCE WITH VENDOR COUNSEL RE: SAME (0.2).


   11/07/20  Perez, Alfredo R.                    0.20        300.00                 009        60417525
       VARIOUS COMMUNICATIONS WITH M. DANE REGARDING VALARIS ISSUES.


   11/09/20  Perez, Alfredo R.                    0.10        150.00       009         60423685
       REVIEW FINAL VALARIS LETTER AND COMMUNICATIONS WITH ECOPETROL REGARDING SAME (.1).


   11/12/20    Perez, Alfredo R.                      1.20       1,800.00          009        60452048
       REVIEW VALARIS DRAFT PLEADINGS (.3); CONFERENCE CALL WITH M. DANE, T. LAMME AND T. SIERRA
       REGARDING VALARIS ISSUES (.5); REVIEW AND REVISE LETTER TO VALARIS (.1); REVIEW VARIOUS M&M
       LIEN FILINGS AND COMMUNICATIONS WITH J. BLOOM REGARDING SAME (.3).


   11/12/20   George, Jason                              0.10               73.00    009        60864066
       EMAIL J. LIOU AND C. CARLSON RE: §503(B)(9) CLAIMS.


   11/13/20     Perez, Alfredo R.                          0.50            750.00    009        60462990
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        TELEPHONE CONFERENCE WITH R. KWASTENIET REGARDING VALARIS (.2); VARIOUS
        COMMUNICATIONS WITH T. LAMME REGARDING VALARIS ISSUES (.2); TELEPHONE CONFERENCE WITH
        J. NOE REGARDING VENDOR AND REGULATOR ISSUES (.1).


   11/15/20  Perez, Alfredo R.                      0.20         300.00      009         60463334
       VARIOUS COMMUNICATIONS WITH B. SKELTON, M. DANE, AND T. LAMME REGARDING MC 519 AND
       VALARIS.


   11/16/20  George, Jason                           0.50          365.00         009          60493938
       CORRESPONDENCE WITH J. IAFFALDANO RE: LIEN RELEASES (0.1); EMAIL TO T. ALLEN RE: SAME (0.1);
       ATTENTION TO EMAIL RE: TRADE AGREEMENT (0.2) AND EMAIL J. LIOU AND C. CARLSON RE: SAME (0.1).


   11/17/20  Perez, Alfredo R.                     1.30        1,950.00         009       60492510
       CONFERENCE CALL WITH M. DANE AND T. LAMME REGARDING VALARIS ISSUES (.4); REVIEW VALARIS
       LAWSUIT (.3); CONFERENCE CALL WITH MANAGEMENT AND J. NOE REGARDING VALARIS LAWSUIT (.6).


   11/17/20  Liou, Jessica                                 0.50            587.50    009         60496740
       EMAILS AND CONFER WITH C. CARLSON RE: LLOG.


   11/17/20   Carlson, Clifford W.                  0.80         840.00         009        60494049
       PARTICIPATE ON CALL WITH CLIENT REGARDING VENDOR ISSUES (.4); MULTIPLE EMAILS REGARDING
       VENDOR ISSUES (.4).


   11/17/20   George, Jason                              0.90           657.00        009        60493923
       EMAILS TO J. LIOU AND C. CARLSON RE: VENDOR INQUIRY (0.1); CALL WITH C. CARLSON RE: TRADE
       AGREEMENTS (0.2); CALL WITH J. CHIANG RE: §503(B)(9) CLAIMS (0.2); UPDATE TRACKER RE: VENDOR
       INQUIRIES (0.4).


   11/17/20  Marzocca, Anthony P.                   0.30                   279.00    009         60631424
       CORRESPONDENCE WITH J. GEORGE RE: VENDOR ISSUES.


   11/18/20     Perez, Alfredo R.                          1.00          1,500.00    009         60502380
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        CONFERENCE CALL WITH J. NOE AND T. SIERRA REGARDING VALARIS (.3); VARIOUS COMMUNICATIONS
        WITH Z. TRIPP AND T. SIERRA REGARDING ISSUES RELATING TO PREEMPTION AND VALARIS MOTION
        (.5); TELEPHONE CONFERENCE WITH T. SIERRA REGARDING NEXT STEPS (.1); TELEPHONE CONFERENCE
        WITH M. DANE REGARDING NEXT STEPS (.1).


   11/18/20  Marcus, Courtney S.                   0.30        412.50                009         60501364
       CORRESPOND WITH J. LIOU AND TEAM REGARDING VALARIS ASSIGNMENT.


   11/18/20  Liou, Jessica                            0.20                 235.00    009         60499913
       CONFER WITH T. ALLEN AND J. SMITH RE: LLOG VENDOR ISSUES.


   11/18/20   Carlson, Clifford W.                   0.70       735.00          009        60526184
       CALL AND EMAILS WITH E. WHEELER REGARDING VENDOR ISSUE (.3); PARTICIPATE ON CALL WITH
       CLIENT REGARDING VENDOR ISSUE (.2); REVIEW DOCUMENTS AND EMAILS REGARDING SAME (.2).


   11/19/20  Liou, Jessica                              0.40         470.00         009          60509389
       CONFER WITH P.J. GOODWINE RE: LLOG (.2); EMAIL UPDATE TO T. ALLEN AND J. SMITH RE: SAME (.2).


   11/19/20  Carlson, Clifford W.                     0.50       525.00        009               60526417
       MULTIPLE CALLS AND EMAILS WITH J.LIOU AND J. GEORGE REGARDING VENDOR ISSUES.


   11/20/20  Carlson, Clifford W.                          0.20            210.00    009         60526169
       EMAILS REGARDING VENDOR ISSUES.


   11/22/20  Perez, Alfredo R.                          1.00      1,500.00        009        60525563
       TELEPHONE CONFERENCE WITH C. CARLSON AND T. SIERRA REGARDING WITNESS & EXHIBIT LIST (.1);
       REVIEW AND REVISE WITNESS & EXHIBIT LIST (.2); TELEPHONE CONFERENCE WITH R. OLVERA
       REGARDING WITNESS & EXHIBIT LIST (.1); TELEPHONE CONFERENCE WITH M. FISHEL REGARDING
       RIDGEWOOD (.1); REVIEW LETTERS FROM B. SKELTON REGARDING MC-519 (.2); REVIEW LETTER FROM
       KIRKLAND (.1); VARIOUS COMMUNICATIONS WITH M. DANE AND T. LAMME REGARDING STATUS (.1);
       TELEPHONE CONFERENCE WITH T. SIERRA REGARDING ADDITIONAL PREPARATION FOR THE HEARING
       (.1).
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   11/23/20   Perez, Alfredo R.                    3.50         5,250.00        009          60541670
       CONFERENCE CALL WITH MANAGEMENT, J. NOE AND WEIL TEAM REGARDING VALARIS ISSUES (.3);
       CONFERENCE CALL WITH MANAGEMENT AND WEIL TEAM TO PREPARE FOR THE HEARING (.7);
       TELEPHONE CONFERENCE WITH M. DANE REGARDING HEARING (.1); TELEPHONE CONFERENCES WITH T.
       SIERRA AND C. CARLSON REGARDING HEARING PREPARATION (.6); REVIEW FILINGS (1.2); FOLLOW-UP
       TELEPHONE CONFERENCE CALLS WITH M. DANE AND J. NOE REGARDING STATUS (.2); REVIEW
       CASELAW AND RELATED ISSUES (.4).


   11/23/20  Liou, Jessica                             0.70                 822.50    009      60621242
       CONFER WITH T. ALLEN, J. SMITH RE: LLOG CLAIMS.


    SUBTOTAL TASK 009 - Customer / Vendor Matters          20.00        $25,607.50
    and Reclamation / 503(b)(9) Claims:

   11/02/20   Liou, Jessica                             2.70       3,172.50       010        60396980
       REVIEW AND REVISE DRAFT §345(B) STIPULATION (.4); REVIEW, REVISE, AND COMMENT ON DRAFT
       MATRICES (.6); EMAILS TO STROOCK, DPW AND UST WITH REPORTING MATRICES (.2); REVIEW AND
       COMMENT ON DRAFT MATRICES (.3); MULTIPLE EMAILS AND COMMENTS TO §345(B) EXTENSION
       STIPULATION (1.2).


   11/02/20   Chung, Steven                         0.20        186.00          010       60365870
       REVIEW STIPULATION EXTENDING DEADLINE FOR §345(B) COMPLIANCE (0.1); CORRESPONDENCE RE:
       SAME (0.1).


   11/02/20  George, Jason                             1.20           876.00       010         60366753
       EMAIL H. DURAN RE: STIPULATION RE: §345(B) COMPLIANCE (0.1); DRAFT AND REVISE STIPULATION
       EXTENDING DEADLINE FOR §345(B) COMPLIANCE (1.1).


   11/03/20  Moore, Rodney L.                               0.30            427.50    010      60765861
       ATTENTION TO CHEVRON ESCROW.


   11/03/20  Conley, Brendan C.                             0.40            420.00    010      60378899
       COORDINATE RE: STROOCK REQUESTS.
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   11/03/20   George, Jason                              0.60          438.00        010          60400357
       CALL WITH C. GRING RE: §345(B) COMPLIANCE (0.3); EMAIL J. LIOU RE: ESCROW AGREEMENT (0.1); EMAIL
       BANKING TEAM RE: ESCROW AGREEMENT (0.1); EMAIL CORPORATE TEAM RE: ESCROW AGREEMENT
       (0.1).


   11/03/20  Riles, Richard Roy                               0.10             73.00    010       60388175
       REVIEW TRANSACTION EMAILS.


   11/05/20  Moore, Rodney L.                                 0.40            570.00    010       60765864
       ATTENTION TO CHEVRON ESCROW AGREEMENT.


   11/05/20  Carlson, Clifford W.                             0.30            315.00    010       60420249
       EMAILS TO WEIL TEAM REGARDING DIP ORDER.


   11/05/20   George, Jason                            0.20       146.00        010         60400324
       EMAIL TO E. RIPLEY RE: ESCROW ACCOUNT (0.1); CORRESPONDENCE WITH R. MARTIN AND K. MOORE
       RE: ESCROW ACCOUNT (0.1).


   11/09/20  Perez, Alfredo R.                   0.20        300.00       010         60423414
       VARIOUS COMMUNICATIONS WITH T. LAMME AND WEIL TEAM REGARDING COMPLIANCE WITH 345
       WITH RESPECT TO THE CHEVRON ACCOUNT.


   11/09/20  Liou, Jessica                            0.20       235.00      010                  60452881
       EMAIL WITH T. LAMME RE: §345(B) EXTENSION AND CHEVRON ESCROW AGREEMENT.


   11/09/20  Carlson, Clifford W.                             0.20            210.00    010       60428748
       MULTIPLE EMAILS REGARDING DIP ORDER.


   11/10/20  Moore, Rodney L.                                 0.70            997.50    010       60765752
       ATTENTION TO CHEVRON ESCROW ISSUES.


   11/10/20     Martin, Robert Crawford                       2.10          2,121.00    010       60765813
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        REVISE ESCROW AGREEMENT AND CORRESPOND WITH ESCROW AGENT AND WEIL TEAM REGARDING
        ESCROW AGREEMENT.


   11/10/20  Tippett, Matthew                      1.50     1,515.00       010      60435080
       REVIEW CORRESPONDENCE RE: ASSIGNMENT OF ESCROW AND REVIEW TRANSACTION DOCUMENTS RE:
       SAME.


   11/11/20  Macke, Jonathan J.                     0.50                   600.00    010        60444762
       CONFERENCE WITH M TIPPET RE: CHEVRON ESCROW.


   11/11/20  Conley, Brendan C.                            0.30            315.00    010        60745366
       REVIEW MORTGAGE RECORDS.


   11/11/20  Bonhamgregory, Veronica Gayle                 0.30            294.00    010        60745367
       CORRESPONDENCE RE: MORTGAGES.


   11/12/20   Macke, Jonathan J.                    1.00       1,200.00        010         60453444
       ATTENTION TO ESCROW WITH CHEVRON (.7); CONFERENCE WITH R. MOORE, R. MARTIN AND M. TIPPET
       RE: SAME (.3).


   11/12/20  Liou, Jessica                       0.40        470.00         010          60499897
       REVIEW AND COMMENT ON FINANCING NDA AND EMAILS/CONFER WITH B. CONLEY RE: DIP LIEN
       RELEASE.


   11/12/20  Conley, Brendan C.                        0.40            420.00        010        60745458
       COORDINATE RE: DIP RELEASE (.1) DISCUSS SAME WITH J. LIOU (.1); COORDINATE RE: STROOCK
       QUESTIONS (.2).


   11/12/20  Martin, Robert Crawford                  0.70       707.00       010         60455030
       CONFERENCE WITH J. MACKE, M. TIPPETT AND R. MOORE REGARDING NEW ESCROW ARRANGEMENT
       FOR CHEVRON ESCROW (.3); SUMMARIZE OPTIONS FOR REPLACEMENT OF CHEVRON ESCROW (.4).
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   11/12/20  Tippett, Matthew                    0.60                      606.00    010      60466247
       TELEPHONE CONFERENCE WITH WORKING GROUP RE: ESCROW.


   11/13/20   Marcus, Courtney S.                0.30         412.50       010        60603146
       CONFERENCE CALL WITH STROOCK TEAM REGARDING PREPETITION DEBT STRUCTURE AND OTHER
       DILIGENCE ITEMS.


   11/13/20  Carlson, Clifford W.                   0.80       840.00        010              60466251
       CALLS AND EMAILS WITH US TRUSTEE AND ALIX REGARDING COMPLIANCE WITH SECTION 345.


   11/16/20  Carlson, Clifford W.                  0.70        735.00            010        60494243
       EMAILS AND CALL WITH US TRUSTEE REGARDING COMPLIANCE WITH SECTION 345(B) ISSUE (.6);
       REVIEW STIPULATION EXTENDING DEADLINE TO COMPLY WITH SECTION 345(B) (.1).


   11/16/20   George, Jason                            0.60          438.00        010        60493932
       DRAFT STIPULATION RE: EXTENSION OF TIME FOR §345(B) COMPLIANCE (0.5); EMAIL TO H. DURAN AND
       S. STATHAM RE: EXTENSION OF TIME FOR §345(B) COMPLIANCE (0.1).


   11/17/20  Carlson, Clifford W.                          0.30            315.00    010      60493996
       EMAILS REGARDING DIP BUDGET.


   11/19/20  Conley, Brendan C.                  0.50         525.00                 010      60753694
       COORDINATE RE: OPEN COLLATERAL AND DOCUMENT QUESTIONS FROM SSL.


   11/19/20  Bonhamgregory, Veronica Gayle                 0.20            196.00    010      60753695
       ATTENTION TO DILIGENCE REQUEST.


   11/20/20  Conley, Brendan C.                   0.20           210.00        010       60521653
       REVIEW STATUS OF PLEDGE COLLATERAL QUESTIONS (.1); COORDINATE RE: DUTCH COUNSEL RESPONSE
       (.1).


   11/20/20     Carlson, Clifford W.                       0.60            630.00    010      60526098
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        MULTIPLE EMAILS WITH DAVIS POLK TEAM AND HOULIHAN REGARDING DIP BUDGET.


   11/25/20   Pal, Himansu                            1.10       275.00       010        60766240
       ASSIST WITH PREPARATION, FILE AND SERVE STIPULATION AND AGREED ORDER EXTENDING THE
       OFFICIAL COMMITTEE OF UNSECURED CREDITORS’ CHALLENGE PERIOD UNDER THE FINAL DIP ORDER
       [ECF NO. 603] FOR A. GREENE.


   11/26/20  Perez, Alfredo R.                              0.20            300.00    010    60577087
       REVIEW REPORTING PACKAGE.


   11/27/20  Carlson, Clifford W.                  0.20       210.00        010              60603926
       EMAILS WITH LITIGATION TEAM AND ALIXPARTNERS TEAM REGARDING CASH COLLATERAL
       ANALYSIS.


    SUBTOTAL TASK 010 - DIP Financing / Cash               21.20        $21,701.00
    Collateral / Cash Management:

   11/03/20  James, Hillarie                                0.70            591.50    011    60396941
       RESEARCH DISCLOSURE STATEMENT ISSUES.


   11/04/20  Carlson, Clifford W.                 3.30                    3,465.00    011    60420071
       REVIEW AND REVISE DISCLOSURE STATEMENT MOTION.


   11/04/20  James, Hillarie                           1.30      1,098.50       011          60399550
       CORRESPONDENCE WITH WEIL TEAM REGARDING DISCLOSURE STATEMENT (0.3); RESEARCH
       REGARDING LIQUIDATION ANALYSIS (0.7); REVISE DISCLOSURE STATEMENT (0.3).


   11/04/20  Marzocca, Anthony P.                  0.40       372.00       011               60630978
       CORRESPONDENCE WITH C. CARLSON RE: DISCLOSURE STATEMENT APPROVAL MOTION.


   11/05/20   James, Hillarie                               1.80          1,521.00    011    60427179
       REVISE DISCLOSURE STATEMENT.
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   11/05/20   Marzocca, Anthony P.                      3.10      2,883.00        011        60630959
       CORRESPONDENCE WITH C. CARLSON RE: MOTION TO APPROVE DISCLOSURE STATEMENT AND
       SOLICITATION PROCEDURES (0.3); PREPARE SAME (2.6); CORRESPONDENCE WITH R. SWENSON RE: SAME
       (0.2).


   11/06/20  Perez, Alfredo R.                     0.50       750.00        011        60417060
       CONFERENCE CALL WITH ALIX, HOULIHAN AND WEIL TEAMS REGARDING LIQUIDATION ANALYSIS.


   11/06/20  Liou, Jessica                          1.00                 1,175.00    011     60744633
       LIQUIDATION ANALYSIS DISCUSSION WITH ALIX AND HL.


   11/06/20   Carlson, Clifford W.                    3.10      3,255.00        011         60420833
       CALL WITH A. MARZOCCA REGARDING MOTION TO APPROVE DISCLOSURE STATEMENT (.3); CALL
       WITH H. JAMES REGARDING DISCLOSURE STATEMENT (.5); REVIEW AND REVISE DISCLOSURE
       STATEMENT (.9); PARTICIPATE ON CALL WITH ADVISORS REGARDING LIQUIDATION ANALYSIS (1.0);
       REVISE DISCLOSURE STATEMENT AND CALL WITH H. JAMES REGARDING SAME (.4).


   11/06/20  George, Jason                                 0.10             73.00    011     60409699
       CALL WITH C. GRING RE: LIQUIDATION ANALYSIS.


   11/06/20   James, Hillarie                        1.50      1,267.50       011        60426752
       REVISE DISCLOSURE STATEMENT (1.1); CORRESPONDENCE WITH C. CARLSON REGARDING THE SAME
       (0.4).


   11/06/20  Marzocca, Anthony P.                 6.80       6,324.00      011       60630908
       PREPARE CONDITIONAL DISCLOSURE STATEMENT AND SOLICITATION PROCEDURES APPROVAL
       MOTION.


   11/07/20   Carlson, Clifford W.                    3.10      3,255.00        011        60420810
       REVISE DISCLOSURE STATEMENT (2.5); REVISE MOTION TO APPROVE DISCLOSURE STATEMENT (.6).


   11/09/20     Carlson, Clifford W.                       1.30          1,365.00    011     60428781
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        CALLS AND EMAILS WITH A. MARZOCCA REGARDING DISCLOSURE STATEMENT MOTION AND
        EXHIBITS (.6); REVISE DISCLOSURE STATEMENT AND EMAILS WITH H. JAMES REGARDING SAME (.7).


   11/09/20  Marzocca, Anthony P.                     1.30      1,209.00    011               60630890
       CALL WITH C. CARLSON RE: CONDITIONAL DISCLOSURE STATEMENT APPROVAL MOTION (0.4);
       CORRESPONDENCE WITH C. CARLSON RE: SAME (0.2); PREPARE SAME (0.7).


   11/10/20  Carlson, Clifford W.                          0.90            945.00    011      60465072
       REVIEW AND REVISE DISCLOSURE STATEMENT.


   11/10/20  Marzocca, Anthony P.                    1.90      1,767.00      011          60630915
       CALL WITH K. ALBERTINI RE: CONDITIONAL DISCLOSURE STATEMENT APPROVAL MOTION (0.2);
       PREPARE SAME (1.7).


   11/11/20  Perez, Alfredo R.                     0.80      1,200.00       011        60444313
       CONFERENCE CALL WITH ALIX, HOULIHAN AND WEIL REGARDING LIQUIDATION ANALYSIS AND
       WIND-DOWN.


   11/11/20    Liou, Jessica                           1.50       1,762.50         011        60452885
       CONFER WITH ALIX, A. PEREZ (PARTIAL), D. CROWLEY, C. CARLSON RE: CHAPTER 11 LIQUIDATION
       ANALYSIS AND WIND-DOWN BUDGET (1.3); CONFER WITH PRIME CLERK AND J. GEORGE RE: SERVICE
       ISSUES (.2).


   11/11/20   Carlson, Clifford W.                 1.30      1,365.00       011        60745368
       PARTICIPATE ON CALL WITH HOULIHAN AND ALIXPARTNERS REGARDING LIQUIDATION ANALYSIS.


   11/11/20  Marzocca, Anthony P.                   0.80        744.00       011        60630932
       CORRESPONDENCE WITH C. CARLSON RE: LITIGATION SCHEDULES FOR DISCLOSURE STATEMENT (0.2);
       RESEARCH PRECEDENT RE: SAME (0.6).


   11/12/20     Carlson, Clifford W.                       1.60          1,680.00    011      60467765
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        MULTIPLE CALLS AND EMAILS WITH A. MARZOCCA REGARDING SOLICITATION PROCEDURES MOTION
        AND LITIGATION SCHEDULE (.7); REVISE DISCLOSURE STATEMENT (.9).


   11/12/20   James, Hillarie                        4.30      3,633.50         011        60500267
       REVISE DISCLOSURE STATEMENT (3.0); RESEARCH REGARDING SAME (1.0); CORRESPONDENCE WITH
       WEIL TEAM REGARDING SAME (0.3).


   11/12/20     Marzocca, Anthony P.                   3.60      3,348.00       011       60630972
       CALL WITH C. CARLSON RE: DISCLOSURE STATEMENT AND SCHEDULES (0.3); RESEARCH PRECEDENT RE:
       SAME (1.5); CALL WITH C. CARLSON RE: CONDITIONAL DISCLOSURE STATEMENT APPROVAL MOTION
       (0.2); PREPARE SAME (1.6.).


   11/13/20  Rahman, Faiza N.                              1.40          1,645.00    011    60467697
       REVIEW DISCLOSURE STATEMENT.


   11/13/20  Liou, Jessica                         0.70       822.50                 011    60496522
       REVIEW DISCLOSURE STATEMENT TIMELINES AND SURETY RESEARCH.


   11/13/20  James, Hillarie                           2.60       2,197.00      011         60479541
       TELEPHONE CONFERENCE WITH WEIL TEAM REGARDING PLAN AND DISCLOSURE STATEMENT
       RESEARCH (1.2); REVISE DISCLOSURE STATEMENT (1.0); CORRESPONDENCE WITH WEIL TEAM
       REGARDING SAME (0.4).


   11/14/20   James, Hillarie                              0.20            169.00    011    60478573
       REVISE DISCLOSURE STATEMENT.


   11/16/20  Liou, Jessica                       0.40                      470.00    011    60496672
       REVIEW AND COMMENT ON DISCLOSURE STATEMENT.


   11/16/20   Carlson, Clifford W.                 3.20        3,360.00       011           60494264
       REVISE DISCLOSURE STATEMENT AND EMAILS WITH H. JAMES REGARDING SAME (1.9); REVISE
       DISCLOSURE STATEMENT MOTION AND EMAILS WITH A. MARZOCCA REGARDING SAME (1.3).
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   11/16/20   James, Hillarie                              2.90          2,450.50    011         60500261
       REVISE DISCLOSURE STATEMENT.


   11/16/20   Marzocca, Anthony P.                       7.60       7,068.00         011        60631406
       CALL WITH C. CARLSON, E. CHOI, R. SWENSON, AND J. RUTHERFORD RE: LITIGATION SCHEDULE (0.5);
       PREPARE SAME (0.4); CALL WITH C. CARLSON RE: CONDITIONAL DISCLOSURE STATEMENT APPROVAL
       MOTION (0.2); PREPARE SAME (3.6); CALL WITH C. CARLSON RE: SAME (0.4); RESEARCH PRECEDENT RE:
       SAME (1.8); CORRESPONDENCE RE: SAME (0.7).


   11/17/20  Liou, Jessica                       3.00                    3,525.00    011         60496444
       REVIEW AND COMMENT ON DISCLOSURE STATEMENT.


   11/17/20   Carlson, Clifford W.                    6.50       6,825.00        011       60494001
       REVISE DISCLOSURE STATEMENT (2.9); EMAILS WITH H. JAMES REGARDING SAME (.6); REVISE
       DISCLOSURE STATEMENT MOTION (2.1); CALLS AND EMAILS WITH A. MARZOCCA REGARDING SAME
       (.9).


   11/17/20   James, Hillarie                        4.40      3,718.00      011         60525601
       REVISE DISCLOSURE STATEMENT (4.0); CORRESPONDENCE WITH WEIL TEAM REGARDING SAME (0.4).


   11/17/20   Marzocca, Anthony P.                     10.60       9,858.00          011         60631387
       CALL WITH C. CARLSON RE: CONDITIONAL DISCLOSURE STATEMENT APPROVAL MOTION (0.2); CALL
       WITH R. OLVERA RE: SAME (0.2); CALL WITH C. CARLSON RE: SAME (0.4); CALL WITH C. CARLSON RE:
       SAME (0.3); PREPARE SAME (9.5).


   11/18/20   Carlson, Clifford W.                   2.80      2,940.00      011        60526181
       REVIEW AND REVISE DISCLOSURE STATEMENT AND EMAILS WITH H.JAMES REGARDING SAME (1.1);
       REVIEW AND REVISE DISCLOSURE STATEMENT MOTION AND EMAILS WITH A. MARZOCCA REGARDING
       SAME (1.3); EMAILS WITH TAX AND CORPORATE GROUPS REGARDING SAME (.4).


   11/18/20     James, Hillarie                            5.70          4,816.50    011         60566252
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        REVISE DISCLOSURE STATEMENT (4.0); REVIEW PRECEDENT DISCLOSURE STATEMENTS (0.9);
        CORRESPONDENCE WITH WEIL TEAM REGARDING SAME (0.8).


   11/18/20    Marzocca, Anthony P.                  6.10      5,673.00       011         60631439
       PREPARE CONDITIONAL DISCLOSURE STATEMENT APPROVAL MOTION (5.5); CALL WITH C. CARLSON
       RE: DISCLOSURE STATEMENT APPROVAL ORDER (0.3); CORRESPONDENCE WITH PRIME CLERK RE:
       SOLICITATION PROCEDURES (0.3).


   11/18/20  Olvera, Rene A.                       5.00     1,850.00       011        60615941
       REVIEW AND CITE-CHECK CONDITIONAL DISCLOSURE STATEMENT APPROVAL AND SOLICITATION
       MOTION.


   11/19/20   Carlson, Clifford W.                 0.70         735.00        011           60526389
       REVISE DISCLOSURE STATEMENT AND EMAILS WITH H. JAMES REGARDING SAME (.3); REVISE
       DISCLOSURE STATEMENT MOTION AND EMAILS REGARDING SAME (.4).


   11/20/20  Perez, Alfredo R.                       0.50       750.00        011           60519786
       CONFERENCE CALL WITH WEIL LITIGATION AND J. LIOU REGARDING REVIEW OF VARIOUS
       TRANSACTIONS.


   11/20/20  Rahman, Faiza N.                              1.00          1,175.00    011    60524290
       REVIEW DISCLOSURE STATEMENT.


   11/20/20   Carlson, Clifford W.                 0.60       630.00        011             60526171
       REVISE DISCLOSURE STATEMENT AND EMAILS WITH HOULIHAN REGARDING SAME.


   11/20/20  James, Hillarie                      0.10        84.50                  011    60525255
       CORRESPONDENCE WITH WEIL TEAM REGARDING DISCLOSURE STATEMENT.


   11/20/20  Marzocca, Anthony P.                  0.40        372.00                011    60631526
       CORRESPONDENCE WITH PRIME CLERK RE: SOLICITATION PROCEDURES.
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   11/23/20  Liou, Jessica                                    0.90          1,057.50    011    60621236
       REVIEW AND REVISE DISCLOSURE STATEMENT.


   11/23/20  Carlson, Clifford W.                  0.70       735.00                    011    60583289
       REVIEW AND REVISE DISCLOSURE STATEMENT AND EMAILS REGARDING SAME.


   11/23/20   James, Hillarie                        1.50      1,267.50      011         60591170
       REVISE DISCLOSURE STATEMENT (1.0); CORRESPONDENCE WITH WEIL TEAM REGARDING SAME (0.5).


   11/24/20  Liou, Jessica                          0.70        822.50          011       60616953
       EMAILS TO HL AND ALIX RE: DISCLOSURE STATEMENT SCHEDULES (.2); REVIEW AND COMMENT ON
       DISCLOSURE STATEMENT (.5).


   11/30/20  Liou, Jessica                           1.70      1,997.50       011              60602434
       CALL WITH D. CROWLEY RE: CHAPTER 11 PLAN AND DISCLOSURE STATEMENT ISSUES.


   11/30/20    Carlson, Clifford W.                  0.70        735.00       011          60611529
       CALLS AND EMAILS WITH H. JAMES AND J. GEORGE REGARDING DISCLOSURE STATEMENT (.5); CALL
       WITH J. LIOU REGARDING SAME (.2).


   11/30/20   George, Jason                                   1.40          1,022.00    011    60631152
       DRAFT INSERT FOR DISCLOSURE STATEMENT.


   11/30/20   James, Hillarie                        2.40      2,028.00       011         60614414
       REVISE DISCLOSURE STATEMENT (2.2); CORRESPONDENCE WITH C. CARLSON REGARDING SAME (0.2).


    SUBTOTAL TASK 011 - Disclosure Statement /              122.40       $115,848.50
    Solicitation / Voting:

   11/02/20   Liou, Jessica                                   0.60            705.00    012    60396942
       REVISE NOTICE OF UPCOMING BONUS PAYMENT.
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   11/02/20  James, Hillarie                       0.70        591.50                012    60389231
       DRAFT AND PROVIDE NOTICE OF BONUS PAYMENTS TO UCC AND UST.


   11/04/20  Carlson, Clifford W.                  0.20      210.00                  012    60420084
       REVIEW WAGES ORDER AND EMAIL WITH CLIENT REGARDING SAME.


   11/09/20  Liou, Jessica                           0.10       117.50               012    60452877
       EMAILS WITH J. GEORGE AND T. LAMME RE: UPCOMING BONUS PAYMENT.


   11/09/20   George, Jason                          0.20       146.00               012    60423299
       EMAIL CORRESPONDENCE WITH J. LIOU AND C. CARLSON RE: WAGES ORDER.


   11/09/20  James, Hillarie                     0.10        84.50                   012    60454507
       CORRESPONDENCE WITH WEIL TEAM REGARDING EMPLOYEE PAYMENTS.


   11/10/20  James, Hillarie                      0.10        84.50       012               60454711
       CORRESPONDENCE WITH ADVISOR TEAMS AND CLIENT REGARDING EMPLOYEE PAYMENT.


   11/11/20  James, Hillarie                     1.90      1,605.50       012               60500288
       RESEARCH AND CORRESPONDENCE WITH WEIL TEAM REGARDING CONSULTING PAYMENT.


   11/23/20   George, Jason                                0.10             73.00    012    60543476
       EMAIL J. LIOU RE: SEVERANCE RESEARCH.


    SUBTOTAL TASK 012 - Employee Matters:                  4.00         $3,617.50

   11/20/20  Marzocca, Anthony P.                 2.00                   1,860.00    013    60631562
       REVIEW PRECEDENT FOR MOTION TO EXTEND EXCLUSIVITY.


   11/23/20     Marzocca, Anthony P.                       5.60          5,208.00    013    60631711
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        CALL WITH C. CARLSON RE: MOTION TO EXTEND EXCLUSIVITY (0.2); REVIEW PRECEDENT FOR SAME
        (0.5); PREPARE MOTION TO EXTEND EXCLUSIVITY (4.9).


   11/24/20  Marzocca, Anthony P.                     6.10     5,673.00        013        60631644
       PREPARE MOTION TO EXTEND EXCLUSIVITY (5.8); CORRESPONDENCE WITH C. CARLSON RE: SAME (0.3).


   11/27/20  Carlson, Clifford W.                     3.20       3,360.00      013         60582637
       REVIEW AND REVISE EXCLUSIVITY MOTION (2.8); CALL WITH A. MARZOCCA REGARDING SAME (.4).


   11/27/20   Marzocca, Anthony P.                      2.70    2,511.00      013           60631628
       CORRESPONDENCE WITH C. CARLSON AND J. LIOU RE: MOTION TO EXTEND EXCLUSIVITY (0.4); PREPARE
       SAME (1.9); CALL WITH C. CARLSON RE: SAME (0.4).


   11/29/20  Marzocca, Anthony P.                    0.20        186.00       013           60588482
       CORRESPONDENCE WITH J. LIOU AND C. CARLSON RE: MOTION TO EXTEND EXCLUSIVITY.


   11/30/20  Liou, Jessica                                 2.30          2,702.50    013    60602400
       REVIEW AND REVISE EXCLUSIVITY MOTION.


   11/30/20  Carlson, Clifford W.                     3.90      4,095.00        013        60611494
       REVIEW AND REVISE EXCLUSIVITY MOTION (2.8); MULTIPLE CALLS AND EMAILS WITH A. MARZOCCA
       REGARDING SAME (.8); EMAILS WITH ALIX AND HOULIHAN TEAMS REGARDING SAME (.3).


   11/30/20  Marzocca, Anthony P.                     5.20     4,836.00           013       60588429
       PREPARE MOTION TO EXTEND EXCLUSIVITY (4.8); CORRESPONDENCE RE: SAME (0.4).


    SUBTOTAL TASK 013 - Exclusivity:                      31.20        $30,431.50

   11/04/20  James, Hillarie                       0.20      169.00        014       60399535
       CORRESPONDENCE WITH WEIL AND ALIX PARTNERS TEAM REGARDING REVIEW OF EXECUTORY
       CONTRACTS.
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   11/05/20  James, Hillarie                       0.20      169.00       014        60427201
       CORRESPONDENCE WITH WEIL AND ALIX PARTNERS TEAMS REGARDING EXECUTORY CONTRACT
       REVIEW.


   11/06/20  Sierra, Tristan M.                           0.80       584.00        014         60466080
       CALL WITH CLIENT, A. PEREZ, J. LIOU, AND C. CLIFFORD REGARDING RESPONSE TO CREDITOR'S
       ATTEMPT TO FORCE CO WORKING-INTEREST OWNER TO PAY DEBTS OF CLIENT.


   11/10/20  James, Hillarie                     0.10         84.50       014                  60454895
       CORRESPONDENCE WITH ALIX PARTNERS REGARDING EXECUTORY CONTRACT REVIEW.


   11/12/20  Carlson, Clifford W.                 0.60                     630.00    014       60467711
       MULTIPLE EMAILS REGARDING CONTRACT ANALYSIS.


   11/18/20  James, Hillarie                       0.50        422.50       014       60566180
       CORRESPONDENCE WITH WEIL, ALIX PARTNERS, AND CLIENT REGARDING EXECUTORY CONTRACTS
       ANALYSIS.


   11/22/20  James, Hillarie                               1.60          1,352.00    014       60566267
       DRAFT §365(D)(4) MOTION.


   11/25/20   Carlson, Clifford W.                 1.50       1,575.00       014        60583809
       REVISE MOTION TO EXTEND DEADLINE TO ASSUME OR REJECT LEASES AND EMAILS REGARDING SAME.


   11/25/20   James, Hillarie                      2.70          2,281.50      014         60600690
       REVISE MOTION TO EXTEND LEASE REJECTION DEADLINE (1.7); CORRESPONDENCE WITH WEIL TEAM,
       PRIME CLERK, AND ALIX PARTNERS REGARDING NOTICING PARTIES FOR MOTION (0.3); CALL WITH ALIX
       PARTNERS, WEIL TEAM AND CLIENT REGARDING EXECUTORY CONTRACT REVIEW (0.7).


   11/25/20  Greene, Anthony L.                            0.10             98.00    014       60587152
       REVIEW CONSOLIDATED LEASE SCHEDULES.
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   11/27/20  James, Hillarie                     0.20        169.00                      014    60583859
       CORRESPONDENCE WITH ALIX PARTNERS REGARDING LANDLORD CONTACTS.


   11/30/20  Liou, Jessica                        0.30                         352.50    014    60602450
       REVIEW AND COMMENT ON LEASE EXTENSION MOTION.


   11/30/20   Carlson, Clifford W.                      2.70      2,835.00     014        60611525
       REVISE MOTION TO EXTEND DEADLINE TO ASSUME UNEXPIRED LEASES (1.3); CONDUCT RELATED
       RESEARCH (.8); CALLS WITH J. LIOU AND H. JAMES REGARDING SAME (.6).


   11/30/20   James, Hillarie                        1.00          845.00       014       60614751
       REVISE MOTION TO EXTEND TIME TO REJECT LEASES (0.7); CORRESPONDENCE WITH WEIL TEAM
       REGARDING SAME (0.3).


   11/30/20  Jalomo, Chris                         1.30       377.00        014        60600549
       RESEARCH AND LOCATE MOTIONS AND ORDERS TO EXTEND TIME IN CONNECTION WITH UNEXPIRED
       LEASES FROM RECENTLY FILED BANKRUPTCY AS REQUESTED BY H. JAMES.


    SUBTOTAL TASK 014 - Executory Contracts /                 13.80        $11,944.00
    Leases / Real Property / Other 365 Matters:

   11/02/20  Barr, Matthew S.                       0.30         487.50       015         60370962
       REVIEW AND RESPOND TO CORRESPONDENCES (.1); CALL WITH CLIENT REGARDING OPEN ISSUES (.2);.


   11/03/20  Perez, Alfredo R.                        0.40        600.00        015             60414854
       WEIL WIP CALL (.3); TELEPHONE CONFERENCE WITH C. CARLSON REGARDING OPEN ISSUES (.1).


   11/03/20   Marcus, Courtney S.                              0.40            550.00    015    60388833
       PARTICIPATE IN WEEKLY WEIL UPDATE CALL.


   11/03/20  Macke, Jonathan J.                                0.40            480.00    015    60735164
       ATTEND WIP CONFERENCE.
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   11/03/20  Liou, Jessica                                 0.70            822.50    015    60735165
       WIP CALL.


   11/03/20  Barr, Matthew S.                         1.20     1,950.00         015        60388756
       CORRESPONDENCES REGARDING NEXT STEPS WITH TEAM (.2); REVIEW AGENDA (.2); PARTICIPATE ON
       ALL HANDS CALL (.5); FOLLOW UP WITH TEAM (.3).


   11/03/20   Swenson, Robert M.                     0.50        550.00       015           60389365
       PARTICIPATE IN WIP CALL TO DISCUSS ONGOING DEADLINES AND WORK STREAMS.


   11/03/20  Conley, Brendan C.                            0.40            420.00    015    60735431
       PLAN FOR AND PARTICIPATE ON WIP CALL.


   11/03/20  Moore, Nathaniel                              0.80            744.00    015    60399576
       ATTEND WEIL TEAM COORDINATION (WIP) CALL.


   11/03/20   Chung, Steven                                0.90            837.00    015    60735433
       PARTICIPATE ON WIP CALL.


   11/03/20  George, Jason                                 0.80            584.00    015    60400365
       ATTEND WIP CALL.


   11/03/20  Riles, Richard Roy                    0.60                    438.00    015    60735633
       CONFERENCE WITH ALL TEAMS IN CONNECTION WITH WIP CALL.


   11/03/20  Bailey, Edgar Scott                           0.30            279.00    015    60395488
       TELEPHONE CALL WITH WEIL TEAM RE: WIP.


   11/03/20  Choi, Erin Marie                              0.40            420.00    015    60735634
       ATTEND WIP CALL.
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   11/03/20   Hong, Jeesun                                 0.30            279.00    015        60379261
       PARTICIPATE ON WIP CALL.


   11/03/20  James, Hillarie                      1.40      1,183.00       015                  60396934
       TELEPHONE CONFERENCES WITH WEIL AND ADVISOR TEAMS REGARDING CASE STRATEGY.


   11/03/20  Marzocca, Anthony P.                          0.80            744.00    015        60630962
       CALL RE: WIP.


   11/03/20   Sierra, Tristan M.                      1.30      949.00        015        60466306
       ATTEND WIP CALL (.8); ATTEND CALL REGARDING FIELDWOOD WORK IN PROGRESS PLAN WITH FULL
       TEAM (.5).


   11/04/20 Perez, Alfredo R.                   0.80       1,200.00                  015        60415131
       WEEKLY ALL-HANDS CALL WITH MANAGEMENT AND THE ADVISORS.


   11/04/20  Liou, Jessica                            0.70         822.50         015        60404321
       CONFER WITH A. PEREZ, C. CARLSON AND J. GEORGE RE: BAR DATE ISSUES, P&A RESEARCH, STATUS
       AND OPEN ISSUES.


   11/04/20  Conley, Brendan C.                        1.20      1,260.00        015            60390122
       COORDINATE RE: CLOSING SET REQUESTS (.6); PLAN FOR AND PARTICIPATE CALL RE: STATUS (.6).


   11/04/20 Bonhamgregory, Veronica Gayle                  0.30            294.00    015        60396430
       WEEKLY ADVISORS CALL.


   11/04/20  Hufendick, Jason                        1.50       1,395.00       015        60412812
       ATTEND WIP MEETING (.7); ATTEND ALL HANDS-CALL WITH CLIENT AND OTHER DEBTORS' ADVISORS
       (.8).


   11/04/20     Carlson, Clifford W.                       2.20          2,310.00    015        60420067
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        CALL WITH J. GEORGE REGARDING VARIOUS WORKSTREAMS (.6); CALL WITH J. LIOU REGARDING SAME
        (.2); PARTICIPATE ON ALL HANDS CALL (.8); PARTICIPATE ON ADVISORS CALL (.6).


   11/04/20   George, Jason                                0.80            584.00    015     60402532
       PARTICIPATE IN WEEKLY CLIENT CALL.


   11/04/20  Riles, Richard Roy                    0.60       438.00       015         60396611
       CONFERENCE WITH ADVISORS IN CONNECTION WITH WEEKLY ADVISORS CALL AND REVISE NOTES
       FROM CALL.


   11/04/20  James, Hillarie                     0.50         422.50       015               60399525
       TELEPHONE CONFERENCE WITH ADVISOR TEAMS AND CLIENT REGARDING CASE STRATEGY.


   11/05/20     Barr, Matthew S.                        1.60      2,600.00       015         60408726
       CORRESPONDENCES WITH TEAM REGARDING OPEN ISSUES (.2); REVIEW DECK (.5); AND FILING ISSUES
       (.3); ATTEND TO NEXT STEPS (.4); AND CORRESPONDENCES WITH TEAM REGARDING SAME (.2).


   11/05/20   Swenson, Robert M.                     0.40       440.00               015     60743047
       PARTICIPATE IN WIP CALL TO DISCUSS OUTSTANDING WORK STREAMS.


   11/05/20  Conley, Brendan C.                            0.30            315.00    015     60400038
       COORDINATE RE: DATAROOM.


   11/05/20  Bonhamgregory, Veronica Gayle                 0.40            392.00    015     60406838
       ATTEND WIP CALL WITH RESTRUCTING GROUP.


   11/05/20  Hufendick, Jason                              1.40          1,302.00    015     60412801
       ATTEND WIP MEETING.


   11/05/20  Moore, Nathaniel                              1.40          1,302.00    015     60421262
       ATTEND TEAM STRATEGY (WIP) CALL.
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   11/05/20   Carlson, Clifford W.                      3.50    3,675.00        015          60420179
       PARTICIPATE ON CALL WITH COMPANY REGARDING ARENA LITIGATION (.7); REVIEW ARENA
       DOCUMENTS AND DISCUSS WITH R. SWENSON (.4); PARTICIPATE ON CALL WITH KIRKLAND
       REGARDING ARENA DISPUTE (.2); REVIEW DOCUMENTS AND DISCUSSION WITH R. SWENSON
       REGARDING SAME (.7); PARTICIPATE ON WIP CALL (1.5).


   11/05/20  Brogan, Aaron Joseph                          0.10             84.50     015    60434010
       DISCUSS CASE STATUS WITH R. SWENSON.


   11/05/20   Chung, Steven                                1.40          1,302.00     015    60743283
       PARTICIPATE ON WIP CALL.


   11/05/20  George, Jason                                 1.40          1,022.00     015    60743284
       ATTEND WIP CALL.


   11/05/20  Bailey, Edgar Scott                           0.40            372.00     015    60410266
       TELEPHONE CALL WITH WEIL TEAM RE: WIP.


   11/05/20  James, Hillarie                      1.50      1,267.50                  015    60427278
       TELEPHONE CONFERENCE WITH WEIL TEAM REGARDING CASE STRATEGY.


   11/05/20  Sierra, Tristan M.                            0.80            584.00     015    60466079
       ATTEND WIP CALL.


   11/06/20    Perez, Alfredo R.                       1.50     2,250.00          015     60416790
       CONFERENCE CALL WITH M. BARR AND J. LIOU REGARDING TIMING OF FILINGS (.5); VARIOUS
       COMMUNICATIONS WITH HOULIHAN AND WEIL REGARDING TIMING OF FILINGS (.2); CONFERENCE CALL
       WITH J. LACHANCE, M. DANE, T. LAMME, AND WEIL TEAM REGARDING TIMING (.8).


   11/06/20   Barr, Matthew S.                        1.30          2,112.50          015    60419215
       PARTICIPATE ON TEAM CALL (.4); REVIEW NEXT STEPS (.5); AND OPEN ISSUES (.4).
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   11/07/20  Barr, Matthew S.                            0.80     1,300.00       015       60420066
       REVIEW OPEN ITEMS (.3); AND NEXT STEPS (.4); CORRESPONDENCES REGARDING SAME WITH TEAM (.1).


   11/09/20    Liou, Jessica                            1.30        1,527.50        015         60452871
       CONFER WITH STROOCK RE: STATUS AND NEXT STEPS (.2); EMAILS RE: MILESTONES WITH N. TSIOURIS
       AND T. LAMME (.2); CONFER WITH H. JAMES AND C. CARLSON (.5); CONFER WITH C. CARLSON RE: NEXT
       STEPS, OPEN ISSUES, AND UPCOMING DEADLINES (.4).


   11/10/20   Perez, Alfredo R.                              0.60            900.00    015      60433216
       PARTICIPATE ON WEEKLY WEIL WIP CALL.


   11/10/20   Marcus, Courtney S.                            0.40            550.00    015      60435712
       PARTICIPATE ON WEEKLY WIP CALL.


   11/10/20  Moore, Rodney L.                                0.40            570.00    015      60744876
       TELEPHONE CONFERENCE CALL WITH WEIL TEAM.


   11/10/20   Liou, Jessica                                  0.70            822.50    015      60744877
       PARTICIPATE ON WIP CALL.


   11/10/20   Swenson, Robert M.                    0.60        660.00        015               60436216
       PARTICIPATE ON WIP CALL TO DISCUSS ONGOING DEADLINES AND WORK STREAMS.


   11/10/20  Conley, Brendan C.                              0.40            420.00    015      60428645
       PREPARE FOR AND PARTICIPATE IN WIP CALL.


   11/10/20   Bonhamgregory, Veronica Gayle                  0.30            294.00    015      60434081
       PARTICIPATE ON WIP CALL.


   11/10/20  Hufendick, Jason                                0.20            186.00    015      60523487
       ATTEND WIP MEETING.
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   11/10/20   Carlson, Clifford W.                         1.00          1,050.00    015      60744991
       PARTICIPATE ON WIP CALL.


   11/10/20   Chung, Steven                                0.70            651.00    015      60744992
       PARTICIPATE ON WIP CALL.


   11/10/20  Bailey, Edgar Scott                           0.30            279.00    015      60433969
       TELEPHONE CALL WITH WEIL TEAM RE: WIP.


   11/10/20   Hong, Jeesun                                 0.30            279.00    015      60745252
       PARTICIPATE ON WIP CALL.


   11/10/20  James, Hillarie                      0.80       676.00                  015      60454874
       TELEPHONE CONFERENCE WITH WEIL TEAM REGARDING CASE STRATEGY.


   11/10/20   Marzocca, Anthony P.                         0.80            744.00    015      60630945
       PARTICIPATE ON WIP CALL.


   11/11/20  Perez, Alfredo R.                  0.50          750.00        015        60445082
       ALL-HANDS CONFERENCE CALL WITH MANAGEMENT, ALIX, HOULIHAN AND WEIL IN PREPARATION
       FOR THE CALL WITH THE FLTL ADVISORS.


   11/11/20  Liou, Jessica                             0.90       1,057.50         015        60452954
       EMAIL UPDATE TO CLIENT (.5); CONFER WITH C. CARLSON RE: NEXT STEPS, OPEN ISSUES, ONGOING
       WORKSTREAMS (.4).


   11/11/20  Barr, Matthew S.                    0.60           975.00        015        60448741
       CORRESPONDENCES WITH TEAM REGARDING NEXT STEPS (.2); REVIEW ISSUES REGARDING SAME (.4).


   11/11/20  Conley, Brendan C.                      1.00                1,050.00    015      60437209
       PREPARE FOR AND PARTICIPATE IN ADVISORS CALL.
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   11/11/20   Bonhamgregory, Veronica Gayle                  0.90            882.00    015    60445719
       PARTICIPATE ON WEEKLY ADVISORS CALL.


   11/11/20   Carlson, Clifford W.                     1.30      1,365.00              015    60465530
       PARTICIPATE ON ALL HANDS CALL (.3) PARTICIPATE ON ADVISORS CALL (1.0).


   11/11/20   George, Jason                                  0.40            292.00    015    60450410
       PARTICIPATE IN ALL-HANDS CALL WITH CLIENT.


   11/11/20   Greene, Anthony L.                             0.40            392.00    015    60587172
       PARTICIPATE ON WEEKLY ADVISORS CALL.


   11/12/20   Liou, Jessica                                  1.00          1,175.00    015    60745457
       PARTICIPATE ON WIP CALL.


   11/12/20  Barr, Matthew S.                     1.00         1,625.00        015       60466529
       CORRESPONDENCES WITH TEAM REGARDING OPEN ISSUES (.3); REVIEW ISSUES REGARDING NEXT STEPS
       (.7).


   11/12/20   Swenson, Robert M.                    0.50        550.00        015             60455136
       PARTICIPATE ON WIP CALL TO DISCUSS ONGOING DEADLINES AND WORK STREAMS.


   11/12/20   Conley, Brendan C.                        0.60                 630.00    015    60453321
       PARTICIPATE IN WIP CALL (.4); COORDINATE RE: CALL (.2).


   11/12/20   Bonhamgregory, Veronica Gayle                  0.40            392.00    015    60457184
       PARTICIPATE ON WIP CALL.


   11/12/20  Hufendick, Jason                                1.00            930.00    015    60523489
       ATTEND INTERNAL TEAM WIP MEETING.
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   11/12/20   Carlson, Clifford W.                         1.00          1,050.00    015    60745459
       PARTICIPATE ON WIP CALL.


   11/12/20   Chung, Steven                                1.00            930.00    015    60745460
       PARTICIPATE ON WIP CALL.


   11/12/20   George, Jason                                1.00            730.00    015    60745461
       PARTICIPATE ON WIP CALL.


   11/12/20  Riles, Richard Roy                            0.40            292.00    015    60455014
       CONFERENCE RE: WIP.


   11/12/20  Bailey, Edgar Scott                           0.30            279.00    015    60454822
       TELEPHONE CALL WITH WEIL TEAM RE: WIP.


   11/12/20   Hong, Jeesun                             0.60        558.00            015    60453507
       PARTICIPATE ON WIP CALL (0.4); PREPARE UPDATE EMAIL FOR TAX TEAM (0.2).


   11/12/20  James, Hillarie                      1.00       845.00                  015    60500235
       TELEPHONE CONFERENCE WITH WEIL TEAM REGARDING CASE STRATEGY.


   11/12/20   Marzocca, Anthony P.                         1.00            930.00    015    60630909
       PARTICIPATE ON WIP CALL.


   11/13/20   Liou, Jessica                            2.30         2,702.50      015      60496593
       CONFER WITH T. ALLEN RE: BP ASSIGNMENT (.2); CONFER WITH E. WHEELER RE: BACKGROUND AND
       CASE INFORMATION (.4); CONFER WITH WEIL RESTRUCTURING TEAM RE: PLAN WORKSTREAMS, PLAN
       RESEARCH, DISCLOSURE STATEMENT APPROVAL TIMELINE AND OTHER QUESTIONS (1.3); CONFER WITH
       C. CARLSON RE: SAME (.2); REVIEW AND RESPOND TO EMAILS (.2).


   11/13/20     Chung, Steven                              1.30          1,209.00    015    60464896
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        RESTRUCTURING TEAM CALL RE: VARIOUS WORKSTREAMS.


   11/13/20   Greene, Anthony L.                           1.20          1,176.00    015        60456076
       PARTICIPATE ON INTERNAL TEAM CALL.


   11/16/20  Liou, Jessica                        0.90          1,057.50       015              60496787
       REVIEW AND RESPOND TO EMAILS RE: WORKSTREAMS (.2); PLAN AND DS CALL WITH WEIL
       RESTRUCTURING ASSOCIATES TEAM (.7).


   11/17/20  Liou, Jessica                              0.70          822.50         015        60496767
       CALL WITH J. LACHANCE, J. PAINTER, M. BOYADJIAN, J. HANSON, A. PEREZ, M. BARR RE: STRATEGY,
       UPDATES, AND NEXT STEPS FOR PLAN AND DISCLOSURE STATEMENT.


   11/17/20  Barr, Matthew S.                     1.70         2,762.50          015            60490578
       CORRESPONDENCES WITH TEAM REGARDING OPEN ISSUE (.1); PREP CALL (.6); REVIEW ISSUES (.8); CALL
       WITH TEAM REGARDING SAME (.2).


   11/17/20  Conley, Brendan C.                            0.50            525.00    015        60489065
       PLAN FOR AND PARTICIPATE ON WIP CALL.


   11/17/20  Bonhamgregory, Veronica Gayle                 3.60          3,528.00    015        60509178
       ATTENTION TO DILIGENCE REQUESTS.


   11/17/20  Hufendick, Jason                              1.10          1,023.00    015        60523448
       ATTEND BFR WIP MEETING.


   11/17/20   Carlson, Clifford W.                         0.70            735.00    015        60745919
       PARTICIPATE ON WIP CALL.


   11/17/20  Riles, Richard Roy                            0.60            438.00    015        60491057
       CONFERENCE RE: WIP WEEKLY CALL.
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   11/17/20  Bailey, Edgar Scott                           0.40            372.00    015    60490920
       TELEPHONE CALL WITH WEIL TEAM RE: WIP.


   11/17/20   Hong, Jeesun                                 0.40            372.00    015    60745921
       PARTICIPATE ON WIP CALL.


   11/17/20  James, Hillarie                      0.20       169.00                  015    60525477
       TELEPHONE CONFERENCE WITH WEIL TEAM REGARDING CASE STRATEGY.


   11/17/20   Marzocca, Anthony P.                         0.80            744.00    015    60631414
       PARTICIPATE ON WIP CALL.


   11/17/20  Greene, Anthony L.                            0.80            784.00    015    60746092
       INTERNAL WIP CALL.


   11/17/20   Sierra, Tristan M.                      1.40       1,022.00       015         60601044
       ATTEND WIP CALL (.8); ATTEND CALL REGARDING STRATEGY AND RESPONSE TO SUIT FILED BY
       ATLANTIC ON NOVEMBER 13, 2020 IN THE EASTERN DISTRICT OF LOUISIANA AGAINST CO-WORKING
       INTEREST OWNER ECOPETROL WITH A. PEREZ, JONES WALKER COUNSEL J. NOE, AND J. NORRIS, AND
       CLIENT M. DANE, T. LAMME, AND T. ALLEN (.6).


   11/18/20 Perez, Alfredo R.                   0.70                     1,050.00    015    60502349
       WEEKLY UPDATE CALL WITH MANAGEMENT AND ADVISORS.


   11/18/20  Marcus, Courtney S.                    0.50                   687.50    015    60746094
       PARTIAL PARTICIPATION IN WEEKLY ADVISORS CALL.


   11/18/20     Liou, Jessica                              3.10          3,642.50    015    60499949
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        CONFER WITH A. PEREZ RE: STATUS, NEXT STEPS AND OPEN ISSUES (.3); CONFER WITH C. CARLSON RE:
        WORKSTREAMS (.9), NEXT STEPS, OPEN ISSUES (.4); CONFER WITH WEIL, HL, T. LAMME, M. DANE RE:
        STATUS, NEXT STEPS AND TIMING (.5); REVIEW WEIL ENGAGEMENT LETTER AND ORG CHART AND
        EMAIL M. BARR RE: SAME (.4); CONFER WITH DAVIS POLK AND R/I ON STATUS, UPDATE AND TIMING
        (.6).


   11/18/20     Barr, Matthew S.                           2.70      4,387.50           015        60499211
       CORRESPONDENCES WITH TEAM REGARDING OPEN ISSUES (.2); CALL WITH TEAM REGARDING SAME
       (.5); REVIEW NEXT STEPS (.4); AND TERM SHEET (.6); AND RELATED ISSUES (.2); ATTEND TO NEXT STEPS
       (.8).


   11/18/20   Bonhamgregory, Veronica Gayle                0.60            588.00     015          60499265
       PARTICIPATE ON WEEKLY ADVISORS CALL.


   11/18/20   Carlson, Clifford W.                     1.30      1,365.00             015          60526125
       PARTICIPATE ON ALL HANDS CALL (.7); PARTICIPATE ON ADVISORS CALL (.6).


   11/18/20   George, Jason                                0.30            219.00     015          60514555
       PARTICIPATE ON ALL-HANDS CALL WITH CLIENT.


   11/18/20  Wheeler, Emma                                 0.20            119.00     015          60631025
       CALL WITH J. LIOU AND FIELDWOOD.


   11/18/20   Greene, Anthony L.                           0.60            588.00     015          60493070
       PARTICIPATE ON ADVISORS CALL.


   11/18/20     Sierra, Tristan M.                      0.30       219.00        015       60600934
       ATTEND CALL REGARDING STRATEGY AND RESPONSE TO SUIT FILED BY BY ATLANTIC ON NOVEMBER
       13, 2020 IN THE EASTERN DISTRICT OF LOUISIANA AGAINST CO-WORKING INTEREST OWNER ECOPETROL
       WITH A. PEREZ, AND Z. TRIPP.


   11/19/20     Perez, Alfredo R.                          0.90          1,350.00     015          60510554
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        PARTICIPATE IN WEIL WEEKLY WIP MEETING.


   11/19/20   Rahman, Faiza N.                               0.30            352.50    015    60753693
       PARTICIPATE ON TEAM WIP CALL.


   11/19/20   Peca, Samuel C.                                0.40            450.00    015    60505128
       PARTICIPATE ON ALL HANDS CALL.


   11/19/20   Swenson, Robert M.                     0.70        770.00       015             60510734
       PARTICIPATE IN WEEKLY WIP CALL TO DISCUSS OUTSTANDING ISSUES AND WORK STREAMS.


   11/19/20  Conley, Brendan C.                              0.30            315.00    015    60503353
       PLAN FOR AND PARTICIPATE IN WIP CALL.


   11/19/20   Bonhamgregory, Veronica Gayle                  0.30            294.00    015    60509006
       PARTICIPATE ON WIP CALL.


   11/19/20   Abraham, Melissa S.                            0.30            303.00    015    60753709
       PARTICIPATE ON WIP CALL.


   11/19/20  Hufendick, Jason                                0.90            837.00    015    60523294
       ATTEND FWE WIP MEETING.


   11/19/20   Carlson, Clifford W.                           0.90            945.00    015    60746152
       PARTICIPATE ON WIP CALL.


   11/19/20   Chung, Steven                                  0.90            837.00    015    60746149
       PARTICIPATE ON WIP CALL.


   11/19/20   George, Jason                                  0.90            657.00    015    60746142
       PARTICIPATE ON WIP CALL.
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   11/19/20  Bailey, Edgar Scott                           0.40            372.00    015    60522814
       TELEPHONE CALL WITH WEIL TEAM RE: WIP.


   11/19/20  Wheeler, Emma                         0.90        535.50                015    60531819
       CALL WITH INTERNAL FIELDWOOD TEAM TO DISCUSS WORK IN PROGRESS LIST.


   11/19/20   Hong, Jeesun                          0.50        465.00               015    60746139
       PARTICIPATE ON WIP CALL AND PROVIDE UPDATE FOR TAX TEAM.


   11/19/20  James, Hillarie                         1.10    929.50          015       60566215
       TELEPHONE CONFERENCE WITH WEIL TEAM REGARDING CASE STRATEGY (0.9); CORRESPONDENCE
       WITH WEIL TEAM REGARDING EQUITY HOLDERS (0.2).


   11/19/20   Marzocca, Anthony P.                         1.00            930.00    015    60631378
       PARTICIPATE ON WIP CALL.


   11/19/20   Greene, Anthony L.                           0.40            392.00    015    60499182
       PARTICIPATE ON TEAM CALL (PARTIAL).


   11/19/20  Sierra, Tristan M.                            0.80            584.00    015    60601204
       ATTEND WIP CALL.


   11/22/20  Barr, Matthew S.                         0.30      487.50        015       60521721
       REVIEW INFO REGARDING NEXT STEPS (.2); AND CORRESPONDENCES WITH TEAM REGARDING SAME (.1).


   11/23/20    Barr, Matthew S.                       1.20      1,950.00         015        60541181
       REVIEW OPEN ISSUES (.2); CORRESPONDENCES WITH TEAM REGARDING SAME (.6); REVIEW TIMELINE
       ISSUES (.3); CORRESPONDENCES WITH CLIENTS REGARDING CALL (.1).


   11/23/20  Conley, Brendan C.                        0.70           735.00         015    60531907
       REVIEW WIP LIST AND UPDATE (.5); CORRESPOND RE: WIP LIST (.2).
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   11/24/20   Perez, Alfredo R.                    0.70                    1,050.00    015     60553938
       PARTICIPATE ON WEEKLY WEIL WIP CALL REGARDING STATUS.


   11/24/20   Rahman, Faiza N.                               0.40            470.00    015     60745633
       PARTICIPATE ON WIP UPDATE CALL.


   11/24/20  Liou, Jessica                           0.50        587.50                015     60616945
       CONFER WITH WEIL TEAM RE: NEXT STEPS, OPEN RESEARCH ISSUES, TIMING.


   11/24/20   Peca, Samuel C.                                0.40            450.00    015     60745584
       PARTICIPATE ON WIP CALL.


   11/24/20   Swenson, Robert M.                    0.50        550.00       015               60554134
       PARTICIPATE ON WEEKLY WIP CALL TO DISCUSS OUTSTANDING ISSUES AND WORK STREAMS.


   11/24/20  Conley, Brendan C.                       0.60           630.00        015         60541643
       COORDINATE RE: SLTL REQUEST (.1); COORDINATE RE: WIP CALL (.1); PLAN FOR AND PARTICIPATE IN
       WIP CALL (.4).


   11/24/20   Bonhamgregory, Veronica Gayle                  0.40            392.00    015     60551981
       PARTICIPATE ON WIP CALL.


   11/24/20   Abraham, Melissa S.                            0.50            505.00    015     60549183
       PARTICIPATE ON WIP CALL.


   11/24/20   Chung, Steven                                  0.80            744.00    015     60745464
       PARTICIPATE ON WIP CALL.


   11/24/20   George, Jason                                  0.80            584.00    015     60745446
       PARTICIPATE IN WIP CALL.
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   11/24/20  Wheeler, Emma                          0.80         476.00              015     60630966
       ATTEND INTERNAL MEETING TO DISCUSS WORK IN PROGRESS LIST.


   11/24/20  James, Hillarie                      1.00       845.00                  015     60600617
       TELEPHONE CONFERENCE WITH WEIL TEAM REGARDING CASE STRATEGY.


   11/24/20   Marzocca, Anthony P.                         0.80            744.00    015     60631618
       PARTICIPATE ON WIP CALL.


   11/24/20   Greene, Anthony L.                           0.40            392.00    015     60569273
       PARTICIPATE ON TEAM CALL.


   11/25/20    Perez, Alfredo R.                     2.20      3,300.00          015   60577197
       CONFERENCE CALLS WITH M. BARR AND J. LIOU REGARDING NEXT STEPS (1.2); ALL-HANDS
       CONFERENCE CALL WITH MANAGEMENT, HOULIHAN, ALIX, AND WEIL REGARDING STATUS AND NEXT
       STEPS (1.0).


   11/25/20   Rahman, Faiza N.                             1.00          1,175.00    015     60582964
       PARTICIPATE ON FULL GROUP UPDATE CALL.


   11/25/20   Liou, Jessica                            3.40      3,995.00         015        60602454
       REVIEW PLAN AND DISCLOSURE STATEMENT ISSUES (.1); CONFER WITH M. BARR AND A. PEREZ RE:
       STATUS, OPEN ISSUES AND STRATEGY (1.5); CONFER WITH FIELDWOOD, HOULIHAN, AND WEIL RE:
       STATUS, NEXT STEPS AND STRATEGY (1.0); CONFER WITH M. BARR AND A. PEREZ RE: STRATEGY AND
       OTHER ISSUES (.8).


   11/25/20   Barr, Matthew S.                         2.10      3,412.50      015        60582666
       PARTICIPATE ON TEAM CALL (.7); PARTICIPATE ON ALL HANDS ADVISORS MANAGEMENT CALL (1.0);
       REVIEW ISSUES (.4).


   11/25/20   Carlson, Clifford W.                  1.00       1,050.00              015     60583785
       PARTICIPATE ON ALL HANDS CALL WITH CLIENT AND ADVISORS.
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   11/25/20   George, Jason                                  1.00            730.00    015     60568276
       PARTICIPATE ON ALL-HANDS CALL.


   11/25/20   Greene, Anthony L.                             0.70            686.00    015     60745221
       CLIENT UPDATE CALL.


   11/27/20  Barr, Matthew S.                     0.20                       325.00    015     60582954
       CORRESPONDENCES WITH TEAM REGARDING OPEN ISSUES.


   11/30/20   Perez, Alfredo R.                       0.40     600.00           015       60590604
       TELEPHONE CONFERENCE WITH J. GEORGE REGARDING RETENTION ISSUES (.2); TELEPHONE CONFERENCE
       WITH C. CARLSON AND J. LIOU REGARDING OPEN ISSUES (.2).


   11/30/20  Liou, Jessica                             1.20        1,410.00        015         60602448
       CONFER WITH J. HUFENDICK (.3); CONFER WITH C. CARLSON RE: STATUS AND NEXT STEPS AND
       UPCOMING FILINGS (.4); CONFER WITH C. CARLSON AND A. PEREZ RE: OPEN ISSUES AND STATUS (.5).


   11/30/20   Barr, Matthew S.                       0.70      1,137.50        015          60597134
       PARTICIPATE ON TEAM CALL (.5); CORRESPONDENCES REGARDING OPEN ISSUES WITH CLIENTS (.2).


    SUBTOTAL TASK 015 - General Case Strategy              129.80       $141,691.00
    (Including Team and Client Calls):

   11/02/20   Jalomo, Chris                          1.60        464.00        016        60408229
       ASSIST WITH THE PREPARATION AND FILING OF MOTION TO EXTEND TIME TO REMOVE ACTIONS,
       MASTER SERVICE LIST AND CERTIFICATE OF NO OBJECTION TO APPLICATION OF HOULIHAN AS
       FINANCIAL ADVISOR.


   11/02/20  Olvera, Rene A.                        0.80        296.00        016       60632236
       PREPARE AND ELECTRONICALLY FILE CERTIFICATE OF NO OBJECTION REGARDING HOULIHAN LOKEY
       RETENTION ORDER.
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   11/04/20  Olvera, Rene A.                        3.00       1,110.00       016        60632084
       PREPARE AND ELECTRONICALLY FILE STIPULATION EXTENDING DEADLINE FOR 345(B) COMPLIANCE (.5);
       DRAFT WEIL MONTHLY FEE STATEMENT FOR SEPTEMBER 2020 (2.5).


   11/06/20    Olvera, Rene A.                           1.40          518.00        016         60632079
       PREPARE AND ELECTRONICALLY FILE (I) OCP DECLARATION ON BEHALF OF SCHIFFER HICKS JOHNSON;
       AND (II) FWE - MOTION TO EXTEND TIME TO FILE 2015.3 REPORT (1.0); PREPARE EMAIL TO FEE NOTICE
       PARTIES ATTACHING WEIL'S MONTHLY FEE STATEMENT FOR SEPTEMBER 2020 (.4).


   11/20/20  Jalomo, Chris                         4.50       1,305.00       016        60511922
       PREPARE AND ECF FILE MOTION TO EXTEND AUTOMATIC STAY TO CERTAIN CO-WORKING INTEREST
       OWNERS AS REQUESTED BY A. PEREZ.


   11/21/20  Jalomo, Chris                         0.80         232.00       016        60511900
       PREPARE AND ECF FILE MOTION TO EXTEND AUTOMATIC STAY TO CERTAIN CO-WORKING INTEREST
       OWNERS AS REQUESTED BY A. PEREZ.


   11/21/20  Olvera, Rene A.                        1.00       370.00        016       60615715
       PREPARE AND ELECTRONICALLY FILE NOTICE OF HEARING REGARDING MOTION TO EXTEND STAY
       (CO-WORKING INTEREST OWNERS) AND PREPARE SERVICE EMAIL OF SAME.


   11/22/20  Fabsik, Paul                                  0.10             39.00    016         60514096
       REVIEW AND CALENDAR 11/24 HEARING DATE.


   11/23/20   Jalomo, Chris                          0.80       232.00        016      60567229
       ASSIST WITH THE ORGANIZATION OF MATERIALS IN CONNECTION WITH HEARING FOR NOVEMBER 24,
       2020.


   11/23/20  Olvera, Rene A.                          4.50       1,665.00       016          60615684
       PREPARE AND ELECTRONICALLY FILE (I) AGENDA FOR NOVEMBER 24TH HEARING (.5) AND (II) AMENDED
       WITNESS AND EXHIBIT LIST FOR NOVEMBER 24TH HEARING (INCLUDING EXHIBITS) (3.0); PREPARE
       MULTIPLE EMAILS AND ZIP FILES TO CLIENT CONTAINING FILED EXHIBITS (1.0).
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   11/24/20  Liou, Jessica                           0.20                  235.00    016    60616924
       HEARING PREPARATION CALL WITH A. PEREZ AND C. CARLSON.


   11/24/20  Tripp, Zachary D.                             0.30            352.50    016    60753658
       ATTEND HEARING.


   11/24/20   Carlson, Clifford W.                  0.40                   420.00    016    60745467
       PARTICIPATE AT HEARING ON MOTION TO EXTEND STAY.


   11/24/20  Sierra, Tristan M.                  0.50         365.00       016       60745371
       ATTEND HEARING ON MOTION TO EXTEND AUTOMATIC STAY TO CO-WORKING INTEREST OWNERS.


   11/24/20     Olvera, Rene A.                       5.50       2,035.00        016       60615712
       PREPARE EMAIL TO A. PEREZ ATTACHING ATLANTIC MARITIME HEARING MATERIALS (.8); DRAFT,
       REVISE AND FINALIZE ADVERSARY PROCEEDING COVERSHEET (1.2); PREPARE AND ELECTRONICALLY
       FILE (I) COMPLAINT FOR EXTENSION OF AUTOMATIC STAY (INCLUDING EXHIBITS), AND (II)
       DECLARATION IN SUPPORT OF MOTION (2.5); PREPARE EMAIL TO TEAM ATTACHING RECENTLY FILED
       MATERIALS (1.0).


   11/25/20   Perez, Alfredo R.                     1.10        1,650.00             016    60745311
       PARTICIPATE IN HEARING ON THE MOTION TO EXTEND THE STAY.


   11/25/20  Liou, Jessica                                 0.80            940.00    016    60602401
       ATTEND STAY HEARING.


   11/25/20   Tripp, Zachary D.                     1.40       1,645.00        016          60575681
       CALLS TO PREPARE FOR HEARING ON MOTION TO EXTEND STAY (0.5) AND ATTEND SAME (0.9).


   11/25/20   Carlson, Clifford W.                 1.00       1,050.00       016            60745242
       PARTICIPATE AT HEARING ON COMPLAINT AND MOTION FOR PRELIMINARY INJUNCTION.


   11/25/20     Sierra, Tristan M.                         5.40          3,942.00    016    60601112
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        WITNESS PREPARATION AND ATTEND HEARING (1.0); REVIEW ATLANTIC MOTION OPPOSING MOTION
        TO EXTEND THE STAY (1.0); DRAFT LITIGATION CALENDAR FOR THE ADVERSARY PROCEEDING AND
        CALENDAR KEY DATES (3.4).


   11/25/20   Olvera, Rene A.                          3.70       1,369.00          016       60615672
       PREPARE AND ELECTRONICALLY FILE (I) COMPLAINT FOR EXTENSION OF AUTOMATIC STAY
       (INCLUDING EXHIBITS), (II) DECLARATION IN SUPPORT OF MOTION; AND (III) EMERGENCY MOTION TO
       EXTEND STAY (2.9); PREPARE AND ELECTRONICALLY FILE AMENDED WITNESS AND EXHIBIT LIST FOR
       HEARING ON NOV. 25, 2020 (.8).


   11/27/20   Sierra, Tristan M.                    0.50          365.00       016        60601167
       FINALIZE DRAFT OF ATLANTIC LITIGATION SCHEDULE (.3) AND ARRANGE FOR CALENDAR ENTRIES OF
       ALL COURT DEADLINES (.2) .


   11/30/20    Olvera, Rene A.                       2.30        851.00       016          60604176
       DRAFT SUMMONS FOR ATLANTIC MARITIME (1.0); PREPARE AND ELECTRONICALLY FILE (I) OCP REPORT
       AND (II) MONTHLY OPERATING REPORT FOR OCTOBER 2020 (1.3).


    SUBTOTAL TASK 016 - Hearings and Court                 41.60        $21,450.50
    Matters:

   11/05/20 Kronman, Ariel                        0.10                      125.00    017     60403906
       DOCUMENT REVIEW AND EMAILS, RE: EMERGENCE.


   11/05/20  Conley, Brendan C.                             0.30            315.00    017     60743050
       FOLLOW UP RE: HEDGE APPROACH.


   11/07/20  Kronman, Ariel                             0.50         625.00           017     60413652
       REVIEW PLAN (0.1); EMAIL (0.1); DOCUMENT REVIEW RE: SHELL ISDA (0.3).


   11/09/20  Kronman, Ariel                                 0.40            500.00    017     60421003
       REVIEW ISDA AND EMAILS RE: SAME.
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   11/09/20   Stracar, Nicolle                       2.60       1,898.00        017         60424436
       PREPARE MASTER AGREEMENT (.3); PREPARE SCHEDULE FOR EXECUTION (1.1); REDLINE SCHEDULE
       AGAINST PREVIOUS DRAFT CIRCULATED TO FIELDWOOD TEAM (.1); DRAFT EMAIL TO A. KRONMAN
       WITH MASTER AGREEMENT AND SCHEDULE FOR REVIEW (.2); INCORPORATE A. KRONMAN COMMENTS
       TO SCHEDULE (.3); REDLINE SCHEDULE AGAINST PREVIOUS DRAFT SENT TO FIELDWOOD (.1); DRAFT
       EMAIL TO FIELDWOOD TEAM WITH MASTER AGREEMENT AND SCHEDULE FOR SIGNING (.2); REDLINE
       REVISED SCHEDULE AGAINST PREVIOUS COMMENTS RECEIVED FROM (.1); DRAFT EMAIL TO WITH
       EXECUTION VERSIONS OF MASTER AND SCHEDULE FOR SIGNING (.2).


   11/09/20  Stracar, Nicolle                      0.20       146.00        017              60744875
       DRAFT FOLLOW-UP EMAIL TO MACQUARIE TEAM RE: EXECUTION OF ISDA DOCUMENTS.


   11/11/20  Kronman, Ariel                         1.70       2,125.00               017    60439213
       REVIEW AND REVISE MS HEDGE AND CONF WITH N. STRACAR RE: SAME.


   11/12/20 Kronman, Ariel                                  0.20            250.00    017    60451588
       DOCUMENT AND EMAIL REVIEW RE: SHELL ISDA.


   11/12/20  Stracar, Nicolle                         0.80        584.00       017        60452671
       INCORPORATE COMMENTS TO ISDA SCHEDULE (.2); UPDATE MASTER AGREEMENT DATE (.1); REDLINE
       REVISED SCHEDULE AGAINST PREVIOUS DRAFT (.1); DRAFT EMAIL TO FIELDWOOD TEAM WITH
       EXECUTION VERSIONS OF MASTER AGREEMENT AND SCHEDULE (.2); DRAFT EMAIL TO BANKING TEAM
       WITH EXECUTED FIELDWOOD ISDA SCHEDULES (.1); REVISE DATE ON SIGNED MASTER AGREEMENT
       AND SENT EMAIL TO (.1).


   11/13/20  Stracar, Nicolle                        0.20        146.00        017         60456483
       CALL WITH C. CARLSON RE: CONFIDENTIALITY OF EXECUTED ISDA AGREEMENTS (.1); CALL WITH A.
       KRONMAN RE: CONFIDENTIALITY OF EXECUTED ISDA AGREEMENTS (.1).


   11/16/20  Kronman, Ariel                       0.40         500.00                 017    60474228
       REVIEW SHELL ISDA AND RELATED DOCUMENTS AND EMAILS RE: SAME.


   11/16/20     Edwards, Laura Elaine                       0.90            909.00    017    60471630
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        REVIEW EMAILS RE: SHELL AND MACQUARIE ISDAS (.2); REVIEW REVISED SCHEDULE TO ISDA MASTER
        AGREEMENT AND EMAILS RELATED THERETO (.5); CALL WITH N. STRACAR RE: ISDA (.1); EMAIL N.
        STRACAR RE: OUTSTANDING ITEMS FOR SHELL AND MACQUARIE ISDAS (.1).


   11/16/20   Stracar, Nicolle                         1.80      1,314.00       017          60475754
       DRAFT EMAIL TO SHELL TEAM RE: STATUS UPDATE ON EXECUTION VERSIONS OF ISDA SCHEDULE AND
       MASTER AGREEMENT (.1); CALL WITH L. EDWARDS RE: STATUS UPDATE ON SHELL ISDA DOCUMENTS
       AND MACQUARIE NOTICE (.2); INCORPORATE L. EDWARDS COMMENTS TO SHELL SCHEDULE (.1);
       INCORPORATE SHELL COMMENTS TO SHELL SCHEDULE (.1); CALL WITH L. EDWARDS RE: COMMENTS TO
       SHELL DRAFT OF ISDA SCHEDULE (.3); UPDATE DRAFT OF NOTICE OF HEDGE AGREEMENTS (.1); DRAFT
       EMAIL TO FIELDWOOD TEAM WITH NOTICE OF HEDGE AGREEMENT FOR SIGNING (.1); REDLINE REVISED
       SHELL SCHEDULE AGAINST PREVIOUS DRAFT CIRCULATED TO FIELDWOOD (.1); REDLINE REVISED SHELL
       SCHEDULE AGAINST SHELL'S COMMENTS (.1); DRAFT EMAIL TO A. KRONMAN WITH REVISED SHELL
       SCHEDULE FOR SIGN-OFF (.1); DRAFT EMAIL TO FIELDWOOD TEAM WITH REVISED SHELL SCHEDULE
       AND PERMISSION TO UPDATE SIGNATURE BLOCKS (.1); COMPILE EXECUTION VERSION OF REVISED
       SHELL SCHEDULE AND UPDATED DATE ON SIGNATURE BLOCK OF MASTER AGREEMENT (.1); DRAFT
       EMAIL TO SHELL TEAM WITH PARTIALLY EXECUTED SCHEDULE, MASTER AGREEMENT AND NOTICE OF
       SECURED HEDGE FOR SIGNING (.2); DRAFT EMAIL TO CANTOR FITZGERALD WITH MACQUARIE NOTICE
       FOR SIGNING (.1).


   11/18/20 Kronman, Ariel                                  0.20            250.00    017    60496441
       DOCUMENT AND EMAIL REVIEW RE: HEDGES.


   11/18/20  Edwards, Laura Elaine                 0.30         303.00        017        60494521
       EMAIL NOTICES OF SECURED HEDGE AGREEMENT TO CLIENT AND J. ARON NOTICE OF SECURED HEDGE
       AGREEMENT TO J. ARON.


   11/18/20     Stracar, Nicolle                      0.40        292.00       017       60497703
       REVIEW COUNTERSIGNED EXECUTED SHELL/FIELDWOOD ISDA DOCUMENTATIONS AND DELIVERABLES
       (.2); DRAFT EMAIL TO CANTOR FITZERGERALD WITH NOTICE OF SECURED HEDGE AGREEMENT WITH
       SHELL FOR EXECUTION (.1); UPLOAD EXECUTED SHELL ISDA DOCUMENTATION AND DELIVERABLES TO
       IMANAGE (.1).


    SUBTOTAL TASK 017 - Hedges and Related                 11.00        $10,282.00
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   11/02/20  Swenson, Robert M.                    0.70       770.00       018              60373546
       CONFER WITH A. MARZOCCA AND L. JEWETT REGARDING SUPPLEMENTAL PRODUCTION OF
       DOCUMENTS TO SURETY GROUP.


   11/02/20  Marzocca, Anthony P.                   0.90         837.00          018       60407798
       CALL WITH J. BROWN RE: PRODUCTION OF MATERIALS TO SURETIES (0.2); CORRESPONDENCE WITH L.
       WOODARD RE: SAME (0.1); CORRESPONDENCE WITH SURETIES COUNSEL RE: SAME (0.2); UPDATE
       PRODUCTIONS TO SURETIES (0.4).


   11/02/20  Sierra, Tristan M.                    8.00      5,840.00     018               60451801
       RESEARCH ISSUES REGARDING SURETY BONDS AND DRAFT ASSOCIATED MEMORANDUM.


   11/03/20  George, Jason                        3.70         2,701.00         018         60400339
       RESEARCH TREATMENT OF SURETY CLAIMS IN BANKRUPTCY (3.0); CALL WITH T. SIERRA RE: SURETY
       RESEARCH (0.7).


   11/03/20  Marzocca, Anthony P.                  1.50      1,395.00                018    60630944
       CORRESPONDENCE WITH SURETY PARTIES RE: PRODUCTION OF MATERIALS.


   11/03/20  Sierra, Tristan M.                    5.20      3,796.00     018               60466229
       RESEARCH ISSUES REGARDING SURETY BONDS AND DRAFT ASSOCIATED MEMORANDUM.


   11/04/20  Liou, Jessica                                 0.10            117.50    018    60404307
       REVIEW SURETY BOND ISSUES.


   11/04/20  George, Jason                                 0.20            146.00    018    60402638
       CALL WITH C. CARLSON RE: SURETY RESEARCH.


   11/04/20  Sierra, Tristan M.                    4.60      3,358.00     018               60465985
       RESEARCH ISSUES REGARDING SURETY BONDS AND DRAFT ASSOCIATED MEMORANDUM.
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   11/05/20  Swenson, Robert M.                    0.80       880.00       018       60408407
       REVIEW AND ANALYZE CONFIDENTIALITY PROVISIONS REGARDING DOCUMENTS REQUESTED BY
       SURETY GROUPS.


   11/05/20  Carlson, Clifford W.                     3.40      3,570.00       018         60420176
       EMAILS REGARDING DILIGENCE REQUESTS FROM SURETIES (.4); REVIEW AND REVISE OUTLINE ON
       SURETY RESEARCH (1.5); REVIEW CASES RELATING TO SURETY RESEARCH AND REVISE OUTLINE (1.5).


   11/05/20  Chung, Steven                          0.20                   186.00    018     60403828
       CORRESPONDENCE RE: SURETY DILIGENCE REQUEST.


   11/05/20  George, Jason                         2.00                  1,460.00    018     60400329
       REVIEW AND REVISE OUTLINE OF SURETY RESEARCH.


   11/05/20   Marzocca, Anthony P.                      2.10     1,953.00         018        60630933
       CORRESPONDENCE WITH SURETY PARTIES RE: PRODUCTION OF MATERIALS (0.5); CORRESPONDENCE
       WITH C. CARLSON AND L. JEWETT RE: SAME (0.4); CORRESPONDENCE WITH C. CARLSON RE:
       RESPONDING TO INFORMATION REQUEST (0.2); REVIEW AGREEMENT FOR CONFIDENTIALITY
       PROVISIONS AND SHARING (0.5); CORRESPONDENCE WITH C. CARLSON, J. LIOU, AND R. SWENSON RE:
       SAME (0.5).


   11/05/20  Sierra, Tristan M.                       6.80     4,964.00              018     60466091
       RESEARCH VARIOUS ISSUES (3.4) AND DRAFT ASSOCIATED MEMORANDUM (3.4).


   11/06/20  Marzocca, Anthony P.                  0.30        279.00       018         60630946
       CORRESPONDENCE WITH C. CARLSON AND R. SWENSON RE: SURETY PRODUCTION REQUEST ISSUES.


   11/06/20  Sierra, Tristan M.                   1.70      1,241.00                 018     60465968
       REVIEW CONTRACTUAL LANGUAGE (1) AND DRAFT ASSOCIATED MATRIX (.7).


   11/07/20  George, Jason                           1.10        803.00              018     60411005
       CALL WITH C. CARLSON AND T. SIERRA RE: MEMO ON SURETY CLAIMS.
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   11/07/20  Sierra, Tristan M.                            0.90            657.00    018    60466155
       RESEARCH VARIOUS ISSUES.


   11/08/20  George, Jason                                 2.90          2,117.00    018    60423276
       DRAFT MEMO ON TREATMENT OF SURETY CLAIMS.


   11/09/20  Carlson, Clifford W.                  0.30        315.00                018    60428739
       MULTIPLE EMAILS REGARDING DILIGENCE REQUESTS FROM SURETIES.


   11/09/20  George, Jason                                 3.60          2,628.00    018    60423067
       DRAFT MEMO RE: SURETY CLAIMS.


   11/09/20  Marzocca, Anthony P.                     0.90     837.00       018           60630910
       REVIEW AND PREPARE MATERIALS FOR CONFIDENTIALITY FOR PRODUCTION TO SURETIES (0.8);
       CORRESPONDENCE WITH C. CARLSON RE: SAME (0.1).


   11/09/20  Sierra, Tristan M.                       5.90     4,307.00              018    60466490
       RESEARCH VARIOUS ISSUES (2.5) AND DRAFT ASSOCIATED MEMORANDUM (3.4).


   11/10/20  Carlson, Clifford W.                  0.30                    315.00    018    60464948
       EMAILS REGARDING DILIGENCE REQUESTS FROM SURETIES.


   11/10/20  George, Jason                                 4.80          3,504.00    018    60450371
       DRAFT AND REVISE SURETY MEMO.


   11/10/20     Marzocca, Anthony P.               0.50         465.00        018       60630937
       CORRESPONDENCE WITH C. CARLSON AND M. KLEISSLER RE: REDACTIONS FOR SURETY PRODUCTION
       (0.3); REVIEW SAME (0.2).


   11/10/20  Sierra, Tristan M.                       6.50     4,745.00              018    60466551
       RESEARCH VARIOUS ISSUES (3.5) AND DRAFT ASSOCIATED MEMORANDUM (3).
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   11/11/20  Carlson, Clifford W.                  0.60         630.00         018        60465680
       MULTIPLE EMAILS WITH STROOCK REGARDING DILIGENCE ITEMS (.4) EMAILS WITH DAVIS POLK
       REGARDING DILIGENCE (.2).


   11/11/20  Marzocca, Anthony P.                  0.20        186.00       018                  60630905
       CORRESPONDENCE WITH C. CARLSON AND R. SWENSON RE: REDACTIONS FOR PRODUCTION OF
       MATERIALS.


   11/11/20  Sierra, Tristan M.                       9.60     7,008.00              018         60466550
       RESEARCH VARIOUS ISSUES (5.5) AND DRAFT ASSOCIATED MEMORANDUM (4.1).


   11/12/20 George, Jason                         7.50                   5,475.00    018         60459644
       CONDUCT RESEARCH, DRAFT AND REVISE SURETY MEMO.


   11/12/20  Sierra, Tristan M.                      8.60     6,278.00               018         60466672
       RESEARCH VARIOUS ISSUES (5) AND DRAFT ASSOCIATED MEMORANDUM (3.6).


   11/12/20 Altman-DeSole, Jacob                           4.50          1,125.00    018         60543155
       CONDUCT RESEARCH RE: SURETY CLAIMS.


   11/13/20  Perez, Alfredo R.                    0.60         900.00                018         60462913
       CONFERENCE CALL WITH WEIL TEAM REGARDING SURETY ISSUES.


   11/13/20   Carlson, Clifford W.                    1.70      1,785.00       018           60466028
       PARTICIPATE ON CALL WITH J. GEORGE AND T. SIERRA REGARDING SURETY RESEARCH (1.3); REVIEW
       MEMO AND EMAILS REGARDING SAME (.4).


   11/13/20    George, Jason                            2.80       2,044.00         018          60459617
       CALL WITH T. SIERRA AND C. CARLSON RE: SURETY RESEARCH (0.9); EMAIL J. LIOU RE: SURETY
       RESEARCH (0.1); PREPARE FOR CALL WITH A. PEREZ AND J. LIOU RE: SURETY CLAIMS (0.5); CALL WITH A.
       PEREZ, J. LIOU, AND C. CARLSON RE: SURETY CLAIMS (1.3).
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   11/13/20   Sierra, Tristan M.                     6.90        5,037.00       018     60466592
       RESEARCH VARIOUS ISSUES RELATING TO SURETIES (3.5) AND DRAFT ASSOCIATED MEMORANDUM RE:
       SAME (3.4).


   11/15/20  Perez, Alfredo R.                    0.10       150.00                  018    60463445
       VARIOUS COMMUNICATIONS WITH C. CARLSON REGARDING REQUEST FROM RLI.


   11/16/20  Sierra, Tristan M.                       7.30      5,329.00      018        60600978
       RESEARCH ISSUES REGARDING SURETY BONDS (3.0); AND DRAFT ASSOCIATED MEMORANDUM (3.3);
       RESEARCH UNDERLYING BOND LANGUAGE FOR DRAW TERMS AND TRIGGERS (.6); DRAFT SURETY BOND
       MATRIX AND FLAG ISSUES RELATED TO BONDS TO DISCUSS WITH HOULIHAN (.4).


   11/17/20  Sierra, Tristan M.                       7.10      5,183.00     018        60601010
       RESEARCH UNDERLYING BOND LANGUAGE FOR DRAW TERMS AND TRIGGERS (1.2); DRAFT SURETY
       BOND MATRIX (.8) AND; DRAFT REQUEST FOR INFORMATION FROM HOULIHAN REGARDING BONDS (.4);
       RESEARCH ISSUES REGARDING SURETY BONDS (2.2); DRAFT ASSOCIATED MEMORANDUM (2.5).


   11/18/20  Carlson, Clifford W.                          0.20            210.00    018    60526175
       MULTIPLE EMAILS WITH SURETY'S' COUNSEL.


   11/18/20   George, Jason                                2.30          1,679.00    018    60514517
       REVISE SURETY MEMO.


   11/18/20   Sierra, Tristan M.                     6.20         4,526.00       018      60600943
       RESEARCH UNDERLYING BOND LANGUAGE FOR DRAW TERMS AND TRIGGERS (.8); DRAFT SURETY BOND
       MATRIX (.4); REVIEW RESPONSES FROM HOULIHAN TO REQUESTS FOR INFORMATION REGARDING
       BONDS (.5); RESEARCH ISSUES REGARDING SURETY BONDS (2.0); DRAFT ASSOCIATED MEMORANDUM
       (2.5).


   11/19/20   George, Jason                                2.10          1,533.00    018    60514554
       REVISE SURETY MEMO.


   11/19/20     Sierra, Tristan M.                         4.90          3,577.00    018    60601009
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        RESEARCH ISSUES REGARDING SURETY BONDS (3.2); DRAFT ASSOCIATED MEMORANDUM (1.7).


   11/20/20  George, Jason                                   3.50          2,555.00    018    60514558
       DRAFT AND REVISE SURETY MEMO.


   11/23/20   George, Jason                                  3.80          2,774.00    018    60543453
       REVISE SURETY MEMO.


   11/25/20  Carlson, Clifford W.                  0.30        315.00                  018    60583838
       MULTIPLE EMAILS REGARDING DILIGENCE REQUESTS FROM SURETIES.


   11/25/20  Sierra, Tristan M.                       3.40      2,482.00     018              60601213
       RESEARCH ISSUES REGARDING SURETY BONDS (1.7); DRAFT ASSOCIATED MEMORANDUM (1.7).


   11/26/20   George, Jason                         0.50                     365.00    018    60568274
       REVISE DRAFT OF MEMO RE: TREATMENT OF SURETY CLAIMS.


   11/30/20  Sierra, Tristan M.                       2.80      2,044.00     018              60601097
       RESEARCH ISSUES REGARDING SURETY BONDS (1.4); DRAFT ASSOCIATED MEMORANDUM (1.4).


    SUBTOTAL TASK 018 - Insurance, Surety Bond, &          157.40       $117,376.50
    Letters of Credit Matters:

   11/01/20   Simmons, Kevin Michael                   7.70       6,506.50       019        60353220
       CALL WITH E. CHOI ON RESEARCH (0.2); RESEARCH VARIOUS ISSUES IN CONNECTION WITH ANALYSIS
       OF POTENTIAL CLAIMS AGAINST CONTRACT COUNTERPARTY (7.5).


   11/01/20  Choi, Erin Marie                      5.60      5,880.00       019        60351461
       DRAFT OUTLINE OF CLAIMS AGAINST VENDOR AND CONFER WITH K. SIMMONS REGARDING SAME.


   11/02/20     Perez, Alfredo R.                            0.10            150.00    019    60373507
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        REVIEW RULE 9027 MOTION AND TELEPHONE CONFERENCE WITH H. JAMES REGARDING SAME.


   11/02/20  Liou, Jessica                             0.80        940.00       019          60396898
       EMAIL WITH H. JAMES RE: REMOVAL MOTION (.1); REVIEW AND COMMENT ON FILING VERSION OF
       REMOVAL MOTION (.3); EMAILS WITH H. JAMES RE: FINALIZING REMOVAL MOTION FOR FILING (.4).


   11/02/20  Choi, Erin Marie                      0.10         105.00               019        60364921
       SEND DRAFT OUTLINE OF CLAIMS AGAINST VENDOR TO P. GENENDER.


   11/02/20   James, Hillarie                         4.30         3,633.50        019          60389198
       REVISE MOTION TO EXTEND REMOVAL DEADLINE (1.0); UPDATE LITIGATION PARTIES CONTACT
       INFORMATION (0.4); CORRESPONDENCE WITH WEIL TEAM REGARDING SAME (0.3); COORDINATE FILING
       AND SERVICE OF SAME (0.4); RESEARCH REMOVAL ISSUES (1.7); REVISE NOTICE OF REMOVAL (0.5).


   11/02/20    Gilchrist, Roy W.                     2.60        1,040.00       019        60384744
       ASSIST IN PREPARATION OF DEBTORS’ MOTION FOR AN ORDER (I) EXTENDING THE DEADLINE BY
       WHICH THE DEBTORS MAY REMOVE CIVIL ACTIONS AND (II) GRANTING RELATED RELIEF.


   11/03/20  Choi, Erin Marie                      1.30       1,365.00               019        60378960
       REVIEW ADDITIONAL CASE LAW IN CONNECTION WITH OUTLINE UPDATES.


   11/03/20  James, Hillarie                           1.30      1,098.50        019       60397004
       RESEARCH REMOVAL ISSUES (0.7); REVISE NOTICE OF REMOVAL (0.4); CORRESPONDENCE WITH WEIL
       TEAM REGARDING SAME (0.2).


   11/03/20  Marzocca, Anthony P.                  0.30        279.00                019        60630955
       CORRESPONDENCE WITH R. PADDOCK AND H. JAMES RE: REMOVAL ISSUES.


   11/04/20  Liou, Jessica                                 0.70            822.50    019        60404450
       REVIEW REMOVAL RESEARCH.


   11/04/20     James, Hillarie                            0.70            591.50    019        60399530
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        REVISE MEMO ON REMOVAL ISSUES (0.6); CORRESPONDENCE WITH WEIL TEAM REGARDING SAME (0.1).


   11/05/20  Carlson, Clifford W.                  0.20        210.00                  019     60420235
       EMAILS REGARDING SERVICE OF MOTION TO EXTEND TIME TO REMOVE ACTIONS.


   11/06/20   Carlson, Clifford W.                 0.60          630.00        019       60420827
       EMAILS WITH LITIGATION REGARDING PRODUCTION REQUESTS (.4); CALL WITH STROOCK REGARDING
       SAME (.2).


   11/06/20   Simmons, Kevin Michael                         1.30          1,098.50    019     60413009
       REVISE CLAIMS OUTLINE.


   11/06/20  Choi, Erin Marie                      0.20        210.00       019         60415866
       REVIEW AND REVISE UPDATED CLAIMS OUTLINE FROM K. SIMMONS AND SEND SAME TO P. GENENDER.


   11/09/20   Perez, Alfredo R.                      0.60        900.00       019         60423455
       REVIEW AND REVISE REMOVAL PAPERS (.3); COMMUNICATIONS WITH H. JAMES AND C. CARLSON
       REGARDING SAME (.1); REVIEW REVISED REMOVAL PETITION AND COMMUNICATIONS WITH J. LIOU
       AND H. JAMES REGARDING SAME (.2).


   11/09/20   Liou, Jessica                            3.10       3,642.50       019          60452868
       REVIEW AND RESPOND TO EMAIL RE: REMOVALS; REVIEW AND COMMENT ON SAME (.5); NOTICES OF
       REMOVAL (.6); EMAILS WITH H. JAMES AND C. CARLSON RE: NOTICES OF REMOVAL (1.0); REVIEW AND
       REVISE SANARA NOTICE OF REMOVAL (.4); REVIEW AND REVISE RENAISSANCE NOTICE OF REMOVAL
       (.6).


   11/09/20     Carlson, Clifford W.                    1.70      1,785.00          019        60428752
       REVIEW AND REVISE NOTICES OF REMOVAL (.8); CALLS WITH J. LIOU AND H. JAMES REGARDING SAME
       (.4); CALL WITH R. PADDOCK REGARDING SAME (.3); MULTIPLE EMAILS WITH J. LIOU AND H. JAMES
       REGARDING SAME (.2).


   11/09/20     Simmons, Kevin Michael                       3.40          2,873.00    019     60422855
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        REVISE CLAIMS OUTLINE.


   11/09/20  Choi, Erin Marie                     0.80         840.00                  019    60424476
       REVIEW AND REVISE CLAIMS MEMO AND SEND SAME TO P. GENENDER.


   11/09/20   James, Hillarie                        4.80      4,056.00        019       60454416
       REVISE NOTICES OF REMOVAL (4.0); CORRESPONDENCE WITH WEIL AND ADVISOR TEAMS REGARDING
       SAME (0.8).


   11/10/20   Carlson, Clifford W.                 0.20         210.00                 019    60464823
       PARTICIPATE ON CALL WITH R. PADDOCK REGARDING NOTICES OF REMOVAL.


   11/16/20   Carlson, Clifford W.                  0.50       525.00                  019    60494232
       PARTICIPATE ON CALL WITH LITIGATION TEAM AND A.MARZOCCA REGARDING
       LITIGATION/DISCOVERY SCHEDULE.


   11/25/20  Perez, Alfredo R.                     0.10        150.00        019              60577086
       REVIEW RULE 9027 CNO AND COMMUNICATIONS WITH H. JAMES REGARDING SAME.


   11/25/20  James, Hillarie                         1.00       845.00        019       60600676
       DRAFT AND COORDINATE FILING OF CERTIFICATE OF NO OBJECTION TO REMOVAL DEADLINE MOTION.


    SUBTOTAL TASK 019 - Non-Bankruptcy                      44.00        $40,386.50
    Litigation:

   11/03/20   George, Jason                                  0.10             73.00    022    60400359
       EMAIL T. LAMME RE: OCP RETENTION.


   11/05/20  Carlson, Clifford W.                  0.20                      210.00    022    60420183
       CALL WITH M. HANEY REGARDING HOULIHAN FEE APPLICATION.


   11/05/20     George, Jason                                0.10             73.00    022    60865407
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        EMAIL T. LAMME RE: OCP DECLARATIONS (0.1).


   11/06/20  George, Jason                          0.70           511.00         022         60409719
       REVIEW AND PREPARE OCP DECLARATION FOR FILING (0.1); EMAIL TO J. LIOU AND C. CARLSON RE: OCP
       DECLARATION (0.1); CORRESPONDENCE WITH OCP PROFESSIONALS RE: RETENTION (0.5).


   11/17/20  Liou, Jessica                         0.20                    235.00     022     60496783
       CONFER WITH E&Y RE: SUPPLEMENTAL RETENTION.


   11/17/20  George, Jason                            0.20                 146.00     022     60493907
       CALL WITH M. HOSBACH AND J. LIOU RE: OCP RETENTION.


   11/24/20  George, Jason                        0.30        219.00                  022     60568295
       CORRESPONDENCE WITH T. LAMME AND VARIOUS OCPS RE: DECLARATIONS.


   11/25/20  George, Jason                              0.40       292.00        022          60568303
       CORRESPONDENCE WITH T. LAMME AND V. BRAVO RE: OCP RETENTION (0.1); CALL WITH B.
       SARGESKETTER RE: OCP RETENTIONS (0.2); EMAIL C. BROWN RE: OCP DECLARATION (0.1).


   11/26/20   George, Jason                           0.10                  73.00     022     60568273
       EMAIL C. GRING AND J. CHIANG RE: OCP PAYMENT SCHEDULE.


   11/27/20  George, Jason                           0.50        365.00               022     60568281
       CORRESPONDENCE WITH J. LIOU AND C. CARLSON RE: OCP RETENTION.


   11/28/20  George, Jason                         0.60         438.00            022        60568284
       DRAFT NOTICE RE: OCP PAYMENTS FOR QUARTERLY OCP REPORT (0.5); EMAIL TO J. CHIANG RE: OCP
       PAYMENTS (0.1).


   11/29/20   George, Jason                             0.20          146.00          022     60631103
       EMAIL TO C. CARLSON RE: OCP REPORT (0.1); EMAIL TO J. CHIANG RE: SAME (0.1).
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   11/30/20  Liou, Jessica                           1.00      1,175.00       022          60602408
       REVIEW ARBITRATION AND OCP RESEARCH (.6); REVIEW AND COMMENT ON OCP REPORT (.3); REVIEW
       AND RESPOND TO J. GEORGE EMAIL RE: OCPS (.1).


   11/30/20   George, Jason                               1.00         730.00         022          60631165
       CORRESPONDENCE WITH J. LIOU RE: OCP RETENTION (0.2); CALL WITH A. PEREZ RE: OCP RETENTION (0.2);
       CALL WITH C. CARLSON RE: OCP REPORT (0.1); EMAIL TO J. LIOU RE: OCP REPORT (0.1); REVISE DRAFT OF
       OCP REPORT (0.2); EMAIL TO J. LIOU RE: OCP SPEND HISTORY (0.2).


    SUBTOTAL TASK 022 - Retention / Fee                       5.60         $4,686.00
    Applications: OCPs:

   11/02/20  Liou, Jessica                             0.90       1,057.50       023               60396904
       REVIEW AND EMAILS WITH N. MOORE RE: FINALIZING HL PROPOSED ORDER (.6); REVIEW AND
       COMMENT ON HL FILING (.2); EMAIL N. MOORE RE: HL RETENTION ORDER (.1).


   11/02/20   Moore, Nathaniel                     1.40      1,302.00        023        60399604
       UPDATE AND FINALIZE HOULIHAN LOKEY RETENTION ORDER AND CERTIFICATE OF NON-OBJECTION
       FOR FILING.


   11/04/20   Moore, Nathaniel                      0.50         465.00      023                   60399587
       DISTRIBUTE FINAL ENTERED HOULIHAN LOKEY RETENTION ORDER TO RELEVANT PARTIES (.3);
       COORDINATE DISCUSSION OF FEE APPLICATION DISCUSSION WITH HOULIHAN LOKEY (.2).


   11/04/20  Carlson, Clifford W.                             0.20            210.00    023        60420042
       EMAILS WITH HOULIHAN REGARDING FEES.


   11/04/20  George, Jason                          0.10         73.00                  023        60402466
       CORRESPONDENCE WITH J. CHIANG RE: RYAN RETENTION APPLICATION.


   11/11/20  James, Hillarie                      0.20       169.00        023                     60500224
       CORRESPONDENCE WITH WEIL AND ALIXPARTNERS TEAMS REGARDING FEE STATEMENTS.
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   11/16/20  Carlson, Clifford W.                               0.20            210.00    023    60494246
       EMAILS REGARDING FEE ISSUES.


   11/23/20  George, Jason                           0.40           292.00        023         60543485
       CALL WITH C. CARLSON RE: RETENTION APPLICATION (0.3); EMAIL TO C. CARLSON RE: RETENTION
       APPLICATION PRECEDENT (0.1).


   11/30/20   Carlson, Clifford W.                  0.60       630.00                     023    60611523
       REVISE RYAN RETENTION APPLICATION AND EMAILS REGARDING SAME.


   11/30/20  James, Hillarie                                    0.40            338.00    023    60614671
       REVIEW ALIXPARTNERS FEE APPLICATION.


    SUBTOTAL TASK 023 - Retention / Fee                         4.90         $4,746.50
    Applications: Non-Weil Professionals:

   11/02/20    Liou, Jessica                       3.10      3,642.50       024        60396918
       REVIEW AND REVISE SEPTEMBER MONTHLY FEE STATEMENT FOR PRIVILEGE AND CONFIDENTIALITY
       ISSUES.


   11/03/20  Liou, Jessica                       2.80       3,290.00       024        60397132
       REVIEW AND COMMENT ON SEPTEMBER FEE STATEMENT FOR PRIVILEGE AND CONFIDENTIALITY.


   11/03/20  Marzocca, Anthony P.                  1.00         930.00        024                60630977
       CORRESPONDENCE RE: MONTHLY FEE STATEMENT (0.4); PREPARE AND REVISE SAME (0.6).


   11/04/20  Liou, Jessica                          0.20        235.00                    024    60404356
       EMAILS WITH J. FRIEDMAN AND C. CARLSON RE MONTHLY FEE STATEMENT.


   11/04/20  Friedman, Julie T.                    0.30                         187.50    024    60390256
       EMAILS AND CALLS RE: MONTHLY BILLING STATEMENT.
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   11/04/20  Carlson, Clifford W.                  1.20       1,260.00          024         60420082
       CALLS WITH J. FRIEDMAN AND A. MARZOCCA REGARDING WEIL FEES (.4); REVIEW AND REVISE FEE
       STATEMENT (.8).


   11/04/20  Marzocca, Anthony P.                  2.40       2,232.00               024    60630903
       REVIEW MONTHLY STATEMENT (2.1); CORRESPONDENCE RE: SAME (0.3).


   11/05/20  Liou, Jessica                           0.70        822.50       024        60408741
       REVIEW AND COMMENT ON SEPTEMBER MONTHLY FEE STATEMENT (.4); REVIEW AND RESPOND TO
       FURTHER EMAILS FROM J. FRIEDMAN AND D. TRELLIS RE: SEPTEMBER MONTHLY FEE STATEMENT (.2);
       EMAIL M. DANE AND T. LAMME RE: SEPTEMBER MONTHLY FEE STATEMENT (.1).


   11/05/20  Marzocca, Anthony P.                          0.30            279.00    024    60630948
       REVIEW MONTHLY FEE STATEMENT.


   11/05/20  Olvera, Rene A.                     1.50        555.00        024       60743049
       CONFIRM ATTORNEY ADMITTANCE YEARS IN CONNECTION WITH MONTHLY FEE STATEMENT FOR
       SEPTEMBER 2020; FINALIZE SAME.


   11/11/20  Liou, Jessica                        0.60       705.00                  024    60745254
       REVIEW MATCH SHEETS, AND COMMENT ON WEIL SUPPLEMENTAL DISCLOSURE.


   11/11/20   James, Hillarie                        0.60       507.00       024        60500255
       REVISE SUPPLEMENTAL DECLARATION (0.4); CORRESPONDENCE WITH WEIL TEAM REGARDING SAME
       (0.2).


   11/12/20  Liou, Jessica                         0.20                    235.00    024    60499966
       FURTHER REVISIONS TO SUPPLEMENTAL DISCLOSURE.


   11/12/20   James, Hillarie                        0.40       338.00       024        60500271
       REVISE SUPPLEMENTAL DECLARATION (0.3); CORRESPONDENCE WITH WEIL TEAM REGARDING SAME
       (0.1).
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   11/12/20     Lee, Kathleen Anne                 1.60          696.00        024          60456785
       RESEARCH SUPPLEMENTAL DISCLOSURES FILED BY WEIL (1.2); CORRESPOND WITH H. JAMES RE: SAME
       (.2); UPDATE DISCLOSURE TABLE (.2).


   11/16/20  Friedman, Julie T.                    5.60       3,500.00               024    60479948
       REVIEW INVOICE FOR COMPLIANCE WITH US TRUSTEE GUIDELINES.


   11/16/20   James, Hillarie                        0.60       507.00        024           60500214
       REVISE SUPPLEMENTAL DISCLOSURE (0.3); CORRESPONDENCE WITH WEIL TEAM AND CLIENT
       REGARDING SAME (0.1); COORDINATE FILING OF SAME (0.2).


   11/16/20  Fabsik, Paul                          0.60        234.00         024           60470750
       PREPARE AND FILE FIRST SUPPLEMENTAL DECLARATION OF MATT BARR RE: WEIL RETENTION.


   11/17/20  Friedman, Julie T.                    1.30         812.50               024    60479945
       REVIEW INVOICE FOR COMPLIANCE WITH US TRUSTEE GUIDELINES.


   11/19/20  Friedman, Julie T.                    2.10       1,312.50               024    60511074
       REVIEW INVOICE FOR COMPLIANCE WITH US TRUSTEE GUIDELINES.


   11/23/20   Liou, Jessica                                0.40            470.00    024    60621228
       FINALIZE SUPPLEMENTAL DISCLOSURE.


   11/23/20   James, Hillarie                              0.60            507.00    024    60591373
       REVISE INTERIM FEE APPLICATION.


   11/23/20   Kleissler, Matthew Joseph             0.40       100.00        024         60540062
       ASSIST WITH PREPARATION OF MATERIALS RE: FOURTH MONTHLY FEE STATEMENT FOR H. JAMES.


   11/23/20   Pal, Himansu                            0.50        125.00         024        60763953
       ASSIST WITH PREPARATION OF WEIL FIRST INTERIM FEE APPLICATION FOR H. JAMES.
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   11/24/20  Liou, Jessica                          1.20                    1,410.00    024    60616923
       REVIEW WEIL MONTHLY FEE APPLICATION FOR PRIVILEGE.


   11/24/20  Friedman, Julie T.                    1.00         625.00                  024    60548812
       REVIEW INVOICE FOR COMPLIANCE WITH US TRUSTEE GUIDELINES.


   11/25/20  Liou, Jessica                                    0.30            352.50    024    60602407
       REVIEW AND COMMENT ON FEE APPLICATION.


   11/30/20  Marzocca, Anthony P.                  0.30           279.00        024           60588889
       CALL WITH C. CARLSON RE: MONTHLY FEE STATEMENT (0.2); REVIEW MATERIALS RE: SAME (0.1).


    SUBTOTAL TASK 024 - Retention / Fee                      31.80        $26,149.00
    Applications: Weil:

   11/10/20  Carlson, Clifford W.                   0.40           420.00       025        60464635
       REVIEW JIB MATRIX AND CIRCULATE TO REQUIRED PARTIES (.2); EMAILS REGARDING ARENA DISPUTE
       (.2).


   11/13/20  Carlson, Clifford W.                    0.50        525.00                 025    60465961
       EMAILS WITH VENDORS (.3); MULTIPLE EMAILS REGARDING ARENA DISPUTE (.2).


   11/24/20  James, Hillarie                        0.40        338.00        025        60600668
       CORRESPONDENCE WITH WEIL, UCC, UST, AND DAVIS POLK TEAMS REGARDING JIB AND VENDOR
       MATRIX.


    SUBTOTAL TASK 025 - Royalty/JIB Matters:                  1.30         $1,283.00

   11/04/20 Perez, Alfredo R.                                 0.60            900.00    026    60415699
       WEEKLY UPDATE CALL WITH FLTL ADVISORS.


   11/04/20     Hufendick, Jason                              0.80            744.00    026    60412745
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        ATTEND ADVISORS UPDATE CALL WITH COUNSEL TO DIP LENDERS AND FLTL LENDERS.


   11/04/20   George, Jason                                0.60            438.00    026      60402676
       PARTICIPATE ON WEEKLY ADVISOR CALL.


   11/06/20   George, Jason                          0.10          73.00             026      60409705
       EMAIL TO M. DANE AND T. LAMME RE: LENDER PROFESSIONAL FEES.


   11/11/20  Perez, Alfredo R.                      1.00       1,500.00       026        60444904
       CONFERENCE CALL WITH FLTL ADVISORS, ALIX, HOULIHAN, AND WEIL REGARDING STATUS, PLAN AND
       DISCLOSURE STATEMENT ISSUES AND NEXT STEPS.


   11/11/20   George, Jason                                1.00            730.00    026      60450395
       PARTICIPATE IN WEEKLY ADVISOR CALL.


   11/12/20  Liou, Jessica                                 0.20            235.00    026      60499962
       CONFER WITH V&E RE: BP LIEN RELEASE.


   11/16/20  Liou, Jessica                           0.90       1,057.50        026           60496597
       CONFER RE: GALAPAGOS DEEP ASSIGNMENT (.2); CONFER WITH CAITLIN AND B. FOX RE: SAME (.2);
       CONFER WITH D. CROWLEY RE: UPDATE ON LENDER DISCUSSIONS (.5).


   11/17/20  Perez, Alfredo R.                     0.40       600.00                 026      60492503
       CONFERENCE CALL WITH DAVIS POLK AND WEIL REGARDING OPEN ISSUES.


   11/17/20  Liou, Jessica                              0.20        235.00       026       60496492
       CALL WITH N. TSIOURIS AND M. PERA RE: PROCESS, TIMING, DISCLOSURE STATEMENT AND OTHER
       WORKSTREAMS.


   11/18/20     Liou, Jessica                              1.00          1,175.00    026      60499971
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        REVIEW MEXICO CONSENT AND ASSIGNMENTS (.2); EMAILS WITH C. MARCUS RE: CONSENTS AND
        ASSIGNMENTS FOR MEXICO (.1); EMAIL WITH T. ALLEN RE: CONSENTS TO ASSIGNMENT FOR MEXICO
        (.6); EMAILS WITH F. RAHMAN AND CONFER WITH G. WESTERMAN RE: CHAPTER 11 PLAN (.1).


   11/18/20   George, Jason                          0.70           511.00         026       60514529
       EMAIL TO M. DANE AND T. LAMME RE: PROFESSIONAL FEES (0.1); PARTICIPATE IN WEEKLY ADVISORS
       CALL (0.6).


   11/24/20  Moore, Rodney L.                                 0.50            712.50    026    60549412
       ATTENTION TO CREDIT BID PSA MATTERS.


   11/25/20  Moore, Rodney L.                      1.20                     1,710.00    026    60581307
       REVIEW ASSETS ALLOCATION/CREDIT BID SALE MATTERS.


    SUBTOTAL TASK 026 - Secured Creditor Issues /             9.20        $10,621.00
    Meetings / Communications:

   11/02/20 Tippett, Matthew                                  0.20            202.00    027    60388250
       COMMUNICATIONS WITH WORKING GROUP.


   11/03/20  Goldring, Stuart J.                       0.60       1,017.00       027       60379380
       PERIODIC WEIL UPDATE CALL (.4); CALL WITH J. MACKE REGARDING DRAFT TAX DISCLOSURE FOR
       DISCLOSURE STATEMENT (.2).


   11/03/20  Macke, Jonathan J.                       0.80          960.00              027    60376148
       REVIEW TAX DISCLOSURE (.5); CONFERENCE WITH S GOLDRING (.3).


   11/03/20 Tippett, Matthew                     0.70      707.00         027        60387998
       COMMUNICATIONS AND TELEPHONE CONFERENCES WITH WORKING GROUP RE: TAX STRUCTURING.


   11/04/20     Tippett, Matthew                              5.20          5,252.00    027    60399762
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        COMMUNICATIONS WITH WORKING GROUP RE: TAX DISCLOSURE (.7); DRAFT TAX DISCLOSURE AND
        REVIEW LEGAL PRECEDENTS (4.5).


   11/05/20   Goldring, Stuart J.                  1.00         1,695.00       027       60407974
       REVIEW DRAFT TAX SECTION OF DISCLOSURE STATEMENT (.2); CALL WITH TAX TEAM REGARDING
       SAME (.8).


   11/05/20  Macke, Jonathan J.                     4.40         5,280.00      027               60401526
       ATTENTION TO TAX SECTION I DISCLOSURE STATEMENT (2.9); CORRESPONDENCE RE: SAME (.6);
       CONFERENCE WITH WEIL TAX TEAM (.9).


   11/05/20   Hong, Jeesun                               7.30       6,789.00         027        60403918
       REVISE DISCLOSURE STATEMENT (3.1); WIP CALL (0.4); TAX INTERNAL CALL (0.8); REVIEW UPDATED
       PLAN, DISCUSS WITH M.TIPPETT AND REVISE THE PLAN (3.0).


   11/05/20  Tippett, Matthew                      5.00         5,050.00  027        60404342
       TELEPHONE CONFERENCES AND COMMUNICATIONS WITH WORKING GROUP RE: TAX DISCLOSURE (3.0);
       REVIEW LEGAL PRECEDENTS AND REVISE TAX DISCLOSURE (2.0).


   11/06/20  Goldring, Stuart J.                      1.30        2,203.50        027          60418473
       REVIEW DRAFT TAX DISCLOSURE (.4), AND DISCUSS SAME WITH J. HONG AND, IN PART, J. MACKE (.9).


   11/06/20     Macke, Jonathan J.                        2.60  3,120.00        027         60412629
       REVIEW TAX SECTION 08 DISCLOSURE STATEMENT (1.6); CONFERENCE WITH S. GOLDRING AND J. HONG
       (.3); CONFERENCE WITH J. HONG (.2); REVIEW PLAN (.5).


   11/06/20   Hong, Jeesun                             7.00       6,510.00          027          60415974
       REVIEW DISCLOSURE STATEMENT (1.0); REVIEW REVISED PLAN (0.5); UPDATE DISCLOSURE STATEMENT
       TO INCORPORATE J. MACKE'S COMMENTS (2.0); DISCUSS WITH S. GOLDRING (0.5); DISCUSS WITH S.
       GOLDRING AND J. MACKE (0.5); REVISE DISCLOSURE STATEMENT (2.5).


   11/06/20     Tippett, Matthew                           2.70          2,727.00    027         60424494
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        COMMUNICATIONS WITH WORKING GROUP RE: TAX ISSUES IN DISCLOSURE AND REVIEW SAME (2.2);
        REVISE TAX DISCLOSURE (.5).


   11/07/20  Macke, Jonathan J.                    0.80                    960.00    027    60412714
       REVIEW TAX SECTION OF DISCLOSURE STATEMENT.


   11/07/20   Tippett, Matthew                       1.00      1,010.00              027    60424182
       REVISE TAX DISCLOSURE (.8); COMMUNICATIONS WITH WORKING GROUP (.2).


   11/08/20  Macke, Jonathan J.                       0.60                 720.00    027    60414676
       ATTENTION TO PLAN (.3); ATTENTION TO TAX DISCLOSURE (.3).


   11/10/20  Macke, Jonathan J.                   0.40                     480.00    027    60461640
       ATTENTION TO ASSIGNMENT OF PRODUCTION PAYMENTS.


   11/10/20  Hong, Jeesun                                  0.20            186.00    027    60434086
       PROVIDE SUMMARY OF WIP CALL FOR TAX TEAM.


   11/16/20  Macke, Jonathan J.                            0.60            720.00    027    60473800
       ATTENTION TO TAX DISCLOSURE.


   11/16/20   Hong, Jeesun                                 0.20            186.00    027    60476097
       TAX DISCLOSURE.


   11/17/20  Goldring, Stuart J.                       0.80       1,356.00      027       60494016
       PERIODIC WORK IN PROCESS CALL (.3); TAX CALL WITH DAVIS POLK TAX REGARDING STRUCTURE (.5).


   11/17/20  Macke, Jonathan J.                     1.90        2,280.00         027        60485632
       ATTEND WIP CONFERENCE (.5); CONFERENCE WITH DAVIS POLK TAX (.5); ATTENTION TO TAX
       DISCLOSURE (.5); ATTENTION TO PLAN (.4).


   11/18/20     Macke, Jonathan J.                         2.60          3,120.00    027    60498107
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        ATTENTION TO TAX DISCLOSURE (1.4); ATTENTION TO PLAN (1.2).


   11/18/20     Hong, Jeesun                                 3.50       3,255.00       027           60498673
       REVIEW REVISED PLAN (0.6) AND UPDATE TAX DISCLOSURE TO INCORPORATE J. MACKE'S COMMENTS
       (1.0); DISCUSS WITH M. TIPPETT (0.5); RESEARCH 163(J) / ATTRIBUTE REDUCTION ISSUE (0.4); UPDATE
       TAX DISCLOSURE (1.0).


   11/18/20  Tippett, Matthew                      4.80       4,848.00        027        60506020
       REVIEW LEGAL PRECEDENTS AND REVISE TAX DISCLOSURE AND PLAN (4.0); COMMUNICATIONS WITH
       WORKING GROUP RE: SAME (.8).


   11/19/20  Goldring, Stuart J.                     2.90      4,915.50                 027         60510558
       REVIEW DRAFT TAX DISCLOSURE (2.6) AND DRAFT CHANGES TO PLAN (.3).


   11/19/20  Macke, Jonathan J.                      1.00      1,200.00        027         60505437
       ATTENTION TO TAX DISCLOSURE (.8); CORRESPONDENCE WITH CLIENT RE: TAX ATTRIBUTES AND
       MODELING (.2).


   11/19/20  Hong, Jeesun                          1.50        1,395.00        027        60507221
       REVIEW PLAN AND PROVIDE COMMENTS TO SAME (1.3); SHARE REVISED TAX DISCLOSURE WITH S.
       GOLDRING (0.2.


   11/19/20 Tippett, Matthew                      0.50       505.00       027                       60505590
       COMMUNICATIONS WITH WORKING GROUP RE: TAX DISCLOSURE AND REVIEW SAME.


   11/20/20   Goldring, Stuart J.                           0.90          1,525.50      027         60526091
       REVISE DRAFT DISCLOSURE.


   11/20/20  Macke, Jonathan J.                             0.30            360.00      027         60515452
       ATTENTION TO TAX DISCLOSURE.


   11/20/20     Tippett, Matthew                            4.50          4,545.00      027         60524295
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        REVIEW AND REVISE TAX DISCLOSURE (1.0); COMMUNICATIONS WITH WORKING GROUP RE: SAME (1.0);
        CONDUCT RESEARCH AND ANALYZE TAX ISSUES RELATED TO NEW TERM LOANS (2.5).


   11/22/20  Goldring, Stuart J.                     0.20       339.00               027     60526200
       REVIEW REVISIONS TO DRAFT TAX SECTION FOR DISCLOSURE STATEMENT.


   11/24/20  Goldring, Stuart J.                  0.20        339.00        027              60553630
       REVIEW EMAIL EXCHANGES REGARDING PLAN TIMELINE AND DRAFT TAX DISCLOSURE FOR
       DISCLOSURE STATEMENT.


   11/24/20  Macke, Jonathan J.                            0.70            840.00    027     60551922
       ATTENTION TO TAX DISCLOSURE.


   11/30/20  Macke, Jonathan J.                     0.50        600.00        027       60591057
       CORRESPONDENCE RE: STRUCTURE (.3); CORRESPONDENCE WITH CLIENT RE: TAXABLE TRANSACTIONS
       (.2).


   11/30/20  Tippett, Matthew                     3.50        3,535.00       027      60591320
       COMMUNICATIONS WITH WORKING GROUP RE: STRUCTURE (.5); REVIEW TRANSACTION DOCUMENTS
       AND PREPARE STRUCTURING SLIDES (3).


    SUBTOTAL TASK 027 - Tax Matters:                      72.90        $80,732.50

   11/02/20  Perez, Alfredo R.                      0.50       750.00         028           60373250
       CONFERENCE CALL WITH M. DANE, T. LAMME AND M. BARR REGARDING FEE ISSUES (.4); TELEPHONE
       CONFERENCE WITH H. JAMES REGARDING FEE ISSUES (.1).


   11/02/20  Marzocca, Anthony P.                  0.50           465.00       028           60407787
       CALL WITH M. ISAACSON RE: UCC DOCUMENT REQUESTS (0.2); CORRESPONDENCE RE: SAME (0.3).


   11/03/20  Liou, Jessica                                 0.30            352.50    028     60397086
       REVIEW UCC RETENTION APPLICATION FILED.
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   11/03/20  Marzocca, Anthony P.                0.70         651.00       028              60630956
       CORRESPONDENCE WITH UCC COUNSEL AND BANKING TEAM RE: INFORMATION REQUESTS.


   11/04/20  Liou, Jessica                           0.30                  352.50    028    60404364
       CONFER WITH S. MILLMAN RE: UCC DILIGENCE AND NEXT STEPS.


   11/04/20  James, Hillarie                     1.00                      845.00    028    60399532
       DRAFT LETTER REGARDING CONWAY MACKENZIE FEES.


   11/04/20   Marzocca, Anthony P.                0.90       837.00           028       60630970
       CORRESPONDENCE WITH UCC COUNSEL RE: INFORMATION REQUESTS (0.3); CORRESPONDENCE WITH J.
       LIOU AND THE COMPANY RE: SAME (0.6).


   11/05/20     Perez, Alfredo R.                    0.40        600.00        028         60408246
       TELEPHONE CONFERENCE WITH H. JAMES REGARDING LETTER (.1); REVIEW AND REVISE LETTER TO UCC
       (.2); TELEPHONE CONFERENCE WITH T. LAMME REGARDING UCC ISSUES (.1).


   11/05/20   Carlson, Clifford W.                1.00         1,050.00       028        60420154
       REVIEW MATERIALS FOR PRODUCTION TO COMMITTEE (.5); MULTIPLE CALLS AND EMAILS REGARDING
       SAME (.5).


   11/05/20   James, Hillarie                     0.30                     253.50    028    60427255
       REVISE LETTER REGARDING CONWAY MACKENZIE FEES.


   11/06/20 Perez, Alfredo R.                      0.10       150.00       028        60416171
       COMMUNICATIONS WITH S. MILLMAN AND M. DANE REGARDING UCC PRESENTATION MATERIALS.


   11/09/20  Perez, Alfredo R.                    0.40       600.00        028        60423134
       TELEPHONE CONFERENCE WITH STROOCK AND WEIL TEAMS REGARDING OPEN ISSUES WITH UCC (.3);
       REVIEW LETTER TO CONWAY AND COMMUNICATIONS WITH STROOCK REGARDING SAME (.1).


   11/09/20     Carlson, Clifford W.                       0.50            525.00    028    60428776
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        PARTICIPATE ON CALL WITH UNSECURED CREDITORS' COMMITTEE'S COUNSEL (.3); EMAILS REGARDING
        DILIGENCE REQUESTS (.2).


   11/10/20  Carlson, Clifford W.                  0.50       525.00        028              60464982
       MULTIPLE EMAILS WITH COMMITTEE'S COUNSEL AND A. MARZOCCA REGARDING DILIGENCE
       REQUESTS.


   11/12/20  Liou, Jessica                            0.50         587.50          028       60499955
       CONFER WITH STROOCK RE: DILIGENCE (.4); CONFER WITH C. CARLSON RE: SAME (.1).


   11/12/20    Carlson, Clifford W.                    1.20         1,260.00  028         60467808
       EMAILS REGARDING COMMITTEE DILIGENCE ITEMS (.7); CALL WITH STROOCK REGARDING DILIGENCE
       ITEMS (.3); FOLLOW-UP CALL WITH J. LIOU REGARDING SAME (.2).


   11/13/20  Perez, Alfredo R.                    0.40        600.00        028       60462685
       CONFERENCE CALL WITH WEIL TEAM REGARDING REQUEST BY UCC FOR RELATIVITY DATABASE.


   11/13/20  Liou, Jessica                            0.70                 822.50    028     60496692
       CONFER WITH A. PEREZ AND C. CARLSON RE: UCC DILIGENCE.


   11/13/20  Carlson, Clifford W.                    0.80         840.00         028         60466275
       CALL WITH A. PEREZ AND J. LIOU REGARDING COMMITTEE'S DILIGENCE REQUESTS (.5); MULTIPLE
       EMAILS REGARDING DILIGENCE REQUESTS FROM COMMITTEE'S COUNSEL (.3).


   11/15/20  Perez, Alfredo R.                   0.10        150.00                  028     60463505
       VARIOUS COMMUNICATIONS WITH STROOCK REGARDING OPEN ISSUES.


   11/16/20  Carlson, Clifford W.                   0.10                   105.00    028     60745831
       EMAILS REGARDING PAYMENT OF US TRUSTEE FEES.


   11/17/20     Perez, Alfredo R.                          0.60            900.00    028     60492521
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        CONFERENCE CALL WITH STROOCK AND WEIL TEAMS REGARDING INFORMATION REQUESTS.


   11/17/20  Liou, Jessica                           0.60                   705.00    028    60496720
       CONFER WITH STROOCK RE: OPEN ISSUES, STATUS AND TIMING.


   11/17/20   Carlson, Clifford W.                  0.60      630.00                  028    60494015
       PARTICIPATE ON CALL WITH STROOCK REGARDING INFORMATION REQUESTS.


   11/22/20  Perez, Alfredo R.                     0.40       600.00         028             60525501
       CONFERENCE CALL WITH UCC'S ADVISORS REGARDING MOTION TO EXTEND LEASE.


   11/23/20  Liou, Jessica                          0.50        587.50          028        60621146
       REVIEW CHALLENGE STIPULATION AND RESPOND TO EMAILS RE: SAME (.2); EMAILS WITH TEAM RE:
       CASH COLLATERAL STIPULATION EDITS AND REVISE EMAIL TO AGENTS RE: SAME (.3).


   11/23/20  Carlson, Clifford W.                  0.30        315.00        028       60583244
       REVIEW STIPULATION TO EXTEND COMMITTEE'S CHALLENGE PERIOD AND EMAILS REGARDING SAME.


   11/24/20  Liou, Jessica                         0.50                     587.50    028    60616913
       REVIEW AND REVISE CHALLENGE STIPULATION EMAIL.


   11/24/20  Conley, Brendan C.                             0.20            210.00    028    60542988
       COORDINATE RE: UCC REQUESTS.


   11/25/20  Conley, Brendan C.                             0.40            420.00    028    60568226
       COORDINATE RE: UCC REQEUSTS.


   11/25/20  George, Jason                            0.30                  219.00    028    60568313
       CALL WITH J. IAFFALDANO OF STROOCK RE: LIEN NOTICES.


    SUBTOTAL TASK 028 - Unsecured Creditors                15.60        $17,495.50
    Committee / Meetings / Communications:
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   11/02/20  George, Jason                              1.10        803.00           029             60366798
       RESEARCH PRECEDENT RE: 2015.3 REPORTS (1.0); EMAIL T. BAGGERLY RE: 2015.3 REPORTS (0.1).


   11/03/20  Liou, Jessica                         0.50         587.50       029        60397115
       REVIEW AND RESPOND TO EMAILS RE: MONTHLY OPERATIONS REPORT AND STROOCK DATA
       REQUESTS (.3); REVIEW AMENDED MONTHLY OPERATIONS REPORT, REVIEW CHALLENGE PERIOD (.2).


   11/03/20   George, Jason                             0.80        584.00          029       60400347
       EMAIL C. GRING, J. CHIANG, AND N. KRAMER RE: AMENDED MONTHLY OPERATING REPORT (0.2); REVIEW
       AMENDED MONTHLY OPERATING REPORT (0.1); CALL WITH J. CHIANG RE: AMENDED MONTHLY
       OPERATING REPORT (0.3); EMAIL TO J. LIOU RE: MONTHLY OPERATING REPORT (0.1); CORRESPONDENCE
       WITH O. BITMAN RE: SERVICE OF MONTHLY OPERATING REPORT (0.1).


   11/03/20  Olvera, Rene A.                      0.40       148.00        029        60632111
       PREPARE AND ELECTRONICALLY FILE AMENDED MONTHLY OPERATIONS REPORT FOR AUGUST 2020.


   11/04/20   Carlson, Clifford W.                     0.70                 735.00       029         60420068
       REVISE 2015.3 REPORT AND DISCUSS WITH J.GEORGE.


   11/04/20   George, Jason                              1.70       1,241.00        029         60402508
       REVIEW AND REVISE DRAFT OF 2015.3 REPORTS (1.0); CALLS WITH T. BAGGERLY RE: 2015.3 REPORT (0.4);
       EMAIL S. STATHAM RE: STIPULATION RE: 345(B) COMPLIANCE (0.1); REVIEW FILING VERSION OF
       STIPULATION RE: EXTENSION OF TIME FOR 345(B) COMPLIANCE (0.2).


   11/05/20  Carlson, Clifford W.                   0.30         315.00          029                 60420190
       CALL WITH J. GEORGE REGARDING MOTION TO EXTEND TIME TO FILE RULE 2015.3 REPORT.


   11/05/20   George, Jason                               3.90        2,847.00          029           60400299
       CALL WITH C. CARLSON RE: 2015.3 REPORTS (0.5); EMAIL TO J. LIOU RE: 2015.3 REPORTS (0.1); CALL WITH
       T. BAGGERLY RE: 2015.3 REPORTS (0.2); EMAIL TO B. SWINGLE RE: 2015.3 REPORTS (0.1); DRAFT MOTION TO
       MODIFY 2015.3 REPORTS (3.0).
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   11/06/20  Perez, Alfredo R.                      0.20      300.00       029         60416955
       TELEPHONE CONFERENCE WITH C. CARLSON REGARDING MOTION REGARDING THE 2015.3 REPORTS (.1);
       REVIEW MOTION REGARDING 2015.3 REPORTS (.1).


   11/06/20  Liou, Jessica                            1.00       1,175.00        029                 60419107
       REVIEW AND COMMENT ON 2015.3 MOTION (.7); REVIEW AND SIGN OFF ON 2015.3 MOTION (.3).


   11/06/20  Carlson, Clifford W.                    1.70       1,785.00         029        60420842
       REVIEW AND REVISE MOTION TO MODIFY RULE 2015.3 REPORT REQUIREMENTS (1.2); PARTICIPATE ON
       CALLS WITH J. GEORGE AND J. LIOU REGARDING MOTION TO MODIFY RULE 2015.3 REPORT (.5).


   11/06/20   George, Jason                                3.00      2,190.00            029         60409697
       EMAIL N. KRAMER RE: 2015.3 REPORTS (0.1); DRAFT AND REVISE MOTION FOR EXTENSION OF TIME TO
       FILE RULE 2015.3 REPORTS (2.0); RESEARCH RE: 2015.3 DISCLOSURES (0.5); EMAIL TO J. LIOU RE: RULE 2015.3
       MOTION (0.1); CALL WITH J. LIOU AND C. CARLSON RE: 2015.3 EXTENSION (0.2); CORRESPONDENCE WITH
       T. LAMME AND B. SWINGLE RE: MOTION FOR EXTENSION OF TIME TO FILE RULE 2015.3 REPORTS (0.1).


   11/09/20  Carlson, Clifford W.                    0.40       420.00       029       60428729
       CALL AND EMAILS WITH ALIX PARTNERS AND J. GEORGE REGARDING REPORTING REQUIREMENT.


   11/09/20   George, Jason                                 0.10             73.00       029         60423039
       EMAIL T. BAGGERLY RE: RULE 2015.3 REPORTS.


   11/10/20  Carlson, Clifford W.                   0.30                    315.00       029         60465009
       CALL WITH J. GEORGE REGARDING REPORTING OBLIGATIONS.


   11/10/20  George, Jason                               0.30        219.00          029          60450367
       CALL WITH B. SWINGLE RE: 2015.3 REPORTS (0.2); EMAIL TO HOLDER RE: NOTICE OF FILING 2015.3
       REPORTS (0.1).


   11/12/20     Perez, Alfredo R.                           0.30            450.00       029         60452243
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        VARIOUS COMMUNICATIONS WITH UST AND C. CARLSON REGARDING PAYMENT OF THE UST FEES (.1);
        TELEPHONE CONFERENCE WITH C. CARLSON REGARDING CALL WITH UCC (.1); COMMUNICATIONS WITH
        STROOCK AND T. LAMME REGARDING INFORMATION REQUEST (.1).


   11/12/20  Carlson, Clifford W.                   0.10                   105.00    029     60467633
       EMAILS TO U.S. TRUSTEE REGARDING COMPLIANCE MATTERS.


   11/13/20   George, Jason                                0.10             73.00    029     60459631
       EMAIL T. BAGGERLY RE: 2015.3 REPORTS.


   11/17/20  Carlson, Clifford W.                  0.20         210.00               029     60493995
       EMAILS REGARDING COMPLIANCE WITH U.S. TRUSTEE REPORTING OBLIGATIONS.


   11/18/20  Carlson, Clifford W.                   0.30        315.00               029     60526146
       MULTIPLE EMAILS WITH U.S. TRUSTEE REGARDING COMPLIANCE ISSUES.


   11/18/20   George, Jason                                0.50            365.00    029     60514523
       REVISE NOTES TO RULE 2015.3 REPORT.


   11/20/20     George, Jason                       0.30          219.00        029          60514530
       EMAIL T. BAGGERLY AND N. KRAMER RE: SCHEDULES (0.1); REVIEW COMMENTS RE: RULE 2015.3 NOTES
       (0.1); EMAIL C. CARLSON RE: SAME (0.1).


   11/25/20  Carlson, Clifford W.                  0.20                    210.00    029     60583820
       MULTIPLE EMAILS REGARDING REPORTING OBLIGATIONS.


   11/25/20   George, Jason                          0.80          584.00       029        60568286
       REVISE AND PROVIDE COMMENTS TO RULE 2015.3 REPORTS (0.6); CORRESPONDENCE WITH T. BAGGERLY
       RE: SAME (0.2).


   11/27/20     George, Jason                              0.50            365.00    029     60568272
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        DRAFT CERTIFICATE OF NO OBJECTION RE: 2015.3 EXTENSION MOTION.


   11/29/20  George, Jason                           0.10                        73.00    029    60631087
       CORRESPONDENCE WITH T. BAGGERLY RE: 2015.3 REPORT.


   11/30/20  Carlson, Clifford W.                 0.30       315.00                       029    60611582
       REVIEW MONTHLY OPERATING REPORT AND EMAILS REGARDING SAME.


   11/30/20   George, Jason                            0.30        219.00          029           60631158
       REVISE 2015.3 REPORTS (0.2); CORRESPONDENCE WITH T. BAGGERLY RE: 2015.3 REPORTS (0.1).


    SUBTOTAL TASK 029 - US                                     20.40        $17,240.50
    Trustee/MORs/Schedules & SOFAs/2015.3
    Reports:

   11/02/20  Moore, Rodney L.                     1.80      2,565.00     031                     60366654
       REVIEW PLAN OF MERGER AND CORPORATE STRUCTURE AND RELATED DOCUMENT ISSUES.


   11/02/20  Malonson, Jeffery Karl             0.80       1,120.00      031                     60396260
       REVIEW CORRESPONDENCE AND DOCUMENTATION FOR APACHE/FWE LLC RESTRUCTURING.


   11/02/20  Chung, Steven                          0.90           837.00                 031    60365789
       REVIEW PLAN OF MERGER (0.8); CORRESPONDENCE RE: SAME (0.1).


   11/02/20   George, Jason                             0.80        584.00        031          60366360
       EMAIL R. MARTIN RE: PLAN OF MERGER (0.1); REVISE APACHE CLOSING CHECKLIST (0.6); EMAIL TO T.
       LAMME AND T. ALLEN RE: JOINT OPERATING AGREEMENTS (0.1).


   11/03/20  Perez, Alfredo R.                    0.20         300.00                     031    60415497
       TELEPHONE CONFERENCE WITH T. LAMME REGARDING APA ISSUES.


   11/03/20     Moore, Rodney L.                                0.80          1,140.00    031    60378965
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        ATTENTION TO PLAN OF MERGER.


   11/03/20  Malonson, Jeffery Karl             0.60        840.00       031                    60396403
       REVIEW CORRESPONDENCE AND DOCUMENTATION FOR APACHE/FWE LLC RESTRUCTURING.


   11/03/20  George, Jason                              0.40         292.00      031            60400345
       CALL WITH J. MAENG RE: SUBLEASE (0.2); CALL WITH J. MAENG RE: APACHE DOCUMENTS (0.2).


   11/03/20  Martin, Robert Crawford              0.60       606.00       031          60388283
       CONFERENCE WITH INTERNAL TEAM REGARDING STATUS OF TRANSACTION DOCUMENTS (.3); REVISE
       LLC AGREEMENT TO BE MEMBER MANAGED (.3).


   11/04/20  Perez, Alfredo R.                   0.10                      150.00    031        60416445
       REVIEW COMMENTS TO THE IMPLEMENTATION AGREEMENT (.1).


   11/04/20  Moore, Rodney L.                         3.70     5,272.50        031          60396361
       REVIEW AND REVISE PLAN OF MERGER (2.8); REVIEW DPW COMMENTS TO PLAN OF MERGER (.5); REVIEW
       IMPLEMENTATION AGREEMENT EDITS (.4).


   11/04/20  Liou, Jessica                       0.30       352.50       031        60404417
       REVIEW AND COMMENTS ON APACHE’S COMMENTS TO IMPLEMENTATION AGREEMENT, REVIEW AND
       COMMENT ON DRAFT CHAPTER 11 PLAN.


   11/04/20  Malonson, Jeffery Karl             1.00       1,400.00      031                    60396234
       REVIEW CORRESPONDENCE AND DOCUMENTATION FOR APACHE/FWE LLC RESTRUCTURING.


   11/04/20   George, Jason                           0.80          584.00          031         60402621
       REVISE IMPLEMENTATION AGREEMENT (0.4); EMAIL T. LAMME RE: LLC AGREEMENT (0.1); EMAIL J.
       MAENG RE: LLC AGREEMENT (0.1); EMAIL J. MAENG RE: SUBLEASE (0.1); EMAIL R. RUSSELL RE: LLC
       AGREEMENT (0.1).


   11/05/20     Perez, Alfredo R.                          0.30            450.00    031        60408198
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        VARIOUS COMMUNICATIONS WITH A. LANNIE AND T. LAMME REGARDING STATUS (.2); TELEPHONE
        CONFERENCE WITH J. LIOU REGARDING STATUS (.1).


   11/05/20  Moore, Rodney L.                      3.80      5,415.00        031        60403349
       REVIEW AND REVISE PLAN OF MERGER AND INCORPORATE HAK AND DPW COMMENTS (3.0); REVIEW
       IMPLEMENTATION AGREEMENT (.3); TELEPHONE CONFERENCE CALL WITH WEIL TEAM (.5).


   11/05/20   Liou, Jessica                         1.80       2,115.00          031        60408770
       REVIEW AND COMMENT ON APACHE IMPLEMENTATION AGREEMENT (.5); REVIEW AND COMMENT ON
       APACHE IMPLEMENTATION AGREEMENT (.2), CONFER WITH J. GEORGE RE: SAME (.4); REVIEW AND
       REVISE APACHE IMPLEMENTATION AGREEMENT (.5); EMAILS WITH J. GEORGE RE: APACHE
       IMPLEMENTATION AGREEMENT, EMAIL WITH DPW RE: SAME (.2).


   11/05/20  Malonson, Jeffery Karl             1.00       1,400.00      031                       60426709
       REVIEW CORRESPONDENCE AND DOCUMENTATION FOR APACHE/FWE LLC RESTRUCTURING.


   11/05/20  Carlson, Clifford W.                0.50       525.00         031        60420236
       REVIEW IMPLEMENTATION AGREEMENT PLAN OF MERGER AND CALL WITH J. GEORGE REGARDING
       SAME.


   11/05/20     George, Jason                           3.50          2,555.00        031          60400304
       CALL WITH J. LIOU RE: IMPLEMENTATION AGREEMENT (0.5); CALL WITH R. RUSSELL RE:
       IMPLEMENTATION AGREEMENT (0.1); EMAIL TO T. LAMME RE: IMPLEMENTATION AGREEMENT (0.1);
       EMAIL TO DPW TEAM RE: IMPLEMENTATION AGREEMENT (0.1); REVISE IMPLEMENTATION AGREEMENT
       (2.5); EMAIL TO C. CHAN AND J. MAENG RE: SUBLEASE (0.1); EMAIL TO R. RUSSELL RE: SUBLEASE (0.1).


   11/05/20   Martin, Robert Crawford             2.40      2,424.00          031        60408410
       CONFERENCE WITH INTERNAL TEAM REGARDING TRANSACTION STATUS (.5); REVISE PLAN OF MERGER
       (1.9).


   11/06/20     Perez, Alfredo R.                          2.40          3,600.00     031          60416251
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        COMMUNICATIONS WITH J. LIOU REGARDING CHANGES TO THE IMPLEMENTATION AGREEMENT (.1);
        CONFERENCE CALL WITH APA PRINCIPALS, R. RUSSELL, T. ALLEN, AND T. LAMME REGARDING APA
        DEFINITIVE DOCUMENTS (1.5); VARIOUS COMMUNICATIONS WITH T. ALLEN, HAK, AND WEIL
        REGARDING DOCUMENTS (.2); TELEPHONE CONFERENCES WITH T. LAMME REGARDING APA ISSUES (.3);
        CONFERENCE CALL WITH T. LAMME AND R. MOORE REGARDING NEXT STEPS ON APA ISSUES (.3).


   11/06/20  Moore, Rodney L.                     1.60      2,280.00      031        60416945
       TELEPHONE CONFERENCE CALL WITH FIELDWOOD REGARDING IMPLEMENTATION AGREEMENT (.4);
       ATTENTION TO PLAN OF MERGER AND IMPLEMENTATION AGREEMENT (1.2).


   11/06/20    Liou, Jessica                         0.60         705.00       031        60419043
       REVIEW AND EMAILS RE: APACHE DEFINITIVE DOCUMENTS (.3); REVIEW AND RESPOND TO EMAILS RE:
       MIP, RE: DEADLINES, RE: APACHE DOCUMENT STATUS (.3).


   11/06/20  Malonson, Jeffery Karl             0.90       1,260.00      031                60426729
       REVIEW CORRESPONDENCE AND DOCUMENTATION FOR APACHE/FWE LLC RESTRUCTURING.


   11/06/20  Bonhamgregory, Veronica Gayle         0.40                    392.00    031    60476941
       REVIEW FINALIZE AGREED VERSIONS OF APACHE DOCUMENTS.


   11/07/20   Perez, Alfredo R.                      0.30       450.00        031      60417495
       REVIEW LANGUAGE FROM R. RUSSELL FOR THE IMPLEMENTATION AGREEMENT (.1); VARIOUS
       COMMUNICATIONS WITH J. LIOU, T. LAMME AND R. MOORE REGARDING REQUESTED LANGUAGE AND
       OPEN ISSUES (.2).


   11/07/20  Liou, Jessica                        0.20      235.00                   031    60419023
       REVIEW AND RESPOND TO APACHE IMPLEMENTATION AGREEMENT EMAIL.


   11/07/20   George, Jason                         1.00        730.00        031        60411028
       REVISE DRAFT OF IMPLEMENTATION AGREEMENT (0.9); CORRESPONDENCE WITH R. MOORE AND R.
       MARTIN RE: IMPLEMENTATION AGREEMENT (0.1).


   11/08/20     Perez, Alfredo R.                          0.20            300.00    031    60417566
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        REVIEW REVISED PLAN OR MERGER AND VARIOUS COMMUNICATIONS WITH WEIL TEAM REGARDING
        SAME.


   11/08/20  Liou, Jessica                                 0.50            587.50    031     60419111
       REVIEW APACHE DOCUMENTS.


   11/09/20  Perez, Alfredo R.                       0.70       1,050.00      031      60423646
       TELEPHONE CONFERENCE WITH R. MOORE REGARDING MERGER DOCUMENT (.1); VARIOUS
       COMMUNICATIONS WITH DAVIS POLK, T. LAMME AND R. RUSSELL REGARDING EXTENDING THE
       MILESTONES (.3); REVIEW COMMENTS TO VARIOUS OF THE APA DOCUMENTS (.3).


   11/09/20  Moore, Rodney L.                    3.20      4,560.00       031           60423892
       REVIEW COMMENTS FROM HAK AND DPW AND REVIEW AND REVISE PLAN OF MERGER (2.8); REVIEW
       IMPLEMENTATION AGREEMENT (.4).


   11/09/20  Liou, Jessica                             1.10      1,292.50           031     60453021
       REVIEW AND REVISE APACHE IMPLEMENTATION AGREEMENT (.5); REVIEW AND FURTHER REVISE
       APACHE IMPLEMENTATION AGREEMENT (.2); CONFER WITH J. GEORGE RE: 345(B) EXTENSION AND
       APACHE DOCS (.1); EMAILS WITH T. LAMME, DPW, AND APACHE RE: MILESTONES (.3).


   11/09/20  Malonson, Jeffery Karl             1.10       1,540.00      031                 60426924
       REVIEW CORRESPONDENCE AND DOCUMENTATION FOR APACHE/FWE LLC RESTRUCTURING.


   11/09/20     George, Jason                           1.20          876.00        031      60423202
       REVISE IMPLEMENTATION AGREEMENT (0.6); EMAILS TO T. LAMME RE: IMPLEMENTATION AGREEMENT
       (0.2); CALL WITH J. LIOU RE: IMPLEMENTATION AGREEMENT (0.1); CALL WITH C. CARLSON RE:
       IMPLEMENTATION AGREEMENT (0.2); CORRESPONDENCE WITH R. RUSSELL AND DPW TEAM RE:
       IMPLEMENTATION AGREEMENT (0.1).


   11/10/20  Moore, Rodney L.                              2.00          2,850.00    031     60433181
       REVIEW PLAN (1.2); REVIEW PLAN OF MERGER (.8).


   11/10/20     Liou, Jessica                              0.50            587.50    031     60452790
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        REVIEW AND COMMENT ON PLAN OF MERGER.


   11/10/20  Malonson, Jeffery Karl             0.50        700.00       031                60435940
       REVIEW CORRESPONDENCE AND DOCUMENTATION FOR APACHE/FWE LLC RESTRUCTURING.


   11/10/20   George, Jason                          0.10        73.00               031    60450354
       EMAIL T. LAMME AND T. ALLEN RE: ASSET-RELATED AGREEMENTS.


   11/10/20   Martin, Robert Crawford                2.30         2,323.00       031        60434401
       CALL WITH INTERNAL TEAM TO DISCUSS STATUS OF ITEMS (.5); REVISE PLAN OF MERGER CONSISTENT
       WITH R. MOORE AND J. LIOU COMMENTS (1.8).


   11/11/20  Moore, Rodney L.                       1.20      1,710.00         031          60443214
       REVIEW IMPLEMENTATION AGREEMENT (.4); ATTENTION TO PLAN OF MERGER (.8).


   11/11/20  Liou, Jessica                       0.20                      235.00    031    60452890
       REVIEW APACHE COMMENTS TO IMPLEMENTATION AGREEMENT.


   11/11/20  Malonson, Jeffery Karl             0.80       1,120.00      031                60454563
       REVIEW CORRESPONDENCE AND DOCUMENTATION FOR APACHE/FWE LLC RESTRUCTURING.


   11/11/20   George, Jason                        0.40        292.00           031         60450390
       CALL WITH C. CARLSON RE: APACHE DOCUMENTS AND STIPULATION (0.3); EMAIL TO J. THOMPSON RE:
       ASSET-RELATED AGREEMENTS (0.1).


   11/12/20   Perez, Alfredo R.                     0.20         300.00      031        60452104
       REVIEW APA STIPULATION REGARDING FILING OF THE PROOF OF CLAIM AND COMMUNICATIONS WITH
       J. GEORGE AND R. RUSSELL REGARDING STATUS.


   11/12/20  Moore, Rodney L.                              0.80          1,140.00    031    60454194
       ATTENTION TO PLAN OF MERGER.
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   11/12/20     Martin, Robert Crawford             1.00       1,010.00       031      60455024
       CORRESPOND WITH APACHE AND LENDER COUNSEL REGARDING RECENT DRAFT OF PLAN OF MERGER
       (.6); CONFERENCE WITH INTERNAL TEAM REGARDING STATUS OF TRANSACTION ITEMS (.4).


   11/13/20  Perez, Alfredo R.                      0.20        300.00        031       60462986
       VARIOUS COMMUNICATIONS WITH T. LAMME, R. RUSSEL, DAVIS POLK AND WEIL TEAMS REGARDING
       APA DOCUMENTS.


   11/13/20  Moore, Rodney L.                              1.40          1,995.00    031    60466910
       REVIEW MATTERS REGARDING PLAN OF MERGER.


   11/13/20  Liou, Jessica                          0.20        235.00        031         60496605
       REVIEW AND RESPOND TO EMAILS FROM T. ALLEN RE: ASSIGNMENTS AND R. MOORE RE: APACHE
       WORKSTREAMS.


   11/16/20  Perez, Alfredo R.                      1.00      1,500.00       031       60479350
       CONFERENCE CALL WITH APA, APA'S ADVISORS, MANAGEMENT, AND WEIL TEAMS REGARDING PLAN
       OF MERGER AND IMPLEMENTATION AGREEMENT.


   11/16/20   Moore, Rodney L.                     3.70      5,272.50        031         60475691
       TELEPHONE CONFERENCE CALL WITH ALL PARTIES REGARDING PLAN OF MERGER (.9); REVIEW AND
       REVISE PLAN OF MERGER AND IMPLEMENTATION AGREEMENT (2.8).


   11/16/20  Liou, Jessica                           1.00        1,175.00            031    60496569
       CONFER WITH WEIL, APACHE, DAVIS POLK, T. LAMME RE: PLAN OF MERGER.


   11/16/20  Malonson, Jeffery Karl             0.50        700.00       031                60485735
       REVIEW CORRESPONDENCE AND DOCUMENTATION FOR APACHE/FWE LLC RESTRUCTURING.


   11/16/20  Chung, Steven                               1.40            1,302.00    031    60476727
       REVIEW PLAN OF MERGER (0.4); CALL RE: SAME (1.0).
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   11/16/20  George, Jason                              1.60    1,168.00          031          60493909
       CALL WITH C. CARLSON RE: IMPLEMENTATION AGREEMENT (0.5); EMAIL R. MARTIN RE:
       IMPLEMENTATION AGREEMENT (0.1); CALL WITH A. LAMME, R. RUSSELL, C. CHAN, R. MOORE, T.
       LAMME, A. PEREZ, AND J. LIOU RE: PLAN OF MERGER (1.0).


   11/16/20  Martin, Robert Crawford              1.00       1,010.00       031        60477109
       CONFERENCE WITH LENDERS' COUNSEL AND APACHE'S COUNSEL REGARDING PLAN OF MERGER.


   11/17/20  Moore, Rodney L.                       3.90       5,557.50       031       60490701
       REVIEW AND REVISE PLAN OF MERGER AND LANGUAGE FOR IMPLEMENTATION AGREEMENT (3.0);
       ATTENTION TO CONVERSION AND MERGER ITEMS (.4); ATTENTION TO PLAN STRUCTURE MATTERS (.5).


   11/17/20  Malonson, Jeffery Karl             1.20       1,680.00      031                   60499123
       REVIEW CORRESPONDENCE AND DOCUMENTATION FOR APACHE/FWE LLC RESTRUCTURING.


   11/17/20  Carlson, Clifford W.                          0.30            315.00    031       60494018
       EMAILS REGARDING APACHE DOCUMENTS.


   11/17/20   George, Jason                         1.20          876.00        031            60493939
       REVISE DRAFT OF IMPLEMENTATION AGREEMENT (1.1); EMAIL J. HONG RE: IMPLEMENTATION
       AGREEMENTS (0.1).


   11/17/20   Martin, Robert Crawford               1.80                 1,818.00    031       60490631
       REVISE PLAN OF MERGER PER R. MOORE COMMENTS.


   11/18/20  Moore, Rodney L.                       3.80       5,415.00        031             60497577
       REVIEW AND REVISE PLAN OF MERGER/ANALYSIS OF ISSUES REGARDING SAME (3.3); REVIEW
       IMPLEMENTATION AGREEMENT (.5).


   11/18/20  Liou, Jessica                             0.50                587.50    031       60499905
       CONFER WITH M. BARR, A. PEREZ, R. MOORE RE: APACHE ISSUES.
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   11/18/20  Malonson, Jeffery Karl             1.00       1,400.00      031                60507107
       REVIEW CORRESPONDENCE AND DOCUMENTATION FOR APACHE/FWE LLC RESTRUCTURING.


   11/18/20   Martin, Robert Crawford              3.60       3,636.00       031       60499479
       REVISE PLAN OF MERGER PER COMMENTS FROM R. MOORE; REVIEW CHANGES TO PLAN OF MERGER.


   11/19/20  Moore, Rodney L.                         4.00      5,700.00       031       60506863
       REVIEW AND REVISE PLAN OF MERGER (2.6); CONFERENCE CALL WITH WEIL TEAM REGARDING WIP (.4);
       CORRESPONDENCE WITH FIELDWOOD REGARDING PLAN OF MERGER (.5); REVIEW IMPLEMENTATION
       AGREEMENT (.5).


   11/19/20   Liou, Jessica                       0.70      822.50       031                60509408
       REVIEW AND COMMENT ON APACHE COMMENTS TO THE IMPLEMENTATION AGREEMENT AND
       STIPULATION RE: EXTENSION OF THE BAR DATE.


   11/19/20  Malonson, Jeffery Karl             0.80       1,120.00      031                60507551
       REVIEW CORRESPONDENCE AND DOCUMENTATION FOR APACHE/FWE LLC RESTRUCTURING.


   11/19/20     Carlson, Clifford W.                  1.50         1,575.00 031        60526402
       REVIEW AND REVISE IMPLEMENTATION AGREEMENT AND EMAILS WITH J. GEORGE REGARDING SAME
       (1.1); CALL WITH J. GEORGE REGARDING APACHE DOCUMENTS (.4).


   11/19/20  George, Jason                        0.20         146.00        031         60514588
       CORRESPONDENCE WITH V. BONHAMGREGORY, R. MARTIN, AND T. ALLEN RE: APACHE DEFINITIVE
       DOCUMENTS.


   11/19/20   Martin, Robert Crawford                2.60       2,626.00        031       60506277
       REVISE PLAN OF MERGER IN RESPONSE TO COMMENTS FROM LENDERS' COUNSEL AND APACHE'S
       COUNSEL AND R. MOORE'S COMMENTS (2.2); UPDATE WORK IN PROCESS LIST TO INCLUDE CONVERSION
       AND MERGER ITEMS (.4).


   11/20/20     Moore, Rodney L.                           1.00          1,425.00    031    60523597
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        REVIEW ISSUES ON ASSET ALLOCATION FOR PLAN OF MERGER.


   11/20/20  Liou, Jessica                          1.30       1,527.50      031          60522547
       REVIEW AND RESPOND TO EMAILS FROM J. GEORGE RE: APACHE IMPLEMENTATION AGREEMENT (.3);
       CONFER WITH J. GEORGE RE: APACHE WORKSTREAMS AND SURETY RESEARCH AND ISSUES (1.0).


   11/20/20   George, Jason                             2.30      1,679.00           031       60514505
       MULTIPLE CORRESPONDENCE RE: BAR DATE NOTICE (0.7); REVISE STIPULATION RE: EXTENSION OF BAR
       DATE (0.3); CORRESPONDENCE WITH J. LIOU RE: BAR DATE EXTENSION (0.2); EMAIL J. LIOU RE:
       IMPLEMENTATION AGREEMENT (0.1); CALL WITH J. LIOU RE: APACHE DOCUMENTS (0.9); EMAIL TO R.
       MOORE AND R. MARTIN RE: LLC AGREEMENT (0.1).


   11/21/20  Liou, Jessica                            0.70        822.50       031              60538112
       CONFER WITH R. RUSSELL, C. DIKTABAN AND J. GEORGE RE: APACHE DOCUMENTS.


   11/21/20   George, Jason                               2.10     1,533.00      031            60514527
       REVISE IMPLEMENTATION AGREEMENT (0.7); EMAIL TO J. LIOU RE: IMPLEMENTATION AGREEMENT (0.2);
       CALL WITH R. RUSSEL, C. DIKTABIN, AND J. LIOU RE: IMPLEMENTATION AGREEMENT (0.8); REVISE
       APACHE STIPULATION EXTENDING BAR DATE (.4).


   11/22/20   Liou, Jessica                       0.70        822.50         031        60538130
       EMAIL RE: MILESTONES AND REVIEW AND COMMENT ON APACHE DOCUMENTS (.5); REVIEW AND
       COMMENTS ON APACHE DOCUMENTS (.2).


   11/22/20   George, Jason                             1.30          949.00         031       60543400
       EMAIL J. LIOU RE: APACHE BAR DATE STIPULATION (0.1); EMAIL C. DIKTABIN RE: APACHE BAR DATE
       STIPULATION (0.1); EMAIL O. BITMAN RE: APACHE BAR DATE NOTICE (0.1); REVISE IMPLEMENTATION
       AGREEMENT (0.8); CORRESPONDENCE WITH J. LIOU RE: IMPLEMENTATION AGREEMENT (0.2).


   11/23/20  Moore, Rodney L.                         3.20      4,560.00       031              60539988
       REVIEW AND REVISE PAN OF MERGER (2.2); ATTENTION TO CORPORATE STRUCTURE MATTERS
       REGARDING MERGER AND WIND DOWN (1.0).
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   11/23/20   Liou, Jessica                             2.40       2,820.00          031         60621151
       EMAILS WITH R. MARTIN RE: APACHE AND CREDIT BID SCHEDULES (.2); CONFER WITH J. GEORGE RE:
       APACHE (.5); CONFER WITH APACHE (.1); EMAILS WITH R. RUSSELL (.2); CONFER WITH R. RUSSELL RE:
       SAME (1.0); REVIEW AND REVISE APACHE IMPLEMENTATION AGREEMENT (.4).


   11/23/20  Malonson, Jeffery Karl             1.20       1,680.00      031                     60542001
       REVIEW CORRESPONDENCE AND DOCUMENTATION FOR APACHE/FWE LLC RESTRUCTURING.


   11/23/20   George, Jason                              1.80        1,314.00        031         60543455
       CALL WITH J. LIOU RE: APACHE DOCUMENTS (0.1); REVISE IMPLEMENTATION AGREEMENT (0.7);
       CORRESPONDENCE WITH T. LAMME AND T. ALLEN RE: APACHE DOCUMENTS (0.1); EMAILS TO R.
       MARTIN AND V. BONHAMGREGORY RE: SAME (0.1); CALL WITH C. DIKTABIN RE: BAR DATE
       STIPULATION (0.3); CALL WITH R. RUSSELL, C DIKTABIN AND J. LIOU RE: BAR DATE STIPULATION (0.1);
       REVISE STIPULATION RE: BAR DATE (0.2); EMAIL TO R. RUSSELL AND C. DIKTABIN RE: BAR DATE
       STIPULATION (0.1); EMAIL TO T. LAMME RE: BAR DATE STIPULATION (0.1).


   11/23/20  Martin, Robert Crawford                1.90     1,919.00       031                  60539634
       REIVEW AND REVISE PLAN OF MERGER IN RESPONSE TO COMMENTS FROM R. MOORE.


   11/24/20  Moore, Rodney L.                              2.00          2,850.00    031         60745636
       REVIEW PLAN OF MERGER.


   11/24/20  Liou, Jessica                          1.30      1,527.50          031        60616918
       REVIEW AND RESPOND TO EMAILS RE: APACHE BAR DATE STIPULATION (.3); REVIEW ADDITIONAL
       COMMENTS FROM APACHE TO BAR DATE EXTENSION STIPULATION (.2); REVIEW FLTL AGENT
       COMMENTS TO COMMITTEE CHALLENGE PERIOD EXTENSION STIPULATION (.2); REVIEW AND REVISE
       APACHE IMPLEMENTATION AGREEMENT (.6).


   11/24/20  Malonson, Jeffery Karl             1.00       1,400.00      031                     60583523
       REVIEW CORRESPONDENCE AND DOCUMENTATION FOR APACHE/FWE LLC RESTRUCTURING.


   11/24/20     George, Jason                              0.60            438.00    031         60568305
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        REVISE IMPLEMENTATION AGREEMENT (0.5); EMAIL T. LAMME RE: IMPLEMENTATION AGREEMENT (0.1).


   11/24/20  Martin, Robert Crawford               1.10       1,111.00    031          60582223
       CONFERENCE WITH WEIL TEAM REGARDING CURRENT STATUS OF APACHE DOCUMENTATION (.4);
       CORRESPOND WITH R. MOORE AND S. PECA REGARDING THE SAME (.7).


   11/25/20  Moore, Rodney L.                              0.80          1,140.00    031     60745306
       REVIEW PLAN OF MERGER.


   11/25/20  Liou, Jessica                       0.50      587.50                    031     60602468
       REVIEW AND COMMENT ON APACHE IMPLEMENTATION AGREEMENT.


   11/25/20  Peca, Samuel C.                               1.30          1,462.50    031     60565539
       REVIEW DRAFT MERGER AGREEMENT.


   11/25/20  Malonson, Jeffery Karl             0.50        700.00       031                 60583575
       REVIEW CORRESPONDENCE AND DOCUMENTATION FOR APACHE/FWE LLC RESTRUCTURING.


   11/25/20     George, Jason                          1.60         1,168.00    031        60568275
       REVISE APACHE CHECKLIST (0.9); CORRESPONDENCE WITH T. ALLEN RE: APACHE DOCUMENTS (0.2);
       REVISE IMPLEMENTATION AGREEMENT (0.3); EMAIL TO R. RUSSELL RE: IMPLEMENTATION AGREEMENT
       (0.1); EMAIL TO J. MAENG RE: IMPLEMENTATION AGREEMENT (0.1).


   11/30/20  Moore, Rodney L.                       1.10       1,567.50       031            60597022
       REVIEW EDITS TO IMPLEMENTATION AGREEMENT (.4); REVIEW PLAN OF MERGER EXHIBITS (.7).


   11/30/20  Malonson, Jeffery Karl             1.40       1,960.00      031                 60583513
       REVIEW CORRESPONDENCE AND DOCUMENTATION FOR APACHE/FWE LLC RESTRUCTURING.


   11/30/20  George, Jason                         0.10         73.00                031     60631206
       CORRESPONDENCE WITH T. ALLEN AND T. LAMME RE: LAFAYETTE LEASE.
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   11/30/20  Martin, Robert Crawford                1.20      1,212.00                    031    60597005
       REVIEW SCHEDULE OF EXHIBITS TO PLAN OF MERGER PROVIDED BY COMPANY.


    SUBTOTAL TASK 031 - Apache Definitive                     125.00       $149,306.00
    Documentation:


    Total Fees Due                                           1,284.70    $1,251,622.50
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   12/02/20  George, Jason                         0.20                    146.00     001         60631221
       CORRESPONDENCE WITH C. CARLSON RE: SURETY CLAIMS.


   12/04/20  Carlson, Clifford W.                 0.50                     525.00     001         60918966
       CALLS AND EMAILS REGARDING RESEARCH ON SURETY CLAIMS.


   12/07/20  George, Jason                                  4.80       3,504.00        001        60677606
       CALL WITH C. CARLSON RE: PRESENTATION ON SURETY CLAIMS (0.5); RESEARCH RE: SURETY
       CLAIMS (0.7); EMAIL TO J. LIOU RE: SAME (0.2); DRAFT SLIDE DECK RE: SURETY CLAIMS (3.4).


   12/08/20  George, Jason                           2.90         2,117.00          001           60677622
       DRAFT AND REVISE SLIDE DECK RE: SURETY CLAIMS (2.5); CALL WITH T. SIERRA RE: SURETY
       CLAIMS PRESENTATION (0.4).


   12/09/20   George, Jason                            3.70       2,701.00        001           60694640
       REVISE SLIDE DECK ON SURETY CLAIMS (2.5); CALL WITH N. SOKOL RE: SURETY CLAIMS (0.5); CALL
       WITH C. CARLSON RE: SURETY CLAIMS (0.7).


   12/10/20   George, Jason                              3.40      2,482.00        001           60694657
       CALL WITH T. SIERRA RE: SURETY CLAIMS (0.3); REVISE PRESENTATION RE: SURETY CLAIMS (2.8); CALL
       WITH C. CARLSON AND T. SIERRA RE: SURETY CLAIMS PRESENTATION (0.3).


   12/11/20   George, Jason                             3.70         2,701.00        001        60694685
       REVISE SLIDE DECK RE: SURETY CLAIMS (1.8); EMAIL TO J. LIOU RE: SURETY CLAIMS RESEARCH (0.2);
       CALL WITH M. DANE, T. LAMME, A. PEREZ, J. LIOU AND C. CARLSON RE: SURETY CLAIMS
       PRESENTATION (0.8); CALL WITH DPW TEAM RE: SURETY CLAIMS (0.7); EMAIL TO M. DANE AND T.
       LAMME RE: SURETY CLAIMS PRESENTATION (0.2).


   12/14/20   George, Jason                                2.20          1,606.00     001         60726624
       REVISE MEMO ON SURETY CLAIMS.


   12/29/20     George, Jason                              0.20            146.00     001         60825463
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        EMAIL J. LIOU RE: MOTION FOR SURETY CLAIMS (0.1); EMAIL M. DANE AND T. LAMME RE: SAME (0.1).


   12/30/20   George, Jason                            0.20        146.00           001        60825438
       CALL WITH J. BLOOM RE: SURETY CLAIMS CLAIM (0.1) AND EMAIL TO J. LIOU AND C. CARLSON RE:
       SAME (0.1).


   12/31/20  Perez, Alfredo R.                     0.50       750.00        001                  60998304
       CONFERENCE CALL WITH ALIX PARTNERS AND WEIL TEAMS REGARDING SURETY CLAIMS.


   12/31/20  Liou, Jessica                          0.30       352.50                 001        60841333
       CONFER WITH ALIX PARTNERS TEAM RE: SURETY CLAIMS ANALYSIS.


   12/31/20   Carlson, Clifford W.                  0.50       525.00        001                 60998592
       PARTICIPATE ON CALL WITH ALIX PARTNERS TEAM REGARDING SURETY CLAIMS ANALYSIS.


    SUBTOTAL TASK 001 - Administrative Expense             23.10        $17,701.50
    Claims (excluding 503(b)(9) Claims):

   12/01/20  Liou, Jessica                        0.30        352.50        002       60614945
       REVIEW AND RESPOND TO EMAILS FROM FIELDWOOD AND R. PADDOCK RE: ADVERSARY PROCEEDINGS.


   12/01/20  Swenson, Robert M.                   0.90       990.00        002        60614908
       CONFER WITH COUNSEL FOR ARENA REGARDING MEDIATION PROCESS AND UPCOMING LITIGATION
       SCHEDULE.


   12/01/20  Carlson, Clifford W.                    0.60        630.00       002        60655489
       MULTIPLE EMAILS WITH E. CHOI AND A. PEREZ REGARDING ATLANTIC ADVERSARY PROCEEDING (.3);
       MULTIPLE EMAILS REGARDING POTENTIAL LAWSUIT FOR CONTRACT DISPUTE (.3).


   12/02/20  Carlson, Clifford W.                 0.20        210.00                  002        60655605
       EMAILS REGARDING DRAFT COMPLAINT FOR COLLECTIONS DISPUTE.
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   12/02/20  Marzocca, Anthony P.                  0.40      372.00       002        60662277
       CONDUCT RESEARCH RE: PRECEDENTS FOR ADVERSARY COMPLAINTS BROUGHT BY DEBTOR AGAINST
       CREDITORS FOR AMOUNTS OWED TO ESTATE (0.4).


   12/03/20  Perez, Alfredo R.                      0.90        1,350.00       002       60637004
       VARIOUS COMMUNICATIONS WITH MANAGEMENT REGARDING ATLANTIC (.2); TELEPHONE
       CONFERENCE WITH R. KWASTENIET REGARDING ATLANTIC (.1); VARIOUS COMMUNICATIONS WITH R.
       SERGESKETTER AND M. DANE REGARDING ATLANTIC (.2); TELEPHONE CONFERENCE WITH C. CARLSON
       REGARDING ATLANTIC (.1); TELEPHONE CONFERENCE WITH J. LIOU REGARDING VALERO ADVERSARY
       (.3).


   12/03/20  Swenson, Robert M.                   1.80       1,980.00        002         60638195
       REVIEW AND ANALYZE AUDIT MATERIALS IN ADVANCE OF DISCUSSION WITH M. COUGEVAN (1.2);
       DRAFT AND REVISE SCHEDULING ORDER AND CONFER WITH WEIL TEAM REGARDING SAME (0.6).


   12/03/20  Carlson, Clifford W.                  0.50       525.00       002        60655403
       REVIEW AND REVISE STIPULATION REGARDING ATLANTIC ADVERSARY PROCEEDING AND EMAILS
       REGARDING SAME.


   12/03/20  Choi, Erin Marie                    0.40       420.00                   002    60920406
       REVIEW VALERO ADVERSARY COMPLAINT AND PROVIDE FEEDBACK ON SAME.


   12/04/20  Perez, Alfredo R.                       0.50       750.00        002         60647657
       REVIEW AND REVISE ADVERSARY COMPLAINT (.3); TELEPHONE CONFERENCE WITH J. LIOU AND C.
       CARLSON REGARDING SAME (.2).


   12/04/20   Carlson, Clifford W.                 1.20      1,260.00      002              60655759
       PARTICIPATE ON CALL WITH COMPANY REGARDING ATLANTIC ADVERSARY PROCEEDING AND
       RELATED ISSUES.


   12/06/20 Perez, Alfredo R.                     0.10        150.00                 002    60650663
       COMMUNICATIONS WITH R. KWASTENIET AND M. DANE REGARDING ATLANTIC.
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   12/07/20     Perez, Alfredo R.                    1.10       1,650.00        002         60666732
       CONFERENCE CALL WITH MANAGEMENT AND C. CARLSON REGARDING THE ATLANTIC ADVERSARY
       (.2); VARIOUS COMMUNICATIONS WITH KIRKLAND REGARDING STIPULATION (.4); REVIEW AND REVISE
       STIPULATION (.2); VARIOUS COMMUNICATIONS WITH C. CARLSON REGARDING STIPULATION (.2);
       REVIEW AGENDA (.1).


   12/07/20   Carlson, Clifford W.                    1.00     1,050.00          002        60666682
       REVISE AGENDA FOR HEARING ON MOTION FOR PRELIMINARY INJUNCTION IN ATLANTIC ADVERSARY
       PROCEEDING (.2); PARTICIPATE ON CALL WITH COMPANY REGARDING SAME (.2); REVISE STIPULATION
       REGARDING ATLANTIC ADVERSARY PROCEEDING AND EMAILS REGARDING SAME (.6).


   12/08/20   Perez, Alfredo R.                      1.50       2,250.00       002           60674660
       REVIEW FINAL VALERO COMPLAINT (.2); REVIEW AND REVISE ATLANTIC STIPULATION (.4); VARIOUS
       COMMUNICATIONS WITH R. KWASTENIET AND C. CARLSON REGARDING STIPULATION (.3); TELEPHONE
       CONFERENCE WITH M. DANE REGARDING STATUS (.1); TELEPHONE CONFERENCE WITH C. CARLSON
       REGARDING HEARING (.1); FOLLOW-UP ON ENTRY OF THE STIPULATION AND THE HEARING (.2);
       VARIOUS COMMUNICATIONS WITH UCC AND JOINT WORKING INTEREST OWNER REGARDING
       STIPULATION (.2).


   12/08/20   Carlson, Clifford W.                   0.80       840.00        002         60707649
       FINALIZE STIPULATION REGARDING ATLANTIC ADVERSARY PROCEEDING (.3); MULTIPLE EMAILS WITH
       OPPOSING COUNSEL REGARDING SAME (.3); EMAILS TO CHAMBERS REGARDING SAME (.2).


   12/12/20    Perez, Alfredo R.                  0.30        450.00        002        60700905
       VARIOUS COMMUNICATIONS WITH C. CARLSON REGARDING ISSUES RELATING TO COMPLIANCE WITH
       11 USC §959.


   12/17/20  Swenson, Robert M.                        2.10     2,310.00        002          60746800
       CONFER WITH WEIL TEAM AND OPPOSING COUNSEL REGARDING ARENA DISPUTE, MEDIATION
       SCHEDULE, AND LITIGATION STRATEGY (0.9); REVIEW AND ANALYZE TIMELINE OF EVENTS
       CONCERNING AUDIT, REBILLING, AND REPLIES (1.2).


    SUBTOTAL TASK 002 - Adversary Proceedings:             14.60        $17,539.50
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   12/03/20  Carlson, Clifford W.                  1.30                     1,365.00    003    60655636
       DRAFT BIDDING PROCEDURES REGARDING THIRD PARTY SALE.


    SUBTOTAL TASK 003 - Asset Acquisitions/                   1.30         $1,365.00
    Dispositions/ 363 Matters:

   12/01/20  Greene, Anthony L.                     0.20        196.00        004         60597149
       REVIEW 11/25 HEARING TRANSCRIPT ON MOTION SEEKING EXTENSION OF THE AUTOMATIC STAY.


   12/02/20  Perez, Alfredo R.                      0.40        600.00           004           60628935
       REVIEW DANIELS LIFT STAY AND COMMUNICATIONS WITH E. CHOI REGARDING SAME (.2);
       COMMUNICATIONS WITH J. JUDD AND E. CHOI REGARDING RANDALL LIFT STAY (.2).


   12/03/20   Choi, Erin Marie                        1.10      1,155.00       004        60635505
       SEND AND RECEIVE CORRESPONDENCE REGARDING DERRICK DANIELS LIFT STAY AND REVISE LIFT
       STAY STIPULATION (0.8); SEND AND RECEIVE CORRESPONDENCE REGARDING CHRIS RANDALLS LIFT
       STAY (0.3).


   12/03/20  Sierra, Tristan M.                    4.00      2,920.00      004         60920408
       DRAFT STIPULATION AND ORDER EXTENDING THE AUTOMATIC STAY TO CO-WORKING INTEREST
       OWNERS.


   12/04/20  Perez, Alfredo R.                     1.20        1,800.00          004           60647928
       CONFERENCE CALL WITH MANAGEMENT, J. NOE, AND WEIL TEAM REGARDING LIFT STAY FOR
       GOVERNMENT (1.1); VARIOUS COMMUNICATIONS WITH S. ALI REGARDING SAME (.1).


   12/04/20   George, Jason                                   0.10             73.00    004    60641963
       EMAIL E. CHOI RE: LIFT STAY ORDERS.


   12/04/20   Sierra, Tristan M.                       1.50       1,095.00        004        60725729
       FINALIZE DRAFT STIPULATION AND ORDER EXTENDING THE AUTOMATIC STAY TO CO-WORKING
       INTEREST OWNERS (1.0); FINALIZE AND FILE WITNESS AND EXHIBIT LIST FOR DECEMBER 8 HEARING (.5).
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   12/07/20  Brogan, Aaron Joseph                3.20        2,704.00       004        60703064
       REVIEW AND PROVIDE COMMENT TO RANDALL MOTION TO LIFT AUTOMATIC STAY, PROVIDE TO E.
       CHOI.


   12/07/20  Choi, Erin Marie                      0.10        105.00                004    60661305
       CALL WITH COUNSEL FOR C. RANDALL REGARDING LIFT STAY REQUEST.


   12/08/20  Brogan, Aaron Joseph                   0.90                   760.50    004    60703333
       DRAFT NEW STIP TO LIFT AUTOMATIC STAY FOR RANDALL.


   12/08/20   Choi, Erin Marie                        0.30       315.00        004        60671813
       DRAFT AND SEND LIFT STAY STIPULATION IN CHRIS RANDALL CASE TO OPPOSING COUNSEL AND
       CLIENT.


   12/08/20   Sierra, Tristan M.                    1.40      1,022.00        004      60726098
       FINALIZE JOINT STIPULATION AND ORDER EXTENDING THE AUTOMATIC STAY TO CO-WORKING
       INTEREST OWNERS.


   12/13/20  Carlson, Clifford W.                  0.20                    210.00    004    60758689
       EMAILS TO THE CLIENT REGARDING AUTOMATIC STAY ISSUE.


   12/14/20  Perez, Alfredo R.                     0.20       300.00          004           60712664
       TELEPHONE CONFERENCE WITH C. CARLSON REGARDING MOTION TO LIFT STAY ISSUES (.1);
       COMMUNICATIONS WITH R. SERGESKETTER AND C. CARLSON REGARDING SAME (.1).


   12/14/20   Carlson, Clifford W.                   0.80        840.00       004        60758582
       REVISE NOTICE TO LIFT STAY AND MULTIPLE EMAILS AND CALL WITH COUNSEL REGARDING SAME.


   12/14/20  Choi, Erin Marie                     0.20         210.00       004             60713503
       REVIEW LIFT STAY REQUEST AND CORRESPONDENCE WITH C. CARLSON REGARDING SAME.


   12/17/20     Liou, Jessica                              1.60          1,880.00    004    60743539
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        REVIEW AND COMMENT ON CHALLENGE STIPULATION (.4); MULTIPLE CONFERS WITH B. CONLEY RE:
        CHALLENGE EXTENSION STIPULATION QUESTIONS RE: COLLATERAL AND GUARANTORS (1.0); CONFER
        WITH A. GREENE RE: STIPULATION (.2).


   12/18/20  Carlson, Clifford W.                          0.30            315.00    004    60758265
       EMAILS REGARDING MOTION TO LIFT STAY.


   12/20/20   Carlson, Clifford W.               1.30       1,365.00      004         60837624
       REVIEW AGREEMENTS REGARDING POTENTIAL SECURED CLAIMS REGARDING LLOG'S MOTION FOR
       RELIEF FROM THE STAY.


   12/21/20  Perez, Alfredo R.                    0.20        300.00        004         60774922
       VARIOUS COMMUNICATIONS WITH WEIL TEAM AND T. ALLEN REGARDING LLOG'S MOTION TO LIFT
       STAY AND MOTION FOR ADEQUATE PROTECTION.


   12/21/20  Smith, Leslie S.                          6.30       6,615.00       004      60823288
       REVIEW LLOG CLAIM AND RELATED DOCUMENTS (6.0); CORRESPONDENCE REGARDING SAME TO S.
       DELANEY, R. MOORE, S. PECA (0.1); CORRESPONDENCE TO C. CARLSON IN FOLLOW UP (0.2).


   12/21/20  Carlson, Clifford W.                  0.30                    315.00    004    60837605
       REVIEW MOTION TO LIFT STAY AND EMAILS REGARDING SAME.


   12/21/20  Delaney, Scott Michael                  0.50      525.00                004    60933834
       PERFORM INITIAL REVIEW OF CONTRACTS RE: LLOG CONTRACT ANALYSIS.


   12/22/20  Perez, Alfredo R.                     0.50           750.00       004        60781779
       REVIEW FILINGS AND ANALYSIS OF LLOG’S ARGUMENTS (.4); TELEPHONE CONFERENCE WITH C.
       CARLSON REGARDING LLOG ISSUES (.1).


   12/22/20  Peca, Samuel C.                               0.30            337.50    004    60934431
       REVIEW LLOG EMAIL.
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   12/22/20  Smith, Leslie S.                      2.50       2,625.00               004    60823305
       REVIEW DOCUMENTS UNDERLYING LLOG CLAIM (1.5); DRAFT REVIEW NOTES (1.0).


   12/22/20  Carlson, Clifford W.                 1.10      1,155.00         004       60838774
       REVIEW OPERATING AGREEMENTS AND ORRI RELATED TO MOTION TO LIFT STAY AND MOTION FOR
       ADEQUATE PROTECTION AND EMAILS REGARDING SAME.


   12/22/20  Delaney, Scott Michael              0.40        420.00      004                61066315
       REVIEW LLOG CONTRACT ANALYSIS DOCUMENTS AND RELATED CORRESPONDENCE.


   12/22/20   Sierra, Tristan M.                     5.00       3,650.00      004           60807650
       REVIEW LLOG MOTION TO LIFT THE AUTOMATIC STAY AND ASSOCIATED EXHIBITS (1.2); REVIEW LLOG
       MOTION FOR ADEQUATE PROTECTION AND ASSOCIATED EXHIBITS (1.2); DRAFT SUMMARY OF MOTION
       TO LIFT AUTOMATIC STAY (1.3); DRAFT SUMMARY OF MOTION FOR ADEQUATE PROTECTION (1.3).


   12/23/20  Smith, Leslie S.                        4.50       4,725.00       004          60823304
       REVIEW DOCUMENTS RELATED TO LLOG CLAIM (2.0); REVISE LLOG CLAIM REVIEW (2.5).


   12/23/20  Carlson, Clifford W.                   0.80       840.00       004        60839923
       REVIEW MOTION TO LIFT STAY AND MOTION FOR ADEQUATE PROTECTION AND MULTIPLE EMAILS
       AND CALLS REGARDING SAME.


   12/23/20  Delaney, Scott Michael              1.10      1,155.00                  004    61066324
       REVIEW DOCUMENTS AND CORRESPONDENCE RE: LLOG CONTRACT ANALYSIS.


   12/24/20  Perez, Alfredo R.                      0.60          900.00       004          60798955
       VARIOUS COMMUNICATIONS WITH L. SMITH, T. ALLEN, AND P. BURCH REGARDING LLOG ISSUES (.3);
       REVIEW LLOG DOCUMENTS (.3).


   12/24/20  Peca, Samuel C.                           0.80       900.00          004       61066327
       REVIEW EMAIL INCLUDING LLOG ISSUE (0.4); CALL REGARDING LLOG MATTER (0.4).
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   12/24/20  Smith, Leslie S.                         3.20       3,360.00          004      60823370
       CORRESPONDENCE WITH R. MOORE REGARDING LLOG CLAIM (0.2); TELEPHONE CONFERENCE WITH R.
       MOORE, S. PECA (0.3); FOLLOW UP CORRESPONDENCE TO C. CARLSON (0.1); REVIEW NEW DOCUMENTS
       AND COMPARE WITH REVIEW (1.7); CORRESPONDENCE REGARDING ISSUES TO R. MOORE, S. PECA (0.7);
       CORRESPONDENCE WITH R. MOORE (0.2).


   12/24/20   Carlson, Clifford W.                   1.50       1,575.00     004        60839698
       REVISE SUMMARY OF ISSUES ON MOTION TO LIFT STAY, REVIEW RELATED DOCUMENTS, AND CALL
       WITH T. SIERRA REGARDING SAME.


   12/24/20  Sierra, Tristan M.                     2.20       1,606.00          004        60807682
       DRAFT SUMMARY OF MERITS OF LLOG’S CLAIMS RE: SECURITY RIGHTS (1.0) AND ISSUES RELATED TO
       OVERRIDING ROYALTIES (1.2).


   12/28/20  Peca, Samuel C.                      1.20       1,350.00                004     61069151
       REVIEW LLOG MATTER AND PROVIDE COMMENTS TO WEIL TEAM.


   12/28/20  Smith, Leslie S.                      0.50           525.00       004          60823397
       CORRESPONDENCE WITH T. SIERRA REGARDING LLOG CLAIM (0.2); REVIEW ANALYSIS BY S. PECA (0.3).


   12/28/20  Carlson, Clifford W.                  0.50        525.00        004        60840894
       PREPARE MATERIALS FOR MOTION FOR RELIEF FROM THE STAY AND EMAILS REGARDING SAME.


   12/28/20  Sierra, Tristan M.                       6.20         4,526.00       004        60839916
       RESEARCH MERITS OF LLOG’S CLAIMS RE: SECURITY RIGHTS (2.1); RESEARCH ISSUES RELATED TO
       OVERRIDING ROYALTIES (2.2); DRAFT OBJECTION TO LIFT STAY MOTION (1.9).


   12/29/20   Smith, Leslie S.                     0.80          840.00          004        60823383
       CORRESPONDENCE WITH T. SIERRA REGARDING CLAIM (0.2); REVIEW OCS MAPS (0.5); CORRESPONDENCE
       WITH R. MOORE (0.1).


   12/29/20     Carlson, Clifford W.                       0.30            315.00    004     60841831
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        MULTIPLE EMAILS REGARDING MOTION TO LIFT STAY AND MOTION FOR ADEQUATE PROTECTION.


   12/29/20  Sierra, Tristan M.                        6.30        4,599.00     004            60839987
       CONDUCT RESEARCH RE: SECURITY RIGHTS (2.0); RESEARCH ISSUES RELATED TO OVERRIDING
       ROYALTIES (2.1); DRAFT OBJECTION TO LIFT STAY MOTION (2.2).


   12/30/20     Sierra, Tristan M.                      4.90     3,577.00       004        60839984
       CONDUCT RESEARCH RE: SECURITY RIGHTS (.6); RESEARCH ISSUES RELATED TO OVERRIDING ROYALTIES
       (.5); DRAFT OBJECTION TO LIFT STAY MOTION (3.8).


   12/31/20   Smith, Leslie S.                      1.00         1,050.00     004         60837302
       CORRESPONDENCE WITH R. MOORE REGARDING CLAIM (0.2); PREPARE CORRESPONDENCE TO M.
       MALONEY (0.4); RESEND CORRESPONDENCE TO M. MALONEY (0.2); CORRESPONDENCE WITH C. CARLSON
       (0.2).


   12/31/20     Sierra, Tristan M.                      3.70     2,701.00       004        60839893
       CONDUCT RESEARCH RE: SECURITY RIGHTS (.5); RESEARCH ISSUES RELATED TO OVERRIDING ROYALTIES
       (.5); DRAFT OBJECTION TO LIFT STAY MOTION (2.7).


    SUBTOTAL TASK 004 - Automatic Stay:                      76.20        $69,627.00

   12/02/20  Swenson, Robert M.                       2.50      2,750.00       005         60630227
       CONFER WITH M. COUGEVAN REGARDING AUDIT MATERIALS AND REVIEW OF SAME IN CONNECTION
       WITH ARENA CURE CLAIM DISPUTE (0.8); REVIEW AUDIT MATERIALS IN ADVANCE OF DISCUSSION
       WITH EXPERT (1.1); CONFER WITH COUNSEL FOR ARENA REGARDING SCHEDULE AND MEDIATION (0.6).


   12/03/20  Whitelaw, Alexander                  1.30                        949.00    005    60647754
       REVIEW AUDIT DOCUMENTS REGARDING DISPUTE WITH ARENA.


   12/04/20  Swenson, Robert M.                   4.10       4,510.00        005         60655478
       REVIEW AND ANALYZE AUDIT MATERIALS IN ADVANCE OF DISCUSSION WITH M. COUGEVAN (3.2);
       CONFER WITH M. COUVEGAN REGARDING ARENA CURE DISPUTE (0.9).
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   12/04/20  Whitelaw, Alexander                       3.40       2,482.00       005      60647711
       DRAFT TIMELINE FOR ARENA DISPUTE (2.7); CALL WITH EXPERT DISCUSSING AUDIT METHODOLOGY IN
       ARENA DISPUTE (.7).


   12/04/20   Choi, Erin Marie                       1.40      1,470.00              005    60648317
       CALLS REGARDING ARENA DISPUTE (0.7); FOLLOW-UP REGARDING SAME (0.7).


   12/07/20    Swenson, Robert M.                     1.90       2,090.00     005         60667721
       REVIEW AND ANALYZE MATERIALS CONCERNING ARENA AUDIT AND EXCEPTIONS (1.1); CONFER WITH
       E. CHOI REGARDING SCHEDULING ORDER (0.5); CONFER WITH M. COUVEGAN REGARDING AUDIT AND
       EXCEPTIONS AND IMPLICATIONS FOR CURE CLAIM AMOUNTS (0.3).


   12/08/20  Swenson, Robert M.                    0.60       660.00        005             60968801
       DRAFT AND REVISE SCHEDULING ORDER AND RECIRCULATE SAME TO WEIL TEAM.


   12/08/20  Whitelaw, Alexander                           0.70            511.00    005    60671877
       UPDATE SCHEDULING ORDER FOR ARENA DISPUTE.


   12/08/20  Choi, Erin Marie                      0.20                    210.00    005    60924713
       REVIEW DRAFT SCHEDULING ORDER IN ARENA DISPUTE.


   12/09/20  Whitelaw, Alexander                           0.20            146.00    005    60685827
       REVIEW EDITS TO PROPOSED SCHEDULING ORDER.


   12/10/20   George, Jason                           0.10                  73.00    005    60694656
       EMAIL TO PRIME CLERK TEAM RE: FILED PROOFS OF CLAIM.


   12/11/20   Swenson, Robert M.                     0.60        660.00        005         60704103
       CONFER WITH E. CHOI REGARDING AUDIT MATERIALS AND NEXT STEPS IN LITIGATION OF CURE CLAIM
       DISPUTE (0.4); DRAFT AND SEND CORRESPONDENCE TO M. COUVEGAN CONCERNING AUDIT MATERIALS
       (0.2).
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   12/11/20  Swenson, Robert M.                    0.60       660.00        005             60968804
       DRAFT AND REVISE SCHEDULING ORDER AND RECIRCULATE SAME TO WEIL TEAM.


   12/11/20   Carlson, Clifford W.                    1.90      1,995.00        005        60716881
       PARTICIPATE ON CALL WITH ALIX PARTNERS REGARDING CLAIMS ANALYSIS (.8); MULTIPLE EMAILS
       WITH ALIX PARTNERS REGARDING SAME (.5); CALLS AND EMAILS WITH J. GEORGE REGARDING
       VARIOUS CLAIMS ISSUES (.6).


   12/11/20   George, Jason                          0.20                  146.00    005    60694687
       EMAIL TO PRIME CLERK TEAM RE: BAR DATE NOTICE.


   12/15/20  George, Jason                            0.60            438.00         005    60726678
       RESEARCH ISSUE RE: BAR DATE NOTICE (0.4) AND EMAIL J. LIOU RE: SAME (0.2).


   12/16/20  George, Jason                           0.10                   73.00    005    60746220
       EMAIL ALIX PARTNERS TEAM RE: BAR DATE NOTICE.


   12/17/20   George, Jason                                0.20            146.00    005    60756375
       EMAIL T. DRAPER RE: BAR DATE ISSUE.


   12/18/20  George, Jason                                 0.20            146.00    005    60756290
       EMAILS TO T. ALLEN RE: PROOFS OF CLAIM.


   12/19/20  Carlson, Clifford W.                     0.20                 210.00    005    60757857
       EMAILS WITH J. GEORGE REGARDING CLAIMS ISSUES.


   12/19/20   George, Jason                             0.20               146.00    005    60756416
       EMAIL J. LIOU AND C. CARLSON RE: BAR DATE ISSUE.


   12/21/20  Swenson, Robert M.                      0.60       660.00               005    60778095
       CONFER WITH E. CHOI AND T. ALLEN REGARDING ARENA CURE CLAIM DISPUTE.
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   12/21/20   George, Jason                              1.00       730.00         005         60761945
       CALLS WITH J. CHIANG RE: CLAIM ISSUE (0.7); CORRESPONDENCE WITH J. BLOOM RE: CLAIM ISSUE (0.2);
       EMAIL TO PRIME CLERK TEAM RE: PROOF OF CLAIM (0.1).


   12/22/20  Swenson, Robert M.                      1.00      1,100.00          005        60790277
       CONFER WITH E. CHOI AND T. ALLEN REGARDING ARENA CURE CLAIM DISPUTE (.6); DRAFT AND SEND
       CORRESPONDENCE TO COUNSEL FOR ARENA REGARDING CURE CLAIM DISPUTE (.4).


   12/22/20   George, Jason                           0.20        146.00            005         60795423
       EMAIL J. LIOU AND C. CARLSON RE: BAR DATE EXTENSION REQUESTS (0.1); EMAIL T. DRAPER RE: BAR
       DATE EXTENSION (0.1).


   12/22/20   Greene, Anthony L.                            0.70            686.00    005       60934986
       PARTICIPATE ON CLAIMS PROCESS CALL.


   12/26/20 Greene, Anthony L.                              0.50            490.00    005       60934795
       CONDUCT CLAIMS RESEARCH.


   12/30/20  Greene, Anthony L.                    0.50                     490.00    005       60998235
       RESEARCH REGARDING CLAIMS ALLOWANCE ISSUES.


    SUBTOTAL TASK 005 - Bar Date and Claims                25.70        $24,773.00
    Matters:

   12/01/20  Liou, Jessica                           0.70       822.50       006                60615011
       REVIEW AND REVISE CASE CALENDAR (.5); REVIEW AND COMMENT ON CASE CALENDAR (.2).


   12/01/20  Carlson, Clifford W.                           0.20            210.00    006       60655629
       REVIEW AND REVISE WIP.


   12/01/20  Wheeler, Emma                                  0.10             59.50    006       60631047
       REVIEW WIP.
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   12/01/20  Jalomo, Chris                              2.20       638.00           006      60920277
       PREPARE AND ECF FILE (I) ALIX PARTNERS INTERIM FEE APPLICATION, (II) MOTION TO EXTEND
       EXCLUSIVITY, (III) CERTIFICATE OF NO OBJECTION REGARDING RULE 2015.3 EXTENSION AND WAIVER
       MOTION, (IV) MOTION TO EXTEND TIME TO ASSUME OR REJECT LEASES.


   12/02/20   George, Jason                                0.50            365.00    006     60631171
       REVISE WIP LIST.


   12/02/20  James, Hillarie                     0.20       169.00                   006     60666720
       CORRESPONDENCE WITH WEIL TEAM REGARDING CASE CALENDAR.


   12/02/20  James, Hillarie                       0.20         169.00               006     60666752
       COORDINATE FILING OF NOTICE OF UPDATED MASTER SERVICE LIST.


   12/02/20  Olvera, Rene A.                         0.80       296.00            006    60886282
       EMAIL AND DISCUSSION WITH COURT REPORTER REGARDING HEARING TRANSCRIPTS (.3); PREPARE
       AND ELECTRONICALLY FILE MASTER SERVICE LIST (AS OF DECEMBER 2, 2020) (.5).


   12/02/20  Fabsik, Paul                         0.60        234.00                 006     60615559
       REVIEW AND CALENDAR VARIOUS DEADLINES AS PER ATTORNEY REQUEST.


   12/03/20  Rahman, Faiza N.                              0.10            117.50    006     60920401
       REVIEW WIP.


   12/03/20  Carlson, Clifford W.                   0.40                   420.00    006     60655598
       REVIEW AND REVISE WIP LIST AND EMAILS REGARDING SAME.


   12/03/20   George, Jason                                0.20            146.00    006     60641876
       REVISE WIP LIST.


   12/03/20     Fabsik, Paul                               0.60            234.00    006     60631189
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        REVIEW AND CALENDAR VARIOUS DEADLINES PER ATTORNEY REQUEST.


   12/04/20  Fabsik, Paul                         1.10        429.00                 006     60656596
       REVIEW AND CALENDAR VARIOUS DEADLINES AS PER ATTORNEY REQUEST.


   12/07/20   Carlson, Clifford W.                         0.40            420.00    006     60666742
       REVISE WIP AND CALENDARS.


   12/07/20   George, Jason                                0.30            219.00    006     60677688
       REVISE WIP LIST.


   12/07/20  James, Hillarie                               0.40            338.00    006     60746181
       UPDATE CASE CALENDARS.


   12/07/20  Jalomo, Chris                          1.20        348.00          006          60674113
       PREPARE AND ELECTRONICALLY FILE (I) AGENDA FOR DECEMBER 8, 2020 HEARING AND (II) RULE 2015.3
       REPORT.


   12/08/20   George, Jason                                0.20            146.00    006     60677654
       REVISE WIP LIST.


   12/08/20  James, Hillarie                     0.10        84.50                   006     60725441
       CORRESPONDENCE WITH WEIL TEAM REGARDING CASE CALENDARS.


   12/08/20  Jalomo, Chris                          0.50       145.00       006          60674560
       PREPARE AND ELECTRONICALLY FILE STIPULATION REGARDING STAY IN ADVERSARY CASE NO. 20-3476.


   12/09/20  Liou, Jessica                         0.30       352.50       006               60691789
       CONFER WITH ALIX PARTNERS AND FIELDWOOD RE: UPDATE ON WORKSTREAMS RELATING TO
       CONTRACTS AND CLAIMS ANALYSIS.


   12/09/20     Fabsik, Paul                               0.20             78.00    006     60677411
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        REVIEW AND CALENDAR VARIOUS DEADLINES PER ATTORNEY REQUEST.


   12/10/20  Fabsik, Paul                         0.20         78.00                 006       60686560
       REVIEW AND CALENDAR VARIOUS DEADLINES AS PER ATTORNEY REQUEST.


   12/11/20  Liou, Jessica                       0.50                      587.50    006       60705056
       REVIEW CASE CALENDAR AND COMMENT ON SAME.


   12/11/20  Fabsik, Paul                         0.40       156.00                  006       60695525
       REVIEW AND CALENDAR VARIOUS DEADLINES PER ATTORNEY REQUEST.


   12/14/20  Liou, Jessica                                 0.20            235.00    006       60720589
       REVIEW AND COMMENT ON PLAN WIP LIST.


   12/14/20  Carlson, Clifford W.                      0.60        630.00        006           60926348
       REVIEW AND REVISE PLAN WIP LIST (.3); REVIEW PLAN WIP AND EMAILS REGARDING SAME (.3).


   12/14/20   George, Jason                                0.40            292.00    006       60726670
       REVISE WIP LIST.


   12/14/20   James, Hillarie                              0.30            253.50    006       60758614
       REVISE CASE CALENDARS.


   12/15/20   Carlson, Clifford W.                 0.40                    420.00    006       60758451
       REVISE WIP AND CALENDARS AND EMAILS REGARDING SAME.


   12/15/20   James, Hillarie                              0.50            422.50    006       60968170
       REVISE CASE CALENDARS.


   12/15/20     Olvera, Rene A.                            1.30            481.00    006       60885419
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        PREPARE AND ELECTRONICALLY FILE OCP DECLARATIONS FOR (I) CHAFFE MCCALL AND (II) SIMPSON
        THACHER (.5); PREPARE AND ELECTRONICALLY FILE WEIL FIRST INTERIM FEE APPLICATION (.8).


   12/15/20  Fabsik, Paul                         0.80       312.00                  006    60726066
       REVIEW AND CALENDAR VARIOUS DEADLINES PER ATTORNEY REQUEST.


   12/16/20  Hufendick, Jason                     0.50        465.00       006              60997856
       ATTEND WEEKLY UPDATE CALL WITH CLIENT AND ALIX PARTNERS TEAMS REGARDING
       CLAIMS/RESERVE ESTIMATES.


   12/16/20   George, Jason                                0.60            438.00    006    60746281
       REVISE WIP LIST.


   12/17/20  Carlson, Clifford W.                  0.40                    420.00    006    60758277
       REVIEW CLAIMS ANALYSIS AND EMAILS REGARDING SAME.


   12/17/20  Carlson, Clifford W.                          0.30            315.00    006    60758320
       REVIEW WIP AND DISCUSS WITH J. GEORGE.


   12/17/20  Fabsik, Paul                         0.50       195.00                  006    60736317
       REVIEW AND CALENDAR VARIOUS DEADLINES PER ATTORNEY REQUEST.


   12/18/20  Olvera, Rene A.                       0.50       185.00                 006    60885248
       REVIEW AND PREPARE STIPULATION AS TO UNENCUMBERED ASSETS FOR FILING.


   12/18/20  Fabsik, Paul                         0.30       117.00                  006    60749925
       REVIEW AND CALENDAR VARIOUS DEADLINES PER ATTORNEY REQUEST.


   12/21/20  Carlson, Clifford W.                          0.40            420.00    006    60837588
       REVIEW WIP AND CALENDARS.


   12/21/20     George, Jason                              0.50            365.00    006    60762061
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        REVISE WIP LIST.


   12/21/20  James, Hillarie                               1.00            845.00    006    60968177
       UPDATE CALENDARS.


   12/22/20   Perez, Alfredo R.                            0.80          1,200.00    006    60781828
       PARTICIPATE ON WEIL TEAM WIP CALL.


   12/22/20   Carlson, Clifford W.                         0.40            420.00    006    60934859
       REVISE WIP AND CALENDAR.


   12/22/20   George, Jason                        0.10                     73.00    006    60795428
       REVISE WIP LIST TO INCORPORATE COMMENTS FROM WEIL TEAM.


   12/22/20   James, Hillarie                              0.50            422.50    006    60807254
       REVISE CASE CALENDARS.


   12/22/20  Fabsik, Paul                         0.50       195.00                  006    60778548
       REVIEW AND CALENDAR VARIOUS DEADLINES PER ATTORNEY REQUEST.


   12/24/20  Liou, Jessica                          0.70       822.50        006         60838701
       REVIEW AND COMMENT ON CASE CALENDAR (.3); REVIEW AND RESPOND TO EMAILS RE: CNO’S AND
       CASE CALENDARS (.4).


   12/24/20  Carlson, Clifford W.                          0.30            315.00    006    60839681
       REVIEW WIP AND CALENDAR.


   12/24/20   George, Jason                                0.30            219.00    006    60795407
       REVISE WIP LIST.


   12/24/20     James, Hillarie                            2.00          1,690.00    006    60806926
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        REVISE CASE CALENDARS.


   12/24/20  Fabsik, Paul                            0.30       117.00               006    60801694
       UPDATE AND REVISE SPECIFIED CALENDAR INVITES PER ATTORNEY REQUEST.


   12/26/20  Carlson, Clifford W.                  0.50       525.00       006       60840347
       REVIEW WIP AND CALENDARS AND EMAILS WITH RESTRUCTURING TEAM REGARDING VARIOUS
       WORKSTREAMS.


   12/28/20  Carlson, Clifford W.                   0.50       525.00       006             60840890
       REVIEW WIP AND MULTIPLE EMAILS TO WEIL TEAM REGARDING VARIOUS WORKSTREAMS.


   12/28/20   James, Hillarie                              1.10            929.50    006    60935007
       REVISE WIP (0.7); REVISE CASE CALENDARS (0.4).


   12/28/20  Fabsik, Paul                         0.30        117.00                 006    60824420
       REVIEW DEADLINES AND UPDATE CALENDAR INVITES PER ATTORNEY REQUEST.


   12/29/20  Rahman, Faiza N.                              0.10            117.50    006    60816969
       REVIEW UPDATED WIP.


   12/29/20  James, Hillarie                               0.40            338.00    006    60935459
       UPDATE CASE CALENDARS.


   12/31/20   James, Hillarie                              0.20            169.00    006    60968399
       REVISE WIP.


   12/31/20  Lee, Kathleen Anne                     0.20                    87.00    006    60830131
       OBTAIN RECENT FILED PLEADINGS AND POPULATE R-DRIVE.


   12/31/20     Jalomo, Chris                              1.50            435.00    006    60825039
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        PREPARE AND ELECTRONICALLY FILE (I) NOVEMBER OPERATING REPORT, (II) CERTIFICATE OF NO
        OBJECTION REGARDING WEIL INTERIM FEE APPLICATION, (III) WITNESS AND EXHIBIT LIST FOR
        JANUARY 4, 2020 HEARING (1.5).


    SUBTOTAL TASK 006 - Case Administration (WIP           32.80        $22,790.00
    and Calendar):

   12/01/20  Hufendick, Jason                      0.40         372.00        007       60648375
       ATTEND AND PARTICIPATE ON PLAN CONFIRMATION ISSUES DISCUSSON WITH C. CARLSON AND
       OTHER MEMBERS OF WEIL TEAM.


   12/01/20   Carlson, Clifford W.                   1.30        1,365.00       007       60655532
       PARTICIPATE ON CALL WITH A. GREENE, A. MARZOCCA, AND H. JAMES REGARDING PLAN
       WORKSTREAMS (.6); PARTICIPATE ON CALL WITH HOULIHAN AND ALIX PARTNERS TEAMS REGARDING
       ESTIMATED RESTRUCTURING COSTS (.4); CALLS AND EMAILS WITH T. SIERRA REGARDING PLAN
       RESEARCH (.3).


   12/01/20   George, Jason                                 0.10             73.00    007    60631160
       EMAIL T. SIERRA RE: PLAN RESEARCH.


   12/01/20  Wheeler, Emma                         0.60        357.00                 007    60630994
       CALL WITH TEAM TO DISCUSS AND COORDINATE PLAN RESEARCH QUESTIONS.


   12/01/20  James, Hillarie                      0.50       422.50                   007    60661791
       TELEPHONE CONFERENCE WITH WEIL TEAM REGARDING PLAN RESEARCH ISSUES.


   12/01/20  Marzocca, Anthony P.                     0.40       372.00        007           60662261
       CALL WITH C. CARLSON, A. GREENE, AND OTHERS RE: CONFIRMATION PROOF CHART.


   12/02/20  Liou, Jessica                           1.10      1,292.50       007            60630176
       CONFER WITH ALIX PARTNERS, HOULIHAN RE: EXIT COSTS AND RESTRUCTURING EXPENSES.


   12/02/20     Hufendick, Jason                            1.00            930.00    007    60648160
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        CALL WITH ALIX PARTNERS AND CLIENT RE: CONTRACT ANALYSIS AND WIND-DOWN BUDGETS (.8);
        REVIEW 2L EXIT FACILITY PROPOSAL (.2).


   12/02/20   Carlson, Clifford W.                   0.90        945.00         007         60655468
       PARTICIPATE ON CALL WITH J. LIOU REGARDING PLAN WORKSTREAMS (.3); CALLS WITH A. GREENE
       REGARDING PLAN RESEARCH ITEMS (.3); REVIEW AND REVISE AMENDMENT TO RSA (.3).


   12/02/20  George, Jason                       1.60      1,168.00                  007     60631147
       DRAFT AMENDMENT TO RESTRUCTURING SUPPORT AGREEMENT.


   12/02/20 Wheeler, Emma                                  2.40          1,428.00    007     60630990
       CONDUCT RESEARCH RE: CONFIRMATION ISSUES.


   12/02/20  Greene, Anthony L.                    3.60       3,528.00      007              60611602
       DRAFT CONFIRMATION RESEARCH MEMO OUTLINE (.7); CONDUCT LEGAL RESEARCH RE:
       CONFIRMATION ISSUES (2.9).


   12/03/20  Carlson, Clifford W.                      2.00       2,100.00      007        60655558
       DRAFT AND REVIEW PLAN ISSUES LIST (1.5); CALLS AND EMAILS WITH RESTRUCTURING ASSOCIATES
       REGARDING SAME (.5).


   12/03/20   George, Jason                           0.40        292.00        007          60641875
       REVISE DRAFT OF AMENDMENT TO RESTRUCTURING SUPPORT AGREEMENT (0.1); EMAIL M. DANE AND
       T. LAMME RE: AMENDMENT TO RSA (0.1); EMAIL DPW TEAM RE: RSA AMENDMENT (0.1); EMAIL R.
       RUSSELL RE: RSA AMENDMENT (0.1).


   12/03/20 Wheeler, Emma                                  8.50          5,057.50    007     60666995
       CONDUCT RESEARCH RE: CONFIRMATION ISSUES.


   12/03/20     Greene, Anthony L.                         5.50          5,390.00    007     60628358
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        CONDUCT LEGAL RESEARCH RELATED TO CONFIRMATION ISSUES AND PLAN REQUIREMENTS (2.8);
        PREPARE RESEARCH MEMO ON CONFIRMATION ISSUES (2.5); CALL WITH E. WHEELER REGARDING PLAN
        RESEARCH (.2).


   12/04/20   Perez, Alfredo R.                    1.00      1,500.00       007        60648120
       CONFERENCE CALL WITH SPECIAL COMMITTEE, HOULIHAN, AND WEIL REGARDING LENDER TERM
       SHEET AND ANALYSIS.


   12/04/20  Marcus, Courtney S.                  0.30       412.50         007       60842088
       CALL WITH RESTRUCTURING AND BANKING TEAMS REGARDING UPDATE ON EXIT FINANCING PROCESS.


   12/04/20  Conley, Brendan C.                     0.30                   315.00    007          60638952
       DISCUSS DEBT STATUS WITH WEIL RESTRUCTURING TEAM.


   12/04/20  Bonhamgregory, Veronica Gayle          0.30       294.00                007          60639067
       CALL WITH RESTRUCTURING TEAM RE: FINANCING STATUS AND TERM SHEETS.


   12/04/20  Hufendick, Jason                      2.80      2,604.00       007          60648491
       RESEARCH REGARDING ABANDONMENT (1.9); CALL REGARDING TRANSACTION STEPS WITH J. LIOU
       AND TAX TEAM (.9).


   12/04/20   Carlson, Clifford W.                      3.90       4,095.00          007          60655809
       PARTICIPATE ON CALL WITH BANKING TEAM REGARDING FINANCING (.3); PARTICIPATE ON CALL WITH
       ALIX PARTNERS TEAM (1.0); PARTICIPATE ON CALL WITH J. LIOU AND TAX TEAM (1.0); PARTICIPATE
       ON CALL WITH DPW (.5); EMAILS WITH CLIENT AND DAVIS POLK REGARDING EXTENSION OF
       MILESTONES (.3); PARTICIPATE ON CALL WITH J. LIOU REGARDING PLAN ISSUES (.5); CALL WITH J.
       HUFENDICK REGARDING SAME (.3).


   12/04/20  George, Jason                                 0.30            219.00    007          60641994
       CALL WITH M. PERA RE: AMENDMENT TO RSA.


   12/04/20     Wheeler, Emma                             10.50          6,247.50    007          60667084
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        DRAFT RESEARCH MEMO RE: CONFIRMATION ISSUES.


   12/04/20  Marzocca, Anthony P.                    0.30        279.00              007    60662233
       CALL WITH C. CARLSON AND OTHERS RE: PLAN FINANCING (PARTIAL).


   12/04/20    Greene, Anthony L.                 4.50         4,410.00      007         60637174
       PREPARE RESEARCH MEMO ON CONFIRMATION ISSUES (1.8); CONDUCT RESEARCH RELATED TO §1129
       ISSUES (2.7).


   12/05/20  Carlson, Clifford W.                          0.30            315.00    007    60655788
       EMAILS REGARDING PLAN RESEARCH.


   12/05/20  Wheeler, Emma                          0.20                   119.00    007    60667081
       DRAFT RESEARCH MEMO RE: CONFIRMATION ISSUES.


   12/06/20  Hufendick, Jason                       4.10      3,813.00       007       60648394
       DRAFT DESCRIPTION OF TRANSACTION STEPS AND REVIEW PRECEDENT IN CONNECTION THEREWITH.


   12/06/20   Hufendick, Jason                             0.40            372.00    007    60648432
       REVISE CONFIRMATION WIP LIST.


   12/06/20    Carlson, Clifford W.                    1.10        1,155.00       007       60666715
       PARTICIPATE ON CALL WITH M. BARR, A. PEREZ, AND J. LIOU REGARDING PLAN MILESTONE AND PLAN
       ISSUES (.4); MULTIPLE EMAILS WITH WEIL RESTRUCTURING TEAM AND CLIENT REGARDING SAME (.7).


   12/06/20 Wheeler, Emma                                  0.90            535.50    007    60667116
       CONDUCT RESEARCH RE: CONFIRMATION ISSUES.


   12/07/20   Perez, Alfredo R.                  0.60        900.00       007        60666561
       CONFERENCE CALL WITH MANAGEMENT, HOULIHAN AND WEIL TEAM REGARDING STATUS OF PLAN
       AND DISCLOSURE STATEMENT.
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   12/07/20  Kronman, Ariel                                0.10            125.00    007      60657294
       REVIEW EXIT CAPITAL STRUCTURE.


   12/07/20   Liou, Jessica                        3.20         3,760.00       007         60667957
       TOUCH BASE CALL WITH ALIX PARTNERS AND HOULIHAN RE: EXIT COSTS MATRIX (.8); REVIEW AND
       SUBSTANTIALLY REVISE TRANSACTION STEPS MEMO (1.9); REVIEW DPW MARKUP OF DRAFT CHAPTER
       11 PLAN (.5).


   12/07/20  Barr, Matthew S.                       1.70         2,762.50           007       60667114
       CORRESPONDENCE WITH TEAM REGARDING OPEN ITEMS (.1); REVIEW DEAL TERMS (.5);
       CORRESPONDENCE REGARDING SAME (.2); REVIEW ISSUES (.5); AND NEXT STEPS (.3); CORRESPONDENCE
       WITH TEAM REGARDING HEARING ISSUES (.1).


   12/07/20     Hufendick, Jason                     1.00        930.00       007          60704568
       REVISE CONFIRMATION WIP AND CORRESPONDENCE RELATED THERETO WITH J. LIOU AND C. CARLSON
       (.3); REVIEW ADDITIONAL PRECEDENTS REGARDING DESCRIPTION OF TRANSACTION STEPS (.7).


   12/07/20     Carlson, Clifford W.                  2.60      2,730.00          007    60666690
       PARTICIPATE ON CALL WITH HOULIHAN AND ALIX PARTNERS REGARDING PLAN WORKSTREAMS (.7);
       PARTICIPATE ON CALL WITH COMPANY REGARDING SAME (.8); REVIEW PLAN CONFIRMATION WIP LIST
       (.4); PARTICIPATE ON CALL WITH DPW REGARDING MILESTONE EXTENSION (.4); REVIEW
       RESTRUCTURING STEPS MEMO (0.3).


   12/07/20  Wheeler, Emma                                 6.60          3,927.00    007      60667079
       DRAFT MEMO RE: CONFIRMATION ISSUES.


   12/07/20  Greene, Anthony L.                   4.30       4,214.00         007        60656851
       CONDUCT LEGAL RESEARCH RELATED TO PLAN CONFIRMATION (1.4); REVIEW AND REVISE RESEARCH
       MEMO ON CONFIRMATION ISSUES (2.9).


   12/08/20     Marcus, Courtney S.                        5.10          7,012.50    007      60675255
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        REVIEW MARKUP TO RESTRUCTURING STEPS MEMO AND REVISE SAME (.7); CALL WITH B. CONLEY
        REGARDING SAME (.3); FOLLOW-UP CALL WITH WEIL TEAM TO DISCUSS (.7); DRAFT SECOND LIEN EXIT
        FACILITY TERM SHEET (3.4).


   12/08/20  Heyliger, Adelaja K.                  1.20                      1,410.00    007    60671509
       REVIEW PLAN AND CREDIT BID PURCHSASE AGREEMENT.


   12/08/20  Rahman, Faiza N.                         1.60     1,880.00        007          60673381
       REVIEW AND COMMENT ON DPW COMMENTS TO DOCUMENTS (1.0); EMAIL CORRESPONDENCE WITH
       RESTRUCTURING TEAM RE: DRAFT PLAN (0.3); REVIEW CORRESPONDENCE RE: TERM SHEET (0.3).


   12/08/20     Liou, Jessica                          7.90        9,282.50        007        60673516
       REVIEW CHAPTER 11 PLAN MARKUP FROM DPW (.8); CONFER WITH C. CARLSON (PARTIAL), J.
       HUFENDICK, H. JAMES, A. MARZOCCA RE: CHAPTER 11 PLAN (.9); REVIEW AND COMMENT ON EXIT
       COSTS MATRIX (1.0); CONFER WITH D. CROWLEY (PARTIAL), M. HANEY, AND ALIX PARTNERS RE: EXIT
       COSTS MATRIX (.8); REVIEW AND REVISE RESTRUCTURING STEPS MEMORANDUM (.7); CONFER WITH S.
       PECA, J. HUFENDICK, C. CARLSON RE: TRANSACTION STEPS MEMORANDUM COMMENTS AND
       QUESTIONS (.7); REVIEW AND PROVIDE M. HANEY ADDITIONAL COMMENTS TO EXIT COSTS SCHEDULE
       (.4); REVIEW AND PROVIDE ADDITIONAL COMMENTS ON RESTRUCTURING STEPS MEMORANDUM (.9);
       CONFER WITH C. MARCUS, B. CONLEY AND S. PECA RE: TRANSACTION STEPS (.7); REVIEW AND FURTHER
       REVISE TRANSACTION STEPS MEMORANDUM AND EMAILS WITH WEIL TEAM RE: SAME, REVIEW AND
       REVISE DISCLOSURE STATEMENT (1.0).


   12/08/20     Barr, Matthew S.                        2.60        4,225.00        007        60671834
       CORRESPONDENCE WITH TEAM REGARDING OPEN ISSUES (.3); CORRESPONDENCE REGARDING HEARING
       (.2); REVIEW DOCUMENT ISSUES (.6); AND RELATED NEXT STEPS (.2); REVIEW REVISED TRANSACTION
       STEPS MEMO (1.1); AND CORRESPONDENCE REGARDING SAME (.2).


   12/08/20  Conley, Brendan C.                       6.60       6,930.00        007        60667865
       REVIEW PLAN AND DISCLOSURE STATEMENT (1.7); REVIEW PSA (1.8); REVIEW TRANSACTION STEPS (1.0);
       DISCUSS STATUS WITH C. MARCUS (.1); REVIEW UPDATED STEPS MEMO AND DISCUSS WITH WEIL
       RESTRUCTURING AND CORPORATE TEAM (2.0).


   12/08/20     Bonhamgregory, Veronica Gayle                  0.50            490.00    007    60923373
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        CALL RE: TRANSACTION STEPS MEMORANDUM.


   12/08/20   Hufendick, Jason                      12.40       11,532.00         007         60704615
       CALL WITH J. LIOU AND WEIL TEAM RE: DPW MARK-UP OF PLAN (1.3); ATTEND AND PARTICIPATE IN
       SEVERAL INTERNAL WEIL CALLS REGARDING MEMORANDUM OF TRANSACTION STEPS (2.1); REVIEW
       AND REVISE MEMORANDUM OF TRANSACTION STEPS (1.3); REVIEW AND REVISE DRAFT CHAPTER 11
       PLAN (7.7).


   12/08/20     Carlson, Clifford W.                  4.80       5,040.00         007       60707647
       PARTICIPATE ON CALL WITH RESTRUCTURING TEAM REGARDING PLAN MARK UP (1.0); CALL WITH J.
       HUFENDICK REGARDING CHAPTER 11 PLAN (.3); PARTICIPATE ON CALL REGARDING PLAN TREATMENT
       (.5); PARTICIPATE ON FOLLOW-UP CALL REGARDING PLAN TREATMENT (.7); PARTICIPATE ON CALL
       WITH COMPANY AND HOULIHAN REGARDING COUNTER ON EXIT (.4); EMAILS WITH ALIX PARTNERS
       REGARDING WIND-DOWN EXPENSES (.2); PARTICIPATE ON CALL REGARDING RESTRUCTURING MEMO
       (.7); REVIEW RESTRUCTURING STEPS MEMORANDUM AND MULTIPLE EMAILS REGARDING SAME (1.0).


   12/08/20  Wheeler, Emma                                 0.80            476.00    007        60667075
       DRAFT MEMO RE: CONFIRMATION ISSUES.


   12/08/20 James, Hillarie                                0.80            676.00    007        60725408
       CONDUCT RESEARCH REGARDING PLAN ISSUE.


   12/08/20    Marzocca, Anthony P.                      2.70        2,511.00      007          60667922
       CALL WITH J. LIOU, J. HUFENDICK, C. CARLSON, AND H. JAMES RE: PLAN DEVELOPMENTS (1.5); CALL
       WITH J. LIOU, H. JAMES, J. HUFENDICK, AND BANKING TEAM RE: TRANSACTION STEPS MEMO (0.6);
       CORRESPONDENCE RE: SAME (0.6).


   12/08/20   Greene, Anthony L.                      3.00      2,940.00      007          60659539
       EMAIL MEMO STATUS UPDATE TO J. GEORGE (.1); REVIEW UCC COMMENTS TO DRAFT PLAN (.5);
       REVIEW TRANSACTION STEPS MEMO (.3); REVISE PLAN CONFIRMATION RESEARCH MEMORANDUM
       (2.1).


   12/09/20     Marcus, Courtney S.                        4.70          6,462.50    007        60685604
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        CONFERENCE CALL WITH WEIL TEAM TO DISCUSS TRANSACTIONS STEPS MEMO (.5); REVIEW AND
        DISCUSS UPDATED SECOND LIEN EXIT FACILITY PROPOSAL WITH D. CROWLEY (.5); DRAFT SECOND LIEN
        TERM FACILITY TERM SHEET (3.5); FOLLOW UP WITH HOULIHAN REGARDING CERTAIN BUSINESS TERMS
        (.1); FOLLOW UP WITH WEIL TEAM REGARDING HEDGE TREATMENT (.1).


   12/09/20  Rahman, Faiza N.                        5.00      5,875.00         007        60684383
       REVIEW EMAIL CORRESPONDENCE RE: DEAL STRUCTURING AND §1145 ANALYSIS (0.8); REVIEW REVISED
       STRUCTURING MEMO AND DISCLOSURE STATEMENT RE: §1145 ANALYSIS (2.0); CALL WITH WEIL
       CORPORATE AND RESTRUCTURING TEAMS RE: STRUCTURE AND §1145 CONSIDERATIONS (0.5);
       ALL-HANDS CALL (0.5); REVIEW AND COMMENT ON PLAN (1.2).


   12/09/20  Liou, Jessica                            2.20      2,585.00       007        60691748
       CONFER WITH TEAM RE: RESTRUCTURING TRANSACTION STEPS (1.0); CONFER WITH T. LAMME AND M.
       DANE RE: RESTRUCTURING TRANSACTION STEPS (.5); CONFER WITH HOULIHAN AND ALIX PARTNERS
       TEAMS RE: EXIT COSTS SCHEDULE (.7).


   12/09/20  Peca, Samuel C.                        2.30          2,587.50           007      61068860
       CALL REGARDING PLAN COMMENTS (0.5); REVIEW PLAN (1.4); REVIEW EMAIL (0.4).


   12/09/20  Conley, Brendan C.                       0.60       630.00       007             60677756
       PLAN FOR AND PARTICPATE IN CALL RE: EQUITY ISSUANCE AND TRANSACTION STEPS.


   12/09/20   Bonhamgregory, Veronica Gayle           0.60                 588.00    007      60684142
       REVISE TRANSACTION STEPS MEMO (.2); CALL RE: SAME (.4).


   12/09/20  Hufendick, Jason                        3.20       2,976.00        007           60704603
       REVIEW AND REVISE DRAFT TRANSACTION STEPS (2.1); REVIEW AND REVISE DRAFT PLAN (1.1).


   12/09/20     Carlson, Clifford W.                       3.00          3,150.00    007      60716251
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        PARTICIPATE ON CALL WITH ALIX PARTNERS AND CLIENT REGARDING CLAIMS AND CONTRACT
        ANALYSIS (.3); PARTICIPATE ON CALL REGARDING RESTRUCTURING STEPS MEMO (.5); PARTICIPATE ON
        CALL REGARDING PLAN AND DISCLOSURE STATEMENT WITH RESTRUCTURING TEAM (.5); CONDUCT
        RESEARCH REGARDING PLAN ISSUES AND CALL REGARDING SAME (1.3); REVIEW CREDIT BID PURCHASE
        AGREEMENT AND DISCUSS WITH A. GREENE (.4).


   12/09/20  Martin, Robert Crawford               5.70      5,757.00                007      60684186
       REVIEW CREDIT BID PURCHASE AGREEMENT AND PREPARE ISSUES LIST.


   12/09/20  Tahiliani, Radhika                   0.60                     558.00    007      60682960
       ATTEND CONFERENCE CALL TO DISCUSS TRANSACTION STEPS.


   12/09/20  Marzocca, Anthony P.                    0.50       465.00            007       60868941
       CORRESPONDENCE WITH C. GRING AND J. CHIANG RE TRUST PROPERTIES ISSUE (0.3); CORRESPONDENCE
       RE SAME (0.2).


   12/09/20  Greene, Anthony L.                      1.60       1,568.00         007       60679355
       REVIEW PLAN DOCUMENTATION (.2); CONTRACT/LEASE ANALYSIS (.2); REVIEW REVISED TRANSACTION
       MEMO (.3); CALL WITH C. CARLSON REGARDING RESEARCH ISSUES (.1); REVIEW PLAN DOCUMENTS (.3);
       REVIEW PSA (.5).


   12/10/20  Marcus, Courtney S.                     0.70          962.50         007         60704898
       CALL WITH D. CROWLEY TO DISCUSS EXIT FINANCING TERMS (.4); MODIFY 2L EXIT TERM SHEET (.3).


   12/10/20     Liou, Jessica                          7.50        8,812.50         007       60692287
       REVIEW AND RESPOND TO EMAILS FROM R. ALBERGOTTI RE: RESTRUCTURING TRANSACTION STEPS
       (.1); REVIEW AND COMMENT ON CHAPTER 11 PLAN (.5) AND MULTIPLE EMAILS WITH J. HUFENDICK RE:
       SAME (.5); REVIEW AND REVISE DRAFT CHAPTER 11 PLAN (5.1); CONFER WITH J. HUFENDICK RE:
       COMMENTS TO CHAPTER 11 PLAN (.6); CONFER WITH HL, ALIX PARTNERS, M. DANE AND T. LAMME RE:
       EXIT COSTS MATRIX (.7).


   12/10/20     Hufendick, Jason                           7.30          6,789.00    007      60704587
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        CORRESPONDENCE REGARDING PLAN/CLOSING STEPS MEMORANDUM WITH WEIL TEAM (.4); DRAFT
        CHAPTER 11 PLAN ISSUES LIST (.3); REVIEW AND REVISE DRAFT CHAPTER 11 PLAN (6.6).


   12/10/20  Carlson, Clifford W.                  1.10      1,155.00         007        60716643
       CALLS WITH A. GREENE AND A. MARZOCCA REGARDING PLAN WORK STREAMS (.6); REVIEW PLAN AND
       DISCUSS WITH J. HUFENDICK AND J. LIOU (.5).


   12/10/20  Martin, Robert Crawford                2.50      2,525.00               007          60690955
       REVIEW AND COMPILE ISSUES LIST OF DRAFT PURCHASE AGREEMENT.


   12/10/20  James, Hillarie                         0.70       591.50        007       60713837
       RESEARCH REGARDING PLAN ISSUES (.5); CORRESPONDENCE WITH WEIL TEAM REGARDING SAME (0.2).


   12/11/20   Liou, Jessica                              1.80       2,115.00         007          60705068
       REVIEW CHAPTER 11 PLAN (.3); REVIEW AND COMMENT ON CHAPTER 11 PLAN (.3); CONFER WITH J.
       HUFENDICK RE: CHAPTER 11 PLAN COMMENTS AND NEXT STEPS (.7); CONFER WITH J. GEORGE RE: EDITS
       TO SAME (.3); EMAIL TO J. HUFENDICK RE: NEXT STEPS ON PLAN, EMAIL TO J. NOE RE: CHAPTER 11
       PLAN, EMAIL TO C. MARCUS RE: CHAPTER 11 PLAN (.2).


   12/11/20  Barr, Matthew S.                        1.10      1,787.50        007                60704594
       REVIEW REVISED PLAN (.9); CORRESPONDENCE WITH TEAM REGARDING SAME (.2).


   12/11/20   Hufendick, Jason                      1.90      1,767.00      007                   60704573
       REVISE DRAFT OF FWE CHAPTER 11 PLAN AND CORRESPONDENCE RELATED THERETO.


   12/11/20  Carlson, Clifford W.                  1.20      1,260.00       007        60716836
       CONDUCT RESEARCH REGARDING PLAN ISSUES AND EMAILS WITH A. GREENE REGARDING SAME (.7);
       REVIEW REVISED PLAN AND EMAILS REGARDING SAME (.5).


   12/11/20  James, Hillarie                       0.50       422.50       007                    60713498
       TELEPHONE CONFERENCE WITH WEIL AND DAVIS POLK TEAM REGARDING PLAN RESEARCH.
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   12/11/20  Marzocca, Anthony P.                        0.90        837.00       007           60869236
       CALL WITH J. LIOU, A. GREENE, C. CARLSON, AND H. JAMES RE ENVIRONMENTAL LIABILITIES (0.5);
       CORRESPONDENCE RE SAME (0.4).


   12/11/20   Greene, Anthony L.                           0.70            686.00    007        61068340
       PARTICIPATE ON FWE TEAM CALL.


   12/12/20  Liou, Jessica                         0.20          235.00        007              60705097
       REVIEW REVISED DRAFT CHAPTER 11 PLAN AND EMAILS WITH J. HUFENDICK RE: SAME.


   12/12/20  Hufendick, Jason                              0.40            372.00    007        60704508
       REVIEW AND REVISE DRAFT PLAN.


   12/12/20 Carlson, Clifford W.                  0.50        525.00                 007        60707701
       CONDUCT PLAN RELATED RESEARCH AND DISCUSS WITH A. GREENE.


   12/12/20  George, Jason                          0.10                    73.00    007        60726604
       CORRESPONDENCE WITH M. KLEISSLER RE: PLAN RESEARCH.


   12/12/20 Greene, Anthony L.                             2.80          2,744.00    007        61068349
       CONDUCT LEGAL RESEARCH RE: PLAN ISSUES.


   12/13/20  Greene, Anthony L.                     3.50        3,430.00       007        60701725
       CONDUCT RESEARCH RE: IMPLEMENTATION ISSUES (1.2); REVIEW AND REVISE RESEARCH MEMO (1.5);
       CORRESPOND WITH E. WHEELER REGARDING RESEARCH POINTS (.2); REVIEW REVISED PLAN
       DOCUMENTS (.6).


   12/14/20   Hufendick, Jason                          0.60        558.00      007             60836972
       REVISE CONFIRMATION WIP LIST (.3); CALL WITH CLIENT AND WEIL RESTRUCTURING TEAM RE:
       CONFIRMATION WIP LIST (.3).


   12/14/20     Carlson, Clifford W.                       2.80          2,940.00    007        60758596
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        PARTICIPATE ON CALL WITH TAX TEAM REGARDING PLAN STRUCTURE (.4); MULTIPLE CALLS AND
        EMAILS REGARDING PLAN RESEARCH WORKSTREAMS (1.3); PARTICIPATE ON PLAN WORKSTREAMS
        CALL WITH CLIENT (.4); CALLS AND EMAILS WITH ALIX PARTNERS REGARDING PLAN WORKSTREAMS
        (.4); PARTICIPATE ON CALL WITH COMPANY REGARDING PLAN WORKSTREAMS (.3).


   12/14/20     Greene, Anthony L.                       4.50       4,410.00         007          60712792
       REVISE RESTRUCTURING MARKUP TO PSA (.9); CALL WITH E. WHEELER REGARDING PLAN RESEARCH
       (.2); REVISE TRANSACTION ISSUES LIST (.5); CONDUCT RESEARCH RE: PLAN ISSUES (1.1); CALL WITH C.
       CARLSON RE: PSA (.3); REVIEW DEBTOR AGREEMENTS (1.5).


   12/15/20    Liou, Jessica                        1.00         1,175.00       007        60726366
       GS TERM SHEET CALL WITH HL, WEIL AND FIELDWOOD (.8); REVIEW FURTHER REVISED CHAPTER 11
       PLAN (.2).


   12/15/20    Barr, Matthew S.                        4.00       6,500.00        007        60725676
       REVIEW MATERIALS FROM CREDITORS FOR CALL (.9); PARTICIPATE ON ALL HANDS CALL (1.0); FOLLOW
       UP WITH TEAM (.4); REVIEW DRAFT DOCUMENTS (1.2); PARTICIPATE ON TEAM CALL REGARDING NEXT
       STEPS (.5).


   12/15/20  Hufendick, Jason                        0.70       651.00       007                  60836956
       REVIEW ISSUES LIST AND CORRESPONDENCE RE: DISCLOSURE STATEMENT/PLAN AND APA.


   12/15/20  Carlson, Clifford W.                      2.60      2,730.00         007        60758533
       MULTIPLE CALLS WITH WEIL TEAM REGARDING PLAN WORKSTREAMS (.9); PARTICIPATE ON CALL
       WITH M. BARR, A. PEREZ, AND J. LIOU REGARDING PLAN WORKSTREAMS (.7); PARTICIPATE ON CALL
       WITH COMPANY REGARDING EXIT FACILITY (1.0).


   12/15/20  George, Jason                          0.20                   146.00    007          60726679
       CORRESPONDENCE WITH M. KLEISSLER RE: PLAN RESEARCH.


   12/15/20   Wheeler, Emma                            3.50       2,082.50        007         60735945
       CONDUCT RESEARCH RE: PSA ISSUES (1.3); CALL WITH A. GREENE TO DISCUSS SAME (.6); SUMMARIZE
       SAME (1.6).
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   12/15/20   Greene, Anthony L.                           3.30      3,234.00       007          60725346
       REVIEW REVISED PLAN (.4); CALL WITH E. WHEELER PSA ISSUES (.5); CORRESPOND WITH CORPORATE
       TEAM (.2); REVIEW AND REVISE PSA ISSUES LIST (.7); RESEARCH RELATED TO PLAN SALE ISSUES (.8);
       REVIEW CORRESPONDENCE FROM H. JAMES (.2); CORRESPOND WITH C. CARLSON (.3); REVIEW
       AGREEMENTS CIRCULATED BY L. EDWARDS (.2).


   12/16/20  Perez, Alfredo R.                     0.20                    300.00    007         60968807
       REVIEW APA ISSUES RELATING TO PLAN TREATMENT.


   12/16/20  Marcus, Courtney S.                           0.20            275.00    007         60745539
       REVIEW UPDATED EXIT FACILITY TERM SHEETS.


   12/16/20  Moore, Rodney L.                              2.00          2,850.00    007         61068907
       REVIEW PLAN AND DISCLOSURE STATEMENT.


   12/16/20  Liou, Jessica                        0.80        940.00         007                 60736624
       CONFER WITH ALIX PARTNERS AND FIELDWOOD TEAM RE: CONTRACT ANALYSIS, PLAN
       ADMINISTRATOR RESERVE AND CLAIMS ANALYSIS.


   12/16/20  Barr, Matthew S.                       3.70      6,012.50        007           60744705
       REVIEW REVISED TERM SHEET (.8); CORRESPONDENCE REGARDING SAME WITH TEAM (.2);
       CORRESPONDENCE WITH ADVISORS REGARDING SAME (.1); REVIEW NEXT STEPS ISSUES (.3); AND
       CORRESPONDENCE WITH TEAM REGARDING SAME (.1); REVIEW REVISED DOCUMENTS (2.1); AND
       CORRESPONDENCE WITH TEAM REGARDING SAME (.1).


   12/16/20  Hufendick, Jason                             3.20       2,976.00        007         60836895
       CALL RE: APA ISSUES LIST (2.9); REVIEW EXIT 1L FACILITY RESPONSE (.3).


   12/16/20    Carlson, Clifford W.                   2.80       2,940.00       007       60758235
       PARTICIPATE ON CALL WITH DPW REGARDING PLAN WORKSTREAMS (.4); PARTICIPATE ON CALLS
       WITH J. LIOU REGARDING PLAN WORKSTREAMS (.3); PARTICIPATE ON CALL WITH COMPANY
       REGARDING DRAFT PSA (2.1).
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   12/16/20   James, Hillarie                     1.50      1,267.50       007       60768757
       TELEPHONE CONFERENCES WITH ADVISOR TEAMS REGARDING PLAN AND DISCLOSURE STATEMENT
       (1.5).


   12/16/20  Marzocca, Anthony P.                  7.60         7,068.00         007            60869244
       CALL WITH C. CARLSON RE CONFIRMATION HEARING NOTICE (0.4); PREPARE SAME (7.2).


   12/16/20     Greene, Anthony L.                      1.60        1,568.00    007       60726932
       INTERNAL CALL REGARDING PLAN ISSUES (.5); CALL WITH E. WHEELER REGARDING PLAN RESEARCH
       (.5); PLAN RESEARCH (.3); REVIEW COMMITTEE STIPULATION (.3).


   12/17/20  Moore, Rodney L.                     1.80       2,565.00        007           61068913
       CONFERENCE CALL WITH WEIL TEAM REGARDING WIP AND STRUCTURE/§1145 ISSUES (1.0); REVIEW
       PLAN AND DISCLOSURE STATEMENT(.8).


   12/17/20   Rahman, Faiza N.                    0.50       587.50       007         60927105
       EMAIL CORRESPONDENCE WITH WEIL CORPORATE AND RESTRUCTURING TEAMS RE: POTENTIAL
       CHANGES IN STRUCTURE.


   12/17/20  Liou, Jessica                               1.70       1,997.50        007         60743528
       CONFER WITH M. BARR RE: CHAPTER 11 ISSUES (.8); CONFER WITH S. MILLMAN RE: STATUS AND
       CHAPTER 11 PLAN (.2), EMAIL TEAM RE: SAME (.2); EMAILS WITH WEIL M&A TEAM RE: CREDIT BID
       TRANSACTION STRUCTURE (.2); EMAILS WITH J. HUFENDICK AND CONFER WITH SAME RE: CHAPTER 11
       PLAN DRAFT TO UCC AND OTHER EDITS (.3).


   12/17/20  Barr, Matthew S.                     0.80         1,300.00       007       60745163
       CORRESPONDENCE WITH TEAM REGARDING OPEN ISSUES (.1); CALL WITH TEAM REGARDING SAME (.5);
       AND REVIEW NEXT STEPS REGARDING SAME (.2).


   12/17/20   Hufendick, Jason                             1.50          1,395.00    007        60836906
       REVISE DRAFT CHAPTER 11 PLAN.


   12/17/20     Carlson, Clifford W.                       1.10          1,155.00    007        60758281
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        PARTICIPATE ON CALL WITH FLTL ADVISORS REGARDING PLAN ISSUES (.8); CALL WITH J. LIOU
        REGARDING SAME (.3).


   12/17/20   George, Jason                          0.10                   73.00    007        60756131
       EMAIL C. GRING RE: PREDECESSOR NOTICING INFORMATION.


   12/17/20  Greene, Anthony L.                     3.40        3,332.00          007        60753212
       PLAN AND DISCLOSURE STATEMENT REGROUP CALL (.7); REVIEW COMMITTEE STIPULATION (.2);
       REVIEW PLAN DOCUMENTS (.3); RESEARCH REGARDING §1129 ISSUES (.5); INTERNAL GROUP CALL (1.0);
       REVIEW PSA (.5); REVIEW REVISED PLAN (.2).


   12/18/20   Perez, Alfredo R.                    1.00       1,500.00      007        60753287
       CONFERENCE CALL WITH ALIX PARTNERS, HOULIHAN, AND WEIL TEAMS REGARDING CARRYING
       COSTS.


   12/18/20  Liou, Jessica                             3.00       3,525.00        007          60781180
       REVIEW AND RESPOND TO EMAIL RE: CHAPTER 11 PLAN (0.2); REVIEW ALIX PARTNERS MATERIALS RE:
       PLAN COSTS (.3); CONFER WITH HL AND ALIX PARTNERS RE: PREDECESSOR ISSUES (1.0); CONFER WITH
       M. BARR, J. HANSON AND D. CROWLEY RE: CHAPTER 11 PLAN, NEXT STEPS AND STRATEGY (1.0); CONFER
       WITH M. DANE RE: STATUS, NEXT STEPS, CHAPTER 11 PLAN AND DISCLOSURE STATEMENT (.5).


   12/18/20  Adams, Frank R.                            0.50      762.50        007             60748686
       CONFER WITH F. RAHMAN RE: §1145 MATTERS (0.2); CONDUCT RELATED RESEARCH (0.3).


   12/18/20   Barr, Matthew S.                        1.30       2,112.50      007              60757284
       PARTICIPATE ON ALL HANDS CALL (1.0); FOLLOW UP WITH TEAM REGARDING NEXT STEPS (.3).


   12/18/20   Carlson, Clifford W.                      3.70      3,885.00       007            60758344
       CALL AND EMAILS WITH A. GREENE REGARDING PLAN WORKSTREAMS (.3); PARTICIPATE ON CALL
       WITH ALIX PARTNERS AND HOULIHAN REGARDING PLAN WORKSTREAMS (1.3); PARTICIPATE ON CALL
       WITH HOULIHAN REGARDING CHAPTER 11 PLAN (1.0); EMAILS WITH ALIX PARTNERS TEAM REGARDING
       PLAN ISSUES (.3); PARTICIPATE ON CALL WITH DAVIS POLK REGARDING PLAN ISSUES (.5); DISCUSS
       PLAN RESEARCH WORKSTREAMS WITH A. GREENE (.3).
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   12/18/20      Greene, Anthony L.                     8.70       8,526.00           007          60753463
       CALL WITH C. CARLSON RE: PLAN ISSUES (.2); PLAN ANALYSIS CALL (1.3); PSA CALL (1.2); REVIEW
       REVISED PSA (1.1); DRAFT EMAIL MEMO TO C. CARLSON AND J. LIOU (.7); CALL WITH E. WHEELER
       REGARDING PLAN RESEARCH (.2); PLAN-RELATED RESEARCH (2.7); REVISE PSA ISSUES LIST (.8); REVISE
       PSA (.5).


   12/19/20  Moore, Rodney L.                              2.70          3,847.50     007          61068998
       REVIEW PLAN AND DISCLOSURE STATEMENT.


   12/19/20  Liou, Jessica                                 0.40            470.00     007          60781104
       EMAIL V&E WITH DRAFT CHAPTER 11 PLAN.


   12/19/20   Greene, Anthony L.                       3.70      3,626.00         007              60753170
       REVISE PSA (3.5); CORRESPOND WITH E. WHEELER REGARDING RESEARCH ISSUES (.2).


   12/20/20  Marcus, Courtney S.                    4.40                 6,050.00     007          60750007
       DRAFT AND CIRCULATE EXIT FACILITY TERM SHEETS.


   12/20/20 Rahman, Faiza N.                        2.50       2,937.50               007          60756418
       CONDUCT RESEARCH RE: §1145 ANALYSIS FOR NEW EQUITY ISSUANCES.


   12/20/20  Greene, Anthony L.                            0.30            294.00     007          60754048
       REVIEW FURTHER REVISED PLAN.


   12/21/20  Perez, Alfredo R.                  0.40        600.00         007                     60775017
       CONFERENCE CALL WITH MANAGEMENT AND ADVISORS REGARDING PLAN ISSUES.


   12/21/20  Marcus, Courtney S.                      2.50       3,437.50        007      60841768
       DRAFT SHORT FORM EXIT FACILITY TERM SHEETS (2.1); CORRESPOND WITH FWE AND ADVISORS
       REGARDING COMMENTS TO SAME (.1); REVISE AND CIRCULATE TO DAVIS POLK (.3).


   12/21/20     Moore, Rodney L.                           1.80          2,565.00     007          61069004
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        REVIEW AND PROVIDE COMMENTS TO PLAN AND DISCLOSURE STATEMENT.


   12/21/20  Rahman, Faiza N.                          4.70       5,522.50        007         60775082
       RESEARCH AND ANALYSIS RE: §1145 EXEMPTION (2.0); CALL WITH F. ADAMS RE: SECURITIES LAW
       MATTERS (0.5); CORRESPONDENCE BY EMAIL RE: §1145 AND SECURITIES MATTERS (1.0); REVIEW OF DPW
       COMMENTS TO PLAN AND DISCLOSURE STATEMENT (1.2).


   12/21/20  Liou, Jessica                            1.70         1,997.50        007          60933433
       CONFER WITH WEIL RESTRUCTURING TEAM RE: CHAPTER 11 PLAN AND DISCLOSURE STATEMENT (.5);
       CONFER WITH TEAM RE: DPW COMMENTS TO PLAN AND DISCLOSURE STATEMENT (.5); CONFER WITH J.
       LACHANCE, J. HANSON, M. BARR RE: CHAPTER 11 PLAN (.5); CONFER WITH C. CARLSON RE: SAME (.2).


   12/21/20  Liou, Jessica                                 0.80            940.00    007        60998609
       REVIEW AND REVISE CHAPTER 11 PLAN.


   12/21/20  Barr, Matthew S.                        3.00         4,875.00       007       60783823
       REVIEW REVISED DOCUMENTS (1.8) AND RELATED ISSUES (.4); CALL WITH TEAM REGARDING SAME (.3);
       CALL WITH CLIENT AND TEAM REGARDING SAME (.5).


   12/21/20  Margolis, Steven M.                  0.80         900.00       007                 60766842
       REVIEW COMMENTS TO PLAN AND DISCLOSURE STATEMENT (0.4) AND CORRESPONDENCE AND
       CHANGES TO SAME (0.4).


   12/21/20  Hufendick, Jason                          8.40       7,812.00       007         60836933
       REVIEW AND REVISE DRAFT CHAPTER 11 PLAN (7.7); CALL WITH CLIENT RE: CONFIRMATION WIP AND
       STRATEGY (.7).


   12/21/20     Carlson, Clifford W.                       5.70          5,985.00    007        60837633
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        PARTICIPATE ON CALL WITH HOULIHAN AND ALIX PARTNERS TEAMS REGARDING PLAN
        WORKSTREAMS (.3); PARTICIPATE ON CALL WITH COMPANY AND ADVISORS REGARDING PLAN
        WORKSTREAMS (.6); CALLS WITH WEIL TEAM REGARDING PLAN AND DISCLOSURE STATEMENT (.9);
        REVIEW AND REVISE PLAN (.5); PARTICIPATE ON CALL WITH COMPANY AND ADVISORS ON
        WIND-DOWN BUDGET (.7); PARTICIPATE ON CALL WITH DPW REGARDING PLAN AND DISCLOSURE
        STATEMENT (1.2); FOLLOW UP CALL WITH DPW REGARDING SAME (.8); EMAILS WITH BANKING TEAM
        REGARDING EXIT TERM SHEETS (.4); REVIEW PLAN CONFIRMATION WIP LIST (.3).


   12/21/20  Delaney, Scott Michael                 0.60                   630.00    007         61069011
       REVIEW REVISED DRAFT OF PLAN AND DISCLOSURE STATEMENT.


   12/21/20  George, Jason                           2.00        1,460.00           007       60761901
       CALL WITH N. KRAMER RE: NOTICING INFORMATION FOR CREDITORS (0.2); CORRESPONDENCE WITH T.
       LAMME AND B. SWINGLE RE: NOTICING INFORMATION (0.1); CALL WITH J. LIOU, C. CARLSON, J.
       HUFENDICK, H. JAMES RE: PLAN AND DISCLOSURE STATEMENT (1.5); EMAIL TO R. MOORE AND S. PECA
       DPW MARKUP TO PLAN (0.2).


   12/21/20  Wheeler, Emma                         1.60         952.00       007       60783852
       CALL WITH WEIL RESTRUCTURING TEAM TO DISCUSS PLAN AND DISCLOSURE STATEMENT UPDATES.


   12/21/20   Greene, Anthony L.                         3.90       3,822.00          007        60781255
       PARTICIPATE ON ADVISORS CALL (.3); REVIEW REVISED PLAN (.6); TEAM CALL REGARDING PLAN
       REVISIONS (1.5); PSA DOCUMENTS CALL (.8); REVIEW EXIT FACILITY MATERIALS (.2); REVIEW PSA
       DOCUMENTS AND EXHIBITS (.5).


   12/21/20  Sierra, Tristan M.                    1.60                  1,168.00    007         60807656
       ATTEND CALL RE: PLAN AND DISCLOSURE STATEMENT.


   12/22/20   Marcus, Courtney S.                       1.70      2,337.50         007           60841783
       PARTICIPATE ON WEIL WIP CALL (.3); PARTICIPATE ON CALL WITH UCC RE: PLAN ISSUES (.7); REVIEW
       UPDATED FIRST LIEN EXIT FINANCING TERM SHEET AND V&E UPDATE (.2); UPDATE CALL WITH WEIL
       TEAM (.5).


   12/22/20     Rahman, Faiza N.                           4.20          4,935.00    007         60784427
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        REVIEW PLAN AND DISCLOSURE STATEMENT RE: SECURITIES ISSUANCES (1.2); CALL WITH F. ADAMS
        RE: SECURITIES LAW MATTERS (0.4); CALL WITH WEIL RESTRUCTURING AND CORPORATE TEAMS RE:
        STRUCTURING AND SECURITIES LAWS (0.8); REVIEW AND COMMENT ON DPW COMMENTS TO PLAN
        AND DISCLOSURE STATEMENT (1.0); CALL RE: UPDATES TO TRANSACTION TERMS (0.5) REVIEW EMAIL
        CORRESPONDENCE RE: NEW PLAN (0.3).


   12/22/20    Liou, Jessica                          2.10         2,467.50        007       60798518
       CONFER WITH D. MEYER AND M. BARR RE: CHAPTER 11 PLAN (.5); CONFER WITH WEIL TEAM RE: NEXT
       STEPS, PLAN, AND DISCLOSURE STATEMENT (.5); CONFER WITH B. CONLEY RE: DIP TREATMENT
       ARGUMENTS, CONFER WITH M. TIPPETT RE: TAX DISCLOSURE ISSUES UNDER PLAN (.3); CONFER WITH R.
       MOORE, F. RAHMAN AND F. ADAMS RE: SECURITIES LAW AND M&A STRUCTURING ISSUES FOR
       CHAPTER 11 PLAN (.8).


   12/22/20    Peca, Samuel C.                          6.40      7,200.00        007          60779497
       REVIEW R. MOORE EDITS TO PLAN, DISCLOSURE STATEMENT AND PSA (1.1); REVIEW EMAIL AND OPEN
       ISSUES (0.9); REVIEW MERGER AGREEMENT EXHIBITS AND CALL WITH FWE REGARDING SAME (1.5);
       REVIEW STRUCTURING MATTERS (0.4); REVIEW RESEARCH REGARDING DELAWARE CORPORATE/LLC
       LAW (0.2); REVIEW WEIL TAX PSA COMMENTS (0.4); CALL WITH UCC COUNSEL RE: PLAN ISSUES (0.7);
       CALL WITH WEIL TEAM REGARDING STRUCTURING MATTERS (0.8); CATCH UP CALL REGARDING
       STRUCTURING (0.4).


   12/22/20  Margolis, Steven M.                  0.60      675.00       007        60781871
       REVIEW PLAN SUPPLEMENT AND DISCLOSURE STATEMENT DOCUMENTS AND CORRESPONDENCE ON
       SAME.


   12/22/20  Conley, Brendan C.                      0.50                  525.00    007       60934820
       PLAN FOR AND PARTICIPATE ON CALL RE: UPDATED STRUCTURE.


   12/22/20  Abraham, Melissa S.                      1.00          1,010.00         007       60784047
       PLAN AND CREDIT BID CALL (.8); CORRESPONDENCE RE: SAME (.2).


   12/22/20     Hufendick, Jason                           2.20          2,046.00    007       60836871
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        CALL WITH J. LIOU AND C. CARLSON RE: PLAN (1); REVIEW INDEMNIFICATION PROVISIONS IN PLAN AND
        CORRESPONDENCE RELATED THERETO (.7); ATTEND CALL WITH WEIL TEAM REGARDING PLAN
        STRUCTURE CHANGES (.5); REVIEW AND REVISE DRAFT PLAN.


   12/22/20   Carlson, Clifford W.                   2.50      2,625.00       007         60838734
       PARTICIPATE ON CALL WITH J. LIOU AND RESTRUCTURING ASSOCIATES REGARDING PLAN ISSUES (1.0);
       PARTICIPATE ON CALL WITH ALIX PARTNERS AND HOULIHAN REGARDING SAME (.8); PARTICIPATE ON
       CALL WITH DAVIS POLK REGARDING PLAN WORKSTREAMS (.7).


   12/22/20  George, Jason                                 0.40            292.00    007      60795432
       CALL WITH WEIL TEAM RE: CHAPTER 11 PLAN.


   12/22/20  Martin, Robert Crawford              0.50        505.00       007       60784402
       CONFERENCE WITH INTERNAL TEAM REGARDING STATUS OF PLAN AND DISCLOSURE STATEMENT.


   12/22/20  Wheeler, Emma                            7.80      4,641.00        007        60793754
       CONDUCT RESEARCH RE: CONFIRMATION ISSUE (7.3); CALL WITH WEIL TEAM TO DISCUSS PLAN AND
       DISCLOSURE STATEMENT NEXT STEPS (.5).


   12/22/20  Greene, Anthony L.                          3.20      3,136.00        007       60781150
       UCC PLAN CALL (.7); PARTICIPATE ON TRANSACTION PLANNING CALL (.4); CONDUCT CONFIRMATION
       RESEARCH (1.5); INTERNAL TEAM CALL RE: PLAN (.4); CONFER WITH E. WHEELER REGARDING RESEARCH
       MEMO (.2).


   12/23/20  Marcus, Courtney S.                    1.10       1,512.50      007         60841978
       REVIEW DISCLOSURE STATEMENT AND PLAN REGARDING BANKING-RELATED COMMENTS (.5) ;
       CORRESPOND WITH B. CONLEY REGARDING SAME (.1); REVIEW COMMENTS FROM DAVIS POLK TO
       SECOND LIEN EXIT FACILITY TERM SHEET (.5).


   12/23/20     Liou, Jessica                             10.80         12,690.00    007      60798652
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        REVIEW AND RESPOND TO EMAILS FROM WEIL TEAM RE: CHAPTER 11 PLAN (.3); EMAIL R. RUSSELL RE:
        EXTENSION OF MILESTONES (.3); CONFER WITH J. NOE RE: CHAPTER 11 PLAN ISSUES (.7); REVIEW AND
        REVISE CHAPTER 11 PLAN (MULTIPLE DRAFTS) (5.7); REVIEW AND REVISE DRAFT CHAPTER 11 PLAN (2.1);
        MULTIPLE CONFERS WITH J. HUFENDICK RE: PLAN (.7); MULTIPLE CONFERS WITH C. CARLSON RE: SAME
        (.4); REVIEW AND REVISE EMAILS RE: SAME (.2); CONFER WITH RODNEY RE: SAME (.4).


   12/23/20  Adams, Frank R.                        1.10        1,677.50       007         60839677
       CALL WITH B. DOLGONOS, G. WESTERMAN AND A. HEYLIGER RE: LIQUIDATING TRUST ANALYSIS (0.8);
       RELATED ANALYSIS AND CONSIDERATION (0.3).


   12/23/20  Barr, Matthew S.                          1.80    2,925.00        007           60796387
       CORRESPONDENCE REGARDING OPEN ISSUES WITH TEAM (.3); REVIEW OPEN ISSUES (.7); CALL WITH V&E
       REGARDING SAME (.2); ATTEND TO NEXT STEPS (.6).


   12/23/20    Margolis, Steven M.                 0.70          787.50       007        60795515
       REVIEW NEW DRAFT OF CHAPTER 11 PLAN SUPPLEMENT (0.4); CORRESPONDENCE ON TRANSACTION
       ISSUES (0.3).


   12/23/20  Conley, Brendan C.                            1.80          1,890.00    007         60935041
       REVIEW PLAN AND DISCLOSURE STATEMENTS.


   12/23/20  Abraham, Melissa S.                   0.20      202.00                  007         60793438
       CORRESPONDENCE AND REVIEW RE: DISCLOSURE STATEMENT AND PLAN.


   12/23/20  Hufendick, Jason                              7.10          6,603.00    007         60837001
       REVIEW AND REVISE DRAFT CHAPTER 11 PLAN.


   12/23/20    Carlson, Clifford W.                   4.00          4,200.00       007           60839975
       PARTICIPATE ON CALL WITH ALIX PARTNERS AND HOULIHAN REGARDING PLAN ISSUES (0.5); CALLS
       WITH J. LIOU AND J. HUFENDICK REGARDING PLAN ISSUES (1.8); REVIEW AND REVISE PLAN (.4); EMAILS
       WITH CORPORATE AND BANKING TEAMS REGARDING CHAPTER 11 PLAN (.5); MULTIPLE CALLS AND
       EMAILS REGARDING BACKSTOP APPROVAL MOTION (.5); PREPARE TIMELINE FOR CHAPTER 11 PLAN (.3).
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   12/23/20 Wheeler, Emma                                  7.40          4,403.00    007     60793750
       CONDUCT RESEARCH RE: CONFIRMATION ISSUES.


   12/23/20  Greene, Anthony L.                     1.00       980.00        007           60806312
       REVIEW REVISED IMPLEMENTATION AGREEMENT (.3); RESEARCH CONFIRMATION ISSUES (.5); DISCUSS
       RESEARCH PROGRESS WITH E. WHEELER (.2).


   12/24/20   Perez, Alfredo R.                     1.40      2,100.00        007          60798917
       ADVISOR PRE-CALL BEFORE CALL WITH PRINCIPALS REGARDING OPEN PLAN ISSUES (.6); CONFERENCE
       CALL WITH MANAGEMENT, LENDERS, AND ALL ADVISORS REGARDING OPEN PLAN ISSUES (.4);
       VARIOUS COMMUNICATIONS WITH WEIL TEAM AND T. LAMME REGARDING OPEN ISSUES RELATING TO
       THE PLAN DOCUMENTS (.4).


   12/24/20  Moore, Rodney L.                              2.70          3,847.50    007     60799433
       REVIEW AND REVISE PLAN.


   12/24/20     Rahman, Faiza N.                      1.30      1,527.50       007       60800448
       EMAIL CORRESPONDENCE WITH TAX TEAM RE: SECURITIES LAW TREATMENT OF FIELDWOOD SHARE
       (0.4); REVIEW REVISED PLAN AND DISCLOSURE STATEMENT AND REVIEW CORPORATE COMMENTS
       THERETO (0.5); EMAIL CORRESPONDENCE WITH WEIL TEAM RE: PLAN AND DISCLOSURE STATEMENT
       (0.4).


   12/24/20  Peca, Samuel C.                               0.50            562.50    007     60935379
       REVIEW REVISED PLAN.


   12/24/20  Barr, Matthew S.                        1.70         2,762.50        007        60796336
       ALL HANDS CALL REGARDING TIMING (.4); AND FOLLOW UP (.7); REVIEW EMAILS RE: PLAN/DISCLOSURE
       STATEMENT ISSUES AND CORRESPONDENCE WITH TEAM REGARDING SAME (.6).


   12/24/20  Hufendick, Jason                              1.20          1,116.00    007     60836891
       CORRESPONDENCE REGARDING DRAFT PLAN.


   12/24/20     Wheeler, Emma                              1.00            595.00    007     60796694
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        CONDUCT RESEARCH RE: CONFIRMATION ISSUES.


   12/24/20     Greene, Anthony L.                     3.10       3,038.00      007        60806224
       REVIEW PLAN REVISIONS AND UPDATES (.8); REVIEW PLAN DOCUMENTS CIRCULATED BY R. MARTIN
       (.3); PLAN CONFIRMATION RESEARCH (1.5); REVIEW AND REVISE RESEARCH MEMO PREPARED BY E.
       WHEELER (.4); REVIEW CORRESPONDENCE FROM J. LIOU (.1).


   12/26/20  Moore, Rodney L.                        1.20      1,710.00       007               60799359
       CALL WITH WEIL TEAM REGARDING PLAN (.6) REVIEW/RESPOND TO QUESTIONS REGARDING
       SECURITIES LAW ISSUES UNDER PLAN (.6).


   12/26/20  Liou, Jessica                            1.90        2,232.50         007          60802941
       CONFER WITH M. BARR, A. PEREZ AND C. CARLSON RE: CHAPTER 11 PLAN (.8); EMAILS WITH C.
       CARLSON RE: SAME (.3); CONFER WITH R. MOORE AND J. HUFENDICK RE: CHAPTER 11 PLAN (.8).


   12/26/20   Barr, Matthew S.                        1.90       3,087.50         007         60804307
       PARTICIPATE ON ALL HANDS TEAM CALL (.7); REVIEW ISSUES REGARDING FILINGS (.9); REVIEW REVISED
       DOCUMENTS (.3).


   12/26/20  Hufendick, Jason                         1.40      1,302.00        007         60836885
       ATTEND AND PARTICIPATE ON CALL WITH R. MOORE RE: COMMENTS TO PLAN (.7); ATTEND WEIL
       TEAM CALL WITH M. BARR, ALFREDO, J. LIOU AND WEIL RESTRUCTURING TEAM RE: PLAN ISSUES AND
       EXCLUSIVITY REPLY (.7).


   12/26/20  James, Hillarie                     0.20                      169.00    007        60806213
       CORRESPONDENCE WITH WEIL TEAM REGARDING PLAN.


   12/26/20  Marzocca, Anthony P.                   0.30        279.00               007        60869009
       CALL WITH C. CARLSON AND OTHERS RE PLAN FINANCING (PARTIAL).


   12/26/20  Greene, Anthony L.                            0.50            490.00    007        60806754
       INTERNAL UPDATE CALL.
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   12/27/20  Perez, Alfredo R.                         0.90       1,350.00      007         60799137
       REVIEW AND REVISE SLIDES FOR BOARD RE: PLAN (.5); VARIOUS COMMUNICATIONS WITH J. LIOU AND
       M. BARR REGARDING SAME (.4).


   12/27/20  Barr, Matthew S.                              1.10          1,787.50    007        60804310
       REVIEW REVISED DOCUMENTS RE: PLAN.


   12/27/20  Carlson, Clifford W.                     0.60                 630.00    007        60840369
       EMAILS WITH A. PEREZ AND J. LIOU REGARDING PLAN.


   12/28/20 Kronman, Ariel                                 0.20            250.00    007        60830178
       DOCUMENT AND EMAIL REVIEW RE: PLAN.


   12/28/20  Rahman, Faiza N.                       0.60        705.00       007       60808032
       REVIEW DPW COMMENTS TO PLAN AND DISCLOSURE STATEMENT (0.2); EMAIL CORRESPONDENCE
       WITH WEIL TEAM RE: SECURITIES LAWS MATTERS WITH RESPECT TO BACKSTOP AGREEMENT AND
       LIQUIDATING TRUST (0.4).


   12/28/20    Liou, Jessica                            5.10       5,992.50         007         60838780
       REVIEW DPW AND APACHE COMMENTS TO THE PLAN AND DISCLOSURE STATEMENT (.5); CONFER
       WITH M. DANE AND T. LAMME RE: PLAN, DISCLOSURE STATEMENT, AND OTHER OPEN ISSUE (1.3);
       CONFER WITH WEIL TEAM RE: COMMENTS TO PLAN AND DISCLOSURE STATEMENT, OPEN ISSUES, AND
       NEXT STEPS (1.2); CONFER WITH S. MILLMAN AND J. HUFENDICK RE: CHAPTER 11 PLAN (.7); CONFER
       WITH S. MILLMAN RE: PLAN (.3); REVIEW AND REVISE CHAPTER 11 PLAN (.2); REVIEW AND COMMENT
       ON DISCLOSURE STATEMENT AND PLAN AND EMAILS TO DPW RE: SAME (.4); CONFER WITH R. MOORE
       AND J. GEORGE RE: IMPLEMENTATION AGREEMENT ISSUES AND NEXT STEPS (.5).


   12/28/20  Peca, Samuel C.                        0.70          787.50        007         61069150
       REVIEW REVISIONS TO PLAN AND DISCLOSURE STATEMENT (0.5); REVIEW REVISIONS TO PLAN OF
       MERGER (0.2).


   12/28/20     Barr, Matthew S.                           2.00          3,250.00    007        60809846
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        CORRESPONDENCE WITH TEAM REGARDING FILING ISSUES (.7); REVIEW OPEN ISSUES (.8); AND NEXT
        STEPS (.3); ATTEND TO SAME (.2).


   12/28/20  Margolis, Steven M.                0.30       337.50       007                  60805584
       REVIEW COMMENTS ON BANKRUPTCY PLAN DOCUMENTS AND CORRESPONDENCE ON SAME.


   12/28/20     Conley, Brendan C.                   1.60      1,680.00       007       60803573
       REVIEW PLAN AND DISCLOSURE STATEMENT (.4); REVIEW EXCLUDED EQUITY AND PLEDGE STRUCTURE
       (.4); COORDINATE RE: DUTCH PLEDGE AND COLLATERAL QUESTIONS (.8).


   12/28/20   Hufendick, Jason                             5.40          5,022.00    007     60836977
       REVISE FWE PLAN.


   12/28/20   Carlson, Clifford W.                   3.10       3,255.00        007        60840815
       PARTICIPATE ON CALL WITH COMPANY REGARDING PLAN ISSUES (.5); PARTICIPATE ON TEAM CALL
       REGARDING PLAN AND DISCLOSURE STATEMENT (1.0); PARTICIPATE ON COORDINATION CALL WITH
       ALIX PARTNERS AND HOULIHAN TEAMS (.8); MULTIPLE EMAILS WITH WEIL BANKING AND
       CORPORATE TEAMS REGARDING PLAN ISSUES (.8).


   12/28/20  Greene, Anthony L.                    1.80      1,764.00          007        60820760
       TEAM CALL REGARDING REVISIONS TO PLAN/DISCLOSURE STATEMENT (1.3); REVIEW REVISED PLAN (.3);
       CORRESPONDENCE WITH E. WHEELER REGARDING RESEARCH POINTS (.2).


   12/28/20  Sierra, Tristan M.                    1.20                    876.00    007     60839925
       ATTEND CALL RE: PLAN AND DISCLOSURE STATEMENT.


   12/29/20  Perez, Alfredo R.                    0.90      1,350.00       007               60935032
       UPDATE CALLS WITH MANAGEMENT, HOULIHAN, AND WEIL TEAMS REGARDING PLAN ISSUES.


   12/29/20     Marcus, Courtney S.                        1.70          2,337.50    007     60839888
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        REVIEW DPW COMMENTS TO SECOND LIEN EXIT FACILITY TERM SHEET (.5); REVISE SAME; CIRCULATE
        TO FWE AND HOULIHAN TEAM FOR REVIEW/COMMENT (.7); REVIEW BANKING RELATED PROVISIONS
        TO PLAN AND DISCLOSURE STATEMENT (.5).


   12/29/20 Kronman, Ariel                                 0.20            250.00    007       60809989
       DOCUMENT AND EMAIL REVIEW RE: PLAN.


   12/29/20   Peca, Samuel C.                              0.60            675.00    007       60935171
       REVISE CONFIRMATION HEARING NOTICE.


   12/29/20   Hufendick, Jason                             1.00            930.00    007       60836999
       REVISE FWE PLAN.


   12/29/20   Carlson, Clifford W.                  1.10       1,155.00          007        60841920
       PARTICIPATE ON CALL WITH CLIENT AND LENDERS AND THEIR ADVISORS (0.6); PARTICIPATE ON CALL
       WITH DAVIS POLK REGARDING PLAN ISSUES (.5).


   12/29/20   Delaney, Scott Michael                    3.50          3,675.00     007         60817133
       REVIEW AND REVISE CONFIRMATION HEARING NOTICE AND CORRESPONDENCE WITH R. MOORE AND S.
       PECA RE: SAME (1.9); REVIEW AND REVISE CREDIT BID PSA (0.9); CORRESPONDENCE WITH A. MARZOCCA
       RE: CONFIRMATION HEARING NOTICE (0.1); REVIEW AND REVISE PLAN AND CORRESPONDENCE WITH R.
       MOORE RE: SAME (0.6).


   12/29/20  George, Jason                              0.50        365.00           007       60825460
       CALL WITH DPW TEAM, M. BARR, A. PEREZ, AND J. LIOU RE: CHAPTER 11 PLAN.


   12/29/20     Greene, Anthony L.                     5.90         5,782.00        007      60822952
       PARTICIPATE ON COORDINATION CALL (.4); PARTICIPATE ON TEAM CALL (.8); PARTICIPATE ON
       INTERNAL PLAN CALL (.9); REVIEW PLAN REVISIONS (.4); PREPARE DISCLOSURE STATEMENT ISSUES LIST
       (.3); DISCUSS DISCLOSURE STATEMENT ISSUES LIST WITH C. CARLSON (.1); REVIEW MEMO FROM
       LITIGATION TEAM REGARDING DOCUMENT PRODUCTION (.2); CONDUCT RESEARCH RELATED TO
       CONFIRMATION ISSUES (2.8).
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   12/30/20  Perez, Alfredo R.                      1.20       1,800.00      007               60820649
       CONFERENCE CALL WITH WEIL TEAM REGARDING ANALYSIS (.3); CONFERENCE CALL WITH J.
       LACHANCE REGARDING SAME (.7); UPDATE CALL WITH BOARD MEMBERS (.2).


   12/30/20   Marcus, Courtney S.                    2.40       3,300.00          007        60837580
       CONFERENCE WITH M. DANE AND T. LAMME REGARDING SECOND LIEN EXIT FACILITY TERM SHEET (.4);
       REVISE AND CIRCULATE SAME TO FWE AND HOULIHAN TEAM (.5); CONFERENCE WITH C. FISCHER
       REGARDING MARKUP (.4); CIRCULATE AND FINALIZE SAME WITH DAVIS POLK (.8); PARTICIPATE ON
       WEEKLY ADVISORS CALL (.3).


   12/30/20   Rahman, Faiza N.                        1.00     1,175.00        007             60825068
       PARTICIPATE ON ALL HANDS CALL (0.3); REVIEW DPW COMMENTS TO PLAN AND DISCLOSURE
       STATEMENT (0.7).


   12/30/20    Liou, Jessica                            9.60       11,280.00       007         60838771
       CONFER WITH DPW AND R/I RE: CHAPTER 11 PROCESS (.3); CONFER WITH T. LAMME, M. DANE, J.
       PAINTER, J. LACHANCE, M. BARR, A. PEREZ RE: CHAPTER 11 PLAN FILING STATUS AND OTHER OPEN
       ISSUES (1.5); EMAILS WITH M. BOYADJIAN, REVIEW APACHE COMMENTS TO CHAPTER 11 PLAN (.2);
       CONFER WITH M. BOYADJIAN RE: STATUS OF CHAPTER 11 PLAN, DISCLOSURE STATEMENT AND OTHER
       ISSUES (1.0); REVIEW AND REVISE DISCLOSURE STATEMENT, REVIEW AND REVISE CHAPTER 11 PLAN,
       DRAFT EMAIL TO BOARD RE: CHAPTER 11 DOCUMENTS AND PROCESS FOR APPROVAL AND FILING (6.2);
       REVIEW AND COMMENT ON EMAIL RE: ISSUES FOR M. BARR AND A. PEREZ REVIEW (.4).


   12/30/20    Barr, Matthew S.                          2.70       4,387.50      007          60837628
       CORRESPONDENCE WITH TEAM REGARDING FILINGS (.2); TEAM CALL REGARDING SAME (.8); CALL WITH
       STAKEHOLDERS (.2); AND CLIENTS RE: SAME (.3); REVIEW ISSUES REGARDING SAME (.7); AND NEXT
       STEPS (.5).


   12/30/20  Margolis, Steven M.                0.30        337.50                   007       60935555
       REVIEW COMMENTS AND CORRESPONDENCE ON PLAN OF REORGANIZATION.


   12/30/20  Conley, Brendan C.                  1.70                    1,785.00    007       60935644
       REVIEW OPERATING AGREEMENT AND RELATED PROVISONS.
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   12/30/20  Hufendick, Jason                              7.00          6,510.00    007    60837144
       REVIEW AND REVISE DRAFT CHAPTER 11 PLAN.


   12/30/20   Carlson, Clifford W.                    1.10      1,155.00         007   60847901
       PARTICIPATE ON CALL WITH ALIX PARTNERS TEAM REGARDING CONTRACT/LEASE AND WIND DOWN
       BUDGET (.7); MULTIPLE EMAILS WITH ALIX PARTNERS TEAM REGARDING SAME (.4).


   12/30/20   Greene, Anthony L.                           0.50            490.00    007    60822949
       PARTICIPATE ON DOCUMENT REVIEW CALL.


   12/31/20     Perez, Alfredo R.                    2.80      4,200.00          007       60837126
       CONFERENCE CALLS WITH APA, HUNTON, DAVIS POLK, T. LAMME, AND WEIL TEAMS REGARDING
       IMPLEMENTATION AGREEMENT (1.8); TELEPHONE CONFERENCE WITH R. RUSSELL REGARDING STATUS
       (.2); TELEPHONE CONFERENCE WITH M. DANE REGARDING STATUS (.1); TELEPHONE CONFERENCE WITH
       T. LAMME REGARDING STATUS (.1); VARIOUS COMMUNICATIONS WITH MANAGEMENT, DAVID POLK,
       HUNTON, AND WEIL TEAMS REGARDING THE FILINGS (.6).


   12/31/20  Marcus, Courtney S.                    0.20                   275.00    007    60838731
       REVIEW REVISED SECOND LIEN EXIT TERM SHEET AND FINALIZE.


   12/31/20  Moore, Rodney L.                              3.30          4,702.50    007    61069158
       REVIEW PLAN AND DISCLOSURE STATEMENT.


   12/31/20  Kronman, Ariel                                0.30            375.00    007    60830401
       REVIEW PLAN AND RELATED EMAILS.


   12/31/20  Rahman, Faiza N.                     1.20      1,410.00                 007    60967823
       REVIEW AND COMMENT ON PLAN AND DISCLOSURE STATEMENT.


   12/31/20  Peca, Samuel C.                         1.40          1,575.00          007    60834749
       REVIEW PLAN AND DISCLOSURE STATEMENT (1.0); WIP CALL (0.4).
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   12/31/20   Barr, Matthew S.                         2.70        4,387.50      007        60837666
       CORRESPONDENCE WITH TEAM REGARDING FILINGS (.2); CALL WITH TEAM REGARDING SAME (.2 ); AND
       OPEN ISSUES (.7); CALL WITH CLIENT REGARDING SAME (.3); CORRESPONDENCE WITH DPW REGARDING
       SAME (.1); CALL WITH TEAM REGARDING OPEN ISSUE (.4); REVIEW ISSUES (.8).


   12/31/20  Margolis, Steven M.                   0.70       787.50      007        60824610
       REVIEW PLAN DISCLOSURE STATEMENT, RELATED DOCUMENTS, AND CORRESPONDENCE ON SAME.


   12/31/20  Hufendick, Jason                              3.10          2,883.00     007          60846475
       REVIEW AND REVISE CHAPTER 11 PLAN.


   12/31/20   Carlson, Clifford W.                     2.50      2,625.00       007        60848609
       PARTICIPATE ON MULTIPLE CALLS WITH DPW TEAM REGARDING PLAN ISSUES (1.4); REVIEW REVISED
       CHAPTER 11 PLAN (.4); PARTICIPATE ON TEAM CALL REGARDING PLAN AND DISCLOSURE STATEMENT
       (0.7).


   12/31/20  George, Jason                              0.60         438.00        007             60825451
       CALL WITH M. DANE, T. LAMME, A. PEREZ, AND J. LIOU TO DISCUSS PLAN AND DISCLOSURE
       STATEMENT.


   12/31/20   Wheeler, Emma                            1.10        654.50        007       60824360
       ATTEND CALL WITH RESTRUCTURING ASSOCIATES TO COORDINATE DISCLOSURE STATEMENT AND
       PLAN FILING LOGISTICS (.5); ATTEND CALL WITH DEBTOR, HOULIHAN, AND WEIL RESTRUCTURING
       TEAM TO DISCUSS PLAN AND DISCLOSURE STATEMENT FILING UPDATES (.6).


   12/31/20  Marzocca, Anthony P.                   0.80        744.00       007                   60868933
       CALL RE FINALIZING PLAN, DISCLOSURE STATEMENT, AND SUPPORTING DOCUMENTS.


   12/31/20   Greene, Anthony L.                         4.20          4,116.00        007         60862864
       TEAM CALL (.5); ALL-HANDS CALL (.6); FILING PREP CALL (.4); ASSIST WITH FINAL REVISIONS TO PLAN
       DOCUMENTS FOR FILING (1.8); REVIEW PLAN OF MERGER (.2); REVIEW APACHE DOCUMENTS REGARDING
       FINALIZING FINAL ISSUES (.5); REVIEW EXIT FINANCING TERM SHEETS (.2).
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   12/31/20  Sierra, Tristan M.                    1.00        730.00           007       60969010
       ATTEND PLAN AND DISCLOSURE STATEMENT FILING UPDATE CALL (.6); ATTEND FILING PREPARATION
       MEETING (.4).


   12/31/20  Jalomo, Chris                         0.50       145.00                      007    60967628
       CALL WITH THE TEAM REGARDING PLAN AND DISCLOSURE STATEMENT.


   12/31/20   Jalomo, Chris                         4.00       1,160.00                   007    60999077
       ASSIST WITH THE PREPARATION OF PLAN AND DISCLOSURE STATEMENT.


    SUBTOTAL TASK 007 - Chapter 11 Plan /                     514.70       $541,773.00
    Confirmation / Implementation /Plan Supplement:

   12/01/20   Liou, Jessica                                     0.80            940.00    008    60614972
       PARTICIPATE ON BOARD CALL.


   12/01/20   Barr, Matthew S.                        0.50         812.50                 008    60920278
       PARTICIPATE ON BOARD CALL (.3); AND FOLLOW UP WITH TEAM (.2).


   12/01/20  Swenson, Robert M.                    3.20      3,520.00      008        60615077
       DRAFT AND REVISE CLAIMS ANALYSIS MEMO AND POWERPOINT PRESENTATIONS AND CIRCULATE
       REVISED DRAFTS TO J. LIOU.


   12/01/20  Hufendick, Jason                                   0.70            651.00    008    60648195
       ATTEND FIELDWOOD BOARD CALL.


   12/01/20   Carlson, Clifford W.                   1.40       1,470.00       008       60655542
       PARTICIPATE ON BOARD CALL (1.1); PREPARE AGENDA FOR BOARD CALL AND EMAILS REGARDING
       SAME (.3).


   12/01/20  Greene, Anthony L.                                 0.80            784.00    008    60601181
       FWE BOARD CALL.
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   12/01/20  Sierra, Tristan M.                  1.00        730.00                  008    60920281
       ATTEND CALL WITH BOARD REGARDING RESTRUCTURING PROGRESS.


   12/02/20   Mastando III, John P.                        0.80          1,000.00    008    60626177
       REVISE DRAFT CLAIMS ANALYSIS.


   12/02/20  Swenson, Robert M.                       0.80       880.00       008           60630213
       CONFER WITH C. CARLSON, J. RUTHERFORD, AND A. PRUGH REGARDING PREFERENCE CLAIM.


   12/02/20   Carlson, Clifford W.                 0.40        420.00                008    60655637
       PARTICIPATE ON CALL WITH R. SWENSON REGARDING CLAIMS ANALYSIS MEMO.


   12/03/20   Mastando III, John P.                        0.90          1,125.00    008    60635951
       REVISE DRAFT CLAIMS ANALYSIS.


   12/07/20  Liou, Jessica                        0.50                     587.50    008    60667897
       REVIEW FURTHER REVISED CLAIMS ANALYSIS MEMO.


   12/08/20   Perez, Alfredo R.                            0.60            900.00    008    60674516
       PARTICIPATE ON BOARD CALL.


   12/08/20  Liou, Jessica                                 0.80            940.00    008    60673574
       ATTEND BOARD MEETING.


   12/08/20  Barr, Matthew S.                              1.00          1,625.00    008    60923388
       BOARD CALL (.8); AND FOLLOW UP WITH TEAM (.2).


   12/08/20  Hufendick, Jason                              0.70            651.00    008    60704562
       ATTEND FWE WEEKLY BOARD CALL.


   12/08/20     Carlson, Clifford W.                       2.00          2,100.00    008    60923411
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        PREPARE AGENDA FOR BOARD CALL AND EMAILS REGARDING SAME (.2); PARTICIPATE ON BOARD
        CALL (1.8).


   12/08/20   George, Jason                                 0.60            438.00    008        60677686
       PARTICIPATE ON BOARD CALL.


   12/08/20   Greene, Anthony L.                            0.60            588.00    008        60924821
       PARTICIPATE ON FWE BOARD CALL.


   12/08/20  Sierra, Tristan M.                  0.50        365.00                   008        60924824
       ATTEND CALL WITH BOARD REGARDING RESTRUCTURING PROGRESS.


   12/15/20  Liou, Jessica                         0.10                     117.50    008        60726361
       REVIEW AND RESPOND TO EMAILS RE: BOARD UPDATE.


   12/15/20   Carlson, Clifford W.                0.50        525.00        008        60758473
       DRAFT BOARD UPDATE EMAIL AND EMAILS WITH WEIL TEAM REGARDING NEXT STEPS ON CHAPTER
       11 PLAN.


   12/17/20   Mastando III, John P.              1.10      1,375.00                   008        60743902
       REVISE DRAFT CLAIMS ANALYSIS MEMORANDUM/PRESENTATION.


   12/18/20  Liou, Jessica                             0.70        822.50           008          60781085
       CONFER WITH S. PECA, R. MOORE, F. RAIHMAN RE: SECURITIES LAW ISSUES (0.5); EMAILS WITH F.
       RAHMAN RE: SECURITIES LAW ISSUES (.2).


   12/18/20  Swenson, Robert M.                    0.30       330.00       008        60752125
       DRAFT AND REVISE PRESENTATION MATERIALS TO REFLECT COMMENTS FROM RESTRUCTURING
       TEAM.


   12/21/20     Rutherford, Jake Ryan                       1.10          1,078.00    008        60759798
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        WORK ON CLAIMS ANALYSIS MEMO AND SLIDE DECK.


   12/22/20   Barr, Matthew S.                         2.10        3,412.50          008    60934842
       PREP FOR BOARD CALL (.5); PARTICIPATE ON BOARD CALL (.9); AND FOLLOW UP (.7).


   12/22/20  Hufendick, Jason                              1.20          1,116.00    008    60836878
       ATTEND CALL WITH BOARD OF DIRECTORS.


   12/22/20  Carlson, Clifford W.                     1.50      1,575.00             008    60934858
       DRAFT BOARD UPDATE EMAIL (.4); PARTICIPATE ON BOARD CALL (1.1).


   12/22/20   George, Jason                                1.10            803.00    008    60795430
       PARTICIPATE ON BOARD CALL.


   12/22/20   Greene, Anthony L.                           1.20          1,176.00    008    60934988
       PARTICIPATE ON FWE BOARD CALL.


   12/22/20  Sierra, Tristan M.                            0.50            365.00    008    60934990
       ATTEND WEEKLY BOARD CALL.


   12/24/20   Mastando III, John P.                        0.90          1,125.00    008    60800496
       REVISE DRAFT CLAIMS ANALYSIS MATERIALS.


   12/24/20  Liou, Jessica                         0.20                    235.00    008    60838759
       FURTHER REVISE DRAFT EMAIL UPDATE TO BOARD.


   12/24/20  Carlson, Clifford W.                          0.50            525.00    008    60839711
       DRAFT EMAIL UPDATE TO BOARD.


   12/26/20  Carlson, Clifford W.                  0.50       525.00                 008    60840324
       REVIEW CLAIMS ANALYSIS MATERIALS AND EMAILS REGARDING SAME.
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   12/27/20   Mastando III, John P.                1.10                  1,375.00    008      60800488
       REVISE DRAFT CLAIMS ANALYSIS MEMO AND PRESENTATION.


   12/27/20  Liou, Jessica                           1.50      1,762.50       008       60802952
       REVIEW AND COMMENT ON CLAIMS ANALYSIS MATERIALS (.3); REVIEW AND RESPOND TO EMAILS RE:
       CLAIMS ANALYSIS (.5); REVIEW AND COMMENT ON CLAIMS ANALYSIS DECK (.7).


   12/27/20  Barr, Matthew S.                        1.80      2,925.00      008              60934804
       REVIEW CLAIMS ANALYSIS DECKS (1.6); CORRESPONDENCE WITH TEAM REGARDING SAME (.2).


   12/27/20  Swenson, Robert M.                    1.70      1,870.00       008        60807464
       DRAFT AND REVISE CLAIMS ANALYSIS MEMO AND POWER POINT DECKS REFLECTING ROUNDS OF
       COMMENTS FROM RESTRUCTURING TEAM.


   12/27/20   Whitelaw, Alexander                 3.80       2,774.00       008      60799067
       REVISE CLAIMS ANALYSIS MEMO AND CORRESPONDING SLIDE DECKS INCORPORATING COMMENTS
       FROM THE RESTRUCTURING TEAM.


   12/28/20   Mastando III, John P.                        1.20          1,500.00    008      60806950
       REVISE DRAFT CLAIMS ANALYSIS MATERIALS.


   12/28/20   Liou, Jessica                             2.50       2,937.50       008         60838786
       REVIEW REVISED CLAIMS ANALYSIS MATERIALS (.4); REVIEW AND COMMENT ON CLAIMS ANALYSIS
       SLIDES (.4); CONFER WITH B. CONLEY RE: CLAIMS ANALYSIS, CONFER WITH R. SWENSON RE: SAME (1.0);
       EMAILS WITH B. CONLEY AND R. SWENSON RE: CLAIMS ANALYSIS (.2); CONFER WITH R. SWENSON RE:
       CLAIMS ANALYSIS (.5).


   12/28/20  Swenson, Robert M.                    6.40      7,040.00       008        60934837
       DRAFT AND REVISE CLAIMS ANALYSIS MEMO AND POWER POINT DECKS REFLECTING ROUNDS OF
       COMMENTS FROM RESTRUCTURING TEAM.


   12/28/20     Whitelaw, Alexander                        6.80          4,964.00    008      60805786
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        REVISE SLIDE DECKS AND CLAIM ANALYSIS MEMO (1.9); RESEARCH POTENTIAL PREFERENCE CLAIMS
        (4.9).


   12/29/20   Mastando III, John P.                        1.50          1,875.00    008      60814700
       REVISE DRAFT CLAIMS ANALYSIS MATERIALS.


   12/29/20   Liou, Jessica                                0.40            470.00    008      60935146
       PARTICIPATE ON BOARD CALL.


   12/29/20   Barr, Matthew S.                         0.60                975.00    008      60935202
       PREP FOR BOARD CALL (.3); PARTICIPATE ON BOARD CALL (.3).


   12/29/20  Swenson, Robert M.                    6.90      7,590.00          008            60814691
       DRAFT AND REVISE CLAIMS ANALYSIS MEMO AND POWER POINT DECKS (4.8); RESEARCH LAW
       CONCERNING AVOIDANCE ACTIONS (2.1).


   12/29/20  Carlson, Clifford W.                      0.80        840.00            008      60841967
       PREPARE EMAIL FOR BOARD (0.2); PARTICIPATE ON BOARD CALL (0.6).


   12/29/20     Whitelaw, Alexander                   8.50       6,205.00       008        60814899
       CALL WITH R. SWENSON DISCUSSING CLAIMS ANALYSIS MEMO AND SLIDE DECKS (.4); REVIEW AND
       REVISE CLAIMS ANALYSIS SLIDE DECKS (.7); CONDUCT LEGAL RESEARCH RE: FRAUDULENT TRANSFER
       (3.4); DRAFT BACKGROUND SECTION FOR CLAIMS ANALYSIS MEMO (1.8); RESEARCH CASE LAW RE:
       AVOIDANCE ACTIONS FOR CLAIMS ANALYSIS MEMO AND SLIDE DECKS (2.2).


   12/30/20   Mastando III, John P.                   2.50      3,125.00           008        60819604
       REVISE DRAFT CLAIM ANALYSIS MATERIALS (1.4); CONFERENCE CALL RE: CLAIMS ANALYSIS
       PRESENTATION (.4); CLAIMS ANALYSIS PRESENTATION CALL WITH J. LIOU, A. PEREZ AND R. SWENSON
       (.7).


   12/30/20     Liou, Jessica                              6.20          7,285.00    008      60838763
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        REVIEW AND REVISE MINUTES (.5); REVIEW CLAIMS ANALYSIS (.3); CONFER WITH HL, ALIX PARTNERS
        RE: STATUS AND NEXT STEPS (.4); CONFER WITH LIT TEAM AND A. PEREZ RE: CLAIMS ANALYSIS (.4);
        CONFER WITH J. LACHANCE RE: CLAIMS ANALYSIS (3.9); CONFER WITH T. LAMME, M. DANE, HL AND
        WEIL RE: STATUS AND NEXT STEPS (.4); EMAILS WITH LIT TEAM RE: CLAIMS ANALYSIS (.3).


   12/30/20  Swenson, Robert M.                    5.50       6,050.00         008             60820927
       DRAFT AND REVISE CLAIMS ANALYSIS MEMO AND POWER POINT DECKS (3.6); PRESENT CLAIMS
       ANALYSIS TO INDEPENDENT DIRECTOR AND PREPARE FOR SAME (1.9).


   12/30/20   Carlson, Clifford W.                    1.90        1,995.00        008        60847933
       PARTICIPATE ON CALL WITH WEIL RESTRUCTURING AND LITIGATION TEAMS REGARDING CLAIMS
       ANALYSIS (.5); PARTICIPATE ON CALL REGARDING CLAIMS ANALYSIS (.5); REVIEW CLAIMS ANALYSIS
       MATERIALS (.3); PREPARE EMAIL UPDATE FOR BOARD (.2); REVIEW AND CIRCULATE BOARD MINUTES
       (.4).


   12/30/20   Whitelaw, Alexander                       2.00      1,460.00      008        60830161
       REVISE CLAIMS ANALYSIS MEMO AND SLIDE DECKS (.8); CALL WITH CLIENT WALKING THROUGH
       CLAIMS ANALYSIS SLIDE DECKS (.8); CALL WITH LIT AND RESTRUCTURING TEAMS DISCUSSING CLAIMS
       ANALYSIS MEMO (.4).


   12/30/20   Greene, Anthony L.                            0.90            882.00    008      60935797
       PARTICIPATE ON CLAIMS ANALYSIS CALL.


   12/31/20    Perez, Alfredo R.                 0.50       750.00        008       60837133
       CONFERENCE CALL WITH BOARD COMMITTEE, MANAGEMENT AND THE ADVISORS REGARDING PLAN
       ISSUES.


   12/31/20   Carlson, Clifford W.                   1.20         1,260.00       008       60848502
       PARTICIPATE ON CALL WITH INDEPENDENT BOARD MEMBERS REGARDING FILING OF PLAN AND
       DISCLOSURE STATEMENT (.6); CIRCULATE BOARD MINUTES (.3); PREPARE MULTIPLE BOARD EMAILS
       (.3).


    SUBTOTAL TASK 008 - Corporate Governance /             98.30       $103,542.50
    Securities/Equity Matters:
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   12/01/20  Perez, Alfredo R.                     0.10       150.00        009             60614782
       VARIOUS COMMUNICATIONS WITH J. LIOU REGARDING VENDOR COLLECTION ISSUES.


   12/02/20  Perez, Alfredo R.                     0.20         300.00       009            60628719
       REVIEW VARIOUS LIEN FILINGS AND COMMUNICATIONS WITH J. BLOOM REGARDING SAME.


   12/03/20  Perez, Alfredo R.                    0.20       300.00        009         60647790
       VARIOUS COMMUNICATIONS WITH MANAGEMENT REGARDING M&M LIEN FILINGS (.1); VARIOUS
       COMMUNICATIONS WITH M. MARTINEZ REGARDING VENDOR ISSUES (.1).


   12/03/20   Liou, Jessica                       0.60        705.00        009          60637665
       CONFER WITH LOWENSTEIN SANDLER RE: BANKRUPTCY PROCESS AND QUESTIONS (.3); CONFER WITH
       A. PEREZ RE: COMPLAINT (.3).


   12/03/20  Carlson, Clifford W.                  0.50           525.00        009       60655508
       MULTIPLE EMAILS REGARDING DISPUTE WITH VENDOR (.2); PARTICIPATE ON CALL WITH VENDOR'S
       COUNSEL (.3).


   12/04/20   Perez, Alfredo R.                       1.00       1,500.00      009         60648127
       REVIEW AND REVISE STIPULATION FOR ATLANTIC (.2); VARIOUS COMMUNICATIONS WITH T. SIERRA
       REGARDING STIPULATIONS (.2); TELEPHONE CONFERENCE WITH M. DANE REGARDING SAME (.1);
       TELEPHONE CONFERENCE WITH R. KWASTENIET REGARDING STIPULATIONS (.1); TELEPHONE
       CONFERENCE WITH C. CARLSON REGARDING STATUS (.1); TELEPHONE CONFERENCES WITH J. LIOU
       REGARDING STATUS (.2); TELEPHONE CONFERENCE WITH M. DANE AND T. LAMME REGARDING
       STIPULATION (.1).


   12/05/20  Perez, Alfredo R.                    0.10       150.00        009       60648567
       TELEPHONE CONFERENCE WITH R. KWASTENIET AND COMMUNICATIONS WITH M. DANE REGARDING
       SAME.


   12/08/20     Carlson, Clifford W.                       0.30            315.00    009    60707634
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        MULTIPLE EMAILS WITH THE COMPANY REGARDING VENDOR ISSUES.


   12/09/20   George, Jason                                0.10             73.00    009     60694671
       EMAIL J. BLOOM RE: VENDOR PAYMENTS.


   12/12/20  Perez, Alfredo R.                        0.30       450.00        009       60700686
       REVIEW ISSUES REGARDING PREDECESSORS (.1); TELEPHONE CONFERENCE WITH M. DANE REGARDING
       VALERO, HESS, AND FLTL (.2).


   12/15/20  Carlson, Clifford W.                          0.30            315.00    009     60758499
       EMAILS REGARDING VENDOR ISSUES.


   12/15/20  Marzocca, Anthony P.                          1.30          1,209.00    009     60722371
       CORRESPONDENCE RE: VENDOR ISSUE.


   12/16/20   George, Jason                             0.20        146.00        009        60746306
       EMAIL J. BLOOM AND T. ALLEN RE: VENDOR ISSUE (0.1); CORRESPONDENCE WITH B. RUZINSKY RE:
       VENDOR INQUIRY (0.1).


   12/17/20  Carlson, Clifford W.                          0.20            210.00    009     60758238
       EMAILS REGARDING VENDOR ISSUES.


   12/17/20   George, Jason                                0.10             73.00    009     60756360
       EMAIL J. CHIANG RE: POSTPETITION PAYMENTS.


   12/18/20  Perez, Alfredo R.                     0.40                    600.00    009     60753487
       CONFERENCE CALL WITH CLIENT REGARDING LLOG.


   12/18/20  Carlson, Clifford W.                          0.30            315.00    009     60758367
       EMAILS REGARDING VARIOUS VENDOR ISSUES.


   12/19/20     Carlson, Clifford W.                       0.30            315.00    009     60757865
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        MULTIPLE EMAILS RE: VENDOR ISSUES.


   12/21/20 Perez, Alfredo R.                    0.10                       150.00    009    60774936
       COMMUNICATIONS WITH T. LAMME REGARDING W&T.


   12/29/20   George, Jason                                 0.10             73.00    009    60825446
       EMAIL B. RUZINSKY RE: VENDOR ISSUE.


    SUBTOTAL TASK 009 - Customer / Vendor Matters           6.70         $7,874.00
    and Reclamation / 503(b)(9) Claims:

   12/01/20   Carlson, Clifford W.                  0.30       315.00        010             60655453
       PARTICIPATE ON CALL WITH COMMITTEE'S COUNSEL REGARDING LIEN ANALYSIS.


   12/03/20  Bonhamgregory, Veronica Gayle           0.30                   294.00    010    60920403
       BANKING TEAM CALL RE: TIMING FOR TERM SHEETS.


   12/03/20    Carlson, Clifford W.                 0.60         630.00        010        60655609
       EMAILS REGARDING LENDER DILIGENCE REQUESTS (.3); CALL WITH DAVIS POLK REGARDING PLAN
       ISSUES (.3).


   12/21/20  Conley, Brendan C.                   1.00     1,050.00           010        60759697
       REVIEW PRECEDENT DIP DOCUMENTS AND FORMULATE RESPONSE (.6); DISCUSS WITH C. MARCUS (.2);
       CORRESPOND RE: SAME WITH RESTRUCTURING TEAM (.2).


   12/22/20  Conley, Brendan C.                             0.80            840.00    010    60934821
       COORDINATE RE: DIP CLAIM RESEARCH.


    SUBTOTAL TASK 010 - DIP Financing / Cash                3.00         $3,129.00
    Collateral / Cash Management:

   12/01/20     Perez, Alfredo R.                           0.30            450.00    011    60614705
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        CONFERENCE CALL WITH ALIX PARTNERS REGARDING LIQUIDATION ANALYSIS.


   12/01/20  Liou, Jessica                          0.90       1,057.50              011    60614897
       CONFER WITH T. LAMME, M. DANE, HOULIHAN AND RE: VALUATION.


   12/01/20  Liou, Jessica                          0.90       1,057.50        011       60615019
       CONFER WITH D. CROWLEY AND M. HANEY RE: DISCLOSURE STATEMENT AND VALUATION ISSUES (.3);
       REVIEW LENDER NEWCO VALUATION (.3); CONFER WITH ALIX PARTNERS RE: LIQUIDATION ANALYSIS
       (.3).


   12/02/20  Liou, Jessica                           0.40       470.00               011    60630136
       CONFER WITH C. CARLSON AND A. GREENE RE: LIQUIDATION ANALYSIS.


   12/02/20   Carlson, Clifford W.                 0.80       840.00       011        60655522
       PARTICIPATE ON CALL WITH COMPANY AND ALIX PARTNERS REGARDING CONTRACT AND CLAIM
       ANALYSIS.


   12/02/20  Carlson, Clifford W.                  4.20      4,410.00        011            60655589
       DRAFT AND REVISE DISCLOSURE STATEMENT AND EMAILS WITH H. JAMES REGARDING SAME.


   12/02/20  James, Hillarie                           1.10        929.50      011       60666745
       CALL WITH ALIX PARTNERS, WEIL TEAM, AND CLIENT REGARDING EXECUTORY CONTRACTS AND
       PLAN/DISCLOSURE STATEMENT ISSUES (0.6); REVISE DISCLOSURE STATEMENT AND CORRESPONDENCE
       WITH WEIL TEAM REGARDING THE SAME (0.5).


   12/03/20  Carlson, Clifford W.                          2.50          2,625.00    011    60655640
       REVIEW AND REVISE DISCLOSURE STATEMENT.


   12/03/20   James, Hillarie                        5.60      4,732.00       011           60712505
       REVISE DISCLOSURE STATEMENT (4.9); CORRESPONDENCE WITH WEIL TEAM AND ADVISORS
       REGARDING SAME (0.7).
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   12/03/20  Marzocca, Anthony P.                2.80                    2,604.00    011    60869274
       CORRESPONDENCE RE DISCLOSURE STATEMENT UPDATES.


   12/04/20  Liou, Jessica                           0.90        1,057.50      011        60653602
       CONFER WITH ALIX PARTNERS AND C. CARLSON RE: EXIT COSTS, DISCLOSURE STATEMENT AND OTHER
       WORK STREAMS.


   12/04/20   Carlson, Clifford W.                    1.50      1,575.00      011         60655769
       PARTICIPATE ON CALL WITH A. MARZOCCA REGARDING DISCLOSURE STATEMENT (.4); EMAILS
       REGARDING DISCLOSURE STATEMENT (.3); REVISE DISCLOSURE STATEMENT AND CALL WITH H. JAMES
       REGARDING SAME (8).


   12/04/20   James, Hillarie                        3.40      2,873.00      011         60712452
       REVISE DISCLOSURE STATEMENT (3.0); CORRESPONDENCE WITH WEIL TEAM REGARDING SAME (0.4).


   12/04/20  Marzocca, Anthony P.                   1.90      1,767.00      011             60662182
       CALL WITH C. CARLSON RE: CONDITIONAL DISCLOSURE STATEMENT APPROVAL MOTION (0.4);
       PREPARE SAME (1.5).


   12/05/20  Carlson, Clifford W.                          4.70          4,935.00    011    60655876
       REVIEW AND REVISE DISCLOSURE STATEMENT.


   12/07/20  Liou, Jessica                            0.40         470.00       011         60667895
       CONFER WITH A. PEREZ, T. LAMME, AND C. CARLSON RE: PLAN AND DISCLOSURE STATEMENT
       WORKSTREAMS.


   12/07/20   Carlson, Clifford W.                    3.60      3,780.00      011         60666708
       PARTICIPATE ON CALL WITH HOULIHAN TEAM REGARDING DISCLOSURE STATEMENT (.8); REVISE
       DISCLOSURE STATEMENT (2.3); REVISE DISCLOSURE STATEMENT MOTION AND EMAILS REGARDING
       SAME (.5).


   12/07/20     James, Hillarie                            3.10          2,619.50    011    60746272
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        TELEPHONE CONFERENCE WITH WEIL AND HOULIHAN TEAMS REGARDING DISCLOSURE STATEMENT
        (0.5); REVISE DISCLOSURE STATEMENT (2.1); CONDUCT RESEARCH REGARDING DISCLOSURE STATEMENT
        ISSUES (0.5).


   12/07/20  Marzocca, Anthony P.                 5.80      5,394.00                 011    60662296
       PREPARE CONDITIONAL DISCLOSURE STATEMENT APPROVAL MOTION.


   12/08/20  Liou, Jessica                       1.00                    1,175.00    011    60673488
       REVIEW AND COMMENT ON DISCLOSURE STATEMENT.


   12/08/20  James, Hillarie                          8.50         7,182.50      011        60725411
       TELEPHONE CONFERENCES WITH WEIL TEAM REGARDING PLAN, DISCLOSURE STATEMENT, AND
       TRANSACTION STEPS (2.2); REVISE DISCLOSURE STATEMENT (5.4); CORRESPONDENCE WITH WEIL TEAM
       REGARDING SAME (0.9).


   12/08/20   Marzocca, Anthony P.                 2.80     2,604.00      011           60667921
       CORRESPONDENCE RE: CONDITIONAL DISCLOSURE STATEMENT APPROVAL MOTION (1.3); PREPARE
       SAME (1.5).


   12/09/20  Liou, Jessica                            4.50       5,287.50        011        60691793
       REVIEW AND REVISE DISCLOSURE STATEMENT (3.5); CALL WITH C. CARLSON RE: DISCLOSURE
       STATEMENT (.5); CALL WITH DPW RE: STATUS (.5).


   12/09/20   Carlson, Clifford W.                    4.10      4,305.00         011       60716228
       PARTICIPATE ON CALL WITH J. LIOU REGARDING DISCLOSURE STATEMENT (.4); REVIEW AND REVISE
       DISCLOSURE STATEMENT AND EMAILS REGARDING SAME (2.5); REVIEW AND REVISE DISCLOSURE
       STATEMENT MOTION AND PROPOSED SCHEDULE (1.2).


   12/09/20  Wheeler, Emma                         6.20     3,689.00                 011    60694676
       REVIEW AND REVISE DISCLOSURE STATEMENT APPROVAL MOTION.


   12/09/20     James, Hillarie                            8.70          7,351.50    011    60724356
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        TELEPHONE CONFERENCES WITH WEIL TEAM REGARDING PLAN AND DISCLOSURE STATEMENT (1.0);
        REVISE DISCLOSURE STATEMENT (7.0); CORRESPONDENCE WITH WEIL TEAM REGARDING SAME (0.7).


   12/09/20  Marzocca, Anthony P.                  9.50      8,835.00          011         60868989
       CALL WITH E. WHEELER RE DISCLOSURE STATEMENT APPROVAL MOTION (0.2); PREPARE SAME (9.3).


   12/10/20  Rahman, Faiza N.                    1.20                    1,410.00    011     60924685
       REVIEW AND COMMENT ON DISCLOSURE STATEMENT.


   12/10/20   Carlson, Clifford W.                     3.20     3,360.00          011        60716660
       REVISE DISCLOSURE STATEMENT (1.2); MULTIPLE EMAILS WITH HOULIHAN AND ALIX PARTNERS
       REGARDING SAME (.8); CALLS AND EMAILS WITH H. JAMES REGARDING SAME (.5); PARTICIPATE ON
       CALL WITH ALIX PARTNERS REGARDING CLAIMS ANALYSIS (.7).


   12/10/20   Wheeler, Emma                       3.10                   1,844.50    011     60694648
       REVISE DISCLOSURE STATEMENT APPROVAL MOTION.


   12/10/20   James, Hillarie                        2.80      2,366.00      011         60713903
       REVISE DISCLOSURE STATEMENT (2.1); CORRESPONDENCE WITH WEIL TEAM REGARDING SAME (0.7).


   12/10/20   Marzocca, Anthony P.                7.30         6,789.00      011        60869229
       PREPARE DISCLOSURE STATEMENT APPROVAL MOTION (6.9); CORRESPONDENCE WITH C. CARLSON RE
       SAME (0.4).


   12/11/20  Liou, Jessica                                 0.50            587.50    011     60705241
       CONFER WITH ALIX PARTNERS, HL RE: EXIT COSTS.


   12/11/20  Carlson, Clifford W.                  0.90           945.00        011        60716832
       REVIEW DISCLOSURE STATEMENT AND DISCUSS WITH H. JAMES (.5); EMAILS AND CALLS WITH ALIX
       PARTNERS REGARDING EXHIBITS TO DISCLOSURE STATEMENT (.4).


   12/11/20     James, Hillarie                            1.60          1,352.00    011     60712632
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        REVISE DISCLOSURE STATEMENT AND CORRESPOND WITH WEIL TEAM REGARDING SAME.


   12/11/20     Marzocca, Anthony P.                5.90       5,487.00      011           60869226
       PREPARE DISCLOSURE STATEMENT APPROVAL MOTION (5.3); CORRESPONDENCE RE: SAME (0.2); CALL
       WITH C, CARLSON RE: MONITORING PRECEDENT FOR DISCLOSURE STATEMENT APPROVAL MOTION
       (0.2); RESEARCH RE: SAME (0.2).


   12/12/20  Conley, Brendan C.                   1.20      1,260.00      011               60696526
       REVIEW DISCLOSURE STATEMENT AND PREPARE SUMMARY OF APACHE TRANSACTIONS.


   12/12/20  Carlson, Clifford W.                  3.50      3,675.00        011         60707693
       REVIEW AND REVISE DISCLOSURE STATEMENT AND EMAILS WITH H. JAMES REGARDING SAME (3.1);
       REVIEW AND REVISE DISCLOSURE STATEMENT MOTION (.4).


   12/12/20   James, Hillarie                              0.60            507.00    011    60712613
       REVISE DISCLOSURE STATEMENT.


   12/14/20  Liou, Jessica                       5.60         6,580.00        011         60720771
       REVIEW AND COMMENT ON DISCLOSURE STATEMENT (5.0); CONFER WITH C. CARLSON RE: DISCLOSURE
       STATEMENT (.6).


   12/14/20   Carlson, Clifford W.                    5.80      6,090.00       011          60758586
       REVIEW AND REVISE DISCLOSURE STATEMENT (3.9); MULTIPLE EMAILS REGARDING SAME (1.5); CALL
       WITH A. MARZOCCA REGARDING DISCLOSURE STATEMENT MOTION (.4).


   12/14/20   James, Hillarie                        2.40      2,028.00      011         60758635
       REVISE DISCLOSURE STATEMENT (1.9); CORRESPONDENCE WITH WEIL TEAM REGARDING SAME (0.5).


   12/15/20     Liou, Jessica                              2.40          2,820.00    011    60726362
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        REVIEW NDA FOR BLOWOUT PROVISIONS (1.0); REVIEW AND RESPOND TO MULTIPLE EMAILS RE:
        DISCLOSURE STATEMENT (.3); CONFER WITH A. MARZOCCA RE: DISCLOSURE STATEMENT TIMELINE;
        (.4); REVIEW AND RESPOND TO EMAIL FROM M. HANEY RE: NDA (.2); CONFER WITH C. CARLSON RE:
        LIQUIDATION ANALYSIS AND NEXT STEPS (.5).


   12/15/20     Carlson, Clifford W.                 2.80       2,940.00       011        60758453
       REVISE AND CIRCULATE DRAFT DISCLOSURE STATEMENT (1.9); MULTIPLE EMAILS REGARDING SAME
       (.3); CALL WITH A. MARZOCCA REGARDING DISCLOSURE STATEMENT MOTION (.6).


   12/15/20   James, Hillarie                              2.10          1,774.50    011       60790158
       REVISE DISCLOSURE STATEMENT.


   12/15/20  Marzocca, Anthony P.                 3.50         3,255.00          011           60722241
       PREPARE DISCLOSURE STATEMENT APPROVAL MOTION (2.2); CALL WITH J. LIOU RE: SAME (0.4);
       PREPARE SOLICITATION TIMELINE (0.9).


   12/15/20  Greene, Anthony L.                            0.50            490.00    011       60925845
       REVIEW REVISED DISCLOSURE STATEMENT.


   12/16/20  Perez, Alfredo R.                     1.60      2,400.00       011        60734383
       CONFERENCE CALL WITH ALIX PARTNERS AND WEIL TEAMS REGARDING LIQUIDATION ANALYSIS (.8);
       CONFERENCE CALL WITH MANAGEMENT TEAM AND THE ADVISORS REGARDING DISCLOSURE
       STATEMENT (.8).


   12/16/20  Liou, Jessica                            4.10      4,817.50         011         60736593
       CONFER WITH A. PEREZ AND C. CARLSON RE: LIQUIDATION ANALYSIS NEXT STEPS (.6); CONFER WITH T.
       LAMME RE: COMMENTS TO DISCLOSURE STATEMENT (2.3); CONFER WITH DPW, R/I, HL, ALIX PARTNERS
       AND WEIL TEAM RE: VARIOUS OPEN ISSUES UNDER THE PLAN AND DISCLOSURE STATEMENT (1.2).


   12/16/20     Carlson, Clifford W.                       6.30          6,615.00    011       60758302
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        PARTICIPATE ON CALL WITH COMPANY REGARDING DISCLOSURE STATEMENT (2.0); REVISE
        DISCLOSURE STATEMENT AND MULTIPLE EMAILS REGARDING SAME (3.1); REVIEW AND REVISE
        SCHEDULES TO DISCLOSURE STATEMENT (.4); PARTICIPATE ON CALL WITH ALIX PARTNERS TEAM
        REGARDING LIQUIDATION ANALYSIS (.8).


   12/17/20  Rahman, Faiza N.                              0.60            705.00    011       60744667
       REVIEW UPDATED DISCLOSURE STATEMENT.


   12/17/20  Liou, Jessica                          1.80          2,115.00       011           60743503
       CONFER WITH ALIX PARTNERS RE: LIQUIDATION ANALYSIS (.8); CONFER WITH C. CARLSON RE:
       DISCLOSURE STATEMENT APPROVAL MOTION (1.0).


   12/17/20   Carlson, Clifford W.                 4.70      4,935.00         011        60758288
       REVIEW AND REVISE DISCLOSURE STATEMENT AND EMAILS REGARDING SAME (.5); REVIEW AND
       REVISE DISCLOSURE STATEMENT MOTION AND CALLS AND EMAILS REGARDING SAME (4.2).


   12/17/20  George, Jason                            0.90         657.00        011        60756460
       CALL WITH M. PERA RE: DISCLOSURE STATEMENT (.2); CALL WITH FLTL LENDERS RE: DISCLOSURE
       STATEMENT ISSUES (.7).


   12/17/20  Wheeler, Emma                          0.70        416.50               011       60758941
       CALL WITH ADVISORS RE: DISCLOSURE STATEMENT AND PLAN ISSUES LIST.


   12/17/20  James, Hillarie                          1.90        1,605.50 011        60758831
       TELEPHONE CONFERENCE WITH DAVIS POLK AND WEIL TEAM REGARDING PLAN AND DISCLOSURE
       STATEMENT ISSUES (0.8); REVISE DISCLOSURE STATEMENT (1.1).


   12/17/20  Marzocca, Anthony P.                     14.40     13,392.00           011        60868979
       CALL WITH PRIME CLERK RE SOLICITATION (0.2); CORRESPONDENCE RE SAME (0.2); CALL WITH C.
       CARLSON RE SAME (0.1); CALL WITH A. WELCH RE SALE PROCESS (0.2); CALL WITH C. CARLSON RE
       DISCLOSURE STATEMENT APPROVAL MOTION (0.3); PREPARE SAME (13.4).


   12/17/20     Greene, Anthony L.                         0.30            294.00    011       60927112
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        REVIEW REVISED DISCLOSURE STATEMENT.


   12/18/20  Liou, Jessica                         0.10       117.50                 011    60781192
       REVIEW AND REVISE DISCLOSURE STATEMENT APPROVAL MOTION.


   12/18/20  Carlson, Clifford W.                     4.30       4,515.00         011     60758273
       REVIEW AND REVISE DISCLOSURE STATEMENT (1.5); REVIEW AND REVISE DISCLOSURE STATEMENT
       MOTION (2.2); EMAILS WITH THE COMPANY REGARDING SAME (.2); EMAILS WITH A. MARZOCCA
       REGARDING SAME (.4).


   12/18/20  Wheeler, Emma                       1.00                      595.00    011    60758909
       REVIEW DISCLOSURE STATEMENT APPROVAL MOTION DRAFT.


   12/18/20   James, Hillarie                        2.70      2,281.50      011         60758673
       REVISE DISCLOSURE STATEMENT (2.0); CORRESPONDENCE WITH WEIL TEAM REGARDING SAME (0.7).


   12/18/20  Marzocca, Anthony P.                 11.70       10,881.00       011          60868945
       CALL WITH CORPORATE TEAM RE CREDIT BID PURCHASER AGREEMENT (PARTIAL) (0.5); CALL WITH C.
       CARLSON RE DISCLOSURE STATEMENT APPROVAL MOTION (0.5); PREPARE DISCLOSURE STATEMENT
       APPROVAL MOTION (10.7).


   12/19/20  Carlson, Clifford W.                  0.60       630.00       011              60757864
       CALL AND EMAILS WITH A. MARZOCCA REGARDING DISCLOSURE STATEMENT MOTION.


   12/19/20  Wheeler, Emma                       0.70                      416.50    011    60758937
       REVIEW DISCLOSURE STATEMENT APPROVAL MOTION DRAFT.


   12/19/20  Marzocca, Anthony P.                   3.30     3,069.00          011        60869022
       CALL WITH C. CARLSON RE DISCLOSURE STATEMENT APPROVAL MOTION (0.3); PREPARE DISCLOSURE
       STATEMENT APPROVAL MOTION (3.0).


   12/20/20     Liou, Jessica                              2.50          2,937.50    011    60780956
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        REVIEW AND REVISE DISCLOSURE STATEMENT MOTION.


   12/20/20  Marzocca, Anthony P.                 2.60                   2,418.00    011         60868942
       PREPARE DISCLOSURE STATEMENT APPROVAL MOTION.


   12/21/20  Perez, Alfredo R.                    0.50        750.00      011           61068421
       VARIOUS COMMUNICATIONS WITH C. CARLSON REGARDING DISCLOSURE STATEMENT (.2); REVIEW
       PORTIONS OF THE DISCLOSURE STATEMENT (.3).


   12/21/20   Liou, Jessica                             5.20        6,110.00          011        60798769
       CONFER WITH DPW RE: PLAN, DISCLOSURE STATEMENT, DISCLOSURE STATEMENT MOTION (2.2);
       REVIEW DISCLOSURE STATEMENT APPROVAL MOTION (1.2); REVIEW AND REVISE DISCLOSURE
       STATEMENT (.3); CONFER WITH M. DANE (.4); CONFER WITH N. TSIOURIS (.2); CONFER WITH C. CARLSON
       AND A. MARZOCCA RE: DISCLOSURE STATEMENT APPROVAL MOTION (.6); REVIEW AND REVISE
       DISCLOSURE STATEMENT APPROVAL MOTION (0.3).


   12/21/20   Carlson, Clifford W.                    6.60       6,930.00      011       60837569
       PARTICIPATE ON CALL WITH THE COMPANY REGARDING EXHIBITS TO DISCLOSURE STATEMENT AND
       FOLLOW UP EMAILS REGARDING SAME (.6); REVISE DISCLOSURE STATEMENT AND MULTIPLE CALLS
       AND EMAILS REGARDING SAME (2.1); REVISE DISCLOSURE STATEMENT MOTION AND EMAILS
       REGARDING SAME (2.5); REVIEW AND REVISE OIL AND GAS LEASE SCHEDULES ATTACHED TO
       DISCLOSURE STATEMENT AND CALLS WITH ALIX PARTNERS REGARDING SAME (1.4).


   12/21/20   James, Hillarie                       7.00         5,915.00      011        60790126
       TELEPHONE CONFERENCES WITH WEIL TEAM REGARDING PLAN AND DISCLOSURE STATEMENT (2.5);
       REVISE DISCLOSURE STATEMENT AND EXHIBITS TO PLAN (4.0); CORRESPONDENCE WITH WEIL AND
       HOULIHAN TEAMS REGARDING DISCLOSURE STATEMENT (0.5).


   12/21/20  Marzocca, Anthony P.                        12.30     11,439.00      011        60868997
       CALL WITH J. LIOU, C. CARLSON, H. JAMES, AND J. HUFENDICK RE PLAN TREATMENT AND DISCLOSURE
       STATEMENT APPROVAL MOTION (1.6); PREPARE DISCLOSURE STATEMENT APPROVAL MOTION (10.7).


   12/21/20     Greene, Anthony L.                         0.50            490.00    011         60934036
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        REVIEW REVISED DISCLOSURE STATEMENT MOTION.


   12/21/20  Olvera, Rene A.                        1.20        444.00               011     60861123
       RESEARCH SAMPLE PRECEDENTS FOR EXIT FACILITY TERM SHEETS.


   12/22/20   Liou, Jessica                           4.20      4,935.00        011          60798609
       CONFER WITH FIELDWOOD, ALIX PARTNERS RE: O&G LEASES FOR DISCLOSURE STATEMENT (1.5);
       CONFER WITH D. CROWLEY AND CONFER WITH C. CARLSON RE: SAME (1.0); CONFER WITH DPW RE:
       PLAN, DISCLOSURE STATEMENT AND NEXT STEPS (.7); CONFER WITH D. CROWLEY RE: STATUS (.2);
       CONFER WITH WEIL TEAM RE: PLAN, DISCLOSURE STATEMENT AND DISCLOSURE STATEMENT
       APPROVAL MOTION (.8).


   12/22/20     Carlson, Clifford W.                  5.50      5,775.00        011      60838772
       MULTIPLE CALLS AND EMAILS REGARDING DISCLOSURE STATEMENT (1.5); MULTIPLE CALLS
       REGARDING DISCLOSURE STATEMENT MOTION AND EMAILS REGARDING SAME (.8); PARTICIPATE ON
       CALL WITH COMPANY REGARDING DISCLOSURE STATEMENT LEASE SCHEDULES (.3); PARTICIPATE ON
       CALL WITH DAVIS POLK REGARDING DISCLOSURE STATEMENT (.6); REVISE DISCLOSURE STATEMENT
       (1.5); REVIEW AND CIRCULATE REVISED DISCLOSURE STATEMENT SCHEDULES (.8).


   12/22/20  George, Jason                              0.60       438.00     011            60795421
       CALLS WITH PRIME CLERK TEAM AND A. MARZOCCA RE: SERVICE OF DISCLOSURE STATEMENT
       HEARING NOTICE (0.5); EMAIL C. CARLSON RE: NOTICING INFORMATION (0.1).


   12/22/20  James, Hillarie                         10.00      8,450.00         011        60807185
       TELEPHONE CONFERENCES WITH WEIL, ADVISOR TEAMS, AND CLIENT REGRADING PLAN, DISCLOSURE
       STATEMENT AND EXHIBITS (4.3); REVISE DISCLOSURE STATEMENT (4.7); CORRESPONDENCE WITH WEIL
       AND ADVISOR TEAMS REGARDING SAME (1.0).


   12/22/20     Marzocca, Anthony P.                       7.80          7,254.00    011     60868944
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        CALL WITH J. LIOU, C. CARLSON, H. JAMES, AND J. HUFENDICK RE PLAN, DISCLOSURE STATEMENT, AND
        DISCLOSURE STATEMENT APPROVAL MOTION (1.0); CALL WITH C. CARLSON RE SERVICE PLAN FOR
        DISCLOSURE STATEMENT APPROVAL MOTION (0.3); CALL WITH PRIME CLERK RE SAME (0.3); CALL
        WITH C. CARLSON RE DISCLOSURE STATEMENT APPROVAL MOTION (0.4); PREPARE DISCLOSURE
        STATEMENT APPROVAL MOTION AND SUPPORTING PAPERS (5.8).


   12/22/20  Greene, Anthony L.                            0.30            294.00    011      60934989
       REVIEW REVISED DISCLOSURE STATEMENT.


   12/22/20  Olvera, Rene A.                      0.80       296.00        011         60861124
       REVIEW AND ELECTRONICALLY ORGANIZE BACKUP DATE FOR SCHEDULES OF LEASE INTERESTS
       ATTACHED TO THE DISCLOSURE STATEMENT.


   12/23/20  Kronman, Ariel                                0.40            500.00    011      61069032
       REVIEW PLAN DISCLOSURE.


   12/23/20  Rahman, Faiza N.                              1.20          1,410.00    011      60935004
       PROVIDE COMMENTS TO DISCLOSURE STATEMENT.


   12/23/20  Liou, Jessica                          0.70       822.50                011      60998167
       MULTIPLE CONFERS WITH C. CARLSON RE: DISCLOSURE STATEMENT.


   12/23/20  Peca, Samuel C.                               0.80            900.00    011      61066318
       REVIEW DISCLOSURE STATEMENT RE: PSA.


   12/23/20  Carlson, Clifford W.                     8.70       9,135.00      011          60839917
       REVIEW AND REVISE DISCLOSURE STATEMENT MOTION (2.9); REVIEW AND REVISE DISCLOSURE
       STATEMENT AND MULTIPLE CALLS AND EMAILS REGARDING SAME (1.8); PARTICIPATE ON CALL WITH
       DPW REGARDING EXHIBITS TO DISCLOSURE STATEMENT (1.1); PARTICIPATE ON CALL WITH J. NOE
       REGARDING DISCLOSURE STATEMENT (.7); PARTICIPATE ON CALL WITH ALIXPARTNERS REGARDING
       DISCLOSURE STATEMENT EXHIBITS (.6); PARTICIPATE ON CALLS WITH DPW REGARDING DISCLOSURE
       STATEMENT MOTION (.7); MULTIPLE EMAILS WITH WEIL TEAM REGARDING BIDDING PROCEDURES (.9).
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   12/23/20   James, Hillarie                        6.90      5,830.50      011         60817102
       REVISE DISCLOSURE STATEMENT (5.1); CORRESPONDENCE WITH WEIL TEAM REGARDING SAME (0.5);
       TELEPHONE CONFERENCES WITH ADVISOR TEAMS AND CLIENT REGARDING PLAN AND DISCLOSURE
       STATEMENT (1.3).


   12/23/20  Marzocca, Anthony P.                    11.70     10,881.00      011       60868955
       CORRESPONDENCE WITH J. GEORGE AND COMPANY RE INFORMATION FOR SERVICE PARTIES OF
       DISCLOSURE STATEMENT HEARING NOTICE (0.4); PREPARE DISCLOSURE STATEMENT APPROVAL
       MOTION (11.3).


   12/23/20  Greene, Anthony L.                       1.00       980.00       011         60935162
       REVIEW REVISED DISCLOSURE STATEMENT (.5); REVIEW DISCLOSURE STATEMENT SCHEDULES (.2);
       REVIEW DISCLOSURE STATEMENT APPROVAL AND SOLICITATION MOTION (.3).


   12/24/20  Marcus, Courtney S.                  0.40        550.00       011                60935229
       REVIEW AND MARKUP FINANCE-RELATED PROVISIONS TO DISCLOSURE STATEMENT.


   12/24/20    Liou, Jessica                              3.50      4,112.50         011      60838781
       CONFER WITH DPW, R/I, HL, WEIL RE: NEXT STEPS, STATUS, OPEN PLAN AND DISCLOSURE STATEMENT
       ITEMS (.5); CONFER WITH INVESCO, DPW, RI, HL, WEIL, FIELDWOOD RE: NEXT STEPS, PLAN AND
       DISCLOSURE STATEMENT AND MILESTONES (.8); DRAFT EMAIL RE: OPEN ISSUES FOR PLAN AND
       DISCLOSURE STATEMENT (.5); CONFER WITH DPW, R/I, HL, WEIL AND CLIENTS ON ALL-HANDS CALL
       FOR PLAN AND DISCLOSURE STATEMENT NEXT STEPS AND TIMING (.7); DRAFT EMAIL UPDATE FOR
       BOARD (.5); CONFER WITH M. BARR RE: OPEN ISSUES AND QUESTIONS (.5).


   12/24/20  Peca, Samuel C.                               0.40            450.00    011      60935382
       REVIEW DISCLOSURE STATEMENT.


   12/24/20  Conley, Brendan C.                            0.70            735.00    011      60935378
       REVIEW AND REVISE DISCLOSURE STATEMENT.


   12/24/20     Carlson, Clifford W.                       5.50          5,775.00    011      60839618
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        PREPARE FOR AND PARTICIPATE ON CALL WITH DAVIS POLK REGARDING OPEN ISSUES ON DISCLOSURE
        STATEMENT (1.7); REVIEW AND REVISE DISCLOSURE STATEMENT AND MULTIPLE EMAILS REGARDING
        SAME (3.1); PARTICIPATE ON CALL WITH ALIX PARTNERS REGARDING LIQUIDATION ANALYSIS (.7).


   12/24/20  Martin, Robert Crawford              1.80       1,818.00                011      60799557
       REVIEW ASSETS SCHEDULES TO DETERMINE ALLOCATION OF CERTAIN ASSETS.


   12/24/20   James, Hillarie                         2.20        1,859.00         011        60806185
       REVISE DISCLOSURE STATEMENT (1.1); PREPARE OPEN ISSUES LIST (0.7); CORRESPONDENCE WITH WEIL
       TEAM REGARDING SAME (0.4).


   12/24/20  Marzocca, Anthony P.                    2.90      2,697.00       011       60869359
       LEGAL RESEARCH RE REQUIREMENTS FOR BIDDING PROCEDURES (2.2); CORRESPONDENCE RE SAME (0.4);
       CORRESPONDENCE WITH J. LIOU RE: DISCLOSURE STATEMENT APPROVAL MOTION (0.3).


   12/24/20  Greene, Anthony L.                            0.20            196.00    011      60934599
       REVIEW REVISED DISCLOSURE STATEMENT.


   12/26/20  Liou, Jessica                       0.30       352.50                   011      60802923
       REVIEW AND COMMENT ON DISCLOSURE STATEMENT MOTION AND EXHIBITS.


   12/26/20  Carlson, Clifford W.                     4.50      4,725.00       011      60840217
       REVIEW AND REVISE DISCLOSURE STATEMENT MOTION AND EXHIBITS AND MULTIPLE CALLS AND
       EMAILS REGARDING SAME (3.5); CALL WITH DAVIS POLK REGARDING DISCLOSURE STATEMENT
       MOTION (.6); REVISE DISCLOSURE STATEMENT (.4).


   12/26/20  Marzocca, Anthony P.                 9.00                   8,370.00    011      60869023
       PREPARE DISCLOSURE STATEMENT APPROVAL MOTION.


   12/26/20  Greene, Anthony L.                            0.20            196.00    011      60934793
       REVIEW DISCLOSURE STATEMENT ISSUES LIST.
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   12/27/20   Carlson, Clifford W.                  1.30       1,365.00     011         60840401
       REVIEW AND REVISE DISCLOSURE STATEMENT MOTION AND EMAILS REGARDING SAME (.8); DRAFT
       ISSUES LIST FOR DISCLOSURE STATEMENT AND CIRCULATE TO THE TEAM (.5).


   12/27/20  James, Hillarie                       0.20                    169.00    011    60806173
       REVIEW DAVIS POLK COMMENTS TO DISCLOSURE STATEMENT.


   12/27/20  Marzocca, Anthony P.                 8.30                   7,719.00    011    60869007
       PREPARE DISCLOSURE STATEMENT APPROVAL MOTION.


   12/28/20  Perez, Alfredo R.                       1.00       1,500.00       011        60807456
       CONFERENCE CALL WITH ALIX PARTNERS AND WEIL TEAMS REGARDING LIQUIDATION ANALYSIS (.6);
       REVIEW REVISED SLIDES FOR INFORMATION TO BE INCLUDED IN THE DISCLOSURE STATEMENT (.2);
       VARIOUS COMMUNICATIONS WITH WEIL TEAM REGARDING LANGUAGE IN SLIDES (.2).


   12/28/20   Liou, Jessica                         1.60         1,880.00       011        60838758
       REVIEW AND COMMENT ON DRAFT DISCLOSURE STATEMENT (.3); CONFER WITH ALIX PARTNERS RE:
       LIQUIDATION ANALYSIS AND CLAIMS LIEN ANALYSIS (.6); CONFER WITH HL AND ALIX PARTNERS RE:
       OPEN ISSUES (.7).


   12/28/20   Carlson, Clifford W.                      4.20        4,410.00  011        60840908
       REVIEW LIQUIDATION ANALYSIS AND PARTICIPATE ON CALL WITH WEIL AND ALIX PARTNERS TEAMS
       REGARDING SAME (1.0); REVIEW DISCLOSURE STATEMENT AND CALLS WITH H JAMES REGARDING
       SAME (2.8); DRAFT ISSUES LIST FOR DISCLOSURE STATEMENT (.4).


   12/28/20  Wheeler, Emma                           1.20        714.00       011        60815445
       CALL WITH WEIL TEAM TO DISCUSS OPEN ISSUES ON DISCLOSURE STATEMENT AND PLAN DRAFT.


   12/28/20   James, Hillarie                        8.20      6,929.00       011        60834400
       REVISE DISCLOSURE STATEMENT (6.4); TELEPHONE CONFERENCES WITH WEIL TEAM REGARDING
       DISCLOSURE STATEMENT (1.2); CORRESPONDENCE WITH ADVISOR TEAMS REGARDING DISCLOSURE
       STATEMENT (0.6).
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   12/28/20   Marzocca, Anthony P.                       12.90       11,997.00        011        60869004
       CALL WITH J. LIOU, A. PEREZ, C. CARLSON, J. HUFENDICK, A. GREENE, AND H. JAMES RE UPDATES TO
       PLAN, DISCLOSURE STATEMENT, AND DISCLOSURE STATEMENT APPROVAL MOTION (1.2);
       CORRESPONDENCE WITH PRIME CLERK AND C. CARLSON RE SERVICE OF DISCLOSURE STATEMENT
       APPROVAL MOTION AND SUPPORTING PAPERS (0.4); CALL WITH C. CARLSON RE DISCLOSURE
       STATEMENT APPROVAL MOTION (0.2); PREPARE DISCLOSURE STATEMENT APPROVAL MOTION (3.3);
       REVIEW PRECEDENT FOR DISCLOSURE STATEMENT APPROVAL MOTION EXHIBITS (2.7); UPDATE
       DISCLOSURE STATEMENT APPROVAL MOTION EXHIBITS (5.1).


   12/28/20  Greene, Anthony L.                       3.40     3,332.00        011       60967613
       REVIEW AND REVISE DISCLOSURE STATEMENT (1.5); REVIEW MATERIALS RELATED TO INDEPENDENT
       ANALYSIS (1.5); CALL WITH C. CARLSON (.4).


   12/29/20   Liou, Jessica                             1.80     2,115.00           011        60838757
       REVIEW AND COMMENT ON REVISED DISCLOSURE STATEMENT SOLICITATION MOTION (1.0); CONFER
       WITH DPW, R/I, HL, WEIL RE: PLAN AND DISCLOSURE STATEMENT OPEN ISSUES (.5); EMAILS WITH V&E
       AND M. DANE RE: PLAN AND DISCLOSURE STATEMENT (.3).


   12/29/20  Carlson, Clifford W.                 1.10       1,155.00       011       60841963
       REVIEW AND REVISE DISCLOSURE STATEMENT MOTION AND CALL WITH A. MARZOCCA REGARDING
       SAME.


   12/29/20  James, Hillarie                         3.20        2,704.00  011        60834458
       TELEPHONE CONFERENCES WITH ADVISOR TEAMS AND CLIENT REGARDING PLAN AND DISCLOSURE
       STATEMENT (2.2); UPDATE DISCLOSURE STATEMENT ISSUES LIST (1.0).


   12/29/20  Marzocca, Anthony P.                   14.00    13,020.00       011         60868939
       CALL WITH R. MARTIN RE COMMENTS TO DISCLOSURE STATEMENT APPROVAL MOTION (0.2); PREPARE
       DISCLOSURE STATEMENT APPROVAL MOTION (13.6); CORRESPONDENCE WITH HOULIHAN RE SALE
       NOTICE PARTIES FOR SAME (0.2).


   12/30/20  Margolis, Steven M.                  0.30      337.50       011        60818898
       REVIEW COMMENTS AND CHANGES TO DISCLOSURE STATEMENT AND CORRESPONDENCE ON SAME.
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   12/30/20   Carlson, Clifford W.                   5.30        5,565.00       011       60848126
       REVISE DISCLOSURE STATEMENT MOTION AND EMAILS WITH A. MARZOCCA REGARDING SAME (1.4);
       REVIEW SCHEDULES TO DISCLOSURE STATEMENT AND EMAILS WITH COMPANY REGARDING SAME (.6);
       REVISE DISCLOSURE STATEMENT AND EMAILS REGARDING SAME (1.5); CALL WITH H. JAMES AND A.
       GREENE REGARDING DISCLOSURE STATEMENT WORKSTREAMS (.3); CALL WITH DPW REGARDING
       DISCLOSURE STATEMENT MOTION (.5); PREPARE ISSUES LIST FOR DISCLOSURE STATEMENT AND
       EMAILS REGARDING SAME (.3); MULTIPLE EMAILS WITH TEAM REGARDING DISCLOSURE STATEMENT
       (.7).


   12/30/20  James, Hillarie                        12.30      10,393.50          011      60834465
       TELEPHONE CONFERENCES WITH ADVISOR TEAMS AND CLIENT REGARDING PLAN AND DISCLOSURE
       STATEMENT (1.5); REVISE DISCLOSURE STATEMENT AND EXHIBITS THERETO (9.1); CORRESPONDENCE
       WITH ADVISOR TEAMS REGARDING DISCLOSURE STATEMENT AND EXHIBITS THERETO (1.7).


   12/30/20   Marzocca, Anthony P.                    15.30     14,229.00         011        60868943
       CALL WITH C. CARLSON RE DISCLOSURE STATEMENT APPROVAL MOTION (0.1); CORRESPONDENCE RE
       SAME (0.2); CORRESPONDENCE WITH HOULIHAN AND PRIME CLERK RE SERVICE PARTIES FOR
       DISCLOSURE STATEMENT SALE NOTICE (0.4); CALL WITH C. CARLSON, M. PERA, AND P. GARG RE
       DISCLOSURE STATEMENT APPROVAL MOTION (0.5); CORRESPONDENCE WITH J. LIOU RE SAME (0.2);
       CALL WITH M. PERA RE SAME (0.1); PREPARE DISCLOSURE STATEMENT APPROVAL MOTION (13.8).


   12/30/20   Greene, Anthony L.                           1.20          1,176.00    011     60935799
       REVISE DISCLOSURE STATEMENT.


   12/31/20  Perez, Alfredo R.                       0.50                  750.00    011     60998305
       REVIEW DRAFTS OF SECTIONS OF THE DISCLOSURE STATEMENT.


   12/31/20   Liou, Jessica                             1.40      1,645.00       011        60841342
       REVIEW AND PROVIDE ADDITIONAL COMMENTS ON DISCLOSURE STATEMENT, EMAIL J. NOE RE:
       REVISIONS TO SAME, EMAIL HL RE: VALUATION (.8); REVIEW AND RESPOND TO DPW EMAIL, EMAIL
       WEIL TEAM RE: STATUS AND NEXT STEPS; EMAIL TAX TEAM RE: DISCLOSURE STATEMENT (.3); CONFER
       WITH M. PERA RE: OPEN ISSUES ON PLAN, DISCLOSURE STATEMENT, DISCLOSURE STATEMENT
       APPROVAL MOTION (.3).
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   12/31/20  Carlson, Clifford W.                     6.30      6,615.00        011         60848306
       REVIEW AND REVISE DISCLOSURE STATEMENT (1.9); REVIEW AND REVISE EXHIBITS TO DISCLOSURE
       STATEMENT (0.3); MULTIPLE CALLS AND EMAILS WITH WEIL TEAM REGARDING SAME (0.7); REVIEW
       AND REVISE DISCLOSURE STATEMENT MOTION (1.8); CALLS AND EMAILS WITH A. MARZOCCA
       REGARDING SAME (1.2); CALLS AND EMAILS WITH PRIME CLERK TEAM REGARDING SERVICE PLAN (.4).


   12/31/20  James, Hillarie                         14.70     12,421.50       011          60851754
       TELEPHONE CONFERENCES WITH WEIL, ADVISOR TEAMS, AND CLIENT REGARDING PLAN AND
       DISCLOSURE STATEMENT (3.5); REVISE DISCLOSURE STATEMENT AND EXHIBITS THERETO (10.2);
       CORRESPONDENCE WITH WEIL AND ADVISOR TEAMS REGARDING SAME (1.0).


   12/31/20   Marzocca, Anthony P.                     17.90  16,647.00        011         60868986
       PREPARE DISCLOSURE STATEMENT APPROVAL MOTION (17.5); CALL WITH C. GRING AND J. CHIANG RE
       SAME (0.2); CALL WITH C. CARLSON RE SAME (0.2).


   12/31/20   Greene, Anthony L.                      1.40      1,372.00      011          60967625
       REVISE DISCLOSURE STATEMENT (1.2); REVIEW DISCLOSURE STATEMENT APPROVAL MOTION (.2).


    SUBTOTAL TASK 011 - Disclosure Statement /              478.30       $457,425.50
    Solicitation / Voting:

   12/08/20   Margolis, Steven M.                      4.80       5,400.00        012          60670494
       VARIOUS CONF AND CORRESPONDENCE WITH WEIL ECB TEAM ON EMPLOYEE ISSUES (0.4); REVIEW
       TRANSACTION DOCUMENTS (1.4); DRAFT ISSUES LIST AND CONF. AND CORRESPONDENCE WITH R.
       TAHILIANI ON SAME (1.1); CONF. WITH WEIL TEAM ON OPEN ISSUES, EMPLOYEE TREATMENT (0.7);
       REVIEW EMPLOYEE ISSUES FROM N. DELUCA (DAVIS POLK) (0.4); REVIEW TRANSACTION STEPS
       MEMORANDUM AND CORRESPONDENCE ON SAME (0.8).


   12/08/20   Greene, Anthony L.                              0.30            294.00    012    60665673
       PARTICIPATE ON EMPLOYEE ISSUES CALL.


   12/09/20     Margolis, Steven M.                           1.20          1,350.00    012    60679365
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        REVIEW STEPS MEMORANDUM AND RELATED CORRESPONDENCE (0.5); CONF. WITH WEIL TEAM ON
        STEPS TRANSACTION MEMORANDUM (0.7).


   12/11/20  Margolis, Steven M.                       0.30       337.50             012         60700138
       REVIEW ISSUES FROM R. TAHILIANI ON DEAL ISSUES, EMPLOYEES AND STATUS.


   12/13/20  Liou, Jessica                           0.30       352.50               012         60705208
       REVIEW AND RESPOND TO T. LAMME QUESTION RE: INTERIM COMPENSATION.


   12/15/20  Margolis, Steven M.                   0.80         900.00       012         60724267
       REVIEW ISSUES ON PURCHASE AGREEMENT AND ISSUES LIST, COORDINATE ON CALL WITH CLIENT (0.7);
       REVIEW CASE CALENDAR (0.1).


   12/18/20   Liou, Jessica                         0.80        940.00        012           60781243
       PARTICIPATE ON EMPLOYEE BENEFITS CALL WITH DPW AND WEIL TEAM RE: CREDIT BID APA (0.3);
       CONFER WITH DPW RE: CREDIT BID APA (.5).


   12/18/20   Tahiliani, Radhika                        3.30          3,069.00        012        60833262
       REVIEW AND REVISE SPA (2.5), DISCUSS WITH S. MARGOLIS (0.4), DISCUSS BENEFITS ISSUES WITH DPW
       (0.4).


   12/19/20  Margolis, Steven M.                 0.60      675.00                    012         60752921
       REVIEW IMPLEMENTATION AGREEMENT AND CORRESPONDENCE ON SAME.


   12/21/20   George, Jason                          0.20       146.00       012                 60761921
       EMAIL C. CARLSON RE: DISCLOSURE IN CONNECTION WITH WAGES MOTION AND ORDER.


   12/22/20  Margolis, Steven M.                      0.60       675.00       012          60781667
       REVIEW ISSUES ON BENEFIT PLANS AND LIABILITIES AND CORRESPONDENCE WITH R. TAHILIANI ON
       SAME.


    SUBTOTAL TASK 012 - Employee Matters:                 13.20        $14,139.00
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   12/01/20  Perez, Alfredo R.                    0.20       300.00        013        60614335
       REVIEW EXCLUISIVITY MOTION AND VARIOUS COMMUNICATIONS WITH WEIL TEAM REGARDING
       SAME.


   12/01/20  Liou, Jessica                            1.00      1,175.00      013        60614903
       REVIEW AND REVISE EXCLUSIVITY MOTION (.5); REVIEW AND COMMENT ON EXCLUSIVITY MOTION (.3)
       AND CONFER WITH A. MARZOCCA RE: SAME (.2).


   12/01/20   Carlson, Clifford W.                 0.70        735.00                013    60655635
       REVISE MOTION TO EXTEND PLAN EXCLUSIVITY AND EMAILS REGARDING SAME.


   12/01/20  Marzocca, Anthony P.                10.20          9,486.00       013          60662268
       CORRESPONDENCE RE: MOTION TO EXTEND EXCLUSIVITY (2.9); PREPARE MOTION TO EXTEND
       EXCLUSIVITY (7.3).


   12/22/20  Sierra, Tristan M.                     0.20        146.00               013    60807622
       REVIEW OBJECTIONS FROM SURETIES TO THE EXTENSION OF EXCLUSIVITY.


   12/22/20  Olvera, Rene A.                       1.50        555.00                013    60934819
       SEARCH DOCKET REPORT AND OBTAIN OBJECTIONS TO EXCLUSIVITY MOTION.


   12/23/20  Marzocca, Anthony P.                 0.50                     465.00    013    60868940
       CORRESPONDENCE RE HEARING ON EXCLUSIVITY MOTION.


   12/23/20   Kleissler, Matthew Joseph              0.70        175.00        013        60807265
       ASSIST WITH PREPARATION OF MATERIALS RE: NOTICE OF HEARING ON EXCLUSIVITY MOTION FOR
       JANUARY 4, 2021 FOR A. MARZOCCA.


   12/24/20  Perez, Alfredo R.                   0.20        300.00        013        60798908
       VARIOUS COMMUNICATIONS WITH WEIL TEAM REGARDING HEARING ON EXCLUSIVITY MOTION.


   12/24/20     Carlson, Clifford W.                       0.20            210.00    013    60839735
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        REVIEW AND REVISE NOTICE OF HEARING ON EXLCUSIVITY.


   12/24/20  Marzocca, Anthony P.                  0.40        372.00                013     60869320
       CORRESPONDENCE RE NOTICE OF HEARING FOR EXCLUSIVITY MOTION.


   12/24/20  Olvera, Rene A.                        0.50        185.00        013        60861133
       PREPARE AND ELECTRONICALLY FILE NOTICE OF HEARING RE: EXCLUSIVITY MOTION ON JANUARY 4,
       2021.


   12/24/20   Kleissler, Matthew Joseph              0.30         75.00        013        60807194
       ASSIST WITH PREPARATION OF MATERIALS RE: NOTICE OF HEARING ON EXCLUSIVITY MOTION FOR
       JANUARY 4, 2021 FOR A. MARZOCCA.


   12/26/20   Carlson, Clifford W.                      1.70       1,785.00      013        60840176
       PARTICIPATE ON CALL WITH M. BARR, A. PEREZ, AND J. LIOU REGARDING PLAN EXCLUSIVITY AND
       RELATED ISSUES (1.0); CALLS AND EMAILS WITH A. GREENE REGARDING REPLY TO OBJECTIONS TO
       PLAN EXCLUSIVITY (.7).


   12/26/20  Greene, Anthony L.                       3.20      3,136.00         013         60934794
       EXCLUSIVITY RESEARCH (1.5); REVIEW EXCLUSIVITY MOTION AND OBJECTIONS (1.2); CALL WITH C.
       CARLSON RE: OBJECTION TO EXCLUSIVITY (.5).


   12/27/20  Carlson, Clifford W.                   1.10      1,155.00      013         60840301
       MULTIPLE CALLS AND EMAILS WITH A. GREENE AND WEIL BANKING TEAM REGARDING REPLY IN
       SUPPORT OF EXCLUSIVITY MOTION.


   12/27/20 Wheeler, Emma                           4.40                 2,618.00    013     60815437
       CONDUCT RESEARCH RE: REPLY TO EXCLUSIVITY OBJECTIONS.


   12/27/20  Greene, Anthony L.                       6.20       6,076.00         013        60819443
       REVIEW EXCLUSIVITY OBJECTION AND JOINDERS (.5); EXCLUSIVITY RESEARCH (1.2); DRAFT
       EXCLUSIVITY REPLY (4.2); DISCUSS RESEARCH MEMO WITH E. WHEELER (.3).
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   12/28/20   Carlson, Clifford W.                  1.70         1,785.00       013         60840884
       PREPARE MATERIALS FOR HEARING ON EXCLUSIVITY (.7); PARTICIPATE ON CALLS WITH A. GREENE
       AND E. WHEELER REGARDING REPLY IN SUPPORT OF EXCLUSIVITY MOTION (1.0).


   12/28/20   Wheeler, Emma                           9.30      5,533.50        013          60815397
       PREPARE MATERIALS FOR EXCLUSIVITY HEARING (1.1); CALL WITH C. CARLSON AND A. GREENE TO
       DISCUSS REPLY TO EXCLUSIVITY MOTION (.7); CONDUCT RESEARCH RE: EXCLUSIVITY REPLY (1.5); DRAFT
       REPLY TO EXCLUSIVITY OBJECTION (6.0).


   12/28/20  Choi, Erin Marie                      0.90      945.00                  013     60806949
       DRAFT EXCLUSIVITY OBJECTION RESPONSE ON DOCUMENT PRODUCTION ISSUES.


   12/28/20  Greene, Anthony L.                        6.00      5,880.00        013         60935023
       EXCLUSIVITY REPLY RESEARCH (2.5); REVISE REPLY TO EXCLUSIVITY OBJECTIONS (3.5).


   12/29/20   Carlson, Clifford W.                   3.80      3,990.00       013         60841974
       REVISE REPLY IN SUPPORT OF EXCLUSIVITY MOTION AND MULTIPLE CALLS AND EMAILS WITH A.
       GREENE AND W. WHEELER REGARDING SAME.


   12/29/20  Wheeler, Emma                             5.10      3,034.50       013        60815444
       CONDUCT RESEARCH RE: EXCLUSIVITY OBJECTION REPLY (2.4); CONDUCT RESEARCH RE: REPLY TO
       EXCLUSIVITY OBJECTION INCLUDING REVIEWING RELEVANT CASE LAW (.3); DRAFT REPLY TO
       EXCLUSIVITY OBJECTION (1.9); REVIEW REPLY TO EXCLUSIVITY OBJECTION (.5).


   12/29/20  Choi, Erin Marie                              0.60            630.00    013     60935419
       REVIEW EXCLUSIVITY OBJECTION RESPONSE.


   12/29/20  Miller, Ronald Lee                       0.90       882.00        013           60815615
       PREPARE BRIEF RIDER FOR REPLY TO SURETIES OBJECTION TO EXCLUSIVITY MOTION.


   12/29/20  Greene, Anthony L.                      0.30                  294.00    013     60935490
       REVIEW E. WHEELER EDITS TO EXCLUSIVITY REPLY.
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   12/30/20  Perez, Alfredo R.                    0.40        600.00                 013       60820737
       CONFERENCE CALL WITH UCC REGARDING EXCLUSIVITY MOTION.


   12/30/20   Carlson, Clifford W.                   1.70      1,785.00       013          60848074
       PARTICIPATE ON CALL WITH STROOCK REGARDING HEARING ON EXCLUSIVITY MOTION (0.5);
       PARTICIPATE ON CALL WITH A. GREENE AND E. WHEELER REGARDING REPLY TO EXCLUSIVITY (.4);
       PROVIDE ADDITIONAL COMMENTS TO REPLY IN SUPPORT OF EXCLUSIVITY (.8).


   12/30/20  Wheeler, Emma                         1.60           952.00         013        60820601
       CONDUCT RESEARCH RE: EXCLUSIVITY OBJECTION REPLY (.8); REVISE REPLY IN SUPPORT OF MOTION TO
       EXTEND EXCLUSIVITY (.8).


   12/30/20  Choi, Erin Marie                      1.10       1,155.00     013         60820583
       REVIEW EXCLUSIVITY OBJECTION REPLY AND PRODUCTION OF DOCUMENTS RELATED TO SAME.


   12/30/20   Greene, Anthony L.                        1.60       1,568.00       013          60935798
       PARTICIPATE ON EXCLUSIVITY ISSUES CALL (.5); REVISE REPLY TO EXCLUSIVITY OBJECTIONS (1.1).


   12/31/20  Carlson, Clifford W.                    0.30        315.00       013              60848287
       PREPARE WITNESS AND EXHIBIT LIST FOR HEARING ON MOTION TO EXTEND EXCLUSIVITY.


   12/31/20   Wheeler, Emma                          0.30                  178.50    013       60824363
       REVISE REPLY IN SUPPORT OF MOTION TO EXTEND EXCLUSIVITY.


   12/31/20  Choi, Erin Marie                              0.60            630.00    013       60969017
       REVIEW EXCLUSIVITY OBJECTION RESPONSE.


   12/31/20  Greene, Anthony L.                     2.40          2,352.00        013        60967623
       FURTHER REVISE REPLY TO EXCLUSIVITY OBJECTIONS (1.9); PREPARE WITNESS LIST AND EXHIBITS FOR
       MOTION TO EXTEND EXCLUSIVITY (.5).


    SUBTOTAL TASK 013 - Exclusivity:                      71.80        $61,458.50
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   12/01/20  Perez, Alfredo R.                    0.40           600.00          014       60614464
       TELEPHONE CONFERENCE WITH H. JAMES REGARDING §365(D)(4) MOTION (.2); VARIOUS
       COMMUNICATIONS WITH WEIL TEAM REGARDING §365(D)(4) MOTION (.1); REVIEW AND REVISE SAME
       (.1).


   12/01/20  Liou, Jessica                        0.50                     587.50    014     60615000
       REVIEW AND COMMENT ON LEASE EXTENSION MOTION.


   12/01/20   Carlson, Clifford W.                  0.80        840.00        014       60655411
       REVISE MOTION TO EXTEND TIME TO ASSUME OR REJECT UNEXPIRED LEASES AND EMAILS REGARDING
       SAME.


   12/01/20   James, Hillarie                          8.30       7,013.50       014         60661665
       REVISE §365(D)(4) MOTION (5.8); CORRESPONDENCE WITH WEIL TEAM REGARDING SAME (1.0);
       COORDINATE FILING OF SAME (0.8); CORRESPONDENCE WITH WEIL AND ALIX PARTNERS TEAM
       REGARDING NOTICE PARTIES FOR §365(D)(4) MOTION (0.7).


   12/01/20   Jalomo, Chris                         2.80       812.00         014       60614969
       REVIEW AND CITE CHECK MOTION TO EXTEND TIME TO ASSUME OR REJECT LEASES AS REQUESTED BY
       H. JAMES.


   12/02/20  Liou, Jessica                         0.80         940.00       014         60630170
       CONFER WITH ALIX PARTNERS, FIELDWOOD, AND WEIL TEAMS RE: CONTRACTS ANALYSIS, CURE
       AMOUNTS, AND BUDGET.


   12/02/20   Greene, Anthony L.                   1.00                    980.00    014     60610598
       PARTICIPATE ON CONTRACT/LEASE ISSUE WORKFLOW CALL.


   12/04/20  James, Hillarie                      1.00       845.00        014               60712469
       TELEPHONE CONFERENCES WITH WEIL AND ADVISOR TEAMS REGARDING LEASE SCHEDULES.


   12/08/20     Swenson, Robert M.                         0.60            660.00    014     60673443
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        CONFER WITH E. CHOI REGARDING AUDIT MATERIALS AND NEXT STEPS IN LITIGATION OF CURE CLAIM
        DISPUTE (0.4); DRAFT AND SEND CORRESPONDENCE TO M. COUVEGAN CONCERNING AUDIT MATERIALS
        (0.2).


   12/08/20   Marzocca, Anthony P.                  4.10         3,813.00        014        60667905
       CONDUCT RESEARCH RE: REJECTION OF UNEXPIRED LEASES (3.9); CALL WITH C. CARLSON RE: SAME
       (0.2).


   12/09/20   Wheeler, Emma                         0.40        238.00          014         60694658
       CALL WITH A. MARZOCCA TO DISCUSS LEASE REJECTION RESEARCH (.3); REVIEW RESEARCH RE: LEASE
       REJECTION (.1).


   12/09/20  James, Hillarie                     0.30         253.50      014       60724355
       TELEPHONE CONFERENCE WITH ADVISOR TEAMS AND CLIENT REGARDING EXECUTORY CONTRACTS.


   12/10/20  Marzocca, Anthony P.                 0.50          465.00        014         60869253
       CORRESPONDENCE WITH ALIX PARTNERS RE UNEXPIRED LEASE (0.3); CORRESPONDENCE WITH C.
       CARLSON AND J. LIOU RE SAME (0.2).


   12/11/20  Liou, Jessica                          0.50                   587.50    014    60705036
       CONFER WITH A. MARZOCCA RE: REJECTION RESEARCH.


   12/11/20  Wheeler, Emma                           0.70        416.50        014         60694655
       REVIEW LEASE REJECTION RESEARCH MEMO (.3); CALL WITH TEAM TO DISCUSS LEASE REJECTION (.4).


   12/11/20  Marzocca, Anthony P.                          2.80          2,604.00    014    60869205
       LEGAL RESEARCH RE UNEXPIRED LEASES.


   12/13/20 Wheeler, Emma                         3.70                   2,201.50    014    60735751
       CONDUCT RESEARCH RE: MASTER SERVICE AGREEMENTS.


   12/14/20     Marzocca, Anthony P.                       3.90          3,627.00    014    60869231
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        PREPARE RESPONSE TO INQUIRY RE UNEXPIRED LEASES (2.2); LEGAL RESEARCH RE SAME (1.7).


   12/16/20   Carlson, Clifford W.                 0.50       525.00                 014       60758256
       PARTICIPATE ON CALL REGARDING CLAIMS AND CONTRACTS ANALYSIS.


   12/16/20  James, Hillarie                     0.60         507.00      014       60768762
       TELEPHONE CONFERENCE WITH ADVISOR TEAMS AND CLIENT REGARDING EXECUTORY CONTRACTS.


   12/18/20  Swenson, Robert M.                       0.60        660.00        014           60752143
       CONFER WITH E. CHOI REGARDING NEXT STEPS IN LITIGATION OF CURE CLAIM DISPUTE (0.4); DRAFT
       AND SEND CORRESPONDENCE TO OPPOSING COUNSEL REGARDING SCHEDULE (0.2).


   12/22/20   Carlson, Clifford W.                  0.30       315.00         014              60838703
       PARTICIPATE ON CALL WITH ALIX PARTNERS TEAM REGARDING CONTRACT ISSUES.


   12/23/20  Hufendick, Jason                      0.40        372.00       014       60836896
       ATTEND UPDATE CALL WITH ALIX PARTNERS TEAM RE: CONTRACT ANALYSIS AND WIND-DOWN
       BUDGET.


   12/23/20   Carlson, Clifford W.                  0.50       525.00       014                60935045
       PARTICIPATE ON CALL WITH ALIX PARTNERS REGARDING CONTRACTS/LEASE ANALYSIS.


   12/23/20  James, Hillarie                     0.50         422.50      014        60817123
       TELEPHONE CONFERENCE WITH ADVISOR TEAMS AND CLIENT REGARDING CONTRACT REVIEW.


   12/24/20  James, Hillarie                        1.50       1,267.50       014         60807030
       DRAFT CNOS FOR ALIX PARTNERS FEE APPLICATION AND LEASE REJECTION DEADLINE MOTION (0.9);
       COORDINATE FILING OF SAME (0.6).


   12/24/20     Fabsik, Paul                               0.60            234.00    014       60794582
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        PREPARE AND FILE CERTIFICATE OF NO OBJECTION TO MOTION OF DEBTORS FOR AUTHORITY TO
        EXTEND TIME TO ASSUME OR REJECT UNEXPIRED LEASES OF NONRESIDENTIAL REAL PROPERTY.


   12/30/20  James, Hillarie                     0.40         338.00      014       60834387
       TELEPHONE CONFERENCE WITH ADVISOR TEAMS AND CLIENT REGARDING EXECUTORY CONTRACTS.


    SUBTOTAL TASK 014 - Executory Contracts /                 39.00        $32,650.00
    Leases / Real Property / Other 365 Matters:

   12/01/20  Perez, Alfredo R.                    0.40       600.00                      015    60614775
       CONFERENCE CALL WITH WEIL TEAM REGARDING WEEKLY WIP CALL.


   12/01/20  Moore, Rodney L.                                  0.30            427.50    015    60920271
       CALL WITH WEIL TEAM REGARDING WIP.


   12/01/20   Rahman, Faiza N.                                 0.50            587.50    015    60610608
       PARTICIPATE ON WIP UPDATE CALL.


   12/01/20  Liou, Jessica                              1.70       1,997.50       015        60614980
       CONFER WITH N. TSIOURIS RE: OPEN WORKSTREAMS, NEXT STEPS AND TIMING (.5); POST-CALL WITH C.
       CARLSON RE: NEXT STEPS AND FILING (.2); PARTICIPATE ON WIP CALL (1.0).


   12/01/20   Peca, Samuel C.                                  0.40            450.00    015    60920275
       PARTICIPATE ON INTERNAL WIP CALL.


   12/01/20  Barr, Matthew S.                        1.40      2,275.00                  015    60614658
       REVIEW FILINGS (1.2); AND CORRESPONDENCE REGARDING SAME WITH TEAM (.2).


   12/01/20   Swenson, Robert M.                     0.40                      440.00    015    60920276
       PARTICIPATE ON WIP CALL TO DISCUSS ONGOING PROJECTS.


   12/01/20     Conley, Brendan C.                             0.60            630.00    015    60608167
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        PREPARE FOR AND PARTICIPATE ON WIP CALL.


   12/01/20   Abraham, Melissa S.                          0.50            505.00    015    60610024
       PARTICIPATE ON WIP CALL.


   12/01/20  Hufendick, Jason                              0.50            465.00    015    60648533
       ATTEND WIP MEETING.


   12/01/20   Carlson, Clifford W.                         0.70            735.00    015    60920279
       PARTICIPATE ON WIP CALL.


   12/01/20   George, Jason                                0.80            584.00    015    60631180
       PARTICIPATE ON WIP CALL.


   12/01/20  Wheeler, Emma                          0.80         476.00              015    60630998
       ATTEND INTERNAL MEETING TO DISCUSS WORK IN PROGRESS LIST.


   12/01/20   Choi, Erin Marie                             0.20            210.00    015    60610139
       PARTICIPATE ON WIP CALL.


   12/01/20   Hong, Jeesun                                 0.40            372.00    015    60920280
       PARTICIPATE ON WIP CALL.


   12/01/20  James, Hillarie                      1.30      1,098.50       015              60661655
       TELEPHONE CONFERENCES WITH WEIL TEAM AND CLIENT REGARDING CASE STRATEGY.


   12/01/20  Marzocca, Anthony P.                          0.80            744.00    015    60662278
       CALL RE: WIP.


   12/01/20  Sierra, Tristan M.                            0.80            584.00    015    60724138
       ATTEND WIP CALL.
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   12/02/20  Perez, Alfredo R.                      0.60        900.00         015    60628689
       CONFERENCE CALL WITH MANAGEMENT, HOULIHAN, ALIX PARTNERS, AND WEIL TEAMS REGARDING
       STATUS OF PLAN DISCUSSIONS AND PREPARATION FOR CALL WITH FLTL ADVISORS.


   12/02/20   Rahman, Faiza N.                        1.00       1,175.00            015      60629023
       PARTICIPATE ON WEEKLY WIP CALL (0.5); ALL HANDS CALL (PARTIAL) (0.5).


   12/02/20  Liou, Jessica                          0.50       587.50                015      60630110
       CONFER WITH FIELDWOOD, HOULIHAN, WEIL RE: STRATEGY AND OPEN ISSUES.


   12/02/20  Conley, Brendan C.                       0.60        630.00         015          60615390
       PREPARE FOR AND PARTICIPATE ON STATUS CALL (.5); COORDINATE RE: FINANCE PROPOSAL (.1).


   12/02/20   Bonhamgregory, Veronica Gayle                0.60            588.00    015      60628381
       PARTICIPATE ON WEEKLY ADVISORS CALL.


   12/02/20   Carlson, Clifford W.               1.40         1,470.00        015        60655518
       MULTIPLE EMAILS REGARDING VARIOUS WORKSTREAMS (.4); PARTICIPATE ON ALL HANDS CALL (.5);
       PARTICIPATE ON ADVISORS CALL (.5).


   12/02/20   George, Jason                                0.40            292.00    015      60631215
       PARTICIPATE ON ALL-HANDS CALL.


   12/02/20  Marzocca, Anthony P.                          0.80            744.00    015      60869302
       CALL RE ALL HANDS UPDATES.


   12/02/20   Greene, Anthony L.                           0.70            686.00    015      60614480
       PARTICIPATE ON FWE ADVISORS CALL.


   12/03/20     Perez, Alfredo R.                          0.20            300.00    015      60637050
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        PARTICIPATE ON WEIL WIP CALL (.1); TELEPHONE CONFERENCE WITH R. MOORE REGARDING OPEN
        ISSUES (.1).


   12/03/20  Macke, Jonathan J.                              0.40            480.00    015    60920400
       ATTEND WIP CONFERENCE.


   12/03/20   Rahman, Faiza N.                               0.40            470.00    015    60635993
       PARTICIPATE ON WEEKLY WIP CALL.


   12/03/20   Liou, Jessica                            1.40        1,645.00            015    60637650
       PARTICIPATE ON WIP CALL (1.3); CONFER WITH TEAM WIP CALL (.1).


   12/03/20   Peca, Samuel C.                                0.40            450.00    015    60920402
       PARTICIPATE ON WIP CALL.


   12/03/20   Swenson, Robert M.                     0.40                    440.00    015    60638189
       PARTICIPATE ON WIP CALL TO DISCUSS ONGOING PROJECTS.


   12/03/20  Conley, Brendan C.                         0.70       735.00          015        60633697
       PREPARE FOR AND PARTICIPATE ON WIP CALL (.4); DISCUSS FINANCE APPROACH (.3).


   12/03/20   Bonhamgregory, Veronica Gayle                  0.40            392.00    015    60635919
       PARTICIPATE ON WIP CALL.


   12/03/20  Hufendick, Jason                                1.10          1,023.00    015    60648554
       ATTEND FIELDWOOD WIP CALL.


   12/03/20   Carlson, Clifford W.                           1.20          1,260.00    015    60920404
       PARTICIPATE ON WIP CALL.


   12/03/20     George, Jason                                1.10            803.00    015    60920405
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        PARTICIPATE ON WIP CALL.


   12/03/20  Wheeler, Emma                                 1.10            654.50    015       60667085
       ATTEND WIP CALL.


   12/03/20  Choi, Erin Marie                              0.50            525.00    015       60920407
       ATTEND WIP CALL.


   12/03/20   Hong, Jeesun                                 0.40            372.00    015       60635478
       PARTICIPATE ON WIP CALL.


   12/03/20   Greene, Anthony L.                           1.00            980.00    015       60629004
       PARTICIPATE ON WIP CALL.


   12/03/20  Sierra, Tristan M.                            1.10            803.00    015       60725690
       ATTEND WIP CALL.


   12/04/20  Macke, Jonathan J.                            1.00          1,200.00    015       60918958
       CONFERENCE WITH WEIL RESTRUCTURING TEAM.


   12/04/20   Liou, Jessica                             2.70       3,172.50       015          60653432
       CONFER WITH C. CARLSON RE: OPEN ISSUES (0.5); CONFER WITH D. CROWLEY RE: STATUS UPDATE (.1);
       CONFER WITH TEAM RE: WIP (1.8); CONFER WITH C. CARLSON RE: NEXT STEPS, CONFER WITH A. PEREZ
       RE: UPDATE (.3).


   12/04/20  Barr, Matthew S.                     0.90         1,462.50       015       60651793
       CORRESPONDENCE WITH TEAM REGARDING OPEN ISSUES (.2); ALL HANDS CALL REGARDING SAME (.3);
       AND NEXT STEPS (.4).


   12/04/20   Greene, Anthony L.                           0.40            392.00    015       60635807
       FWE INTERNAL TEAM CALL.
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   12/06/20  Perez, Alfredo R.                    0.20                     300.00    015    60650578
       CONFERENCE CALL WITH WEIL TEAM REGARDING NEXT STEPS.


   12/06/20  Liou, Jessica                            0.30       352.50              015    60654291
       CONFER WITH M. BARR AND A. PEREZ RE: NEXT STEPS AND STRATEGY.


   12/06/20  Barr, Matthew S.                              0.50            812.50    015    60651903
       CATCH UP WITH TEAM REGARDING NEXT STEPS.


   12/07/20   Peca, Samuel C.                              0.70            787.50    015    60919102
       PARTICIPATE ON WIP CALL.


   12/07/20  Hufendick, Jason                       0.70        651.00        015           60704551
       ATTEND AND PARTICIPATE ON WIP WITH CLIENT AND WEIL RESTRUCTURING TEAM.


   12/07/20  Carlson, Clifford W.                   0.50                   525.00    015    60666691
       REVIEW NDAS AND EMAILS WITH J. LIOU REGARDING SAME.


   12/08/20   Marcus, Courtney S.                          0.50            687.50    015    60920096
       PARTICIPATE ON WEIL WIP MEETING.


   12/08/20   Rahman, Faiza N.                             0.50            587.50    015    60920105
       PARTICIPATE ON WIP CALL.


   12/08/20   Liou, Jessica                                0.70            822.50    015    60673493
       PARTICIPATE ON WIP CALL WITH TEAM.


   12/08/20   Peca, Samuel C.                              0.50            562.50    015    60923365
       PARTICIPATE ON WIP CALL.


   12/08/20     Conley, Brendan C.                         0.50            525.00    015    60923370
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        PARTICIPATE ON WIP CALL.


   12/08/20  Bonhamgregory, Veronica Gayle             0.50      490.00              015    60669452
       INTERNAL WIP CALL (.3); CALL RE: TRANSACTION STEPS MEMORANDUM (.2).


   12/08/20  Hufendick, Jason                              0.70            651.00    015    60704564
       ATTEND WEIL INTERNAL WIP MEETING.


   12/08/20   Carlson, Clifford W.                 1.30          1,365.00        015        60707640
       PARTICIPATE ON COORDINATION CALL WITH ADVISORS (.5); PARTICIPATE ON WIP CALL (.8).


   12/08/20   George, Jason                                0.80            584.00    015    60923431
       PARTICIPATE ON WIP CALL.


   12/08/20  Martin, Robert Crawford              0.70       707.00       015               60673285
       CONFERENCE WITH INTERNAL WEIL TEAM REGARDING CURRENT STATUS OF WORKSTREAM.


   12/08/20  Wheeler, Emma                                 0.70            416.50    015    60667137
       ATTEND WIP CALL.


   12/08/20   Hong, Jeesun                                 0.50            465.00    015    60924726
       PARTICIPATE ON WIP CALL.


   12/08/20  James, Hillarie                      0.50        422.50       015              60725442
       TELEPHONE CONFERENCE WITH WEIL TEAM AND CLIENT REGARDING CASE STRATEGY.


   12/08/20  Marzocca, Anthony P.                          0.80            744.00    015    60667955
       CALL RE: WIP.


   12/08/20  Greene, Anthony L.                            0.70            686.00    015    60664912
       INTERNAL TEAM WIP MEETING.
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   12/08/20  Sierra, Tristan M.                            0.60            438.00    015    60726034
       ATTEND WIP CALL.


   12/09/20   Perez, Alfredo R.                  0.50         750.00       015         60685640
       ALL-HANDS CALL WITH MANAGEMENT AND THE ADVISORS IN PREPARATION FOR THE CALL WITH
       THE FLTL ADVISORS.


   12/09/20   Marcus, Courtney S.                          0.30            412.50    015    60925088
       PARTICIPATE ON WEEKLY ADVISOR CALL.


   12/09/20   Carlson, Clifford W.                    0.80        840.00        015       60716231
       PARTICIPATE ON WEEKLY ADVISORS CALL (.3); PARTICIPATE ON ALL HANDS CALL WITH COMPANY
       AND ADVISORS (.5).


   12/09/20   George, Jason                                0.50            365.00    015    60694651
       PARTICIPATE ON ALL-HANDS CALL.


   12/09/20   Greene, Anthony L.                           0.50            490.00    015    60925191
       PARTICIPATE ON FWE ALL HANDS CALL.


   12/10/20  Perez, Alfredo R.                             0.90          1,350.00    015    60692326
       WEIL WIP MEETING.


   12/10/20   Marcus, Courtney S.                          0.50            687.50    015    60925216
       PARTICIPATE ON WEIL WEEKLY WIP CALL.


   12/10/20   Moore, Rodney L.                             1.20          1,710.00    015    60925224
       PARTICIPATE ON WEIL WIP CALL.


   12/10/20   Rahman, Faiza N.                             0.40            470.00    015    60691427
       PARTICIPATE ON WIP UPDATE CALL.
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   12/10/20   Liou, Jessica                            1.40       1,645.00       015         60692296
       PARTICIPATE ON WIP CALL (1.3); CONFER WITH HL AND ALIX PARTNERS RE: UPDATES AND
       WORKSTREAMS (.1).


   12/10/20  Peca, Samuel C.                                0.60            675.00    015    60924686
       WIP CALL (PARTIAL ATTENDANCE).


   12/10/20  Barr, Matthew S.                             1.60     2,600.00       015       60691770
       ATTEND TO OPEN ISSUE (.7); AND NEXT STEPS (.8); CORRESPONDENCE WITH TEAM REGARDING SAME
       (.1).


   12/10/20   Margolis, Steven M.                   0.90       1,012.50          015         60689016
       WEIL TEAM CALL ON DEAL STATUS AND ISSUES AND REVIEW WIP FOR SAME (0.6); REVIEW
       RESTRUCTURING STEPS MEMORANDUM (0.3).


   12/10/20   Swenson, Robert M.                            0.30            330.00    015    60691267
       PARTICIPATE ON WIP CALL.


   12/10/20  Bonhamgregory, Veronica Gayle                  0.40            392.00    015    60691042
       ATTEND WIP CALL.


   12/10/20  Hufendick, Jason                               1.30          1,209.00    015    60704601
       ATTEND WIP CALL.


   12/10/20   Carlson, Clifford W.                    2.50         2,625.00    015        60716663
       PARTICIPATE ON COORDINATION CALL (.2); PARTICIPATE ON CALL WITH COMPANY AND HOULIHAN
       REGARDING COST ESTIMATES (1.0); PARTICIPATE ON WIP CALL (1.3).


   12/10/20   George, Jason                                 1.30            949.00    015    60694645
       PARTICIPATE ON WIP CALL.


   12/10/20     Wheeler, Emma                               0.60            357.00    015    60694660
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        ATTEND WIP CALL.


   12/10/20   Hong, Jeesun                                 0.30            279.00    015    60925205
       PARTICIPATE ON WIP CALL.


   12/10/20  Tahiliani, Radhika                            0.40            372.00    015    60690769
       ATTEND WIP CALL.


   12/10/20  James, Hillarie                      1.30      1,098.50                 015    60713873
       TELEPHONE CONFERENCE WITH WEIL TEAM REGARDING CASE STRATEGY.


   12/10/20   Greene, Anthony L.                           1.10          1,078.00    015    60686882
       PARTICIPATE ON FWE TEAM CALL.


   12/10/20  Sierra, Tristan M.                            1.30            949.00    015    60726488
       ATTEND WIP CALL.


   12/11/20   Carlson, Clifford W.                  0.50                   525.00    015    60716854
       PARTICIPATE ON CALL WITH PREDECESSOR'S COUNSEL.


   12/11/20  Marzocca, Anthony P.                          1.30          1,209.00    015    60869240
       CALL RE WIP.


   12/14/20  Barr, Matthew S.                        0.70      1,137.50              015    60716526
       REVIEW ISSUES (.5); CORRESPONDENCE WITH TEAM REGARDING NEXT STEPS (.2).


   12/15/20  Perez, Alfredo R.                    0.70      1,050.00        015         60725867
       CONFERENCE CALL WITH WEIL TEAM REGARDING STATUS AND NEXT STEPS RELATING TO THE PLAN.


   12/15/20     Liou, Jessica                              1.30          1,527.50    015    60726406
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        CONSIDER OPEN ISSUES AND STRATEGY (.3); CONFER WITH M. BARR, A. PEREZ, C. CARLSON RE: SAME
        (1.0).


   12/16/20    Perez, Alfredo R.                0.50        750.00          015       60734379
       WEEKLY ALL-HANDS CALL WITH MANAGEMENT AND THE ADVISORS (.4); TELEPHONE CONFERENCE
       WITH J. LIOU REGARDING STATUS (.1).


   12/16/20   Marcus, Courtney S.                          1.20          1,650.00    015      60927098
       PARTICIPATE ON WEEKLY ADVISORS CALL.


   12/16/20  Rahman, Faiza N.                              0.50            587.50    015      60734685
       PARTIAL ATTENDANCE AT ALL-HANDS CALL.


   12/16/20  Liou, Jessica                            1.80       2,115.00        015         60736616
       CONFER WITH HL AND ALIX PARTNERS RE: OPEN WORKSTREAMS, STATUS AND NEXT STEPS (.5);
       CONFER WITH M. DANE, T. LAMME, ALIX PARTNERS, HL TEAM RE: NEXT STEPS AND STRATEGY (.8);
       REVIEW AND RESPOND TO EMAILS (.5).


   12/16/20   Conley, Brendan C.                           0.90            945.00    015      60726820
       PARTICIPATE ON STATUS CALL.


   12/16/20  Hufendick, Jason                     0.60                     558.00    015      60836996
       ATTEND ADVISORS CALL WITH HOULIHAN TEAM AND CLIENT.


   12/16/20   George, Jason                                0.50            365.00    015      60746242
       PARTICIPATE ON ALL HANDS CALL.


   12/16/20  Wheeler, Emma                                 0.50            297.50    015      60758952
       ATTEND ALL HANDS CALL.


   12/16/20     Greene, Anthony L.                         0.40            392.00    015      60927102
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        PARTICIPATE ON ALL-HANDS CALL.


   12/17/20   Rahman, Faiza N.                               0.50            587.50    015    60927104
       PARTICIPATE ON GROUP CALL RE: WIP.


   12/17/20   Liou, Jessica                           2.50        2,937.50       015          60743607
       PARTICIPATE ON FIELDWOOD WIP CALL (2.1); CONFER WITH C. CARLSON RE: NEXT STEPS (.4).


   12/17/20   Peca, Samuel C.                                0.50            562.50    015    60739065
       PARTICIPATE ON WIP CALL.


   12/17/20   Swenson, Robert M.                             0.50            550.00    015    60746798
       PARTICIPATE ON WIP CALL.


   12/17/20   Conley, Brendan C.                             0.30            315.00    015    60927108
       PARTICIPATE ON WIP CALL.


   12/17/20   Bonhamgregory, Veronica Gayle                  0.50            490.00    015    60780116
       PARTICIPATE ON WIP CALL.


   12/17/20   Carlson, Clifford W.                           1.00          1,050.00    015    60927110
       PARTICIPATE ON WIP CALL.


   12/17/20   George, Jason                                  1.00            730.00    015    60756507
       PARTICIPATE ON WIP CALL.


   12/17/20  Wheeler, Emma                                   1.00            595.00    015    60758951
       ATTEND WIP CALL.


   12/17/20   Hong, Jeesun                                   0.50            465.00    015    60927111
       PARTICIPATE ON WIP CALL.
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   12/17/20  James, Hillarie                      1.10       929.50                  015    60758794
       TELEPHONE CONFERENCE WITH WEIL TEAM REGARDING CASE STRATEGY.


   12/17/20  Marzocca, Anthony P.                      1.90        1,767.00          015    60868952
       CALL RE: WIP (1.1); CALL WITH WEIL AND DPW TEAMS RE: OPEN ISSUES (0.8).


   12/17/20  Sierra, Tristan M.                        1.50      1,095.00            015    60743199
       ATTEND WIP CALL (.8); ATTEND CALL WITH DIP CREDITOR'S COUNSEL (.7).


   12/19/20  Perez, Alfredo R.                       0.80      1,200.00        015          60753240
       CONFERENCE CALL WITH J. LIOU AND C. CARLSON REGARDING OPEN ISSUES ON PLAN AND
       TREATMENT.


   12/19/20  Liou, Jessica                            0.60       705.00       015        60780934
       CONFER WITH A. PEREZ AND C. CARLSON RE: LLOG, VALUATION, WORKSTREAMS AND NEXT STEPS.


   12/19/20   Carlson, Clifford W.                     1.00      1,050.00     015           60757832
       PARTICIPATE ON CALL WITH J. LIOU AND A. PERZ REGARDING VARIOUS WORKTREAMS.


   12/21/20  Liou, Jessica                          2.20      2,585.00         015       60798763
       CONFER WITH ALIX PARTNERS AND HL RE: OPEN WORKSTREAMS, NEXT STEPS AND STRATEGY (.5);
       CONFER WITH M. DANE AND T. LAMME RE: CHAPTER 11 WORKSTREAMS (1.0); CONFER WITH C.
       CARLSON RE: NEXT STEPS AND OPEN WORKSTREAMS (.7).


   12/22/20  Goldring, Stuart J.                           0.50            847.50    015    60934037
       INTERNAL WEIL UPDATE CALL.


   12/22/20  Perez, Alfredo R.                    0.50       750.00        015              60781766
       CONFERENCE CALL WITH WEIL TEAM REGARDING CHANGES TO THE PROPOSED PLAN.


   12/22/20     Rahman, Faiza N.                           0.30            352.50    015    60934232
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        PARTICIPATE ON WIP CALL (PARTIAL).


   12/22/20     Liou, Jessica                           4.60         5,405.00        015        60798485
       PARTICIPATE ON WIP CALL (1.0); CONFER WITH D. CROWLEY RE: OPEN ISSUES AND STATUS (.5); CONFER
       WITH HL AND ALIX PARTNERS RE: NEXT STEPS (.8); REVIEW AND RESPOND TO EMAILS RE: OPEN ISSUES
       (.3); CONFER WITH M. BARR RE: STATUS AND OPEN ISSUES (1.2); CONFER WITH S. MILLMAN RE:
       QUESTIONS (.3); EMAIL WITH CLIENT RE: STATUS UPDATE (.2); REVIEW AND RESPOND TO EMAILS FROM
       M. DANE, AND C. MARCUS RE: NEXT STEPS (.3).


   12/22/20   Peca, Samuel C.                              0.40            450.00    015          60934430
       PARTICIPATE ON WIP CALL.


   12/22/20  Barr, Matthew S.                         2.40         3,900.00         015           60783776
       CALL WITH TEAM REGARDING OPEN ISSUES (.6); REVIEW ISSUES (.8); REVIEW FILING ISSUES (.8); AND
       CORRESPONDENCE REGARDING SAME (.2).


   12/22/20     Margolis, Steven M.                      1.60    1,800.00   015        60781839
       WORKING GROUP CALL AND REVIEW WIP DOCUMENTATION FOR SAME (0.8); WORKING GROUP CALL
       (0.5); CASE UPDATE CALL (0.3); NPC-FRG STATUS CALL (0.5).


   12/22/20   Swenson, Robert M.                   0.40       440.00       015                    60934432
       PARTICIPATE ON WIP CALL REGARDING UPCOMING DEADLINES AND WORK STREAMS.


   12/22/20   Conley, Brendan C.                           0.50            525.00    015          60778496
       PARTICIPATE ON WIP CALL.


   12/22/20  Bonhamgregory, Veronica Gayle            1.30               1,274.00    015          60780128
       WIP CALL (.4); CALL TO DISCUSS POTENTIAL COUNTERS (.9).


   12/22/20   Abraham, Melissa S.                          0.50            505.00    015          60934843
       PARTICIPATE ON WIP CALL.
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   12/22/20  Hufendick, Jason                              0.80            744.00    015      60836940
       ATTEND WEIL INTERNAL WIP MEETING.


   12/22/20   Carlson, Clifford W.                     2.10       2,205.00         015        60838749
       PARTICIPATE ON WIP CALL (.8); PARTICIPATE ON CALL WITH CORPORATE TEAM (.8); PARTICIPATE ON
       ALL HANDS CALL (.5).


   12/22/20   George, Jason                                0.80            584.00    015      60934860
       PARTICIPATE ON WIP CALL.


   12/22/20  Wheeler, Emma                                 0.80            476.00    015      60793771
       ATTEND WIP CALL.


   12/22/20   Hong, Jeesun                                 0.40            372.00    015      60934967
       PARTICIPATE ON WIP CALL.


   12/22/20  Marzocca, Anthony P.                          0.90            837.00    015      60869036
       CALL RE WIP.


   12/22/20   Greene, Anthony L.                           0.90            882.00    015      60934987
       PARTICIPATE ON TEAM WIP CALL.


   12/22/20  Sierra, Tristan M.                            0.80            584.00    015      60807634
       ATTEND WIP CALL.


   12/23/20   Rahman, Faiza N.                             1.00          1,175.00    015      60800802
       PARTICIPATE ON ALL HANDS CALL.


   12/23/20  Liou, Jessica                           2.50      2,937.50              015      60798631
       CONFER WITH ALIX PARTNERS, HL RE: NEXT STEPS AND STRATEGY.
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   12/23/20  Conley, Brendan C.                            0.40            420.00    015    60789881
       PREPARE FOR AND PARTICIPATE ON WIP CALL.


   12/23/20   Carlson, Clifford W.                         1.00          1,050.00    015    60839877
       PARTICIPATE ON ALL HANDS CALL.


   12/23/20   George, Jason                                1.00            730.00    015    60795419
       PARTICIPATE ON ALL HANDS CALL WITH CLIENT.


   12/23/20  Wheeler, Emma                           1.30        773.50              015    60793743
       ATTEND WEEKLY ADVISORS CALL (.3); ATTEND ALL HANDS CALL (1.0).


   12/23/20   Marzocca, Anthony P.                  1.30       1,209.00         015        60868977
       CALL WITH WEIL AND ADVISORS RE CASE STATUS AND UPDATES (1.0); CALL WITH ALL ADVISORS RE
       SAME (0.3).


   12/23/20   Greene, Anthony L.                           1.00            980.00    015    60935160
       PARTICIPATE ON ALL-HANDS TEAM CALL.


   12/24/20   Marcus, Courtney S.                          0.40            550.00    015    60841950
       PARTICIPATE ON WEIL WIP CALL.


   12/24/20   Rahman, Faiza N.                             0.30            352.50    015    60935230
       PARTICIPATE ON WIP CALL.


   12/24/20  Liou, Jessica                              1.30       1,527.50          015    60838711
       CONFER WITH C. CARLSON RE: NEXT STEPS (.5); PARTICIPATE ON WIP CALL (.8).


   12/24/20   Peca, Samuel C.                              0.30            337.50    015    60935380
       PARTICIPATE ON WIP CALL.
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   12/24/20  Barr, Matthew S.                              0.80          1,300.00    015    60935377
       CATCH UP WITH TEAM.


   12/24/20   Margolis, Steven M.                     0.60      675.00               015    60795511
       PARTICIPATE ON WORKING GROUP CALL (0.4); REVIEW WIP MEMORANDUM (0.2).


   12/24/20  Conley, Brendan C.                            0.30            315.00    015    60799590
       PREPARE FOR AND PARTICIPATE ON WIP CALL.


   12/24/20   Abraham, Melissa S.                      0.50                505.00    015    60800464
       PARTICIPATE ON WIP CALL (.4); CORRESPONDENCE (.1).


   12/24/20  Hufendick, Jason                              0.80            744.00    015    60836952
       ATTEND WEIL WIP MEETING.


   12/24/20   Carlson, Clifford W.                   1.70         1,785.00       015        60839638
       PARTICIPATE ON CALL WITH WEIL AND DAVIS POLK TEAMS (.5); PARTICIPATE ON CALL WITH
       COMPANY AND LENDERS AND ADVISORS (.5); PARTICIPATE ON WIP CALL (.7).


   12/24/20   George, Jason                                0.80            584.00    015    60934572
       PARTICIPATE ON WIP CALL.


   12/24/20   Wheeler, Emma                                0.80            476.00    015    60796695
       PARTICIPATE ON WIP CALL.


   12/24/20  Tahiliani, Radhika                        0.60                558.00    015    60807146
       ATTEND WIP CALL (0.4), DISCUSS SAME WITH S. MARGOLIS (0.2).


   12/24/20  James, Hillarie                      0.80       676.00                  015    60806896
       TELEPHONE CONFERENCE WITH WEIL TEAM REGARDING CASE STRATEGY.
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   12/24/20  Marzocca, Anthony P.                          0.80            744.00    015    60868969
       CALL RE WIP.


   12/24/20  Sierra, Tristan M.                            0.80            584.00    015    60807667
       ATTEND WIP CALL.


   12/26/20  Perez, Alfredo R.                    0.70       1,050.00        015       60799177
       CONFERENCE CALL WITH WEIL TEAM REGARDING OPEN ISSUES RELATING TO PLAN AND EXCLUSIVITY.


   12/26/20  Wheeler, Emma                         0.70         416.50       015            60796692
       INTERNAL CALL WITH WEIL RESTRUCTURING TEAM RE: PLAN, DISCLOSURE STATEMENT, AND
       EXCLUSIVITY OBJECTIONS REPLY.


   12/28/20  Perez, Alfredo R.                     0.40        600.00        015        60807364
       TELEPHONE CONFERENCE WITH M. DANE REGARDING OPEN ISSUES RELATING TO THE PLAN AND
       VARIOUS JOINT INTEREST PARTIES AND VENDORS.


   12/28/20  Bonhamgregory, Veronica Gayle        0.20       196.00                  015    60807671
       CORRESPONDENCE RE: QUESTIONS FROM RESTRUCTURING TEAM.


   12/28/20  Hufendick, Jason                      1.30                  1,209.00    015    60836892
       CALL WITH M. DANE AND T. LAMME REGARDING OPEN ISSUES.


   12/28/20   Greene, Anthony L.                           0.90            882.00    015    60935022
       PARTICIPATE ON ADVISORS CALL.


   12/29/20  Perez, Alfredo R.                      0.10        150.00               015    60814706
       TELEPHONE CONFERENCE WITH M. BARR AND J. LIOU REGARDING STATUS.


   12/29/20   Marcus, Courtney S.                          0.30            412.50    015    60935137
       PARTICIPATE ON WEIL WIP CALL.
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   12/29/20  Moore, Rodney L.                                0.40            570.00    015         60935140
       CALL WITH WEIL TEAM REGARDING WIP.


   12/29/20   Rahman, Faiza N.                               0.20            235.00    015         60935143
       PARTICIPATE ON GROUP WIP CALL.


   12/29/20     Liou, Jessica                              6.40       7,520.00          015        60838709
       CONFER WITH HL AND ALIX PARTNERS RE: STATUS UPDATE (1.0); CONFER WITH M. BARR AND A.
       PEREZ (PARTIAL) RE: OPEN ISSUES (.5); CONFER WITH A. PEREZ, M. BARR, C. CARLSON RE: OPEN ISSUES
       (.5); CONFER WITH M. DANE, T. LAMME, HL, WEIL, J. LACHANCE RE: OPEN ISSUES (.8); CATCH UP CALL
       WITH J. LACHANCE, M. DANE, T. LAMME, WEIL, HOULIHAN (.6); CALL WITH PRINCIPALS RE: NEXT STEPS
       AND FILING (1.0); CONFER WITH N. TSIOURIS (.5); CONFER WITH JP HANSON (.3); CONFER WITH HL, T.
       LAMME, M. DANE, J. LACHANCE RE: NEXT STEPS (.8); PARTICIPATE ON WIP CALL (.4).


   12/29/20   Peca, Samuel C.                         0.40        450.00               015         60935172
       PARTICIPATE ON WIP CALL (0.2); CORRESPONDENCE RE: CAST STATUS (0.2).


   12/29/20   Barr, Matthew S.                          5.50      8,937.50          015        60816003
       REVIEW ISSUES REGARDING NEXT STEPS (.7); ATTEND TO NEXT STEPS (.5); PARTICIPATE ON ALL HANDS
       CALL REGARDING SAME (.9); CALL WITH TEAM REGARDING SAME (.2); REVIEW FILINGS (1.2);
       PARTICIPATE ON ALL HANDS CALL WITH CLIENT (.8); PARTICIPATE ON ALL HANDS CALL WITH
       CLIENTS AND LENDERS (.6); AND FOLLOW UP (.4); CORRESPONDENCE WITH STAKEHOLDERS (.2).


   12/29/20  Margolis, Steven M.                             0.40            450.00    015         60814363
       REVIEW WIP LIST AND WEIL TEAM UPDATE CALL.


   12/29/20   Conley, Brendan C.                       0.70                  735.00    015         60809496
       PARTICIPATE ON WIP CALL (.4); REVIEW ORRI INQUIRY (.3).


   12/29/20   Bonhamgregory, Veronica Gayle                  0.30            294.00    015         60816488
       PARTICIPATE ON WIP CALL.


   12/29/20     Abraham, Melissa S.                          0.30            303.00    015         60815211
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        PARTICIPATE ON WIP CALL.


   12/29/20  Hufendick, Jason                              0.50            465.00     015          60837339
       ATTEND WIP MEETING.


   12/29/20   Carlson, Clifford W.                      4.10        4,305.00          015          60841868
       PARTICIPATE ON COORDINATION CALL WITH HOULIHAN AND ALIX PARTNERS TEAMS (0.5);
       PARTICIPATE ON ADVISORS PRE-CALL (0.5); PARTICIPATE ON CALL WITH COMPANY AND LENDERS AND
       THEIR ADVISORS (.8); PARTICIPATE ON CALL WITH M. BARR, J. LIOU, AND A PEREZ (.5); PARTICIPATE ON
       CALL WITH ADVISORS (.8); PREPARE FOR AND PARTICIPATE ON WIP CALL (1.0).


   12/29/20   George, Jason                                0.50            365.00     015          60825454
       PARTICIPATE ON WIP CALL.


   12/29/20  Wheeler, Emma                                 0.50            297.50     015          60815394
       CALL RE: WIP.


   12/29/20   Choi, Erin Marie                             0.20            210.00     015          60816088
       PARTICIPATE ON WIP CALL.


   12/29/20  Marzocca, Anthony P.                       1.10       1,023.00           015          60868934
       CALL RE: WIP (.6); CALL WITH ALL ADVISORS RE: CASE STATUS AND UPDATES (.5).


   12/29/20  Sierra, Tristan M.                            0.50            365.00     015          60839892
       ATTEND WIP CALL.


   12/30/20   Perez, Alfredo R.                 0.20        300.00        015        60820757
       WEEKLY CONFERENCE CALL WITH MANAGEMENT AND ADVISORS IN PREPARATION FOR CALL WITH
       THE FLTL ADVISORS.


   12/30/20     Barr, Matthew S.                           1.10          1,787.50     015          60935665
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        PARTICIPATE ON ALL HANDS CALL (.8); AND FOLLOW UP WITH TEAM (.3).


   12/30/20   Conley, Brendan C.                           0.30            315.00    015    60817927
       PARTICIPATE ON STATUS CALL.


   12/30/20  Bonhamgregory, Veronica Gayle                 0.30            294.00    015    60837268
       PARTICPATE ON WEEKLY ADVISORS CALL.


   12/30/20  Hufendick, Jason                      0.30       279.00                 015    60836900
       ATTEND ADVISORS ALL HANDS CALL WITH CLIENT AND HOULIHAN TEAMS.


   12/30/20   Carlson, Clifford W.                   1.40         1,470.00       015        60848030
       PARTICIPATE ON ALL HANDS CALL WITH ADVISORS (0.6); PARTICIPATE ON CALL WITH LENDERS'
       ADVISORS (.4); REVIEW AND CIRCULATE BOARD MINUTES (.4).


   12/30/20  Wheeler, Emma                                 0.40            238.00    015    60820625
       ATTEND ALL HANDS CALL.


   12/30/20  Marzocca, Anthony P.                          0.40            372.00    015    60868980
       CALL ALL HANDS RE CASE STATUS.


   12/30/20   Greene, Anthony L.                       0.90        882.00            015    60935801
       PARTICIPATE ON ALL-HANDS CALL (.5); PARTICIPATE ON ADVISORS CALL (.4).


   12/31/20  Perez, Alfredo R.                     0.50                    750.00    015    60837215
       CONFERENCE CALL WITH WEIL TEAM REGARDING FILINGS.


   12/31/20   Marcus, Courtney S.                          0.40            550.00    015    60967616
       PARTICIPATE ON WEIL WIP CALL.


   12/31/20     Rahman, Faiza N.                           0.30            352.50    015    60825078
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        PARTICIPATE ON WIP CALL.


   12/31/20    Liou, Jessica                             2.80     3,290.00       015         60841383
       CONFER WITH M. BOYADJIAN, J. PAINTER, J. LACHANCE RE: STATUS UPDATE AND OTHER ISSUES (1.8);
       CONFER WITH JP HANSON RE: BLOWOUT (.3); CONFER WITH C. CARLSON RE: NEXT STEPS AND OPEN
       ISSUES (.5); EMAILS WITH M. BARR RE: STATUS (.2).


   12/31/20   Margolis, Steven M.                     0.50            562.50           015    60824594
       PARTICIPATE ON WEIL TEAM CALL (0.3) AND REVIEW WIP LIST (0.2).


   12/31/20  Conley, Brendan C.                              0.30            315.00    015    60820911
       PREPARE FOR AND PARTICIPATE ON WIP.


   12/31/20   Bonhamgregory, Veronica Gayle                  0.20            196.00    015    60837221
       PARTICIPATE ON WIP CALL.


   12/31/20   Carlson, Clifford W.                  1.00         1,050.00        015          60848451
       PARTICIPATE ON FIELDWOOD FILING PREPARATION CALL (.7); PARTICIPATE ON WIP CALL.


   12/31/20   George, Jason                                  0.60            438.00    015    60825478
       PARTICIPATE ON WIP CALL.


   12/31/20  Wheeler, Emma                                   0.60            357.00    015    60824374
       ATTEND WIP CALL.


   12/31/20  Choi, Erin Marie                                0.20            210.00    015    60969016
       WIP CALL.


   12/31/20  Marzocca, Anthony P.                            0.60            558.00    015    60868959
       CALL RE WIP.


   12/31/20     Greene, Anthony L.                           0.60            588.00    015    60967624
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        PARTICIPATE ON WIP CALL.


   12/31/20  Sierra, Tristan M.                              1.20            876.00    015    60839970
       ATTEND WIP CALL.


    SUBTOTAL TASK 015 - General Case Strategy              182.30       $196,157.50
    (Including Team and Client Calls):

   12/03/20  Sierra, Tristan M.                       2.00       1,460.00       016           60725678
       DRAFT WITNESS AND EXHIBIT LIST TO FILE IN PREPARATION FOR DECEMBER 8 HEARING.


   12/04/20  Olvera, Rene A.                       1.00          370.00        016            60886296
       PREPARE AND ELECTRONICALLY FILE WITNESS AND EXHIBIT LIST (INCLUDING EXHIBITS) FOR
       DECEMBER 8, 2020 HEARING.


   12/07/20     Sierra, Tristan M.                   3.50       2,555.00         016         60726110
       DRAFT AND FILE AGENDA FOR DECEMBER 8 FINAL HEARING ON EMERGENCY MOTION OF DEBTORS FOR
       ENTRY OF AN ORDER EXTENDING THE AUTOMATIC STAY TO CERTAIN CO-WORKING INTEREST OWNERS
       (1.3); DRAFT AMENDED JOINT STIPULATION AND ORDER RELATING TO SAME INCORPORATING
       COMMENTS (1.5); ATTEND HEARING PREPARATION MEETING WITH CLIENT (.2); FINALIZE AND FILE
       WITNESS AND EXHIBIT LIST FOR DECEMBER 8 HEARING (.5).


   12/14/20  Carlson, Clifford W.                 0.90        945.00      016        60758608
       ATTEND HEARING ON COMMITTEE'S MOTION REGARDING DISCLOSURE REQUIREMENTS AND EMAIL
       UPDATE TO CLIENT REGARDING SAME.


    SUBTOTAL TASK 016 - Hearings and Court                   7.40         $5,330.00
    Matters:

   12/02/20 Kronman, Ariel                            0.60        750.00        017         60615149
       CONDUCT DOCUMENT REVIEW (0.3); CONF. WITH C. CARLSON RE: EXIT AND HEDGE MATTERS (0.3).


   12/08/20     Kronman, Ariel                               0.20            250.00    017    60667432
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        REVIEW TRANSACTION STEPS MEMO (0.1); EMAIL RE: SAME (0.1).


   12/09/20  Kronman, Ariel                                 0.10            125.00    017    60678584
       REVIEW EMAILS RE: TRANSACTION STEPS.


   12/14/20  Kronman, Ariel                        0.30        375.00                 017    60706260
       REVIEW EMAIL, DOCUMENT AND CALL RE: TRANSFER OF HEDGES.


   12/14/20  Edwards, Laura Elaine                   0.40        404.00          017         60707498
       CALL WITH C. CARLSON RE: FIELDWOOD CHAPTER 11 PLAN AND ISDAS (0.3); REVIEW J. ARON,
       MACQUARIE, MORGAN STANLEY AND SHELL ISDAS RE: HEDGING PROVISIONS (0.1).


   12/15/20   Edwards, Laura Elaine                  1.00        1,010.00       017       60707537
       EMAIL CHAPTER 11 PLAN-RELATED PROVISIONS IN ISDAS TO C. CARLSON AND A. KRONMAN FOR
       REVIEW.


   12/21/20 Kronman, Ariel                                  0.10            125.00    017    60759553
       DOCUMENT AND EMAIL REVIEW.


   12/22/20 Kronman, Ariel                                  0.20            250.00    017    60784036
       DOCUMENT AND EMAIL REVIEW RE: HEDGES.


   12/24/20  Kronman, Ariel                                 0.40            500.00    017    60800355
       REVIEW UPDATED PLAN DISCLOSURE.


    SUBTOTAL TASK 017 - Hedges and Related                  3.30         $3,789.00
    Matters:

   12/01/20   Sierra, Tristan M.                     4.80         3,504.00     018       60724101
       RESEARCH VARIOUS ISSUES RELATING TO SURETIES (2.4); DRAFT ASSOCIATED MEMORANDUM RE:
       SAME (2.4).
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   12/02/20  Perez, Alfredo R.                     0.10       150.00                 018     60628949
       VARIOUS COMMUNICATIONS WITH HOULIHAN AND J. LIOU REGARDING RLI.


   12/02/20  Liou, Jessica                          0.20        235.00       018        60630148
       REVIEW AND RESPOND TO EMAILS RE: DISCOVERY AND DILIGENCE REQUESTS FROM M. HANEY.


   12/02/20  Carlson, Clifford W.                 0.40                     420.00    018     60655446
       EMAILS REGARDING SURETY REQUESTS FOR INFORMATION.


   12/02/20   Sierra, Tristan M.                      7.90        5,767.00        018        60724090
       RESEARCH VARIOUS ISSUES RELATING TO SURETIES (1.7); DRAFT ASSOCIATED MEMORANDUM RE:
       SAME (2.1); REVIEW LANGUAGE OF SURETY BONDS (3.0); DRAFT LIST OF BONDS AND ASSOCIATED
       GENERAL INDEMNITY AGREEMENTS OUTSTANDING (1.1).


   12/03/20  Liou, Jessica                           0.50        587.50              018     60637646
       REVIEW AND RESPOND TO EMAILS RE: RLI DILIGENCE FROM M. HANEY.


   12/03/20  Carlson, Clifford W.                 0.30                     315.00    018     60655491
       EMAILS REGARDING SURETY DOCUMENT REQUESTS.


   12/03/20  Whitelaw, Alexander                  4.60                   3,358.00    018     60969013
       REVIEW DOCUMENTS TO BE PRODUCED TO SURETY GROUP.


   12/03/20  Sierra, Tristan M.                     2.60      1,898.00               018     60725697
       REVIEW INDEMNITY AGREEMENTS (1.3); UPDATE BOND MATRIX RE: SAME (1.3).


   12/03/20   Jewett, Laura                            0.80         300.00       018       60634401
       DISCUSS UPCOMING DOCUMENT PRODUCTION WITH ATTORNEY AND RESEARCH PRIOR PRODUCTION
       DATA (0.4); HAVE DATA PROCESSED FOR REVIEW (0.1); QUALITY CHECK RECORDS LOADED INTO
       DATABASE AND RELEASE TO THE CASE TEAM FOR REVIEW (0.2); ADD USER TO THE DATABASE AND
       SEND LINK (0.1).
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   12/03/20  Mo, Suihua                                4.00       1,380.00      018         60651018
       PREPARE AND PROCESS DATA IN LAW (3.0); PREPARE, LOAD, AND QC PROCESSED DATA IN RELATIVITY
       DATABASE (1.0).


   12/04/20   Swenson, Robert M.                    1.90     2,090.00          018        60655463
       REVIEW AND ANALYZE DOCUMENTS TO BE PRODUCED TO SURETY ENTITY (1.1); CONFER WITH
       LITIGATION SUPPORT SPECIALISTS REGARDING DOCUMENT PRODUCTION (.3); FINALIZE AND PRODUCE
       DOCUMENTS (.5).


   12/04/20  Carlson, Clifford W.                  0.40                    420.00    018       60655787
       CALLS AND EMAILS REGARDING SURETY DILIGENCE REQUESTS.


   12/04/20   Sierra, Tristan M.                     6.60        4,818.00       018           60725672
       RESEARCH VARIOUS ISSUES RELATING TO ABANDONMENT (.5); REVIEW VARIOUS ISSUES RELATING TO
       ASSETS OF PARTICULAR SURETY (4.1) RESEARCH VARIOUS ISSUES RELATING TO SURETIES (.2); UPDATE
       DRAFT OF ASSOCIATED MEMORANDUM RE: SAME AND SEND TO C. CARLSON (1.8).


   12/04/20  Jewett, Laura                            1.70         637.50     018        60638619
       PREPARE DOCUMENTS FOR RLI PRODUCTION PER ATTORNEY REQUEST (1.1); QUALITY CHECK RECORDS
       AND RELEASE TO CASE TEAM (0.4); POST DATA TO CLOUDSHARE (0.2).


   12/06/20  Sierra, Tristan M.                     3.40      2,482.00               018       60726103
       REVIEW INDEMNITY AGREEMENTS (1.7); UPDATE BOND MATRIX RE: SAME (1.7).


   12/07/20   Carlson, Clifford W.                   0.50       525.00       018               60666756
       PARTICIPATE ON CALL WITH J. GEORGE REGARDING SURETY RELATED RESEARCH AND EMAILS
       REGARDING SAME.


   12/07/20   Sierra, Tristan M.                       3.00       2,190.00       018           60726119
       RESEARCH VARIOUS ISSUES RELATING TO SURETIES (.8); DRAFT ASSOCIATED MEMORANDUM RE:
       SAME (.9); DRAFT SLIDES FOR PRESENTATION TO CLIENT ON ISSUES RELATED TO SURETIES (1.3).


   12/08/20     Carlson, Clifford W.                       1.70          1,785.00    018       60707726
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        REVIEW AND REVISE PRESENTATION REGARDING SURETY RESEARCH (1.2); MULTIPLE CALLS AND
        EMAILS REGARDING SAME (.5).


   12/08/20     Sierra, Tristan M.                    6.00          4,380.00       018     60726141
       DRAFT SLIDES FOR PRESENTATION TO CLIENT ON ISSUES RELATED TO SURETIES (3.3); REVIEW
       RECENTLY RECEIVED GENERAL INDEMNITY AGREEMENTS (.2); DISCUSS BOND MATRIX WITH HOULIHAN
       (.3); RESEARCH VARIOUS ISSUES RELATING TO SURETIES (1.1); DRAFT ASSOCIATED MEMORANDUM RE:
       SAME (1.1).


   12/09/20   Carlson, Clifford W.                   2.80       2,940.00        018         60716222
       PARTICIPATE ON CALL WITH J. GEORGE REGARDING SURETY RESEARCH (.6); PARTICIPATE ON CALL
       WITH DAVIS POLK REGARDING SAME (.4); REVIEW AND REVISE PRESENTATION ON SURETY RESEARCH
       (1.8).


   12/09/20  Sierra, Tristan M.                        7.70       5,621.00       018         60726519
       DRAFT SLIDES FOR PRESENTATION TO CLIENT ON ISSUES RELATED TO SURETIES (6.5). RESEARCH
       VARIOUS ISSUES RELATING TO SURETIES (.6); DRAFT ASSOCIATED MEMORANDUM RE: SAME (.6).


   12/10/20  Liou, Jessica                                 0.80            940.00    018     60692315
       REVIEW AND REVISE SURETY PRESENTATION.


   12/10/20   Carlson, Clifford W.                   3.70         3,885.00       018        60716636
       PARTICIPATE ON CALLS REGARDING SURETY ISSUES (1.3); REVISE PRESENTATION ON SURETY CLAIMS
       (2.4).


   12/10/20  George, Jason                                 0.30            219.00    018     60969164
       CALL WITH M. NAGELBERG RE: SURETY CLAIMS.


   12/10/20  Sierra, Tristan M.                     9.20       6,716.00          018       60726511
       DRAFT PRESENTATION FOR CLIENT ON ISSUES RELATED TO SURETIES (3.0); REVIEW LANGUAGE OF
       SURETY BONDS FOR PARTICULAR CLAUSES (6.2).


   12/11/20     Perez, Alfredo R.                          1.90          2,850.00    018     60700036
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        CONFERENCE CALL WITH MANAGEMENT AND WEIL REGARDING SURETY ISSUES (.5); REVIEW AND
        REVISE SLIDES ON SURETY ISSUES (.5); CONFERENCE CALL WITH FLTL ADVISORS REGARDING SURETY
        ISSUES (.6); TELEPHONE CONFERENCES WITH C. CARLSON REGARDING SLIDES (.3).


   12/11/20  Liou, Jessica                            2.50       2,937.50       018            60705106
       REVIEW SURETY PRESENTATION (.5); REVIEW AND REVISE SURETY PRESENTATION, SURETY
       PRESENTATION TO CLIENT (1.3); CONFER WITH DPW RE: SURETY ARGUMENTS (.7).


   12/11/20  Hufendick, Jason                              0.60            558.00    018       60925905
       ATTEND CALL WITH FWE SURETIES.


   12/11/20   Carlson, Clifford W.                      3.60      3,780.00          018        60716875
       REVIEW PRESENTATION ON SURETY RESEARCH (.3); PARTICIPATE ON CALL WITH CLIENT REGARDING
       SAME (0.8); CALLS WITH J. LIOU AND J. GEORGE REGARDING SAME (.7); PRESENT RESEARCH TO DAVIS
       POLK TEAM (.8); REVIEW PRESENTATION ON SURETY RESEARCH AND CONDUCT RELATED RESEARCH
       (1.0).


   12/11/20  Wheeler, Emma                                 0.60            357.00    018       60735902
       ATTEND SURETY CLAIMS PRESENTATION.


   12/11/20  Marzocca, Anthony P.                          0.80            744.00    018       60869203
       CALL RE SURETIES ISSUES.


   12/11/20     Sierra, Tristan M.                    4.40       3,212.00        018        60736211
       ATTEND CALL WITH COUNSEL FOR DIP LENDERS RE: SURETY BONDS (.6); ATTEND PRESENTATION WITH
       CLIENT RE: SURETY BONDS (.6); DRAFT PRESENTATION FOR CLIENT ON ISSUES RELATED TO SURETIES
       (2.0); UPDATE BOND MATRIX (1.2).


   12/14/20   Kleissler, Matthew Joseph              0.20        50.00        018          60769185
       ASSIST WITH PREPARATION OF MATERIALS RE: SURETIES TREATMENT MATERIAL FOR J. GEORGE.


   12/14/20     Pal, Himansu                               1.80            450.00    018       60793535
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        PREPARE SURETY RESEARCH MATERIALS FOR J. GEORGE.


   12/15/20  Sierra, Tristan M.                   0.20       146.00                  018    60726251
       REVIEW RECENTLY RECEIVED BONDS AND INDEMNITY AGREEMENTS.


   12/15/20   Kleissler, Matthew Joseph              3.30      825.00           018         60769219
       ASSIST WITH PREPARATION OF MATERIALS RE: SURETY TREATMENT CASES FOR J. LIOU.


   12/16/20  Sierra, Tristan M.                  0.80                      584.00    018    60743077
       REVIEW RECENTLY RECEIVED INDEMNITY AGREEMENTS.


   12/18/20  Sierra, Tristan M.                      2.50     1,825.00               018    60757878
       REVIEW BONDS (1.2); REVIEW GENERAL INDEMNITY AGREEMENTS (1.3).


   12/19/20  Liou, Jessica                          0.40        470.00       018            60781133
       CONFER WITH HOULIHAN AND C. CARLSON RE: DILIGENCE AND PRODUCTION REQUESTS FROM
       SURETIES.


   12/21/20     Swenson, Robert M.                      3.60       3,960.00      018        60778115
       REVIEW AND ANALYZE RULE 2004 REQUESTS FROM INSURANCE COMPANY AND CONFER WITH E. CHOI,
       C. CARLSON, AND R. MILLER REGARDING SAME (1.8); DRAFT AND SEND CORRESPONDENCE TO COUNSEL
       FOR SURETY GROUP REGARDING MEET AND CONFER ON RULE 2004 REQUESTS, AND PREPARE FOR SAME
       (0.5); CONFER WITH E. CHOI AND R. MILLER REGARDING PRIOR PRODUCTIONS TO SURETY GROUPS, NEXT
       STEPS IN DOCUMENT REVIEW PROTOCOL (0.6); DRAFT AND SEND CORRESPONDENCE REGARDING
       SURETY GROUP ACCESS TO THE SALES PROCESS DATA ROOM (0.7).


   12/21/20  Carlson, Clifford W.                  0.40          420.00        018       60837616
       MULTIPLE EMAILS WITH LITIGATION TEAM REGARDING SURETIES' REQUESTS FOR INFORMATION.


   12/21/20  Brogan, Aaron Joseph                          0.30            253.50    018    60820685
       DISCUSS SURETY PRODUCTION TASK WITH E. CHOI.
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   12/21/20  Choi, Erin Marie                              1.40          1,470.00    018    60763211
       REVIEW RULE 2004 REQUESTS.


   12/21/20  Miller, Ronald Lee                    0.60                    588.00    018    60768659
       CONFERENCE WITH LITIGATION TEAM REGARDING 12/21 RFPS.


   12/21/20   Sierra, Tristan M.                     4.60         3,358.00     018        60807619
       REVIEW BONDS (.5); REVIEW GENERAL INDEMNITY AGREEMENTS (.5); UPDATE SURETY SCHEDULE (1.0);
       RESEARCH VARIOUS ISSUES RELATING TO SURETIES (1.3); DRAFT ASSOCIATED MEMORANDUM RE:
       SAME (1.3).


   12/22/20  Perez, Alfredo R.                       0.60        900.00          018       60781748
       REVIEW RULE 2004 AND OBJECTIONS TO EXCLUSIVITY FROM THE SURETIES (.5); COMMUNICATIONS
       WITH M. DANE REGARDING FILINGS (.1).


   12/22/20  Swenson, Robert M.                     2.40        2,640.00       018       60790272
       CONFER WITH COUNSEL REGARDING RULE 2004 REQUESTS (0.8); CONFER WITH COMPANY REGARDING
       DOCUMENT COLLECTION (0.4); REVIEW AND PROCESS DOCUMENTS FOR REVIEW (1.2).


   12/22/20  Swenson, Robert M.                  0.90       990.00       018        60934433
       DRAFT AND SEND CORRESPONDENCE REGARDING MEET AND CONFER AND DOCUMENT REVIEW TO
       SURETY GROUP.


   12/22/20    Choi, Erin Marie                        1.10      1,155.00       018       60783795
       REVIEW RULE 2004 REQUESTS (0.3); PREPARE FOR AND ATTEND MEET AND CONFER WITH COUNSEL FOR
       USSIC (0.8).


   12/22/20  Miller, Ronald Lee                     1.90                 1,862.00    018    60784386
       PREPARE RULE 2004 SURETY DISCOVERY STRATEGY.


   12/22/20     Ting, Lara                                 1.60            600.00    018    60840310
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        ASSIST CASE TEAM WITH ACCESS TO CLIENT DOCUMENT REVIEW WORKSPACE (0.9); ADD ADDITIONAL
        CLIENT DATA TO REVIEW WORKSPACE IN PREPARATION FOR ATTORNEY REVIEW (0.7).


   12/22/20  Chavez, Miguel                                1.00        345.00           018     60800542
       DATA PROCESSING (0.2); DATA TIFF (0.1); DATA QC (0.2); DATA EXPORT (0.2); DATA LOAD TO
       RELATIVITY (0.3).


   12/23/20   Swenson, Robert M.                     1.50       1,650.00      018       60790863
       PARTICIPATE ON MEET AND CONFER WITH COUNSEL FOR SURETY GROUP REGARDING 2004 DISCOVERY
       REQUESTS AND PREPARE FOR SAME (0.7); DRAFT AND SEND CORRESPONDENCE MEMORIALIZING
       AGREEMENT TO PRODUCE DOCUMENTS RESPONSIVE TO RULE 2004 REQUESTS (0.8).


   12/23/20  Choi, Erin Marie                     1.80       1,890.00       018       60790344
       MEET AND CONFER WITH COUNSEL REGARDING RULE 2004 REQUESTS AND FOLLOW-UP REGARDING
       SAME.


   12/23/20  Miller, Ronald Lee                   1.20     1,176.00        018                  60793517
       CORRESPONDENCE RE: SURETY DISCOVERY AND DOCUMENT PRODUCTION ISSUES.


   12/23/20  Sierra, Tristan M.                       3.80       2,774.00       018          60807644
       CONDUCT RESEARCH RE: SECURITY RIGHTS (1.9); RESEARCH ISSUES RELATED TO ROYALTIES (1.8);
       DISCUSS BONDS AND GENERAL INDEMNITY AGREEMENTS WITH HOULIHAN LOKEY (.1).


   12/23/20   Morris, Sharron                      1.90        741.00          018         60803594
       EMAILS WITH TEAM REGARDING OBJECTIONS AND RESPONSES TO RFPS (.4); PREPARE DRAFT OF SAME
       (1.5).


   12/24/20  Moore, Rodney L.                    0.40                      570.00     018       60968794
       CALL WITH FIELDWOOD REGARDING D&O INSURANCE.


   12/24/20  Peca, Samuel C.                               0.30            337.50     018       60935381
       D&O INSURANCE CALL.
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   12/24/20  Delaney, Scott Michael                    0.60        630.00        018         60934568
       CONFERENCE WITH J. LIOU, R. MOORE AND S. PECA RE: D&O INSURANCE MATTERS (0.3); DRAFT D&O
       INSURANCE PROVISIONS TO CREDIT BID PSA (0.3).


   12/27/20  Choi, Erin Marie                       0.40       420.00        018       60798697
       REVIEW RESPONSES TO RULE 2004 REQUESTS AND CORRESPONDENCE WITH OPPOSING COUNSEL
       REGARDING SAME.


   12/28/20  Swenson, Robert M.                    2.20       2,420.00        018       60807384
       REVIEW AND ANALYZE DOCUMENTS RESPONSIVE TO RULE 2004 DISCOVERY REQUESTS AND PREPARE
       PRODUCTION OF DOCUMENTS REGARDING SAME (1.8); CONFER WITH E. CHOI REGARDING DOCUMENT
       DISCOVERY (0.4).


   12/28/20  Miller, Ronald Lee                    3.20                    3,136.00    018    60807230
       CONTINUE TO TEND TO SURETY RELATED DISCOVERY ISSUES.


   12/28/20  Fliman, Ariel                             0.80   808.00           018            60806208
       ANALYZE NOTICE TO INSURER ADDRESSING POLICY CANCELLATION (.4); REVISE D&O
       INDEMNIFICATION PROVISIONS IN CREDIT BID PSA (.4).


   12/28/20   Ting, Lara                            2.30        862.50          018        60840219
       ASSIST CASE TEAM RE: GATHER PREVIOUS PRODUCTION STATISTICS (.5); COORDINATE LOADING AND
       PROCESSING OF ADDITIONAL CLIENT DATA INTO PRODUCTION VOLUME FWE-USSIC (.8); QC SAME FOR
       TECHNICAL ACCURACY AND TRANSFER TO OPPOSING COUNSEL (1.0).


   12/28/20  Chavez, Miguel                       1.50        517.50       018                60816831
       PREPARE DOCUMENTS FOR PRODUCTION, BATES STAMPING AND ENDORSING IMAGES (1.0);
       SEARCHABLE PDF EXPORT OF PRODUCED DOCUMENTS (.5).


   12/29/20  Swenson, Robert M.                   0.70        770.00        018               60935177
       DRAFT AND REVISE DOCUMENT PRODUCTION RIDER FOR SURETY OBJECTION REPLY.


   12/29/20     Delaney, Scott Michael                       0.40            420.00    018    60935220
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        CORRESPONDENCE WITH R. MOORE AND S. PECA RE: D&O INSURANCE MATTERS.


   12/29/20  Marzocca, Anthony P.                  0.60                      558.00    018    60868954
       CORRESPONDENCE RE SURETY PRODUCTION ISSUES (0.6).


   12/29/20  Sierra, Tristan M.                        0.60                  438.00    018    60839928
       REVIEW BONDS (.2); UPDATE SURETY SCHEDULE (.4).


   12/30/20  Ting, Lara                             1.70        637.50        018        60840303
       COORDINATE LOADING OF ADDITIONAL CLIENT DATA TO REVIEW WORKSPACE AND PREPARE FOR
       PRODUCTION (.7); QC SAME FOR TECHNICAL ACCURACY AND TRANSFER TO OPPOSING COUNSEL (1.0).


   12/31/20  Ting, Lara                               2.00       750.00        018         60840378
       REVIEW CLIENT FILES FOR PRODUCTION AND COMMUNICATION WITH CASE TEAM RE: METADATA TO
       BE PRODUCED (.6); QC PRODUCTION FWE-SURETY-003 FOR TECHNICAL ACCURACY (1.2); TRANSFER
       SAME TO OPPOSING COUNSEL (.2).


   12/31/20  Bogota, Alejandro                     2.00       690.00           018       60839667
       PREPARE PRODUCTION THAT INCLUDES STAMPED IMAGES, DATA AND TEXT (1.0); PROCESS AND
       IMPORT DOCUMENTS FOR ATTORNEY REVIEW (1.0).


    SUBTOTAL TASK 018 - Insurance, Surety Bond, &          149.80       $117,089.00
    Letters of Credit Matters:

   12/02/20   James, Hillarie                     0.20        169.00       019        60666730
       CORRESPONDENCE WITH WEIL TEAM AND CLIENT REGARDING CIVIL ACTION REMOVAL DEADLINE
       ORDER.


   12/03/20  Whitelaw, Alexander                    0.30       219.00                  019    60647947
       CALL WITH R. SWENSON DISCUSSING FIELDWOOD LITIGATION WORKSTREAMS.


   12/28/20     Brogan, Aaron Joseph                         1.90          1,605.50    019    60820858
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        REVIEW CORRESPONDENCE AND UPDATED WORK PRODUCT WITH RESPECT TO LITIGATION DILIGENCE
        SLIDE DECK AND DISCUSS SAME WITH R. SWENSON.


   12/31/20  Choi, Erin Marie                      0.70        735.00          019            60824159
       CALL WITH R. SWENSON REGARDING LITIGATION WORK STREAMS (0.5); REVIEW DOCUMENT
       PRODUCTION (0.2).


    SUBTOTAL TASK 019 - Non-Bankruptcy                       3.10         $2,728.50
    Litigation:

   12/04/20  Liou, Jessica                                   0.30            352.50    021    60653655
       CALL RE: GOVERNMENTAL ASSESSMENTS.


   12/10/20  Goslin, Thomas D.                          1.10      1,210.00       021       60694376
       REVIEW INFORMATION RE: DEBTOR PLUGGING AND ABANDONING LIABILITIES (.4); PARTICIPATE ON
       CALL WITH J. GEORGE AND C. CARLSON RE: SAME (.6); CORRESPONDENCE RE: SAME (.1).


   12/11/20  Perez, Alfredo R.                     0.50                      750.00    021    60699907
       CONFERENCE CALL WITH HESS'S COUNSEL REGARDING STATUS.


   12/11/20  Brusser, Vadim M.                         0.70    770.00        021         60707338
       REVIEW CREDIT-BID TRANSACTION AND ANALYZE POTENTIAL HSR OR EX-US ANTITRUST FILINGS (0.4);
       CALL WITH S. PECA RE: ANTITRUST FILING ANALYSIS (0.3).


   12/14/20  Goslin, Thomas D.                   1.60       1,760.00       021       60715350
       REVIEW AND COMMENT ON ENVIRONMENTAL PROVISIONS IN PURCHASE AND SALE AGREEMENT.


   12/17/20  Peca, Samuel C.                                 0.30            337.50    021    60927106
       ATTENTION TO ANTI-TRUST MATTERS.


   12/17/20 Brusser, Vadim M.                    0.40        440.00          021              60746309
       ANALYZE POTENTIAL HSR EXEMPTION AND COMMUNICATE WITH S. PECA RE: SAME.
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   12/18/20  Goslin, Thomas D.                  0.20                           220.00    021    60782275
       CORRESPONDENCE RE: ENVIRONMENTAL AGREEMENTS.


   12/18/20   Brusser, Vadim M.                       0.60        660.00        021            60749106
       CALL WITH R. MOORE AND S. PECA RE: HSR AND EX-US ANTITRUST FILING ANALYSIS (0.3); CALL WITH
       DAVIS POLK RE: ANALYSIS AND COMMUNICATE RE: SAME (0.3).


    SUBTOTAL TASK 021 - Regulatory /                           5.70         $6,500.00
    Decommissioning / Environmental Matters:

   12/07/20  George, Jason                                     0.10             73.00    022    60677658
       EMAIL W. BECKER RE: OCP DECLARATION.


   12/08/20  George, Jason                          0.20                       146.00    022    60677602
       CORRESPONDENCE WITH J. CHIANG RE: OCP PROCEDURES.


   12/14/20   George, Jason                             0.90         657.00         022        60726644
       CALL WITH OCP RE: PREPETITION INVOICES (0.4); EMAIL TO R. SERGESKETTER RE: OCP RETENTION (0.1);
       REVIEW AND PREPARE OCP DECLARATIONS FOR FILING (0.3); EMAILS TO J. CHIANG RE: OCP INVOICING
       (0.1).


   12/15/20   George, Jason                            0.40         292.00         022          60726621
       CORRESPONDENCE WITH J. LIOU AND R. OLVERA RE: OCP DECLARATIONS (0.1); EMAIL R. SERGESKETTER
       RE: OCP DECLARATIONS (0.1); CALL WITH B, SERGESKETTER RE: OCP PAYMENTS (0.1); EMAIL J. CHIANG
       RE: SAME (0.1).


    SUBTOTAL TASK 022 - Retention / Fee                        1.60         $1,168.00
    Applications: OCPs:

   12/01/20  Carlson, Clifford W.                  0.60        630.00        023           60655412
       CALLS AND EMAILS WITH PROFESSIONALS REGARDING INTERIM FEE APPLICATIONS (.4); REVIEW
       ALIXPATNERS' INTERIM FEE APPLICATION (.2).
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   12/01/20   George, Jason                                0.90            657.00    023      60631146
       REVISE RYAN LLC RETENTION APPLICATION.


   12/01/20  James, Hillarie                         0.70         591.50          023         60661781
       REVIEW ALIX PARTNERS INTERIM FEE APPLICATION (0.5); COORDINATE FILING OF SAME (0.2).


   12/07/20   Carlson, Clifford W.                 0.70        735.00                023      60666749
       REVISE RYAN RETENTION APPLICATION AND RELATED MOTION TO SEAL.


   12/08/20  Carlson, Clifford W.                          0.20            210.00    023      60707696
       EMAILS REGARDING FEE APPLICATIONS.


   12/08/20   George, Jason                           1.20        876.00             023      60677660
       REVISE RYAN LLC RETENTION APPLICATION (0.6) REVISE MOTION TO SEAL (0.6).


   12/09/20  Carlson, Clifford W.                          0.10            105.00    023      60716235
       EMAILS REGARDING FEE ISSUES.


   12/10/20  Liou, Jessica                       0.70        822.50           023         60692313
       REVIEW AND COMMENT ON DRAFT RYAN RETENTION APPLICATION (.4); CONFER WITH J. GEORGE RE:
       COMMENTS TO SAME (.3).


   12/10/20  Carlson, Clifford W.                  0.30                    315.00    023      60716697
       EMAILS REGARDING RYAN RETENTION APPLICATION.


   12/10/20     George, Jason                            0.60         438.00      023        60694674
       CORRESPONDENCE TO J. LIOU RE: RYAN LLC RETENTION APPLICATION (0.2); CALL WITH J. BLOOM RE:
       RYAN LLC RETENTION APPLICATION (0.1); CALL WITH H. JOBE RE: RYAN LLC RETENTION APPLICATION
       (0.1); CALL WITH J. LIOU RE: RYAN N LLC RETENTION APPLICATION (0.2).


   12/10/20     James, Hillarie                            0.20            169.00    023      60713889
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        CORRESPONDENCE WITH NOTICE PARTIES REGARDING ALIX PARTNERS FEE STATEMENT.


   12/11/20  Liou, Jessica                         0.50                    587.50    023    60705237
       REVIEW CONFIRMATION ISSUES, RYAN RETENTION APPLICATION.


   12/11/20  Carlson, Clifford W.                  0.30        315.00                023    60716890
       EMAILS AND CALL WITH J. GEORGE REGARDING RYAN RETENTION APPLICATION.


   12/11/20  George, Jason                                 0.30            219.00    023    60694686
       CALL WITH H. JOBE RE: RYAN LLC RETENTION.


   12/11/20  Wheeler, Emma                            0.30        178.50       023          60694672
       CALL WITH H. JAMES TO DISCUSS DRAFT INTERIM FEE APPLICATION FOR HOULIHAN (.2); DRAFT
       HOULIHAN INTERIM FEE APPLICATION (.1).


   12/11/20  James, Hillarie                     1.00        845.00                  023    60712502
       CORRESPONDENCE WITH WEIL TEAM REGARDING HOULIHAN FEE APPLICATION.


   12/11/20  Pal, Himansu                          0.50       125.00                 023    60766928
       PREPARE PROFESSIONAL'S PROPOSED RETENTION ORDER TEMPLATE FOR D. LITZ.


   12/12/20   Wheeler, Emma                                4.40          2,618.00    023    60695828
       DRAFT INTERIM FEE APPLICATION FOR HOULIHAN.


   12/12/20  James, Hillarie                               0.50            422.50    023    60712504
       REVIEW HOULIHAN DRAFT FEE APPLICATION.


   12/13/20  Liou, Jessica                         1.40        1,645.00         023        60705142
       REVIEW AND COMMENT ON DRAFT MOTION TO SEAL FOR RYAN RETENTION APPLICATION (.6); REVIEW
       AND COMMENT ON RYAN RETENTION APPLICATION (.7); EMAIL WITH J. GEORGE RE: SAME (.1).


   12/14/20     Carlson, Clifford W.                       0.30            315.00    023    60758709
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        EMAILS REGARDING INTERIM FEE APPLICATIONS.


   12/14/20  George, Jason                           1.90          1,387.00       023            60726638
       CALL WITH C. CARLSON RE: RETENTION APPLICATION (.3); REVISE MOTION TO SEAL (1.6).


   12/14/20   Wheeler, Emma                            0.70       416.50       023        60735922
       REVISE HOULIHAN INTERIM FEE APPLICATION (.3); DRAFT CORRESPONDENCE WITH HOULIHAN RE:
       INTERIM FEE APPLICATION (.4).


   12/14/20   James, Hillarie                              0.40            338.00    023         60758707
       REVISE HOULIHAN FEE APPLICATION.


   12/15/20   George, Jason                            1.60       1,168.00           023         60726653
       REVISE MOTION TO SEAL (.3); REVISE RYAN LLC RETENTION APPLICATION (1.3).


   12/15/20  Lee, Kathleen Anne                     1.10         478.50              023         60722828
       RESEARCH MOTIONS TO FILE FEE APPLICATIONS UNDER SEAL FOR J. GEORGE.


   12/16/20  Carlson, Clifford W.                  0.30        315.00                023         60758316
       CALL WITH J.GEORGE REGARDING RYAN'S RETENTION APPLICATION.


   12/16/20   George, Jason                                0.10             73.00    023         60746308
       EMAIL J. LIOU RE: RYAN RETENTION APPLICATION.


   12/16/20  James, Hillarie                               1.10            929.50    023         60768653
       REVIEW HOULIHAN FEE APPLICATION ISSUES.


   12/17/20   George, Jason                              1.10          803.00       023          60756103
       REVISE RYAN RETENTION APPLICATION (0.2); EMAIL J. LIOU AND C. CARLSON RE: SAME (0.2); CALL
       WITH C. CARLSON RE: SAME (0.2); CALL WITH H. JOBE RE: SAME (0.3); CORRESPONDENCE WITH M. BARR
       AND A. PEREZ RE: SAME (0.2).
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   12/17/20  James, Hillarie                               0.30            253.50    023          60758836
       DRAFT CNO FOR ALIX PARTNERS FEE STATEMENT.


   12/18/20   Liou, Jessica                            1.80       2,115.00        023       60781197
       CONFER WITH J. GEORGE RE: RYAN RETENTION APPLICATION, CONFER WITH C. CARLSON RE: SAME (0.5);
       REVIEW AND COMMENT ON RYAN RETENTION APPLICATION AND MOTION TO SEAL (.8); EMAILS WITH
       C. CARLSON RE: NEXT STEPS; EMAILS WITH J. HUFENDICK RE: SAME; REVIEW AND REVISE RYAN
       RETENTION APPLICATION AND MOTION TO SEAL (.5).


   12/18/20  Carlson, Clifford W.                   1.00        1,050.00         023       60758260
       CALL WITH J. LIOU REGARDING RYAN RETENTION APPLICATION (.2); REVIEW AND REVISE RYAN
       RETENTION APPLICATION AND MULTIPLE CALLS AND EMAILS REGARDING SAME (.8).


   12/18/20   George, Jason                             3.30        2,409.00        023          60756515
       EMAIL J. BLOOM RE: RYAN RETENTION APPLICATION (0.1); CALL WITH J. LIOU RE: RETENTION
       APPLICATION (0.2); REVISE RETENTION APPLICATION AND MOTION TO SEAL (2.1); CALLS WITH C.
       CARLSON RE: RETENTION APPLICATION (0.6); EMAIL J. LIOU RE: RETENTION APPLICATION (0.1); EMAIL
       M. DANE RE: RETENTION APPLICATION (0.1); EMAIL H. JOBE RE: RETENTION APPLICATION (0.1).


   12/19/20  Perez, Alfredo R.                      0.40        600.00               023          60753178
       CONFERENCE CALL WITH J. LIOU REGARDING HOULIHAN FEE APPLICATION.


   12/19/20  Liou, Jessica                               1.30       1,527.50         023          60781239
       REVIEW INTERIM FEE ORDER (0.2); CONFER WITH M. HANEY RE: QUESTIONS RE: INTERIM FEE
       APPLICATION (0.5); CONFER WITH A. PEREZ RE: INTERIM FEE APPLICATION ISSUES (0.4); EMAIL TO
       HOULIHAN RE: SAME (0.2).


   12/19/20   George, Jason                           0.10                  73.00    023          60756095
       EMAIL J. LIOU RE: RYAN LLC RETENTION APPLICATION.


   12/21/20   George, Jason                           0.10                  73.00    023          60762037
       EMAIL F. HULL RE: RYAN LLC RETENTION APPLICATION.
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   12/22/20  Wheeler, Emma                                 0.30            178.50    023     60793740
       REVIEW HOULIHAN'S INTERIM FEE APPLICATION.


   12/22/20  James, Hillarie                               0.50            422.50    023     60807142
       REVIEW HOULIHAN INTERIM FEE APPLICATION.


   12/24/20  Perez, Alfredo R.                      0.10         150.00              023     60798948
       REVIEW CNO'S RELATING TO ALIX PARTNERS RETENTION AND §365(D)(4).


   12/24/20  Liou, Jessica                           0.30           352.50       023        60838736
       EMAILS WITH J. GEORGE RE: RYAN RETENTION APPLICATION (.1); REVIEW AND REVISE DRAFT CNO’S
       FOR LEASE EXTENSION AND ALIX PARTNERS FIRST INTERIM FEE APPLICATION (.2).


   12/24/20  Carlson, Clifford W.                          0.30            315.00    023     60839749
       MULTIPLE EMAILS RE: RETENTION APPLICATION.


   12/24/20    George, Jason                          0.30       219.00        023          60795431
       CORRESPONDENCE WITH J. LIOU AND C. CARLSON RE: RYAN RETENTION APPLICATION (0.2); EMAIL TO
       H. JOBE AND F. HULL RE: RYAN RETENTION APPLICATION (0.1).


   12/24/20     Fabsik, Paul                         0.60          234.00        023         60794604
       PREPARE AND FILE CERTIFICATE OF NO OBJECTION TO FIRST INTERIM FEE APPLICATION OF ALIX
       PARTNERS, LLP, FINANCIAL ADVISOR TO THE DEBTORS FOR ALLOWANCE OF COMPENSATION FOR
       SERVICES RENDERED AND FOR REIMBURSEMENT OF EXPENSES INCURRED DURING THE PERIOD AUGUST
       3, 2020 THROUGH OCTOBER 31, 2020.


   12/26/20   George, Jason                            0.20        146.00            023     60796140
       REVISE RYAN RETENTION APPLICATION (0.1); EMAIL C. CARLSON RE: SAME (0.1).


   12/28/20  Carlson, Clifford W.                  0.30        315.00                023     60840832
       MULTIPLE EMALIS REGARDING RYAN'S RETENTION APPLICATION.
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   12/28/20   George, Jason                          0.20           146.00         023        60825476
       EMAIL TO F. HULL RE: RYAN RETENTION APPLICATION (0.1); EMAIL TO S. STATHAM AND H. DURAN RE:
       RYAN RETENTION APPLICATION (0.1).


   12/29/20  Liou, Jessica                                 0.10            117.50    023      60838790
       REVIEW HOULIHAN FEE APPLICATION.


   12/29/20  Carlson, Clifford W.                   0.30       315.00                023      60841837
       REVIEW HOULIHAN'S FEE APPLICATION AND EMAILS REGARDING SAME.


   12/29/20   George, Jason                            0.10                 73.00    023      60825439
       EMAIL F. HULL AND H. JOBE RE: RETENTION APPLICATION.


   12/30/20  Perez, Alfredo R.                   0.20        300.00        023       60820666
       REVIEW RYAN RETENTION APPLICATION AND COMMUNICATIONS WITH WEIL TEAM REGARDING
       SAME.


   12/30/20   Carlson, Clifford W.                  0.20       210.00                023      60847958
       FINALIZE RYAN RETENTION APPLICATION AND EMAILS REGARDING SAME.


   12/30/20   George, Jason                             1.50       1,095.00         023      60825465
       EMAIL F. HULL RE: RYAN RETENTION APPLICATION (0.1); PREPARE RYAN LLC RETENTION APPLICATION
       AND MOTION TO SEAL FOR FILING (1.2); EMAIL M. DANE AND F. HULL RE: RYAN LLC RETENTION
       APPLICATION (0.1); EMAIL TO S. STATHAM RE: RYAN RETENTION APPLICATION (0.1).


   12/30/20  Jalomo, Chris                           1.30        377.00         023         60823782
       PREPARE AND ELECTRONICALLY FILE (I) RYAN LLC RETENTION APPLICATION AND (II) MOTION TO SEAL
       RYAN LLC RETENTION APPLICATION.


   12/31/20  Liou, Jessica                        1.00         1,175.00       023         60841355
       REVIEW AND COMMENT ON HOULIHAN FEE APPLICATION (.8); EMAIL WITH HOULIHAN RE: INTERIM FEE
       APPLICATION (.2).
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    SUBTOTAL TASK 023 - Retention / Fee                        40.10        $32,970.00
    Applications: Non-Weil Professionals:

   12/01/20  James, Hillarie                      2.80       2,366.00          024         60661684
       CORRESPONDENCE WITH WEIL TEAM REGARDING INTERIM FEE APPLICATION (0.3); REVISE INTERIM FEE
       APPLICATION (2.5).


   12/02/20   Liou, Jessica                        1.10         1,292.50      024        60630114
       REVIEW WEIL MONTHLY FEE STATEMENT FOR PRIVILEGE (.5); REVIEW MONTHLY FEE STATEMENT FOR
       PRIVILEGE (.6).


   12/02/20   James, Hillarie                                   0.50            422.50    024    60666692
       REVISE WEIL FEE APPLICATION.


   12/02/20  Marzocca, Anthony P.                               0.90            837.00    024    60869315
       REVIEW MONTHLY FEE STATEMENT.


   12/03/20  Liou, Jessica                            1.40      1,645.00          024          60637644
       CONFER WITH E. CHOI RE: WEIL MONTHLY FEE APPLICATION, EMAIL A. PEREZ RE: SAME (1.3); REVIEW
       AND FURTHER REVIEW WEIL MONTHLY FEE STATEMENT FOR PRIVILEGE (.1).


   12/03/20  Marzocca, Anthony P.                  1.60                       1,488.00    024    60869313
       REVIEW MONTHLY FEE STATEMENT FOR PRIVILEGE.


   12/04/20  Olvera, Rene A.                       2.00        740.00       024                  60966977
       REVIEW AND REVISE OCTOBER FEE STATEMENT WITH FINALIZED HOURS AND AMOUNTS.


   12/06/20  Friedman, Julie T.                  0.10                            62.50    024    60659697
       REVIEW MONTHLY FEE STATEMENT AND COMMENT ON SAME.


   12/07/20     Liou, Jessica                                   0.40            470.00    024    60667954
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        REVIEW AND FINALIZE OCTOBER MONTHLY FEE STATEMENT.


   12/07/20  Marzocca, Anthony P.                          0.80            744.00    024    60662039
       REVIEW OCTOBER FEE STATEMENT.


   12/08/20   James, Hillarie                              0.50            422.50    024    60725429
       REVISE WEIL FEE APPLICATION.


   12/08/20  Marzocca, Anthony P.                 0.40                     372.00    024    60667848
       CORRESPONDENCE RE: OCTOBER MONTHLY FEE STATEMENT.


   12/10/20   James, Hillarie                         0.50        422.50       024          60713859
       REVISE FEE APPLICATION (.4); CORRESPONDENCE WITH WEIL TEAM REGARDING SAME (0.1).


   12/10/20   Kleissler, Matthew Joseph               1.40        350.00             024    60691449
       ASSIST WITH PREPARATION OF MATERIALS RE: FIRST INTERIM FEE APPLICATION.


   12/11/20  Friedman, Julie T.                    1.20                    750.00    024    60720750
       REVIEW FEE APPLICATION AND COMMENT ON SAME.


   12/11/20   James, Hillarie                         0.50        422.50       024          60712395
       REVISE WEIL FEE APPLICATION (0.3); CORRESPONDENCE WITH WEIL TEAM REGARDING SAME (0.2).


   12/11/20   Kleissler, Matthew Joseph               0.80        200.00             024    60725253
       ASSIST WITH PREPARATION OF MATERIALS RE: FIRST INTERIM FEE APPLICATION.


   12/12/20  Liou, Jessica                         1.00       1,175.00               024    60705194
       REVIEW AND COMMENT ON DRAFT WEIL INTERIM FEE APPLICATION.


   12/12/20   James, Hillarie                              0.50            422.50    024    60712522
       REVISE WEIL FEE APPLICATION.
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   12/13/20   James, Hillarie                              1.40          1,183.00    024     60703719
       REVISE INTERIM FEE APPLICATION.


   12/14/20  Liou, Jessica                            2.20       2,585.00         024        60720777
       REVIEW AND FURTHER REVISE WEIL INTERIM FEE APPLICATION (.8); MULTIPLE EMAILS WITH J.
       FRIEDMAN AND H. JAMES RE: QUESTIONS RE: WEIL FEE APPLICATION (.3); REVIEW AND FURTHER
       COMMENT ON REVISIONS TO WEIL FEE APPLICATION (.7), AND CONFERS WITH C. CARLSON RE: SAME
       (.4).


   12/14/20  Barr, Matthew S.                              0.30            487.50    024     60925907
       REVIEW FEE APP.


   12/14/20  Friedman, Julie T.                            0.40            250.00    024     60706219
       REVIEW FEE APP AND EMAILS RE: SAME.


   12/14/20   James, Hillarie                           2.50     2,112.50       024        60758621
       REVISE WEIL INTERIM FEE APPLICATION (2.0); CORRESPONDENCE WITH WEIL AND CLIENT REGARDING
       SAME (0.5).


   12/15/20  Liou, Jessica                            0.20                 235.00    024     60726388
       REVIEW WEIL FIRST INTERIM FEE APPLICATION FOR FILING.


   12/15/20  James, Hillarie                               0.30            253.50    024     60925843
       COORDINATE FILING OF WEIL FEE APPLICATION.


   12/17/20  Friedman, Julie T.                    5.00       3,125.00               024     60736417
       REVIEW INVOICE FOR COMPLIANCE WITH US TRUSTEE GUIDELINES.


   12/22/20  Friedman, Julie T.                    0.40         250.00               024     60782256
       REVIEW INVOICE FOR COMPLIANCE WITH US TRUSTEE GUIDELINES.


   12/31/20     Liou, Jessica                              0.20            235.00    024     60841373
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        REVIEW AND COMMENT ON WEIL CNO.


   12/31/20  James, Hillarie                        0.60         507.00                 024    60968400
       DRAFT AND COORDINATE FILING OF CNO FOR WEIL FEE APPLICATION.


    SUBTOTAL TASK 024 - Retention / Fee                      31.90        $25,828.00
    Applications: Weil:

   12/01/20  James, Hillarie                        0.40        338.00        025         60661668
       CORRESPONDENCE WITH WEIL, ALIX PARTNERS, UCC, UST, AND DAVIS POLK REGARDING JIB AND
       VENDOR MATRIX.


   12/02/20  Carlson, Clifford W.                  0.20        210.00       025                60655563
       EMAILS WITH R.SWENSON AND OPPOSING COUNSEL REGARDING JIB/VENDOR DISPUTE.


   12/08/20  James, Hillarie                         0.40        338.00       025          60725434
       REVIEW JIB/VENDOR MATRIX (0.2); CORRESPONDENCE WITH UCC AND UST REGARDING SAME (0.2).


   12/15/20  James, Hillarie                        0.30        253.50      025                60925846
       CORRESPONDENCE WITH UST, UCC, AND DAVIS POLK REGARDING JIB/VENDOR MATRIX.


   12/22/20  James, Hillarie                      0.40        338.00       025                 60807246
       CORRESPONDENCE WITH WEIL AND ADVISOR TEAMS REGARDING JIB/VENDOR MATRIX.


   12/29/20  James, Hillarie                      0.30                        253.50    025    60968396
       CORRESPONDENCE REGARDING JIB/VENDOR MATRIX.


    SUBTOTAL TASK 025 - Royalty/JIB Matters:                  2.00         $1,731.00

   12/01/20  Liou, Jessica                        0.20                        235.00    026    60614997
       CONFER WITH STROOCK RE: MORTGAGE ANALYSIS.
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   12/02/20    Perez, Alfredo R.                   0.50        750.00        026        60628725
       CONFERENCE CALL WITH FLTL ADVISORS AND HOULIHAN, ALIX PARTNERS, AND WEIL ON PLAN
       ISSUES.


   12/02/20  Liou, Jessica                               0.60        705.00          026      60630142
       CONFER WITH DAVIS POLK, HL, WEIL, R/I RE: STATUS, NEXT STEPS AND TIMING.


   12/02/20  Hufendick, Jason                       0.60                   558.00    026      60648586
       ATTEND CALL WITH ADVISORS TO FLTL AND DIP LENDERS.


   12/02/20   George, Jason                                0.50            365.00    026      60631137
       PARTICIPATE ON WEEKLY ADVISORS CALL.


   12/04/20  Liou, Jessica                                 0.50            587.50    026      60653560
       CONFER WITH DPW RE: STATUS AND OPEN ITEMS.


   12/04/20  George, Jason                                 0.10             73.00    026      60641949
       CORRESPONDENCE WITH J. BLOOM RE: LIENS.


   12/06/20  Perez, Alfredo R.                   0.10         150.00                 026      60650430
       REVIEW LANGUAGE FROM M. PERA REGARDING CHANGES TO THE MILESTONES.


   12/06/20  Liou, Jessica                              1.10   1,292.50            026        60654191
       REVIEW AND RESPOND TO EMAILS FROM M. BARR AND A. PEREZ RE: 363 PIVOT (.3); REVIEW AND REVISE
       DRAFT EMAIL FROM C. CARLSON RE: 363 TOGGLE (.8).


   12/07/20  Liou, Jessica                            1.00       1,175.00      026            60667911
       CONFER WITH DPW RE: MILESTONE EXTENSIONS (.5); REVIEW FLTL COUNTERPROPOSAL (.5).


   12/08/20     Moore, Rodney L.                           4.00          5,700.00    026      61068853
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        TELEPHONE CONFERENCE CALL WITH WEIL TEAM REGARDING PSA ISSUES (.5); REVIEW PSA AND
        COMPILE ISSUES (3.5).


   12/08/20  Liou, Jessica                             1.30       1,527.50        026      60673503
       CONFER WITH HOULIHAN, M. DANE, T. LAMME, AND J. LACHANCE RE: FLTL COUNTERPROPOSAL (.5);
       CONFER WITH M. DANE, J. LACHANCE, T. LAMME, JP HANSON, D. CROWLEY RE: FLTL
       COUNTERPROPOSAL (.3); CONFER WITH HOULIHAN RE: JUNIOR CREDITOR PROPOSAL (.5).


   12/08/20  Liou, Jessica                           0.30                  352.50    026     60673575
       CONFER WITH S. MARGOLIS AND R. MOORE RE: CREDIT BID APA.


   12/08/20   Peca, Samuel C.                         6.20       6,975.00        026        60671296
       CALL REGARDING BENEFITS (0.3); REVIEW AND REVISE STEPS MEMO AND CALLS WITH WEIL
       RESTRUCTURING AND FINANCE REGARDING SAME (2.3); REVIEW DRAFT PSA (2.4); REVIEW PLAN RE:
       SAME (1.2).


   12/08/20   Carlson, Clifford W.                  0.30       315.00                026     60923412
       PARTICIPATE ON CALL REGARDING CREDIT BID PURCHASE AGREEMENT.


   12/08/20   Tahiliani, Radhika                     3.50        3,255.00     026           60756215
       CONFERENCE WITH WEIL INTERNAL (.7); REVIEW CREDIT BID PURCHASE AGREEMENT (1.8); DRAFT
       ISSUES LIST RE: SAME (1.0).


   12/09/20  Perez, Alfredo R.                    0.30                     450.00    026     60685598
       CONFERENCE CALL WITH FLTL ADVISORS REGARDING STATUS.


   12/09/20  Moore, Rodney L.                          4.20      5,985.00       026       61068856
       REVIEW PSA AND ISSUES LIST REGARDING SAME (3.7); REVIEW AND TELEPHONE CONFERENCE CALL
       REGARDING TRANSACTION STEPS MEMO (.5).


   12/09/20  Peca, Samuel C.                               6.30          7,087.50    026     61068859
       REVIEW DRAFT PSA AND PREPARE ISSUES LISTS.
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   12/09/20  Hufendick, Jason                      0.30        279.00                026    60704566
       ATTEND WEEKLY CALL WITH ADVISORS TO FLTL AND DIP LENDERS.


   12/09/20   George, Jason                           0.40        292.00         026        60694662
       PARTICIPATE ON WEEKLY ADVISORS CALL (.3); EMAIL M. DANE AND T. LAMME RE: FLTL
       PROFESSIONAL INVOICING (.1).


   12/09/20   Greene, Anthony L.                           0.40            392.00    026    60925192
       PARTICIPATE ON FWE ADVISORS CALL.


   12/10/20  Moore, Rodney L.                              1.50          2,137.50    026    61068863
       REVIEW PSA AND ISSUES LIST.


   12/10/20  Carlson, Clifford W.                  0.50       525.00                 026    60716677
       CALLS AND EMAILS REGARDING CREDIT BID PURCHASE AGREEMENT.


   12/10/20  Hosch, Patrick B.                             2.00          1,190.00    026    60688120
       PREPARE ISSUES LIST FOR R. MARTIN AND S. PECA.


   12/11/20  Moore, Rodney L.                         1.30       1,852.50      026          61068866
       REVIEW PSA ISSUES (.8); TELEPHONE CONFERENCE WITH WEIL TEAM REGARDING SAME (.5).


   12/11/20  Peca, Samuel C.                             4.30      4,837.50         026     61068869
       REVIEW AND REVISE PSA AND PSA ISSUES LIST (4.1); CALL WITH WEIL ANTITRUST (0.2).


   12/11/20  Carlson, Clifford W.                  1.40       1,470.00        026           60716852
       REVIEW AND REVISE CREDIT BID PURCHASE AGREEMENT AND DISCUSS WITH A. GREENE.


   12/11/20   George, Jason                            0.50       365.00         026       60694695
       CALL WITH C. CARLSON RE: LIEN SEARCHES (.3); CORRESPONDENCE WITH M. DANE AND T. LAMME RE:
       FLTL AND FLFO PROFESSIONAL INVOICES (.2).
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   12/11/20  Martin, Robert Crawford               1.20                  1,212.00      026         60703670
       REVIEW AND REVISE PURCHASE AGREEMENT ISSUES LIST.


   12/11/20  Greene, Anthony L.                         4.40             4,312.00      026         60700093
       REVIEW PSA (2.9); DRAFT TRANSACTION ISSUES LIST (1.5).


   12/12/20  Carlson, Clifford W.                  3.70      3,885.00          026          60707641
       REVIEW AND REVISE CREDIT BID PURCHASE AGREEMENT AND REVISE ISSUES LIST (3.2); CALLS AND
       EMAILS WITH A. GREENE REGARDING SAME (.5).


   12/12/20  Greene, Anthony L.                           3.20       3,136.00        026           60699851
       DISCUSS PSA WITH C. CARLSON (.4); REVIEW PSA (1.1); REVISE TRANSACTION ISSUES LIST (1.7).


   12/14/20  Moore, Rodney L.                              1.60          2,280.00      026         61068872
       REVIEW PSA AND ISSUES LIST REGARDING SAME.


   12/14/20  Liou, Jessica                                 0.30            352.50      026         60997315
       REVIEW CREDIT BID PSA OPEN ISSUES LIST.


   12/14/20  Peca, Samuel C.                               9.20         10,350.00      026         60711535
       REVIEW AND REVISE PSA.


   12/14/20  Wheeler, Emma                        5.60       3,332.00      026                     60735862
       DRAFT CHART COMPARING PSA CONDITIONS PRECEDENT AND TERMINATION RIGHTS.


   12/15/20  Moore, Rodney L.                           1.50             2,137.50      026         61068903
       REVIEW AND REVISE PSA ISSUES LIST (.6); REVIEW PSA.


   12/15/20  Peca, Samuel C.                               8.10          9,112.50      026         60720267
       REVIEW AND REVISE CREDIT BID PSA.
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   12/16/20  Perez, Alfredo R.                    0.60        900.00                    026    60734314
       CONFERENCE CALL WITH FLTL ADVISORS AND COMPANY'S ADVISORS.


   12/16/20  Moore, Rodney L.                     3.00      4,275.00                    026    61068906
       TELEPHONE CONFERENCE CALL WITH FIELDWOOD REGARDING PSA ISSUES LIST.


   12/16/20  Liou, Jessica                          3.20                    3,760.00    026    60927099
       CONFER WITH WEIL AND FW TEAM ON CREDIT BID APA.


   12/16/20   Peca, Samuel C.                             5.80       6,525.00      026         61068910
       REVISE PSA (2.6); PREPARE FOR CALL WITH FWE (0.2); CALL WITH FWE REGARDING PSA (3.0).


   12/16/20   Margolis, Steven M.                    3.60      4,050.00           026        60729237
       CONF. WITH CLIENT RE: REVIEW OF PURCHASE AGREEMENT AND ISSUES LIST (3.0); PREPARE FOR SAME
       (0.6).


   12/16/20  Hufendick, Jason                      1.10      1,023.00        026        60836982
       ATTEND UPDATE CALL WITH COUNSEL TO REQUIRED DIP LENDERS AND REQUISITE FLTL LENDERS.


   12/16/20   Carlson, Clifford W.                  1.20                    1,260.00    026    60758231
       PARTICIPATE ON CALL WITH FLTL LENDER ADVISORS.


   12/16/20   Delaney, Scott Michael                  7.00       7,350.00         026         60743128
       CONFERENCE WITH S. PECA RE: TRANSACTION BACKGROUND AND STATUS UPDATE (0.2); REVIEW AND
       REVISE CREDIT BID PSA AND CORRESPONDENCE WITH S. PECA RE: SAME (3.6); REVIEW CREDIT BID PSA
       ISSUES LIST (0.2); CONFERENCE WITH FIELDWOOD AND WEIL TEAMS RE: CREDIT BID PSA ISSUES LIST
       (3.0).


   12/16/20   George, Jason                        1.10                       803.00    026    60746252
       PARTICIPATE ON WEEKLY CALL WITH FLTL ADVISORS.


   12/16/20     Martin, Robert Crawford                       2.40          2,424.00    026    60756788
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        CONFERENCE WITH CLIENT REGARDING DRAFT PURCHASE AGREEMENT.


   12/16/20   Wheeler, Emma                            5.30       3,153.50       026         60758923
       RESEARCH PRECEDENT RE: PSA ISSUES (2.5); ATTEND CALL WITH DEBTOR RE: CREDIT BID PSA
       PROVISIONS (2.8).


   12/16/20  Wheeler, Emma                                 1.10            654.50    026     60758963
       ATTEND WEEKLY ADVISORS CALL.


   12/16/20   Greene, Anthony L.                           0.80            784.00    026     60927103
       PARTICIPATE ON ADVISORS CALL.


   12/16/20   Greene, Anthony L.                           3.00          2,940.00    026     61068414
       PARTICIPATE ON PSA CALL.


   12/17/20  Moore, Rodney L.                              2.00          2,850.00    026     61068914
       WORK ON PSA ISSUES.


   12/17/20  Liou, Jessica                         3.10      3,642.50         026         60743431
       REVIEW NDA AND RESPOND TO EMAILS RE: NDA AND BLOWOUT QUESTIONS FROM M. HANEY (.5); FLTL
       LENDERS OPERATIONAL UPDATE CALL WITH HOULIHAN, M. DANE AND T. LAMME (1.8); CONFER WITH
       DPW RE: CHAPTER 11 PLAN OPEN ISSUES (.8).


   12/17/20   Peca, Samuel C.                              2.50          2,812.50    026     60927107
       REVISE PSA.


   12/17/20  Barr, Matthew S.                       1.00                 1,625.00    026     60927109
       ALL HANDS CALL WITH CLIENTS AND LENDERS (PARTIAL).


   12/17/20     Margolis, Steven M.                        4.60          5,175.00    026     60744213
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        REVIEW ISSUES ON PURCHASE AGREEMENT (0.6); PREPARE FOR WIP CALL RE: SAME AND ATTEND SAME
        (1.2); CORRESPONDENCE WITH DPW ON EMPLOYEE ISSUES (0.2); REVIEW AND REVISE PURCHASE
        AGREEMENT (2.6).


   12/17/20  Hufendick, Jason                       0.80        744.00        026        60836965
       CALL WITH COUNSEL TO REQUIRED DIP AND REQUISITE FLTL LENDERS REGARDING PLAN OPEN ITEMS.


   12/17/20   Carlson, Clifford W.                1.60       1,680.00                026     60758351
       PARTICIPATE ON CALL WITH MANAGEMENT AND FLTL LENDERS.


   12/17/20   Delaney, Scott Michael                  3.40       3,570.00         026        60743672
       REVIEW AND REVISE CREDIT BID PSA RE: REPRESENTATIONS AND WARRANTIES (1.3); PREPARE
       TEMPLATE FOR CREDIT BIG PSA EXHIBITS AND DISCLOSURE SCHEDULES (1.5); CORRESPONDENCE WITH
       WEIL TEAM RE: HSR MATTERS, STRUCTURE ISSUES (0.3); CONFERENCE WITH S. PECA RE: SCHEDULES,
       STATUS UPDATE (0.1); CORRESPONDENCE WITH FIELDWOOD TEAM RE: SCHEDULE TEMPLATE (0.1);
       CORRESPONDENCE WITH M. TIPPETT RE: TAX ALLOCATION PRECEDENT (0.1).


   12/18/20   Moore, Rodney L.                       4.70     6,697.50       026          60757030
       TELEPHONE CONFERENCE CALLWITH WEIL TEAM REGARDING STRUCTURE AND §1145 ISSUES (.5);
       TELEPHONE CONFERENCE CALL REGARDING BENEFITS MATTERS (.4); TELEPHONE CONFERENCE CALL
       REGARDING HSR MATTERS (.4); TELEPHONE CONFERENCE CALL WITH DPW REGARDING CREDIT BID
       PSA/PROVIDE COMMENTS TO CREDIT BID PSA (3.4).


   12/18/20  Rahman, Faiza N.                       3.10     3,642.50        026          60756631
       INTERNAL CALL WITH CORPORATE AND RESTRUCTURING TEAM RE: CREDIT BID STRUCTURE (0.5);
       REVIEW RELATED DOCUMENTATION AND RESEARCH RE: §1145 ANALYSIS RELATED THERETO (2.0);
       CALL WITH F. ADAMS RE: §1145 ANALYSIS (0.6).


   12/18/20  Liou, Jessica                          0.40         470.00       026        60781186
       REVIEW FURTHER REVISED COMMITTEE CHALLENGE EXTENSION STIPULATION (.2); REVIEW AND
       RESPOND TO EMAILS RE: MILESTONE EXTENSIONS, AND EMAIL TO V&E (.2).


   12/18/20     Peca, Samuel C.                            6.00          6,750.00    026     60746714
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        CALL REGARDING SECURITIES LAWS MATTERS (0.5); CALL REGARDING BENEFITS MATTERS (0.3); CALL
        REGARDING HSR MATTERS (0.3); CALL WITH DPW REGARDING PSA (1.2); REVIEW BENEFITS COMMENTS
        TO PSA (0.2); REVISE PSA (3.5).


   12/18/20   Margolis, Steven M.                     4.10     4,612.50          026       60752854
       DRAFT ISSUES LIST ON EMPLOYEE ISSUES AND TREATMENT IN ASSET PURCHASE AGREEMENT (0.6);
       CORRESPONDENCE WITH WEIL TEAM ON SAME (0.2); CORRESPONDENCE WITH DAVIS POLK ON
       EMPLOYEE ISSUES (0.4); REVIEW AND REVISE PURCHASE AGREEMENT (2.2); CORRESPONDENCE WITH R.
       TAHILIANI ON SAME (0.7).


   12/18/20   Carlson, Clifford W.                 1.60      1,680.00            026       60758268
       PARTICIPATE ON CALL WITH LENDER ADVISORS REGARDING CREDIT BID PSA (1.3); CALL AND EMAILS
       WITH M&A TEAM REGARDING SAME (.3).


   12/18/20   Delaney, Scott Michael                    6.30      6,615.00        026           60757204
       CONFERENCE WITH R. MOORE, S. PECA, J. LIOU AND F. RAHMAN RE: STRUCTURE ISSUES (0.5);
       CORRESPONDENCE WITH WEIL SPECIALISTS RE: COMMENTS TO CREDIT BID PSA (0.5); CONFERENCE
       WITH WEIL AND DAVIS POLK TEAMS RE: EMPLOYEE AND BENEFITS ISSUES (0.3); REVIEW
       ORGANIZATIONAL DOCUMENTS AND STRUCTURE CHART (0.3); CONFERENCE WITH R. MOORE, S. PECA
       AND V. BRUSSER RE: HSR MATTERS (0.3); CONFERENCE WITH WEIL AND DAVIS POLK TEAMS RE: CREDIT
       BID PSA ISSUES LIST (1.2); REVIEW EMPLOYEE BENEFITS COMMENTS TO CREDIT BID PSA (0.2); REVIEW
       AND REVISE CREDIT BID PSA (3.0).


   12/18/20   George, Jason                          0.20          146.00           026         61068995
       CORRESPONDENCE WITH R. MARTIN RE: CREDIT BID TERMS (0.1); EMAIL J. LIOU RE: CREDIT BID TERMS
       (0.1).


   12/18/20  Wheeler, Emma                             6.90       4,105.50      026         60758943
       RESEARCH PRECEDENT RE: APAS (5.4); CORRESPOND WITH PARALEGAL TEAM RE: PSA (.3); ATTEND
       CALL WITH FLTL ADVISORS TO DISCUSS ISSUES LIST FOR CREDIT BID PSA (1.2).


   12/20/20     George, Jason                              0.20            146.00    026        61069001
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        CORRESPONDENCE WITH R. MARTIN RE: CREDIT BID PURCHASE TERMS (0.1); EMAIL J. LIOU RE: CREDIT
        BID PURCHASE TERMS (0.1).


   12/20/20  Greene, Anthony L.                            0.60            588.00    026       61068417
       REVIEW PSA MATERIALS.


   12/21/20  Perez, Alfredo R.                    0.40          600.00               026       61068420
       CONFERENCE CALL WITH WEIL TEAM REGARDING CREDIT BID APA.


   12/21/20     Moore, Rodney L.                     7.40      10,545.00       026         60766998
       TELEPHONE CONFERENCE CALL WITH WEIL TEAM REGARDING PSA ISSUES (.4); REVIEW AND REVISE PSA
       (6.3); TELEPHONE CONFERENCE CALL WITH FW REGARDING PSA EXHIBITS AND SCHEDULES (.7).


   12/21/20   Liou, Jessica                             1.90       2,232.50         026        60798611
       CONFER WITH T. LAMME, M. DANE, A. PEREZ, C. CARLSON, B. SWINGLE RE: CREDIT BID APA ASSUMED
       LIABILITIES (1.4); CONFER WITH WEIL TEAM AND FIELDWOOD TEAM RE: SCHEDULES AND EXHIBITS TO
       CREDIT BID APA (.5).


   12/21/20  Peca, Samuel C.                          2.30        2,587.50     026         60761701
       REVIEW PSA AND EXHIBITS/SCHEDULES (1.1); CALL WITH FWE REGARDING SCHEDULES/EXHIBITS (0.7);
       REVIEW EMAIL (0.4); CALL WITH R. MOORE REGARDING STATUS (0.1).


   12/21/20   Margolis, Steven M.                     1.20    1,350.00       026          60766997
       VARIOUS CONF. AND CORRESPONDENCE WITH A. KAMINSKY ON EMPLOYEE ISSUES (0.4);
       CORRESPONDENCE ON BENEFIT PLANS AND EMPLOYEE LIABILITIES AND REVIEW SAME (0.5); REVIEW
       FIRST DAY WAGE ORDER ON BENEFIT PLAN ISSUES (0.3).


   12/21/20     Delaney, Scott Michael                 3.30      3,465.00        026           60799885
       CONFERENCE WITH FIELDWOOD AND WEIL TEAMS RE: EXHIBITS AND SCHEDULES TO CREDIT BID PSA
       (0.6); REVIEW AND REVISE CREDIT BID PSA AND CORRESPONDENCE WITH S. PECA RE: SAME (2.4);
       CORRESPONDENCE WITH WEIL SPECIALISTS RE: CREDIT BID PSA (0.3).


   12/22/20     Moore, Rodney L.                           3.60          5,130.00    026       60784385
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        CONFERENCE CALL WITH WEIL TEAM REGARDING STRUCTURE AND SECURITIES LAW ISSUES (.4);
        REVIEW AND REVISE PSA (2.2); REVIEW STRUCTURE AND COMMENTS IN CONNECTION WITH NEW
        PROPOSED CREDIT BID STRUCTURE (1.0).


   12/22/20  Liou, Jessica                                   0.20            235.00    026    60798684
       CONFER WITH A. STEINBERG RE: SALE PROCESS.


   12/22/20  Hufendick, Jason                      0.70                      651.00    026    60836984
       ATTEND CALL WITH DPW RE: PLAN STRUCTURE CHANGES.


   12/22/20  Moore, Preston Kirk                 1.80                      1,674.00    026    60784555
       RESEARCH DELAWARE STATUTES AND PROVIDE ANALYSIS.


   12/22/20     Delaney, Scott Michael                    2.60      2,730.00       026        60799582
       REVIEW COMMENTS TO CREDIT BID PSA FROM WEIL SPECIALISTS AND CORRESPONDENCE RE: SAME
       (0.8); FURTHER REVISE CREDIT BID PSA (1.6); CORRESPONDENCE RE: PURCHASE PRICE ALLOCATION (0.2).


   12/22/20   Hosch, Patrick B.                              3.00          1,785.00    026    60781148
       REVISE CREDIT BID PSA.


   12/23/20  Moore, Rodney L.                                1.30          1,852.50    026    61069019
       REVIEW PSA.


   12/23/20  Peca, Samuel C.                                 5.70          6,412.50    026    60790868
       REVIEW EXHIBITS (0.4); REVISE PSA (5.3).


   12/23/20  Hufendick, Jason                                0.30            279.00    026    60836959
       ADVISOR CALL WITH DPW.


   12/23/20   Carlson, Clifford W.                     0.70        735.00        026        60935042
       PARTICIPATE ON WITH LENDERS' ADVISORS (.4); EMAIL AND CALL WITH FLFO LENDER'S COUNSEL (.3).
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   12/23/20  Delaney, Scott Michael                          1.20          1,260.00    026    60799473
       REVIEW AND REVISE CREDIT BID PSA.


   12/23/20   George, Jason                        0.20                      146.00    026    60795405
       PARTICIPATE ON WEEKLY CALL WITH FLTL ADVISORS.


   12/23/20   Hosch, Patrick B.                              2.30          1,368.50    026    60792507
       REVISE CREDIT BID PSA.


   12/23/20   Greene, Anthony L.                             0.30            294.00    026    60935161
       PARTICIPATE ON ADVISORS CALL.


   12/24/20  Moore, Rodney L.                                1.50          2,137.50    026    61069043
       REVIEW PSA.


   12/24/20  Liou, Jessica                                   0.30            352.50    026    60838743
       CONFER WITH R. MOORE RE: CREDIT BID APA.


   12/24/20   Peca, Samuel C.                                1.80          2,025.00    026    60805998
       REVISE PSA (1.6); PREPARE PSA ISSUES LIST (0.2).


   12/24/20   Barr, Matthew S.                               0.50            812.50    026    60935376
       PARTICIPATE ON ALL HANDS ADVISORS CALL.


   12/24/20  Margolis, Steven M.                0.70           787.50       026        60795508
       REVIEW BANKRUPTCY AND TRANSACTION DOCUMENTS (0.4); REVIEW MARKUP OF APA FROM S.
       DELANEY (0.3).


   12/24/20   Delaney, Scott Michael                   2.20      2,310.00        026         60799569
       REVIEW AND REVISE CREDIT BID PSA (1.9); CORRESPONDENCE WITH WEIL SPECIALISTS RE: REVISED
       CREDIT BID PSA AND MATERIAL ISSUES LIST (0.3).
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   12/26/20  Moore, Rodney L.                              0.40            570.00    026    61069046
       REVIEW PSA.


   12/28/20   Peca, Samuel C.                              1.10          1,237.50    026    61069152
       REVISE PSA REGARDING D&O MATTERS.


   12/28/20  Delaney, Scott Michael                  0.40       420.00               026    60817134
       REVIEW AND REVISE CREDIT BID PSA RE: D&O INSURANCE MATTERS.


   12/29/20  Perez, Alfredo R.                     0.40       600.00        026             60814678
       CONFERENCE CALL WITH DAVIS POLK AND WEIL REGARDING STATUS OF OPEN PLAN ISSUES.


   12/29/20  Conley, Brendan C.                  1.20       1,260.00                 026    60935186
       REVIEW FORBEARANCE AGREEMENTS AND DISCUSS WITH V. BONHAMGREGORY.


   12/29/20  Bonhamgregory, Veronica Gayle                 1.00            980.00    026    60935192
       REVIEW FORBEARANCE AGREEMENTS.


   12/29/20  Wheeler, Emma                           0.50        297.50        026          60815439
       ATTEND CALL WITH FLTL ADVISORS RE: OPEN ISSUES ON PLAN AND DISCLOSURE STATEMENT.


   12/29/20  Fliman, Ariel                                 1.40          1,414.00    026    60814054
       REVIEW AND REVISE DRAFT CREDIT BID PSA.


   12/29/20   Greene, Anthony L.                           0.90            882.00    026    60935489
       PARTICIPATE ON ADVISORS UPDATE CALL.


   12/30/20  Perez, Alfredo R.                    0.40         600.00                026    60820663
       CONFERENCE CALL WITH FLTL ADVISORS REGARDING PLAN ISSUES.


   12/30/20     Moore, Rodney L.                           1.00          1,425.00    026    61069155
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        REVIEW PSA.


   12/30/20  Liou, Jessica                             0.70        822.50           026        60838801
       CONFER WITH B. FOXMAN RE: CHAPTER 11 PLAN AND DISCLOSURE STATEMENT (.2); CONFER WITH
       TEAM RE: SAME (.2); EMAILS WITH T. LAMME AND M. DANE RE: SAME (.2); EMAILS WITH BANKING
       TEAM RE: 1L EXIT FACILITY (.1).


   12/30/20  Hufendick, Jason                       0.30                      279.00    026      60836938
       ATTEND CALL WITH ADVISORS TO DIP AND FLTL LENDERS.


   12/30/20   Carlson, Clifford W.                            0.40            420.00    026      60935670
       PARTICIPATE ON CALL WITH LENDERS' ADVISORS.


   12/30/20  Wheeler, Emma                                    0.20            119.00    026      60820644
       ATTEND WEEKLY ADVISORS CALL.


    SUBTOTAL TASK 026 - Secured Creditor Issues /           233.00       $253,526.50
    Meetings / Communications:

   12/01/20  Goldring, Stuart J.                              0.20            339.00    027      60614170
       PERIODIC UPDATE CALL.


   12/01/20   Macke, Jonathan J.                      3.70         4,440.00       027          60605742
       CONFERENCES WITH M TIPPET (.7); REVIEW TAX DISCLOSURE (1.1); REVIEW STRUCTURE SLIDES (.7);
       CORRESPONDENCE WITH CLIENT RE: TAX DISCLOSURE AND COD IMPLICATIONS (.2); REVIEW COD
       IMPLICATIONS OF TRANSACTION STEPS (.3); CONFERENCE WITH M TIPPET AND J HONG (.7).


   12/01/20   Hong, Jeesun                              1.60      1,488.00          027          60609396
       DISCUSS DISCLOSURE WITH M. TIPPETT (0.2); REVIEW DRAFT DECK (0.2); DISCUSS WITH M. TIPPETT AND
       J. MACKE (0.7); REVISE TAX DISCLOSURE (0.5).


   12/01/20     Tippett, Matthew                              6.00          6,060.00    027      60610623
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        TELEPHONE CONFERENCE STATUS UPDATE WITH WORKING GROUP (.5); COMMUNICATIONS AND
        TELEPHONE CONFERENCES WITH WORKING GROUP RE: TAX ISSUES (2.0); PREPARE TAX STRUCTURING
        SLIDES (3.0); REVIEW AND REVISE TAX DISCLOSURE (.5).


   12/02/20   Goldring, Stuart J.                    1.00      1,695.00       027        60629032
       PARTICIPATE ON GROUP TAX CALL WITH B. HARRIS AND WEIL TAX REGARDING POTENTIAL TAX
       CONSEQUENCES OF PLAN (.8); INTERNAL WEIL TAX EMAIL EXCHANGE REGARDING DRAFT TAX
       SECTION OF DISCLOSURE STATEMENT (.2).


   12/02/20  Macke, Jonathan J.                       1.60     1,920.00       027           60624315
       REVIEW TAX DISCLOSURE (.6); CONFERENCE WITH FIELDWOOD TAX RE: STRUCTURE (.8); REVIEW
       STRUCTURE (.2).


   12/02/20    Hong, Jeesun                              2.00      1,860.00         027        60627352
       REVISE DECK AND DISCUSS DISCLOSURE VIA EMAIL (0.3); UPDATE DISCLOSURE (0.7); CALL WITH FWE
       TAX (0.4); DISCUSS WITH J. MACKE AND M. TIPPETT AND UPDATE DISCLOSURE (0.6).


   12/02/20   Tippett, Matthew                       2.50    2,525.00          027        60629728
       TELEPHONE CONFERENCES WITH CLIENT AND WORKING GROUP (1.5) RE: TAX ISSUES; REVIEW AND
       REVISE TAX DISCLOSURE AND STRUCTURE SLIDES (1.0).


   12/03/20  Macke, Jonathan J.                            0.20            240.00    027       60633001
       REVIEW TAX DISCLOSURE.


   12/03/20  Tippett, Matthew                    0.50        505.00                  027       60637679
       TELEPHONE CONFERENCE WITH WORKING GROUP RE: TRANSACTION STRUCTURE.


   12/04/20  Macke, Jonathan J.                            0.30            360.00    027       60640905
       REVIEW STRUCTURE CHARTS.


   12/04/20  Liou, Jessica                         1.00      1,175.00        027               60653568
       CONFER WITH TAX TEAM RE: RESTRUCTURING TRANSACTIONS AND OTHER ISSUES.
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   12/04/20   Hong, Jeesun                           1.50      1,395.00        027           60650433
       DISCUSS STRUCTURE WITH RESTRUCTURING (.5); PROVIDE A SUMMARY FOR M. TIPPETT (.2); UPDATE
       DECK (.8).


   12/04/20  Tippett, Matthew                    0.50        505.00       027                60653567
       REVIEW CORRESPONDENCE WITH WORKING GROUP RE: CHANGES TO COMMERCIAL TERMS OF
       RESTRUCTURING.


   12/07/20  Goldring, Stuart J.                    1.10      1,864.50           027        60665871
       CONSIDER J. MACKE EMAIL REGARDING POSSBILE PLAN STRUCTURE (.3); DISCUSS SAME WITH J.
       MACKE AND J. HONG (.8).


   12/07/20  Macke, Jonathan J.                      1.60       1,920.00        027          60660901
       REVIEW ISSUES RE: ABANDONMENT (.6); CONFERENCE WITH S. GOLDRING AND J. HONG (.8);
       CONFERENCE WITH J. HONG (.2).


   12/07/20     Hong, Jeesun                                4.00       3,720.00          027 60661694
       CONDUCT RESEARCH AND REVIEW PRECEDENTS FOR DECOMMISSIONING OBLIGATIONS TAX
       DISCLOSURES (1.0); DISCUSS WITH S. GOLDRING AND J. MACKE RE: ABANDONMENT TAX TREATMENT
       (0.8); DISCUSS WITH J. MACKE (0.2); DISCUSS WITH M. TIPPETT VIA EMAIL (0.3); RESEARCH
       CHARACTERIZATION ISSUE OF ABANDONMENT (1.7).


   12/07/20 Tippett, Matthew                      0.50      505.00        027                60671388
       COMMUNICATIONS WITH WORKING GROUP RE: PROPERTY ABANDONMENT ISSUES.


   12/08/20  Goldring, Stuart J.                           0.80          1,356.00    027     60674053
       REVIEW DAVIS POLK REVISIONS TO DRAFT PLAN.


   12/08/20  Macke, Jonathan J.                      1.10       1,320.00          027        60673537
       CORRESPONDENCE WITH CLIENT RE: DISCLOSURE (.2); REVIEW TSA (.2); REVIEW TAX DISCLSOURE (.2);
       CONFERENCE WITH M TIPPET (.5).


   12/08/20     Hong, Jeesun                               4.70          4,371.00    027     60671358
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        REVIEW TSA (0.5); REVIEW DPW PLAN MARKUP AND PROVIDE COMMENTS (1.0) AND REVISE THE TAX
        DISCLOSURE (1.5); REVIEW TRANSACTION STEPS AND DISCUSS WITH M. TIPPETT (1.1); INTERNAL CALL
        RE: STEPS MEMO (0.6).


   12/08/20  Tippett, Matthew                         7.20      7,272.00      027       60671425
       TELEPHONE CONFERENCES AND COMMUNICATIONS WITH WORKING GROUP RE: TAX MATTERS (2.7);
       REVIEW AND REVISE TRANSACTION DOCUMENTS (3); RESEARCH AND ANALYZE TAX ISSUES RE:
       CONTINGENT DECOMMISSIONING LIABILITIES (1); REVIEW TSA AND COMMUNICATIONS WITH
       WORKING GROUP (.5).


   12/09/20   Goldring, Stuart J.                    1.70       2,881.50       027        60685484
       REVIEW INTERNAL WORKING GROUP EMAIL EXCHANGES REGARDING PLAN STRUCTURE (.2); DISCUSS
       SAME WITH WEIL TAX TEAM (.5); TAX CALL WITH COMPANY, INCLUDING T. LAMME AND J. MACKE
       (1.0).


   12/09/20     Macke, Jonathan J.                       4.00        4,800.00      027          60679431
       REVIEW RESTRUCTURING STEPS MEMO (.7); REVIEW DECOMMISSIONING OBLIGATIONS AND TAX
       IMPLICATIONS OF SAME (.8); CONFERENCE WITH WEIL TAX (.5); CONFERENCE WITH FWE (1.0); REVIEW
       PSA (.3); CONFERENCE WITH M. TIPPET AND J. HONG (.3); CORRESPONDENCE WITH DPW (.2); REVIEW
       POST EMERGENCE INCOME PROJECTIONS FOR DEEPWATER ASSETS (.2).


   12/09/20   Hong, Jeesun                               5.10        4,743.00         027          60679749
       RESEARCH DECOMMISSIONING CASES (1.0); PRE-CALL (0.5); CALL WITH CLIENT (1.0); TAX INTERNAL
       CALL (0.5); STRUCTURING CALL (0.5); REVISE TAX DISCLOSURE (1.0); DISCUSS WITH M.TIPPETT (0.6).


   12/09/20   Tippett, Matthew                         6.50     6,565.00      027         60689674
       REVISE PURCHASE AGREEMENT AND REVIEW LEGAL PRECEDENTS (3); DRAFT TAX ISSUES LIST AND
       COMMUNICATIONS WITH J. MACKE RE: SAME (.5); TELEPHONE CONFERENCES WITH WORKING GROUP
       AND CLIENT (1.5); REVIEW AND REVISE TAX DISCLOSURE AND COMMUNICATIONS WITH WORKING
       GROUP (1.5).


   12/10/20     Goldring, Stuart J.                        1.20          2,034.00     027          60692191
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        REVIEW AND COMMENT ON REVISED TAX DISCLOSURE (.7); FURTHER CONSIDER SAME (.3); EMAIL
        EXCHANGE WITH WEIL TAX TEAM REGARDING SAME (.2).


   12/10/20  Macke, Jonathan J.                         4.20       5,040.00          027      60691336
       REVIEW PLAN (.5); REVIEW TAX DISCLOSURE (1.9); REVIEW STEPS MEMO (.3); CORRESPONDENCE WITH
       FWE RE: TAX ATTRIBUTES (.2); CONFERENCE WITH M. TIPPET AND J. HONG (.4); REVIEW
       RECAPITALIZATION ANALYSIS WITH RESPECT TO GOLDEN SHARE OF FWE PARENT (.6); REVIEW PSA (.3).


   12/10/20  Hong, Jeesun                            3.50      3,255.00       027         60690373
       DISCUSS WITH J. MACKE AND PROVIDE COMMENTS TO THE PLAN AND STEPS MEMO (0.7); TAX
       INTERNAL DISCUSSION ON DISCLOSURE STATEMENT AND REVISE DISCLOSURE STATEMENT (1.0);
       DISCUSS WITH M. TIPPETT AND RESEARCH RECAP ISSUE (1.8).


   12/10/20  Tippett, Matthew                    9.50       9,595.00      027         60689914
       REVIEW AND REVISE TRANSACTION DOCUMENTS AND REVIEW LEGAL PRECEDENTS (6.5);
       COMMUNICATIONS AND TELEPHONE CONFERENCES WITH WORKING GROUP RE: TAX MATTERS (3.0).


   12/11/20  Tippett, Matthew                     3.00       3,030.00   027                    60695208
       REVIEW TRANSACTIONS DOCUMENTS AND COMMUNICATIONS WITH WORKING GROUP (2.5);
       COMMUNICATIONS WITH OPPOSING COUNSEL RE: TAX DISCLOSURE (.5).


   12/14/20  Macke, Jonathan J.                       1.30         1,560.00       027       60715616
       REVIEW PIK TOGGLE INQUIRY (.5); CONFERENCE WITH WEIL TEAM RE: SAME (.4); CORRESPONDENCE RE:
       STUCTURE (.2); CORRESPONDENCE RE: HOLDING FWE III ASSETS (.2).


   12/14/20  Liou, Jessica                                 0.50            587.50    027       60720775
       CONFER WITH TAX TEAM RE: TAX DISCLOSURES.


   12/14/20  Hong, Jeesun                               0.50       465.00        027           60714552
       REVIEW 2L EXIT FACILITY TERM SHEET (0.2); CALL REGARDING LIQUIDATION TRUST AND PIK (0.3).


   12/14/20     Tippett, Matthew                           1.00          1,010.00    027       60718809
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        COMMUNICATIONS AND TELEPHONE CONFERENCES WITH WORKING GROUP RE: TAX MATTERS.


   12/15/20 Tippett, Matthew                     1.50     1,515.00        027         60718737
       COMMUNICATIONS AND TELEPHONE CONFERENCES WITH WORKING GROUP RE: TAX MATTERS (1.5).


   12/16/20  Goldring, Stuart J.                     0.50       847.50        027        60734739
       REVIEW COMMENTS TO DRAFT TAX DISCLOSURE (.2); CONSIDER REVISED PROPOSED DEBT TERMS (.3).


   12/16/20  Macke, Jonathan J.                            0.30            360.00    027    60729383
       REVIEW ASSET PURCHASE AGREEMENT.


   12/16/20   Tippett, Matthew                       2.50         2,525.00       027      60747134
       REVIEW PURCHASE AGREEMENT AND TAX ISSUES LIST (.3); TELEPHONE CONFERENCE WITH CLIENT RE:
       TAX ISSUES (.5); COMMUNICATIONS WITH WORKING GROUP (.7); REVISE TRANSACTION DOCUMENTS
       (1.0).


   12/17/20  Goldring, Stuart J.                    0.30        508.50               027    60745521
       CONSIDER M. TIPPET EMAIL EXCHANGE REGARDING REVISIONS TO DRAFT PLAN.


   12/17/20  Macke, Jonathan J.                     1.40          1,680.00       027       60739533
       REVIEW DPW COMMENTS (.3); CONFERENCE WITH M. TIPPET (.3); REVIEW PURCHASE AGREEMENT (.5);
       REVIEW STRUCTURE (.3).


   12/17/20  Hong, Jeesun                         4.00      3,720.00       027        60743696
       REVIEW DPW COMMENTS TO THE TAX DISCLOSURE AND DRAFT THE NON-US HOLDER PORTION.


   12/17/20    Tippett, Matthew                   5.80          5,858.00      027       60747175
       REVIEW AND REVISE PURCHASE AGREEMENT AND EXHIBITS (1.8); COMMUNICATIONS WITH WORKING
       GROUP RE: PURCHASE AGREEMENT AND REVIEW LEGAL PRECEDENTS (1.5); REVIEW COMMENTS FROM
       OPPOSING COUNSEL ON TAX DISCLOSURE AND COMMUNICATIONS WITH WORKING GROUP RE: SAME
       (1); COMMUNICATIONS AND TELEPHONE CONFERENCES WITH WORKING GROUP (1.5).
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   12/18/20  Goldring, Stuart J.                     0.80      1,356.00       027        60758605
       CALL WITH M. TIPPET AND J. MACKE REGARDING CHANGES TO PLAN AND NECESSARY REVISIONS TO
       DISCLOSURE STATEMENT.


   12/18/20   Macke, Jonathan J.                      2.40        2,880.00        027        60751583
       REVIEW STRUCTURE (1.0); CONFERENCE WITH S. GOLDRING, M. TIPPET AND J. HONG RE: STRUCTURE
       AND DISCLOSURE (.8); CONFERENCE WITH WEIL M&A TEAM RE: STRUCTURE (.4); CORRESPONDENCE
       WITH DPW (.2).


   12/18/20   Hong, Jeesun                            1.00          930.00           027     60752797
       TAX INTERNAL CALL (0.8); CALL WITH CORPORATE RE: HSR ISSUES (0.2).


   12/18/20   Tippett, Matthew                        2.50      2,525.00    027       60747152
       TELEPHONE CONFERENCES WITH WORKING GROUP AND OPPOSING TAX COUNSEL RE: TAX MATTERS
       WITH DISCLOSURE AND STRUCTURE (2.0); REVISE STRUCTURING SLIDES (.5).


   12/20/20  Macke, Jonathan J.                      0.50          600.00            027     60809976
       REVIEW PURCHASE AGREEMENT (.2); REVIEW TAX DISCLOSURE (.3).


   12/20/20  Tippett, Matthew                    2.00        2,020.00                027     60778406
       REVIEW AND REVISE TRANSACTION DOCUMENTS AND STEPS SLIDE DECK.


   12/21/20   Goldring, Stuart J.                    0.80       1,356.00     027         60770018
       EMAIL EXCHANGES WITH J. MACKE REGARDING DRAFT TAX DISCLOSURE FOR DISCLOSURE
       STATEMENT, AND FURTHER CONSIDER SAME (.5); REVIEW EMAILS FROM BANKRUPTCY GROUP IN
       PREPARATION FOR UPCOMING DISCLOSURE STATEMENT AND PLAN FILING (.3).


   12/21/20  Macke, Jonathan J.                      1.20      1,440.00      027           60765373
       CORRESPONDENCE WITH DPW RE: DISCLOSURE (.2); REVIEW PURCHASE AGREEMENT (.4); REVIEW
       PRECEDENT FROM DPW TAX (.6).


   12/21/20     Hong, Jeesun                               1.10          1,023.00    027     60765928
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        REVIEW DPW COMMENTS TO THE PLAN AND D/S.


   12/21/20  Tippett, Matthew                      8.50      8,585.00         027          60778530
       REVIEW PLAN FROM OPPOSING COUNSEL AND REVISE TRANSACTION STEPS SLIDES (5.5); REVISE
       TRANSACTION DOCUMENTS AND COMMUNICATIONS WITH WORKING GROUP RE: SAME (3.0).


   12/22/20   Goldring, Stuart J.                      2.20      3,729.00      027         60784030
       WEIL TAX TEAM CALL REGARDING UPDATES TO DISCLOSURE (.9); FURTHER CALL WITH M. TIPPETT
       REGARDING SAME (.3); REVIEW EMAIL FROM M. TIPPETT REGARDING MARK-UP OF TAX DISCLOSURE
       AND BEGIN REVIEW OF SAME (.3); DRAFT PROVISION FOR PLAN REGARDING CERTAIN DISPUTED CLAIMS
       (.7).


   12/22/20   Macke, Jonathan J.                       4.70         5,640.00        027        60782171
       REVIEW DISCLOSURE STATEMENT (.6); REVIEW PURCHASE AGREEMENT (1.1); CONFERENCE WITH M.
       TIPPET AND J. HONG (.7); REVIEW STRUCTURE CHARTS (.3); CONFERENCE WITH M. TIPPET AND S.
       GOLDRING (1.0); CONFERENCE WITH DPW TAX (.3); CORRESPONDENCE RE: FUNDS FLOW (.2);
       CONFERENCE WITH WEIL WORKING GROUP RE: UPDATED PROPOSAL FROM DPW (.5).


   12/22/20   Hong, Jeesun                                4.70       4,371.00        027         60783461
       INTERNAL TAX DISCUSSION (.5); REVISE PSA (2.5); INTERNAL DISCUSSION RE: DISCLOSURE (1.0);
       RESEARCH PRECEDENT FOR DISPUTED RESERVE FUND (.2); INTERNAL CALL WITH RESTRUCTURING,
       M&A (.5).


   12/22/20   Tippett, Matthew                       10.50    10,605.00       027       60778536
       REVIEW AND REVISE TRANSACTION STEPS MEMO AND COMMUNICATIONS WITH WORKING GROUP RE:
       SAME (2.5); REVIEW AND REVISE TAX DISCLOSURE AND COMMUNICATIONS WITH WORKING GROUP RE:
       SAME AND REVIEW LEGAL PRECEDENTS (5.0); TELEPHONE CONFERENCES AND COMMUNICATIONS WITH
       WORKING GROUP (3.0).


   12/23/20   Goldring, Stuart J.                 2.10      3,559.50      027           60794192
       EMAIL EXCHANGES WITH TAX TEAM REGARDING PLAN AND DISCLOSURE STATEMENT (.2); REVIEW
       AND REVISE SAME (1.9).


   12/23/20     Macke, Jonathan J.                         1.90          2,280.00    027         60793509
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        REVIEW TAX DISCLOSURE (1.3); REVIEW PLAN (.6).


   12/23/20   Hong, Jeesun                         2.50       2,325.00        027        60793581
       REVISE TAX DISCLOSURE AND REVIEW UPDATED DISCLOSURE STATEMENT (2.0); ATTEND TO EMAILS
       AND REVIEW THE PRECEDENT PSA (0.5).


   12/24/20   Goldring, Stuart J.                       3.60         6,102.00      027      60801707
       REVIEW REVISED DRAFTS OF PLAN AND DISCLOSURE STATEMENT AND PROVIDE COMMENTS TO M.
       TIPPETT (1.2); CALL WITH M. TIPPETT REGARDING SAME (.2); REVIEW FURTHER DRAFT OF TAX
       DISCLOSURE (1.7); CALL WITH J. MACKE REGARDING SAME (.1); REVIEW INTERNAL EMAIL EXCHANGES
       WITH M. TIPPET REGARDING PLAN AND DISCLOSURE (.4).


   12/24/20  Macke, Jonathan J.                       2.80       3,360.00        027          60800175
       REVIEW TAX DISCLOSURE (2.0); CONFERENCE WITH S. GOLDRING (.2); CONFERENCE WITH M. TIPPET (.3);
       CORRESPONDENCE RE: GOLDEN SHARE (.3).


   12/24/20  Tippett, Matthew                        4.50      4,545.00      027         60799100
       REVIEW AND REVISE TAX DISCLOSURE (1.5); COMMUNICATIONS WITH WORKING GROUP RE: SAME (3.0).


   12/28/20   Goldring, Stuart J.                      1.90      3,220.50     027       60809093
       REVIEW DAVIS POLK COMMENTS TO PLAN AND DISCLOSURE STATEMEMT (.6); INTERNAL EMAIL
       EXCHANGES WITH TAX TEAM AND RESTRUCTURING TEAM REGARDING SAME (.5); CALLL WITH M.
       TIPPETT REGARDING SAME (.5); CALL WITH K. BOSTEL REGARDING SAME (.3).


   12/28/20     Macke, Jonathan J.                   1.20      1,440.00      027        60806934
       REVIEW DPW COMMENTS TO PLAN (.5); REVIEW TAX DISCLOSURE AND CORRESPONDENCE RE: SAME
       (.5); CORRESPONDENCE WITH FWE RE: BASIS (.2).


   12/28/20  Liou, Jessica                            0.40                 470.00    027      60838708
       CONFER WITH M. TIPPETT RE: TAX DISCLOSURE ISSUES.


   12/28/20     Tippett, Matthew                           7.50          7,575.00    027      60804041
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        REVIEW AND REVISE TAX DISCLOSURE (1.0); COMMUNICATIONS WITH CLIENT AND WORKING GROUP
        RE: TAX ISSUES AND ANALYZE SAME (6.5).


   12/29/20  Goldring, Stuart J.                    0.50         847.50         027            60816692
       FOLLOW UP WITH M. TIPPET REGARDING DRAFT TAX DISCLOSURE (.2); CALL WITH M. TIPPET (.1);
       REVIEW FOLLOW-UP EMAIL EXCHANGES WITH M. TIPPET AND DAVIS POLK REGARDING SAME (.2).


   12/29/20  Macke, Jonathan J.                     1.20          1,440.00       027            60814613
       REVIEW TAX DISCLOSURE (.4); CORRESPONDENCE WITH DPW (.2); REVIEW BASIS OF ASSETS (.2);
       CORRESPONDENCE RE: SAME (.4).


   12/29/20   Tippett, Matthew                        7.20        7,272.00        027        60846489
       TELEPHONE CONFERENCES AND COMMUNICATIONS WITH WORKING GROUP, CLIENT AND OPPOSING
       COUNSEL RE: TAX DISCLOSURE AND ISSUES IN PLAN (5.7); REVIEW AND REVISE TAX DISCLOSURE AND
       PLAN (1.5).


   12/30/20   Goldring, Stuart J.                 0.40        678.00                 027        60822212
       EMAIL EXCHANGES REGARDING DRAFT PLAN AND DISCLOSURE STATEMENT.


   12/30/20  Macke, Jonathan J.                     1.40         1,680.00      027          60821126
       REVIEW DPW COMMENTS (.5); CORRESPONDENCE RE: SAME (.4); REVIEW APACHE COMMENTS (.5).


   12/30/20  Tippett, Matthew                     1.50       1,515.00      027                  60846651
       REVIEW TRANSACTION DOCUMENTS (.5); COMMUNICATIONS WITH WORKING GROUP (1.0).


   12/31/20  Goldring, Stuart J.                          0.70 1,186.50       027         60840826
       REVIEW EMAIL EXCHANGE WITH M. TIPPET REGARDING DRAFT TAX DISCLOSURE (.2); REVIEW DRAFT
       DISCLOSURE (.3); DISCUSS SAME WITH M. TIPPET (.2).


   12/31/20  Macke, Jonathan J.                      2.00      2,400.00       027               60824132
       REVIEW TAX DISCLOSURE AND PLAN (1.2); CONFERENCE WITH WEIL WORKING GROUP (.5);
       CONFERENCES WITH M TIPPET (.3).
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   12/31/20  Tippett, Matthew                         4.70      4,747.00     027        60846587
       REVIEW AND REVISE TAX DISCLOSURE (1.0); TELEPHONE CONFERENCES AND COMMUNICATIONS WITH
       WORKING GROUP AND OPPOSING COUNSEL RE: TAX MATTERS (3.7).


    SUBTOTAL TASK 027 - Tax Matters:                     192.80       $213,118.50

   12/01/20  Perez, Alfredo R.                     0.40        600.00      028          60614708
       REVIEW MATERIALS AND COMMUNICATIONS WITH ALIX PARTNERS IN PREPARATION FOR CALL (.2);
       CONFERENCE CALL WITH UCC'S ADVISORS REGARDING LIEN ANALYSIS (.2).


   12/10/20  Carlson, Clifford W.                 0.20         210.00                028     60716615
       EMAILS WITH ALIX PARTNERS REGARDING COMMITTEE DILIGENCE ITEMS.


   12/16/20  Conley, Brendan C.                            0.40            420.00    028     60927100
       REVIEW UCC STIPULATION.


   12/16/20   Carlson, Clifford W.                 0.30         315.00      028        60758247
       PARTICIPATE ON CALL AND EMAILS WITH COMMITTEE'S COUNSEL REGARDING VENDOR QUESTIONS.


   12/17/20  Liou, Jessica                             1.10       1,292.50        028        60743631
       CONFER WITH S. MILLMAN RE: STATUS AND OTHER ISSUES (.6); EMAILS WITH STROOCK TEAM RE:
       NEXT STEPS (.2); EMAILS WITH STROOCK RE: APACHE DEFINITIVE DOCUMENTS (.3).


   12/17/20  Conley, Brendan C.                            0.50            525.00    028     61068920
       COORDINATE RE: COLLATERAL STIPULATIONS.


   12/17/20  Carlson, Clifford W.                    1.30       1,365.00      028          60758254
       REVIEW AND REVISE STIPULATION EXTENDING COMMITTEE CHALLENGE AND MULTIPLE CALLS AND
       EMAILS REGARDING SAME (1.0); EMAILS WITH COMMITTEE'S COUNSEL REGARDING DILIGENCE (.3).


   12/18/20   Carlson, Clifford W.                 0.30        315.00       028        60758284
       FINALIZE COMMITTEE STIPULATION REGARDING CHALLENGE PERIOD AND EMAILS REGARDING SAME.
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   12/19/20   Carlson, Clifford W.                 0.60        630.00       028        60757818
       PARTICIPATE ON CALL WITH HOULIHAN REGARDING DISCUSSIONS WITH COMMITTEE AND FOLLOW UP
       EMAILS REGARDING SAME.


   12/22/20   Carlson, Clifford W.                          0.70            735.00    028        60838706
       PARTICIPATE ON CALL WITH UCC.


   12/22/20  Sierra, Tristan M.                   0.80                      584.00    028        60934991
       ATTEND CALL WITH UNSECURED CREDITORS' COMMITTEE.


   12/28/20  Liou, Jessica                              0.50         587.50        028           60838716
       CONFER WITH S. MILLMAN RE: UCC FEES (.3); EMAIL TO M. BARR RE: STROOCK BILLING ISSUES (.2).


    SUBTOTAL TASK 028 - Unsecured Creditors                 7.10         $7,579.00
    Committee / Meetings / Communications:

   12/01/20  Liou, Jessica                                  0.20            235.00    029        60614995
       REVIEW AND COMMENT ON RULE RULE 2015.3 CNO.


   12/01/20  Carlson, Clifford W.                 0.40            420.00        029              60655471
       REVIEW AND FINALIZE MONTHLY OPERATING REPORT (.2); REVISE FILING REGARDING MOTION
       RELATING TO RULE RULE 2015.3 REPORT (.2).


   12/01/20   George, Jason                                 0.10             73.00    029        60631153
       EMAIL C. CARLSON RE: RULE RULE 2015.3 REPORT.


   12/02/20  Liou, Jessica                                  0.20            235.00    029        60630115
       REVIEW AND COMMENT ON REPORTING MATRICES.


   12/02/20  Carlson, Clifford W.                  0.20          210.00               029        60655502
       EMAILS WITH ALIX PARTNERS TEAM REGARDING RULE RULE 2015.3 REPORT.
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   12/02/20  James, Hillarie                       0.30       253.50        029       60666736
       CORRESPONDENCE WITH UST, UCC, AND SECURED CREDITORS REGARDING REPORTING MATRICES.


   12/03/20   George, Jason                                0.20            146.00     029          60641896
       EMAIL J. LIOU RE: RULE 2015.3 REPORT.


   12/06/20  Liou, Jessica                                 0.10            117.50     029          60654148
       REVIEW AND COMMENT ON RULE 2015.3 REPORT.


   12/07/20  Liou, Jessica                                 0.70            822.50     029          60667909
       REVIEW AND COMMENT ON RULE 2015.3 REPORT.


   12/07/20  Carlson, Clifford W.                   0.30                   315.00     029          60666695
       REVIEW RULE 2015.3 REPORT AND EMAILS REGARDING SAME.


   12/07/20    George, Jason                             0.50         365.00          029          60677664
       EMAIL J. LIOU AND C. CARLSON RE: ORDER RE: RULE 2015.3 REPORTS (0.1); EMAIL TO A. PEREZ RE: RULE
       2015.3 REPORT (0.1); EMAIL TO T. LAMME AND B. SWINGLE RE: RULE 2015.3 REPORT (0.1); CALLS WITH T.
       BAGGERLY RE: RULE 2015.3 REPORT (0.2).


   12/08/20   Kleissler, Matthew Joseph              0.90         225.00              029          60670635
       ASSIST WITH PREPARATION OF MATERIALS RE: RULE 2015.3 REPORT.


   12/15/20  Carlson, Clifford W.                          0.10            105.00     029          60758535
       EMAILS REGARDING REPORTING REQUIREMENTS.


   12/31/20  Liou, Jessica                       0.20                      235.00     029          60841372
       REVIEW AND COMMENT ON MONTHLY OPERATING REPORT.


   12/31/20  Carlson, Clifford W.                          0.20            210.00     029          60848316
       REVIEW AND FILE MONTHLY OPERATING REPORT.
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    SUBTOTAL TASK 029 - US                                      4.60         $3,967.50
    Trustee/MORs/Schedules & SOFAs/2015.3
    Reports:

   12/01/20  Perez, Alfredo R.                   0.20       300.00         031                   60614690
       CONFERENCE CALL WITH MANAGEMENT AND WEIL TEAM REGARDING APA ISSUES.


   12/01/20  Moore, Rodney L.                    1.60       2,280.00          031                60610587
       REVIEW IMPLEMENTATION AGREEMENT AND PLAN OF MERGER (1.2); CALL WITH FIELDWOOD
       REGARDING APACHE DOCUMENTS (.4).


   12/01/20   Liou, Jessica                        0.70           822.50         031         60614878
       REVIEW APACHE CHECKLIST AND EMAIL T. LAMME RE: SAME (.3); CONFER WITH T. LAMME, T. ALLEN
       RE: APACHE DOCUMENTS (.4).


   12/01/20  Peca, Samuel C.                    0.30                            337.50    031    60605232
       CALL WITH COMPANY REGARDING DOCUMENT STATUS.


   12/01/20  Malonson, Jeffery Karl             1.00       1,400.00      031                     60625993
       REVIEW CORRESPONDENCE AND DOCUMENTATION FOR APACHE/FWE LLC RESTRUCTURING.


   12/01/20   Carlson, Clifford W.                  0.40      420.00                      031    60655462
       PARTICIPATE ON CALL REGARDING APACHE DEFINITIVE DOCUMENTS.


   12/01/20  George, Jason                         0.30          219.00       031          60631223
       CALL WITH J. MAENG RE: IMPLEMENTATION AGREEMENT (0.2); CORRESPONDENCE WITH J. LIOU RE:
       IMPLEMENTATION AGREEMENT (0.1).


   12/02/20   Moore, Rodney L.                     3.40      4,845.00         031          60627434
       REVIEW REVISED PLAN OF MERGER AND TERM SHEET AND PREPARE LIST OF QUESTIONS (2.8); REVIEW
       REVISIONS TO IMPLEMENTATION AGREEMENT (.6).
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   12/02/20  Peca, Samuel C.                                  1.20          1,350.00    031    60624313
       REVIEW REVISED MERGER AGREEMENT.


   12/02/20  Carlson, Clifford W.                   1.30      1,365.00        031              60655476
       EMAILS REGARDING APACHE DOCUMENTS (.2); REVIEW APACHE DOCUMENTS (1.1).


   12/03/20  Moore, Rodney L.                    2.10      2,992.50          031       60635922
       REVIEW PLAN OF MERGER AND HAK COMMENTS REGARDING SAME (1.4); REVIEW IMPLEMENTATION
       AGREEMENT (.7).


   12/03/20  Liou, Jessica                             1.80       2,115.00         031         60637660
       REVIEW RSA AMENDMENT; REVIEW AND COMMENT ON RSA AMENDMENT FOR APACHE
       TRANSACTION, REVIEW DPW COMMENTS TO APACHE IMPLEMENTATION AGREEMENT AND EMAIL J.
       GEORGE RE: SAME (.3); CONFER WITH R. RUSSELL AND M. O’LEARY (.3); CONFER WITH J. GEORGE RE:
       IMPLEMENTATION AGREEMENT EDITS (.2); REVIEW IMPLEMENTATION AGREEMENT (.3); REVIEW AND
       COMMENT ON IMPLEMENTATION AGREEMENT (.4); REVIEW AND COMMENT ON REVISED
       IMPLEMENTATION AGREEMENT (.3).


   12/03/20  Peca, Samuel C.                      2.20          2,475.00         031      60632717
       REVIEW REVISED MERGER AGREEMENT AND IMPLEMENTATION AGREEMENT (1.5); REVIEW COMMENTS
       TO SAME FROM R. MOORE AND RESPONSES FROM HAK (0.4); WEIL CALL TO DISCUSS IMPLEMENTATION
       AGREEMENT (0.3).


   12/03/20   Carlson, Clifford W.                0.30       315.00                     031    60655537
       PARTICIPATE ON CALL REGARDING IMPLEMENTATION AGREEMENT.


   12/03/20  George, Jason                            2.50        1,825.00        031     60641873
       CORRESPONDENCE WITH T. LAMME AND T. ALLEN RE: IMPLEMENTATION AGREEMENT (0.2); REVISE
       IMPLEMENTATION AGREEMENT (1.8); CALL WITH J. LIOU, R. RUSSELL AND M. O'LEARY RE:
       IMPLEMENTATION AGREEMENT (0.4); EMAIL J. LIOU RE: IMPLEMENTATION AGREEMENT (.1).


   12/03/20     Martin, Robert Crawford                       1.40          1,414.00    031    60653561
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        CONFERENCE WITH WEIL TEAM REGARDING TRANSACTION ITEMS (.5); REVIEW COMMENTS FROM
        APACHE'S COUNSEL TO PLAN OF MERGER (.9).


   12/03/20  Roland, Dana                          1.00         390.00        031       60630566
       REVIEW CERTIFICATE OF MERGER AND SUBMIT SAME TO THE SATE OF TEXAS FOR PRE-CLEARANCE.


   12/04/20  Moore, Rodney L.                       3.40       4,845.00      031         60653502
       REVIEW AND REVIEW PLAN OF MERGER (2.2); COMMENT ON IMPLEMENTATION AGREEMENT (.8);
       CORRESPONDENCE WITH HAK REGARDING MERGER ISSUES (.4).


   12/04/20  Liou, Jessica                            0.50        587.50    031        60653630
       REVIEW AND RESPOND TO EMAILS FROM T. LAMME RE: APACHE IMPLEMENTATION AGREEMENT (.2);
       COMMENT ON SAME (.2); EMAIL A. PEREZ RE: IMPLEMENTATION ISSUES (.1).


   12/04/20   George, Jason                          1.30         949.00         031      60642052
       REVISE IMPLEMENTATION AGREEMENT (0.9); EMAIL T. LAMME RE: IMPLEMENTATION AGREEMENT (0.1);
       EMAIL DPW TEAM RE: IMPLEMENTATION AGREEMENT (0.2); EMAIL R. RUSSELL RE: IMPLEMENTATION
       AGREEMENT (0.1).


   12/05/20  Moore, Rodney L.                     1.20     1,710.00        031        60653595
       CORRESPONDENCE WITH HAK REGARDING PLAN OF MERGER AND REVIEW ISSUES REGARDING SAME.


   12/06/20  Liou, Jessica                            0.30                 352.50    031    60654267
       CONFER WITH R. RUSSELL RE: APACHE DEFINITIVE DOCUMENTS.


   12/06/20  George, Jason                               0.30       219.00           031    60641947
       CALL WITH R. RUSSELL, C. DIKTABIN, AND J. LIOU RE: AMENDMENT TO RSA.


   12/07/20  Moore, Rodney L.                     3.50       4,987.50         031        60661542
       TELEPHONE CONFERENCE CALL WITH T. LAMME REGARDING PLAN OF MERGER (.5); REVIEW HAK
       COMMENTS TO PLAN OF MERGER AND REVIEW AND REVISE PLAN OF MERGER (3.0).
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   12/07/20  Liou, Jessica                            0.80         940.00       031        60667866
       EMAILS RE: APACHE DOCUMENTS, PLAN WIP, MILESTONES (.5); REVIEW AND RESPOND TO EMAILS
       FROM T. LAMME AND R. MOORE APACHE ISSUES (.3).


   12/07/20  Peca, Samuel C.                      2.80         3,150.00        031          60659317
       REVIEW EMAIL RE: MERGER AGREEMENT AND RELATED ISSUES (.3); REVIEW REVISED MERGER
       AGREEMENT AND PREPARE CHART ON ALLOCATION OF ASSETS AND LIABILITIES (2.5).


   12/07/20  Conley, Brendan C.                      0.40        420.00              031    60656416
       REVIEW FINAL APACHE DOCUMENTS (.3); FOLLOW UP RE: FINANCING STATUS (.1).


   12/07/20  George, Jason                           0.40         292.00       031          60677628
       REVIEW APACHE DOCUMENTS (0.2); EMAIL TO R. MARTIN RE: APACHE DOCUMENTS (0.1); EMAIL TO T.
       LAMME RE: SAME (0.1).


   12/07/20  Martin, Robert Crawford              0.70       707.00                  031    60664874
       CONFERENCE WITH COMPANY REGARDING REVISED PLAN OF MERGER.


   12/08/20     Moore, Rodney L.                      4.60         6,555.00      031       60673351
       REVIEW PLAN AND PROVIDE COMMENTS FOR ISSUES LIST (1.3); REVIEW AND REVISE PLAN OF MERGER
       (2.0); REVIEW STEPS MEMO AND ISSUES REGARDING SAME (.8); REVIEW IMPLEMENTATION AGREEMENT
       (.5).


   12/08/20  Liou, Jessica                          0.20       235.00                031    60673544
       REVIEW AND RESPOND TO EMAILS RE: STATUS OF APACHE DOCUMENTS.


   12/08/20  Malonson, Jeffery Karl             1.20       1,680.00      031                60672475
       REVIEW CORRESPONDENCE AND DOCUMENTATION FOR APACHE/FWE LLC RESTRUCTURING.


   12/08/20  Roland, Dana                        0.50        195.00        031              60671442
       REVIEW PRE-CLEARANCE DOCUMENT RECEIVED FROM THE TEXAS SECRETARY OF STATE AND
       FORWARD SAME TO R. MARTIN.
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   12/09/20     Moore, Rodney L.                     1.90  2,707.50      031        60684372
       TELEPHONE CONFERENCE CALL AND CORRESPONDENCE WITH APACHE REGARDING PLAN OF MERGER
       (.7); REVIEW AND REVISE PLAN OF MERGER (1.2).


   12/09/20  Peca, Samuel C.                               0.70            787.50    031    60680374
       REVIEW MERGER AGREEMENT.


   12/10/20   Moore, Rodney L.                      4.60       6,555.00      031        60691035
       TELEPHONE CONFERENCE CALL WITH APACHE REGARDING PLAN OF MERGER (.4); REVIEW AND REVISE
       PLAN OF MERGER (2.8); REVIEW AND PROVIDE COMMENTS TO IMPLEMENTATION AGREEMENT AND
       PLAN (1.4).


   12/10/20  Liou, Jessica                        0.50                     587.50    031    60692286
       REVIEW AND REVISE APACHE IMPLEMENTATION AGREEMENT.


   12/10/20  Peca, Samuel C.                        3.30         3,712.50       031        60688659
       REVIEW REVISED ISSUES LIST/PURCHASE AGREEMENT (0.5); REVIEW DISCLOSURE STATEMENT (1.6);
       CALL REGARDING MERGER AGREEMENT (0.4); REVIEW REVISED MERGER AGREEMENT (0.3);
       CORRESPONDENCE RE: MERGER AGREEMENT AND RELATED ISSUES (0.5).


   12/10/20   George, Jason                          1.40       1,022.00        031         60694670
       REVISE IMPLEMENTATION AGREEMENT (1.2); EMAIL TO R. MOORE AND R. MARTIN RE:
       IMPLEMENTATION AGREEMENT (0.2).


   12/10/20   Martin, Robert Crawford                      1.20          1,212.00    031    60691036
       REVISE PLAN OF MERGER FOR APACHE ASSETS.


   12/11/20  Moore, Rodney L.                      2.80      3,990.00        031       60703486
       REVIEW AND REVISE PLAN OF MERGER AND CORRESPONDING PROVISIONS OF IMPLEMENTATION
       AGREEMENT.


   12/11/20     Liou, Jessica                              0.30            352.50    031    61068337
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        REVIEW AND COMMENT ON IMPLEMENTATION AGREEMENT.


   12/11/20  Peca, Samuel C.                                  0.40            450.00    031      60694180
       REVIEW EDITS TO PLAN OF MERGER.


   12/11/20   George, Jason                          1.60        1,168.00        031        60694698
       REVISE IMPLEMENTATION AGREEMENT (1.0); EMAIL T. LAMME RE: IMPLEMENTATION AGREEMENT (0.1);
       CALL WITH J. LIOU RE: IMPLEMENTATION AGREEMENT (0.2); EMAIL R. MOORE AND S. PECA RE:
       IMPLEMENTATION AGREEMENT (0.1); CORRESPONDENCE WITH T. ALLEN RE: APACHE DOCUMENTS (0.2).


   12/11/20   Martin, Robert Crawford                3.10        3,131.00        031             60703656
       REVISE PLAN OF MERGER TO REFLECT BUSINESS DISCUSSIONS (1.2); UPDATE IMPLEMENTATION
       AGREEMENT TO INCLUDE TERMS PER THE PLAN OF MERGER (1.9).


   12/12/20   Liou, Jessica                           0.70         822.50          031           60705183
       EMAIL S. MILLMAN RE: EXTENSION OF MILESTONES (.1); EMAIL WITH R. RUSSELL RE: SAME (.1); REVIEW
       REVISED IMPLEMENTATION AGREEMENT AND EMAILS WITH J. GEORGE RE: SAME (.3); REVIEW AND
       COMMENT ON DRAFT PLAN OF MERGER (.2).


   12/12/20  George, Jason                           1.00       730.00          031         60726570
       CORRESPONDENCE WITH J. LIOU RE: IMPLEMENTATION AGREEMENT (0.2); REVISE IMPLEMENTATION
       AGREEMENT (0.4); EMAIL T. LAMME RE: IMPLEMENTATION AGREEMENT (0.1) EMAIL R. RUSSELL RE:
       IMPLEMENTATION AGREEMENT (0.1); EMAIL DPW TEAM RE: IMPLEMENTATION AGREEMENT (0.2).


   12/14/20  Moore, Rodney L.                     2.60      3,705.00          031       60715729
       TELEPHONE CONFERENCE CALL WITH HAK REGARDING PLAN OF MERGER (.3); REVIEW AND REVISE
       PLAN OF MERGER AND IMPLEMENTATION AGREEMENT (2.3).


   12/14/20  George, Jason                             0.20         146.00         031       60726673
       CALL WITH J. MAENG RE: APACHE DOCUMENTS (0.1); EMAIL TO J. LIOU RE: APACHE DOCUMENTS (0.1).


   12/14/20     Martin, Robert Crawford                       1.40          1,414.00    031      60715741
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        REVISE PLAN OF MERGER AND RECONCILE IMPLEMENTATION AGREEMENT WITH TERMS OF MERGER
        AGREEMENT.


   12/14/20  Hosch, Patrick B.                      2.10      1,249.50        031              60711740
       ADD DEFINITION SECTION AND CROSS-REFERENCES TO MERGER AGREEMENT (2.1).


   12/15/20  Moore, Rodney L.                      3.40      4,845.00                031       60724548
       REVIEW AND REVISE PLAN OF MERGER AND IMPLEMENTATION AGREEMENT.


   12/15/20    Liou, Jessica                          0.80        940.00         031           60726364
       CONFER WITH R. RUSSELL RE: APACHE DOCUMENTS (.1); CONFER WITH J. GEORGE RE: SAME (.1); CONFER
       WITH J. HUFENDICK RE: SAME (.1); REVIEW AND COMMENT ON DRAFT COVER EMAIL RE: PLAN FROM J.
       HUFENDICK, REVIEW AND RESPOND TO EMAILS FROM J. GEORGE RE: APACHE DOCUMENTS, AND
       REVIEW AND COMMENT ON DRAFT PLAN FROM J. HUFENDICK (0.5).


   12/15/20  George, Jason                             1.40        1,022.00       031       60726675
       CALL WITH J. LIOU RE: APACHE DEFINITIVE DOCUMENTS (0.1); REVIEW VARIOUS DOCUMENTS IN
       CONNECTION WITH DISCLOSURE OF APACHE DOCUMENTS (0.9); CORRESPONDENCE WITH J. LIOU RE:
       APACHE DEFINITIVE DOCUMENTS (0.3); EMAIL TO J. MAENG RE: APACHE DEFINITIVE DOCUMENTS (0.1).


   12/15/20  Martin, Robert Crawford              2.90       2,929.00       031       60724561
       REVIEW COMMENTS TO PLAN OF MERGER AND REVISE PLAN OF MERGER AND IMPLEMENTATION
       AGREEMENT.


   12/16/20  Moore, Rodney L.                      1.20      1,710.00                031       60733450
       REVIEW AND REVISE PLAN OF MERGER AND IMPLEMENTATION AGREEMENT.


   12/16/20   Liou, Jessica                          1.20       1,410.00        031       60736552
       EMAIL T. LAMME RE: APACHE DOCUMENTS STATUS AND NEXT STEPS (.5); REVIEW AND RESPOND TO
       EMAILS FROM T. LAMME RE: APACHE DEFINITIVE DOCUMENTS (.2); REVIEW AND RESPOND TO EMAILS
       RE: APACHE DOCUMENTS, BAR DATE EXTENSIONS, REVIEW AND NEXT STEPS (.5).


   12/16/20     Peca, Samuel C.                            0.40            450.00    031       60730118
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        REVIEW EMAIL AND DRAFTS OF MERGER AGREEMENT/IMPLEMENTATION AGREEMENT.


   12/16/20   George, Jason                           2.50      1,825.00       031           60746187
       REVISE APACHE DEFINITIVE DOCUMENTS (1.2); REVISE IMPLEMENTATION AGREEMENT (1.0); EMAIL T.
       ALLEN RE: APACHE DOCUMENTS (0.1); EMAIL DPW TEAM RE: APACHE DOCUMENTS (0.1); EMAIL R.
       RUSSELL RE: APACHE DOCUMENTS (0.1).


   12/16/20  Martin, Robert Crawford            3.80      3,838.00                   031     60756825
       CONFORM IMPLEMENTATION AGREEMENT AND PLAN OF MERGER.


   12/17/20  Moore, Rodney L.                    0.80          1,140.00      031             60755179
       CORRESPOND WITH HAK REGARDING PLAN OF MERGER (.3); REVIEW PLAN OF MERGER (.5).


   12/17/20   Liou, Jessica                                0.80 940.00         031         60743389
       CONFERS WITH R. RUSSELL RE: APACHE IMPLEMENTATION AGREEMENT (.2); EMAILS WITH T. LAMME
       RE: SAME (.2); CONFER WITH J. GEORGE RE: SAME (.4).


   12/17/20   Conley, Brendan C.                        0.80       840.00       031          60736857
       PARTICIPATE ON ISSUES LIST CALL (.5); REVIEW APACHE IMPLEMENTATION LANGUAGE (.3).


   12/17/20   Carlson, Clifford W.                   0.40      420.00                031     60758303
       PARTICIPATE ON CALL WITH J. GEORGE REGARDING APACHE DOCUMENTS.


   12/17/20     George, Jason                          1.80        1,314.00       031        60756449
       CALL WITH J. LIOU RE: IMPLEMENTATION AGREEMENT (0.2); REVISE IMPLEMENTATION AGREEMENT
       (1.0); EMAIL B. CONLEY RE: IMPLEMENTATION AGREEMENT (0.1); EMAIL T. LAMME RE:
       IMPLEMENTATION AGREEMENT (0.1); EMAIL T. LAMME AND T. ALLEN RE: APACHE DEFINITIVE
       DOCUMENTS (0.1); CORRESPONDENCE WITH J. LIOU RE: APACHE DEFINITIVE DOCUMENTS (0.2); EMAIL C.
       DIKTABIN RE: APACHE DEFINITIVE DOCUMENTS (0.1).


   12/18/20     Liou, Jessica                              0.50            587.50    031     60781181
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        REVIEW AND RESPOND TO EMAILS WITH COMMENT TO THE IMPLEMENTATION AGREEMENT
        INCLUDING TO R. RUSSELL RE: APACHE DEADLINE EXTENSION.


   12/18/20  Delaney, Scott Michael               1.10      1,155.00      031                 61068992
       REVIEW REVISED PLAN OF MERGER AND IMPLEMENTATION AGREEMENT AND RELATED
       CORRESPONDENCE.


   12/18/20  George, Jason                           1.40      1,022.00         031       60756111
       CORRESPONDENCE WITH J. LIOU RE: IMPLEMENTATION AGREEMENT (0.3); REVISE IMPLEMENTATION
       AGREEMENT (1.0); EMAIL T. LAMME RE: IMPLEMENTATION AGREEMENT (0.1).


   12/18/20   Martin, Robert Crawford             3.30                   3,333.00    031      60756839
       REVISE PLAN OF MERGER AND IMPLEMENTATION AGREEMENT.


   12/19/20  Moore, Rodney L.                              0.60            855.00    031      60756952
       REVIEW IMPLEMENTATION AGREEMENT.


   12/19/20 Kronman, Ariel                        0.10      125.00                   031      60748998
       DOCUMENT AND EMAIL REVIEW RE: IMPLEMENTATION AGREEMENT.


   12/19/20     George, Jason                        0.60          438.00         031         60756149
       REVISE IMPLEMENTATION AGREEMENT (0.3); EMAIL R. RUSSELL RE: IMPLEMENTATION AGREEMENT
       (0.1); EMAIL DPW TEAM RE: IMPLEMENTATION AGREEMENT (0.1); EMAIL R. RUSSELL AND C. DIKTABIN
       RE: APACHE DOCUMENTS (0.1).


   12/20/20     George, Jason                           0.90     657.00        031      60756200
       REVIEW AND REVISE APACHE DOCUMENTS (.7); EMAIL T. LAMME RE: IMPLEMENTATION AGREEMENT
       (0.1); EMAIL R. RUSSELL RE: APACHE DOCUMENTS (0.1).


   12/21/20  Moore, Rodney L.                              0.30            427.50    031      61069005
       REVIEW ORRI ISSUES.
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   12/21/20  Peca, Samuel C.                               0.40            450.00    031    61069008
       REVIEW MERGER AGREEMENT EXHIBITS.


   12/21/20  George, Jason                             5.00      3,650.00        031       60761996
       REVIEW AND REVISE APACHE DEFINITIVE DOCUMENTS (2.8); CORRESPONDENCE WITH R. MARTIN RE:
       WELL CONTAINMENT/CONTROL AGREEMENTS (0.2); CALL WITH J. LIOU RE: IMPLEMENTATION
       AGREEMENT (0.4); EMAIL TO DPW TEAM RE: APACHE DOCUMENTS (0.1); REVISE IMPLEMENTATION
       AGREEMENT (1.2); CALL WITH J. HUFENDICK RE: IMPLEMENTATION AGREEMENT (0.3).


   12/21/20  Martin, Robert Crawford                0.40        404.00               031    60768678
       CONFERENCE WITH S. PECA REGARDING EXHIBITS TO PLAN OF MERGER.


   12/22/20  Moore, Rodney L.                     0.60        855.00      031               61069016
       TELEPHONE CONFERENCE CALL WITH UCC REGARDING PLAN OF MERGER DOCUMENTS.


   12/22/20  Liou, Jessica                          0.90       1,057.50        031       60798661
       CONFER WITH STROOCK RE: APACHE DOCUMENTS (.8); EMAIL WITH STROOCK RE: APACHE PROPERTIES
       (.1).


   12/22/20  Conley, Brendan C.                    0.50                    525.00    031    60934822
       PREPARE FOR AND PARTICIPATE ON UCC APACHE CALL.


   12/22/20  Hufendick, Jason                      0.60       558.00         031            60836910
       ATTEND CALL WITH COUNSEL TO UCC RE: APACHE DOCUMENTS AND CHAPTER 11 PLAN.


   12/22/20  George, Jason                            1.10         803.00     031        60795411
       CALL WITH STROOCK TEAM TO DISCUSS APACHE DOCUMENTS (0.7); REVIEW AND REVISE APACHE
       DOCUMENTS (0.3); EMAIL J. MAENG RE: APACHE DOCUMENTS (0.1).


   12/22/20   Martin, Robert Crawford              4.60       4,646.00         031       60784426
       REVIEW AND REVISE SCHEDULES TO PLAN OF MERGER AND PLAN OF MERGER (4.1); CONFERENCE WITH
       CLIENT REGARDING SCHEDULES TO PLAN OF MERGER (.5).
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   12/23/20  Moore, Rodney L.                         6.20       8,835.00       031     60792622
       REVIEW PLAN AND DISCLOSURE STATEMENT (2.5); REVIEW PLAN OF MERGER AND IMPLEMENTATION
       AGREEMENT/PROVIDE EDITS REGARDING SAME (2.8); TELEPHONE CONFERENCE WITH WEIL TEAM
       REGARDING STRUCTURE ISSUES (.3); REVIEW ORRI PROOF OF CLAIM ISSUES (.6).


   12/23/20 Kronman, Ariel                         0.10                      125.00    031    60798411
       DOCUMENT AND EMAIL REVIEW RE: DIVISIVE MERGER.


   12/23/20  Liou, Jessica                        1.30         1,527.50       031         61068426
       REVIEW AND REVISE IMPLEMENTATION AGREEMENT (.7); MULTIPLE CONFERS WITH J. GEORGE RE:
       IMPLEMENTATION AGREEMENT (.6).


   12/23/20  Peca, Samuel C.                                 0.20            225.00    031    61066319
       REVIEW IMPLEMENTATION AGREEMENT EDITS.


   12/23/20     George, Jason                         2.50        1,825.00         031        60795412
       CALLS WITH J. LIOU RE: IMPLEMENTATION AGREEMENT (0.4); REVISE IMPLEMENTATION AGREEMENT
       (1.2); EMAIL TO T. LAMME RE: IMPLEMENTATION AGREEMENT (0.2); REVISE APACHE DEFINITIVE
       DOCUMENTS (0.5); EMAIL TO J. MAENG RE: FARMOUT AGREEMENT (0.1); EMAIL TO C. DIKTABIN RE:
       IMPLEMENTATION AGREEMENT (0.1).


   12/23/20  Martin, Robert Crawford                 2.10                  2,121.00    031    60798974
       REVIEW AND REVISE EXHIBITS TO PLAN OF MERGER.


   12/24/20  Liou, Jessica                        0.20        235.00        031               60838756
       REVIEW APACHE DEFINITIVE DOCUMENTS, MARKUPS AND RESPOND TO T. LAMME.


   12/24/20  Margolis, Steven M.                 0.40      450.00                      031    61066364
       REVIEW IMPLEMENTATION AGREEMENT AND CORRESPONDENCE ON SAME.


   12/24/20     Delaney, Scott Michael                       0.80            840.00    031    60934569
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        REVIEW REVISIONS TO PLAN AND IMPLEMENTATION AGREEMENT.


   12/24/20   George, Jason                             0.80       584.00      031           60795435
       EMAIL J. LIOU RE: APACHE DOCUMENTS (0.2); REVISE IMPLEMENTATION AGREEMENT (0.5); EMAIL R.
       MOORE RE: IMPLEMENTATION AGREEMENT (0.1).


   12/24/20  Martin, Robert Crawford                1.40    1,414.00         031          60799343
       UPDATE DRAFT MERGER AGREEMENT FOR DISTRIBUTION TO APACHE'S COUNSEL (1.2); DISTRIBUTE
       UPDATED PLAN OF MERGER TO LENDERS' COUNSEL (.2).


   12/24/20  Greene, Anthony L.                             0.20            196.00    031    60934598
       REVIEW REVISED IMPLEMENTATION AGREEMENT.


   12/26/20  Moore, Rodney L.                               1.80          2,565.00    031    61069047
       R&R PLAN (1.4); REVIEW ORRI ISSUE (.4).


   12/27/20   Liou, Jessica                       0.80        940.00       031         60802914
       REVIEW AND REVISE APACHE IMPLEMENTATION AGREEMENT, INCLUDING APACHE EDITS, DPW EDITS
       AND R. MOORE EDITS.


   12/27/20  Carlson, Clifford W.                 0.70        735.00      031                60840215
       REVIEW AND REVISE IMPLEMENTATION AGREEMENT AND EMAILS REGARDING SAME.


   12/27/20   George, Jason                          0.70         511.00      031       60825466
       REVISE IMPLEMENTATION AGREEMENT (0.5); EMAIL T. LAMME RE: IMPLEMENTATION AGREEMENT (0.2).


   12/28/20    Moore, Rodney L.                       5.40       7,695.00         031       60808729
       CALL AND CORRESPONDENCE WITH WEIL TEAM REGARDING IMPLEMENTATION AGREEMENT (.8); CALL
       WITH DPW REGARDING PLAN OF MERGER AND ANCILLARY DOCUMENTS (1.0): REVIEW PLAN OF
       MERGER AND IMPLEMENTATION AGREEMENT COMMENTS FROM DPW IN PREPARATION FOR
       CONFERENCE CALL (.6); REVIEW AND REVISE PLAN OF MERGER (.7); REVIEW PSAS AND STRUCTURE
       ISSUES (2.3).
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   12/28/20  Liou, Jessica                            3.50      4,112.50        031          60838723
       EMAIL WITH J. GEORGE RE: NEXT STEPS ON APACHE DOCUMENTS (.1); CONFER WITH R. RUSSELL RE:
       IMPLEMENTATION AGREEMENT AND OPEN APACHE ISSUES; (.5); CONFER WITH J. MAENG RE:
       IMPLEMENTATION AGREEMENT AND OPEN APACHE ISSUES (.4); REVIEW AND RESPOND TO EMAILS RE:
       APACHE STATUS AND DOCUMENTS; (.4); EMAIL WITH APACHE AND DPW RE: MILESTONES (.1); CONFER
       WITH DPW RE: PLAN OF MERGER, IMPLEMENTATION AGREEMENT AND OTHER APACHE DEFINITIVE
       DOCUMENTS (1.7); EMAILS WITH R. MOORE RE: IMPLEMENTATION AGREEMENT (.3).


   12/28/20  Peca, Samuel C.                        1.80         2,025.00       031       60805927
       REVIEW IMPLEMENTATION AGREEMENT (0.2); REVIEW EMAIL (0.3); CALL WITH DPW REGARDING
       MERGER AGREEMENT AND RELATED MATTERS (1.3).


   12/28/20    George, Jason                           1.40       1,022.00        031          60825434
       EMAIL TO DPW TEAM RE: IMPLEMENTATION AGREEMENT (0.1); EMAIL TO R. RUSSELL RE:
       IMPLEMENTATION AGREEMENT (0.1); CALL WITH M. PERA RE: SUBLEASE (0.1); CALL WITH J. LIOU AND J.
       MAENG RE: APACHE DEFINITIVE DOCUMENTS (0.3); DRAFT OPEN ISSUE LIST FOR APACHE DEFINITIVE
       DOCUMENTS (0.5); CALL WITH J. LIOU AND R. MOORE RE: IMPLEMENTATION AGREEMENT (0.2); EMAIL
       TO T. LAMME RE: IMPLEMENTATION AGREEMENT (0.1).


   12/28/20  Martin, Robert Crawford               1.60     1,616.00     031         60807442
       CONFERENCE WITH LENDERS' COUNSEL REGARDING IMPLEMENTATION AGREEMENT AND PLAN OF
       MERGER.


   12/29/20  Moore, Rodney L.                         5.40        7,695.00       031         60817535
       REVIEW AND REVISE PLAN OF MERGER (.8); REVIEW ORRI ISSUES/REVIEW AND COMMENT ON SECURITY
       INTEREST ANALYSIS (.8); REVIEW IMPLEMENTATION AGREEMENT AND PLAN (3.0); REVIEW PSA (.8).


   12/29/20   Liou, Jessica                         1.90         2,232.50       031           60838768
       REVIEW AND RESPOND TO EMAILS FROM R. RUSSELL RE: IMPLEMENTATION AGREEMENT (.1); CONFER
       WITH R. RUSSELL RE: IMPLEMENTATION AGREEMENT (.3); EMAILS WITH T. LAMME RE: SAME (.2);
       CONFER WITH R. MOORE RE: APACHE DOCUMENTS (.5); REVIEW AND RESPOND TO EMAILS (.8).


   12/29/20     Peca, Samuel C.                            0.20            225.00    031       60813989
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        REVIEW AND REVISE PLAN OF MERGER.


   12/29/20   Martin, Robert Crawford                 2.60       2,626.00      031       60816513
       REVISE PLAN OF MERGER (.6); CONFERENCE WITH INTERNAL TEAM REGARDING STATUS OF APACHE
       DOCUMENTS (.3); REVIEW AND REVISE EXHIBITS TO THE PLAN OF MERGER (1.7).


   12/29/20  Greene, Anthony L.                   0.50                     490.00    031      60935491
       REVIEW AND REVISE IMPLEMENTATION AGREEMENT.


   12/30/20  Moore, Rodney L.                        7.20     10,260.00      031        60819348
       PHONE CONFERENCE WITH FW REGARDING PLAN OF MERGER (.3); PHONE CONFERENCE WITH HAK
       REGARDING PLAN OF MERGER (.4); REVIEW/REVIEW AND PROVIDE COMMENTS TO VARIOUS APACHE
       DOCUMENTS AND PLAN AND DISCLOSURE STATEMENT AND MULTIPLE CORRESPONDENCE WITH DPW
       AND HAK REGARDING SAME TO FINALIZE DOCUMENTS (6.5).


   12/30/20  Liou, Jessica                             0.60       705.00         031       60838710
       CONFER WITH DPW, T. LAMME, T. ALLEN RE: OPEN ISSUES ON APACHE DEFINITIVE DOCUMENTS.


   12/30/20     Peca, Samuel C.                           1.60  1,800.00          031         60818702
       REVIEW PLAN OF MERGER EXHIBITS (0.3); REVIEW PLAN OF MERGER (0.2); REVIEW EMAILS RE: SAME
       (0.4); CALL WITH R. MOORE (0.2); REVISE PSA (0.5).


   12/30/20  Carlson, Clifford W.                 0.30        315.00      031                 60847951
       REVIEW AND REVISE IMPLEMENTATION AGREEMENT AND EMAILS REGARDING SAME.


   12/30/20   Delaney, Scott Michael                 1.10      1,155.00       031      60834192
       REVIEW REVISIONS AND RELATED CORRESPONDENCE RE: PLAN OF MERGER AND IMPLEMENTATION
       AGREEMENT (0.7); REVIEW AND REVISE CONFIRMATION NOTICE HEARING AND CORRESPONDENCE WITH
       J. HUFENDICK RE: SAME (0.4).


   12/30/20     George, Jason                              2.40          1,752.00    031      60825464
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        REVISE DRAFT OF IMPLEMENTATION AGREEMENT (1.8); CALL WITH J. LIOU AND R. MOORE RE:
        IMPLEMENTATION AGREEMENT (0.2); EMAIL TO T. LAMME RE: IMPLEMENTATION AGREEMENT (0.1);
        EMAIL TO R. RUSSELL RE: IMPLEMENTATION AGREEMENT (0.1); EMAIL TO DPW TEAM RE:
        IMPLEMENTATION AGREEMENT (0.1); EMAIL TO J. HUFENDICK RE: APACHE DEFINITIVE DOCUMENTS
        (0.1).


   12/30/20  Martin, Robert Crawford                6.30        6,363.00         031         60821160
       REVIEW AND REVISE UPDATED EXHIBITS TO PLAN OF MERGER (3.6); REVISE PLAN OF MERGER (2.7).


   12/30/20  Greene, Anthony L.                            0.50            490.00    031     60935800
       CALL REGARDING IMPLEMENTATION AGREEMENT.


   12/31/20     Moore, Rodney L.                    6.20         8,835.00       031       60833660
       TELEPHONE CONFERENCE CALL WITH APACHE AND DPW REGARDING IMPLEMENTATION AGREEMENT
       (.8); REVIEW AND REVISE IMPLEMENTATION AGREEMENT (1.2); MULTIPLE TELEPHONE CONFERENCE
       CALLS WITH WEIL, DPW AND APACHE REGARDING FINALIZING IMPLEMENTATION AGREEMENT AND
       PLAN OF MERGER AND DRAFT LANGUAGE AND REVIEWING COMMENTS REGARDING SAME (4.2).


   12/31/20  Liou, Jessica                            13.50     15,862.50        031        60841361
       CONFER WITH APACHE, HAK (PARTIAL), WEIL, T. LAMME RE: APACHE DEFINITIVE DOCUMENTS (1.8);
       CONFER WITH DPW RE: APACHE DOCUMENTS (.3); CONFER WITH HAK, APACHE, DPW RE: APACHE
       DOCUMENTS (.5); CONFER WITH T. LAMME RE: APACHE DOCUMENTS; CONFER WITH B. FOXMAN RE:
       BLOWOUT TERMS; CONFER WITH J. GEORGE RE: APACHE IMPLEMENTATION AGREEMENT (.7); CONFER
       WITH HAK, WEIL, APACHE, GORDON ARATA, DPW (1.0); CONFER WITH DPW RE: APACHE DEFINITIVE
       DOCUMENTS (.3). REVIEW AND REVISE VARIOUS PLAN, DISCLOSURE STATEMENT AND
       APACHE-RELATED DOCUMENTS (8.3); CONFER WITH R. RUSSELL RE: EDITS TO IMPLEMENTATION
       AGREEMENT, CONFER WITH J. GEORGE RE: SAME (.3); REVIEW AND REVISE IMPLEMENTATION
       AGREEMENT (.3).


   12/31/20   Peca, Samuel C.                       1.20         1,350.00        031       60967619
       REVIEW PLAN OF MERGER AND EXHIBITS THERETO (0.8); EMAIL RELATING TO FILING PREPARATION
       (0.4).


   12/31/20     Carlson, Clifford W.                       0.70            735.00    031     60848587
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        PARTICIPATE ON CALL WITH APACHE'S COUNSEL AND DAVIS POLK REGARDING IMPLEMENTATION
        AGREEMENT.


   12/31/20     Delaney, Scott Michael                0.80        840.00       031     60834019
       REVIEW REVISIONS AND RELATED CORRESPONDENCE RE: EXHIBIT TO IMPLEMENTATION AGREEMENT
       (0.3); REVIEW REVISIONS TO DISCLOSURE STATEMENT AND PLAN OF MERGER AND RELATED
       CORRESPONDENCE (0.5).


   12/31/20     George, Jason                            11.40        8,322.00       031       60825431
       CALLS WITH N. TSIOURIS, M. PERA, R. RUSSELL, A. PEREZ AND J. LIOU RE: IMPLEMENTATION
       AGREEMENT (2.7); EMAIL TO T. LAMME AND T. ALLEN RE: IMPLEMENTATION AGREEMENT EXHIBITS
       (0.1); CORRESPONDENCE WITH T. ALLEN RE: APACHE DEFINITIVE DOCUMENTS (0.3); CALL WITH C.
       DIKTABIN RE: APACHE DEFINITIVE DOCUMENTS (0.3); REVISE IMPLEMENTATION AGREEMENT (1.5);
       PREPARE APACHE DEFINITIVE DOCUMENTS FOR FILING (6.5).


   12/31/20   Martin, Robert Crawford                   9.80         9,898.00 031       60834779
       REVISE PLAN OF MERGER IN RESPONSE TO COMMENTS FROM LENDERS' COUNSEL AND APACHE'S
       COUNSEL (1.2); FINALIZE EXHIBITS TO THE PLAN OF MERGER (8.6).


   12/31/20  Greene, Anthony L.                                 0.90            882.00    031    60967622
       IMPLEMENTATION AGREEMENT CALL.


    SUBTOTAL TASK 031 - Apache Definitive                     227.70       $254,036.00
    Documentation:

   12/10/20  George, Jason                           0.60        438.00                   032    60694644
       CALL WITH T. GOSLIN AND C. CARLSON RE: DECOMMISSIONING LIABILITIES.


    SUBTOTAL TASK 032 - Plugging & Abandonment                   0.60         $438.00
    Liabilities:


    Total Fees Due                                           2,491.70    $2,501,744.00
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   01/11/21   George, Jason                          0.10                    77.00    001    60913729
       EMAIL J. BLOOM RE: REQUEST FOR ADMINISTRATIVE EXPENSE.


   01/12/21  George, Jason                          0.50         385.00        001          60913715
       CALL WITH A. STEADMAN RE: ADMINISTRATIVE EXPENSE CLAIM (0.2); CORRESPONDENCE WITH J.
       BLOOM RE: SAME (0.3).


   01/13/21  George, Jason                        0.10          77.00       001              61182298
       CORRESPONDENCE WITH J. BLOOM AND A. STEADMAN RE: ADMINISTRATIVE EXPENSE CLAIM.


   01/15/21  George, Jason                         0.10        77.00                  001    60942948
       CORRESPONDENCE WITH A. STEADMAN RE: ADMINISTRATIVE CLAIM.


   01/18/21   George, Jason                        0.30       231.00           001         60960869
       CORRESPONDENCE WITH A. STEADMAN RE: ADMINISTRATIVE EXPENSE CLAIM (0.2); EMAIL J. BLOOM
       RE: SAME (0.1).


   01/19/21  George, Jason                           0.30         231.00      001            60960839
       CORRESPONDENCE WITH A. STEADMAN, J. LIOU AND J. BLOOM RE: WITHDRAWAL OF
       ADMINISTRATIVE EXPENSE CLAIM.


   01/25/21  Margolis, Steven M.                  0.20        245.00                  001    61499121
       REVIEW CORRESPONDENCE AND ISSUES ON ADMINISTRATIVE EXPENSES.


   01/27/21  George, Jason                           0.20                   154.00    001    61025830
       CALL WITH L. PERSON RE: ADMINISTRATIVE EXPENSE CLAIM.


    SUBTOTAL TASK 001 - Administrative Expense              1.80         $1,477.00
    Claims (excluding 503(b)(9) Claims):

   01/05/21     Perez, Alfredo R.                           0.60            957.00    002    60873189
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        PREPARATION CALLS WITH M. DANE, R. SERGESKETTER AND B. PADDOCK REGARDING ADVERSARY
        PROCEEDINGS (.5); TELEPHONE CONFERENCE WITH M. DANE REGARDING STATUS (.1).


   01/06/21  Perez, Alfredo R.                         1.80      2,871.00        002       60873302
       REVIEW ISSUES RELATING TO THE ADVERSARIES (.5); PARTICIPATE ON THE STATUS CONFERENCES (1.0);
       TELEPHONE CONFERENCE WITH M. DANE REGARDING FOLLOW-UP (.3).


   01/13/21  Simmons, Kevin Michael                     5.20      4,654.00        002        60923716
       CALL WITH E. CHOI ON TASKS RE: DISCOVERY (0.2); REVIEW MATERIALS RE: DISCOVERY REQUESTS (2.0);
       DRAFT EMAIL TO E. CHOI OUTLINING POTENTIAL DOCUMENT REQUESTS AND DEPOSITION TOPICS (3.0).


   01/18/21 Perez, Alfredo R.                       0.10       159.50                 002    60950928
       COMMUNICATIONS WITH R. PADDOCK AND J. LIOU REGARDING VALERO.


   01/21/21  Perez, Alfredo R.                    0.30       478.50       002                60977325
       CONFERENCE CALL WITH COUNSEL FOR ECOPETROL AND RIDGEMONT REGARDING ATLANTIC
       ADVERSARY PROCEEDING.


    SUBTOTAL TASK 002 - Adversary Proceedings:              8.00         $9,120.00

   01/07/21  Liou, Jessica                                  0.10            132.50    003    60892869
       EMAILS WITH D. CROWLEY RE: SALE PROCESS.


   01/09/21  Moore, Rodney L.                     1.40      2,093.00      003                60890957
       REVIEW ORRI MOTION AND RELATED DOCUMENTS AND PROVIDE COMMENTS ON SAME.


   01/10/21   George, Jason                                 0.50            385.00    003    60913713
       REVISE DRAFT OF MOTION RE: SOLE MANAGER.


   01/11/21  Olvera, Rene A.                     0.50        202.50                   003    61201418
       COMPILE DOCUMENTS TO MAKE FULLY EXECUTED VERSION OF NDA.
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   01/22/21  Perez, Alfredo R.                    0.50       797.50                  003       60991026
       TELEPHONE CONFERENCE WITH T. LAMME REGARDING FIELDWOOD MEXICO.


   01/22/21  Carlson, Clifford W.                          0.40            440.00    003       61046620
       EMAILS REGARDING BIDDING PROCEDURES.


   01/23/21  Liou, Jessica                            0.60         795.00            003       60989901
       CONFER WITH M. DANE, T. LAMME, HL AND WEIL RE: BID PROCESS NEXT STEPS.


   01/23/21   Carlson, Clifford W.                         0.60            660.00    003       61497882
       PARTICIPATE ON CALL REGARDING SALE PROCESS.


   01/24/21   Carlson, Clifford W.                         0.30            330.00    003       61042022
       PARTICIPATE ON CALL REGARDING SALE PROCESS.


   01/26/21  Perez, Alfredo R.                    0.60         957.00       003         61006087
       CONFERENCE CALL WITH AKIN REGARDING FIELDWOOD MEXICO (.5); COMMUNICATIONS WITH T.
       SAMPSON AND T. LAMME REGARDING CALL WITH BARCLAY'S AND AKIN (.1).


   01/26/21  Liou, Jessica                             0.60        795.00        003         61046097
       CONFER WITH D. CROWLEY RE: BID PROCESS (.3); CONFER WITH POTENTIAL BIDDER RE: BID PROCESS (.3).


   01/27/21   George, Jason                                0.50            385.00    003       61025797
       EMAIL RE: NDAS.


   01/28/21   George, Jason                              3.80     2,926.00         003         61027835
       REVISE NDA FOR POTENTIAL BIDDER (1.7); CORRESPOND WITH J. LIOU, C. CARLSON AND S. PECA RE:
       SAME (0.3); RESEARCH ISSUE RELATING TO NDAS (1.8).


   01/29/21     George, Jason                              0.90            693.00    003       61049716
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        REVISE NDA (0.5); CORRESPOND WITH J. LIOU RE: NDA (0.1); CORRESPOND WITH M. DANE AND T.
        LAMME RE: NDA (0.2); CORRESPOND WITH B. PROGAR RE: NDA (0.1).


    SUBTOTAL TASK 003 - Asset Acquisitions/                  11.30        $11,591.50
    Dispositions/ 363 Matters:

   01/03/21  Sierra, Tristan M.                        3.10       2,387.00       004         60928548
       RESEARCH RE: LLOG SECURITY RIGHTS (1.8); RESEARCH ISSUES RELATED TO LLOG ROYALTIES (1.3).


   01/04/21   Smith, Leslie S.                         3.20         3,520.00       004       61042331
       REVIEW TROIKA AGREEMENT (0.7); REVIEW MEMO FROM LISKOW (0.8); CORRESPONDENCE REGARDING
       RECORDINGS WITH LISKOW AND COMPANY (0.4); CORRESPONDENCE REGARDING DAVIS ORRI AND JOA
       TERMS (0.3); CORRESPONDENCE WITH R. MOORE, S. PECA REGARDING CLAIM (0.2); CORRESPONDENCE
       WITH C. CARLSON, T. SIERRA AND E. CHOI REGARDING LLOG (0.3); CORRESPONDENCE TO M. MALONEY
       AND K. DOODY REGARDING LLOG (0.5).


   01/04/21     Carlson, Clifford W.                   1.10      1,210.00       004         60913466
       PARTICIPATE ON CALL WITH T. SIERRA AND E. CHOI REGARDING RESPONSE TO MOTION TO LIFT STAY
       (.6); REVIEW MATERIALS AND EMAILS REGARDING SAME (.5).


   01/04/21  Choi, Erin Marie                     0.50      550.00       004         61163373
       CALL WITH RESTRUCTURING AND CORPORATE TEAM MEMBERS REGARDING RESPONSE TO LLOG
       MOTION TO LIFT STAY.


   01/04/21  Sierra, Tristan M.                          7.80        6,006.00    004         60928545
       RESEARCH RE: LLOG SECURITY RIGHTS (1.4); RESEARCH ISSUES RELATED TO LLOG ROYALTIES (1.7);
       DRAFT OBJECTION TO LIFT STAY MOTION (4.3); ATTEND CALL RE: RESPONSE TO LLOG LIFT STAY
       MOTION WITH E. CHOI, L. SMITH, C. CARLSON, S. PECA, AND R. MOORE (0.4).


   01/05/21  Peca, Samuel C.                                  0.20            245.00    004       61163504
       REVIEW LLOG ISSUE OUTLINE.


   01/05/21     Smith, Leslie S.                              2.80          3,080.00    004       60894417
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        CORRESPONDENCE WITH M. MALONEY REGARDING UCCS (0.2); CORRESPONDENCE WITH T. SHANKS
        REGARDING SAME (0.1); REVIEW COMMENTS AND CHANGES (1.0); REVISE OBJECTION (1.5).


   01/05/21  Carlson, Clifford W.                 1.50       1,650.00                004     60913571
       MULTIPLE CALLS AND EMAILS REGARDING RESPONSE TO MOTION TO LIFT STAY.


   01/05/21  Choi, Erin Marie                              0.50            550.00    004     61163629
       ATTENTION TO LLOG RESPONSE OUTLINE.


   01/05/21  Sierra, Tristan M.                       11.50       8,855.00       004         60928577
       RESEARCH RE: LLOG SECURITY RIGHTS (1.0); RESEARCH LLOG ISSUES RELATED TO ROYALTIES (1.0);
       DRAFT OBJECTION TO LIFT STAY MOTION (9.5).


   01/06/21  Peca, Samuel C.                      1.00                   1,225.00    004     61163384
       REVIEW AND COMMENT WITH RESPECT TO LLOG MOTION.


   01/06/21  Smith, Leslie S.                        6.70         7,370.00      004         60888952
       CORRESPONDENCE WITH M. MALONEY, K. DOODY REGARDING LOUISIANA LAW ISSUES (0.5); REVIEW
       ASSIGNMENT DOCUMENT (0.5); CORRESPONDENCE WITH T. SHANKS REGARDING SAME (0.3); REVIEW
       COMMENTS TO OBJECTION DRAFT (1.0); REVIEW UCCS (2.5); CORRESPONDENCE WITH T. LAMME, K.
       DOODY, M. MALONEY REGARDING RECORDING (0.4); REVISE OBJECTION (1.5).


   01/06/21  Conley, Brendan C.                     0.50         550.00              004     61291206
       REVIEW UCC FILINGS AND MORTGAGE FILINGS PER LLOG INQUIRY.


   01/06/21   Carlson, Clifford W.                   4.30       4,730.00          004       60913759
       REVISE RESPONSE TO LLOG'S MOTION FOR RELIEF FROM THE STAY (2.7); MULTIPLE CALLS AND EMAILS
       REGARDING SAME (1.6).


   01/06/21  Sierra, Tristan M.                       11.90       9,163.00       004         60933960
       RESEARCH RE: LLOG SECURITY RIGHTS (1.0); RESEARCH ISSUES RELATED TO LLOG ROYALTIES (1.0);
       DRAFT OBJECTION TO LIFT STAY MOTION (9.9).
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   01/07/21  Peca, Samuel C.                         1.10       1,347.50             004      60877519
       REVIEW AND REVISE LLOG MOTION (0.5); CALL REGARDING LLOG MOTION (0.6).


   01/07/21     Smith, Leslie S.                      10.20       11,220.00       004         60888467
       REVIEW COMMENTS FROM ALL REVIEWERS TO OBJECTION (2.5); REVIEW REVISIONS FROM T. SIERRA
       (0.8); REVIEW LOUISIANA LAW ISSUES FROM M. MALONEY (1.0); CONFERENCE CALL WITH S. PECA, C.
       CARLSON, T. SIERRA, REGARDING MOTION AND OBJECTION (0.6); REVISE OBJECTION (2.5);
       CORRESPONDENCE WITH M. MALONEY AND K. DOODY REGARDING SAME AND LOUISIANA LAW (1.5);
       REVIEW CASE LAW (1.0); TELEPHONE CALL WITH K. DOODY (0.3).


   01/07/21  Carlson, Clifford W.                    5.20          5,720.00       004       60913846
       REVIEW RESPONSE TO LLOG'S MOTION TO LIFT STAY (4.5); PARTICIPATE ON CALL WITH CORPORATE
       TEAM AND L. SMITH REGARDING RESPONSE TO MOTION TO LIFT STAY (.7).


   01/07/21   Sierra, Tristan M.                          12.70         9,779.00   004        60933862
       RESEARCH RE: LLOG SECURITY RIGHTS (.7); RESEARCH ISSUES RELATED TO LLOG ROYALTIES (.8); DRAFT
       OBJECTION TO LIFT STAY MOTION (10.2); ATTEND CALL RE: OBJECTION TO LLOG LIFT STAY MOTION
       WITH E. CHOI, L. SMITH, C. CARLSON, S. PECA, AND R. MOORE (1.0).


   01/07/21  Jalomo, Chris                          3.20       1,024.00              004      60928405
       REVIEW AND CITE CHECK DEBTORS OBJECTION TO LLOG LIFT STAY MOTION.


   01/07/21  Olvera, Rene A.                        0.50       202.50        004        61292992
       PREPARE AND ELECTRONICALLY FILE PROPOSED STIPULATED ORDER LIFTING AUTOMATIC STAY
       (RANDALL).


   01/08/21  Perez, Alfredo R.                           1.30     2,073.50      004       60887678
       REVIEW AND REVISE LLOG MOTION TO LIFT STAY RESPONSE (.4); TELEPHONE CONFERENCES WITH C.
       CARLSON REGARDING LLOG RESPONSE (.6); TELEPHONE CONFERENCE WITH M. DANE REGARDING
       RESPONSE (.2); REVIEW STIPULATION WITH LLOG (.1).


   01/08/21     Peca, Samuel C.                            0.70            857.50    004      61163802
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        REVIEW LLOG RESPONSE.


   01/08/21  Smith, Leslie S.                         7.20       7,920.00       004        60888495
       CONFERENCE CALL WITH C. CARLSON, E. CHOI AND T. SIERRA REGARDING STATUS OF OBJECTION
       COMMENTS (0.2); CORRESPONDENCE REGARDING COMMENTS WITH K. DOODY, M. MALONEY (0.5);
       REVIEW COMMENTS, DOCUMENTS AND REVISE OBJECTION (6.5).


   01/08/21  Carlson, Clifford W.                     3.40      3,740.00        004        60953490
       CONFERENCE WITH LLOG'S COUNSEL REGARDING MOTION TO LIFT STAY (.2); REVISE RESPONSE TO LIFT
       STAY MOTION (2.5); PARTICIPATE ON CALLS REGARDING MOTION TO LIFT STAY AND MOTION FOR
       ADEQUATE PROTECTION (.7).


   01/08/21  Choi, Erin Marie                       2.60       2,860.00        004        60892557
       DRAFT OBJECTION TO LLOG MOTION TO LIFT STAY AND CONFER WITH T. SIERRA AND C. CARLSON
       REGARDING SAME.


   01/08/21   Sierra, Tristan M.                       7.80        6,006.00       004         60933896
       DRAFT OBJECTION TO LIFT STAY MOTION (3.9); DRAFT OUTLINE TO OBJECTION TO LLOG MOTION FOR
       ADEQUATE PROTECTION (2.0); DRAFT STIPULATION TO EXTEND DEADLINE TO FILE OBJECTION TO LLOG
       LIFT STAY MOTION (1.0); ATTEND CALL RE: OBJECTION TO LLOG LIFT STAY MOTION WITH E. CHOI, L.
       SMITH, C. CARLSON, S. PECA, AND R. MOORE (0.9).


   01/08/21  Olvera, Rene A.                        4.30       1,741.50        004          61080723
       REVIEW AND CITE-CHECK OBJECTION TO LLOG'S MOTION FOR RELIEF FROM STAY (3.5); PREPARE AND
       ELECTRONICALLY FILE STIPULATION EXTENDING TIME TO OBJECT TO LLOG LIFT STAY MOTION (.8).


   01/09/21  Carlson, Clifford W.                 0.60          660.00        004        60953605
       MULTIPLE CALLS AND EMAILS REGARDING RESPONSES TO LLOG'S MOTION TO LIFT THE STAY AND
       MOTION FOR ADEQUATE PROTECTION.


   01/09/21  Choi, Erin Marie                      1.20        1,320.00       004             60888286
       CONTINUE TO DRAFT OBJECTION TO LLOG MOTION TO LIFT STAY AND CONFER WITH T. SIERRA
       REGARDING SAME.
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   01/09/21   Sierra, Tristan M.                      15.10      11,627.00       004        60933859
       DRAFT OBJECTION TO LLOG LIFT STAY MOTION (5.0); DRAFT OBJECTION TO LLOG MOTION FOR
       ADEQUATE PROTECTION (9.6); ATTEND CALL RE: OBJECTION TO LLOG LIFT STAY MOTION WITH E. CHOI
       AND C. CARLSON. (.5).


   01/10/21  Perez, Alfredo R.                      0.50                   797.50    004      60888702
       REVIEW AND REVISE OBJECTION TO LLOG'S MOTIONS.


   01/10/21  Carlson, Clifford W.                   3.10     3,410.00          004        60992797
       REVIEW AND REVISE OBJECTION TO MOTION FOR ADEQUATE PROTECTION (1.6); REVIEW AND REVISE
       RESPONSE TO MOTION TO LIFT STAY (1.5).


   01/10/21   Sierra, Tristan M.                    9.70      7,469.00         004        60933843
       ATTEND CALL RE: OBJECTION TO LLOG MOTION FOR ADEQUATE PROTECTION WITH C. CARLSON (.2);
       DRAFT OBJECTION TO LLOG MOTION FOR ADEQUATE PROTECTION (7.0); DRAFT OBJECTION TO LLOG
       LIFT STAY MOTION (2.5).


   01/11/21  Perez, Alfredo R.                       1.80      2,871.00        004      60909430
       REVIEW AND REVISE OBJECTION TO MOTION TO LIFT STAY AND ADEQUATE PROTECTION MOTION (1.2);
       TELEPHONE CONFERENCES WITH C. CARLSON AND T. SIERRA REGARDING FILINGS (.6).


   01/11/21  Peca, Samuel C.                         1.40      1,715.00       004           60905489
       CALL REGARDING LLOG RESPONSE (0.3); FOLLOW UP CALL REGARDING LLOG RESPONSE (0.3); REVIEW
       LLOG RESPONSE (0.8).


   01/11/21   Smith, Leslie S.                            4.60      5,060.00       004        60907522
       CORRESPONDENCE REGARDING COMMENTS TO OBJECTION WITH R. MOORE, S. PECA, C. CARLSON, T.
       SIERRA (0.7); REVIEW REVISIONS TO OBJECTION (2.5); ATTEND CONFERENCE CALL WITH R. MOORE, C.
       CARLSON (0.3); ATTEND CONFERENCE CALL WITH R. MOORE, C. CARLSON (0.2); REVIEW REVISIONS (0.6);
       CORRESPONDENCE WITH T. SIERRA REGARDING EXHIBITS (0.3).


   01/11/21     Carlson, Clifford W.                       5.90          6,490.00    004      60992779
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        REVISE OBJECTION TO LLOG'S MOTION FOR ADEQUATE PROTECTION (1.5); MULTIPLE CALLS AND
        EMAILS REGARDING SAME (.6); REVISE OBJECTION TO LLOG'S MOTION TO LIFT STAY (2.0); PARTICIPATE
        ON CALL WITH LISKOW REGARDING SAME (0.7); PARTICIPATE ON CALLS AND EMAILS WITH WEIL
        TEAM REGARDING SAME (1.1).


   01/11/21  Choi, Erin Marie                        3.40      3,740.00         004          60903396
       CALL WITH C. CARLSON AND T. SIERRA REGARDING LISKOW EDITS TO LIFT STAY OBJECTION (0.7); CALL
       WITH CHIRON REGARDING INFORMATION REQUESTS (0.5); ATTENTION TO LLOG LIFT STAY OBJECTION
       AND FURTHER CONFERENCES WITH WEIL TEAM REGARDING SAME (2.2).


   01/11/21   Sierra, Tristan M.                      12.30       9,471.00       004        60933845
       DRAFT OBJECTION TO LLOG LIFT STAY MOTION (4.7); DRAFT OBJECTION TO LLOG MOTION FOR
       ADEQUATE PROTECTION (6.5); ATTEND CALL RE: OBJECTION TO LLOG LIFT STAY MOTION WITH E. CHOI
       AND C. CARLSON (1.1).


   01/11/21  Olvera, Rene A.                        6.30       2,551.50          004       61080719
       REVIEW AND CITE-CHECK DEBTORS OBJECTION TO LLOG LIFT STAY MOTION (4.0); PREPARE AND
       ELECTRONICALLY FILE DEBTORS OBJECTION TO LLOG LIFT STAY MOTION (2.3).


   01/12/21  Perez, Alfredo R.                    0.20        319.00       004         60918316
       VARIOUS COMMUNICATIONS WITH C. CARLSON REGARDING CALL WITH PJ GOODWINE AND TIMING OF
       HEARINGS.


   01/12/21   Carlson, Clifford W.                   1.30        1,430.00       004        60991312
       EMAILS WITH LLOG'S COUNSEL REGARDING PENDING MOTIONS (.2); PARTICIPATE ON CALL WITH T.
       SIERRA REGARDING HEARING ON LLOG'S MOTIONS (.3); MULTIPLE CALLS AND EMAILS REGARDING
       HEARING ON LLOG'S MOTION TO LIFT STAY (.8).


   01/12/21   Sierra, Tristan M.                      6.50      5,005.00      004         60933880
       DRAFT PRESENTATION RELATED TO OBJECTION TO LLOG LIFT STAY MOTION AND LLOG MOTION FOR
       ADEQUATE PROTECTION (6.2); ATTEND CALL WITH C. CARLSON REGARDING PRESENTATION RELATED
       TO OBJECTION TO LLOG LIFT STAY MOTION AND LLOG MOTION FOR ADEQUATE PROTECTION (0.3).


   01/13/21     Perez, Alfredo R.                          0.40            638.00    004        60928555
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        VARIOUS COMMUNICATIONS WITH C. CARLSON REGARDING LLOG (.3); REVIEW AND REVISE
        STIPULATION (.1).


   01/13/21  Smith, Leslie S.                       0.50       550.00           004        60980483
       CONFERENCE CALL WITH P. GOODWINE, C. CARLSON REGARDING LLOG CLAIM (0.3); CALL WITH C.
       CARLSON REGARDING SAME (0.2).


   01/13/21   Carlson, Clifford W.                   1.40      1,540.00      004           60991240
       CONFERENCE WITH LLOG'S COUNSEL REGARDING HEARING ON MOTION TO LIFT STAY (.3); REVISE
       STIPULATION REGARDING HEARING (.3); REVIEW VARIOUS DOCUMENTS RELATED TO LIFT STAY
       MOTION (.8).


   01/13/21  Sierra, Tristan M.                      5.20      4,004.00       004        60933927
       DRAFT PRESENTATION RELATED TO OBJECTION TO LLOG LIFT STAY MOTION AND LLOG MOTION FOR
       ADEQUATE PROTECTION (3.7); DRAFT PROPOSED STIPULATED ORDER TO CONTINUE HEARING DATE
       FOR LLOG MOTIONS (1.5).


   01/14/21   Smith, Leslie S.                       1.00       1,100.00      004        60980513
       CORRESPONDENCE WITH M. MALONEY AND K. DOODY REGARDING LLOG CLAIM ISSUES (0.2); REVIEW
       UCCS SENT BY P. GOODWINE (0.5); CORRESPONDENCE WITH M. MALONEY, COMPANY REGARDING SHELL
       ORRI RECORDING (0.3).


   01/14/21    Carlson, Clifford W.                     0.90   990.00       004        60990934
       MULTIPLE CALLS AND EMAILS REGARDING LLOG'S MOTIONS FOR ADEQUATE PROTECTION AND LIFT
       STAY (.5); REVISE STIPULATION REGARDING SAME (.4).


   01/14/21   Sierra, Tristan M.                     0.40       308.00        004        60978998
       FINALIZE AND FILE PROPOSED STIPULATED ORDER TO CONTINUE HEARING DATE RE: LLOG MOTION
       FOR ADEQUATE PROTECTION AND MOTION TO LIFT STAY.


   01/14/21  Olvera, Rene A.                        0.50       202.50       004        61080787
       PREPARE AND ELECTRONICALLY FILE PROPOSED STIPULATED ORDER TO CONTINUE HEARING DATE
       REGARDING LLOG LIFT STAY MOTION.
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   01/18/21  Sierra, Tristan M.                      2.50      1,925.00       004               60979010
       DRAFT PRESENTATION RE: OBJECTIONS TO LLOG LIFT STAY MOTION AND LLOG MOTION FOR
       ADEQUATE PROTECTION.


   01/19/21  Sierra, Tristan M.                      0.30        231.00       004               60979034
       DRAFT PRESENTATION RE: OBJECTIONS TO LLOG LIFT STAY MOTION AND LLOG MOTION FOR
       ADEQUATE PROTECTION.


   01/20/21    Perez, Alfredo R.                       2.30         3,668.50      004        60970304
       REVIEW DOCUMENTS RELATED TO LLOG (1.3); TELEPHONE CONFERENCE WITH C. CARLSON REGARDING
       LLOG (.3); PARTICIPATE ON WEIL PRE-CALL REGARDING LLOG (.3); CONFERENCE CALL WITH LLOG'S
       COUNSEL (.4).


   01/20/21     Smith, Leslie S.                          1.20      1,320.00       004         60979954
       PREPARE FOR CONFERENCE CALLS ON LLOG (0.6); ATTEND CONFERENCE CALL WITH C. CARLSON, E.
       CHOI, J. LIOU AND T. SIERRA REGARDING ISSUES (0.3); ATTEND CONFERENCE CALL WITH C. CARLSON, L.
       JOHNSON, P. GOODWINE, L. JAUBERT AND E. CHOI (0.3).


   01/20/21   Carlson, Clifford W.                      1.80      1,980.00       004        61043913
       MULTIPLE CALLS AND EMAILS REGARDING HEARING ON LLOG'S MOTIONS (.7); PARTICIPATE ON
       CONFERENCE CALL WITH LLOG'S COUNSEL REGARDING SAME (.3); REVIEW AND REVISE WITNESS AND
       EXHIBIT LIST FOR HEARING ON LLOG'S MOTIONS (.3); PREPARE FOR HEARING REGARDING SAME AND
       REVIEW RELATED MATERIALS (.5).


   01/20/21  Choi, Erin Marie                      0.50                    550.00    004        61293267
       CALL WITH WEIL TEAM REGARDING LLOG MOTIONS.


   01/20/21   Sierra, Tristan M.                       8.10       6,237.00           004        60979031
       ATTEND TEAM CALL RE: LLOG LITIGATION AND JAN. 25 HEARINGS (.3); ATTEND CALL WITH OPPOSING
       COUNSEL IN LLOG LITIGATION (.4); DRAFT WITNESS AND EXHIBIT LIST FOR JAN. 25, 2021 HEARINGS RE:
       LLOG MOTION TO LIFT STAY AND MOTION FOR ADEQUATE PROTECTION (6.0); PREPARE EXHIBITS FOR
       SAME (1.4).
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   01/21/21  Perez, Alfredo R.                    0.30       478.50                  004       60977319
       VARIOUS COMMUNICATIONS WITH C. CARLSON REGARDING LLOG MOTIONS.


   01/21/21  Smith, Leslie S.                      1.20     1,320.00          004          60980186
       CORRESPONDENCE WITH M. MALONEY, K. DOODY REGARDING LLOG (0.5); REVIEW EXHIBIT LIST (0.2);
       ATTEND CONFERENCE CALL ON LLOG CLAIM (0.5).


   01/21/21  Carlson, Clifford W.                       2.00      2,200.00       004        61043262
       REVIEW AND REVISE WITNESS AND EXHIBIT LIST (.2); MULTIPLE CALLS AND EMAILS REGARDING
       PREPARATION FOR HEARING ON LLOG'S MOTIONS (.4); PARTICIPATE ON CALLS WITH WEIL TEAM
       REGARDING HEARING ON LLOG MOTIONS (.8); REVIEW MATERIALS REGARDING SAME (.6).


   01/21/21  Choi, Erin Marie                      1.50     1,650.00       004       61197548
       ATTENTION TO LLOG HEARING PREPARATION AND CONFERENCES WITH TEAM REGARDING SAME.


   01/21/21  Sierra, Tristan M.                          8.70      6,699.00       004          61044451
       DRAFT WITNESS AND EXHIBIT LIST FOR JAN. 25, 2021 HEARINGS RE: LLOG MOTION TO LIFT STAY AND
       MOTION FOR ADEQUATE PROTECTION (1.2); PREPARE EXHIBITS FOR SAME (1.3); DRAFT MOTION TO FILE
       CERTAIN EXHIBITS UNDER SEAL (1.2); DRAFT PRESENTATION FOR HEARING RE: LLOG MOTION TO LIFT
       STAY AND MOTION FOR ADEQUATE PROTECTION (3.8); ATTEND CALL RE: JANUARY 25 HEARING ON
       LLOG MOTIONS WITH C. CARLSON, E. CHOI AND L. SMITH (1.2).


   01/21/21  Olvera, Rene A.                          2.50       1,012.50      004        61088453
       ELECTRONICALLY ORGANIZE DEBTORS' EXHIBITS AND LLOG'S EXHIBITS IN CONNECTION WITH LLOG'S
       MOTION FOR RELIEF FROM STAY (2.0); PREPARE EMAIL TO TEAM ATTACHING SAMPLE MOTIONS TO
       SEAL CONFIDENTIAL EXHIBITS (.5).


   01/22/21  Perez, Alfredo R.                            1.10 1,754.50     004        60991232
       TELEPHONE CONFERENCE WITH T. ALLEN REGARDING HEARING PREPARATION FOR LLOG HEARINGS (.2);
       TELEPHONE CONFERENCES WITH C. CARLSON REGARDING SLIDES AND ARGUMENTS FOR THE LLOG
       HEARINGS (.5); REVIEW FILINGS IN PREPARATION (.4).


   01/22/21     Carlson, Clifford W.                       3.80          4,180.00    004       61046558
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        PARTICIPATE ON CALL WITH WEIL TEAM REGARDING HEARING ON LLOG'S MOTIONS (.5); PARTICIPATE
        ON CALL WITH LLOG'S COUNSEL REGARDING HEARING ON LLOG'S MOTIONS (.4); MULTIPLE EMAILS
        REGARDING SAME (.3); REVIEW AND REVISE PRESENTATION ON LLOG HEARING (1.5); REVIEW LLOG'S
        REPLY IN SUPPORT OF MOTIONS (.4); PARTICIPATE ON CALL WITH LISKOW REGARDING LLOG'S
        MOTIONS (.7).


   01/22/21  Choi, Erin Marie                      5.50      6,050.00                  004       61198051
       ATTENTION TO LLOG HEARING PREPARATION AND CALLS REGARDING SAME.


   01/22/21   Sierra, Tristan M.                       8.60       6,622.00        004          61044365
       DRAFT PRESENTATION FOR JAN. 25, 2021 HEARING RE: LLOG MOTION TO LIFT STAY AND MOTION FOR
       ADEQUATE PROTECTION (5.2); DRAFT REQUEST TO SHELL RE: USE OF CERTAIN AGREEMENTS AS
       EXHIBITS IN SAME HEARINGS (1.2); REVIEW LLOG REPLY IN SUPPORT OF SAME MOTIONS (.3); ATTEND
       INTERNAL CALL RE: LLOG HEARING (.7); ATTEND CALL WITH OPPOSING COUNSEL RE: LLOG HEARING (.4);
       ATTEND CALL WITH LOCAL COUNSEL RE: LLOG HEARING (.8).


   01/22/21   Olvera, Rene A.                           2.50       1,012.50        004   61104005
       COORDINATE AND PREPARE EMAILS REGARDING PREPARATION AND DELIVERY OF LLOG WITNESS AND
       EXHIBIT BINDERS TO A. PEREZ (1.5); DISCUSSIONS AND EMAILS WITH TEAM AND G. CARTER
       REGARDING SAME (0.2); ELECTRONICALLY ORGANIZE MATERIALS IN CLOUDSHARE (0.8).


   01/23/21     Smith, Leslie S.                          5.70      6,270.00          004        60979796
       REVIEW TIMELINE PRESENTATION FOR LLOG CLAIM (0.3); REVIEW MOTION (0.7); ATTEND CONFERENCE
       CALL WITH A. PEREZ, C. CARLSON, T. SIERRA, E. CHOI ON LLOG CLAIM (1.0); REVIEW MOTION, REVISED
       TIMELINE, MATERIALS AND CORRESPONDENCE FROM M. MALONEY AND K. DOODY RELATED TO SAME
       (2.5); ATTEND CONFERENCE CALL WITH A. PEREZ, C. CARLSON, T. SIERRA, E. CHOI REGARDING TIMELINE
       REVISIONS (0.5); PREPARE BULLETS FOR DISCUSSION (0.7).


   01/23/21   Carlson, Clifford W.                    6.00       6,600.00        004           61043043
       PREPARE FOR HEARING ON LLOG'S MOTIONS (3.5); CALLS AND EMAILS WITH A. PEREZ, E. CHOI, AND L.
       SMITH REGARDING SAME (2.5).


   01/23/21     Simmons, Kevin Michael                       0.40            358.00    004       61198308
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        DRAFT STIPULATED ORDER TO LIFT STAY.


   01/23/21  George, Jason                              1.50      1,155.00            004       61003886
       CALL WITH C. CARLSON RE: ORRI RESEARCH (0.4); RESEARCH ISSUE RE: ORRI (1.1).


   01/23/21  Choi, Erin Marie                      6.30         6,930.00       004        61198315
       CALL WITH WEIL TEAM REGARDING LLOG HEARING PREP (0.9); PREPARATION FOR LLOG HEARING (5.4).


   01/23/21  Sierra, Tristan M.                        9.50       7,315.00          004         61044252
       DRAFT PRESENTATION FOR JAN. 25, 2021 HEARING RE: LLOG MOTION TO LIFT STAY AND MOTION FOR
       ADEQUATE PROTECTION (8.4); ATTEND CALL WITH A. PEREZ, E. CHOI, L. SMITH, AND C. CARLSON RE:
       PRESENTATION FOR JAN. 25, 2021 HEARING RE: LLOG MOTION TO LIFT STAY AND MOTION FOR
       ADEQUATE PROTECTION (1.1).


   01/24/21  Perez, Alfredo R.                       4.90       7,815.50        004        60991345
       PREPARE FOR HEARING LLOG'S MOTIONS INCLUDING VARIOUS CALL WITH THE WEIL TEAM (1.1);
       CONFERENCE CALL WITH MANAGEMENT AND WEIL TEAM (.7); TELEPHONE CONFERENCE WITH C.
       CARLSON REGARDING STATUS (.2); AND REVIEW OF SLIDES AND DOCUMENTS (2.9).


   01/24/21  Barr, Matthew S.                        1.70     3,051.50          004         60987114
       REVIEW HEARING DECK (1.0); CORRESPOND WITH TEAM REGARDING SAME (.1); PARTICIPATE ON ALL
       HANDS CALL REGARDING HEARING (PARTIAL) (.6).


   01/24/21    Smith, Leslie S.                        3.90       4,290.00        004          61038086
       REVIEW SLIDES ON LLOG (0.3); ATTEND CONFERENCE CALL WITH A. PEREZ, C. CARLSON, T. SIERRA AND
       E. CHOI ON LLOG CLAIM (0.5); ATTEND CONFERENCE CALL WITH A. PEREZ, C. CARLSON, T. SIERRA, E.
       CHOI AND COMPANY ON LLOG CLAIM (1.0); CORRESPONDENCE WITH C. CARLSON, T. SIERRA, E. CHOI, K.
       DOODY AND M. MALONEY REGARDING MATERIALS FOR HEARING (1.3); REVIEW COMMENTS FROM K.
       DOODY (0.4); ATTEND CONFERENCE CALL WITH C. CARLSON, T. SIERRA AND E. CHOI REGARDING
       HEARING AND CLAIM (0.4).


   01/24/21     Carlson, Clifford W.                       6.10          6,710.00     004       61041960
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        PARTICIPATE ON CALL WITH COMPANY REGARDING PREPARATION FOR HEARING ON LLOG MOTIONS
        (1.0); PARTICIPATE ON CALLS WITH WEIL TEAM REGARDING PREPARATION FOR HEARING ON LLOG
        MOTIONS (1.5); REVISE MATERIALS FOR HEARING (2.0); REVISE OUTLINE FOR DIRECT EXAMINATION (.9);
        REVISE WITNESS AND EXHIBIT LISTS (.4); DRAFT AGENDA (.3).


   01/24/21  George, Jason                                 1.00            770.00    004        61003870
       RESEARCH ISSUE RE: ORRI.


   01/24/21  Choi, Erin Marie                         3.40       3,740.00      004         60990030
       PRE-CALL REGARDING LLOG HEARING PREP (0.5); CLIENT CALL REGARDING LLOG HEARING PREP (1.0);
       FOLLOW-UP REGARDING SAME (0.4); CORRESPOND REGARDING ARENA MEDIATION (0.1); FOLLOW-UP
       CALL WITH WEIL TEAM REGARDING LLOG HEARING PREP (0.4); ADDITIONAL LLOG HEARING PREP (1.0).


   01/24/21     Sierra, Tristan M.                      9.70      7,469.00          004         61044240
       DRAFT WITNESS OUTLINE FOR JAN. 25, 2021 HEARING RE: LLOG MOTION TO LIFT STAY AND MOTION
       FOR ADEQUATE PROTECTION (5.7); PREPARE EXHIBITS FOR SAME (1.1); FINALIZE WITNESS AND EXHIBIT
       LIST AND ASSOCIATED EXHIBITS (1.0); ATTEND INTERNAL MEETING RE: WITNESS PREPARATION FOR
       JAN. 25, 2021 HEARINGS RE: LLOG MOTION TO LIFT STAY AND MOTION FOR ADEQUATE PROTECTION (.5);
       ATTEND WITNESS PREPARATION SESSION WITH M. DANE, T. LAMME, T. ALLEN, A. PEREZ, E. CHOI, C.
       CARLSON, AND L. SMITH (.9); ATTEND INTERNAL MEETING WITH A. PEREZ, E. CHOI, C. CARLSON, AND L.
       SMITH RE: PRESENTATION FOR HEARING (.5).


   01/25/21   Simmons, Kevin Michael                  0.30            268.50        004       60996661
       DRAFT STIPULATED ORDER TO LIFT STAY FOR T. O'NEIL CASE (0.1); UPDATE S. SMITH ON BACKGROUND
       (0.2).


   01/25/21  Choi, Erin Marie                              0.30            330.00    004        61204776
       WITNESS PREP WITH M. DANE FOR LLOG HEARING.


   01/26/21  Choi, Erin Marie                      0.20        220.00                004        61206591
       CORRESPONDENCE REGARDING DANIELS LIFT STAY STIPULATION.


   01/29/21     Sierra, Tristan M.                         1.00            770.00    004        61044234
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        CORRESPONDENCE RELATING TO EXHIBITS IN LLOG JANUARY 25, 2021 HEARINGS AND PLAN DETAILS
        (0.6); ATTEND CALL WITH SHELL COUNSEL RE: EXHIBITS IN LLOG JAN. 25, 2021 HEARINGS AND PLAN
        DETAILS (0.4).


    SUBTOTAL TASK 004 - Automatic Stay:                     317.30       $291,804.00

   01/05/21  Liou, Jessica                             0.50                   662.50    005    60868878
       CONFER WITH J. NOE AND A. PEREZ RE: POTENTIAL SETTLEMENT.


   01/05/21  Conley, Brendan C.                   0.50       550.00          005               60861032
       COORDINATE RE: GOVERNMENT CLAIM AND NOTICE REQUIREMENTS (0.3); COORDINATE RE:
       GOVERNMENT SETTLEMENT (0.2).


   01/05/21  Carlson, Clifford W.                             0.30            330.00    005    60913608
       DISCUSS CLAIMS ISSUE WITH J. GEORGE.


   01/05/21   George, Jason                         0.30         231.00          005        60875012
       REVIEW MOTION FOR AUTHORITY TO FILE LATE PROOF OF CLAIM (0.2); EMAIL TO PRIME CLERK TEAM
       RE: SERVICE OF BAR DATE NOTICE (0.1).


   01/05/21   Choi, Erin Marie                     2.60        2,860.00         005            60865531
       ATTENTION TO RESPONSES AND OBJECTIONS TO RULE 2004 REQUESTS FROM USSIC, INCLUDING
       FINALIZING AND SERVING SAME.


   01/05/21   Greene, Anthony L.                              0.90            936.00    005    61163643
       PARTICIPATE ON CLAIMS ANALYSIS CALL.


   01/06/21   Liou, Jessica                            2.40      3,180.00        005         60873943
       CLAIMS ANALYSIS CALL WITH ALIX PARTNERS (1.1); CONFER WITH C. CARLSON, WEIL BANKING, L.
       SMITH RE: ANALYSIS OF SECURED CLAIMS (1.3).


   01/06/21     Smith, Leslie S.                              3.80          4,180.00    005    60888965
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        REVIEW CLAIMS MEMO (0.8); REVIEW COLLATERAL SUMMARY AND LATER FILINGS (1.5);
        CORRESPONDENCE WITH B. CONLEY REGARDING SAME (0.5); CORRESPONDENCE REGARDING SAME
        WITH C. CARLSON (0.2); CONFERENCE CALL WITH C. CARLSON, S. PECA, J. LIOU, J. GEORGE, B. CONLEY, C.
        MARCUS REGARDING CLAIMS (0.5); CORRESPONDENCE REGARDING BLOCK 201 (0.3).


   01/06/21  Carlson, Clifford W.                     1.80        1,980.00        005        60913765
       CALLS WITH J. GEORGE REGARDING CLAIMS ISSUES (.7); PARTICIPATE ON CLAIMS CALL WITH ALIX
       PARTNERS AND WEIL (1.1).


   01/06/21  Vinson, Elizabeth Blaine                 1.40        1,253.00    005         60873149
       PREPARE FOR AND PARTICIPATE ON CALL WITH WEIL FINANCE, RESTRUCTURING AND RE: TO DISCUSS
       CLAIMS ANALYSIS (1.2); REVIEW UCC LIEN SEARCH CHART (0.2).


   01/06/21   George, Jason                           4.50      3,465.00          005        60875078
       CALL WITH C. CARLSON RE: MOTION FOR LATE PROOF OF CLAIM (0.2); CORRESPONDENCE TO C.
       CARLSON RE: SUMMARY OF ARGUMENTS FOR MOTION TO FILE LATE PROOF OF CLAIM (0.7); CALL WITH
       C. TAYLOR RE: MARATHON'S CLAIMS (0.2); CORRESPONDENCE WITH J. LIOU RE: REQUEST FOR BAR DATE
       EXTENSION (0.4); RESEARCH AND PREPARE MEMO RE: CLAIMS DISALLOWANCE ISSUE (3.0).


   01/07/21   Carlson, Clifford W.                   0.70       770.00                 005         60913825
       PARTICIPATE ON CALL WITH C. GRING REGARDING CLAIMS ESTIMATES.


   01/07/21   Choi, Erin Marie                     5.50       6,050.00        005        60879863
       CALL WITH WEIL TEAM MEMBERS REGARDING ARENA MEDIATION (0.5); CALL WITH WEIL TEAM
       MEMBERS AND M. COUVEGAN REGARDING ARENA MEDIATION (0.5); CORRESPONDENCE WITH
       OPPOSING COUNSEL AND MEDIATOR REGARDING ARENA MEDIATION (0.2); ATTENTION TO RANDALL
       LIFT STAY STIPULATION AND CORRESPONDENCE REGARDING SAME (0.8); ATTENTION TO RESPONSE TO
       LLOG MOTIONS TO LIFT STAY AND ADEQUATE PROTECTION AND CONFERENCES WITH TEAM
       MEMBERS REGARDING SAME (3.5).


   01/08/21  Liou, Jessica                           1.00                 1,325.00     005         61293262
       CONFER WITH ALIX PARTNERS AND HL RE: CLAIMS ESTIMATES.


   01/08/21     George, Jason                               0.80            616.00     005         60884019
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        CALL WITH J. NOE, C. GRING, A. PEREZ, J. LIOU AND C. CARLSON RE: GOVERNMENT CLAIMS.


   01/09/21  George, Jason                         0.20                    154.00    005       60884020
       CALL WITH C. CARLSON RE: GOVERNMENT CLAIMS.


   01/10/21  Carlson, Clifford W.                    0.40          440.00      005         60992758
       EMAILS WITH J. GEORGE REGARDING CLAIMS ISSUES (.2); REVIEW MEMO REGARDING LATE FILED
       CLAIMS (.2).


   01/10/21     George, Jason                           0.50          385.00       005         60913691
       EMAIL C. CARLSON RE: CLAIMS ANALYSIS (0.1); EMAIL C. TAYLOR RE: LATE PROOF OF CLAIM MOTION
       (0.1); EMAIL C. CARLSON RE: LATE PROOF OF CLAIM MOTION (0.1); CORRESPONDENCE WITH A. PEREZ RE:
       RESPONDING TO LATE PROOF OF CLAIM MOTION (0.2).


   01/11/21   Liou, Jessica                         1.40       1,855.00        005       61180084
       REVIEW SETTLEMENT AGREEMENT (0.6); CONFER WITH ALIX PARTNERS AND HL RE: CLAIMS ANALYSIS
       (0.8).


   01/11/21   Carlson, Clifford W.                  1.00      1,100.00        005              60992823
       PARTICIPATE ON CLAIMS ESTIMATION CALL WITH ALIX PARTNERS AND HOULIHAN.


   01/11/21  George, Jason                           6.30        4,851.00         005          60913699
       CALL WITH STROOCK TEAM RE: CLAIM ANALYSIS (0.8); DRAFT RULE 9019 MOTION (5.5).


   01/12/21   Liou, Jessica                           1.30       1,722.50       005        60928744
       REVIEW AND MARKUP CLAIMS ESTIMATES PRESENTATION FROM ALIX PARTNERS (.3); CONFER WITH
       ALIX PARTNERS, M. DANE, T. LAMME, C. CARLSON AND M. BARR RE: CLAIMS ANALYSIS (1.0).


   01/12/21   Barr, Matthew S.                     1.00                  1,795.00    005       61181445
       PARTICIPATE ON ALL HANDS CALL REGARDING CLAIMS.


   01/12/21     Carlson, Clifford W.                       1.50          1,650.00    005       60991376
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        PARTICIPATE ON CALL WITH COMPANY REGARDING CLAIMS ANALYSIS (1.0); MULTIPLE CALLS AND
        EMAILS WITH ALIX PARTNERS TEAM REGARDING SAME (.5).


   01/12/21  George, Jason                            4.70          3,619.00        005          60913692
       CALL WITH J. LIOU AND C. CARLSON RE: CLAIMS ANALYSIS (1.0); DRAFT RULE 9019 MOTION (1.3);
       RESEARCH LATE PROOF OF CLAIM MOTION (2.4).


   01/13/21   Perez, Alfredo R.                   1.40       2,233.00      005        61182095
       PARTICIPATE ON CONFERENCE CALL WITH MANAGEMENT, ALIX PARTNERS AND WEIL REGARDING
       CLAIMS ANALYSIS.


   01/13/21  Liou, Jessica                                 0.60            795.00    005         60929717
       EMAIL A. PEREZ RE: TREATMENT OF GUC CLAIMS.


   01/13/21   Barr, Matthew S.                      1.10          1,974.50       005       61182293
       PARTICIPATE ON ALL HANDS CLAIMS CALL (PARTIAL) (.8); FOLLOW UP WITH TEAM REGARDING SAME
       (.3).


   01/13/21  Hufendick, Jason                      0.60        591.00        005                 60946709
       ATTEND WEEKLY CALL WITH ALIX PARTNERS RE: CLAIMS AND EXPENSES ANALYSIS.


   01/13/21  Carlson, Clifford W.                     4.20       4,620.00        005        60991364
       MULTIPLE CALLS AND EMAILS REGARDING CLAIMS ISSUES (0.8); PARTICIPATE ON CALL WITH ALIX
       PARTNERS REGARDING CLAIMS ANALYSIS (1.0); PARTICIPATE ON CALL WITH COMPANY REGARDING
       CLAIMS ANALYSIS (1.5); RESEARCH ISSUES REGARDING SAME AND FOLLOW UP EMAILS (.9).


   01/13/21    George, Jason                            5.40         4,158.00        005        60942652
       CALL WITH J. NOE, DPW TEAM, C. NICHOLSON AND A. PEREZ RE: SETTLEMENT (0.6); REVISE RULE 9019
       MOTION (0.5); CALL WITH C. CARLSON RE: LIEN RESEARCH (0.2); CALL WITH C. CARLSON AND L. SMITH
       RE: LIEN ANALYSIS (1.3); CALL WITH ALIX PARTNERS TEAM RE: CLAIMS ANALYSIS (1.0);
       CORRESPONDENCE WITH J. LIOU AND C. CARLSON RE: LIEN RESEARCH (0.3); CALL WITH M. DANE, T.
       LAMME, A. PEREZ AND J. LIOU RE: CLAIM ANALYSIS (1.5).
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   01/13/21  Wheeler, Emma                            1.00        630.00             005     60934251
       CALL WITH ALIX PARTNERS, C. CARLSON AND J. GEORGE RE: CLAIM OBJECTIONS.


   01/14/21   Carlson, Clifford W.                    2.20        2,420.00       005       60990932
       PARTICIPATE ON CALL WITH C. GRING REGARDING CLAIMS ANALYSIS (.5); CALL WITH J. LIOU
       REGARDING CLAIMS ESTIMATES (0.7); PARTICIPATE ON CALL WITH ALIX PARTNERS TEAM REGARDING
       CLAIMS ANALYSIS (.5); MULTIPLE EMAILS REGARDING SAME (.5).


   01/14/21 George, Jason                             5.40     4,158.00         005         60942907
       CONDUCT RESEARCH RE: DISCHARGE OF CLAIM (4.6); CORRESPONDENCE WITH J. LIOU RE: SAME (0.8).


   01/15/21  Perez, Alfredo R.                    0.20         319.00        005             61185007
       TELEPHONE CONFERENCES WITH C. CARLSON REGARDING OPEN ISSUES ON CLAIMS.


   01/15/21  Liou, Jessica                         0.80                  1,060.00    005     60952730
       REVIEW AND COMMENT ON CLAIMS ANALYSIS DECK.


   01/15/21   Carlson, Clifford W.                   4.00        4,400.00       005       60990807
       MULTIPLE EMAILS AND CALLS REGARDING CLAIMS ANALYSIS (1.7); REVIEW MULTIPLE PROOFS OF
       CLAIM IN CONNECTION WITH SECURED CLAIMS ANALYSIS (1.5); REVIEW AND REVISE CLAIMS
       ANALYSIS DECK PREPARED BY ALIX PARTNERS (.8).


   01/15/21   George, Jason                            6.20      4,774.00        005         60942916
       REVIEW PROOFS OF CLAIMS IN CONNECTION WITH CLAIMS ANALYSIS (1.0); CORRESPONDENCE WITH
       ALIX PARTNERS TEAM RE: SAME (0.2); CALL WITH ALIX PARTNERS TEAM RE: CLAIMS ANALYSIS (0.5);
       PREPARE MEMO RE: LATE PROOFS OF CLAIM (4.5).


   01/16/21  Perez, Alfredo R.                    0.40        638.00       005         61181536
       VARIOUS COMMUNICATIONS WITH ALIX PARTNERS AND WEIL TEAMS REGARDING CLAIMS' ISSUES.


   01/16/21     Liou, Jessica                              5.00          6,625.00    005     60952727
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        CONFER WITH ALIX PARTNERS, HL, WEIL RE: CLAIMS ANALYSIS ESTIMATES (1.4); REVIEW AND
        COMMENT ON CLAIMS ANALYSIS PRESENTATION (1.0); REVIEW AND FURTHER REVIEW CLAIMS
        ANALYSIS PRESENTATION AND EMAILS WITH HL AND ALIX PARTNERS RE: QUESTIONS RE: SAME (1.0);
        EMAILS WITH ALIX PARTNERS RE: CLAIMS ANALYSIS (.4); CONFER WITH ALIX PARTNERS, HL, WEIL RE:
        CLAIMS ANALYSIS ESTIMATES (1.2).


   01/16/21  Barr, Matthew S.                              1.30          2,333.50    005        61181545
       REVIEW CLAIMS INFORMATION AND MATERIALS.


   01/16/21   Carlson, Clifford W.                  2.00      2,200.00       005         60990791
       PARTICIPATE ON CALL WITH HOULIHAN AND ALIX PARTNERS REGARDING CLAIMS ANALYSIS (1.5);
       PARTICIPATE ON FOLLOW UP CALL REGARDING SAME (.5).


   01/16/21  George, Jason                                 3.20          2,464.00    005        60942914
       PREPARE MEMO RE: LATE PROOFS OF CLAIM.


   01/17/21   George, Jason                         0.50           385.00         005           60960861
       REVISE MEMO RE: MOTION FOR LATE PROOF OF CLAIM (0.4); EMAIL C. CARLSON RE: SAME (0.1).


   01/18/21  Perez, Alfredo R.                      1.90      3,030.50       005          60951001
       REVIEW VARIOUS SLIDES REGARDING CLAIMS ESTIMATES AND SOURCES AND USES (.3); CONFERENCE
       CALL WITH HOULIHAN, ALIX PARTNERS AND WEIL TEAMS REGARDING CLAIMS ISSUES (1.6).


   01/18/21  Liou, Jessica                           2.20      2,915.00       005        60952972
       REVIEW AND COMMENT ON SINGLE SHARE SCHEMATIC SLIDE FROM HL (.5); CONFER WITH ALIX
       PARTNERS, WEIL AND HL RE: CLAIMS ANALYSIS AND NEWCO PROJECTIONS ANALYSIS (1.7).


   01/18/21  Carlson, Clifford W.                     0.90         990.00       005        61045935
       REVIEW CLAIMS ANALYSIS (.2); PARTICIPATE ON CALL WITH ALIX PARTNERS AND HOULIHAN TEAMS
       REGARDING SAME (.7).


   01/19/21     Perez, Alfredo R.                          2.90          4,625.50    005        60961270
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        CONFERENCE CALLS WITH MANAGEMENT, ALIX PARTNERS, HOULIHAN, AND WEIL TEAMS REGARDING
        CLAIMS ISSUES (2.3); TELEPHONE CONFERENCE WITH J. LIOU REGARDING CLAIMS (.2); REVIEW REVISED
        SLIDES (.4).


   01/19/21   Liou, Jessica                              4.90      6,492.50         005       60962498
       CONFER WITH M. DANE, T. LAMME AND ALIX PARTNERS, WEIL AND HL TEAMS RE: CLAIMS ANALYSIS
       AND PROJECTIONS (1.1); CONFER WITH ALIX PARTNERS TEAM RE: SECURED CLAIMS (.5); CONFER WITH
       R. SERGESKETTER, R. PADDOCK (.5); REVIEW AND RESPOND TO EMAILS FROM UST RE: RYAN, AND
       EMAILS FROM ALIX PARTNERS RE: CLAIMS ANALYSIS CALL (.3); CONFER WITH M. DANE, T. LAMME, A.
       PEREZ, HL, ALIX PARTNERS RE: CLAIMS ANALYSIS AND PROJECTIONS DISCUSSION (1.6); CONFER WITH
       C. MARCUS, L. SMITH, C. CARLSON, J. GEORGE RE: SECURED CLAIMS ANALYSIS (.9).


   01/19/21     Barr, Matthew S.                  1.60         2,872.00       005        61182046
       CORRESPONDENCE REGARDING CLAIMS ISSUES WITH TEAM (.3); REVIEW REVISED CLAIMS MATERIALS
       (1.2); CORRESPONDENCE REGARDING SAME (.1).


   01/19/21  Bonhamgregory, Veronica Gayle         1.20        1,248.00              005      61181921
       CALL WITH WEIL BANKING, WEIL RESTRUCTURING RE: CLAIMS ANALYSIS.


   01/19/21   Carlson, Clifford W.                    3.50        3,850.00       005        61045039
       PARTICIPATE ON CALL WITH THE COMPANY REGARDING CLAIMS ANALYSIS (1.0); PARTICIPATE ON
       CALL WITH C. GRING REGARDING CLAIMS ANALYSIS (.7); PARTICIPATE ON CALL WITH CLIENT
       REGARDING CLAIMS ANALYSIS (1.5); EMAILS WITH ALIX PARTNERS TEAM REGARDING SAME (.3).


   01/19/21  George, Jason                            0.60         462.00        005          60960851
       CALL WITH ALIX PARTNERS TEAM, J. LIOU AND C. CARLSON RE: CLAIMS ANALYSIS.


   01/20/21   Bonhamgregory, Veronica Gayle         0.50       520.00        005              61182267
       PARTICIPATE ON CALL WITH WEIL BANKING AND RESTRUCTURING RE: CLAIMS ANALYSIS.


   01/20/21   Carlson, Clifford W.                    1.70      1,870.00         005         61043819
       PARTICIPATE ON MULTIPLE CALLS WITH J. LIOU REGARDING CLAIMS ANALYSIS (1.0); MULTIPLE CALLS
       AND EMAILS WITH ALIX PARTNERS TEAM REGARDING SAME (.7).
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   01/21/21  Goldring, Stuart J.                           0.90          1,615.50    005      60976431
       FIELDWOOD CLAIMS CALL WITH DAVIS POLK.


   01/21/21  Moore, Rodney L.                        1.30      1,943.50      005        61192532
       TELEPHONE CONFERENCE CALL REGARDING PSA (.7); FOLLOW-UP CALL REGARDING CLAIMS ANALYSIS
       (.6).


   01/21/21   Liou, Jessica                              4.60      6,095.00        005        60980188
       REVIEW AND RESPOND TO EMAILS RE: UPCOMING CLAIMS PRESENTATION (.2); PARTICIPATE ON
       CLAIMS ANALYSIS AND PROJECTIONS PRESENTATION WITH DPW AND R/I (1.8); EMAIL M. DANE AND T.
       LAMME RE: UPDATE ON CLAIMS DISCUSSION (.2); CONFER WITH ALIX PARTNERS, WEIL, FIELDWOOD RE:
       SECURED CLAIMS (1.3); REVIEW AND REVISE HL PROJECTIONS DECK AND CONFER WITH D. CROWLEY RE:
       SAME (.6); CONFER WITH L. SMITH, C. MARCUS, C. CARLSON AND LISKOW LEWIS RE: SECURED CLAIMS
       ANALYSIS (.5).


   01/21/21  Peca, Samuel C.                               0.30            367.50    005      61193139
       REVIEW CLAIMS MATERIALS.


   01/21/21  Barr, Matthew S.                        0.50       897.50         005            61291203
       REVIEW REVISED CLAIMS MATERIALS (.4); CORRESPONDENCE REGARDING SAME (.1).


   01/21/21   Margolis, Steven M.                          1.80          2,205.00    005      61192421
       PARTICIPATE ON CLAIMS CALL.


   01/21/21   Swenson, Robert M.                   0.40        460.00       005               60977936
       PARTICIPATE ON CALL REGARDING CLAIMS ANALYSIS WITH LENDERS AND ADVISORS.


   01/21/21  Delaney, Scott Michael                  1.90       2,185.00       005        61194150
       REVIEW CLAIMS ANALYSIS MATERIALS (0.2); CONFERENCE WITH ADVISORS RE: CLAIMS ANALYSIS (1.7).


   01/21/21     Conley, Brendan C.                         0.30            330.00    005      61193227
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        PARTICIPATE ON CLAIMS ANALYSIS CALL.


   01/21/21   Abraham, Melissa S.                          1.60          1,720.00    005       60975235
       PARTICIPATE ON CLAIMS CALL.


   01/21/21   Carlson, Clifford W.                   3.80      4,180.00        005          61043292
       PARTICIPATE ON CALL WITH LENDERS' ADVISORS REGARDING CLAIMS ANALYSIS (1.8); PARTICIPATE
       ON CALL WITH COMPANY AND ALIX PARTNERS REGARDING LIEN CLAIMS ANALYSIS (1.3);
       PARTICIPATE ON CALL WITH L. SMITH AND LISKOW LEWIS REGARDING LIEN ANALYSIS (.7).


   01/21/21   George, Jason                           2.40        1,848.00         005         60979314
       CORRESPOND WITH A. PEREZ AND J. LIOU RE: MOTION FOR LATE PROOF OF CLAIM (0.2); CORRESPOND
       WITH C. TAYLOR, PRIME CLERK TEAM, AND J. CHIANG RE: SAME (0.5); CALL WITH ADVISORS RE: CLAIM
       ESTIMATES (1.7).


   01/21/21  Wheeler, Emma                        1.70       1,071.00                005       60975024
       ATTEND CLAIMS PRESENTATION BY HOULIHAN AND ALIX PARTNERS.


   01/21/21   Marzocca, Anthony P.                   1.30       1,280.50         005        61069865
       CALL WITH ALIX PARTNERS, HL AND WEIL RE: CLAIMS ANALYSIS (1.0); CORRESPONDENCE RE: SAME
       (0.3).


   01/21/21   Greene, Anthony L.                           1.60          1,664.00    005       61197560
       PARTICIPATE IN CLAIMS PRESENTATION.


   01/21/21  Sierra, Tristan M.                            1.50          1,155.00    005       61197698
       ATTEND CALL RE: CLAIMS.


   01/22/21   Carlson, Clifford W.                   1.10       1,210.00        005      61046619
       MULTIPLE EMAILS REGARDING CLAIMS ANALYSIS (.8); CALL WITH ALIX PARTNERS TEAM REGARDING
       SAME (.3).
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   01/23/21   Carlson, Clifford W.                  2.30      2,530.00       005           61042781
       PARTICIPATE ON CALL WITH ALIX PARTNERS TEAM REGARDING CLAIMS ANALYSIS (1.5); REVIEW
       CLAIMS ANALYSIS AND CONDUCT RELATED RESEARCH (.8).


   01/23/21  George, Jason                            1.20         924.00       005           61003894
       CALL WITH ALIX PARTNERS TEAM, J. LIOU AND C. CARLSON RE: SECURED CLAIM ANALYSIS (1.1);
       CORRESPONDENCE WITH C. GRING RE: SECURED CLAIMS (0.1).


   01/24/21   Carlson, Clifford W.                  1.50      1,650.00        005               61042110
       PARTICIPATE ON CALL WITH ALIX PARTNERS TEAM REGARDING CLAIMS ANALYSIS.


   01/24/21  George, Jason                           0.20          154.00           005        61003877
       CORRESPOND WITH J. LIOU AND C. CARLSON RE: PROOF OF CLAIM (0.1); EMAIL J. CHIANG RE: SAME (0.1).


   01/25/21  Carlson, Clifford W.                     1.70       1,870.00          005   61042129
       REVIEW MOTION TO ALLOW LATE CLAIM AND RELATED DOCUMENTS AND PARTICIPATE ON CALL
       WITH CLIENT REGARDING SAME (0.5); PARTICIPATE ON CALL WITH L. SMITH AND J. GEORGE
       REGARDING SECURED CLAIMS ANALYSIS (.5); PARTICIPATE ON CALLS AND EMAILS WITH ALIX
       PARTNERS TEAM REGARDING SAME (.7).


   01/25/21   George, Jason                             3.20       2,464.00          005        61003904
       CALL WITH C. CARLSON RE: LIEN RESEARCH AND CLAIMS ANALYSIS (0.3); CALL WITH J. CHIANG RE:
       CLAIM ISSUE (0.2); CORRESPOND WITH C. CARLSON RE: CLAIM ISSUE (0.3); EMAIL TO M. DANE AND T.
       LAMME RE: LATE PROOF OF CLAIM (0.1); CALL WITH M. DANE AND T. LAMME RE: LATE PROOF OF
       CLAIM (0.3); CALL WITH L. SMITH AND C. CARLSON RE: LIEN ANALYSIS (0.5); RESEARCH APPLICATION
       OF LIEN LAW (1.5).


   01/26/21  Margolis, Steven M.                  0.20                     245.00    005        61204781
       CORRESPONDENCE ON CLAIMS ADMINISTRATION ISSUES.


   01/26/21     Carlson, Clifford W.                       2.60          2,860.00    005        61041454
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        PARTICIPATE ON CALL WITH MARATHON'S COUNSEL REGARDING MOTION TO ALLOW LATE FILED
        CLAIM (0.6); PARTICIPATE ON CALL WITH ALIX PARTNERS REGARDING CLAIMS ANALYSIS (1.2);
        PARTICIPATE ON CALL WITH ALIX PARTNERS TEAM REGARDING SECURED CLAIMS ANALYSIS (.8).


   01/26/21   George, Jason                              9.40       7,238.00        005        61025722
       RESEARCH APPLICATION OF LIEN LAW (2.1); DRAFT MEMO RE: LIEN RESEARCH (1.5); CALL WITH C.
       TAYLOR, J. WATSON, AND C. CARLSON RE: LATE PROOF OF CLAIM (0.5); DRAFT STIPULATION
       EXTENDING OBJECTION DEADLINE FOR LATE PROOF OF CLAIM (0.5); CORRESPOND WITH C. TAYLOR
       AND J. WATSON RE: SAME (0.1); CORRESPOND WITH M. DANE AND T. LAMME RE: EXTENSION OF
       OBJECTION DEADLINE (0.1); CALLS WITH ALIX PARTNERS TEAM, J. LIOU, L. SMITH AND C. CARLSON RE:
       CLAIMS ANALYSIS (2.2); ANALYZE FILED PROOFS OF CLAIM AND RELATED AGREEMENTS IN
       CONNECTION WITH SECURED CLAIMS ANALYSIS (1.5); CORRESPOND WITH J. LIOU, C. CARLSON, AND L.
       SMITH RE: PROOF OF CLAIM (0.5); CALL WITH J. CHIANG RE: SECURED CLAIM ANALYSIS (0.4).


   01/26/21  Olvera, Rene A.                        0.50       202.50        005               61113056
       PREPARE AND ELECTRONICALLY FILE STIPULATION EXTENDING OBJECTION DEADLINE FOR
       MARATHON MOTION FOR LATE POC.


   01/27/21  George, Jason                              0.70        539.00           005       61025730
       CALL WITH C. GRING, J. CHIANG, AND C. CARLSON RE: SECURED CLAIM ANALYSIS.


   01/27/21   Whitelaw, Alexander                          3.50          2,695.00    005       61017384
       REVISE MEDIATION STATEMENT.


   01/28/21  Peca, Samuel C.                               0.80            980.00    005       61292270
       REVIEW TALOS CLAIM.


   01/28/21  Carlson, Clifford W.                     1.20        1,320.00      005          61039985
       WORK ON CLAIMS ANALYSIS (.4); PARTICIPATE ON CALL WITH J. GEORGE REGARDING SAME (.8).


   01/28/21     George, Jason                              3.40          2,618.00    005       61027830
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        CALL WITH L. SMITH RE: LIEN ANALYSIS (0.2); RESEARCH SECURED CLAIMS ISSUE (1.2); CALLS WITH C.
        CARLSON RE: LIEN ANALYSIS (0.9); CORRESPONDENCE WITH S. PECA AND R. MOORE RE: LIEN ISSUE (0.2);
        CORRESPOND WITH ALIX PARTNERS TEAM RE: LIEN ANALYSIS (0.8); EMAIL TO E. ENGLISH RE: SECURED
        CLAIM (0.1).


   01/28/21   Whitelaw, Alexander                    6.00       4,620.00         005       61026507
       REVISE MEDIATION STATEMENT (3.2); RESEARCH FOR MEDIATION STATEMENT (1.9); CALL WITH
       LITIGATION TEAM DISCUSSING MEDIATION STATEMENT (.9).


   01/29/21   Carlson, Clifford W.                   0.50       550.00                005        61042196
       PARTICIPATE ON CALL WITH C. GRING REGARDING CLAIMS ANALYSIS.


   01/29/21   George, Jason                             1.90       1,463.00         005        61049680
       REVISE MOTION TO APPROVE NON-PROSECUTION AGREEMENT (1.2); RESEARCH SECURED CLAIM (0.5);
       EMAIL L. SMITH RE: SAME (0.1); CORRESPOND WITH E. ENGLISH RE: SUPPORTS FOR PROOF OF CLAIM
       (0.1).


    SUBTOTAL TASK 005 - Bar Date and Claims               180.50       $186,763.50
    Matters:

   01/03/21  Fabsik, Paul                         0.40        162.00                  006        60825223
       REVIEW DEADLINES AND UPDATE CALENDAR INVITES PER ATTORNEY REQUEST.


   01/04/21   Carlson, Clifford W.                   0.40      440.00       006         60913477
       PARTICIPATE ON CALL WITH J. GEORGE REGARDING VARIOUS WORKSTREAMS AND REVISIONS TO WIP.


   01/04/21   George, Jason                                 0.70            539.00    006        60875136
       REVISE WIP LIST.


   01/04/21  James, Hillarie                         2.80         2,506.00      006        61163377
       DRAFT NOTICE AND COORDINATE FILING OF MSL LIST (0.4); CORRESPONDENCE REGARDING FIRST DAY
       MATRICES (0.7); UPDATE CASE CALENDARS (1.7).
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   01/04/21  Fabsik, Paul                         0.70        283.50                   006    60841990
       REVIEW DEADLINES AND UPDATE CALENDAR INVITES PER ATTORNEY REQUEST.


   01/05/21   Marcus, Courtney S.                            0.50            725.00    006    61163493
       PARTICIPATE ON WEEKLY WIP CALL.


   01/05/21  Moore, Rodney L.                     0.60         897.00                  006    61163496
       TELEPHONE CONFERENCE CALL WITH WEIL TEAM REGARDING WIP.


   01/05/21   Rahman, Faiza N.                               0.30            382.50    006    60866378
       PARTICIPATE ON WIP CALL.


   01/05/21  Liou, Jessica                           0.80       1,060.00       006          60868890
       REVIEW AND COMMENT ON CASE CALENDAR (.3); REVIEW AND REVISE PLAN WIP LIST (.4); REVIEW AND
       RESPOND TO EMAILS FROM C. CARLSON AND J. HUFENDICK RE: WIP LIST (.1).


   01/05/21   Peca, Samuel C.                                0.40            490.00    006    61541698
       PARTICIPATE ON WIP CALL.


   01/05/21  Barr, Matthew S.                                0.60          1,077.00    006    61541704
       REVIEW WIP ISSUES.


   01/05/21   Swenson, Robert M.                             0.40            460.00    006    61163512
       PARTICIPATE ON WEEKLY WIP CALL.


   01/05/21   Conley, Brendan C.                             0.50            550.00    006    61541707
       PARTICIPATE ON WIP CALL.


   01/05/21   Bonhamgregory, Veronica Gayle                  0.40            416.00    006    61541914
       PARTICIPATE ON WIP CALL.
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   01/05/21   Abraham, Melissa S.                          0.40            430.00    006    60865372
       PARTICIPATE ON WIP CALL.


   01/05/21   Carlson, Clifford W.                         1.10          1,210.00    006    61505648
       REVISE WIP AND PARTICIPATE ON WIP CALL.


   01/05/21   George, Jason                                1.00            770.00    006    60875007
       PARTICIPATE ON WIP CALL.


   01/05/21  Wheeler, Emma                                 1.00            630.00    006    61541172
       ATTEND WIP CALL.


   01/05/21   James, Hillarie                              1.80          1,611.00    006    61395944
       REVISE CALENDARS.


   01/05/21   Marzocca, Anthony P.                         1.00            985.00    006    61541175
       PARTICIPATE ON WIP CALL.


   01/05/21   Greene, Anthony L.                           0.90            936.00    006    61291205
       PARTICIPATE ON ALL-HANDS TEAM WIP CALL.


   01/05/21  Sierra, Tristan M.                            1.00            770.00    006    60928549
       ATTEND PARTICIPATE ON WIP CALL.


   01/05/21  Olvera, Rene A.                          0.40        162.00       006          61080691
       EMAILS AND DISCUSSIONS WITH E. CHOI AND P. FABSIK REGARDING CASE CALENDAR EVENTS.


   01/05/21  Fabsik, Paul                            0.70       283.50               006    60860673
       UPDATE AND REVISE SPECIFIED CALENDAR INVITES AS PER ATTORNEY REQUEST.


   01/06/21     George, Jason                              0.50            385.00    006    60875016
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        REVISE WIP LIST.


   01/06/21  Fabsik, Paul                            0.40       162.00                 006    60869308
       UPDATE AND REVISE SPECIFIED CALENDAR INVITES PER ATTORNEY REQUEST.


   01/07/21  Macke, Jonathan J.                              0.30            388.50    006    61163559
       ATTEND WIP CONFERENCE.


   01/07/21   Rahman, Faiza N.                               0.30            382.50    006    60878175
       PARTICIPATE ON WIP CALL.


   01/07/21   Liou, Jessica                                  0.80          1,060.00    006    60892776
       PARTICIPATE ON WIP CALL.


   01/07/21   Peca, Samuel C.                                0.30            367.50    006    61163561
       PARTICIPATE ON WIP CALL.


   01/07/21   Swenson, Robert M.                    0.30        345.00                 006    60882140
       PARTICIPATE ON WIP CALL TO DISCUSS ONGOING WORK STREAMS.


   01/07/21  Conley, Brendan C.                        0.50         550.00             006    60874436
       PLAN FOR AND PARTICIPATE ON WIP CALL (.4); REVIEW UCC-1S FOR WIP CALL (.1).


   01/07/21   Bonhamgregory, Veronica Gayle                  0.30            312.00    006    61163604
       PARTICIPATE ON WIP CALL.


   01/07/21   Abraham, Melissa S.                            0.30            322.50    006    60880054
       PARTICIPATE ON WIP CALL.


   01/07/21  Carlson, Clifford W.                            1.00          1,100.00    006    61522084
       REVIEW WIP AND PARTICIPATE ON WIP CALL.
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   01/07/21   Vinson, Elizabeth Blaine                     0.30            268.50    006    60880608
       PARTICIPATE ON WIP CALL WITH WEIL TEAMS.


   01/07/21   George, Jason                                0.80            616.00    006    60875069
       PARTICIPATE ON WIP CALL.


   01/07/21  Wheeler, Emma                                 0.80            504.00    006    61522087
       ATTEND WIP CALL.


   01/07/21   Hong, Jeesun                                 0.30            295.50    006    61163797
       PARTICIPATE ON WIP CALL.


   01/07/21   Marzocca, Anthony P.                         0.90            886.50    006    61062175
       PARTICIPATE ON WIP CALL.


   01/07/21   Greene, Anthony L.                           1.10          1,144.00    006    61522094
       PARTICIPATE ON WIP CALL.


   01/07/21   Sierra, Tristan M.                           0.80            616.00    006    61522097
       PARTICIPATE ON WIP CALL.


   01/08/21   Conley, Brendan C.                           0.30            330.00    006    61163804
       PARTICIPATE ON WIP CALL.


   01/08/21  Fabsik, Paul                            1.20       486.00               006    60881239
       UPDATE AND REVISE SPECIFIED CALENDAR INVITES PER ATTORNEY REQUEST.


   01/11/21   George, Jason                                0.60            462.00    006    60913696
       REVISE WIP LIST.


   01/12/21     Marcus, Courtney S.                        0.50            725.00    006    61180090
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        PARTICIPATE ON WEIL WIP CALL.


   01/12/21   Macke, Jonathan J.                             0.30            388.50    006    61180092
       PARTICIPATE ON WIP CALL.


   01/12/21   Rahman, Faiza N.                               0.40            510.00    006    61180093
       PARTICIPATE ON WIP CALL.


   01/12/21   Liou, Jessica                                  1.00          1,325.00    006    60928695
       PARTICIPATE ON WIP CALL.


   01/12/21   Peca, Samuel C.                                0.50            612.50    006    61180094
       PARTICIPATE ON WIP CALL.


   01/12/21    Barr, Matthew S.                    1.50          2,692.50        006       60918055
       PARTICIPATE ON ALL HANDS CALL REGARDING OPEN ISSUES (.8); REVIEW ISSUES REGARDING NEXT
       STEPS (.7).


   01/12/21  Margolis, Steven M.                             0.60            735.00    006    61180089
       ATTEND WIP MEETING AND REVIEW CHECKLIST.


   01/12/21   Swenson, Robert M.                    0.40       460.00       006        60921146
       PARTICIPATE ON WIP CALL TO DISCUSS ONGOING WORK STREAMS AND UPCOMING DEADLINES.


   01/12/21   Conley, Brendan C.                             0.50            550.00    006    61180097
       PARTICIPATE ON WIP CALL.


   01/12/21   Bonhamgregory, Veronica Gayle                  0.50            520.00    006    61181443
       PARTICIPATE ON WIP CALL.


   01/12/21     Abraham, Melissa S.                          0.50            537.50    006    61181446
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        PARTICIPATE ON WIP CALL.


   01/12/21   Hufendick, Jason                             1.10          1,083.50    006    60946735
       PARTICIPATE ON WIP CALL.


   01/12/21   Carlson, Clifford W.                     1.30       1,430.00           006    60991270
       PARTICIPATE ON WIP CALL (1.0); REVIEW AND REVISE WIP AND CALENDARS (.3).


   01/12/21   Vinson, Elizabeth Blaine                     0.30            268.50    006    60918941
       PARTICIPATE ON WIP CALL WITH WEIL TEAMS.


   01/12/21   George, Jason                                1.10            847.00    006    60913698
       PARTICIPATE ON WIP CALL.


   01/12/21  Wheeler, Emma                          1.10         693.00              006    60920633
       ATTEND INTERNAL MEETING TO DISCUSS WORK IN PROGRESS LIST.


   01/12/21   Hong, Jeesun                                 0.40            394.00    006    60917569
       PARTICIPATE ON WIP CALL.


   01/12/21   James, Hillarie                              1.10            984.50    006    60919053
       REVISE CASE CALENDARS.


   01/12/21   Marzocca, Anthony P.                         1.10          1,083.50    006    61062213
       PARTICIPATE ON WIP CALL.


   01/12/21   Greene, Anthony L.                           1.10          1,144.00    006    61182093
       PARTICIPATE ON TEAM WIP CALL.


   01/12/21   Sierra, Tristan M.                           0.90            693.00    006    60933872
       PARTICIPATE ON WIP CALL.
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   01/13/21  Liou, Jessica                                 0.50            662.50    006          60929707
       REVIEW AND COMMENT ON WIP LIST.


   01/13/21   Conley, Brendan C.                           0.50            550.00    006          60920426
       PARTICIPATE ON WIP CALL.


   01/13/21   George, Jason                             1.30           1,001.00       006         60942647
       REVISE INTERNAL WIP LIST (0.7); REVISE ADVISORS WIP LIST (0.5); EMAIL DPW ADVISORS RE: WIP LIST
       (0.1).


   01/13/21  Fabsik, Paul                            0.60       243.00               006          60921108
       UPDATE AND REVISE SPECIFIED CALENDAR INVITES PER ATTORNEY REQUEST.


   01/14/21   Marcus, Courtney S.                          0.50            725.00    006          61184772
       PARTICIPATE ON WIP CALL.


   01/14/21   Moore, Rodney L.                             0.60            897.00    006          61184773
       PARTICIPATE ON WIP CALL.


   01/14/21   Rahman, Faiza N.                             0.50            637.50    006          61184775
       PARTICIPATE ON WIP CALL.


   01/14/21   Liou, Jessica                                1.20          1,590.00    006          61522178
       PARTICIPATE ON WIP CALL.


   01/14/21   Peca, Samuel C.                              0.50            612.50    006          61184776
       PARTICIPATE ON WIP CALL.


   01/14/21   Margolis, Steven M.                          0.70            857.50    006          60932347
       PARTICIPATE ON WIP CALL.
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   01/14/21   Swenson, Robert M.                            0.40            460.00    006    60929567
       PARTICIPATE ON WIP CALL.


   01/14/21   Conley, Brendan C.                            0.50            550.00    006    61185023
       PARTICIPATE ON WIP CALL.


   01/14/21   Abraham, Melissa S.                           0.50            537.50    006    60933756
       PARTICIPATE ON WIP CALL.


   01/14/21   Carlson, Clifford W.                          1.90          2,090.00    006    60990949
       REVISE WIP (0.2); PARTICIPATE ON WIP CALL (1.7).


   01/14/21  George, Jason                            1.90        1,463.00         006       60942828
       CORRESPONDENCE WITH E. WHEELER RE: WIP LIST (0.2); PARTICIPATE ON WIP CALL (1.7).


   01/14/21  Bailey, Edgar Scott                            0.50            520.00    006    60944555
       TELEPHONE CALL WITH WEIL TEAM RE: WIP.


   01/14/21  Wheeler, Emma                                1.90       1,197.00         006    60934395
       CALL WITH J. GEORGE RE: WIP LIST (0.3); PARTICIPATE ON WIP CALL (1.6).


   01/14/21   Hong, Jeesun                                  0.50            492.50    006    60933605
       PARTICIPATE ON WIP CALL.


   01/14/21   Marzocca, Anthony P.                          1.80          1,773.00    006    61062225
       PARTICIPATE ON WIP CALL.


   01/14/21   Greene, Anthony L.                            1.70          1,768.00    006    61522354
       PARTICIPATE ON WIP CALL.


   01/14/21     Sierra, Tristan M.                          1.70          1,309.00    006    60978992
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        PARTICIPATE ON WIP CALL.


   01/14/21  Fabsik, Paul                            0.70       283.50               006    60929467
       UPDATE AND REVISE SPECIFIED CALENDAR INVITES PER ATTORNEY REQUEST.


   01/15/21  Carlson, Clifford W.                      0.40       440.00             006    60990787
       REVIEW AND REVISE WIP (.2); REVIEW AND REVISE CASE CALENDARS (.2).


   01/15/21  George, Jason                         0.10                     77.00    006    60942844
       CORRESPONDENCE WITH PRIME CLERK TEAM RE: SERVICE LIST.


   01/15/21   James, Hillarie                              1.80          1,611.00    006    61027126
       REVISE CASE CALENDARS.


   01/15/21  Fabsik, Paul                            1.30       526.50               006    60938904
       UPDATE AND REVISE SPECIFIED CALENDAR INVITES PER ATTORNEY REQUEST.


   01/18/21   Conley, Brendan C.                           0.20            220.00    006    60943569
       PARTICIPATE ON WIP CALL.


   01/18/21   George, Jason                         0.60         462.00              006    60960797
       REVISE WIP LIST AND CORRESPONDENCE WITH E. WHEELER RE: SAME.


   01/18/21   Wheeler, Emma                                2.60          1,638.00    006    60954416
       REVISE WIP LIST AND WORKING GROUP LIST.


   01/19/21   Marcus, Courtney S.                          0.30            435.00    006    61181902
       PARTICIPATE ON WIP CALL.


   01/19/21   Moore, Rodney L.                             0.40            598.00    006    61181906
       PARTICIPATE ON WIP CALL.
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   01/19/21   Rahman, Faiza N.                               0.50            637.50    006    60967905
       PARTICIPATE ON WIP CALL.


   01/19/21   Liou, Jessica                                  0.80          1,060.00    006    60962473
       PARTICIPATE ON WIP CALL.


   01/19/21  Barr, Matthew S.                        1.80          3,231.00        006        60959079
       REVIEW OPEN ISSUES (.7); REVIEW REVISED DOCUMENTS (.9); AND RELATED ISSUES (.2).


   01/19/21   Margolis, Steven M.                      1.10                1,347.50    006    60957244
       PARTICIPATE ON FWE WIP TEAM CALL (0.9); REVIEW WIP (0.2).


   01/19/21   Delaney, Scott Michael                         0.50            575.00    006    61182065
       PARTICIPATE ON WIP CALL.


   01/19/21   Conley, Brendan C.                             0.60            660.00    006    60954690
       PARTICIPATE ON WIP CALL.


   01/19/21   Bonhamgregory, Veronica Gayle                  0.40            416.00    006    60959589
       PARTICIPATE ON WIP CALL.


   01/19/21   Hufendick, Jason                               0.60            591.00    006    60965511
       PARTICIPATE ON WIP CALL.


   01/19/21   Carlson, Clifford W.                           0.80            880.00    006    61522359
       PARTICIPATE ON WIP CALL.


   01/19/21   Vinson, Elizabeth Blaine                       0.60            537.00    006    60960575
       PARTICIPATE ON WIP CALL WITH WEIL TEAMS.


   01/19/21     George, Jason                                0.80            616.00    006    60960835
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        PARTICIPATE ON WIP CALL.


   01/19/21   Wheeler, Emma                                0.70            441.00    006     60958024
       REVISE WIP LIST AND WORKING GROUP LIST.


   01/19/21   Hong, Jeesun                                 0.50            492.50    006     60958686
       PARTICIPATE ON WIP CALL.


   01/19/21   Marzocca, Anthony P.                         0.50            492.50    006     61069775
       PARTICIPATE ON WIP CALL.


   01/19/21   Greene, Anthony L.                           0.90            936.00    006     61182128
       PARTICIPATE ON TEAM WIP CALL.


   01/19/21   Sierra, Tristan M.                           0.80            616.00    006     60979032
       PARTICIPATE ON WIP CALL.


   01/20/21   Rahman, Faiza N.                             0.70            892.50    006     61182252
       PARTICIPATE ON WIP CALL WITH HL.


   01/20/21   George, Jason                         1.00           770.00         006        60979276
       REVISE WIP LIST AND CORRESPOND WITH E. WHEELER RE: SAME (0.4); REVISE DRAFT OF ADVISORS
       PLAN WIP (0.6).


   01/20/21   Wheeler, Emma                                1.50            945.00    006     60971399
       REVISE WIP LIST.


   01/21/21   Goldring, Stuart J.                          0.40            718.00    006     61192402
       PARTICIPATE ON WIP CALL.


   01/21/21     Marcus, Courtney S.                        0.30            435.00    006     61522362
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        PARTICIPATE ON WEIL WIP CALL.


   01/21/21   Moore, Rodney L.                                 0.40            598.00    006    61192533
       PARTICIPATE ON WIP CALL.


   01/21/21   Rahman, Faiza N.                                 0.40            510.00    006    60990460
       PARTICIPATE ON WIP CALL.


   01/21/21   Liou, Jessica                                    1.00          1,325.00    006    61522367
       PARTICIPATE ON WIP CALL.


   01/21/21   Peca, Samuel C.                                  0.40            490.00    006    61193140
       PARTICIPATE ON WIP CALL.


   01/21/21     Barr, Matthew S.                        2.10         3,769.50       006    60976532
       CORRESPONDENCES WITH TEAM REGARDING OPEN ISSUES (.3); CALL WITH TEAM REGARDING SAME
       (.2); REVIEW NEXT STEPS (.5); REVIEW OPEN DOCUMENT ISSUES (.6); AND CORRESPONDENCES
       REGARDING SAME (.1); REVIEW DISPUTE INVOLVING GENOVESA WELL (.3); AND CORRESPONDENCES
       WITH TEAM REGARDING SAME (.1).


   01/21/21   Budovalcev-Nicholas, Daniel R.                   0.40            558.00    006    60976490
       PARTICIPATE ON WIP CALL.


   01/21/21  Margolis, Steven M.                               0.50            612.50    006    60974005
       ATTEND WIP MEETING AND PREPARE FOR SAME.


   01/21/21   Swenson, Robert M.                               0.30            345.00    006    61193193
       PARTICIPATE ON WIP CALL.


   01/21/21   Delaney, Scott Michael                           0.40            460.00    006    61194151
       PARTICIPATE ON WIP CALL.
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   01/21/21   Bonhamgregory, Veronica Gayle                  0.40            416.00    006    60990023
       PARTICIPATE ON WIP CALL.


   01/21/21   Hufendick, Jason                               1.00            985.00    006    60974076
       PARTICIPATE ON FIELDWOOD WIP CALL.


   01/21/21   Carlson, Clifford W.                           0.70            770.00    006    61523062
       PARTICIPATE ON WIP CALL.


   01/21/21  George, Jason                              1.10        847.00           006      60979319
       CORRESPOND WITH E. WHEELER RE: WIP LIST (0.1); PARTICIPATE ON WIP CALL (1.0).


   01/21/21   Bailey, Edgar Scott                            0.30            312.00    006    60971406
       PARTICIPATE ON WIP CALL.


   01/21/21  Wheeler, Emma                                   1.30            819.00    006    60974798
       ATTEND WIP CALL (1.0); REVISE WIP LIST (0.3).


   01/21/21   Choi, Erin Marie                               0.50            550.00    006    61197549
       PARTICIPATE ON WIP CALL.


   01/21/21   Hong, Jeesun                                   0.40            394.00    006    61197552
       PARTICIPATE ON WIP CALL.


   01/21/21   James, Hillarie                                1.00            895.00    006    61026733
       REVISE CASE CALENDAR.


   01/21/21   Marzocca, Anthony P.                           1.00            985.00    006    61069738
       PARTICIPATE ON WIP CALL.


   01/21/21     Greene, Anthony L.                           1.10          1,144.00    006    61197561
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        PARTICIPATE ON WIP CALL.


   01/21/21   Sierra, Tristan M.                           1.00            770.00    006      61044273
       PARTICIPATE ON WIP CALL.


   01/22/21   George, Jason                                0.30            231.00    006      60979519
       REVISE DRAFT OF ADVISORS WIP LIST.


   01/22/21   Wheeler, Emma                                0.10             63.00    006      60994431
       REVISE WIP LIST.


   01/22/21   James, Hillarie                              0.20            179.00    006      61027090
       REVISE CALENDARS.


   01/22/21  Fabsik, Paul                            1.10       445.50               006      60978285
       UPDATE AND REVISE SPECIFIED CALENDAR INVITES PER ATTORNEY REQUEST.


   01/24/21  Fabsik, Paul                            0.70       283.50               006      60980934
       UPDATE AND REVISE SPECIFIED CALENDAR INVITES AS PER ATTORNEY REQUEST.


   01/25/21   George, Jason                              0.60        462.00         006       61003951
       REVISE DRAFT OF ADVISORS WIP LIST (0.3); REVISE DRAFT OF INTERNAL WIP LIST AND PROVIDE
       COMMENTS TO E. WHEELER (0.3).


   01/25/21   Wheeler, Emma                                1.70          1,071.00    006      61013477
       REVISE WIP LIST.


   01/25/21   James, Hillarie                              3.00          2,685.00    006      61058994
       REVISE CASE CALENDARS.


   01/26/21     Marcus, Courtney S.                        0.40            580.00    006      61047921
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        PARTICIPATE ON WIP CALL.


   01/26/21   Moore, Rodney L.                               0.50            747.50    006    61204784
       PARTICIPATE ON WIP CALL.


   01/26/21   Rahman, Faiza N.                               0.50            637.50    006    61006573
       PARTICIPATE ON WIP CALL.


   01/26/21   Liou, Jessica                                  0.50            662.50    006    61523065
       PARTICIPATE ON TEAM WIP CALL.


   01/26/21   Peca, Samuel C.                                0.50            612.50    006    61204785
       PARTICIPATE ON WIP CALL.


   01/26/21   Margolis, Steven M.                            0.70            857.50    006    61006864
       PARTICIPATE ON FWE WIP CALL.


   01/26/21   Delaney, Scott Michael                         0.40            460.00    006    61206281
       PARTICIPATE ON WIP CALL.


   01/26/21   Conley, Brendan C.                             0.60            660.00    006    61206273
       PARTICIPATE ON FWE WIP CALL.


   01/26/21   Bonhamgregory, Veronica Gayle                  0.50            520.00    006    61007952
       PARTICIPATE ON WIP CALL.


   01/26/21  Hufendick, Jason                                0.50            492.50    006    61033713
       ATTEND WEIL WIP MEETING.


   01/26/21   Carlson, Clifford W.                           0.50            550.00    006    61523072
       PARTICIPATE ON WIP CALL.
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   01/26/21   George, Jason                                0.50            385.00    006      61025818
       PARTICIPATE ON WIP CALL.


   01/26/21   Bailey, Edgar Scott                          0.50            520.00    006      61003656
       PARTICIPATE ON WIP CALL.


   01/26/21  Wheeler, Emma                                 0.50            315.00    006      61013465
       ATTEND WIP CALL.


   01/26/21   Hong, Jeesun                                 0.50            492.50    006      61206282
       PARTICIPATE ON WIP CALL.


   01/26/21  Tahiliani, Radhika                            0.30            295.50    006      61206283
       ATTEND WIP CALL.


   01/26/21   Greene, Anthony L.                           1.00          1,040.00    006      61201732
       PARTICIPATE ON WIP CALL.


   01/26/21   Sierra, Tristan M.                           0.50            385.00    006      61044343
       PARTICIPATE ON WIP CALL.


   01/27/21  George, Jason                              0.50        385.00         006        61025877
       UPDATE DRAFT OF ADVISORS WIP LIST (0.2); REVISE DRAFT OF INTERNAL WIP LIST AND PROVIDE
       COMMENTS TO E. WHEELER (0.3).


   01/27/21   Wheeler, Emma                                2.10          1,323.00    006      61013484
       REVISE WIP LIST.


   01/28/21   Hong, Jeesun                                 0.50            492.50    006      61205917
       PARTICIPATE ON WIP CALL.
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   01/29/21  Carlson, Clifford W.                           0.20            220.00    006      61041986
       REVIEW AND REVISE PLAN WIP.


   01/29/21   George, Jason                                 0.30            231.00    006      61049673
       REVISE ADVISORS WIP LIST.


    SUBTOTAL TASK 006 - Case Administration (WIP          127.90       $125,792.00
    and Calendar):

   01/01/21  Perez, Alfredo R.                       2.30         3,668.50       007         60837317
       CONFERENCE CALL WITH APA, HUNTON, T. LAMME AND WEIL TEAM (.4); FOLLOW-UP CALL WITH APA
       AND WEIL TEAM REGARDING SCHEDULES (.2); FOLLOW-UP CALL WITH APA, DAVIS POLK, T. LAMME,
       AND WEIL TEAM (.3); REVIEW AND REVISE LANGUAGE FOR FOOTNOTE IN TERM SHEET REGARDING
       RESERVATION OF RIGHTS (.3); VARIOUS COMMUNICATIONS WITH APA. HUNTON, DAVIS POLK, T.
       LAMME, AND WEIL TEAM REGARDING LANGUAGE FOR THE PLAN AND DISCLOSURE STATEMENT (.5);
       TELEPHONE CONFERENCES WITH J. LIOU REGARDING FILINGS (.2); REVIEW THE VARIOUS FILINGS (.4).


   01/01/21  Hufendick, Jason                        1.20                 1,182.00    007      60837129
       REVIEW AND FINALIZE FWE CHAPTER 11 PLAN FOR FILING.


   01/01/21    Greene, Anthony L.                          2.10       2,184.00        007      60887979
       INTERNAL DOCUMENT COORDINATION CALL (.5); REVIEW AND REVISE WITNESS AND EXHIBIT LIST FOR
       FILING (.3); CALL WITH C. CARLSON RE: SAME (.2); FINAL REVIEW OF PLAN FOR FILING (1.1).


   01/01/21   Jalomo, Chris                          3.00                   960.00    007      60823774
       ASSIST WITH THE PREPARATION AND FILING OF PLAN.


   01/02/21  Perez, Alfredo R.                              0.20            319.00    007      60837204
       REVIEW FILINGS INCLUDING PLAN.


   01/03/21  Mastando III, John P.                          0.70            945.00    007      60833943
       REVIEW DISCOVERY RESPONSES AND OBJECTIONS.
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   01/04/21   Mastando III, John P.                  1.50       2,025.00       007         60851896
       REVISE DRAFT DISCOVERY RESPONSES AND OBJECTIONS (1.1); CONFERENCE CALL WITH R. SWENSON
       AND E. CHOI RE: DISCOVERY RESPONSES AND OBJECTIONS (.4).


   01/04/21  Liou, Jessica                             0.40        530.00        007         60859714
       CONFER WITH S. MILLMAN RE: PLAN QUESTIONS (.2); REVIEW AND REVISE CHAPTER 11 PLAN
       TREATMENT SUMMARY (.2).


   01/04/21  Peca, Samuel C.                        1.80        2,205.00      007        60847964
       REVIEW LLOG ISSUE AND RELATED DOCUMENTS (1.3); CALL WITH WEIL TEAM REGARDING SAME (0.5).


   01/04/21  Hufendick, Jason                               1.80          1,773.00    007    60888562
       REVIEW AND REVISE CONFIRMATION WIP LIST.


   01/04/21   Carlson, Clifford W.                     2.50        2,750.00         007     60913451
       REVIEW AND REVISE PLAN WIP (.3); PARTICIPATE ON CALL WITH J. LIOU AND J . HUFENDICK
       REGARDING SAME (.5); FOLLOW UP EMAILS WITH WEIL TEAM REGARDING SAME (.6); PARTICIPATE ON
       CALL WITH A. GREENE REGARDING MOTION TO APPROVE BACKSTOP COMMITMENT AGREEMENT (.3);
       PARTICIPATE ON CALL WITH E. CHOI AND R. SWENSON REGARDING PLAN ISSUES (.8).


   01/04/21  James, Hillarie                                0.80            716.00    007    61163378
       RESEARCH BACKSTOP MOTIONS.


   01/04/21  Greene, Anthony L.                      4.20      4,368.00       007       60888540
       BACKSTOP AND FINANCING RESEARCH (3.7); CORRESPOND WITH E. WHEELER REGARDING BACKSTOP
       RESEARCH (.5).


   01/05/21   Mastando III, John P.                1.80          2,430.00       007          60864475
       REVISE DRAFT DISCOVERY RESPONSES AND OBJECTIONS (.9); REVIEW CHAPTER 11 PLAN (.9).


   01/05/21  Bonhamgregory, Veronica Gayle                  1.80          1,872.00    007    61518998
       DRAFT BUSINESS TERMS GRID.
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   01/05/21  Hufendick, Jason                          1.70      1,674.50        007          60888481
       REVIEW AND REVISE CONFIRMATION WIP LIST (1.3); PREPARE VERSION FOR CALL WITH DPW (.4).


   01/05/21  Carlson, Clifford W.                   2.10      2,310.00         007         60913578
       REVIEW AND REVISE PLAN WIP AND MULTIPLE EMAILS REGARDING SAME (.7); MULTIPLE CALLS AND
       EMAILS WITH ALIX PARTNERS TEAM REGARDING CLAIMS ANALYSIS FOR PLAN (.7); MULTIPLE CALLS
       AND EMAILS REGARDING PREDECESSORS (0.7).


   01/05/21    George, Jason                            5.70       4,389.00      007        60875033
       REVISE RESEARCH MEMO ON CONFIRMATION ISSUE (3.5); REVISE INTERNAL AND EXTERNAL PLAN WIP
       LISTS (1.4); PARTICIPATE ON ALL ADVISORS CALL TO DISCUSS CONFIRMATION WORKSTREAMS (0.8).


   01/05/21  Martin, Robert Crawford               1.30     1,397.50       007        60865872
       CONFERENCE WITH LENDERS' COUNSEL REGARDING TRANSACTION STATUS AND DELIVERABLES (.7);
       COMPILE CLOSING CHECKLIST FOR CORPORATE ITEMS (.6).


   01/05/21  Wheeler, Emma                       4.70      2,961.00         007        60877423
       CONDUCT RESEARCH RE: BACKSTOP COMMITMENT AGREEMENT MOTION (1.9); PREPARE DISCLOSURE
       STATEMENT AND PLAN MATERIALS (2.8).


   01/05/21  James, Hillarie                      2.40      2,148.00      007           60918982
       TELEPHONE CONFERENCES REGARDING PLAN AND DISCLOSURE STATEMENT SUPPLEMENTS (2.0);
       DRAFT NOTICE OF PLAN SUPPLEMENT (0.4).


   01/05/21  Greene, Anthony L.                     3.00        3,120.00         007       60862712
       INTERNAL DOCUMENT COORDINATION CALL (.5); CALL WITH C. CARLSON (.2); REVIEW BACKSTOP
       MATERIALS (.5); DRAFT BACKSTOP APPROVAL MOTION (1.8).


   01/06/21     Marcus, Courtney S.                        6.80          9,860.00    007      61049742
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        CALL WITH WEIL TEAM TO DISCUSS CLAIMS AND LIEN ANALYSIS (1.3); REVIEW 2018 AND 2020
        COLLATERAL AND LIEN SUMMARIES (1); FOLLOW UP WITH WEIL B&R TEAM REGARDING SAME (.3);
        DRAFT AND CIRCULATE SHORT FORM FIRST LIEN EXIT FACILITY TERM SHEET TO FIELDWOOD AND
        HOULIHAN TEAM (4.2).


   01/06/21     Conley, Brendan C.                      2.70      2,970.00         007        60869208
       REVIEW LIEN MEMO AND PREPETITION UCC-1 FILINGS (.5); CALL RE: LIEN STATUS AND RELATION BACK
       (1.0); REVIEW LIEN SEARCHES AND SUMMARIZE (1.2).


   01/06/21  Bonhamgregory, Veronica Gayle          3.20      3,328.00          007       61163389
       INTERNAL CALL WITH RESTRUCTURING RE: OTHER SECURED CLAIMS (1.3); REVIEW LIEN SEARCHES,
       CORRESPONDENCE RE: SAME (1.9).


   01/06/21  George, Jason                               1.20        924.00         007       60875026
       CALL WITH L. SMITH, C. MARCUS, B. CONLEY, J. LIOU AND C. CARLSON RE: LIEN ANALYSIS.


   01/06/21  Wheeler, Emma                        4.20        2,646.00       007         60877474
       REVIEW BACKSTOP APPROVAL MOTION EXAMPLES (1.7); DRAFT BUSINESS JUDGMENT SECTION OF
       BACKSTOP COMMITMENT AGREEMENT APPROVAL MOTION (2.5).


   01/06/21   Greene, Anthony L.                      5.20       5,408.00      007          60888440
       PARTICIPATE ON ADVISORS CALL (.5); DRAFT OUTLINE FOR BACKSTOP APPROVAL MOTION (1.4);
       BACKSTOP/EXIT FINANCING RESEARCH (2.5); REVIEW EXIT FINANCING DOCUMENTS (.8).


   01/07/21  Marcus, Courtney S.                  1.20       1,740.00        007          61049835
       REVIEW AND CORRESPOND WITH WEIL B&F TEAM REGARDING UCC LIEN ANALYSIS (.3); REVIEW AND
       CORRESPOND WITH FIELDWOOD TEAM REGARDING FEEDBACK TO FIRST LIEN EXIT TERM SHEET (.6);
       REVIEW AND CORRESPOND WITH HOULIHAN REGARDING SAME (.3).


   01/07/21  Liou, Jessica                           1.50         1,987.50        007        60892864
       PREPARE FOR CLIENT CALL RE: PLAN CONFIRMATION ISSUES (.2); CONFER WITH M. DANE, T. LAMME, C.
       CARLSON AND A. PEREZ RE: PLAN CONFIRMATION ISSUES (1.3).
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   01/07/21  Hufendick, Jason                       1.40                 1,379.00    007    60888665
       CALL WITH CLIENT RE: CONFIRMATION WIP AND STRATEGY.


   01/07/21  Carlson, Clifford W.                     0.80       880.00       007       60913793
       EMAILS WITH PREDECESSORS' COUNSEL (0.3); REVIEW BACKSTOP COMMITMENT LETTER AND EMAILS
       REGARDING SAME (0.5).


   01/07/21  George, Jason                              1.40        1,078.00      007       60875043
       CALL WITH M. DANE, T. LAMME, A. PEREZ AND J. LIOU RE: DISCLOSURE STATEMENT AND PLAN WORK
       STREAMS (1.3); EMAIL DPW TEAM RE: COORDINATION CALLS FOR PLAN WORK STREAMS (0.1).


   01/07/21  Wheeler, Emma                      4.80         3,024.00      007         60877638
       REVIEW BACKSTOP COMMITMENT MOTION EXAMPLES AND HEARING SUMMARIES (2.0); PREPARE
       BACKSTOP COMMITMENT AGREEMENT APPROVAL MOTION (2.0); REVIEW BACKSTOP COMMITMENT
       LETTER DRAFT (.8).


   01/07/21  James, Hillarie                      2.00      1,790.00      007               60911425
       TELEPHONE CONFERENCES WITH ADVISOR TEAMS REGARDING PLAN WORK STREAMS.


   01/07/21  Marzocca, Anthony P.                   0.40       394.00                007    61292987
       CALL WITH WEIL AND DPW TEAMS RE: NEXT STEPS AND IMPLEMENTATION.


   01/07/21  Greene, Anthony L.                    2.50       2,600.00     007           60894557
       CALL WITH E. WHEELER AND C. CARLSON REGARDING BACKSTOP COMMITMENT LETTER (.5); DRAFT
       MOTION TO APPROVE BACKSTOP COMMITMENT LETTER (2).


   01/07/21    Thomas, April M.                      3.80         1,121.00         007   60998703
       CORRESPOND WITH V. BONHAMGREGORY AND K. JOFFRION IN REGARDS TO RETRIEVING UCC-1'S AND
       UCC-3'S OF PREPETITION UCC FINANCING STATEMENTS (0.2); RESEARCH SAME (3.6).


   01/08/21     Marcus, Courtney S.                        2.70          3,915.00    007    61049876
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        CALL WITH WEIL TEAM TO DISCUSS PROPOSED EXIT FINANCING AND DOCUMENTATION
        MANAGEMENT (.4); REVISE FIRST LIEN EXIT FACILITY TERM SHEET AND CIRCULATE SAME TO V&E AND
        DAVIS POLK (2.3).


   01/08/21  Rahman, Faiza N.                    1.40                    1,785.00    007       60893500
       REVIEW AND COMMENT ON BACKSTOP AGREEMENT.


   01/08/21  Peca, Samuel C.                        1.20       1,470.00        007          61163803
       REVIEW AND PROVIDE ISSUES LIST ON BACKSTOP AGREEMENT (0.9); UPDATE CALL WITH DPW (0.3).


   01/08/21  Margolis, Steven M.                 0.30        367.50      007                   60887818
       REVIEW NEW DRAFTS OF COMMITMENT BACKSTOP LETTER AND CORRESPONDENCE ON SAME.


   01/08/21  Delaney, Scott Michael              0.40       460.00                   007       61506448
       REVIEW BACKSTOP COMMITMENT LETTER AND RELATED CORRESPONDENCE.


   01/08/21  Conley, Brendan C.                     5.20      5,720.00          007            60881750
       PLAN FOR AND PARTICIPATE ON INTERNAL FINANCE UPDATE CALL (.4); REVIEW AND REVISE
       COMMITMENT LETTER (4.8).


   01/08/21  Hufendick, Jason                        0.70       689.50       007               60888591
       REVIEW CONFIRMATION WIP (.4); ATTEND DPW/WEIL CONFIRMATION COORDINATION CALL (.3).


   01/08/21   Carlson, Clifford W.                   1.30      1,430.00       007         60953495
       PARTICIPATE ON CALLS AND EMAILS WITH A. GREENE AND E. WHEELER REGARDING MOTION TO
       APPROVE BACKSTOP COMMITMENT LETTER (0.5); PARTICIPATE ON CALL WITH DPW TEAM REGARDING
       PLAN AND DISCLOSURE STATEMENT (.5); EMAILS WITH HOULIHAN TEAM REGARDING SAME (.3).


   01/08/21   George, Jason                            1.20          924.00          007       60884015
       CALL WITH M. PERA RE: RSA AMENDMENT (0.3); EMAIL J. LIOU RE: SAME (0.2); CORRESPONDENCE WITH
       M. PERA RE: RSA AMENDMENT (0.1); PARTICIPATE ON ADVISORS CALL TO DISCUSS CONFIRMATION
       WORKSTREAMS (.3); REVISE EXTERNAL WIP LIST TO REFLECT UPDATES TO PLAN WORKSTREAMS (.3).
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   01/08/21  Wheeler, Emma                          9.00       5,670.00        007          60883478
       PREPARE BACKSTOP COMMITMENT MOTION (8.7); CALL WITH C. CARLSON AND A. GREENE RE:
       BACKSTOP COMMITMENT MOTION (.3).


   01/08/21  James, Hillarie                      0.50       447.50      007                60911475
       TELEPHONE CONFERENCE WITH ADVISOR TEAMS REGARDING PLAN WORK STREAMS.


   01/08/21  Marzocca, Anthony P.                  0.30        295.50                007    61070118
       CORRESPONDENCE WITH C. CARLSON RE: CONFIRMATION ISSUES.


   01/08/21  Greene, Anthony L.                        9.80     10,192.00     007         60894951
       CALL WITH DPW REGARDING PLAN STEPS (.5); BANKRUPTCY RESEARCH RELATING TO EXIT FINANCING
       AND FEES (1.5); CALL WITH E. WHEELER REGARDING BACKSTOP COMMITMENT LETTER UPDATES (.5);
       CALL WITH C. CARLSON REGARDING BACKSTOP MOTION STATUS (.3); DRAFT BACKSTOP APPROVAL
       MOTION (5.5); REVIEW PLAN DOCUMENTS RELEVANT TO BACKSTOP MOTION AND COMMITMENT
       LETTER (1.5).


   01/09/21   Carlson, Clifford W.                  5.70       6,270.00       007        60953512
       PARTICIPATE ON CALL WITH HOULIHAN REGARDING BACKSTOP COMMITMENT LETTER (.5);
       PARTICIPATE ON CALLS AND EMAILS WITH A. GREENE AND E. WHEELER REGARDING MOTION TO
       APPROVE BACKSTOP COMMITMENT LETTER (1.5); REVIEW AND REVISE MOTION TO APPROVE
       BACKSTOP COMMITMENT LETTER (3.7).


   01/09/21  Wheeler, Emma                           6.30      3,969.00        007        60883472
       UPDATE CASELAW IN MOTION TO APPROVE BACKSTOP COMMITMENT LETTER (1.2); CALL WITH C.
       CARLSON, A. GREENE AND M. HANEY RE: BACKSTOP COMMITMENT LETTER (.4); REVISE BACKSTOP
       COMMITMENT LETTER MOTION (4.4); PREPARE FOR CALL ON BACKSTOP COMMITMENT LETTER BY
       DEVELOPING AND CIRCULATING ISSUES LIST (.3).


   01/09/21  Greene, Anthony L.                       9.40      9,776.00      007        60933372
       BACKSTOP FINANCING RESEARCH (1.9); CALL WITH E. WHEELER REGARDING BACKSTOP MOTION (.5);
       CALL WITH C. CARLSON AND M. HANLEY REGARDING BACKSTOP COMMITMENT (.5); REVISE BACKSTOP
       APPROVAL MOTION (6.5).
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   01/10/21  Margolis, Steven M.                0.20                       245.00    007     60917112
       CORRESPONDENCE ON TRANSACTION DOCUMENTS.


   01/10/21   Wheeler, Emma                                1.00            630.00    007     60920655
       REVISE BACKSTOP COMMITMENT LETTER MOTION.


   01/10/21   Greene, Anthony L.                           3.50          3,640.00    007     60933170
       REVISE BACKSTOP APPROVAL MOTION.


   01/11/21  Perez, Alfredo R.                    0.90       1,435.50      007               60909329
       CONFERENCE CALL WITH HOULIHAN AND WEIL TEAMS REGARDING VALUATION ISSUES (.5);
       TELEPHONE CONFERENCE WITH M. BARR REGARDING NEXT STEPS (.4).


   01/11/21  Marcus, Courtney S.                   4.60      6,670.00                007     61049592
       COORDINATE AND REVISE INITIAL MARKUP OF BACKSTOP COMMITMENT LETTER.


   01/11/21  Moore, Rodney L.                    0.60                      897.00    007     61505212
       REVIEW AND PROVIDE COMMENTS ON BACKSTOP COMMITMENT.


   01/11/21  Liou, Jessica                      0.80                     1,060.00    007     60928742
       REVIEW AND COMMENT ON BACKSTOP COMMITMENT LETTER.


   01/11/21  Peca, Samuel C.                     2.20      2,695.00      007                 61180085
       REVIEW AND REVISE BACKSTOP COMMITMENT AGREEMENT AND EMAIL REGARDING SAME.


   01/11/21     Barr, Matthew S.                        4.80        8,616.00       007       60910533
       REVIEW HL DRAFT MATERIALS (1.0); ALL HANDS CALL REGARDING SAME (1.2); FOLLOW UP WITH TEAM
       (.6); CALL WITH TEAM REGARDING NEXT STEPS (.5); CALL WITH CLIENT AND TEAM REGARDING
       PREDECESSOR (.5); REVIEW ISSUES REGARDING OPEN ISSUES (.7); CALL WITH TEAM REGARDING NEXT
       STEPS (.3).


   01/11/21     Margolis, Steven M.                        0.80            980.00    007     60904016
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        REVIEW COMMENTS AND CHANGES TO BACKSTOP COMMITMENT LETTER (0.6); CORRESPONDENCE RE
        SAME (0.2).


   01/11/21     Swenson, Robert M.                    1.80       2,070.00       007        60907001
       CONFER WITH M. COUVEGAN REGARDING OUTSTANDING QUESTIONS AND ISSUES RE: AUDIT REPORTS
       (1.2); REVIEW JOA AND AUDIT MATERIALS IN ADVANCE OF DILIGENCE CALL WITH M. COUVEGAN (0.6).


   01/11/21  Delaney, Scott Michael                    3.40         3,910.00       007        60933055
       REVIEW AND REVISE BACKSTOP COMMITMENT LETTER (1.8); CORRESPONDENCE WITH R. MOORE AND S.
       PECA RE: SAME (0.3); REVIEW REVISED DRAFT OF SAME (0.3); FURTHER REVIEW AND REVISE BACKSTOP
       COMMITMENT LETTER (1.0).


   01/11/21  Conley, Brendan C.                      6.00       6,600.00       007            61507459
       COORDINATE RE: COMMITMENT LETTER (.1); REVIEW AND REVISE COVENANT GRID (5.9).


   01/11/21  Carlson, Clifford W.                  0.50       550.00                 007      60992717
       REVIEW PLAN WIP AND EMAILS REGARDING PLAN WORKSTREAMS.


   01/11/21  Vinson, Elizabeth Blaine           0.40        358.00        007        60907002
       REVIEW BACKSTOP COMMITMENT LETTER COMMENTS AND DISCUSSION ON SETTLEMENT OF CLAIMS.


   01/11/21  Martin, Robert Crawford              2.60                   2,795.00    007      60918069
       COMPILE CHECKLIST AGGREGATING CORPORATE ITEMS.


   01/11/21  Wheeler, Emma                         7.40     4,662.00        007               60920618
       PREPARE DECLARATION IN SUPPORT OF BACKSTOP COMMITMENT LETTER MOTION.


   01/11/21  Hong, Jeesun                       0.50                       492.50    007      60906442
       REVIEW BACKSTOP COMMITMENT LETTER COMMENTS.


   01/11/21     Greene, Anthony L.                         3.50          3,640.00    007      60933232
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        BACKSTOP FINANCING RESEARCH (2.5); DRAFT HANSON DECLARATION IN SUPPORT OF BACKSTOP
        MOTION (1.0).


   01/12/21  Perez, Alfredo R.                       0.70     1,116.50        007       60918327
       REVIEW PREDECESSOR'S OBJECTION AND DOCUMENT REQUEST (.4); TELEPHONE CONFERENCE WITH M.
       DANE REGARDING OBJECTION AND NEXT STEPS (.3).


   01/12/21     Marcus, Courtney S.                   4.90      7,105.00      007          60958408
       CONFERENCE WITH WEIL TEAM TO REVIEW INTERNAL MARKUP OF BACKSTOP COMMITMENT LETTER
       (.8); CALL WITH WEIL AND HOULIHAN TEAM TO DISCUSS BACKSTOP COMMITMENT LETTER (1.1);
       CONSOLIDATE COMMENTS, REVISE, AND CIRCULATE MARKUP TO BACKSTOP COMMITMENT LETTER
       (3.0).


   01/12/21  Moore, Rodney L.                         2.30     3,438.50       007       60917868
       REVIEW AND REVISE BACKSTOP LETTER (.8); TELEPHONE CONFERENCE CALL WITH WEIL TEAM
       REGARDING BACKSTOP LETTER (.5); TELEPHONE CONFERENCE WITH HOULIHAN REGARDING BACKSTOP
       LETTER (1.0).


   01/12/21  Rahman, Faiza N.                       1.40       1,785.00       007       60923972
       REVIEW REVISED MARKUP OF BACKSTOP AGREEMENT (0.3); CALL WITH WEIL TEAMS RE: COMMENTS
       TO BACKSTOP AGREEMENT (0.8); REVIEW EMAIL CORRESPONDENCE RE: BACKSTOP AGREEMENT (0.3).


   01/12/21  Liou, Jessica                          1.40        1,855.00        007        60928677
       REVIEW AND RESPOND TO EMAILS RE: MARKING UP BACKSTOP COMMITMENT LETTER (.6); CONFER
       WITH HL AND WEIL RE: BACKSTOP COMMITMENT LETTER (.5); EMAILS WITH C. MARCUS, R. MOORE RE:
       BACKSTOP COMMITMENT LETTER MARKUP (.3).


   01/12/21  Peca, Samuel C.                         2.70      3,307.50         007         60917751
       CALL TO DISCUSS BACKSTOP COMMITMENT AGREEMENT WITH WEIL TEAM (0.8); CALL WITH HL TO
       DISCUSS BCA (1.0); ATTENTION TO BACKSTOP COMMITMENT AGREEMENT (0.7); CALL WITH R. MARTIN
       REGARDING PROCESS (0.2).


   01/12/21     Margolis, Steven M.                        1.20          1,470.00    007    60917055
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        REVIEW COMMENTS AND CHANGES TO BACKSTOP COMMITMENT LETTER (0.4); CONFER WITH WEIL
        TEAM ON SAME (0.7); REVIEW CHANGES TO BACKSTOP COMMITMENT LETTER (0.1).


   01/12/21   Swenson, Robert M.                        2.80      3,220.00      007         60921142
       CONFER WITH FIELDWOOD TEAM AND M. COUVEGAN REGARDING GOVERNING DOCUMENTS FOR WEST
       DELTA AND EI FIELDS (1.3); PARTICIPATE ON CONFERENCE CALL WITH COMPANY TO DISCUSS EXPERT
       ANALYSIS CONCERNING AUDIT REPORTS AND REALLOCATIONS (0.7); CONFER WITH M. COUVEGAN AND
       WEIL LITIGATION TEAM CONCERNING EXPERT REPORT (0.8).


   01/12/21   Delaney, Scott Michael             1.50       1,725.00          007       60933034
       FOLLOW-UP CORRESPONDENCE RE: BACKSTOP COMMITMENT LETTER (0.2); CONFERENCE WITH WEIL
       AND HOULIHAN LOKEY TEAMS RE: BACKSTOP COMMITMENT LETTER (1.1); REVIEW REVISED DRAFT RE:
       SAME (0.2).


   01/12/21  Conley, Brendan C.                     0.70       770.00                007    61507462
       PREPARE FOR AND PARTICIPATE ON CALL RE: COMMITMENT LETTER.


   01/12/21  Bonhamgregory, Veronica Gayle            2.80      2,912.00       007     60918073
       CORRESPONDENCE RE: AND PARTICIPATE ON COMMITMENT PAPER CALL WITH TAX, RX, BANKING, PE
       AND CAPITAL MARKETS TEAMS (.9); ATTENTION TO LIEN ANALYSIS INCLUDING EMAIL
       CORRESPONDENCE AND CALL WITH L. SMITH (.9); UPDATE BUSINESS PROPOSAL GRID,
       CORRESPONDENCE RE: SAME (1.0).


   01/12/21   Abraham, Melissa S.                    0.80                  860.00    007    60917807
       PARTICIPATE ON WEIL CALL RE: BACKSTOP LETTER.


   01/12/21  Hufendick, Jason                     0.80                     788.00    007    60946937
       ATTEND WEIL TEAM CALL RE: BACKSTOP COMMITMENT LETTER.


   01/12/21     Carlson, Clifford W.                       2.60          2,860.00    007    60991269
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        PARTICIPATE ON CALL WITH CORPORATE AND BANKING TEAMS REGARDING BACKSTOP
        COMMITMENT LETTER (1.0); CALL WITH WEIL GROUPS REGARDING BACKSTOP COMMITMENT LETTER
        (.8); EMAILS REGARDING REQUEST FOR PRODUCTION RELATED TO PLAN OBJECTION (.3); MULTIPLE
        EMAILS REGARDING PLAN ISSUES (.5).


   01/12/21  Simmons, Kevin Michael               0.60         537.00        007            60916046
       REVIEW MEETING NOTES FROM CALL BETWEEN CLIENT AND P. GENENDER AND A. PEREZ.


   01/12/21   Vinson, Elizabeth Blaine              0.80       716.00                007    61181447
       PARTICIPATE ON CALL WITH WEIL TEAMS RE: BACKSTOP COMMITMENT LETTER.


   01/12/21 George, Jason                          0.10                     77.00    007    60913690
       EXCHANGE EMAILS WITH M. PERA RE: RSA AMENDMENT.


   01/12/21  Martin, Robert Crawford              1.30     1,397.50         007         60918048
       CONFERENCE WITH WEIL TEAM REGARDING COMMITMENT LETTER (.8); CONFERENCE WITH WEIL
       TEAM REGARDING STATUS OF WORKSTREAMS (.5).


   01/12/21  Wheeler, Emma                        1.70         1,071.00   007           60920646
       ATTEND CALL ON BACKSTOP COMMITMENT LETTER WITH WEIL TEAM AND HOULIHAN (1.0); ATTEND
       CALL WITH WEIL TEAM ON BACKSTOP COMMITMENT LETTER (.7).


   01/12/21   Greene, Anthony L.                      4.90       5,096.00        007        60933133
       REVIEW TEAM COMMENTS TO BACKSTOP COMMITMENT LETTER (.6); INTERNAL CALL RELATED TO
       BACKSTOP COMMITMENT (.7); REVIEW AND REVISE DECLARATION IN SUPPORT OF BACKSTOP
       COMMITMENT MOTION (.9); REVIEW AND REVISE BACKSTOP COMMITMENT MOTION (1.2);
       PARTICIPATE ON TEAM COORDINATION CALL (.4); PARTICIPATE ON EXIT FACILITY CALL (1.1).


   01/12/21  Thomas, April M.                         0.60        177.00      007         60999282
       CORRESPOND WITH V. BONHAMGREGORY IN REGARDS TO RETRIEVING 2018 UCC-1'S AND UCC-3'S OF
       PREPETITION UCC FINANCING STATEMENTS (0.1); RESEARCH SAME (0.5).


   01/13/21     Perez, Alfredo R.                          0.70          1,116.50    007    60928578
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        REVIEW PREDECESSOR PLAN OBJECTION AND DOCUMENT REQUEST (.4); REVIEW VARIOUS OTHER
        OBJECTIONS FILED (.3).


   01/13/21  Marcus, Courtney S.                  0.20        290.00      007               60955108
       CORRESPOND WITH A. GREENE REGARDING MECHANICS OF BACKSTOP COMMITMENT LETTER.


   01/13/21  Rahman, Faiza N.                              0.20            255.00    007    60923681
       REVIEW DRAFT BACKSTOP AGREEMENT.


   01/13/21  Liou, Jessica                      3.20         4,240.00       007        60929750
       REVIEW AND COMMENT ON BACKSTOP COMMITMENT LETTER (.8); REVIEW AND REVISE BACKSTOP
       COMMITMENT LETTER MOTION (2.4).


   01/13/21  Carlson, Clifford W.                  0.50                    550.00    007    60991382
       MULTIPLE EMAILS REGARDING UPDATES TO PLAN WIP LIST.


   01/13/21  George, Jason                                 0.40            308.00    007    61182299
       CALL WITH DPW RE: PLAN WORKSTREAMS.


   01/13/21  Wheeler, Emma                         4.60         2,898.00  007           60934261
       UPDATE BACKSTOP MOTION BASED ON CHANGES TO BACKSTOP COMMITMENT LETTER (3.8); PREPARE
       PLAN AND DISCLOSURE STATEMENT MATERIALS PER A. PEREZ (.8).


   01/13/21  Choi, Erin Marie                     0.80        880.00        007             61293253
       REVIEW PREDECESSOR DOCUMENT REQUESTS IN PREPARATION FOR CLIENT CALL.


   01/13/21  James, Hillarie                        2.70      2,416.50      007            61046443
       CALLS WITH ADVISOR TEAMS REGARDING PLAN, DISCLOSURE STATEMENT, AND EXHIBITS (2.5); EMAIL
       CORRESPONDENCE WITH WEIL TEAM REGARDING SAME (0.2).


   01/13/21     Greene, Anthony L.                         2.60          2,704.00    007    60933313
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        REVIEW REVISED COMMITMENT LETTER TERMS (1); REVIEW REVISED DECLARATION IN SUPPORT OF
        BACKSTOP MOTION (.5); REVIEW REVISED DRAFT PSA (1.1).


   01/14/21   Perez, Alfredo R.                     1.80      2,871.00       007        60950180
       REVIEW PREDECESSOR OBJECTION AND DOCUMENT REQUEST IN ANTICIPATION OF CALL WITH CLIENT
       REGARDING DOCUMENT REQUEST (.4); CONFERENCE CALL WITH MANAGEMENT AND WEIL TEAMS
       REGARDING PREDECESSOR'S DOCUMENT REQUEST AND APPROACH (1.0); TELEPHONE CONFERENCES
       WITH C. CARLSON REGARDING OPEN ISSUES ON DOCUMENTS AND CLAIMS (.4).


   01/14/21  Marcus, Courtney S.                  2.80        4,060.00    007          60954002
       CONFERENCE WITH DPW TO REVIEW MARKUP OF BACKSTOP COMMITMENT LETTER (1.8); FOLLOW-UP
       CALL WITH WEIL AND HOULIHAN TEAM REGARDING SAME (1.0).


   01/14/21  Moore, Rodney L.                    1.30      1,943.50      007                61184774
       TELEPHONE CONFERENCE CALL WITH DPW REGARDING BACKSTOP COMMITMENT.


   01/14/21   Rahman, Faiza N.                             0.20            255.00    007    60952261
       EMAIL CORRESPONDENCE RE: BACKSTOP LETTER.


   01/14/21   Liou, Jessica                           6.00         7,950.00        007      60935534
       REVIEW AND COMMENT ON BACKSTOP COMMITMENT LETTER MOTION (2.4); CONFER RE: BACKSTOP
       COMMITMENT LETTER (1.8); CONFER WITH C. MARCUS, S. PECA, J. HANSON AND D. CROWLEY
       (PARTIAL) RE: BACKSTOP COMMITMENT LETTER (1.1); CONFER WITH A. GREENE AND E. WHEELER RE:
       BACKSTOP COMMITMENT MOTION (.7).


   01/14/21  Peca, Samuel C.                           4.50       5,512.50        007      60932293
       CALL WITH RESTRUCTURING TEAM TO DISCUSS PAYABLES (0.3); DISCUSS OPEN ITEMS WITH
       CORPORATE TEAM (0.2); RESPOND TO DPW EMAIL (0.2); CALL WITH DPW TO DISCUSS BACKSTOP
       AGREEMENT (1.8); FOLLOW UP CALL WITH WEIL AND HL TO DISCUSS BACKSTOP AGREEMENT (1.0);
       ATTENTION TO OPEN QUESTIONS/WORKSTREAMS (1.0).


   01/14/21  Delaney, Scott Michael                1.90       2,185.00     007              61252883
       CONFERENCE WITH WEIL AND DAVIS POLK TEAMS RE: BACKSTOP COMMITMENT LETTER.
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   01/14/21  Conley, Brendan C.                      3.50        3,850.00       007         60933630
       COORDINATE RE: COMMITMENT LETTER CALL (.3); REVIEW COMMITMENT LETTER FOR CALL (.2); PLAN
       FOR AND PARTICIPATE ON CALL RE: COMMITMENT LETTER (1.9); PLAN FOR AND PARTICIPATE ON
       FOLLOW UP CALL WITH WEIL INTERNAL (1.1).


   01/14/21  Bonhamgregory, Veronica Gayle        1.80                   1,872.00    007      60946207
       CALL RE: BACKSTOP COMMITMENT LETTER WITH DAVIS POLK.


   01/14/21   Carlson, Clifford W.                 2.30       2,530.00     007         60991016
       PARTICIPATE ON CALL WITH LENDER ADVISORS REGARDING BACKSTOP COMMITMENT LETTER (1.5);
       PARTICIPATE ON CALL WITH WEIL TEAM REGARDING BACKSTOP COMMITMENT LETTER (.5);
       PARTICIPATE ON CALL WITH RESTRUCTURING TEAM REGARDING BACKSTOP APPROVAL MOTION (.3).


   01/14/21  Vinson, Elizabeth Blaine               2.10       1,879.50       007             60951668
       PREPARE FOR AND PARTICIPATE ON CALL WITH WEIL, DPW AND HOULIHAN RE: BACKSTOP
       COMMITMENT LETTER.


   01/14/21   George, Jason                            1.50        1,155.00        007        60942806
       CORRESPONDENCE WITH J. LIOU RE: AMENDMENT TO RSA (0.4); CALL WITH M. DANE, T. LAMME, AND
       A. PEREZ RE: PLAN OBJECTION (0.9); CORRESPONDENCE WITH J. HUFENDICK AND C. CARLSON RE: PLAN
       RESEARCH (0.2).


   01/14/21  Martin, Robert Crawford             1.90      2,042.50        007         60943060
       CONFERENCE WITH COMPANY REGARDING TRANSFER AGREEMENTS (.3); CONFERENCE WITH INTERNAL
       TEAM REGARDING PURCHASE AGREEMENT DRAFT AND RELATED DELIVERABLES (.5); REVIEW
       TRANSFER AGREEMENT SPREADSHEET (1.1).


   01/14/21   Wheeler, Emma                         5.40       3,402.00           007        60934284
       REVIEW REVISIONS TO BACKSTOP MOTION AND COMPARE EXAMPLES MOTIONS AND ORDERS (1.5);
       ATTEND CALL WITH DPW RE: TERMS OF BACKSTOP COMMITMENT LETTER (1.8); CONDUCT RESEARCH
       RE: BACKSTOP COMMITMENT LETTER AND MOTION (1.4); CALL WITH J. LIOU, C. CARLSON AND A.
       GREENE RE: BACKSTOP COMMITMENT MOTION (0.7).
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   01/14/21  Choi, Erin Marie                        2.70     2,970.00       007     61293271
       PREPARE FOR AND ATTEND CALL WITH FIELDWOOD TEAM REGARDING PREDECESSOR DOCUMENT
       REQUESTS (1.5); ATTENTION TO PREDECESSOR DOCUMENT REQUESTS AND CORRESPONDENCE
       REGARDING SAME (1.2).


   01/14/21  Marzocca, Anthony P.                      3.30       3,250.50       007          61070036
       CALL WITH J. GEORGE RE: CONFIRMATION ISSUES (0.6); CORRESPONDENCE RE: SAME (0.8); CONDUCT
       RESEARCH RE: SAME (1.9).


   01/14/21   Greene, Anthony L.                       3.60      3,744.00        007           60933622
       PARTICIPATE ON FWE COORDINATION CALL (.5); PARTICIPATE ON CALL REGARDING STATUS OF
       BACKSTOP COMMITMENT (.5); PARTICIPATE ON BACKSTOP COMMITMENT TEAM REGROUP CALL (.6);
       CALL WITH J. LIOU, C. CARLSON AND E. WHEELER REGARDING STATUS OF BACKSTOP TERMS (.6);
       REVIEW J. LIOU COMMENTS TO BACKSTOP MOTION (.5); PREPARE EXIT FINANCING ISSUES LIST (.6);
       REVIEW REVISED BACKSTOP COMMITMENT LETTER (.3).


   01/15/21   Perez, Alfredo R.                     1.20        1,914.00        007         60950692
       TELEPHONE CONFERENCE WITH J. LIOU REGARDING NEXT STEPS ON PLAN (.4); TELEPHONE CONFERENCE
       WITH B. FORSHEY REGARDING PREDECESSOR OBJECTION (.5); CONFERENCE CALL WITH J. LIOU AND M.
       BARR REGARDING OPEN ITEMS (.3).


   01/15/21  Marcus, Courtney S.                    1.30         1,885.00       007       60952933
       PARTIAL PARTICIPATION IN DPW COORDINATION CALL (.3); CONFERENCE WITH FIELDWOOD AND WEIL
       TEAMS TO REVIEW BACKSTOP COMMITMENT LETTER DISCUSSIONS (1.0).


   01/15/21  Moore, Rodney L.                    1.60      2,392.00      007                   61185004
       REVIEW AND TELEPHONE CONFERENCE CALL REGARDING BACKSTOP COMMITMENT LETTER.


   01/15/21  Liou, Jessica                            1.30       1,722.50       007            60952719
       CONFER WITH M. DANE AND T. LAMME, C. MARCUS, S. PECA AND HL TEAM RE: BACKSTOP
       COMMITMENT LETTER ISSUES.


   01/15/21     Peca, Samuel C.                            1.70          2,082.50    007       60937079
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        PARTICIPATE ON STATUS CALL WITH DPW (0.3); CALL WITH FWE TO DISCUSS BACKSTOP AGREEMENT
        (1.0); CORRESPONDENCE RE SAME (0.3); CALL WITH J. LIOU (0.1).


   01/15/21  Genender, Paul R.                     0.60                    810.00    007     61293268
       REVIEW PREDECESSOR FILING AND DISCOVERY REQUESTS.


   01/15/21  Delaney, Scott Michael               1.00       1,150.00     007                61184996
       CONFERENCE WITH FIELDWOOD AND WEIL TEAMS RE: BACKSTOP COMMITMENT AGREEMENT.


   01/15/21  Conley, Brendan C.                            1.00          1,100.00    007     61185001
       CALL WITH FWE RE: COMMITMENT LETTER.


   01/15/21  Bonhamgregory, Veronica Gayle        0.70                     728.00    007     61185000
       CALL WITH COMPANY RE: BACKSTOP COMMITMENT LETTER.


   01/15/21   Carlson, Clifford W.                  1.70      1,870.00         007        60990834
       PARTICIPATE ON CALL WITH TAX TEAM REGARDING PLAN STRUCTURE (.3); PARTICIPATE ON CALL
       REGARDING BACKSTOP COMMITMENT LETTER (1.0); REVIEW BACKSTOP COMMITMENT MOTION AND
       EMAILS REGARDING SAME (.4).


   01/15/21  Vinson, Elizabeth Blaine               1.30      1,163.50        007            60951201
       PREPARE FOR AND PARTICIPATE ON CALL WITH WEIL TEAMS AND FIELDWOOD RE: BACKSTOP
       COMMITMENT LETTER.


   01/15/21  George, Jason                            1.10        847.00         007         60942795
       CALL WITH M. PERA AND C. CARLSON RE: AMENDMENT TO RSA (0.5); REVISE ADVISORS WIP LIST AND
       EMAIL DPW TEAM RE: SAME (0.3); CALL WITH DPW AND ADVISORS RE: PLAN WORKSTREAMS (0.3).


   01/15/21   Wheeler, Emma                           9.60      6,048.00     007         60936397
       CALL WITH HOULIHAN AND A. GREENE RE: BACKSTOP COMMITMENT LETTER TERMS (0.3); RESEARCH
       RE: BACKSTOP COMMITMENT LETTER (5.8); REVISING BACKSTOP COMMITMENT MOTION (3.5).
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   01/15/21   Hong, Jeesun                         0.50          492.50        007             60950202
       PARTICIPATE ON CALL WITH RESTRUCTURING TEAM (0.3); CORRESPONDENCE RE: PLAN (0.2).


   01/15/21  Marzocca, Anthony P.                    2.20                2,167.00    007       61069839
       REVIEW RESEARCH RE: PLAN CONFIRMATION ISSUES.


   01/15/21   Greene, Anthony L.                      10.80      11,232.00       007           60936957
       PARTICIPATE ON FWE CALL REGARDING PSA AND FWE INSURANCE (.5); PARTICIPATE ON ADVISORS
       CALL RE SAME (.4); PARTICIPATE ON INTERNAL TEAM CALL REGARDING STATUS OF BACKSTOP
       COMMITMENT (.5); PARTICIPATE ON BACKSTOP COMMITMENT TEAM REGROUP CALL (.6);
       PARTICIPATE ON CALL WITH DPW RE IMPLEMENTATIONS (.4); PARTICIPATE ON CALL WITH HOULIHAN
       REGARDING EXIT FINANCING ISSUES (.4); PARTICIPATE ON CLIENT CALL REGARDING STATUS OF EXIT
       FINANCING AND PSA (1); REVIEW REVISED BACKSTOP COMMITMENT LETTER (.2); RESEARCH RELATED
       TO PLAN ISSUES (2.7); CALL WITH E. WHEELER REGARDING STATUS OF BACKSTOP ISSUES LIST (.3);
       REVISE BACKSTOP COMMITMENT MOTION (3.5); REVISE PROPOSED BACKSTOP COMMITMENT ORDER
       (.3).


   01/15/21  Olvera, Rene A.                      1.30        526.50       007                 61080954
       SEARCH DOCKET REPORTS AND OBTAIN HEARING TRANSCRIPTS REGARDING BACKSTOP
       COMMITMENT AGREEMENT APPROVAL AND RELATED OBJECTIONS FOR SEVERAL CHAPTER 11
       BANKRUPTCY CASES.


   01/16/21  Perez, Alfredo R.                         2.80      4,466.00       007            60950527
       REVIEW SLIDES IN PREPARATION FOR CALLS (.4); CONFERENCE CALLS WITH HOULIHAN, ALIX
       PARTNERS AND WEIL TEAMS REGARDING CLAIMS AND EXIT CASH NEEDS (2.4).


   01/16/21  Rahman, Faiza N.                     0.30                     382.50    007       60951261
       REVIEW CORRESPONDENCE RE: STRUCTURING MATTERS.


   01/16/21   Peca, Samuel C.                            5.70      6,982.50      007           60941644
       REVIEW REVISED PSA AND REVISE ISSUES LIST (4.1); REVIEW DPW STRUCTURE DECK (0.2); CALL WITH
       WEIL TEAM REGARDING STRUCTURE DECK (1.4).
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   01/16/21  Bonhamgregory, Veronica Gayle                  1.20          1,248.00    007       60946222
       CALL RE: FIELDWOOD STRUCTURE.


   01/16/21 Wheeler, Emma                        2.90                     1,827.00    007       60943911
       CONDUCT RESEARCH RE: BACKSTOP COMMITMENT LETTER.


   01/17/21  Perez, Alfredo R.                     0.40      638.00                   007       60951008
       REVIEW SLIDES REGARDING CLAIMS OVERVIEW AND SUMMARY OF PLAN.


   01/17/21  Ahmad, Harris                         1.30       1,163.50        007        60939175
       LOCATE AND UPLOAD EMAILS RESPONSIVE TO RULE 2004 REQUESTS FOR DRAFTS OF RSA AND DRAFTS
       AND CORRESPONDENCE RELATING TO REVISIONS OR MODIFICATIONS TO RSA.


   01/17/21 Wheeler, Emma                        1.50                       945.00    007       60943907
       CONDUCT RESEARCH RE: BACKSTOP COMMITMENT LETTER.


   01/18/21 Perez, Alfredo R.                     0.20        319.00                  007       61181736
       COMMUNICATIONS WITH R. FOSHEY REGARDING PREDECESSOR'S OBJECTION.


   01/18/21  Rahman, Faiza N.                               0.50            637.50    007       60951004
       REVIEW REVISED STRUCTURE MINUTES.


   01/18/21   George, Jason                             2.70       2,079.00       007           60960772
       REVIEW AND COLLECT EMAILS IN CONNECTION WITH DISCOVERY RESPONSES (1.6); CORRESPONDENCE
       WITH R. SWENSON AND R. MILLER RE: SAME (0.2); REVISE DRAFT OF ADVISORS PLAN WIP (0.7); CALL
       WITH DPW AND ADVISORS RE: PLAN WORKSTREAMS (0.2).


   01/19/21  Marcus, Courtney S.                    0.80        1,160.00    007       61048836
       FOLLOW UP WITH HOULIHAN TEAM REGARDING BUSINESS DISCUSSIONS ON BACKSTOP COMMITMENT
       LETTER (.1); REVIEW REVISED BACKSTOP COMMITMENT LETTER (.7).


   01/19/21     Liou, Jessica                               0.50            662.50    007       60962533
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        DIAL INTO (PARTIAL) SUPERIOR CONFIRMATION HEARING.


   01/19/21  Margolis, Steven M.                    0.50                   612.50    007     60957321
       REVIEW REVISED FILED PLAN OF REORGANIZATION.


   01/19/21   Carlson, Clifford W.                  0.70        770.00         007         61044980
       PARTICIPATE ON CALL WITH A. GREENE REGARDING PLAN CONFIRMATION ISSUES (.5); EMAILS WITH
       COUNSEL TO PREDECESSOR IN INTEREST (0.2).


   01/19/21  Martin, Robert Crawford              1.20      1,290.00                 007     60959187
       CONFERENCE WITH CLIENT REGARDING SCHEDULES TO PURCHASE AGREEMENT.


   01/19/21   Miller, Ronald Lee                  1.60       1,664.00        007         60959581
       FACILITATE DOCUMENT COLLECTION FOR AND RESPONSES TO PREDECESSOR 1.12 REQUESTS FOR
       PRODUCTION.


   01/19/21  Greene, Anthony L.                      1.90      1,976.00     007              60975375
       CALL WITH E. WHEELER REGARDING DRAFT OF BACKSTOP COMMITMENT MOTION (.4); REVIEW
       REVISED BACKSTOP COMMITMENT LETTER (.6); REVISE BACKSTOP COMMITMENT MOTION (.9).


   01/20/21     Perez, Alfredo R.                    1.80       2,871.00        007        60970300
       CONFERENCE CALL WITH WEIL TEAM REGARDING PLAN EXHIBIT (.3); TELEPHONE CONFERENCE WITH C.
       CARLSON REGARDING PLAN ISSUES (.1); CONFERENCE CALL WITH NRF REGARDING ANADARKO ISSUES
       (.5); TELEPHONE CONFERENCE WITH M. DANE REGARDING STATUS (.2); CONFERENCE CALL WITH
       MANAGEMENT AND THE ADVISORS REGARDING OPEN ISSUES REGARDING CONFIRMATION (0.7).


   01/20/21  Rahman, Faiza N.                              0.60            765.00    007     60967948
       REVIEW AND COMMENT ON BACKSTOP LETTER.


   01/20/21  Liou, Jessica                            1.70       2,252.50      007           60969927
       CONFER WITH C. CARLSON, H. JAMES AND J. HUFENDICK RE: PLAN COMMENTS FROM V&E (1.2); CALL
       WITH ANADARKO COUNSEL RE: CHAPTER 11 PLAN (.5).
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   01/20/21  Peca, Samuel C.                           2.00        2,450.00   007           60969829
       PREPARE MATERIAL ISSUES LIST (0.7); REVIEW BACKSTOP COMMITMENT AGREEMENT (0.5); CALL
       REGARDING ISSUES LIST (0.6); CALL WITH HL REGARDING ISSUES (0.2).


   01/20/21  Margolis, Steven M.                    0.40      490.00       007        61182138
       REVIEW COMMENTS TO EXIT FACILITY TERM SHEET AND BACKSTOP COMMITMENT LETTER AND
       COMMENTS TO PLAN OF REORGANIZATION.


   01/20/21  Delaney, Scott Michael               0.40        460.00      007         60989651
       REVIEW REVISED DRAFT OF BACKSTOP COMMITMENT LETTER AND CORRESPONDENCE RE: SAME.


   01/20/21  Hufendick, Jason                          1.30       1,280.50       007        60965454
       REVIEW V&E COMMENTS TO PLAN (.1); CALL WITH J. LIOU AND C. CARLSON RE: SAME (1.2).


   01/20/21  George, Jason                         0.60                    462.00    007    60979302
       CALL WITH DPW AND ADVISORS RE: PLAN WORKSTREAMS.


   01/20/21  Wheeler, Emma                           3.20      2,016.00       007           60971388
       RESEARCH CONFIRMATION ISSUES (0.4); UPDATE BACKSTOP MOTION DECLARATION (2.8).


   01/20/21     Greene, Anthony L.                       4.80       4,992.00       007     60967499
       ATTEND SUPERIOR ENERGY CONFIRMATION HEARING (3.2); PARTICIPATE ON ALL-HANDS TEAM CALL
       (.4); PARTICIPATE ON FWE ADVISORS CALL (.4); CALL WITH C. CARLSON REGARDING UPDATED
       COMMITMENT LETTER (.3); REVIEW AND REVISE BACKSTOP COMMITMENT MOTION (.5).


   01/21/21   Marcus, Courtney S.                      2.90       4,205.00     007      61049510
       REVIEW AND REVISE INTERNAL MARKUP OF BACKSTOP COMMITMENT LETTER (.8); REVIEW AND
       DRAFT ISSUES LIST RELATED TO FIRST LIEN EXIT FACILITY TERM SHEET (2.1).


   01/21/21  Moore, Rodney L.                      1.20      1,794.00       007         61192531
       ANALYSIS REGARDING 2L FACILITY AND COMMENTS TO BACKSTOP COMMITMENT (.8); TELEPHONE
       CONFERENCE CALL REGARDING COMMENTS ON BACKSTOP COMMITMENT LETTER (.4).
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   01/21/21  Smith, Leslie S.                              0.70            770.00    007    61192579
       REVIEW PLAN.


   01/21/21  Hufendick, Jason                              1.30          1,280.50    007    60974010
       REVIEW AND REVISE DRAFT CHAPTER 11 PLAN.


   01/21/21   Carlson, Clifford W.                 1.00       1,100.00         007         61043491
       PARTICIPATE ON CALL WITH COUNSEL TO CO-WORKING INTEREST OWNERS (.5); PARTICIPATE ON CALL
       WITH HOULIHAN TEAM (.5).


   01/21/21   Wheeler, Emma                         5.90      3,717.00       007        60974993
       REVISE BACKSTOP MOTION DECLARATION (3.3); COMPARE EXAMPLE BACKSTOP DECLARATIONS (2.0);
       REVIEW UPDATES TO BACKSTOP COMMITMENT LETTER (0.6).


   01/21/21  Hong, Jeesun                       0.60                       591.00    007    60975388
       REVIEW BACKSTOP COMMITMENT LETTER AND COMMENTS.


   01/22/21  Perez, Alfredo R.                     0.50       797.50         007            60990901
       TELEPHONE CONFERENCE WITH T. HOWLEY AND C. CARLSON REGARDING GENESIS ISSUES (.4);
       TELEPHONE CONFERENCE WITH K. LANGLEY REGARDING NEPTUNE SPAR (.1).


   01/22/21   Marcus, Courtney S.                      4.70        6,815.00      007        61049511
       CORRESPOND WITH WEIL TEAM REGARDING FEEDBACK TO ISSUES LIST FOR FIRST LIEN EXIT FACILITY
       TERM SHEET (.9); PARTICIPATE ON DPW COORDINATION CALL (.5); CONSOLIDATE COMMENTS, REVISE
       AND CIRCULATE ISSUES LIST TO FIELDWOOD (1.3); REVISE AND CIRCULATE MARKUP OF BACKSTOP
       COMMITMENT LETTER TO FIELDWOOD TEAM (2.0).


   01/22/21  Moore, Rodney L.                    0.60                      897.00    007    61197705
       REVIEW AND PROVIDE COMMENTS ON BACKSTOP COMMITMENT.


   01/22/21     Rahman, Faiza N.                           0.40            510.00    007    60990364
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        PARTICIPATE ON DPW COORDINATION CALL.


   01/22/21   Liou, Jessica                            1.60     2,120.00         007         61002515
       REVIEW AND RESPOND TO EMAIL FROM C. MARCUS RE: 1L EXIT TERM SHEET (0.4); EMAILS WITH C.
       GRING RE: WORKING CAPITAL BUILD UP (.4); REVIEW AND COMMENT ON DRAFT CHAPTER 11 PLAN (.3);
       REVIEW CLEANSING MATERIALS AND COMMENT ON SAME (.5).


   01/22/21   Peca, Samuel C.                            1.30      1,592.50       007           60978633
       PARTICIPATE ON ISSUES LIST CALL (0.9); PARTICIPATE ON INTERNAL FOLLOW UP CALL (0.2); REVIEW
       BACKSTOP COMMITMENT AGREEMENT (0.2).


   01/22/21  Barr, Matthew S.                         2.60       4,667.00       007       60987240
       CORRESPONDENCE REGARDING OPEN ISSUES WITH TEAM (.2); CALL WITH DPW REGARDING SAME (.4);
       CALL WITH TEAM REGARDING SAME (.2); REVIEW DOCUMENT ISSUES (.7); REVIEW NEXT STEPS
       STRATEGY (.8); CORRESPONDENCE WITH TEAM (.2); AND CLIENT REGARDING SAME (.1).


   01/22/21  Margolis, Steven M.                    0.80          980.00       007           61197702
       REVIEW WEIL COMMENTS TO EXIT FACILITY TERM SHEET (0.2); CORRESPONDENCE ON SAME (0.1);
       REVIEW NEW DRAFTS OF CHAPTER 11 PLAN (0.5).


   01/22/21  Delaney, Scott Michael                     1.90       2,185.00         007       60989529
       ATTEND DPW COORDINATION CALL (0.4); CONFERENCE WITH WEIL AND DPW TEAMS RE: CREDIT BID
       PSA MATERIAL ISSUES LIST (1.0); REVIEW REVISED DRAFT OF PLAN (0.3); CORRESPONDENCE WITH R.
       MOORE AND S. PECA RE: SAME (0.2).


   01/22/21    Conley, Brendan C.                        3.40        3,740.00        007       60977935
       COORDINATE RE: REVIEW OF 1L TERM SHEET (.3); REVIEW SAME (.2) DISCUSS TERM SHEET APPROACH
       WITH J. LIOU (.1); PLAN FOR AND PARTICIPATE ON STATUS CALL (.5); REVIEW AND UPDATE PLAN
       COMMENTS (2.1); REVIEW AND DISCUSS COMMITMENT LETTER WITH C. MARCUS (.2).


   01/22/21  Hufendick, Jason                              4.20          4,137.00    007        60994094
       REVIEW AND REVISE DRAFT CHAPTER 11 PLAN.
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   01/22/21   Carlson, Clifford W.                     0.80         880.00         007        61046676
       REVISE UPDATED CHAPTER 11 PLAN (.4); MULTIPLE EMAILS WITH J. LIOU AND J. HUFENDICK
       REGARDING SAME (.4).


   01/22/21  George, Jason                         0.40                    308.00    007      60979530
       CALL WITH DPW AND ADVISORS RE: PLAN WORKSTREAMS.


   01/22/21  Wheeler, Emma                          1.10         693.00         007           60994389
       CALL WITH HOULIHAN RE: BACKSTOP COMMITMENT (0.3); REVISE BACKSTOP COMMITMENT
       DECLARATION (0.4); ATTEND COORDINATION CALL WITH DPW AND ADVISORS (0.4).


   01/22/21   Hong, Jeesun                             0.90          886.50          007      60988826
       PARTICIPATE ON ADVISOR CALL (0.4); REVIEW REVISED PLAN (0.5).


   01/22/21   Marzocca, Anthony P.                         0.60            591.00    007      61062227
       PARTICIPATE ON CALL WITH DPW RE: UPDATES.


   01/22/21  Greene, Anthony L.                         5.80        6,032.00        007       61076332
       FWE ADVISORS' CALL (.4); PSA ISSUES CALL WITH DPW (1); CALL WITH N. KRAMER REGARDING
       ASSUMPTION SCHEDULES (1.5); REVISE AND UPDATE BACKSTOP COMMITMENT MOTION (2.9).


   01/23/21  Perez, Alfredo R.                   0.60        957.00       007         60991370
       CONFERENCE CALL WITH MANAGEMENT, HOULIHAN AND WEIL TEAMS REGARDING DILIGENCE ITEMS
       FOR THE PLAN PROCESS.


   01/23/21  Marcus, Courtney S.                      8.00      11,600.00        007         61047911
       CONFERENCE WITH FWE, HL AND WEIL TEAM REGARDING DEBT COMMITMENT PAPERS (2.5); REVIEW
       AND REVISE BACKSTOP COMMITMENT LETTER (2.2); CONFERENCE WITH FIELDWOOD AND ADVISORS
       REGARDING NDA AND DILIGENCE PROCESS (.6); REVISE AND CIRCUATE FIRST LIEN EXIT FINANCING
       TERM SHEET (2.7).


   01/23/21     Moore, Rodney L.                           1.70          2,541.50    007      60990332
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        TELEPHONE CONFERENCE CALL REGARDING BACKSTOP COMMITMENT (1.2); REVIEW BACKSTOP
        COMMITMENT (.5).


   01/23/21  Liou, Jessica                          1.00       1,325.00       007           60989665
       CONFER WITH C. MARCUS, WEIL TEAM, T. LAMME AND M. DANE RE: BACKSTOP COMMITMENT
       LETTER.


   01/23/21   Peca, Samuel C.                       3.50       4,287.50        007          60979694
       EMAIL REGARDING BACKSTOP AGREEMENT AND TERM SHEET (0.2); CALL WITH FIELDWOOD
       REGARDING SAME (2.4); CALL WITH FIELDWOOD REGARDING DILIGENCE PROCESS (0.6); REVIEW AND
       REVISE BACKSTOP AGREEMENT (0.3).


   01/23/21   Conley, Brendan C.                     2.40      2,640.00       007          60980229
       PREPARE FOR AND PARTICIPATE ON CALL RE: TERM SHEET AND COMMITMENT LETTER (1.5); REVIEW
       UPDATED COMMITMENT LETTER AND DISTRIBUTE SAME INTERNALLY (.3); REVIEW, REVISE AND
       DISTRIBUTE SAME (.6).


   01/23/21  Bonhamgregory, Veronica Gayle         2.40      2,496.00                007    60990500
       CALL RE: BACKSTOP COMMITMENT LETTER AND 1L TERMSHEET WITH COMPANY.


   01/23/21   Carlson, Clifford W.                      1.50     1,650.00       007       61042812
       PARTICIPATE ON CALL WITH COMPANY REGARDING EXIT TERM SHEET AND BACKSTOP COMMITMENT
       TERM SHEET (1.0); PARTICIPATE ON CALL WITH A. GREENE REGARDING BACKSTOP COMMITMENT
       LETTER (.5).


   01/23/21  Wheeler, Emma                          1.00       630.00        007       60994414
       ATTEND CALL WITH DEBTOR, HOULIHAN, AND WEIL TEAM TO DISCUSS BACKSTOP COMMITMENT
       LETTER TERMS.


   01/23/21  Greene, Anthony L.                   1.00        1,040.00               007    61037327
       TEAM CALL REGARDING STATUS OF COMMITMENT LETTER EDITS.


   01/24/21     Marcus, Courtney S.                        1.20          1,740.00    007    60986751
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        CONFERENCE WITH DPW AND WEIL TEAMS REGARDING BACKSTOP COMMITMENT LETTER.


   01/24/21  Liou, Jessica                         1.50        1,987.50        007          60989505
       REVIEW REVISED BACKSTOP COMMITMENT LETTER (.3); CONFER WITH C. MARCUS, R. MOORE, S. PECA
       AND DPW TEAM RE: BACKSTOP COMMITMENT LETTER (1.2).


   01/24/21  Peca, Samuel C.                         2.80         3,430.00       007        60987545
       REVIEW REVISED PLAN (0.3); DRAFT FUNDING AGREEMENT (1.4); CALL REGARDING BACKSTOP
       AGREEMENT (1.1).


   01/24/21  Barr, Matthew S.                      0.40        718.00       007        61198324
       REVIEW BACKSTOP COMMITMENT LETTER DRAFT (.3); CORRESPOND WITH TEAM REGARDING SAME
       (.1).


   01/24/21  Delaney, Scott Michael                1.10     1,265.00                 007    60988888
       CONFERENCE WITH WEIL AND DPW TEAMS RE: BACKSTOP COMMITMENT LETTER.


   01/24/21  Conley, Brendan C.                       1.30      1,430.00        007        60980542
       COORDINATE RE: FWC BACKSTOP CALL (.2); PLAN FOR AND PARTICIPATE ON CALL RE: BACKSTOP (1.1).


   01/24/21   Bonhamgregory, Veronica Gayle            2.10      2,184.00       007         60990035
       PARTICIPATE ON SECURED CLAIMS CALL (1.5); CALL RE: BACKSTOP COMMITMENT (.6).


   01/24/21   Greene, Anthony L.                 4.60         4,784.00      007       61076311
       CALL WITH DPW REGARDING BACKSTOP COMMITMENT (.5); REVISE BACKSTOP COMMITMENT MOTION
       (4.1).


   01/25/21  Perez, Alfredo R.                     0.60        957.00      007         60996594
       CONFERENCE CALL WITH ALIX PARTNERS, HOULIHAN AND WEIL TEAMS REGARDING DISTRIBUTABLE
       VALUE (.5); REVIEW TOGGLE LANGUAGE (.1).


   01/25/21     Marcus, Courtney S.                        0.50            725.00    007    61002859
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        PARTICIPATE ON DPW COORDINATE CALL.


   01/25/21  Moore, Rodney L.                        2.40       3,588.00       007       60999169
       REVIEW EDITS TO PLAN AND PROVIDE COMMENTS (.5); REVIEW AND REVISE FUNDING AGREEMENT (.5);
       TELEPHONE CONFERENCE CALL WITH DPW (1.0); ATTENTION TO BACKSTOP COMMITMENT QUESTIONS
       (.4).


   01/25/21   Rahman, Faiza N.                             0.50            637.50    007      61006743
       PARTICIPATE ON DPW COORDINATION CALL.


   01/25/21  Liou, Jessica                             1.20      1,590.00           007       61002486
       CONFERS (MULTIPLE) WITH J. HUFENDICK RE: REVISIONS TO CHAPTER 11 PLAN (.8); REVIEW AND REVISE
       CHAPTER 11 PLAN (.4).


   01/25/21  Peca, Samuel C.                         1.60         1,960.00           007      60995990
       DRAFT FUNDING AGREEMENT (1.1); UPDATE CALL WITH DPW (0.5).


   01/25/21  Margolis, Steven M.                           0.30            367.50    007      61499122
       REVIEW COMMENTS FROM DPW TO PLAN.


   01/25/21  Delaney, Scott Michael                 1.00       1,150.00       007          60997333
       CORRESPONDENCE RE: FUNDING AGREEMENT (0.3); REVIEW REVISED DRAFT OF PLAN (0.2); DPW
       COORDINATION CALL (0.5).


   01/25/21  Smith, Leslie S.                    0.60      660.00         007                 61201286
       CORRESPONDENCE REGARDING WARRANTIES AND SUBROGATION WITH S. DELANEY.


   01/25/21   Bonhamgregory, Veronica Gayle                0.50            520.00    007      61045965
       PARTICIPATE ON COORDINATION CALL WITH DPW.


   01/25/21     Hufendick, Jason                           3.00          2,955.00    007      61033706
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        REVIEW AND REVISE DRAFT CHAPTER 11 PLAN.


   01/25/21   Carlson, Clifford W.                  0.80       880.00                007     61042051
       PARTICIPATE ON CALL WITH PREDECESSOR'S COUNSEL REGARDING PLAN ISSUES.


   01/25/21  George, Jason                         0.40                    308.00    007     61003948
       CALL WITH DPW AND ADVISORS RE: PLAN WORKSTREAMS.


   01/25/21   Hong, Jeesun                                 0.50            492.50    007     60998307
       PARTICIPATE ON ADVISOR CALL.


   01/25/21  Miller, Ronald Lee                    0.70        728.00       007              61007634
       CONTINUE TO FACILITATE DOCUMENT PRODUCTION IN RESPONSE TO PREDECESSOR RFPS.


   01/25/21  Morris, Sharron                       2.00       810.00       007           61026088
       EMAILS WITH TEAM REGARDING RESPONSE TO PREDECESSOR DISCOVERY REQUESTS (.4); WORK ON
       DRAFT OF SAME (1.6).


   01/26/21  Perez, Alfredo R.                       4.10         6,539.50       007         61006700
       CONFERENCE CALL WITH B. FORSHEY REGARDING PREDECESSOR DISCOVERY (.3); CONFERENCE CALL
       WITH HOULIHAN, ALIX PARTNERS AND WEIL TEAMS REGARDING SURETY PLAN ISSUES (.4);
       CONFERENCE CALLS WITH G. GALLOWAY REGARDING PREDECESSORS AND SURETIES (1.0); TELEPHONE
       CONFERENCES WITH REGARDING C. CARLSON REGARDING NEPTUNE (.2); CONFERENCE CALL WITH K.
       LANGLEY AND C. CARLSON REGARDING NEPTUNE AND SWORDFISH (.6); CONFERENCE CALL WITH
       PREDECESSOR'S COUNSEL (.4); VARIOUS COMMUNICATIONS WITH MANAGEMENT REGARDING
       PREDECESSOR (.1); VARIOUS COMMUNICATIONS WITH R. SERGESKETTER AND E. CHOI REGARDING PLAN
       DISCOVERY (.2); REVIEW REVISED PREDECESSOR REQUEST (.2); CONFERENCE CALL WITH M. DANE, T.
       LAMME, J. LIOU AND M. BARR REGARDING NEXT STEPS AND TIMING OF HEARINGS (.5); REVIEW LETTER
       FROM SHELL (.1); VARIOUS COMMUNICATIONS WITH REED SMITH AND G. GALLOWAY REGARDING
       PREDECESSOR (.1).


   01/26/21  Moore, Rodney L.                              0.80          1,196.00    007     61010796
       REVIEW AND REVISE FUNDING AGREEMENT.
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   01/26/21   Kronman, Ariel                               0.10            130.00    007     61008466
       EMAIL REVIEW.


   01/26/21   Peca, Samuel C.                        0.80       980.00      007              61005021
       REVISE FUNDING AGREEMENT (0.6); REVIEW TOGGLE LANGUAGE AND RELATED EMAIL (.2).


   01/26/21  Conley, Brendan C.                      0.80       880.00               007     61008735
       FOLLOW UP RE: DOCUMENT STATUS (.3) REVIEW PLAN COMMENTS (.5).


   01/26/21  Hufendick, Jason                              0.90            886.50    007     61033741
       REVIEW AND REVISE DRAFT CHAPTER 11 PLAN.


   01/26/21   Carlson, Clifford W.                     2.30       2,530.00       007         61041327
       PARTICIPATE ON CALL WITH PREDECESSOR'S COUNSEL (.5); MULTIPLE EMAILS REGARDING
       PREDECESSOR ISSUES (.6); PARTICIPATE ON CALL WITH DAVIS POLK TEAM REGARDING PLAN
       DOCUMENTS (0.4); PARTICIPATE ON CALL WITH J. LIOU REGARDING VARIOUS PLAN ISSUES (.3);
       PARTICIPATE ON CALL WITH CLIENT REGARDING UPDATE ON PLAN AND DISCLOSURE STATEMENT (.5).


   01/26/21  Martin, Robert Crawford             1.20       1,290.00       007               61047145
       INVENTORY SCHEDULES AND REVIEW OUTSTANDING QUESTIONS FROM BUYERS' COUNSEL.


   01/26/21 Wheeler, Emma                                  0.20            126.00    007     61013461
       CONDUCT RESEARCH RE: CONFIRMATION ISSUES.


   01/26/21   Choi, Erin Marie                     0.50        550.00      007               61206592
       PARTICIPATE ON CALL WITH COUNSEL FOR PREDECESSOR REGARDING DOCUMENT REQUESTS.


   01/26/21   Miller, Ronald Lee                  1.20      1,248.00       007            61007906
       CORRESPOND WITH TEAM REGARDING RESPONSES AND OBJECTIONS TO PREDECESSOR RFPS (0.4);
       FACILITATE PREDECESSOR DOCUMENT PRODUCTION (0.8).


   01/26/21     Greene, Anthony L.                         3.10          3,224.00    007     61077385
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        RESEARCH RELATED TO ASSUMPTION AND ASSIGNMENT ISSUES (2.4); REVIEW EMAIL FROM E.
        WHEELER REGARDING REJECTION PROCEDURES (.2); REVIEW REVISED PSA CIRCULATED BY S. PECA (.5).


   01/27/21     Perez, Alfredo R.                  1.00      1,595.00       007        61020932
       CONFERENCE CALL WITH ALIX PARTNERS AND WEIL TEAM REGARDING WORKING CAPITAL ISSUES (.3);
       CONFERENCE CALL WITH PREDECESSOR AND G. GALLOWAY REGARDING ISSUES RELATED TO THE ARO
       (.4); VARIOUS COMMUNICATIONS WITH MANAGEMENT REGARDING PREDECESSOR ISSUES (.3).


   01/27/21  Marcus, Courtney S.                    1.50          2,175.00      007        61047810
       REVIEW V&E MARKUP TO FIRST LIEN EXIT TERM SHEET (.7); REVIEW REVISED BACKSTOP COMMITMENT
       LETTER (.8).


   01/27/21  Moore, Rodney L.                    1.70       2,541.50         007       61016043
       REVIEW AND PROVIDE COMMENTS TO BACKSTOP COMMITMENT (.8); REVIEW WORKING CAPITAL
       CALCULATIONS AND TELEPHONE CONFERENCE CALL REGARDING SAME (.5); TELEPHONE CONFERENCE
       CALL WITH DPW (.4).


   01/27/21  Rahman, Faiza N.                              0.20            255.00    007        61044022
       REVIEW REVISED BCL.


   01/27/21  Liou, Jessica                            0.80        1,060.00          007         61058702
       CALL WITH M. DANE, T. LAMME, HL AND WEIL RE: OPEN FIRST LIEN EXIT FACILITY ISSUES AND
       BACKSTOP COMMITMENT LETTER.


   01/27/21  Peca, Samuel C.                               0.10            122.50    007        61206286
       CALL WITH DPW.


   01/27/21  Barr, Matthew S.                        2.30          4,128.50          007        61018164
       REVIEW DOCUMENT ISSUES (.5); CORRESPOND WITH TEAM REGARDING SAME (.1); FOLLOW UP WITH
       TEAM REGARDING SAME (.6); ATTEND TO OPEN ISSUES (.3); AND NEXT STEPS (.4); CALL WITH TEAM
       REGARDING STATUS CONFERENCE (.3); AND NEXT STEPS (.1).


   01/27/21     Margolis, Steven M.                        0.20            245.00    007        61499125
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        REVIEW COMMENTS TO 1L TERM SHEET.


   01/27/21  Delaney, Scott Michael               0.20                     230.00    007    61206458
       REVIEW REVISED BACKSTOP COMMITMENT LETTER.


   01/27/21  Conley, Brendan C.                     0.60         660.00         007         61013422
       REVIEW V&E COMMENTS TO TERM SHEET (.2); COORDINATE RE: REVIEW OF SAME (.4).


   01/27/21  Carlson, Clifford W.                          0.30            330.00    007    61039753
       REVIEW AND REVISE PLAN WIP.


   01/27/21  George, Jason                        0.20                     154.00    007    61025843
       CALL WITH DPW TO DISCUSS PLAN WORKSTREAMS.


   01/27/21  Martin, Robert Crawford              0.50        537.50                 007    61047137
       CONFERENCE WITH ADVISORS REGARDING STATUS OF TRANSACTION ITEMS.


   01/27/21   Hong, Jeesun                        0.70         689.50       007             61017416
       REVISE COMMENTS TO THE FUNDING AGREEMENT TO REFLECT J. MACKE'S COMMENTS (0.5);
       PARTICIPATE ON ADVISOR CALL (0.2).


   01/27/21  Miller, Ronald Lee                   0.20        208.00       007        61020233
       CONFERENCE WITH LITIGATION TEAM REGARDING RESPONSE STRATEGY FOR PREDECESSOR RFPS.


   01/27/21  Greene, Anthony L.                     1.20        1,248.00      007           61106294
       CALL WITH HL REGARDING VALUATION ANALYSIS (.5); REVIEW COMMENTS TO BACKSTOP
       COMMITMENT LETTER FROM DPW (.2); REVISE BACKSTOP COMMITMENT MOTION (.5).


   01/27/21  Morris, Sharron                      1.70        688.50       007          61206290
       EMAILS WITH TEAM REGARDING SUPPLEMENT TO PREDECESSOR DISCOVERY REQUESTS (.4); WORK ON
       AND DRAFT RESPONSES TO SAME (1.3).
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   01/28/21     Perez, Alfredo R.                         3.40      5,423.00       007      61029767
       REVIEW DOCUMENT REQUEST AND OBJECTION IN PREPARATION FOR THE PREDECESSOR CALL (.4);
       CONFERENCE CALL WITH PREDECESSOR'S COUNSEL AND WEIL TEAM REGARDING DOCUMENT REQUEST
       (.3); CONFERENCE CALL WITH T. ALLEN, J. SMITH, G. GALLOWAY, AND WEIL TEAM REGARDING
       PREDECESSOR'S REQUESTS (.3); CONFERENCE CALL WITH INDEPENDENT BOARD MEMBERS AND
       HOULIHAN REGARDING VALUATION ISSUES (.9); CONFERENCE CALL WITH TOKIO MARIE AND THEIR
       ADVISORS (.9); TELEPHONE CONFERENCE WITH E. CHOI REGARDING PREDECESSOR (.1); VARIOUS
       COMMUNICATIONS WITH REGARDING PREDECESSOR ISSUES (.3); VARIOUS COMMUNICATIONS WITH D.
       WILLIAMSON AND R. PADDOCK REGARDING VALERO'S OBJECTION (.2).


   01/28/21  Marcus, Courtney S.                    3.20       4,640.00           007        61047326
       CONFERENCE CALL WITH V&E TO REVIEW REVISED FIRST LIEN EXIT FACILITY TERM SHEET (1.0);
       FOLLOW UP CALL WITH B. CONLEY REGARDING BUSINESS ISSUES LIST (.2); REVISE AND CIRCULATE
       BUSINESS ISSUES LIST REGARDING BACKSTOP COMMITMENT LETTER AND FIRST LIEN EXIT FACILITY
       TERM SHEET (2.0).


   01/28/21  Moore, Rodney L.                      0.80     1,196.00      007        61206424
       REVIEW ISSUES/TELEPHONE CONFERENCE CALL REGARDING COMMITMENT LETTER/FINANCING
       MATTERS.


   01/28/21  Kronman, Ariel                                0.20            260.00    007     61025085
       CORRESPONDENCE RE: PLAN.


   01/28/21  Rahman, Faiza N.                     1.00                   1,275.00    007     61029207
       REVIEW REVISED PLAN AND DISCLOSURE STATEMENT.


   01/28/21  Liou, Jessica                                 0.80          1,060.00    007     61045964
       CONFER WITH V&E RE: FIRST LIEN TERM SHEET.


   01/28/21  Peca, Samuel C.                        1.20        1,470.00          007        61026105
       REVIEW BACKSTOP AGREEMENT AND RELATED ISSUES LIST (0.5); REVISE NDA (.3); REVIEW AND REVISE
       FUNDING AGREEMENT (0.2); REVIEW TREATMENT OF CLAIMS/EMAIL REGARDING SAME (0.2).
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   01/28/21   Conley, Brendan C.                          4.20     4,620.00      007        61023279
       COORDINATE RE: CALL WITH V&E (.1); REVIEW COMMENTS TO COMMITMENT LETTER (.5); PLAN FOR
       AND PARTICIPATE ON CALL RE: 1L TERM SHEET (1.5); REVIEW AND REVISE COMMITMENT LETTER
       ISSUES LIST (1.0); REVISE AND PREPARE 1L ISSUES LIST (1.1).


   01/28/21  Bonhamgregory, Veronica Gayle                 1.00          1,040.00    007     61027112
       CALL WITH V&E WITH FIRST LIEN TERM SHEET.


   01/28/21     Carlson, Clifford W.                  4.30         4,730.00       007        61040170
       PARTICIPATE ON CALL WITH PREDECESSOR'S COUNSEL REGARDING DOCUMENT REQUESTS (.4);
       PARTICIPATE ON CALL WITH CLIENT AND INDEPENDENT BOARD REGARDING VALUATION ANALYSIS
       (2.0); REVIEW AND REVISE VALUATION ANALYSIS EXHIBIT (.5); REVIEW VALUATION MATERIALS AND
       EMAILS REGARDING SAME (.6); PARTICIPATE ON CALL REGARDING FIRST LIEN EXIT TERM SHEET (.5);
       PARTICIPATE ON CALL WITH CLIENT REGARDING DOCUMENT REQUESTS (0.3).


   01/28/21  Vinson, Elizabeth Blaine             0.20                     179.00    007     61029201
       REVIEW REVISED BACKSTOP COMMITMENT LETTER.


   01/28/21  Wheeler, Emma                       0.90                      567.00    007     61033567
       REVIEW UPDATES TO BACKSTOP COMMITMENT LETTER.


   01/28/21  Choi, Erin Marie                        1.00      1,100.00       007         61206459
       CALL WITH PREDECESSOR (0.5); CALL WITH FIELDWOOD REGARDING PREDECESSOR REQUESTS (0.5).


   01/28/21   Miller, Ronald Lee                  1.50      1,560.00                 007     61043936
       FACILITATE PREDECESSOR DOCUMENT REVIEW AND PRODUCTION.


   01/28/21   Greene, Anthony L.                      2.80       2,912.00       007         61025253
       PARTICIPATE ON EXIT FINANCING TEAM CALL (1); CALL WITH ALIX PARTNERS TEAM REGARDING
       PREPARATION OF SCHEDULES (.4); RESEARCH RELATED TO PLAN SALE FREE AND CLEAR ISSUES (1.2);
       CALL WITH E. WHEELER REGARDING RESEARCH ON PLAN SALE FREE AND CLEAR ISSUES (.2).


   01/29/21     Perez, Alfredo R.                          1.60          2,552.00    007     61040141
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        CONFERENCE CALL WITH RLI’S COUNSEL REGARDING PLAN TREATMENT (.3); CONFERENCE CALL WITH
        ZURICH’S COUNSEL AND PHILADELPHIA’S COUNSEL REGARDING PLAN TREATMENT (.6); CONFERENCE
        CALL WITH A. LANNIE, R. RUSSELL AND T. LAMME REGARDING CALL WITH ZURICH (.3); TELEPHONE
        CONFERENCE WITH M. SHEPHERD REGARDING PLAN TREATMENT (.1); VARIOUS COMMUNICATIONS
        WITH WEIL TEAM REGARDING TIMING AND HEARINGS (.2); COMMUNICATIONS WITH S. ALI REGARDING
        HEARINGS (.1).


   01/29/21   Marcus, Courtney S.                        1.40      2,030.00         007        61047033
       CALL WITH WEIL TEAM TO REVIEW DRAFT BUSINESS ISSUES LIST, BACKSTOP COMMITMENT LETTER
       AND FIRST LIEN EXIT TERM SHEET (.6); REVISE AND CIRCULATE BUSINESS ISSUES LIST TO FIELDWOOD
       REGARDING BACKSTOP COMMITMENT LETTER AND FIRST LIEN EXIT TERM SHEET (.5); PARTIAL
       PARTICIPATION ON DPW COORDINATION CALL (.3).


   01/29/21  Kronman, Ariel                                0.10            130.00    007       61042357
       CORRESPONDENCE RE: PLAN.


   01/29/21   Rahman, Faiza N.                     1.10           1,402.50       007           61043995
       PARTICIPATE ON DPW COORDINATION CALL (PARTIAL) (0.2); REVIEW PLAN AND DISCLOSURE
       STATEMENT (0.9).


   01/29/21   Liou, Jessica                             0.80        1,060.00         007       61061292
       CONFER WITH C. MARCUS, R. MOORE AND S. PECA RE: BACKSTOP COMMITMENT LETTER AND FIRST
       LIEN EXIT TERM SHEET (0.5); CONFER WITH B. CONLEY RE: LIEN AVOIDANCE (.1); REVIEW AND RESPOND
       TO EMAILS RE: PLAN ADMINISTRATOR (.2).


   01/29/21     Peca, Samuel C.                     1.00       1,225.00     007         61041487
       CALL REGARDING BACKSTOP AGREEMENT (0.5); ATTENTION TO BACKSTOP AGREEMENT ISSUES LIST
       (0.2); CALL WITH DPW RE: STATUS (0.3).


   01/29/21   Delaney, Scott Michael                    1.50         1,725.00        007       61038444
       REVIEW AND REVISE CONVEYANCE DOCUMENTS (0.4); REVIEW BACKSTOP COMMITMENT LETTER AND
       ISSUES LIST (0.3); CONFERENCE WITH WEIL TEAM RE: SAME (0.5); PARTICIPATE ON DPW COORDINATION
       CALL (0.3).
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   01/29/21  Conley, Brendan C.                         1.10       1,210.00         007           61061162
       COORDINATE RE: ISSUES LIST (.2); PREPARE FOR AND PARTICIPATE ON ISSUES LIST CALL (.5); PREPARE
       FOR AND PARTICIPATE ON DPW STATUS CALL (.4).


   01/29/21  Bonhamgregory, Veronica Gayle          0.70       728.00          007        61047371
       INTERNAL CALL RE: 1L TERM SHEET AND BACKSTOP COMMITMENT LETTER (.5); COORDINATION CALL
       WITH DPW (.2).


   01/29/21   Carlson, Clifford W.                  1.30      1,430.00       007        61042262
       PARTICIPATE ON CALL WITH BANKING TEAM REGARDING EXIT FACILITY DOCUMENTS (.5);
       PARTICIPATE ON CALL WITH PREDECESSOR'S COUNSEL REGARDING PLAN AND DISCLOSURE
       STATEMENT (.3); REVIEW VARIOUS AGREEMENTS AND EMAILS REGARDING PREDECESSOR ISSUES (.5).


   01/29/21   Vinson, Elizabeth Blaine                1.30      1,163.50         007     61047715
       PREPARE FOR AND PARTICIPATE ON CALL WITH WEIL TEAMS RE: ISSUES LIST FOR 1L TERM
       SHEET/BACKSTOP COMMITMENT LETTER (.6); PARTICIPATE ON DPW COORDINATION CALL WITH WEIL
       TEAMS (.5); REVIEW UPDATED DRAFTS OF 1L TERM SHEET AND BACKSTOP COMMITMENT LETTER (.2).


   01/29/21  George, Jason                         0.30                    231.00    007          61049727
       CALL WITH DPW AND FLTL ADVISORS RE: PLAN WORKSTREAMS.


   01/29/21  Wheeler, Emma                             6.90      4,347.00       007               61033554
       ATTEND CALL WITH WEIL TEAM ON BACKSTOP COMMITMENT LETTER TERMS (.5); CONDUCT
       RESEARCH RE: CONFIRMATION ISSUES (6.1); PARTICIPATE ON DPW COORDINATION CALL (.3).


   01/29/21   Miller, Ronald Lee                   3.90     4,056.00        007          61043863
       FACILITATE PREDECESSOR DOCUMENT REVIEW/PRODUCTION WITH LITIGATION TEAM (1.0); PREPARE
       WRITTEN RESPONSES TO AND TRACKER CHART FOR PREDECESSOR'S RFPS (2.9).


   01/29/21  Greene, Anthony L.                        3.50       3,640.00      007        61106315
       RESEARCH RELATED TO EXIT FINANCING ISSUES (2.1); CALL WITH N. KRAMER REGARDING PLAN
       SCHEDULES (1); COORDINATION CALL WITH DPW (.4).
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   01/31/21  Perez, Alfredo R.                    0.10       159.50       007        61040008
       COMMUNICATIONS WITH S. ROSEN REGARDING DOCUMENTS REQUESTED BY PREDECESSOR AND
       FOLLOW-UP.


    SUBTOTAL TASK 007 - Chapter 11 Plan /                     554.90       $598,683.50
    Confirmation / Implementation /Plan Supplement:

   01/01/21   Liou, Jessica                           0.60       795.00        008       60859910
       DRAFT EMAIL TO BOARD RE: UPDATE AND RECOMMENDATION FOR VOTE (.3); REVIEW AND REVISE
       EMAIL TO BOARD RE: FILING OF PLAN, DISCLOSURE STATEMENT AND DISCLOSURE STATEMENT
       MOTION (.3).


   01/01/21  Carlson, Clifford W.                  0.30        330.00        008                 60900879
       DRAFT BOARD EMAIL REQUESTING APPROVAL OF FILING PLAN AND DISCLOSURE STATEMENT.


   01/11/21  Rahman, Faiza N.                     1.00       1,275.00       008                  60907505
       REVIEW REVISED DRAFTS OF BACKSTOP AGREEMENT FOR SECURITIES LAWS MATTERS.


   01/12/21  Marcus, Courtney S.                   1.50                       2,175.00    008    61180091
       PARTIAL PARTICIPATION IN FIELDWOOD BOARD MEETING.


   01/12/21   Liou, Jessica                                     2.20          2,915.00    008    60928733
       PARTICIPATE ON BOARD CALL.


   01/12/21   Barr, Matthew S.                        3.20       5,744.00       008         61181444
       PREP FOR BOARD CALL (.4); CORRESPONDENCE WITH TEAM REGARDING SAME (.2); PARTICIPATE ON
       BOARD CALL (2.0); FOLLOW UP CORRESPONDENCE (.2); CALL WITH BOARD MEMBER (.4).


   01/12/21   Carlson, Clifford W.                   2.40       2,640.00      008                60991242
       PARTICIPATE ON BOARD CALL (2.0); PREPARE AGENDA AND EMAILS REGARDING SAME (.4).


   01/14/21     Perez, Alfredo R.                               0.10            159.50    008    60950057
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        COMMUNICATION WITH S. COATS REGARDING STATUS.


   01/15/21 Delaney, Scott Michael                 0.40       460.00      008                61184995
       CONDUCT DUE DILIGENCE RE: ORGANIZATIONAL DOCUMENTS, CORPORATE MATTERS.


   01/18/21  Robin, Artur                                   2.30            862.50    008    60959630
       PREPARE DOCUMENTS FOR ATTORNEY'S REVIEW.


   01/26/21   Perez, Alfredo R.                             1.00          1,595.00    008    61006675
       PARTICIPATE ON BOARD CALL.


   01/26/21   Liou, Jessica                                 1.10          1,457.50    008    61046063
       PARTICIPATE ON BOARD CALL.


   01/26/21   Barr, Matthew S.                              0.90          1,615.50    008    61206278
       PARTICIPATE ON BOARD CALL.


   01/26/21  Genender, Paul R.                              0.30            405.00    008    61206275
       ATTEND PORTION OF BOARD CALL.


   01/26/21   Carlson, Clifford W.                          1.00          1,100.00    008    61041612
       PARTICIPATE ON BOARD CALL.


   01/28/21   Barr, Matthew S.                              1.10          1,974.50    008    61206586
       PARTICIPATE ON BOARD CALL.


    SUBTOTAL TASK 008 - Corporate Governance /             19.40        $25,503.50
    Securities/Equity Matters:

   01/04/21  Carlson, Clifford W.                           0.40            440.00    009    60913444
       MULTIPLE EMAILS REGARDING VENDOR ISSUES.
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   01/05/21  George, Jason                           0.50       385.00               009    61292986
       CALL WITH C. CARLSON TO DISCUSS STATUS OF VARIOUS WORKSTREAMS.


   01/06/21   Carlson, Clifford W.                   1.50     1,650.00       009            60913786
       PARTICIPATE ON CALL WITH BANKING TEAM AND L. SMITH REGARDING VENDOR CLAIMS.


   01/07/21   George, Jason                                0.10             77.00    009    60880560
       EMAIL J. CHAING RE: VENDOR ISSUE.


   01/10/21  Smith, Leslie S.                    1.70        1,870.00                009    60924008
       REVIEW MATERIALS AND MORTGAGES FOR VENDOR LIEN ISSUE.


   01/11/21   Ting, Lara                              0.60        234.00             009    61046247
       ASSIST R. MILLER RE: SHARE PRODUCTION FILES WITH ADDITIONAL PARTIES.


   01/12/21    Smith, Leslie S.                       2.50       2,750.00      009          60932265
       REVIEW INFORMATION ON UCC FILINGS (0.3); TELEPHONE CALL WITH V. BONHAMGREGORY REGARDING
       SAME AND VENDOR'S LIENS (0.2); TELEPHONE CALL WITH M. MALONEY REGARDING SAME (0.2); REVIEW
       INFORMATION FROM M. MALONEY (0.2); REVIEW CORRESPONDENCE FROM B. CONLEY REGARDING
       LIENS (0.2); REVIEW COLLATERAL MEMO AND CORRESPONDENCE REGARDING SAME TO B. CONLEY (0.4);
       REVIEW FINAL DEBTOR RESPONSES TO LLOG MOTIONS (1.0).


   01/13/21   Smith, Leslie S.                      2.10        2,310.00         009       60980486
       CORRESPONDENCE WITH C. CARLSON REGARDING STATE LAWS (0.2); CORRESPONDENCE WITH M.
       MALONEY, C. CARLSON REGARDING MARITIME LAWS (0.1); REVIEW OCS MAPS (0.5); CORRESPONDENCE
       WITH C. CARLSON, M. MALONEY REGARDING OCSLA (0.3); REVIEW MATERIALS ON VENDOR LIENS (0.8);
       CORRESONDENCE WITH C. CARLSON REGARDING SAME (0.2).


   01/13/21  Carlson, Clifford W.                          0.30            330.00    009    60991314
       MULTIPLE EMAILS REGARDING VENDOR MATTERS.


   01/13/21     Carlson, Clifford W.                       1.50          1,650.00    009    61519881
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        CALLS WITH L. SMITH AND J. GEORGE REGARDING VENDOR LIEN ISSUES.


   01/19/21  Marcus, Courtney S.                   1.00       1,450.00       009        61181903
       CONFERENCE CALL WITH WEIL TEAM TO DISCUSS VENDOR LIENS AND ADDITIONAL DILIGENCE.


   01/19/21   Smith, Leslie S.                           4.00       4,400.00      009         60979839
       ATTEND CONFERENCE CALL WITH C. CARLSON, C. MARCUS, V. BONHAMGREGORY, J. LIOU, J. GEORGE
       REGARDING VENDOR LIEN CLAIMS (0.6); CORRESPONDENCE WITH M. MALONEY, K. DOODY REGARDING
       SAME (0.1); REVIEW MATERIALS ON BOX SITE (2.7); REVIEW ALIX PARTNERS SPREADSHEETS ON SAME
       (0.6).


   01/19/21  Conley, Brendan C.                      0.90                  990.00    009      61181918
       PREPARE FOR AND PARTICIPATE ON LIEN ANALYSIS CALL.


   01/19/21   Carlson, Clifford W.                  1.00        1,100.00       009            61182050
       PARTICIPATE ON CALL REGARDING LIEN ANALYSIS WITH L. SMITH AND WEIL BANKING TEAM.


   01/19/21  George, Jason                          0.90          693.00         009        61182072
       CALL WITH C. MARCUS, L. SMITH, V. BOMHAMGREGORY, J. LIOU AND C. CARLSON RE: LIEN ANALYSIS.


   01/19/21  James, Hillarie                       0.30       268.50        009         61046944
       CORRESPONDENCE WITH SECURED LENDERS, UST, AND UCC REGARDING JIB/VENDOR MATRICES.


   01/20/21  Marcus, Courtney S.                   0.60       870.00        009               61182141
       CONFERENCE WITH WEIL AND LISKOW & LEWIS TEAMS REGARDING VENDOR LIEN MATTERS.


   01/20/21  Smith, Leslie S.                         1.50      1,650.00        009         60979926
       CORRESPOND WITH M. MALONEY, C. MARCUS (0.1); CONFERENCE CALL WITH J. LIOU, C. MARCUS
       REGARDING VENDOR CLAIMS (0.4); PREPARE LAWYER NOTES FOR LIEN ANALYSIS (1.0).


   01/20/21     Carlson, Clifford W.                       0.50            550.00    009      61043859
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        PARTICIPATE ON CALL WITH BANKING TEAM AND L. SMITH REGARDING VENDOR LIENS.


   01/20/21   George, Jason                           0.60         462.00          009          60979282
       CORRESPOND WITH J. CHIANG RE: VENDOR CLAIM (0.1); CALL WITH L. SMITH, C. MARCUS, J. LIOU AND
       C. CARLSON RE: LIEN ANALYSIS (0.5).


   01/21/21     Smith, Leslie S.                       3.40        3,740.00       009        60980192
       CONFERENCE CALL WITH ALIX PARTNERS, WEIL AND COMPANY REGARDING VENDOR CLAIMS (1.0);
       CONFERENCE CALL WITH K. DOODY, M. MALONEY, C. MARCUS, J. LIOU REGARDING LOUISIANA LAW
       (0.5); CORRESPONDENCE REGARDING LIENS (0.4); CORRESPONDENCE WITH C. MARCUS REGARDING STEPS
       IN LIEN REVIEW (0.3); REVIEW RECORDING SCHEDULE (0.3); FOLLOW UP ON MATERIALS FROM ALIX
       PARTNERS (0.2); REVIEW TITLE COMPANY BILL FOR RECORDED DOCUMENTS (0.2); REVIEW NEW
       SPREADSHEETS (0.5).


   01/21/21  George, Jason                             1.10       847.00            009       61197533
       CALL WITH J. BLOOM, G. GALLOWAY, T. ALLEN, ALIX PARTNERS TEAM, J. LIOU, C. CARLSON AND C.
       MARCUS RE: LIEN CLAIMS.


   01/22/21  Perez, Alfredo R.                             0.10            159.50    009        60991344
       REVIEW DOCUMENTS FROM BAKER HUGHES.


   01/22/21  Barr, Matthew S.                        0.50       897.50         009              61197767
       REVIEW VENDOR ISSUE (.2); AND CALL WITH BOARD MEMBER REGARDING SAME (.3).


   01/22/21  Bonhamgregory, Veronica Gayle                 0.30            312.00    009        61197760
       CALL WITH L. SMITH RE: LIEN ANALYSIS.


   01/22/21  Carlson, Clifford W.                          0.50            550.00    009        61046507
       MULTIPLE EMAILS REGARDING VENDOR ISSUES.


   01/22/21  George, Jason                           0.10                   77.00    009        60979532
       CORRESPOND WITH J. CHIANG RE: VENDOR CLAIM ISSUE.
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   01/22/21  Martin, Robert Crawford              1.10      1,182.50                 009    61047120
       RESPOND TO ENERGY TRANSFER INQUIRY REGARDING CONTRACT ALLOCATION.


   01/23/21  Liou, Jessica                            1.10       1,457.50       009         60989835
       CONFER WITH ALIX PARTNERS, L. SMITH, C. CARLSON RE: SECURED CLAIMS ANALYSIS.


   01/23/21   Smith, Leslie S.                        4.70      5,170.00       009        60979798
       ATTEND WEIL-ALIX PARTNERS CONFERENCE CALL ON VENDOR AND JOA CLAIMS (1.2); COMPLETE
       MORTGAGE REVIEW OF VENDOR AND JOA CLAIMS (1.5); TELEPHONE CALL WITH J. CHIANG REGARDING
       PRIORITIES (0.5); REVISE MORTGAGE REVIEW AND CORRESPONDENCE REGARDING SAME (0.5);
       MORTGAGE REVIEW OF SECOND SET OF VENDOR LIENS (1.0).


   01/24/21  Smith, Leslie S.                        1.50       1,650.00      009         61037855
       CONFERENCE CALL WITH C. CARLSON, J. LIOU AND ALIX PARTNERS REGARDING VENDOR LIENS.


   01/25/21  Smith, Leslie S.                      4.10        4,510.00        009        61041720
       REVIEW ADDITIONAL MORTGAGE REVIEW ITEMS FROM J. PUPKIN (0.2); ATTEND CONFERENCE CALL
       WITH ALIX PARTNERS AND COMPANY ON VENDOR CLAIMS (0.8); REVIEW MORTGAGE FILINGS (2.7);
       ATTEND INTERNAL CONFERENCE CALL ON CLAIMS (0.4).


   01/25/21  George, Jason                             0.70       539.00         009        61003947
       RESEARCH VENDOR ISSUES (0.5); EMAIL C. CARLSON AND A. MARZOCCA RE: SAME (0.2).


   01/26/21   Smith, Leslie S.                       4.30         4,730.00      009        61037864
       REVISE VENDOR SECOND MORTGAGE REVIEW (1.4); ATTEND ALIX PARTNERS AND WEIL CONFERENCE
       CALL REGARDING VENDOR CLAIMS (1.3); COMPLETE VENDOR SECOND MORTGAGE REVIEW (0.5);
       CORRESPOND WITH J. CHIANG REGARDING JOA FILINGS (0.3); ATTEND CONFERENCE CALL WITH ALIX
       PARTNERS AND WEIL ON VENDOR CLAIMS UPDATE (0.8).


   01/26/21   James, Hillarie                        0.50        447.50        009       61058596
       REVIEW JIB/VENDOR MATRIX (0.2); CORRESPOND WITH WEIL AND ALIX PARTNERS TEAM REGARDING
       SAME (0.3).
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   01/28/21  Smith, Leslie S.                      3.30         3,630.00       009       61039167
       CONFERENCE CALL WITH WEIL AND ALIX PARTNERS (PARTIAL) REGARDING VENDOR CLAIMS (0.4);
       TELEPHONE CALL WITH C. CARLSON REGARDING SAME (0.1); REVIEW CLAIMS AGAINST MORTGAGE
       RECORDING SCHEDULE AND PREPARE MORTGAGE SPREADSHEET REGARDING SAME (2.7);
       CORRESPONDENCE WITH C. CARLSON AND J. GEORGE REGARDING SAME (0.1).


   01/29/21  Smith, Leslie S.                        0.60        660.00       009       61038713
       CORRESPOND WITH J. GEORGE REGARDING LIENS (0.3); REVIEW MORTGAGE RECORDING SCHEDULES (0.2);
       CORRESPOND WITH J. GEORGE REGARDING SAME (0.1).


   01/31/21  George, Jason                           0.30                   231.00    009     61049687
       CORRESPOND WITH J. LIOU AND C. CARLSON RE: VENDOR ISSUES.


    SUBTOTAL TASK 009 - Customer / Vendor Matters          50.70        $54,920.00
    and Reclamation / 503(b)(9) Claims:

   01/07/21   Bonhamgregory, Veronica Gayle            3.20               3,328.00    010     60880362
       LIEN ANALYSIS (.2); PREPARE BUSINESS PROPOSAL GRID (3.0).


   01/08/21  Smith, Leslie S.                    0.80                       880.00    010     60889837
       REVIEW UCC INFORMATION FROM V. BONHAMGREGORY.


   01/08/21  Bonhamgregory, Veronica Gayle            3.00      3,120.00          010         60903808
       DRAFT BUSINESS TERMS PROPOSAL GRID FOR EXIT FIRST LIEN TERM LOAN (1.9); PARTICIPATE ON
       COORDINATION CALL (.3); PARTICIPATE ON INTERNAL BANKING TEAM CALL (.3); ATTENTION TO LIEN
       ANALYSIS (.5).


   01/11/21  Conley, Brendan C.                    0.30        330.00        010              60904161
       REVIEW DIP AND COMMITMENT LETTER FOR CONSIDERATIONS RE: PROPOSED SETTLEMENT.


   01/12/21     Conley, Brendan C.                          0.90            990.00    010     60919010
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        REVIEW LIEN SEARCHES AND ORIGINAL PREPETITION DOCUMENTS FOR RELATION BACK (.6);
        COORDINATE RE: COLLATERAL AGREEMENTS (.3).


   01/18/21  Sierra, Tristan M.                    0.20                     154.00    010     60979029
       ATTEND COORDINATION CALL WITH DIP LENDER COUNSEL.


   01/22/21  Sierra, Tristan M.                             0.40            308.00    010     61198240
       COORDINATION CALL WITH DIP LENDER COUNSEL.


   01/27/21  Sierra, Tristan M.                             0.20            154.00    010     61044316
       ATTEND CALL WITH DIP LENDER COUNSEL.


   01/29/21  Sierra, Tristan M.                     0.60       462.00         010          61044373
       ATTEND CALL REGARDING DEBT DOCUMENTS (.4); ATTEND CALL WITH DIP LENDER COUNSEL (.2).


    SUBTOTAL TASK 010 - DIP Financing / Cash                9.60         $9,726.00
    Collateral / Cash Management:

   01/01/21  Liou, Jessica                             5.90        7,817.50          011      60859647
       REVIEW AND REVISE PLAN, DISCLOSURE STATEMENT AND DISCLOSURE STATEMENT MOTION (3.1);
       MULTIPLE CONFERS WITH DAVIS POLK (1.0); CLIENT, APACHE RE: OPEN ISSUES (1.0); FINALIZE
       DISCLOSURE STATEMENT, PLAN, DISCLOSURE STATEMENT MOTION AND EXCLUSIVITY FILINGS,
       EMAILS TO TEAM, CLIENT RE: SAME (.8).


   01/01/21   Carlson, Clifford W.                    4.70      5,170.00         011        60900872
       REVIEW AND REVISE DISCLOSURE STATEMENT (2.0); EMAILS REGARDING SAME (0.5); REVIEW AND
       REVISE DISCLOSURE STATEMENT MOTION AND EXHIBITS (2.0); EMAILS REGARDING SAME (0.2).


   01/01/21   James, Hillarie                       9.50      8,502.50       011              60874122
       REVISE AND COORDINATE FILING OF DISCLOSURE STATEMENT AND EXHIBITS THERETO.


   01/01/21     Marzocca, Anthony P.                       10.30         10,145.50    011     60869325
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        UPDATE DISCLOSURE STATEMENT APPROVAL MOTION (4.5); UPDATE EXHIBITS TO DISCLOSURE
        STATEMENT APPROVAL MOTION (3.8); CORRESPONDENCE RE: SAME (1.4); RESEARCH RE: SAME (0.6).


   01/01/21   Jalomo, Chris                          6.40       2,048.00             011      61541153
       ASSIST WITH THE PREPARATION AND FILING OF DISCLOSURE STATEMENT.


   01/02/21  Perez, Alfredo R.                    0.20        319.00        011        61541156
       REVIEW DISCLOSURE STATEMENT AND MOTION TO APPROVE THE DISCLOSURE STATEMENT AS FILED.


   01/02/21  Carlson, Clifford W.                0.20       220.00                   011      60900873
       EMAILS WITH GOVERNMENT REGARDING DISCLOSURE STATEMENT.


   01/02/21  Marzocca, Anthony P.                  2.50                  2,462.50    011      60869383
       PREPARE NOTICE OF DISCLOSURE STATEMENT HEARING.


   01/02/21  Jalomo, Chris                         0.50       160.00                 011      60825018
       PREPARE AND ELECTRONICALLY FILE DISCLOSURE STATEMENT NOTICE.


   01/03/21  Marzocca, Anthony P.                   0.80       788.00       011               60869367
       CORRESPONDENCE RE: SERVICE PARTIES FOR DISCLOSURE STATEMENT HEARING NOTICE.


   01/04/21    Carlson, Clifford W.                     1.00      1,100.00       011         60913453
       PARTICIPATE ON CALL WITH DAVIS POLK TEAM REGARDING PLAN AND DISCLOSURE STATEMENT
       ISSUES (.4); PARTICIPATE ON CALL WITH DAVIS POLK REGARDING DISCLOSURE STATEMENT (.6).


   01/04/21  Marzocca, Anthony P.                     1.40     1,379.00       011             61062240
       CALL WITH PRIME CLERK RE: SERVICE OF DISCLOSURE STATEMENT MOTION AND DISCLOSURE
       STATEMENT HEARING NOTICE (0.3); PREPARE SAME (1.1).


   01/04/21  Olvera, Rene A.                       0.50          202.50         011           61080684
       PREPARE AND ELECTRONICALLY FILE MASTER SERVICE LIST (AS OF JANUARY 4, 2021) (.5).
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   01/05/21  Mastando III, John P.                         0.80          1,080.00    011    61292983
       REVIEW DISCLOSURE STATEMENT.


   01/06/21  James, Hillarie                      2.00       1,790.00      011        60993112
       TELEPHONE CONFERENCES WITH ADVISOR TEAMS AND CLIENT REGARDING PLAN AND DISCLOSURE
       STATEMENT SUPPLEMENTS AND CONTRACTS/CLAIMS WORKSTREAMS.


   01/08/21  Barr, Matthew S.                     0.60                   1,077.00    011    61163833
       REVIEW DISCLOSURE STATEMENT SUPPLEMENT ISSUES.


   01/08/21  Carlson, Clifford W.                  0.20        220.00       011             60953598
       EMAILS REGARDING US TRUSTEE'S COMMENTS TO THE DISCLOSURE STATEMENT MOTION.


   01/10/21  Carlson, Clifford W.                0.40       440.00                   011    60992696
       EMAILS WITH HOULIHAN TEAM REGARDING UNENCUMBERED ANALYSIS.


   01/11/21  Liou, Jessica                         0.60        795.00      011              60928735
       CONFER WITH C. CARLSON AND REVIEW DISCLOSURE STATEMENT FOR SUPPLEMENTS AND
       QUESTIONS.


   01/11/21  Carlson, Clifford W.                 0.40        440.00                 011    60992837
       MULTIPLE EMAILS REGARDING DISCLOSURE STATEMENT AND SCHEDULES.


   01/12/21  Carlson, Clifford W.                  0.30        330.00                011    60991324
       CALL WITH DAVIS POLK REGARDING SUPPLEMENT TO DISLCOSURE STATEMENT.


   01/13/21  Liou, Jessica                         0.50       662.50                 011    60929734
       CONFER WITH D. CROWLEY AND M. HANEY RE: VALUATION ANALYSIS.


   01/13/21  Genender, Paul R.                             0.30            405.00    011    60926480
       REVIEW DISCLOSURE STATEMENT STATEMENT.
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   01/13/21  Carlson, Clifford W.                  0.80        880.00          011        60991267
       MULTIPLE CALLS AND EMAILS REGARDING REVISED DISCLOSURE STATEMENT (.5); CALL WITH DAVIS
       POLK REGARDING SAME (.3).


   01/13/21   Pal, Himansu                         2.00        520.00       011        61011036
       ASSIST WITH PREPARATION OF DISCLOSURE STATEMENT AND RELATED OBJECTIONS FOR ATTORNEY
       REVIEW.


   01/14/21   James, Hillarie                         1.00       895.00       011           61045164
       REVISE DISCLOSURE STATEMENT (0.5); REVIEW PRECEDENT DISCLOSURE STATEMENTS FOR
       REGULATORY ISSUES (0.5).


   01/15/21   James, Hillarie                     1.60      1,432.00      011         61027102
       CALL WITH ADVISOR TEAMS REGARDING DISCLOSURE STATEMENT AND PLAN WORKSTREAMS (0.4);
       REVISE DISCLOSURE STATEMENT (1.2).


   01/15/21  Marzocca, Anthony P.                   0.80        788.00         011          61069813
       RESPOND TO INQUIRIES RE: DISCLOSURE STATEMENT HEARING AND SOLICITATION (0.4);
       CORRESPONDENCE RE: SAME (0.4).


   01/16/21  James, Hillarie                      0.20       179.00                  011    61026889
       CORRESPONDENCE WITH WEIL TEAM REGARDING DISCLOSURE STATEMENT.


   01/17/21  Liou, Jessica                         0.40         530.00               011    60952920
       CONFER WITH D. CROWLEY RE: VALUATION ANALYSIS QUESTIONS.


   01/18/21  Carlson, Clifford W.                   0.20       220.00                011    61046027
       EMAILS WITH H. JAMES REGARDING REVISED DISCLOSURE STATEMENT.


   01/19/21  Liou, Jessica                         0.80                  1,060.00    011    61181912
       REVIEW AND COMMENT ON LIQUIDATION ANALYSIS.
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   01/19/21  Carlson, Clifford W.                 0.70       770.00                  011     61045211
       MULTIPLE EMAILS REGARDING DISCLOSURE STATEMENT SUPPLEMENT.


   01/19/21  James, Hillarie                        2.70       2,416.50        011        61046951
       TELEPHONE CONFERENCES WITH WEIL TEAMS REGARDING GENERAL CASE STRATEGY AND
       DISCLOSURE STATEMENT (1.0); CORRESPONDENCE WITH WEIL TEAM REGARDING PRECEDENT
       DISCLOSURE STATEMENTS AND LIQUIDATION ANALYSES (0.6); REVISE DISCLOSURE STATEMENT (1.1).


   01/19/21   Marzocca, Anthony P.                 0.60       591.00           011       61069824
       CALL WITH POTENTIAL CLAIMHOLDER RE: DISCLOSURE STATEMENT HEARING (0.3); CORRESPONDENCE
       RE: SAME (0.3).


   01/20/21   Liou, Jessica                           3.40       4,505.00         011       60969889
       CONFER WITH A. PEREZ AND C. CARLSON RE: LIQUIDATION ANALYSIS (1.5); REVIEW AND COMMENT ON
       REVISED CLAIMS ANALYSIS DECK (.3); CONFER WITH C. CARLSON RE: LIQUIDATION ANALYSIS AND
       SECURED CLAIMS ANALYSIS (.6); REVISE SUMMARY OF FRAMEWORK FOR SECURED CLAIMS ANALYSIS
       (1.0).


   01/20/21    Carlson, Clifford W.                   2.50      2,750.00          011        61043915
       PARTICIPATE ON CALL WITH J. LIOU REGARDING LIQUIDATION ANALYSIS (.5); PARTICIPATE ON CALL
       WITH J. LIOU AND H. JAMES REGARDING PLAN AND DISCLOSURE STATEMENT ISSUES (1.2); REVIEW AND
       REVISE LIQUIDATION ANALYSIS (.8).


   01/20/21  James, Hillarie                      4.30       3,848.50      011            61046890
       TELEPHONE CONFERENCES REGARDING PLAN, DISCLOSURE STATEMENTS, AND EXHIBITS (2.5); REVISE
       DISCLOSURE STATEMENT AND LIQUIDATION ANALYSIS (1.8).


   01/21/21  Moore, Rodney L.                              1.00          1,495.00    011     61192530
       REVIEW DISCLOSURE STATEMENT.


   01/21/21     James, Hillarie                            5.70          5,101.50    011     61026826
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        REVISE DISCLOSURE STATEMENT (2.8); CALL WITH ADVISORS REGARDING CLAIMS AND VALUATION
        ANALYSES (1.8); CALL WITH WEIL TEAM REGARDING GENERAL CASE STRATEGY (1.1).


   01/22/21  Carlson, Clifford W.                 0.40       440.00                  011     61046568
       MULTIPLE EMAILS REGARDING DISCLOSURE STATEMENT SUPPLEMENT.


   01/22/21   James, Hillarie                        5.90      5,280.50       011       61027289
       REVISE DISCLOSURE STATEMENT (4.5); TELEPHONE CONFERENCES WITH ADVISOR TEAMS REGARDING
       DISCLOSURE STATEMENT, PLAN, AND PSA WORKSTREAMS (1.4).


   01/23/21  Carlson, Clifford W.                 0.50       550.00                  011     61043032
       MULTIPLE EMAILS REGARDING DISCLOSURE STATEMENT-RELATED ITEMS.


   01/23/21  James, Hillarie                      0.30       268.50        011               61046654
       CORRESPOND WITH WEIL AND JONES WALKER TEAMS REGARDING DISCLOSURE STATEMENT.


   01/24/21  Liou, Jessica                            2.70        3,577.50        011        60989629
       REVIEW VALUATION MATERIALS AND CONFER WITH D. CROWLEY RE: SAME (.6); CONFER WITH ALIX
       PARTNERS, WEIL RE: SECURED CLAIMS ANALYSIS (1.8); EMAILS WITH M. HANEY RE: VALUATION (.3).


   01/25/21  Perez, Alfredo R.                   0.90       1,435.50       011               61201278
       CONFERENCE CALL WITH JONES WALKER REGARDING DISCLOSURE STATEMENT ISSUES.


   01/25/21   Carlson, Clifford W.                  0.70       770.00        011             61041970
       PARTICIPATE ON CALL WITH ADVISORS REGARDING DISCLOSURE STATEMENT ISSUES.


   01/25/21     James, Hillarie                   1.00       895.00       011        61059031
       TELEPHONE CONFERENCE WITH ADVISOR TEAMS REGARDING PLAN AND DISCLOSURE STATEMENT
       (0.5); REVISE DISCLOSURE STATEMENT (0.5).


   01/26/21     Liou, Jessica                              2.20          2,915.00    011     61046000
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        CONFER WITH ALIX PARTNERS TEAM, L. SMITH AND C. CARLSON RE: SECURED CLAIMS (1.3);
        PARTICIPATE ON ALIX PARTNERS CALL RE: SECURED CLAIMS (.9).


   01/26/21  Barr, Matthew S.                         2.10      3,769.50          011       61007251
       REVIEW OPEN DISCLOSURE STATEMENT ISSUES (.7); REVIEW DRAFT MOTION (1.1); CORRESPOND WITH
       TEAM REGARDING SAME (.1); FOLLOW UP WITH TEAM (.2).


   01/26/21  Bonhamgregory, Veronica Gayle                  1.20          1,248.00    011     61206274
       SECURED CLAIMS DISCUSSION.


   01/26/21   Carlson, Clifford W.                     1.20      1,320.00       011        61041600
       REVISE DISCLOSURE STATEMENT (.8); CALL WITH A. GREENE AND H. JAMES REGARDING REPLY TO
       DISCLOSURE STATEMENT OBJECTIONS (.4).


   01/27/21    Liou, Jessica                           3.50       4,637.50        011         61045982
       REVIEW AND COMMENT ON WORKING CAPITAL DECK (.4); CONFER WITH WEIL, HL RE: VALUATION (1.5);
       EMAILS AND CONFER WITH C. GRING AND S. PECA RE: WORKING CAPITAL (.2); CONFER WITH C. GRING
       RE: WORKING CAPITAL (.3); CONFER WITH S. PECA AND R. MOORE RE: WORKING CAPITAL(.8); CONFER
       WITH J. CHIANG RE: WORKING CAPITAL ANALYSIS (.1); EMAIL WITH D. CROWLEY RE: SAME (.2).


   01/27/21  Peca, Samuel C.                          0.50        612.50              011     61206285
       WORKING CAPITAL CALL (PARTIAL) (0.2); REVIEW WORKING CAPITAL CHART (0.3).


   01/27/21    Barr, Matthew S.                        2.60      4,667.00       011       61206288
       REVIEW HL MATERIALS (1.6); PARTICIPATE ON ALL HANDS CALL REGARDING DISCLOSURE STATEMENT
       ISSUES (1.0).


   01/27/21  Delaney, Scott Michael                         0.20            230.00    011     61206456
       REVIEW WORKING CAPITAL ALLOCATION SLIDES.


   01/27/21  Hufendick, Jason                     1.50        1,477.50                011     61033699
       ATTEND CALL WITH HOULIHAN TEAM RE: VALUATION ANALYSIS.
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   01/27/21   Carlson, Clifford W.                     5.70        6,270.00       011        61039745
       REVISE DISCLOSURE STATEMENT (1.9); PARTICIPATE ON CALL WITH HOULIHAN REGARDING
       VALUATION ANALYSIS (1.5); PARTICIPATE ON CALL WITH ALIX PARTNERS REGARDING WORKING
       CAPITAL ESTIMATE (.4); PARTICIPATE ON CALL WITH J. LIOU REGARDING PLAN AND DISCLOSURE
       STATEMENT ISSUES (1.2); PARTICIPATE ON CALLS WITH ALIX PARTNERS REGARDING WORKING
       CAPITAL ESTIMATE (0.7).


   01/27/21  Simmons, Kevin Michael                1.00        895.00                011     61206420
       DRAFT PREDECESSOR-ISSUES INSERT FOR AMENDED DISCLOSURE STATEMENT.


   01/27/21 Choi, Erin Marie                               1.30          1,430.00    011     61206421
       VALUATION CALL WITH ADVISORS.


   01/27/21  James, Hillarie                          3.30        2,953.50 011        61047211
       TELEPHONE CONFERENCES WITH ADVISOR TEAMS REGARDING PLAN, DISCSLOSURE STATEMENT, AND
       VALUATION ANALYSIS (1.9); REVISE DISCLOSURE STATEMENT (1.4).


   01/28/21    Liou, Jessica                         3.50        4,637.50        011        61045997
       REVIEW AND COMMENT ON VALUATION DECK AND CONFER WITH D. CROWLEY RE: SAME (.9); EMAIL
       HL RE: VALUATION DECK COMMENTS (.5); CONFER WITH C. GRING RE: WORKING CAPITAL ISSUES (.8);
       CONFER WITH HL, ALIX PARTNERS AND WEIL RE: SECURED CLAIMS ANALYSIS (1.3).


   01/28/21  Simmons, Kevin Michael                0.90        805.50                011     61505645
       DRAFT PREDECESSOR-ISSUES INSERT FOR AMENDED DISCLOSURE STATEMENT.


   01/28/21 Choi, Erin Marie                               0.50            550.00    011     61206460
       VALUATION CALL WITH ADVISORS.


   01/28/21   James, Hillarie                        4.00      3,580.00       011        61046551
       REVISE DISCLOSURE STATEMENT (3.2); CORRESPOND WITH ADVISOR TEAMS REGARDING SAME (0.8).


   01/28/21     Marzocca, Anthony P.                       0.80            788.00    011     61062172
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        PREPARE SOLICITATION TIMELINE (0.6); CORRESPOND WITH C. CARLSON RE: SAME (0.2).


   01/29/21  Liou, Jessica                          1.70      2,252.50        011          61061276
       EMAIL WITH M. DANE AND T. LAMME RE: DISCLOSURE STATEMENT HEARING TIMING (.5); REVIEW AND
       COMMENT ON ADJOURNMENT OF DISCLOSURE STATEMENT HEARING AND NOTICE RE: SAME (.4);
       REVIEW AND COMMENT ON KOSMOS NDA AND CONFER WITH J. GEORGE RE: SAME (.8).


   01/29/21   Carlson, Clifford W.                  2.00      2,200.00        011          61042303
       PARTICIPATE ON CALL WITH ADVISORS REGARDING DISCLOSURE STATEMENT ISSUES (.4); REVISE
       DISCLOSURE STATEMENT AND EMAILS REGARDING SAME (.5); MULTIPLE EMAILS REGARDING
       DISCLOSURE STATEMENT HEARING AND REVIEW NOTICE REGARDING SAME (.4); REVIEW AND REVISE
       VALUATION ANALYSIS EXHIBIT (.7).


   01/29/21  James, Hillarie                         0.70        626.50      011          61046530
       TELEPHONE CONFERENCE WITH ADVISOR TEAMS REGARDING PLAN, DISCLOSURE STATEMENT AND
       DISCLOSURE STATEMENT HEARING (0.4); REVIEW PRECEDENT DISCLOSURE STATEMENT REPLIES (0.3).


   01/29/21     Marzocca, Anthony P.                 8.10       7,978.50          011        61062219
       PREPARE DISCLOSURE STATEMENT HEARING ADJOURNMENT NOTICE (3.5); CORRESPONDENCE RE: SAME
       (2.8); CORRESPONDENCE RE: DISCLOSURE STATEMENT HEARING (1.4); CALL WITH C. CARLSON RE: SAME
       (0.4).


   01/30/21  Marzocca, Anthony P.                  1.50      1,477.50                   011    61062178
       CORRESPONDENCE RE: NOTICE TO ADJOURN DISCLOSURE STATEMENT HEARING.


    SUBTOTAL TASK 011 - Disclosure Statement /              141.10       $146,074.00
    Solicitation / Voting:

   01/04/21  Liou, Jessica                        0.10                        132.50    012    61163336
       REVIEW AND COMMENT ON DRAFT NOTICE OF BONUS PAYMENT.


   01/04/21     George, Jason                                 0.70            539.00    012    60875124
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        DRAFT NOTICE OF UPCOMING BONUS PAYMENT (0.1); EMAIL T. BAGGERLY RE: SAME (0.1); CALL WITH T.
        BAGGERLY RE: SIGN ON BONUS (0.1); CORRESPONDENCE WITH J. LIOU RE: NOTICE RE: BONUS PAYMENT
        (0.2); EMAILS TO STROOCK TEAM AND S. STATHAM AND H. DURAN RE: NOTICE RE: BONUS PAYMENTS
        (0.2).


   01/07/21  George, Jason                        0.20         154.00        012              60875025
       CORRESPONDENCE AND CALL WITH T. BAGGERLY RE: NOTICE OF UPCOMING KERP PAYMENTS.


   01/12/21  George, Jason                          0.50         385.00       012             60913721
       CORRESPONDENCE WITH J. LIOU AND T. BAGGERLY RE: NOTICE OF KERP PAYMENTS.


   01/13/21   Liou, Jessica                             3.20       4,240.00     012         60929739
       CONFER WITH FIELDWOOD TEAM, ALIX PARTNERS, HL RE: EMPLOYEE RELATED ISSUES (2.2); REVIEW
       AND RESPOND TO CORRESPONDENCE FROM DPW RE: EMPLOYEE ISSUES (0.3); DRAFT EMAIL TO M. DANE
       RE: SAME (0.3); DRAFT EMAIL TO T. LAMME AND M. DANE RE: REGULATORY UPDATE (0.4).


   01/13/21   Margolis, Steven M.                       2.10      2,572.50       012        60924151
       VARIOUS CONF. ON EMPLOYEE ISSUES FOR APA AND COORDINATION WITH DAVIS POLK ON SAME (0.6);
       REVIEW WAGE ORDER AND EMPLOYEE DOCUMENTS ON EMPLOYEE ISSUES (0.8); CORRESPONDENCE
       WITH R. TAHILIANI ON EMPLOYEE ISSUES (0.2); REVIEW MOST RECENT DRAFT OF APA RE EMPLOYEE
       ISSUES AND DISCUSSIONS WITH DAVIS POLK ON SAME (0.5).


   01/14/21     Margolis, Steven M.                      2.40   2,940.00        012        60932402
       REVIEW DATA ROOM AND EMPLOYEE ISSUES AND DILIGENCE (1.4); REVIEW ISSUES ON BENEFITS
       WORKSTREAMS AND EMPLOYEE ISSUES (0.5); VARIOUS CONF. WITH WEIL TEAM ON EMPLOYEE ISSUES
       (0.3); CONF. WITH R. TAHILIANI ON EMPLOYEE ISSUES (0.2).


   01/14/21  George, Jason                         0.10          77.00               012      60942822
       CORRESPONDENCE WITH C. GRING AND T. BAGGERLY RE: KERP NOTICE.


   01/15/21  George, Jason                            0.30       231.00         012       60942953
       CORRESPODENCE WITH J. LIOU, S. STATHAM, AND STROOCK TEAM RE: NOTICE OF KERP PAYMENTS.
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   01/19/21  Margolis, Steven M.                     4.60     5,635.00           012       60957250
       VARIOUS CONF. AND CORRESPONDENCE WITH FWE HR TEAM RE EMPLOYEE ISSUES, DUE DILIGENCE
       AND SCHEDULES AND REVIEW DOCUMENTATION ON SAME (2.8); CORRESPONDENCE WITH WEIL TEAM
       ON EMPLOYEE LIABILITY ISSUES AND DRAFT SUMMARY OF ISSUES FOR SAME (0.6); VARIOUS CONF.
       AND CORRESPONDENCE WITH R. TAHILIANI ON EMPLOYEE ISSUES, VACATION AND LIABILITY (0.8);
       REVIEW LOUISIANA VACATION CASHOUT ISSUES (0.4).


   01/19/21  George, Jason                             0.40      308.00         012         60960825
       CALL WITH C. CARLSON RE: KERP AGREEMENTS (0.3); CORRESPONDENCE WITH H. JAMES RE:
       CONSULTING AND SEVERANCE AGREEMENTS (0.1).


   01/19/21  James, Hillarie                      1.00                     895.00    012    61047022
       REVIEW EMPLOYEE AND CONSULTING AGREEMENTS.


   01/19/21  Greene, Anthony L.                    0.20                    208.00    012    61497769
       REVIEW EMPLOYEE PLANS AND BENEFITS SCHEDULE.


   01/20/21     Margolis, Steven M.                    3.10       3,797.50         012   60966171
       REVIEW CHANGES TO EMPLOYEE PLAN SCHEDULES AND PROPOSED COMMENTS TO SAME (0.6); CONF.
       AND CORRESPONDENCE WITH FWE RE EMPLOYEE PLAN ISSUES (0.4); REVIEW AND REVISE SCHEDULE
       FOR SAME (0.3); CORRESPONDENCE WITH R. TAHILIANI ON SAME (0.2); REVIEW ISSUES ON
       EMPLOYMENT AGREEMENTS (0.4); REVIEW DUE DILIGENCE MATERIALS, KERP, EMPLOYEE AGREEMENTS
       (0.7); REVIEW ISSUES ON BENEFITS WORKSTREAMS (0.5).


   01/21/21  Liou, Jessica                         0.30        397.50        012            60980197
       REVIEW AND RESPOND TO EMAILS FROM S. MARGOLIS RE: EMPLOYEE OBLIGATIONS.


   01/21/21  Margolis, Steven M.                 1.10      1,347.50                  012    60974111
       REVIEW CORRESPONDENCE AND DOCUMENTS RE: EMPLOYMENT AGREEMENTS.


   01/22/21  Margolis, Steven M.                    0.20       245.00                012    60988213
       REVIEW PRESS RELEASE DRAFTS FROM SARD AND ISSUES ON EMPLOYEES.
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   01/22/21  George, Jason                            0.60        462.00         012        60979524
       CORRESPOND WITH C. CARLSON RE: KERP (0.5); CORRESPOND WITH M. DANE AND T. LAMME RE: KERP
       NOTICE (0.1).


   01/22/21  Tahiliani, Radhika                        3.10       3,053.50         012       60989252
       DISCUSS MARKUP WITH S. MARGOLIS (0.4); REVISE AND SEND TO CORPORATE (0.9); REVIEW AND
       SUMMARIZE EMPLOYMENT AGREEMENTS (1.8).


   01/25/21   Margolis, Steven M.                   1.80       2,205.00        012          61002989
       REVIEW AND COMMENT ON EMPLOYMENT AGREEMENT CHART FROM R. TAHILIANI (0.5); REVIEW
       ISSUES AND CORRESPOND WITH S. PECA ON EMPLOYEES, OFFERS AND RELATED ISSUES (0.7); REVIEW
       EMPLOYEE ISSUES AND APA ISSUES (0.6).


   01/25/21  Tahiliani, Radhika                    0.40          394.00        012        61007230
       ATTENTION TO CORRESPONDENCE RE: EMPLOYEE ISSUES (0.3); CORRESPOND WITH S. MARGOLIS AND S.
       PECA RE: CONFERENCE CALL (0.1).


   01/26/21  Moore, Rodney L.                    0.30         448.50                 012      61204783
       TELEPHONE CONFERENCE CALL REGARDING EMPLOYMENT ISSUES.


   01/26/21   Peca, Samuel C.                              0.20            245.00    012      61204786
       PARTICIPATE ON BENEFITS CALL.


   01/26/21  Margolis, Steven M.                           0.40            490.00    012      61006740
       REVIEW ISSUES ON EMPLOYMENT AGREEMENTS.


   01/26/21  Tahiliani, Radhika                       1.40       1,379.00          012        61007356
       DISCUSS EMPLOYEE ISSUES IN SPA WITH S. PECA AND S. MARGOLIS (0.3); DISCUSS MARKUP WITH S.
       MARGOLIS (0.5); REVISE SPA AND SEND TO CORPORATE (0.6).


   01/27/21  Peca, Samuel C.                      0.20       245.00                  012      61015244
       REVIEW AND RESPOND TO EMAIL REGARDING EMPLOYEE MATTERS.
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   01/27/21  Margolis, Steven M.                       1.10      1,347.50         012       61015359
       VARIOUS CONF. AND CORRESPONDENCE ON EMPLOYEE ISSUES, TREATMENT IN APA, OFFERS OF
       EMPLOYMENT (0.4); CORRESPOND WITH R. TAHILIANI AND S. PECA RE: DISCUSSIONS WITH DPW ON
       EMPLOYEE ISSUES (0.2); REVIEW ISSUES ON CURRENT AND NEW EMPLOYMENT AGREEMENTS (0.5).


   01/29/21  Margolis, Steven M.                           0.30            367.50    012    61292991
       REVIEW EMPLOYEE ISSUES.


    SUBTOTAL TASK 012 - Employee Matters:                 30.30        $34,741.50

   01/01/21  Perez, Alfredo R.                        0.50       797.50       013           60837260
       REVIEW AND REVISE EXCLUSIVITY REPLY (.4); VARIOUS COMMUNICATIONS WITH WEIL TEAM
       REGARDING SAME (.1).


   01/01/21  Liou, Jessica                                 0.50            662.50    013    60859899
       REVIEW AND REVISE EXCLUSIVITY RESPONSE.


   01/01/21   Carlson, Clifford W.                   0.40        440.00              013    60900870
       REVISE AND FINALIZE REPLY IN SUPPORT OF EXCLUSIVITY MOTION.


   01/01/21   Wheeler, Emma                         3.40                 2,142.00    013    60824367
       REVISE EXCLUSIVITY REPLY AND PREPARE REPLY FOR FILING.


   01/01/21  Greene, Anthony L.                            1.50          1,560.00    013    61163232
       REVIEW AND REVISE EXCLUSIVITY REPLY.


   01/02/21  Perez, Alfredo R.                       0.50       797.50        013         60837265
       PREPARE FOR HEARING ON EXCLUSIVITY (.4); COMMUNICATIONS WITH M. DANE AND WEIL TEAM
       REGARDING SAME (.1).


   01/02/21     Carlson, Clifford W.                       1.90          2,090.00    013    60900882
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        REVIEW AND REVISE DIRECT WITNESS OUTLINE FOR HEARING ON EXCLUSIVITY MOTION (1.5); REVIEW
        WITNESS AND EXHIBIT LIST AND RELATED MATERIALS (.4).


   01/02/21  Wheeler, Emma                                 0.20            126.00    013     60841195
       PREPARE MATERIALS FOR EXCLUSIVITY HEARING.


   01/02/21  Choi, Erin Marie                      0.10        110.00                013     60834504
       REVIEW WITNESS OUTLINE IN ADVANCE OF EXCLUSIVITY HEARING.


   01/02/21  Greene, Anthony L.                      1.70       1,768.00        013         60887738
       PREPARE WITNESS OUTLINE FOR EXCLUSIVITY HEARING (.9); CORRESPOND WITH E. CHOI AND C.
       CARLSON REGARDING WITNESS OUTLINE (.2); PREPARE AMENDED WITNESS AND EXHIBIT LIST (.2);
       COORDINATE WITH E. WHEELER REGARDING PREPARATION OF HEARING MATERIALS FOR TEAM (.4).


   01/03/21   Perez, Alfredo R.                      3.60      5,742.00         013        60837353
       PREPARE FOR EXCLUSIVITY HEARING INCLUDING REVIEW OF FILINGS, COMMUNICATIONS, AND CASE
       LAW (2.6); TELEPHONE CONFERENCE WITH M. BARR REGARDING STATUS (.1); CONFERENCE CALL WITH
       M. DANE, R. SERGESKETTER, AND WEIL TEAM REGARDING HEARING PREPARATION (.9).


   01/03/21   Liou, Jessica                           1.50       1,987.50         013        60838806
       REVIEW AND RESPOND TO EMAILS RE: WITNESS LIST AND OTHER HEARING PREP (.5); CONFER WITH M.
       DANE, A. PEREZ AND C. CARLSON RE: EXCLUSIVITY HEARING PREP (.8); REVIEW AND RESPOND TO
       EMAILS RE: AMENDED WITNESS LIST (.2).


   01/03/21   Carlson, Clifford W.                 1.90        2,090.00         013        60900940
       PREPARE FOR HEARING ON MOTION TO EXTEND EXCLUSIVITY (1.1); PARTICIPATE ON CALL WITH
       CLIENT REGARDING SAME (.8).


   01/03/21  Choi, Erin Marie                      1.10       1,210.00       013             60834353
       REVIEW M. DANE DIRECT EXAMINATION OUTLINE FOR EXCLUSIVITY HEARING AND PROVIDE
       COMMENTS ON SAME.


   01/03/21     Greene, Anthony L.                         2.10          2,184.00    013     60862820
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        CALL WITH C. CARLSON (.4); PREPARE REVISED EXHIBIT LIST AND EXHIBITS (.3); PREPARE WITNESS
        OUTLINE FOR EXCLUSIVITY HEARING (1.2); CONFER WITH LITIGAITON TEAM REGARDING WITNESS
        OUTLINE AND EXHIBITS (.2).


   01/04/21  Perez, Alfredo R.                          1.10      1,754.50       013         60859989
       EXCLUSIVITY HEARING PREPARATION (.5); TELEPHONE CONFERENCES WITH C. CARLSON REGARDING
       FORM OF ORDER (.2); REVIEW FORM OF ORDER (.1); TELEPHONE CONFERENCE WITH Z. TRIPP REGARDING
       SURETIES (.1); CONFERENCE CALL WITH M. DANE AND M. BARR REGARDING NEXT STEPS (.2).


   01/04/21  Liou, Jessica                              1.20       1,590.00         013     60859708
       REVIEW MATERIALS IN ADVANCE OF EXCLUSIVITY HEARING (0.5); CONFER WITH C. CARLSON RE:
       SURETIES ISSUES RE: EXCLUSIVITY (0.2); REVIEW DRAFT EXCLUSIVITY ORDER (0.5).


   01/04/21  Carlson, Clifford W.                  2.30      2,530.00       013        61506253
       PREPARE REVISED ORDER EXTENDING EXCLUSIVITY AND MULTIPLE EMAILS REGARDING SAME.


   01/04/21  Wheeler, Emma                          1.60      1,008.00               013        60877500
       PREPARE NOTICE OF REVISED PROPOSED ORDER EXTENDING EXCLUSIVE PERIOD.


   01/04/21  Choi, Erin Marie                      0.30                    330.00    013        61506256
       ATTENTION TO PROPOSED ORDER ON EXCLUSIVITY.


   01/04/21  Greene, Anthony L.                      0.40         416.00         013            61163394
       REVIEW PROPOSED EXCLUSIVITY ORDER (.2); PREPARE NOTICE OF REVISED ORDER (.2).


   01/05/21  Carlson, Clifford W.                   0.90         990.00        013              60913604
       EMAILS REGARDING REVISED EXCLUSIVITY ORDER (.5); CALLS AND EMAILS WITH DAVIS POLK
       REGARDING SAME (.4).


   01/05/21  George, Jason                          1.00                   770.00    013        60875011
       REVIEW TRANSCRIPT RE: EXTENSION FOR EXCLUSIVITY.
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   01/06/21  Perez, Alfredo R.                        0.40      638.00        013          60873318
       REVIEW AND REVISE EXCLUSIVITY ORDER (.2); VARIOUS COMMUNICATIONS WITH N. TSIOURIS AND C.
       CARLSON REGARDING FORM OF ORDER (.2).


   01/06/21   Carlson, Clifford W.                  0.40        440.00       013        60913778
       PARTICIPATE ON CALL WITH DAVIS POLK REGARDING EXCLUSIVITY ORDER AND MULTIPLE EMAILS
       REGARDING SAME.


   01/07/21   Carlson, Clifford W.                         0.40            440.00    013    60913794
       FINALIZE AND FILE REVISED EXCLUSIVITY ORDER.


   01/07/21  Greene, Anthony L.                    0.10        104.00        013            61163798
       COORDINATE FILING OF NOTICE AND PROPOSED ORDER EXTENDING EXCLUSIVITY.


   01/07/21  Olvera, Rene A.                        0.80       324.00       013         61080705
       PREPARE AND ELECTRONICALLY FILE NOTICE OF PROPOSED ORDER EXTENDING EXCLUSIVE PERIODS.


    SUBTOTAL TASK 013 - Exclusivity:                      31.80        $35,041.50

   01/04/21  Moore, Rodney L.                         1.60     2,392.00           014   60852098
       REVIEW DOCUMENTS REGARDING ORRI QUESTION (.5); TELEPHONE CONFERENCE CALL WITH WEIL
       TEAM REGARDING ORRI ISSUES (.3); REVIEW AND COMMENT ON ORRI ANALYSIS (.8).


   01/04/21  Genender, Paul R.                   0.20      270.00       014                 60852138
       REVIEW CORRESPONDENCE REGARDING CONTRACT COUNTERPARTY'S NONPERFORMANCE OF
       CONTRACTS.


   01/05/21  Carlson, Clifford W.                 0.40                     440.00    014    61395941
       CALL WITH ALIX PARTNERS REGARDING CONTRACT ANALYSIS.


   01/06/21  Wheeler, Emma                        1.30                     819.00    014    60877435
       REVIEW MOTION TO ASSUME SUBLEASE EXAMPLES.
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   01/06/21   Greene, Anthony L.                           0.50            520.00    014    61163519
       PARTICIPATE ON CONTRACT/LEASE REVIEW CALL.


   01/07/21  George, Jason                           0.10                   77.00    014    60875056
       EMAIL H. JAMES AND C. CARLSON RE: SUBLEASE DOCUMENTS.


   01/07/21  Wheeler, Emma                        4.20       2,646.00                014    60877712
       PREPARE MOTION TO ASSUME SUBLEASE LEGAL ANALYSIS SECTION.


   01/07/21  James, Hillarie                               4.20          3,759.00    014    60911459
       DRAFT MOTION TO ASSUME SUBLEASE.


   01/08/21  James, Hillarie                               0.50            447.50    014    61163834
       DRAFT SUBLEASE ASSUMPTION MOTION.


   01/10/21 James, Hillarie                      0.70                      626.50    014    60911624
       CONDUCT RESEARCH REGARDING LEASE ASSUMPTION.


   01/11/21  Perez, Alfredo R.                   0.90     1,435.50        014               60909422
       CONFERENCE CALL WITH MANAGEMENT AND WEIL TEAM REGARDING ISSUES RELATING TO
       GENOVESA WELL.


   01/11/21  Moore, Rodney L.                       3.80      5,681.00      014        60906045
       REVIEW AND REVISE ORRI OBJECTION AND MULTIPLE TELEPHONE CONFERENCE CALLS REGARDING
       SAME.


   01/11/21  Wheeler, Emma                        2.00                   1,260.00    014    60920669
       REVIEW CHANGES TO MOTION TO ASSUME SUBLEASE.


   01/11/21   James, Hillarie                        6.80         6,086.00           014    60918996
       REVISE SUBLEASE MOTION (3.0); RESEARCH ASSUMPTION ISSUE (3.8).
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   01/12/21  James, Hillarie                        5.80       5,191.00       014          60918981
       RESEARCH ASSUMPTION ISSUE (5.0); CORRESPONDENCE WITH WEIL TEAM REGARDING SAME (0.8).


   01/12/21  Marzocca, Anthony P.                    0.40        394.00        014          61070040
       CORRESPONDENCE WITH J. LIOU RE: RESPONSE TO RESEARCH ISSUES ON UNEXPIRED LEASES.


   01/13/21  Genender, Paul R.                             0.60            810.00    014    61182295
       PREPARE FOR CLIENT CALL ON GENOVESA WELL.


   01/13/21   Greene, Anthony L.                   0.60                    624.00    014    61184770
       PARTICIPATE ON CONTRACT AND LEASE ANALYSIS CALL.


   01/14/21  Genender, Paul R.                        2.80      3,780.00          014    60933987
       WORK SESSION WITH CLIENT TEAM V. SERGESKETTER, VAUGHN, YOUNG, BHAT, ROBBINS, AND ALLEN)
       ON GENOVESA 2004 EXAMINATION (1.8); FOLLOW UP WORK SESSIONS ON SAME (1.0).


   01/14/21   Choi, Erin Marie                       7.40       8,140.00      014       61293270
       PREPARE FOR AND ATTEND PREDECESSOR GENOVESA 2004 EXAMINATIONS CALL WITH FIELDWOOD
       TEAM (4.5); ATTENTION TO PREDECESSOR GENOVESA 2004 EXAMINATIONS AND DOCUMENT REQUESTS
       AND CORRESPONDENCE REGARDING SAME (2.9).


   01/15/21  Genender, Paul R.                      1.60       2,160.00          014        60951040
       WORK SESSION IN CONNECTION WITH RULE 2004 REQUESTS TO PREDECESSOR (1.2); REVIEW CLIENT
       DOCUMENTS FROM PREDECESSOR MEETING (.4).


   01/15/21  James, Hillarie                     0.10        89.50                   014    61027351
       CORRESPONDENCE WITH WEIL TEAM REGARDING SUBLEASE MOTION.


   01/18/21  Perez, Alfredo R.                   1.00     1,595.00        014         60950941
       CONFERENCE CALL WITH MANAGEMENT AND WEIL TEAM REGARDING ISSUES RELATING TO JOINT
       WORKING INTEREST OWNER.
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   01/18/21   Barr, Matthew S.                       1.50      2,692.50              014    60952998
       CLIENT CALL REGARDING GENOVESA WELL (.9); FOLLOW UP WITH TEAM (.6).


   01/18/21  Genender, Paul R.                      1.90      2,565.00         014        60950873
       REVIEW CLIENT DOCUMENTS IN RECENT DEVELOPMENTS WITH PREDECESSOR (.3); CALL WITH CLIENT
       TEAM ON STRATEGY MATTERS, RULE 2004, AND RELATED MATTERS (1.0); FOLLOW UP WORK SESSIONS
       ON SAME (.6).


   01/18/21   Carlson, Clifford W.                  0.50        550.00        014        61046083
       PARTICIPATE ON CALL WITH CLIENT REGARDING POTENTIAL LITIGATION WITH COUNTERPARTY.


   01/18/21  Choi, Erin Marie                      2.20       2,420.00       014       61293256
       PREPARE FOR AND ATTEND CALL WITH CLIENT REGARDING DISPUTE INVOLVING GENOVESA WELL AND
       FOLLOW-UP REGARDING SAME.


   01/19/21  Barr, Matthew S.                     0.30          538.50      014        61182045
       CORRESPONDENCE WITH CLIENT REGARDING PREDECESSOR (.1); CORRESPONDENCE WITH TEAM
       REGARDING SAME (.2).


   01/19/21  Choi, Erin Marie                     1.60       1,760.00      014         61293258
       ATTENTION TO DISPUTE INVOLVING GENOVESA WELL FOLLOW-UP DOCUMENTS FROM T. ALLEN AND
       CONFERENCE WITH K. SIMMONS REGARDING SAME.


   01/20/21  Barr, Matthew S.                        0.50                  897.50    014    61182271
       CALL WITH PREDECESSOR WITH DPW (.4); FOLLOW UP (.1).


   01/20/21  Genender, Paul R.                       1.60       2,160.00       014        60969081
       WORK SESSION ON DISCOVERY MATTERS TO PREDECESSOR (.7); PREPARE FOR CALL WITH DAVIS POLK
       ABOUT DISPUTE INVOLVING GENOVESA WELL (.4); CALL WITH DAVIS POLK ON DISPUTE INVOLVING
       GENOVESA WELL (.5).


   01/21/21     Perez, Alfredo R.                          0.70          1,116.50    014    60977406
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        CONFERENCE CALL WITH MANAGEMENT AND WEIL TEAM REGARDING STATE LEASES.


   01/21/21  Genender, Paul R.                      1.60        2,160.00      014      60975973
       PREPARE FOR CALL WITH DAVIS POLK ABOUT PREDECESSOR LITIGATION BACKGROUND AND
       STRATEGY (.8); CALL WITH DPW ABOUT PREDECESSOR LITIGATION STRATEGY AND BACKGROUND (.6);
       FOLLOW UP FROM SAME (.2).


   01/21/21  Bonhamgregory, Veronica Gayle          0.60         624.00       014              61292990
       CALL WITH M. MALONEY, WEIL FINANCE AND REAL ESTATE RE: SECURED CLAIMS.


   01/21/21   Simmons, Kevin Michael                   2.30         2,058.50      014       60972937
       CALL WITH E. CHOI ON AFTERNOON CALL AND TASK IN PREPARATION FOR SAME (0.5); DRAFT
       TALKING POINTS FOR CALL WITH UCC (1.1); CALL WITH DAVIS POLK ON DISPUTE INVOLVING GENOVESA
       WELL (0.5); DRAFT CALL NOTES FOR CALL WITH DAVIS POLK (0.2).


   01/21/21  Choi, Erin Marie                     2.60       2,860.00       014        60976076
       PREPARE FOR AND ATTEND CALL WITH DPW REGARDING DISPUTE INVOLVING GENOVESA WELL.


   01/22/21  Liou, Jessica                                 0.20            265.00    014       61002551
       EMAIL WITH R. MARTIN RE: CONTRACTS INQUIRY.


   01/22/21  Genender, Paul R.                          1.80         2,430.00        014       60990050
       REVIEW DOCUMENTS FROM CLIENT ABOUT DISPUTE INVOLVING GENOVESA WELL (.7); STUDY DOI
       ORDER OF 1/20/21 (.3); WORK ON LETTER TO PREDECESSOR (.4); CALL WITH CLIENT TEAM RE: SAME AND
       STRATEGY (.4).


   01/22/21  Smith, Leslie S.                         10.20        11,220.00      014   60980364
       REVIEW COMMENTS FROM K. DOODY, M. MALONEY (0.4); CONFERENCE CALL REGARDING EXHIBITS (0.5);
       CONFERENCE CALL WITH C. CARLSON, E. CHOI, K. DOODY (0.5); TELEPHONE CALL WITH V.
       BONHAMGREGORY REGARDING MORTGAGES (0.3); PREPARE MORTGAGE REVIEW (5.5); DRAFT
       PARAGRAPHS FOR RESPONSE TO LLOG CLAIM (3.0).


   01/22/21     Carlson, Clifford W.                       2.00          2,200.00    014       61046475
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        REVISE MOTION TO ASSUME SUBLEASE (0.6); PARTICIPATE ON CALL WITH ALIX PARTNERS TEAM
        REGARDING CONTRACTS WORKSTREAM (0.7); PARTICIPATE ON CALL WITH CLIENT REGARDING ISSUES
        WITH CONTRACT COUNTERPARTY (0.3); PARTICIPATE ON CALL WITH COUNSEL TO CONTRACT
        COUNTERPARTY (0.4).


   01/22/21   Simmons, Kevin Michael                   4.90       4,385.50       014           60985719
       CALL UPDATING CLIENT ON DISPUTE INVOLVING GENOVESA WELL AND CALL WITH DAVIS POLK (0.3);
       CALL WITH E. CHOI ON LETTER TO PREDECESSOR (0.3); DRAFT LETTER TO PREDECESSOR (1.9); CALL
       WITH E. CHOI ON AMENDED PROTECTIVE ORDER (0.5); AMEND PROTECTIVE ORDER (0.7); IDENTIFY FILES
       TO SEND AD HOC GROUP (1.2).


   01/22/21  Choi, Erin Marie                     2.10       2,310.00                014       60990114
       ATTENTION TO GENOVESA WELL DISPUTE AND CALLS REGARDING SAME.


   01/22/21   James, Hillarie                         2.10     1,879.50        014        61027339
       REVISE MOTION TO ASSUME SUBLEASE (1.0); CORRESPONDENCE WITH WEIL, CLIENT, AND APACHE
       REGARDING SAME (0.3); TELEPHONE CONFERENCE WITH WEIL AND ALIX PARTNERS TEAM REGARDING
       CONTRACTS WORKSTREAM (0.8).


   01/23/21  Simmons, Kevin Michael                        0.40            358.00    014       60985754
       DRAFT LETTER TO PREDECESSOR.


   01/23/21  Choi, Erin Marie                      1.10      1,210.00      014         60990220
       REVIEW AND REVISE DRAFT LETTER TO PREDECESSOR REGARDING GENOVESA WELL AND SEND TO P.
       GENENDER.


   01/24/21  Genender, Paul R.                      0.60          810.00       014             60990047
       WORK ON AND FINALIZE DETAILED LETTER TO PREDECESSOR (.2); WORK SESSION ON FURTHER
       POTENTIAL LITIGATION ISSUES (.4).


   01/25/21  Barr, Matthew S.                         1.50       2,692.50       014            61201312
       REVIEW ISSUES REGARDING PREDECESSOR (.8); PARTICIPATE ON ALL HANDS CALL REGARDING
       PREDECESSOR (.5); FOLLOW UP WITH TEAM (.2).
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   01/25/21  Genender, Paul R.                      2.30       3,105.00         014       60998933
       CALL WITH CLIENT TEAM RE: MOTION TO COMPEL COMPLIANCE WITH PRE-PETITION CONTRACT
       AGAINST PREDECESSOR (.6); REVIEW DOCUMENTS FROM CLIENT ABOUT SAME (.7); WORK ON MOTION
       TO COMPEL (1.0).


   01/25/21   Carlson, Clifford W.                  0.50        550.00      014              61042060
       PARTICIPATE ON CALL REGARDING POTENTIAL LITIGATION WITH CONTRACT COUNTERPARTY.


   01/25/21   Simmons, Kevin Michael                  7.20      6,444.00          014        61293265
       CALL WITH E. CHOI, S. SMITH ON PREDECESSOR MOTION TO COMPEL (1.1); DRAFT MOTION TO COMPEL
       (6.1).


   01/25/21  Smith, Samantha Nicole                        5.60          3,528.00    014     60998989
       WORK ON MOTION TO COMPEL.


   01/25/21 Wheeler, Emma                         1.70      1,071.00                 014     61013514
       CONDUCT RESEARCH RE: CONTRACT ASSUMPTION AND REJECTION.


   01/25/21     Choi, Erin Marie                      9.70      10,670.00     014        60998721
       CONFERENCE WITH K. SIMMONS AND S. SMITH REGARDING ANTICIPATED MOTION TO COMPEL
       PERFORMANCE OF PRE-PETITION CONTRACTS (1.0); CALL WITH FIELDWOOD REGARDING GENOVESA
       DISPUTE AND MOTION TO COMPEL PERFORMANCE OF PRE-PETITION CONTRACTS (0.6); DRAFT MOTION
       TO COMPEL PERFORMANCE OF PRE-PETITION CONTRACTS AND CONFER WITH TEAM REGARDING SAME
       (7.8); CORRESPONDENCE REGARDING ARENA MEDIATION (0.3).


   01/26/21  Perez, Alfredo R.                      1.20       1,914.00      014        61006397
       VARIOUS COMMUNICATIONS WITH S. HEYEN AND P. GENENDER REGARDING DISPUTE INVOLVING
       GENOVESA WELL (.4); CONFERENCE CALL WITH MANAGEMENT AND WEIL TEAM REGARDING DISPUTE
       INVOLVING GENOVESA WELL (.4); REVIEW MOTION AND COMMUNICATIONS WITH R. SERGESKETTER
       AND WEIL TEAM REGARDING SAME (.3); REVIEW ARENA EXPERT LETTER (0.1).


   01/26/21     Liou, Jessica                              0.40            530.00    014     61046153
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        CONFER WITH WEIL AND FW TEAM RE: PREDECESSOR LITIGATION ISSUES.


   01/26/21  Barr, Matthew S.                         1.10      1,974.50      014        61206277
       REVIEW PREDECESSOR LETTER (.1); REVIEW DISPUTE INVOLVING GENOVESA WELL AND NEXT STEPS (.9);
       CORRESPONDENCE REGARDING SAME (.1).


   01/26/21   Genender, Paul R.                          6.10      8,235.00          014        61007154
       WORK SESSIONS ON EMERGENCY MOTION TO COMPEL PREDECESSOR TO COMPLY WITH PRE-PETITION
       CONTRACTS AND RELATED FILINGS (4.4); LETTER FROM PREDECESSOR’S COUNSEL ACKNOWLEDGING
       RECEIPT OF 1/24/21 LETTER (.1); CALL WITH COUNSEL FOR PREDECESSOR (.2); DETAILED EMAILS TO AND
       FROM PREDECESSOR COUNSEL ABOUT STATUS, NEXT STEPS, PROVIDING PREDECESSOR COUNSEL WITH
       DOCUMENTS SUPPORTING EMERGENCY MOTION (.7); CALL WITH CLIENT TEAM ABOUT STATUS,
       EMERGENCY MOTION, NEXT STEPS (.4); PREPARE FOR 1/27 CALL WITH PREDECESSOR’S COUNSEL (.3).


   01/26/21  Carlson, Clifford W.                     1.20      1,320.00        014    61041780
       MULTIPLE EMAILS AND CALLS REGARDING MOTION TO COMPEL PERFORMANCE UNDER PRE-PETITION
       CONTRACTS (0.7); PARTICIPATE ON CALL WITH CLIENT REGARDING ISSUES WITH CONTRACT
       COUNTERPARTY (0.5).


   01/26/21  Simmons, Kevin Michael                    7.30        6,533.50       014         61006396
       DRAFT MOTION TO COMPEL (0.9); DRAFT MOTION TO SEAL (2.6); DRAFT CHOI DECLARATION IN
       SUPPORT OF MOTION TO COMPEL (1.3); CALL WITH E. CHOI ON MOTION TO COMPEL (0.2); UPDATE
       DISPUTE TIMELINE WITH NEW DOCUMENTS FROM CLIENT (1.5); CALL WITH CLIENT RE PREDECESSOR'S
       RESPONSE TO JANUARY 24 LETTER (0.5); INCORPORATE CLIENT'S COMMENTS INTO DRAFT MOTION TO
       COMPEL (0.3).


   01/26/21  Smith, Samantha Nicole                  6.40      4,032.00        014              61007339
       CONTINUE WORKING ON MOTION TO COMPEL (6.1); REVISE PROPOSED STIPULATION (.3).


   01/26/21 Wheeler, Emma                          4.50                  2,835.00    014        61013464
       CONDUCT RESEARCH RE: ASSUMPTION/REJECTION CONTRACTS.


   01/26/21     Choi, Erin Marie                          11.50         12,650.00    014        61007108
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        CONTINUE TO DRAFT MOTION TO COMPEL PERFORMANCE OF PRE-PETITION CONTRACT (1.0);
        CONTINUE TO DRAFT MOTION TO COMPEL PERFORMANCE OF PRE-PETITION CONTRACT AND DRAFT
        AND SEND CORRESPONDENCE REGARDING SAME (8.4); PARTICIPATE ON BOARD CALL (1.0); CALL WITH
        CLIENT REGARDING GENOVESA (0.5); DRAFT AND SEND CORRESPONDENCE REGARDING AMENDED
        PROTECTIVE ORDER (0.4); CORRESPONDENCE REGARDING ARENA MEDIATION (0.2).


   01/26/21  James, Hillarie                               0.30            268.50    014      61058666
       REVIEW SUBLEASE MOTION.


   01/26/21   Morris, Sharron                     1.80       729.00       014          61026206
       EMAILS WITH TEAM REGARDING MOTION TO COMPEL PREDECESSOR PERFORMANCE (.5); REVIEW SAME
       (1.3).


   01/27/21  Barr, Matthew S.                              0.40            718.00    014      61206289
       CALL WITH PREDECESSOR COUNSEL.


   01/27/21   Genender, Paul R.                        6.30      8,505.00         014         61017848
       WORK SESSIONS ON EMERGENCY MOTION TO COMPEL (1.9); PREPARE FOR MEET AND CONFER WITH
       COUNSEL FOR PREDECESSOR (1.3); MEET AND CONFER WITH COUNSEL FOR PREDECESSOR (.6); FOLLOW
       UP WITH M. BARR (.1); EMAILS WITH DPW RE EMERGENCY MOTION (.1); CALL WITH DPW RE
       EMERGENCY MOTION (.1); EMAILS WITH B. STARK (COUNSEL FOR PREDECESSOR) TO FOLLOW UP ON
       MEET AND CONFER (.1); CALL WITH B. STARK RE EMERGENCY MOTION (.1); EMAIL TO B. STARK RE
       FILED EMERGENCY MOTION AND HEARING (.1); CALL FROM CLIENT TEAM RE STATUS (.1); CALL WITH A.
       PEREZ RE EMERGENCY MOTION STATUS (.1); EMAILS WITH CLIENT RE PREPARATION FOR HEARING (.1);
       FURTHER EMAILS WITH B. STARK AND PREDECESSOR’S COUNSEL RE SCHEDULING OF HEARING (.2);
       CALL WITH CLIENT TEAM RE SAME (.2); PREPARE FOR EVIDENTIARY HEARING (1.2).


   01/27/21  Carlson, Clifford W.                0.90        990.00         014          61039837
       EMAILS REGARDING MOTION TO COMPEL PERFORMANCE OF PREPETITION CONTRACTS (.2); REVISE
       MOTION TO COMPEL PERFORMANCE AND CALLS AND EMAILS REGARDING SAME (.7).


   01/27/21     Choi, Erin Marie                           7.10          7,810.00    014      61016948
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        CALL WITH M. DANE AND T. LAMME REGARDING PREDECESSOR MOTION (0.5); CALL WITH OPPOSING
        COUNSEL REGARDING GENOVESA (0.5); STANDING CALL WITH ADVISORS (0.5); FINALIZE AND FILE
        MOTION TO COMPEL PREDECESSOR TO PERFORM PREPETITION CONTRACTS AND FOLLOW-UP
        REGARDING SAME (4.8); ARENA DISPUTE PRE-MEDIATION CALL WITH JUDGE LOPEZ AND FOLLOW-UP
        REGARDING SAME (0.8).


   01/27/21  James, Hillarie                        0.50       447.50        014         61047167
       REVIEW COMMENTS TO SUBLEASE MOTION (0.4); CORRESPOND WITH CLIENT REGARDING SAME (0.1).


   01/27/21  Morris, Sharron                         1.80      729.00        014        61026065
       MULTIPLE EMAILS AND WORK SESSIONS WITH TEAM REGARDING MOTION TO COMPEL AND
       PREPARATIONS FOR EMERGENCY HEARING (.5); PREPARE DOCUMENTS IN PREPARATION FOR SAME (1.3).


   01/28/21   Perez, Alfredo R.                        1.80       2,871.00        014         61029822
       REVIEW FILINGS AND COMMUNICATIONS WITH PREDECESSOR (.5); PRE-HEARING CALL WITH
       MANAGEMENT AND WEIL TEAM (.2); VARIOUS COMMUNICATIONS WITH E. CHOI (.1), S. STATHAM (.1),
       AND C. CARLSON (.1) REGARDING FILINGS, SEALING AND NOTICE ISSUES, REVIEW NOTICE ISSUES (.1);
       TELEPHONE CONFERENCE WITH M. BARR REGARDING STATUS (.2); VARIOUS COMMUNICATIONS WITH
       MANAGEMENT AND WEIL TEAM REGARDING NEXT STEPS (.3); VARIOUS COMMUNICATIONS WITH B.
       SKELTON REGARDING STATUS (.2).


   01/28/21  Liou, Jessica                          0.50                   662.50    014      61046111
       CONFER WITH ALIX PARTNERS RE: SCHEDULES OF LEASES.


   01/28/21  Barr, Matthew S.                       0.60        1,077.00             014      61206588
       REVIEW PREDECESSOR CORRESPONDENCE (.2); AND OPEN ISSUES (.4).


   01/28/21   Genender, Paul R.                         5.50       7,425.00       014         61027144
       WORK SESSIONS TO PREPARE FOR STATUS HEARING ON EMERGENCY MOTION TO COMPEL
       PREDECESSOR’S COMPLIANCE WITH PRE-PETITION CONTRACTS (4.6); CALL WITH M. BARR, A. PEREZ
       AND E. CHOI TO PREPARE FOR HEARING (.3); CALL FROM SHARI HEYEN IN RESPONSE TO CALL TO BILL
       STARK (.1); REVIEW PREDECESSOR’S SCHEDULE FOR SOP (.1); EMAIL CLIENT TEAM ABOUT SAME (.1);
       WORK ON CLIENT EMAIL TO PREDECESSOR ABOUT PREPAREDNESS WORK TO BE DONE (.3).
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   01/28/21   Carlson, Clifford W.                  1.00     1,100.00           014        61040121
       PARTICIPATE ON CALL WITH CLIENT REGARDING LEASE AMENDMENT (0.5); REVISE FILINGS RELATED
       TO EMERGENCY MOTION TO COMPEL AND EMAILS REGARDING SAME (0.5).


   01/28/21  Simmons, Kevin Michael                   3.70         3,311.50       014       61025672
       DRAFT DIRECT EXAM OUTLINE FOR M. DANE FOR MOTION TO COMPEL HEARING (2); RESEARCH
       DEADLINE TO RESPOND TO O'NEIL'S MOTION TO LIFT STAY (0.8); REVIEW SEALED DOCUMENTS AND
       PROPOSE REDACTIONS (0.9).


   01/29/21  Barr, Matthew S.                         1.40     2,513.00          014       61206454
       REVIEW DISPUTE INVOLVING GENOVESA WELL (1.1); CORRESPOND WITH TEAM (.2); AND CLIENT
       REGARDING SAME (.1).


   01/29/21  Genender, Paul R.                       1.60      2,160.00         014         61043165
       WORK SESSION TO ANALYZE STRATEGY ISSUES RELATED TO SCHEDULE, SOP (.3); RESEARCH
       REGARDING SAME (.3); CALL WITH CLIENT TEAM ABOUT STRATEGY MATTERS, SOP (.6); WORK ON
       DETAILED EMAIL FROM FW TO PREDECESSOR ON SCHEDULING MATTERS (.3); CALL WITH BOB
       SERGESKETTER ABOUT SAME (.1).


   01/29/21   Carlson, Clifford W.                  0.40       440.00                014    61042308
       PARTICIPATE ON CALL WITH A. GREENE REGARDING CONTRACT ANALYSIS.


   01/29/21  Simmons, Kevin Michael                0.50                    447.50    014    61039519
       RESEARCH PRECEDENTS RE: GENOVESA WELL DISPUTE.


   01/29/21  James, Hillarie                               0.30            268.50    014    61205916
       REVIEW COMMENTS TO SUBLEASE MOTION.


   01/29/21  Greene, Anthony L.                            0.50            520.00    014    61541167
       REVIEW CONTRACT ASSUMPTIONS SCHEDULES.


   01/30/21     Perez, Alfredo R.                          0.10            159.50    014    61039952
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        COMMUNICATIONS WITH B. SKELTON AND R. SERGESKETTER REGARDING DISPUTE INVOLVING
        GENOVESA WELL.


   01/30/21  Barr, Matthew S.                                  0.80          1,436.00    014    61046593
       REVIEW DISPUTE INVOLVING GENOVESA WELL.


   01/31/21   Perez, Alfredo R.                     1.20      1,914.00       014       61039920
       REVIEW LETTER FROM PREDECESSOR AND VARIOUS COMMUNICATIONS WITH MANAGEMENT AND
       WEIL TEAM REGARDING SAME (.2); CONFERENCE CALL WITH MANAGEMENT AND WEIL TEAM
       REGARDING STATUS OF DISCUSSIONS WITH PREDECESSOR AND PREPARATION FOR THE STATUS
       CONFERENCE (1.0).


   01/31/21  Genender, Paul R.                         4.20        5,670.00       014        61043297
       REVIEW LETTER FROM PREDECESSOR’S COUNSEL ABOUT VARIOUS MATTERS (.2); EMAILS WITH CLIENT
       TEAM ABOUT SAME (.1); CALL WITH CLIENT TEAM ABOUT PREDECESSOR’S LETTER, RESPONSE AND
       PREPARATION FOR 2/1/21 STATUS HEARING (1.2); WORK ON FILING IN ADVANCE OF STATUS HEARING
       AND HEARING DEMONSTRATIVE (1.9); EMAILS WITH CLIENT TEAM RE: SAME (.6); RECEIVE
       PREDECESSOR’S COMMENTS ON LOOP AGREEMENT (.1); EMAILS WITH CLIENT RE: SAME (.1).


   01/31/21     Simmons, Kevin Michael               2.60         2,327.00       014       61039307
       CALL WITH E. CHOI AND S. SMITH ON SUPPLEMENTAL BRIEF FOR PREDECESSOR MOTION TO COMPEL
       (0.5); DRAFT TIMELINE FOR DEMONSTRATIVE POWERPOINT (0.9); DRAFT SECOND CHOI DECLARATION
       (1.2).


   01/31/21  Smith, Samantha Nicole                3.70      2,331.00                    014    61043049
       REVIEW AND REVISE SUPPLEMENTAL BRIEF TO MOTION TO COMPEL.


   01/31/21   Choi, Erin Marie                    8.50      9,350.00         014           61043896
       REVIEW LETTER FROM PREDECESSOR AND DRAFT SUPPLEMENTAL BRIEF IN VIEW OF SAME (8.0); CALL
       WITH FIELDWOOD TEAM REGARDING SAME (0.5).


    SUBTOTAL TASK 014 - Executory Contracts /                217.00       $232,978.50
    Leases / Real Property / Other 365 Matters:
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   01/04/21     Liou, Jessica                         1.30        1,722.50       015        60859967
       EMAIL WITH TEAM RE: OPEN WORKSTREAMS (.1); CONFER WITH DPW RE: STATUS AND NEXT STEPS
       (.5); REVIEW AND RESPOND TO EMAILS RE: DOCKET AND FILINGS AND SERVICE OF DISCLOSURE
       STATEMENT HEARING NOTICE (.3); CONFER WITH C. CARLSON AND J. HUFENDICK RE: NEXT STEPS, OPEN
       WORKSTREAMS (.4).


   01/04/21     Barr, Matthew S.                  1.50         2,692.50       015          60854124
       CORRESPONDENCE REGARDING OPEN ISSUES WITH TEAM (.3); FOLLOW UP WITH TEAM (.3); AND CLIENT
       (.2); REVIEW NEXT STEPS (.7).


   01/04/21  James, Hillarie                      0.10                      89.50    015    60911643
       CORRESPONDENCE WITH CLIENT REGARDING ENTERED ORDERS.


   01/05/21   Liou, Jessica                               1.80      2,385.00          015 60868896
       CONFER WITH ALIX PARTNERS AND HL TEAM RE: NEXT STEPS AND OPEN WORKSTREAMS (.4); CONFER
       WITH C. CARLSON RE: NEXT STEPS, OPEN ISSUES (.4); PARTICIPATE ON WIP CALL (1.0).


   01/05/21  Barr, Matthew S.                     1.00         1,795.00         015         60864119
       CORRESPONDENCE REGARDING NEXT STEPS WITH TEAM (.2); REVIEW OPEN ISSUES (.7);
       CORRESPONDENCE REGARDING SAME WITH TEAM (.1).


   01/05/21   Margolis, Steven M.                          0.50            612.50    015    60863314
       PARTICIPATE ON WEIL TEAM CALL.


   01/05/21  Conley, Brendan C.                        1.60       1,760.00      015     60860773
       DISCUSS STATUS AND APPROACH WITH V. BONHAMGREGORY AND C. MARCUS (.5); COORDINATE RE:
       CALL FOR STATUS (.2); PREPARE FOR AND PARTICIPATE ON ALL PARTY STATUS CALL (.9).


   01/05/21   Bonhamgregory, Veronica Gayle                0.30            312.00    015    60865684
       PARTICIPATE ON INTERNAL BANKING CALL.


   01/05/21     Carlson, Clifford W.                       2.30          2,530.00    015    60913570
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        PARTICIPATE ON CALL WITH J. GEORGE REGARDING VARIOUS WORKSTREAMS (.5); PARTICIPATE ON
        CALL WITH A. PEREZ REGARDING VARIOUS WORKSTREAMS (.3); PARTICIPATE ON COORDINATION
        CALL WITH HOULIHAN AND ALIX PARTNERS TEAM (.5); PARTICIPATE ON COORDINATION CALL WITH
        COMPANY AND LENDER ADVISORS (1.0).


   01/05/21  Martin, Robert Crawford             0.50         537.50      015                60852049
       CONFERENCE WITH WEIL TEAM REGARDING CURRENT STATUS OF WORKSTREAMS.


   01/05/21  Bailey, Edgar Scott                           0.40            416.00    015     60865357
       TELEPHONE CALL WITH WEIL TEAM RE: WIP.


   01/05/21   Choi, Erin Marie                             0.50            550.00    015     61163627
       PARTICIPATE ON WIP CALL.


   01/05/21   Hong, Jeesun                                 0.40            394.00    015     60864282
       PARTICIPATE ON WIP CALL.


   01/05/21  Tippett, Matthew                              0.50            537.50    015     60884512
       TELEPHONE CONFERENCE WITH WORKING GROUP.


   01/06/21  Perez, Alfredo R.                  0.90      1,435.50       015                 60873268
       CONFERENCE CALL WITH MANAGEMENT AND ADVISORS REGARDING STATUS AND WIP.


   01/06/21   Rahman, Faiza N.                             1.00          1,275.00    015     60877815
       PARTICIPATE ON WEEKLY UPDATE CALL.


   01/06/21   Liou, Jessica                         1.50        1,987.50        015          60873955
       CONFER WITH C. CARLSON RE: OPEN WORKSTREAMS (0.6); CONFER WITH M. DANE, T. LAMME, M. BARR,
       A. PEREZ AND HOULIHAN RE: STRATEGY AND NEXT STEPS.


   01/06/21     Barr, Matthew S.                           2.60          4,667.00    015     60871774
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        REVIEW DECK (.9); REVIEW AND RESPOND TO CORRESPONDENCE REGARDING SAME (.2); PARTICIPATE
        ON ALL HANDS CALL (1.0); AND FOLLOW UP WITH TEAM (.2); REVIEW NEXT STEPS (.3).


   01/06/21  Conley, Brendan C.                            0.30            330.00    015    61291207
       ATTEND STATUS CALL.


   01/06/21  Hufendick, Jason                       0.80                   788.00    015    60888572
       ATTEND CALL WITH CLIENT RE: STRATEGY AND OPEN ITEMS.


   01/06/21   Carlson, Clifford W.                         1.00          1,100.00    015    60913783
       PARTICIPATE ON ALL HANDS CALL.


   01/06/21   George, Jason                          0.40                  308.00    015    60875055
       PARTICIPATE ON ALL-HANDS CLIENT CALL WITH CLIENT.


   01/06/21  Wheeler, Emma                                 0.90            567.00    015    60877453
       ATTEND ALL HANDS CALL.


   01/06/21   Marzocca, Anthony P.                     1.60       1,576.00       015        61062209
       PARTICIPATE ON CALL RE: ALL HANDS UPDATES (.6); CALL WITH WEIL TEAM AND ALL ADVISORS RE:
       CASE STATUS AND UPDATES (1.0).


   01/06/21   Greene, Anthony L.                           0.70            728.00    015    61163520
       PARTICIPATE ON ALL-HANDS TEAM CALL.


   01/07/21   Perez, Alfredo R.                        1.40      2,233.00     015        60881194
       PARTICIPATE ON WEIL WIP CALL (.3); CONFERENCE CALL WITH MANAGEMENT AND WEIL TEAM TO
       REVIEW WIP ITEMS (1.1).


   01/07/21     Barr, Matthew S.                           1.70          3,051.50    015    60879578
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        REVIEW OPEN ISSUES (.8); AND CORRESPONDENCES WITH TEAM REGARDING SAME (.1); REVIEW WIP (.3);
        AND CORRESPONDENCES REGARDING SAME (.1); STRATEGIZE REGARDING NEXT STEPS (.4).


   01/07/21  Margolis, Steven M.                           0.70            857.50    015        60877802
       ATTEND WEIL GROUP MEETING.


   01/07/21   Carlson, Clifford W.                      1.80      1,980.00       015            60913816
       PARTICIPATE ON CALL WITH CLIENT (1.3); PARTICIPATE ON CALL WITH HOULIHAN AND ALIX
       PARTNERS (.5).


   01/07/21  Wheeler, Emma                          1.30                   819.00    015        60877658
       ATTEND CALL WITH DEBTORS TO DISCUSS NEXT STEPS (1.3).


   01/07/21  Tahiliani, Radhika                     0.40       394.00                015        60880061
       CONFERENCE WITH WEIL INTERNAL RE: STATUS OF ALL WORKSTREAMS.


   01/07/21   Greene, Anthony L.                      1.20       1,248.00         015           61163800
       PARTICIPATE ON TEAM COORDINATION CALL (.5); PARTICIPATE ON CLIENT CALL (.7).


   01/07/21  Sierra, Tristan M.                     0.40      308.00                 015        60933937
       ATTEND CALL WITH CLIENT REGARDING STATUS OF PREDECESSORS.


   01/08/21    Liou, Jessica                           0.50           662.50         015        60893021
       CONFER WITH TEAM RE: WIP LIST, NEXT STEPS, OPEN ISSUES (0.3); CONFER WITH C. CARLSON RE: OPEN
       ISSUES (0.2).


   01/08/21  Barr, Matthew S.                         1.30      2,333.50          015       60890377
       REVIEW ISSUES REGARDING NEXT STEPS (.7); REVIEW OPEN DOCUMENT ITEMS (.5); CORRESPONDENCE
       WITH TEAM REGARDING SAME (.1).


   01/08/21     Carlson, Clifford W.                       2.10          2,310.00    015        60953516
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        PARTICIPATE ON FOLLOW UP CALL WITH JONES WALKER TEAM REGARDING SAME (.6); CALL WITH J.
        LIOU REGARDING VARIOUS WORKSTREAMS (.3); PARTICIPATE ON CALL WITH ALIX PARTNERS AND
        HOULIHAN TEAMS (1.2).


   01/10/21  Carlson, Clifford W.                  0.30       330.00                 015    60992736
       CALL WITH WEIL TEAM REGARDING REQUEST FOR PRODUCTION OF DOCUMENTS.


   01/11/21  Mastando III, John P.                   0.30                  405.00    015    60903186
       CALL WITH R. SWENSON RE: DISCOVERY/LITIGATION STRATEGY.


   01/11/21  Genender, Paul R.                     0.80      1,080.00       015         60907017
       STRATEGY CALL WITH CLIENT TEAM ABOUT CLAIMS AGAINST PREDECESSOR, SHELL AND NEXT STEPS.


   01/11/21  Simmons, Kevin Michael                        0.10             89.50    015    60903704
       CALL WITH E. CHOI RE: CASE UPDATE.


   01/12/21   Carlson, Clifford W.                  0.60       660.00       015             60991381
       PARTICIPATE ON CALL WITH HOULIHAN AND ALIX PARTNERS ON COORDINATION CALL.


   01/12/21  James, Hillarie                      2.50       2,237.50       015             60918991
       TELEPHONE CONFERENCES WITH ADVISOR TEAMS AND CLIENT REGARDING CASE STRATEGY.


   01/13/21   Perez, Alfredo R.                   0.70      1,116.50      015        60928563
       PARTICIPATE ON ALL-HANDS CALL WITH MANAGEMENT AND ADVISORS REGARDING STATUS AND
       NEXT STEPS.


   01/13/21   Rahman, Faiza N.                      0.50                   637.50    015    61182097
       PARTICIPATE ON WEEKLY INTERNAL UPDATE CALL (PARTIAL).


   01/13/21     Liou, Jessica                              1.30          1,722.50    015    60929742
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        CONFER WITH ALIX PARTNERS, G. GALLOWAY RE: OPEN WORKSTREAMS, NEXT STEPS AND OTHER
        ISSUES (.6); CONFER WITH D. CROWLEY, J. HANSON, M. HANEY, M. BARR, A. PEREZ, C. CARLSON, C. GRING
        RE: OPEN ISSUES, NEXT STEPS AND TIMING (.7).


   01/13/21   Barr, Matthew S.                         2.80       5,026.00         015         60926729
       CORRESPONDENCE WITH TEAM REGARDING OPEN ISSUES (.2); CORRESPONDENCE WITH TEAM
       REGARDING SAME (.1); REVIEW ISSUES REGARDING NEXT STEPS (.3); PARTICIPATE ON ALL HANDS
       CLIENT CALL (1.0); PARTICIPATE ON ALL HANDS ADVISORS CALL (.6); REVIEW NEXT STEPS (.6).


   01/13/21   Hufendick, Jason                      0.90       886.50          015        60946686
       PARTICIPATE ON ALL HANDS CALL WITH CLIENT AND COMPANY ADVISORS (.7); FOLLOW-UP CALL
       WITH C. CARLSON (.2).


   01/13/21   Carlson, Clifford W.                   1.20      1,320.00          015        60991231
       PARTICIPATE ON CALL WITH A. PEREZ REGARDING VARIOUS MATTERS (.2); PARTICIPATE ON CALL
       WITH ALIX PARTNERS REGARDING VARIOUS WORKSTREAMS (.7); CALL WITH J. GEORGE REGARDING
       VARIOUS MATTERS (.3).


   01/13/21   Wheeler, Emma                                0.60            378.00     015         60934331
       PARTICIPATE ON ALL HANDS CALL.


   01/13/21   Marzocca, Anthony P.                         0.60            591.00     015         61062192
       PARTICIPATE ON ALL HANDS CALL.


   01/13/21   Greene, Anthony L.                       1.40      1,456.00       015           61184771
       PARTICIPATE ON INTERNAL TEAM CALL (.5); PARTICIPATE ON TEAM REGROUP CALL (.5); PARTICIPATE
       ON TEAM COORDINATION CALL (.4).


   01/14/21    Liou, Jessica                             2.40       3,180.00         015        60935510
       CONFER WITH A. PEREZ, E. CHOI, C. CLIFFORD, M. DANE, T. LAMME RE: LLOG, PREDECESSOR, AND
       SURETY ISSUES (1.1); CONFER WITH ALIX PARTNERS, HL AND WEIL TEAM RE: OPEN ISSUES, CLAIMS
       ESTIMATES, NEXT STEPS (.5); CONFER WITH J. NOE AND C. CARLSON RE: PREDECESSOR AND SURETY
       ISSUES (.8).
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   01/14/21  Barr, Matthew S.                            1.90            3,410.50    015       60951661
       REVIEW FILINGS (1.4); REVIEW RELATED ISSUES (.5).


   01/14/21  Carlson, Clifford W.                  0.20                    220.00    015       60991033
       EMAILS REGARDING INQUIRIES FROM PREDECESSORS.


   01/14/21  James, Hillarie                      1.70      1,521.50                 015       61045083
       TELEPHONE CONFERENCE WITH WEIL TEAM REGARDING CASE STRATEGY.


   01/15/21   Liou, Jessica                           0.50           662.50        015         60952681
       CONFER WITH A. PEREZ RE: OPEN ISSUES AND NEXT STEPS (.3); CONFER WITH C. CARLSON RE: NEXT
       STEPS AND OPEN ISSUES (.2).


   01/15/21  Barr, Matthew S.                         3.00       5,385.00          015        60951022
       CALL WITH TEAM REGARDING OPEN ISSUES (.5); REVIEW NEXT STEPS (.8); PARTICIPATE ON TEAM CALL
       REGARDING SAME (.2); REVIEW DOCUMENT ISSUES (.5); REVIEW DOCUMENTS (.9); AND
       CORRESPONDENCE WITH TEAM REGARDING SAME (.1).


   01/15/21   Conley, Brendan C.                        0.50      550.00             015       60937157
       PARTICIPATE ON STATUS CALL (.4); DISCUSS WITH V. BONHAMGREGORY (.1).


   01/16/21  Barr, Matthew S.                     0.80         1,436.00        015             60951232
       CORRESPONDENCE WITH TEAM REGARDING OPEN ISSUES (.2); REVIEW OPEN ISSUES (.6).


   01/18/21  Barr, Matthew S.                              0.70          1,256.50    015       61181749
       REVIEW ISSUES REGARDING NEXT STEPS.


   01/18/21   Carlson, Clifford W.                   0.80         880.00        015       61045970
       PARTICIPATE ON ADVISORS COORDINATION CALL (0.4); EMAILS WITH COUNSEL TO PREDECESSORS (.2);
       EMAILS WITH LITIGATION TEAM REGARDING SAME (.2).


   01/19/21     Barr, Matthew S.                           0.20            359.00    015       61182044
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        CORRESPONDENCE WITH TEAM REGARDING OPEN ISSUES.


   01/19/21   Carlson, Clifford W.                   0.70      770.00                015          61045044
       PARTICIPATE ON CALL WITH J. GEORGE REGARDING VARIOUS WORKSTREAMS.


   01/20/21  Liou, Jessica                           0.80      1,060.00       015       60969911
       CONFER WITH WEIL, HL AND ALIX PARTNERS RE: STATUS UPDATE, WORKSTREAMS AND NEXT STEPS.


   01/20/21   Peca, Samuel C.                              0.60            735.00    015          61182261
       PARTICIPATE ON ADVISORS UPDATE CALL.


   01/20/21  Barr, Matthew S.                          2.10         3,769.50       015            61182270
       REVIEW OPEN ISSUES (.6); PARTICIPATE ON ALL HANDS CALL (1.0); ATTEND TO NEXT STEPS (.5).


   01/20/21  Hufendick, Jason                     0.80        788.00                 015          60965420
       ATTEND WEEKLY ALL HANDS CALL WITH CLIENT AND HOULIHAN.


   01/20/21   Carlson, Clifford W.                     1.30      1,430.00          015         61043774
       PARTICIPATE ON CALL WITH A. PEREZ AND J. LIOU REGARDING VARIOUS ISSUES (.5); PARTICIPATE ON
       ALL HANDS CALL (.8).


   01/20/21   George, Jason                          0.80       616.00        015       60979295
       PARTICIPATE ON ALL ADVISORS CALL WITH CLIENT AND HOULIHAN AND ALIX PARTNERS TEAMS.


   01/20/21  Wheeler, Emma                                 0.70            441.00    015          60971378
       ATTEND WEEKLY ALL HANDS CALL.


   01/20/21  Marzocca, Anthony P.                          0.80            788.00    015          61069844
       CALL WITH WEIL TEAM AND ALL HANDS.


   01/21/21     Liou, Jessica                              0.80          1,060.00    015          60980189
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        CONFER WITH D. CROWLEY, M. HANEY, C. CARLSON RE: WORKSTREAMS AND UPDATES (.5); REVIEW
        AND RESPOND TO EMAILS (.3).


   01/21/21   Carlson, Clifford W.                    1.50       1,650.00        015          61043418
       PARTICIPATE ON CALL WITH RLI AND FIELDWOOD (.5); PARTICIPATE ON CALL WITH COMPANY
       REGARDING ONSHORE PROPERTIES (.7); CALL WITH A. PEREZ TO DISCUSS VARIOUS MATTERS (.3).


   01/22/21   Liou, Jessica                            1.20      1,590.00         015       61002512
       CONFER WITH DPW, R/I, HL, WEIL, RE: COORDINATION OF WORKSTREAMS (.3); CONFER WITH C.
       CARLSON AND D. CROWLEY RE: VARIOUS WORKSTREAMS (.4); CONFER WITH C. CARLSON RE: NEXT
       STEPS, WORKSTREAMS AND OPEN ISSUES (.5).


   01/22/21   Carlson, Clifford W.                   0.40       440.00               015        61046421
       PARTICIPATE ON CALL WITH J. GEORGE REGARDING VARIOUS MATTERS.


   01/23/21  Genender, Paul R.                    1.20     1,620.00       015                   60990025
       WORK ON DEMAND LETTER TO PREDECESSOR AND REVIEW OTHER RELATED DOCUMENTS.


   01/25/21  Perez, Alfredo R.                   0.50       797.50        015                   60996809
       CONFERENCE CALL WITH MANAGEMENT AND WEIL TEAMS REGARDING DISPUTE INVOLVING
       GENOVESA WELL.


   01/25/21   Barr, Matthew S.                           1.50      2,692.50          015        61002396
       REVIEW OPEN ISSUES (.7); AND NEXT STEPS (.5); CORRESPOND WITH TEAM (.2); AND CLIENT REGARDING
       SAME (.1).


   01/25/21   Budovalcev-Nicholas, Daniel R.        0.30                   418.50    015        61001433
       PARTICIPATE ON WIP CALL WITH FIELDWOOD ADVISORS.


   01/25/21  Carlson, Clifford W.                   1.20        1,320.00       015              61042417
       REVIEW MOTION TO COMPEL PERFORMANCE (.4); CALL WITH E. CHOI REGARDING SAME (.8).
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   01/26/21   Liou, Jessica                             1.70        2,252.50         015          61046028
       CONFER WITH C. CARLSON RE: NEXT STEPS AND OPEN ISSUES (.3); CONFER WITH M. DANE, T. LAMME,
       M. BARR, C. CARLSON RE: NEXT STEPS, UPDATES AND OPEN WORKSTREAMS (.5); CONFER WITH DPW
       RE: NEXT STEPS AND TIMING (.4); CONFER WITH C. GRING AT ALIX PARTNERS (.2); EMAILS WITH J.
       GEORGE AND C. CARLSON RE: WIP, OPEN ISSUES, AND WORKSTREAMS (.3).


   01/26/21  Barr, Matthew S.                              1.00          1,795.00    015          61206276
       CORRESPOND WITH DPW REGARDING OPEN ISSUES.


   01/26/21  Carlson, Clifford W.                  0.30       330.00                 015          61041284
       MULTIPLE EMAILS WITH WEIL TEAM REGARDING VARIOUS WORKSTREAMS.


   01/26/21  James, Hillarie                      1.50       1,342.50                015          61058632
       TELEPHONE CONFERENCES WITH ADVISOR TEAMS RE: CASE STRATEGY.


   01/27/21  Liou, Jessica                           1.30          1,722.50        015        61046118
       CONFER WITH C. CARLSON RE: NEXT STEPS AND OPEN ISSUES (.5); CONFER WITH D. CROWLEY RE:
       STATUS UPDATES (.8).


   01/27/21  Genender, Paul R.                       0.20                  270.00    015          61206584
       CALL WITH M. DANE AND T. LAMME RE: STATUS AND STRATEGY.


   01/27/21   Margolis, Steven M.                  0.50        612.50                015          61015133
       PARTICIPATE ON FWE WEEKLY ADVISORS CALL AND REVIEW WIP.


   01/27/21   Marzocca, Anthony P.                         0.30            295.50    015          61062194
       PARTICIPATE ON ALL HANDS CALL.


   01/28/21     Liou, Jessica                              4.00          5,300.00    015          61045999
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        CONFER WITH M. DANE RE: OPEN ISSUES, STATUS, NEXT STEPS (.8); CONFER WITH M. DANE, T. LAMME,
        HL, WEIL, AND DIRECTORS RE: UPDATES, VALUATION, STRATEGY, NEXT STEPS (2.0); CONFER WITH M.
        BARR RE: STATUS AND ISSUES (.3); WEIL AND FIELDWOOD TEAM DEBRIEF (.4); CONFER WITH DPW RE:
        NEXT STEPS, TIMING, ETC. (.5).


   01/28/21  Barr, Matthew S.                                0.40            718.00    015      61206585
       CALL WITH TEAM REGARDING OPEN ISSUES.


   01/28/21   Carlson, Clifford W.                  2.50      2,750.00         015         61040007
       PARTICIPATE ON COORDINATION CALL WITH ALIX PARTNERS AND HOULIHAN (1.0); PARTICIPATE ON
       CALL WITH HCC AND THE COMPANY REGARDING RESTRUCTURING (.8); CALL WITH J. LIOU REGARDING
       VARIOUS WORKSTREAMS (.7).


   01/29/21  Liou, Jessica                           0.40         530.00        015             61061017
       CONFER WITH D. CROWLEY AND C. GRING RE: NEXT STEPS, TIMING AND OPEN ISSUES.


   01/29/21  Barr, Matthew S.                        2.00      3,590.00       015          61046952
       REVIEW AND RESPOND TO CORRESPONDENCE REGARDING OPEN ISSUES (.7); AND CALENDAR (.2);
       REVIEW OPEN DOCUMENT ISSUES (.8); AND CORRESPOND WITH TEAM REGARDING SAME (.3).


    SUBTOTAL TASK 015 - General Case Strategy               97.80       $127,584.50
    (Including Team and Client Calls):

   01/04/21  Perez, Alfredo R.                               1.10          1,754.50    016      61163240
       ATTEND HEARING ON EXCLUSIVITY.


   01/04/21  Liou, Jessica                                   1.00          1,325.00    016      61163253
       ATTEND EXCLUSIVITY HEARING.


   01/04/21  Barr, Matthew S.                                0.80          1,436.00    016      61163341
       SECTION 1121 HEARING.


   01/04/21     Carlson, Clifford W.                         2.20          2,420.00    016      60913491
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        PREPARE FOR HEARING MOTION TO EXTEND EXCLUSIVITY (1.1); PARTICIPATE AT HEARING ON MOTION
        TO EXTEND EXCLUSIVITY (1.1).


   01/04/21  Wheeler, Emma                                 1.00            630.00    016      60877469
       ATTEND HEARING ON EXCLUSIVITY MOTION.


   01/04/21  Choi, Erin Marie                      1.00      1,100.00     016        61163372
       ATTEND HEARING ON EXCLUSIVITY AND SEND FOLLOW-UP CORRESPONDENCE REGARDING SAME.


   01/04/21  James, Hillarie                               1.00            895.00    016      61163379
       ATTEND HEARING ON EXCLUSIVITY MOTION.


   01/04/21  Marzocca, Anthony P.                          1.10          1,083.50    016      61062212
       HEARING ON EXCLUSIVITY MOTION.


   01/04/21  Greene, Anthony L.                            0.70            728.00    016      61163393
       ATTEND EXCLUSIVITY HEARING.


   01/12/21  Olvera, Rene A.                         1.80          729.00       016           61080702
       PREPARE EMAIL TO C. CARLSON ATTACHING AUDIO FILE OF JANUARY 11, 2021 HEARING (.3); DRAFT
       AND REVISE WITNESS AND EXHIBIT LIST FOR JANUARY 15, 2021 HEARING (1.5).


   01/20/21  Olvera, Rene A.                        0.30          121.50         016          61088457
       EMAILS WITH T. SIERRA REGARDING WITNESS AND EXHIBIT LIST FOR JANUARY 25, 2021.


   01/22/21  Altman-DeSole, Jacob                    2.00                  520.00    016      61106879
       ORDER TRANSCRIPT FOR HEARING ON JANUARY 21, 2021.


   01/23/21   Perez, Alfredo R.                      4.30         6,858.50    016       60991316
       CONFERENCE CALLS WITH WEIL TEAM REGARDING HEARING PREPARATION (1.7); REVIEW DOCUMENTS,
       FILINGS AND CASE LAW IN PREPARATION FOR THE HEARING (2.6).
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   01/24/21  Olvera, Rene A.                           1.00        405.00          016    61104036
       PREPARE AND ELECTRONICALLY FILE (I) AMENDED WITNESS AND EXHIBIT LIST (INCLUDING EXHIBITS)
       FOR HEARING ON JANUARY 25, 2021, AND (II) AGENDA FOR JANUARY 25, 2021 HEARING.


   01/25/21  Perez, Alfredo R.                      4.70      7,496.50          016        60996680
       PREPARE FOR AND PARTICIPATE ON HEARING ON LLOG'S MOTIONS (4.5); FOLLOW-UP CALL WITH M.
       DANE AND M. BARR REGARDING NEXT STEPS (.2).


   01/25/21  Liou, Jessica                              3.00      3,975.00         016         61002523
       CONFER WITH M. DANE, A. PEREZ, AND WEIL TEAM RE: LLOG HEARING PREP (.3); HEARING PREP (.2);
       ATTEND LLOG HEARING (1.9); TEAM DEBRIEF (.3); RECONVENED HEARING ON LLOG ISSUES (.3).


   01/25/21   Barr, Matthew S.                           3.50      6,282.50          016       61201311
       PREP FOR HEARING (.7); ATTEND LLOG HEARING (2.5); FOLLOW UP WITH TEAM (.3).


   01/25/21  Smith, Leslie S.                          3.30       3,630.00       016        61041509
       ATTEND PREPARATION CONFERENCE CALL FOR LLOG HEARING (0.3); REVIEW MATERIALS (0.3); ATTEND
       HEARING ON LLOG MOTIONS (1.9); ATTEND BREAK CALL (0.3); ATTEND HEARING ON LLOG MOTIONS
       RESUMED (0.3); TELEPHONE CALL WITH K. DOODY (0.1); CORRESPOND WITH M. MALONEY AND K.
       DOODY (0.1).


   01/25/21  Carlson, Clifford W.                      4.30       4,730.00      016         61042349
       PREPARE FOR HEARING ON LLOG'S MOTIONS (1.5); PARTICIPATE AT HEARING REGARDING SAME (2.8).


   01/25/21  George, Jason                          1.90      1,463.00      016                61003945
       ATTEND HEARING ON LLOG'S MOTIONS FOR RELIEF FROM STAY AND ADEQUATE PROTECTION.


   01/25/21  Choi, Erin Marie                       2.90       3,190.00      016               61204777
       ATTEND HEARING ON LLOG'S MOTIONS TO LIFT STAY AND FOR ADEQUATE PROTECTION.


   01/25/21  James, Hillarie                               2.00          1,790.00    016       61059052
       ATTEND LLOG HEARING.
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   01/25/21  Greene, Anthony L.                            0.90            936.00    016      61201727
       ATTEND LLOG HEARING.


   01/25/21  Sierra, Tristan M.                         7.30       5,621.00        016        61044232
       PREPARE EXHIBITS FOR HEARINGS ON LLOG LIFT STAY MOTION AND MOTION FOR ADEQUATE
       PROTECTION (1.7); ATTEND HEARING (2.0); DRAFT PROPOSED ORDERS FOR SAME (2.3); ATTEND CALL
       WITH CLIENT RE: PREPARATION FOR JAN. 25, 2021 HEARINGS RE: LLOG MOTION TO LIFT STAY AND
       MOTION FOR ADEQUATE PROTECTION (.5); ATTEND INTERNAL CALL RE: LOGISTICS FOR HEARING (.5);
       ATTEND STRATEGY CALL WITH TEAM BETWEEN SAME HEARINGS (.3).


   01/25/21   Altman-DeSole, Jacob                 0.50        130.00        016        61107573
       FILE AND COORDINATE TRANSCRIPT ORDER FORM RE SUPERIOR ENERGY SERVICES JANUARY 21
       HEARING.


   01/27/21   Olvera, Rene A.                          1.50         607.50         016       61113538
       FINALIZE AND ELECTRONICALLY FILE (I) MOTION TO COMPEL, (II) CHOI DECLARATION IN SUPPORT OF
       MOTION TO COMPEL (INCLUDING EXHIBITS), AND (III) MOTION TO SEAL EXHIBITS IN CONNECTION
       WITH CHOI DECLARATION.


   01/27/21   Altman-DeSole, Jacob                   1.50       390.00        016        61107376
       ASSIST WITH PREPARATION AND FILE TRANSCRIPT ORDER FORM RE SUPERIOR ENERGY SERVICES
       HEARING ON JANUARY 21, 2021.


   01/28/21   Perez, Alfredo R.                    1.00                  1,595.00    016      61206423
       PARTICIPATE ON STATUS CONFERENCE AND SIDE-BARS.


   01/28/21  Liou, Jessica                           0.90     1,192.50      016       61046096
       ATTEND PREDECESSOR EMERGENCY HEARING (.3); ATTEND PREDECESSOR FOLLOW UP EMERGENCY
       HEARING (.3); WEIL AND FIELDWOOD HEARING DEBRIEF (.3).


   01/28/21     Barr, Matthew S.                           1.40          2,513.00    016      61206587
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        CALL WITH TEAM REGARDING STATUS CONFERENCE (.4); CALL WITH UST REGARDING CONFERENCE (.2);
        STATUS CONFERENCES (.8).


   01/28/21  Genender, Paul R.                      1.30       1,755.00      016        61206425
       STATUS CONFERENCE ON EMERGENCY MOTION (.7); CALLS WITH CLIENT TEAM DURING BREAK OF
       STATUS HEARING AND AFTER SAME (.6).


   01/28/21   Carlson, Clifford W.                   1.60      1,760.00      016        61039898
       PREPARE FOR STATUS CONFERENCE REGARDING EMERGENCY MOTION (.5); CALLS WITH CLIENT
       REGARDING SAME (.5); PARTICIPATE ON STATUS CONFERENCE REGARDING EMERGENCY MOTION (.3);
       PARTICIPATE ON RESUMED STATUS CONFERENCE ON EMERGENCY MOTION (.3).


   01/28/21  Simmons, Kevin Michael                        0.90            805.50    016    61206429
       STATUS HEARING WITH COURT.


   01/28/21  Smith, Samantha Nicole                  0.90       567.00               016    61026629
       ATTEND STATUS CONFERENCE (.6); REVIEW STATUS CONFERENCE NOTES (.3).


   01/28/21  Wheeler, Emma                        0.50                     315.00    016    61033542
       ATTEND PREDECESSOR MOTION TO COMPEL STATUS HEARING.


   01/28/21  Choi, Erin Marie                      6.10         6,710.00       016        61027094
       PREPARE AND SERVE NOTICE OF STATUS CONFERENCE (0.5); PREPARE FOR AND ATTEND PREDECESSOR
       STATUS HEARING AND FOLLOW-UP REGARDING SAME (5.6).


   01/28/21     James, Hillarie                       2.00    1,790.00       016         61046553
       DRAFT AND COORDINATE FILING OF NOTICE OF STATUS CONFERENCE AND AFFIDAVIT OF SERVICE
       (1.5); ATTEND PREDECESSOR STATUS CONFERENCE (0.5).


   01/28/21     Olvera, Rene A.                            3.30          1,336.50    016    61113533
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        DRAFT NOTICE OF STATUS CONFERENCE (.8); REVISE AND ELECTRONICALLY FILE NOTICE OF STATUS
        CONFERENCE (.5); PREPARE AND ELECTRONICALLY FILE (I) STIPULATION TO LIFT STAY, AND (II)
        AFFIDAVIT OF SERVICE REGARDING MOTION TO COMPEL (1.0); PREPARE COVERSHEET TO SEALED
        DOCUMENTS AND COORDINATE SUBMISSION OF UNDER SEAL DOCUMENTS REGARDING MOTION TO
        COMPEL MATERIALS (1.0).


   01/28/21  Morris, Sharron                         0.70       283.50         016           61206426
       ATTEND HEARING (.5); EMAILS WITH TEAM REGARDING FOLLOW-UP FROM SAME (.2).


   01/29/21   Olvera, Rene A.                         1.00        405.00        016        61114177
       REVISE AND ELECTRONICALLY FILE (I) STIPULATION EXTENDING UST OBJECTION DEADLINE FOR RYAN
       APPLICATION AND MOTION TO SEAL, AND (II) NOTICE OF ADJOURNMENT OF DISCLOSURE STATEMENT
       HEARING; AND CORRECTED VERSION OF NOTICE OF ADJOURNMENT OF DISCLOSURE STATEMENT
       HEARING.


    SUBTOTAL TASK 016 - Hearings and Court                 78.20        $81,275.50
    Matters:

   01/04/21  Kronman, Ariel                            0.40                 520.00    017    60845133
       REVIEW DOCUMENT ISDAS (0.3); EMAILS RE: HEDGES (0.1).


   01/05/21 Kronman, Ariel                             0.80         1,040.00          017    60865518
       DOCUMENT REVIEW (0.3); CONF. CALL RE: PLAN FOR HEDGES (0.5).


   01/11/21  Kronman, Ariel                                 0.30            390.00    017    60903762
       REVIEW DOCUMENTS RE: HEDGES.


   01/12/21   Kronman, Ariel                                0.20            260.00    017    60917951
       EMAIL REVIEW RE: HEDGES.


   01/15/21  Kronman, Ariel                                 0.30            390.00    017    60942636
       REVIEW CORRESPONDENCE RE: HEDGES.
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   01/22/21  Kronman, Ariel                                 0.30            390.00    017    60979340
       REVIEW CORRESPONDENCE RE: HEDGES.


    SUBTOTAL TASK 017 - Hedges and Related                  2.30         $2,990.00
    Matters:

   01/01/21  Liou, Jessica                            1.10       1,457.50        018         60859882
       REVIEW AND REVISE SURETY OBJECTION (.8); REVIEW AND REVISE SURETY REPLY (.3).


   01/04/21  Perez, Alfredo R.                     0.20                     319.00    018    61163241
       TELEPHONE CONFERENCE WITH E. CHOI REGARDING SURETIES.


   01/04/21    Swenson, Robert M.                     1.90       2,185.00        018        60860855
       CONFER WITH C. CARLSON AND E. CHOI REGARDING SURETY DISPUTES AND UPCOMING WORK
       STREAMS (1.1); DRAFT AND REVISE RESPONSES AND OBJECTIONS TO RULE 2004 REQUESTS AND CONFER
       WITH J. MASTANDO AND E. CHOI REGARDING SAME (0.8).


   01/04/21  Carlson, Clifford W.                  0.70                     770.00    018    60913455
       MULTIPLE EMAILS REGARDING SURETY DILIGENCE REQUESTS.


   01/04/21   Choi, Erin Marie                         4.10     4,510.00         018         60851862
       ATTENTION TO RULE 2004 REQUESTS FROM SURETIES AND CONFERENCES WITH TEAM REGARDING
       SAME (2.3); CALL WITH C. CARLSON AND R. SWENSON REGARDING CASE STATUS AND DISCOVERY
       STRATEGY (1.4); FOLLOW-UP CALL WITH R. SWENSON REGARDING SAME (0.2); CALL WITH A. PEREZ
       REGARDING SURETY DOCUMENT REQUESTS (0.2).


   01/04/21  Ting, Lara                              0.90      351.00      018           61046361
       COMMUNICATION WITH CASE TEAM RE: PRODUCTION OF DOCUMENTS TO VARIOUS PARTIES (.6);
       UPDATE ACCESS LIST TO INCLUDE EXTERNAL RECIPIENTS (.3).


   01/05/21     Perez, Alfredo R.                           1.60          2,552.00    018    60873217
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        CONFERENCE CALL WITH ADVISORS AND WEIL TEAM REGARDING SURETY ISSUES (.8); TELEPHONE
        CONFERENCES WITH C. CARLSON REGARDING FORM OF ORDER AND OPEN ISSUES (.3); VARIOUS
        COMMUNICATIONS WITH J. BROWN REGARDING OPEN ISSUES WITH SURETIES (.2); VARIOUS
        COMMUNICATIONS WITH COMPANY REGARDING SURETY ISSUES (.3).


   01/05/21  Liou, Jessica                             1.60        2,120.00       018      60868889
       CONFER WITH WEIL RX AND LIT TEAMS, HL AND ALIX PARTNERS RE: SURETY DISCOVERY ISSUES (.8);
       CONFER WITH M. DANE, T. LAMME, E. CHOI, C. CARLSON, HL AND ALIX PARTNERS RE: SURETY
       INFORMATION AND NEXT STEPS (.8).


   01/05/21   Swenson, Robert M.                    1.60       1,840.00       018        61163511
       PARTICIPATE ON CONFERENCE CALL REGARDING SURETY WORK STREAMS AND COORDINATION
       AMONG ADVISORS AND ATTORNEYS (1.1); DRAFT AND REVISE RESPONSES AND OBJECTIONS TO RULE
       2004 REQUESTS (0.5).


   01/05/21   Carlson, Clifford W.                   2.60       2,860.00         018         60913596
       PARTICIPATE ON CALL WITH ADVISORS REGARDING SURETY ISSUES (.5); PARTICIPATE ON CALL WITH
       CLIENT REGARDING SAME (1.0); MULTIPLE CALLS AND EMAILS REGARDING DILIGENCE ITEMS (.6);
       REVIEW RESPONSE TO DISCOVERY REQUEST AND EMAILS REGARDING SAME (.5).


   01/05/21  Choi, Erin Marie                       2.00        2,200.00     018         61163628
       ATTEND WEIL, HL, AND ALIX PARTNERS COORDINATION CALL REGARDING SURETY REQUESTS (1.0);
       ATTEND CALL WITH CLIENT REGARDING SURETY APPROACH (1.0).


   01/05/21  Marzocca, Anthony P.                       1.00        985.00        018          61062183
       CALL WITH A. PEREZ, C. CARLSON, J. LIOU AND OTHERS RE: COORDINATION ON SURETIES ISSUES.


   01/05/21  Sierra, Tristan M.                     1.30         1,001.00       018           60928583
       REVIEW BONDS (.3); REVIEW INDEMNITY AGREEMENTS (.3); UPDATE BOND MATRIX RE: SAME (.7).


   01/06/21  Liou, Jessica                             0.50        662.50        018        60873964
       CONFER WITH E. CHOI, M. HANEY, D. CROWLEY, C. CARLSON RE: SURETY STRATEGY, DISCOVERY AND
       APPROACH.
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   01/06/21  Carlson, Clifford W.                      2.20      2,420.00        018        60913766
       EMAILS REGARDING SURETY ISSUES (.5); PARTICIPATE ON CALL WITH J. GEORGE REGARDING SURETY
       RESEARCH (.5); PARTICIPATE ON CALL WITH LITIGATION TEAM REGARDING SURETY DISCOVERY (.6);
       MULTIPLE EMAILS WITH COMPANY REGARDING SURETY ISSUES (.6).


   01/06/21  Choi, Erin Marie                      0.50                    550.00    018      60872084
       CALL WITH WEIL AND HL TEAMS REGARDING SURETY CALL.


   01/07/21  Carlson, Clifford W.                      1.40      1,540.00       018           60913826
       CALL WITH COMPANY REGARDING SURETY ISSUES (.5); MULTIPLE EMAILS WITH DAVIS POLK
       REGARDING SURETIES (.2); PARTICIPATE ON CALL WITH DAVIS POLK REGARDING SURETIES (.3); EMAILS
       WITH SURETY'S COUNSEL (.4).


   01/09/21  Carlson, Clifford W.                   0.50        550.00               018      60953545
       MULTIPLE EMAILS WITH SURETIES' COUNSEL REGARDING DILIGENCE REQUESTS.


   01/10/21   Perez, Alfredo R.                            0.30            478.50    018      60888503
       PARTICIPATE ON PRE-CALL BEFORE CHIRON CALL.


   01/10/21   Swenson, Robert M.                    0.30       345.00        018        60899710
       PARTICIPATE ON CONFERENCE CALL TO DISCUSS STRATEGY AND RESPONSES TO SURETY GROUP.


   01/10/21  Choi, Erin Marie                      0.60         660.00        018             60888570
       PREPARE FOR AND ATTEND CALL WITH WEIL AND HL TEAMS IN PREPARATION FOR CALL WITH
       CHIRON.


   01/11/21  Perez, Alfredo R.                    0.40       638.00         018       60909425
       CONFERENCE CALL WITH SURETY AND COUNSEL REGARDING OPEN ISSUES ON SURETY BONDS.


   01/11/21     Liou, Jessica                              1.60          2,120.00    018      60928689
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        CONFER WITH SURETY ADVISOR, HL, WEIL, RE: SURETY DOCUMENT PRODUCTION AND DILIGENCE
        REQUESTS (.3); REVIEW SURETY MATERIALS (.5); CONFER WITH STROOCK AND CONWAY, WEIL AND HL
        AND ALIX PARTNERS RE: SURETY ISSUES (.8).


   01/11/21  Carlson, Clifford W.                   1.30       1,430.00          018        60992773
       CALLS AND EMAILS WITH E. CHOI REGARDING VARIOUS LITIGATION MATTERS (0.9); PARTICIPATE ON
       CALL WITH SURETY'S ADVISORS (0.4).


   01/11/21   George, Jason                                0.10             77.00    018     60913718
       EMAIL J. LIOU RE: SURETY RESEARCH.


   01/11/21  Marzocca, Anthony P.                        0.40       394.00         018       61062184
       CALL WITH A. PEREZ, C. CARLSON, E. CHOI, HL, AND SURETY ADVISOR RE: PRODUCTION OF
       DOCUMENTS.


   01/12/21  Liou, Jessica                           0.90      1,192.50       018        60928706
       CONFER WITH J. GEORGE AND C. CARLSON RE: TREATMENT OF SURETY AND PREDECESSOR CLAIMS.


   01/12/21   Carlson, Clifford W.                   1.90        2,090.00       018        60991237
       PARTICIPATE ON CALL REGARDING SURETY ISSUES WITH J. LIOU AND J. GEORGE AND FOLLOW-UP
       DISCUSSION REGARDING SAME (1.3); FOLLOW UP CALL WITH J. GEORGE REGARDING SAME (.3);
       MULTIPLE CALLS REGARDING SURETY ISSUES (0.3).


   01/13/21  Perez, Alfredo R.                       0.70        1,116.50      018           60928554
       COMMUNICATIONS WITH M. DANE REGARDING SURETY BONDS (0.1); REVIEW DOCUMENTS REGARDING
       INSURANCE ISSUES (.3); TELEPHONE CONFERENCE WITH A. FLIMAN REGARDING D&O ISSUES (.3).


   01/13/21  Carlson, Clifford W.                  0.50        550.00                018     60991261
       EMAILS WITH LITIGATION TEAM REGARDING REQUESTS FOR PRODUCTION.


   01/13/21   George, Jason                          0.10                   77.00    018     60942689
       EMAIL R. MILLER RE: RESPONDING TO DISCOVERY REQUESTS.
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   01/13/21  Choi, Erin Marie                          4.40     4,840.00         018        60924070
       CONFERENCE WITH K. SIMMONS REGARDING RULE 2004 REQUESTS (0.5); PREPARATION FOR RULE 2004
       WORK SESSION WITH CLIENT (2.6); ATTENTION TO PRODUCTION OF EMAILS IN RESPONSE TO USSIC
       DOCUMENT REQUESTS AND CONFERENCES WITH R. MILLER REGARDING SAME (1.3).


   01/13/21     Miller, Ronald Lee                     2.00     2,080.00    018         60928681
       STRATEGIZE COLLECTION AND REVIEW OF COMMUNICATIONS RESPONSIVE TO USSIC 2004 REQUESTS
       (1.0); CONFERENCE WITH E. CHOI REGARDING CASE STRATEGY AND DOCUMENT
       COLLECTION/PRODUCTION (1.0).


   01/13/21 Fliman, Ariel                          2.40      2,580.00      018              60923227
       ANALYZE AND DISCUSS D&O INSURANCE IMPACT OF NON-PROSECUTION AGREEMENT.


   01/14/21  Carlson, Clifford W.                          0.90            990.00    018    60991007
       MULTIPLE EMAILS REGARDING SURETY ISSUES.


   01/14/21  Choi, Erin Marie                       1.10      1,210.00         018       60933541
       CALL WITH R. SWENSON REGARDING LITIGATION WORK STREAMS (0.4); CALL WITH G. GALLOWAY
       REGARDING DOCUMENT PRODUCTION (0.4); CALL WITH A. MARZOCCA REGARDING PROTECTIVE ORDER
       TRACKING (0.3).


   01/14/21   Miller, Ronald Lee                   4.30                  4,472.00    018    60937039
       FACILITATE RULE 2004 DOCUMENT COLLECTION AND REVIEW.


   01/14/21  Marzocca, Anthony P.                   0.40       394.00        018            61070032
       CORRESPONDENCE WITH E. CHOI RE: PROTECTIVE ORDER AND PRODUCTION OF MATERIALS TO
       SURETIES.


   01/14/21  Sierra, Tristan M.                      1.10                  847.00    018    60979005
       REVIEW BONDS (.5); UPDATE BOND MATRIX RE: SAME (.6).


   01/14/21     Jewett, Laura                              1.00            390.00    018    60931044
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        UPLOAD STORM DAMAGE DOCUMENTS FOR REVIEW AND EVENTUAL PRODUCTION.


   01/14/21   Ting, Lara                            0.50                   195.00    018     61046371
       ASSIST CASE TEAM RE: GATHERING PRODUCTION STATISTICS.


   01/14/21  Mo, Suihua                                    1.50            540.00    018     60957492
       PREPARE DOCUMENTS FOR ATTORNEY REVIEW.


   01/15/21  Moore, Rodney L.                    0.30        448.50                  018     61185005
       TELEPHONE CONFERENCE CALL REGARDING INSURANCE MATTERS.


   01/15/21   Peca, Samuel C.                              0.30            367.50    018     61185002
       PARTICIPATE ON INSURANCE CALL.


   01/15/21  Swenson, Robert M.                   0.70         805.00         018      61293254
       REVIEW AND ANALYZE DOCUMENTS FOR PRODUCTION TO USSIC (0.3); CONFER WITH E. CHOI
       CONCERNING RESPONSES AND OBJECTIONS TO DOCUMENT REQUESTS, REVIEW PROTOCOL AND
       DOCUMENT VENDORS (0.4).


   01/15/21  Delaney, Scott Michael                0.40        460.00       018              60948144
       CONFERENCE WITH FIELDWOOD, WEIL AND DAVIS POLK TEAMS RE: INSURANCE MATTERS.


   01/15/21  Carlson, Clifford W.                      1.20      1,320.00         018       60990774
       MULTIPLE EMAILS REGARDING SURETY ISSUES (0.7); PARTICIPATE ON CALL WITH E. CHOI REGARDING
       PROTECTIVE ORDER (0.5).


   01/15/21  Simmons, Kevin Michael                  6.00        5,370.00        018         60947798
       DRAFT REQUESTS FOR PRODUCTION (4.1); DRAFT TIMELINE OF KEY INFLECTION POINTS (1.9).


   01/15/21     Miller, Ronald Lee                         3.00          3,120.00    018     60937050
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        PREPARE RULE 2004 PRODUCTION TO USSIC (1.5); FACILITATE CORRESPONDENCE COLLECTION FOR
        REVIEW AND PRODUCTION (1.5).


   01/15/21  Sierra, Tristan M.                      4.10                3,157.00    018     60978982
       REVIEW BONDS (2.0); UPDATE BOND MATRIX RE: SAME (2.1).


   01/15/21  Jewett, Laura                        1.70         663.00    018       60938253
       PREPARE DOCUMENTS FOR PRODUCTION AND COMMUNICATE WITH ATTORNEY REGARDING SAME;
       QUALITY CHECK PRODUCTION DATA AND RELEASE TO CASE TEAM.


   01/15/21  Mo, Suihua                                    1.00            360.00    018     60957609
       PREPARE DOCUMENTS FOR PRODUCTION.


   01/16/21   Simmons, Kevin Michael                2.30          2,058.50      018          60947769
       REVISE REQUESTS FOR PRODUCTION ACCORDING TO E. CHOI'S COMMENTS (1.3); DRAFT LIST OF
       POTENTIAL DEPONENTS AND TOPICS TO DISCUSS WITH EACH (1.0).


   01/16/21  Choi, Erin Marie                              0.10            110.00    018     60942808
       ATTENTION TO RULE 2004 REQUESTS.


   01/17/21  Choi, Erin Marie                        0.70       770.00         018         60942847
       CONTINUE TO DRAFT RULE 2004 DOCUMENT REQUESTS AND SEND THE SAME TO P. GENENDER (0.6);
       REVIEW AND SEND DRAFT LIST OF POTENTIAL RULE 2004 DEPONENTS AND TOPICS TO P. GENENDER (0.1).


   01/18/21  Simmons, Kevin Michael                        1.20          1,074.00    018     60947553
       REVIEW NEW DOCUMENTS FROM CLIENT.


   01/18/21  Miller, Ronald Lee                   2.10       2,184.00        018             60950670
       CONTINUE FACILITATING DOCUMENT PRODUCTION RESPONSIVE TO USSIC 2004 REQUESTS.


   01/18/21     Sierra, Tristan M.                         3.60          2,772.00    018     60979012
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        REVIEW BONDS (1); REVIEW INDEMNITY AGREEMENTS (1.5); UPDATE BOND MATRIX RE: SAME (1.1).


   01/18/21   Jewett, Laura                           2.00       780.00        018        60948084
       LOAD WEIL EMAILS INTO DATABASE FOR REVIEW PER ATTORNEY REQUEST (1.0); PREPARE NEW
       CODING PANE FOR REVIEW (0.7); QUALITY CHECK RECORDS AND RELEASE TO CASE TEAM FOR REVIEW
       (0.3).


   01/19/21  Perez, Alfredo R.                    0.10        159.50       018                60961335
       CONFERENCE CALL WITH HOULIHAN AND ALIX PARTNERS TEAMS REGARDING SURETY ISSUES.


   01/19/21  Liou, Jessica                          0.40                   530.00    018      60962517
       REVIEW EMAILS RESPONSIVE TO RULE 2004 REQUESTS.


   01/19/21   Carlson, Clifford W.                    2.00       2,200.00          018        61045196
       PARTICIPATE ON CALL WITH E. CHOI REGARDING LITIGATION ISSUES (.7); PARTICIPATE ON CALLS AND
       EMAILS REGARDING POTENTIAL LITIGATION WITH CONTRACT COUNTERPARTY (.7); MULTIPLE EMAILS
       WITH SURETIES' COUNSEL (0.6).


   01/19/21   Simmons, Kevin Michael                3.30      2,953.50            018     60956864
       REVIEW CALL NOTES FROM CLIENT CALL WITH P. GENENDER AND E. CHOI (0.3); REVIEW LSPS
       OPERATING AGREEMENT, COMMENT ON PROVISIONS N. VAUGHN HIGHLIGHTED (2.6); CALL WITH E. CHOI
       ON LSPS PROVISIONS (0.4).


   01/19/21  George, Jason                         0.10        77.00                 018      60960879
       CORRESPONDENCE WITH LITIGATION TEAM RE: DISCOVERY REQUESTS.


   01/19/21  Choi, Erin Marie                    0.80                      880.00    018      60959069
       CORRESPONDENCE REGARDING SURETY DISCOVERY REQUESTS.


   01/19/21  Miller, Ronald Lee                            2.20          2,288.00    018      61292989
       REVIEW USSIC DOCUMENTS FOR PRODUCTION.
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   01/19/21  Sierra, Tristan M.                     6.70         5,159.00       018          60979030
       REVIEW BONDS (2.8); REVIEW INDEMNITY AGREEMENTS (.5); UPDATE BOND MATRIX RE: SAME (3.4).


   01/19/21   Jewett, Laura                           1.70         663.00          018        60968607
       GIVE USERS ACCESS TO EDIT, FOLDER, MASS CODE ETC., IN DATABASE (1.0); PREPARE RECORDS FOR
       REVIEW PER ATTORNEY REQUEST (0.5); QUALITY CHECK RECORDS LOADED INTO DATABASE AND
       RELEASE TO CASE TEAM FOR REVIEW (0.2).


   01/19/21  Robin, Artur                                  3.40          1,275.00    018       60959569
       PREPARE DOCUMENTS FOR ATTORNEY'S REVIEW.


   01/19/21  Morris, Sharron                      0.40       162.00           018          60988624
       EMAILS WITH TEAM REGARDING ADDITIONAL DOCUMENTS FROM CLIENT (.2); REVIEW SAME (.2).


   01/20/21  Liou, Jessica                        2.00        2,650.00         018             60969894
       REVIEW AND COMMENT ON SURETY PRESENTATION (1.5); CONFER WITH DPW RE: LITIGATION
       MATTERS UPDATE (0.5).


   01/20/21     Carlson, Clifford W.                   3.70      4,070.00          018         61043777
       CALL WITH R. MILLER REGARDING DOCUMENT PRODUCTION (.2); COLLECT EMAILS REGARDING SAME
       (.7); PARTICIPATE ON CALLS AND EMAILS REGARDING POTENTIAL LITIGATION (.5); PARTICIPATE ON
       CALL WITH ANADARKO'S COUNSEL (.5); PARTICIPATE ON CALL WITH CLIENT AND DAVIS POLK
       REGARDING LITIGATION ISSUE (.5); MULTIPLE EMAILS REGARDING SURETY ISSUES (.9); CALL WITH
       DAVIS POLK REGARDING SAME (.4).


   01/20/21  Simmons, Kevin Michael               0.90       805.50       018        60966000
       OUTLINE ARGUMENT CONCERNING LSPS OPERATING AGREEMENT BOOKS AND RECORDS PROVISION.


   01/20/21  Choi, Erin Marie                        1.70      1,870.00          018        60968838
       CALL WITH COUNSEL FOR ANADARKO (0.5); CALL WITH COUNSEL FOR LLOG (0.5); ADVISORS CALL (0.5);
       ATTENTION TO MEDIATION ORDER (0.2).


   01/20/21     Miller, Ronald Lee                         4.10          4,264.00    018       60969138
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        CONTINUE FACILITATING USSIC RULE 2004 DOCUMENT PRODUCTION.


   01/20/21  Sierra, Tristan M.                      0.80                  616.00    018    61044445
       REVIEW BONDS (.5); UPDATE BOND MATRIX RE: SAME (.3).


   01/21/21  Liou, Jessica                          0.60           795.00        018        60980177
       CALL RE: LITIGATION STRATEGY WITH DPW AND WEIL (0.6); PARTICIPATE ON CALL WITH SURETY
       PROVIDER RE: RESTRUCTURING OVERVIEW (0.8).


   01/21/21     Carlson, Clifford W.                   1.60      1,760.00         018      61043554
       PARTICIPATE ON CALL WITH SURETY'S COUNSEL (.5); MULTIPLE EMAILS REGARDING SURETY ISSUES
       (.6); PARTICIPATE ON CALL WITH DPW REGARDING POTENTIAL LITIGATION ISSUES (0.5).


   01/21/21  Ahmad, Harris                          0.80                   716.00    018    60976683
       RESPOND TO FOLLOW-UP REQUESTS ON RULE 2004 COLLECTION.


   01/21/21  Rutherford, Jake Ryan                 2.30        2,392.00       018        60987225
       ATTEND CALL WITH R. SWENSON RE: WORKSTREAMS (.6); REVIEW AND ANALYZE RECENT FILINGS AND
       DISCOVERY (1.7).


   01/21/21  Miller, Ronald Lee                       5.80     6,032.00              018    60974830
       CONTINUE TO FACILITATE USSIC 2004 REQUEST REVIEW AND PRODUCTION.


   01/21/21  Jewett, Laura                          2.00          780.00       018        60978710
       PROCESS FILES FOR REVIEW PER ATTORNEY REQUEST (0.5); QUALITY CHECK RECORDS LOADED INTO
       DATABASE AND RELEASE TO CASE TEAM FOR REVIEW (1.0); LOAD MORE EMAILS FOR PROCESSING AND
       REVIEW (0.5).


   01/21/21  Nudelman, Peter                               1.10            412.50    018    61043905
       PREPARE DOCUMENTS FOR REVIEW.


   01/21/21     Mo, Suihua                                 1.00            360.00    018    60990863
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        PREPARE DOCUMENTS FOR ATTORNEY REVIEW.


   01/22/21  Perez, Alfredo R.                   0.30        478.50       018                  61497876
       REVIEW PREDECESSOR MATERIALS AND COMMUNICATIONS WITH T. WOOD REGARDING SAME.


   01/22/21  Carlson, Clifford W.                   0.40       440.00       018                61046419
       MULTIPLE CALLS AND EMAILS WITH LITIGATION TEAM REGARDING DOCUMENT PRODUCTION.


   01/22/21  Miller, Ronald Lee                    2.40     2,496.00         018        60990354
       CONTINUE TO FACILITATE DOCUMENT REVIEW AND PRODUCTION FOR USSIC RULE 2004 REQUESTS.


   01/22/21  Marzocca, Anthony P.                    0.50          492.50          018         61062218
       CORRESPOND WITH E. CHOI RE: PROTECTIVE ORDER (0.2); CALL WITH E. CHOI RE: SAME (0.3).


   01/22/21     Jewett, Laura                         3.80        1,482.00       018        60978744
       PREPARE DOCUMENTS FOR PRODUCTION AND COMMUNICATE WITH ATTORNEY REGARDING SAME
       (1.0); EXPORT EMAILS FROM ATTORNEYS MAILBOX (0.5); PLACE EMAILS INTO DATABASE TO REVIEW
       PER ATTORNEY REQUEST (1.0); QUALITY CHECK PRODUCTION AND RELEASE TO CASE TEAM (1.0); POST
       PRODUCTION DATA ONTO CLOUDSHARE PER ATTORNEY REQUEST (0.3).


   01/22/21  Bogota, Alejandro                    1.50        540.00                 018       60994060
       PREPARE PRODUCTION THAT INCLUDES STAMPED IMAGES, DATA AND TEXT.


   01/22/21  Mo, Suihua                                    1.50            540.00    018       60990855
       PREPARE DOCUMENTS FOR ATTORNEY REVIEW.


   01/23/21  Jewett, Laura                        1.00           390.00       018        60987326
       PREPARE DATA FOR PRODUCTION PER ATTORNEY REQUEST (0.8); QUALITY CHECK RECORDS AND
       RELEASE TO CASE TEAM FOR REVIEW (0.2).


   01/23/21     Mo, Suihua                                 1.50            540.00    018       60990882
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        PREPARE DOCUMENTS FOR PRODUCTION.


   01/25/21  Perez, Alfredo R.                       1.20       1,914.00      018              61497890
       PREPARE FOR PREDECESSOR CALL (.3); CONFERENCE CALL WITH BRACEWELL (PREDECESSOR'S
       LAWYERS) REGARDING PLAN ISSUES (.9).


   01/25/21   Jewett, Laura                        0.50         195.00      018                60997403
       POST LATEST PRODUCTION DATA FOR COUNSEL TO RETRIEVE PER ATTORNEY REQUEST.


   01/26/21  Perez, Alfredo R.                    0.30       478.50                  018       61498879
       TELEPHONE CONFERENCE WITH M. DANE REGARDING PREDECESSOR.


   01/26/21   Liou, Jessica                           0.90        1,192.50        018          61046026
       PARTICIPATE ON SURETY CALL WITH A. PEREZ, C. CARLSON, E. CHOI AND HL TEAM (.5); CALL WITH
       SURETIES RE: DILIGENCE (.4).


   01/26/21   Carlson, Clifford W.                   1.30         1,430.00       018           61041837
       PARTICIPATE ON CALL REGARDING SURETY ISSUES (.5); PARTICIPATE ON CALL WITH SURETY'S
       COUNSEL (.8).


   01/26/21   Choi, Erin Marie                     0.50                    550.00    018       61206589
       PARTICIPATE ON ADVISORS CALL REGARDING SURETY ISSUES.


   01/27/21   Carlson, Clifford W.                  0.30                   330.00    018       61206419
       PARTICIPATE ON CALL WITH PREDECESSOR'S COUNSEL.


   01/27/21     Simmons, Kevin Michael               6.40       5,728.00       018        61017822
       REVIEW NOTES FROM CALL WITH OPPOSING COUNSEL (0.2); PREPARE MOTION TO COMPEL FOR FILING
       (1.1); UPDATE DISPUTE TIMELINE WITH NEW DOCUMENTS FROM CLIENT, SELECT DOCUMENTS FOR P.
       GENENDER'S PREPARATION FOR MOTION TO COMPEL HEARING (5.1).


   01/27/21     Sierra, Tristan M.                         2.80          2,156.00    018       61044286
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        REVIEW BONDS (1.2); UPDATE BOND MATRIX RE: SAME (1.6).


   01/28/21   Liou, Jessica                                1.00          1,325.00    018    61046130
       PARTICIPATE ON SURETY CALL.


   01/28/21  Sierra, Tristan M.                      4.80                3,696.00    018    61044259
       REVIEW BONDS (2.3); UPDATE BOND MATRIX RE: SAME (2.5).


   01/28/21  Morris, Sharron                      1.10         445.50        018         61026400
       EMAILS WITH TEAM REGARDING AMENDED PROTECTIVE ORDER (.1); REVIEW AND REVISE SAME (.3);
       EMAILS WITH TEAM REGARDING UPCOMING HEARING AND PREPARATIONS FOR SAME (.7).


   01/29/21  Liou, Jessica                                 1.70          2,252.50    018    61061319
       CONFER WITH RLI’S COUNSEL RE: SURETY ISSUES.


   01/29/21    Carlson, Clifford W.                    1.50       1,650.00       018        61042276
       PARTICIPATE ON CALL WITH SURETY'S COUNSEL (.5); PARTICIPATE ON CALL WITH SURETY'S COUNSEL
       (.7); MULTIPLE EMAILS REGARDING SAME (.3).


   01/29/21  Rutherford, Jake Ryan                1.10                   1,144.00    018    61043929
       ATTEND CALL WITH DISCOVERY VENDOR RE: NEW MATTER.


   01/29/21  Sierra, Tristan M.                      1.60                1,232.00    018    61044229
       REVIEW BONDS (1.0); UPDATE BOND MATRIX RE: SAME (.6).


   01/29/21  Jewett, Laura                        2.20         858.00        018            61031999
       CONFERENCE CALL WITH VENDOR AND ATTORNEYS (1.6); CONFERENCE CALL WITH VENDOR
       REGARDING DATABASE TRANSFER (0.6).


   01/29/21 Chavez, Miguel                                 2.00            720.00    018    61046320
       DATABASE EXPORT FOR VENDOR DELIVERY.
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   01/31/21     Barr, Matthew S.                         2.50        4,487.50        018       61046459
       CORRESPOND WITH TEAM REGARDING STATUS CONFERENCE (.2); REVIEW ISSUES REGARDING SAME
       (.9); REVIEW LETTER (.4); PREP FOR STATUS CONFERENCE (.5); CALL WITH CLIENT REGARDING SAME (.3);
       CORRESPOND WITH TEAM REGARDING SAME (.2).


    SUBTOTAL TASK 018 - Insurance, Surety Bond, &          181.20       $167,452.50
    Letters of Credit Matters:

   01/05/21  Perez, Alfredo R.                       0.50                    797.50    021     60873185
       CONFERENCE CALL WITH J. NOE AND J. LIOU REGARDING DOJ.


   01/05/21   Carlson, Clifford W.                 0.60       660.00                   021     61292985
       PARTICIPATE ON CALL WITH JONES WALKER REGARDING REGULATORY ISSUES.


   01/06/21  George, Jason                                   1.00            770.00    021     61293263
       RESEARCH PRECEDENT FOR RULE 9019 MOTION.


   01/08/21   Perez, Alfredo R.                     1.40        2,233.00        021         60887865
       CONFERENCE CALL WITH J. NOE AND WEIL TEAM REGARDING DOJ ISSUES (.5); CONFERENCE CALL WITH
       JONES WALKER AND WEIL TEAMS REGARDING DOJ ISSUES (.7); CONFERENCE CALL WITH J. LIOU AND C.
       CARLSON REGARDING DOJ ISSUES (.2).


   01/08/21    Liou, Jessica                              1.50        1,987.50     021       60893120
       CONFER WITH J. NOE, A. PEREZ (PARTIAL), C. CARLSON RE: REGULATORY MATTERS AND CLAIMS
       ISSUES (.8); CONFER WITH J. NOE, A. PEREZ AND C. CARLSON RE: REGULATORY MATTERS (.7).


   01/08/21   Carlson, Clifford W.                   1.00      1,100.00      021               61292988
       PARTICIPATE ON CALL WITH J. NOE AND WEIL TEAM REGARDING REGULATORY MATTERS.


   01/11/21  Perez, Alfredo R.                     0.70     1,116.50      021                  60909312
       CONFERENCE CALL WITH JONES WALKER AND WEIL TEAMS REGARDING REGULATORY ISSUES.


   01/11/21     Liou, Jessica                                3.50          4,637.50    021     60928691
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        EMAILS RE: REGULATORY MATTERS WITH J. NOE, M. BARR (.7); CONFER WITH JP HANSON, D. CROWLEY,
        A. PEREZ, C. CARLSON RE: VALUATION (1.3); CONFER WITH M. BARR RE: UPDATE (.2); CONFER WITH J.
        NOE, A. PEREZ, M. BARR RE: REGULATORY ISSUES (1.0); CONFER WITH M. BARR RE: NEXT STEPS, OPEN
        ISSUES; EMAILS WITH ALIX PARTNERS TEAM AND BANKING TEAM RE: CLAIMS ESTIMATES AND
        REGULATORY ISSUES (.3).


   01/11/21  Barr, Matthew S.                    0.70                    1,256.50    021       61180086
       CALL WITH JONES WALKER REGARDING GOVERNMENT ISSUES.


   01/12/21  Liou, Jessica                           1.10       1,457.50      021         60928659
       EMAILS WITH REGULATORY COUNSEL RE: PRESENTATION QUESTIONS AND NEXT STEPS (.3); REVIEW
       RSA AND DRAFT EMAIL RE: ANALYSIS OF DEFAULT, NOTICE AND TERMINATION RIGHTS RELATING TO
       POTENTIAL REGULATORY SETTLEMENT (.8).


   01/12/21  Carlson, Clifford W.                 1.40     1,540.00                  021       60991348
       MULTIPLE EMAILS WITH TEAM REGARDING REGULATORY MATTERS.


   01/13/21   Perez, Alfredo R.                     2.10      3,349.50         021       60928556
       CONFERENCE CALL WITH S. COATES AND JONES WALKER REGARDING NPA (1.0); VARIOUS
       COMMUNICATIONS WITH MANAGEMENT, JONES WALKER AND WEIL TEAMS REGARDING NPA (.3);
       TELEPHONE CONFERENCE WITH J. CASTELLANO REGARDING STATUS (.1); CONFERENCE CALL WITH
       DAVIS POLK REGARDING NPA (.5); COMMUNICATIONS WITH MANAGEMENT REGARDING STATUS (.2).


   01/13/21   Liou, Jessica                            1.20         1,590.00        021   60929731
       CONFER WITH R. MARTIN RE: ENERGY TRANSFER CORRESPONDENCE AND QUESTIONS (.1); EMAILS WITH
       WEIL TEAM RE: SAME (.1); EMAILS RE: REGULATORY UPDATE (.1); CONFER WITH J. NOE RE:
       REGULATORY CALL (.3); CONFER WITH DPW RE: REGULATORY UPDATE AND MATTERS (.6).


   01/13/21  Barr, Matthew S.                              0.90          1,615.50    021       61182292
       CALL REGARDING GOV ISSUES (PARTIAL).


   01/13/21     Carlson, Clifford W.                       1.00          1,100.00    021       60991359
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        PARTICIPATE ON CALL WITH LENDERS' COUNSEL REGARDING REGULATORY MATTERS (.7); REVIEW AND
        CIRCULATE DOCUMENTS REGARDING SAME (.3).


   01/14/21  Carlson, Clifford W.                    0.70                  770.00    021    60990911
       CALL WITH J. NOE REGARDING REGULATORY ISSUES.


   01/19/21  Liou, Jessica                       1.00     1,325.00       021         60962508
       REVIEW AND COMMENT ON DRAFT SETTLEMENT AGREEMENT AND EMAIL JONES WALKER RE: SAME.


   01/21/21  Perez, Alfredo R.                          1.00      1,595.00      021         60977341
       CONFERENCE CALL WITH EPA (.6) AND DOI (.4) WITH JONES WALKER REGARDING STATUS.


   01/22/21  Greer, Olivia J.                      1.00      1,150.00                021    60985579
       PRIVACY MARKUP TO PSA AND TIPT EMAIL CORRESPONDENCE RE: SAME.


   01/22/21   Carlson, Clifford W.                   0.50      550.00                021    61046585
       PARTICIPATE ON CALL WITH J. GEORGE REGARDING REGULATORY MATTERS.


   01/25/21  Liou, Jessica                         1.00                  1,325.00    021    61002487
       CONFER WITH JONES WALKER RE: REGULATORY ISSUES.


   01/25/21   Carlson, Clifford W.                 1.00      1,100.00      021              61042267
       PARTICIPATE ON CALL WITH JONES WALKER TEAM REGARDING REGULATORY MATTERS.


   01/26/21  Perez, Alfredo R.                         2.30      3,668.50       021      61006501
       REVIEW SLIDES FOR MEETING WITH DOI AND DOJ (.3); CONFERENCE CALL WITH MANAGEMENT AND
       HOULIHAN REGARDING PLAN ISSUES (2.0).


   01/27/21     Perez, Alfredo R.                          2.80          4,466.00    021    61021241
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        REVIEW AND REVISE SLIDES AND VARIOUS COMMUNICATIONS REGARDING SAME (.4); CONFERENCE
        CALL WITH DOI, DOJ, MANAGEMENT AND THE ADVISORS (2.1); CONFERENCE CALL WITH
        MANAGEMENT AND J. NOE REGARDING STATUS AND NEXT STEPS (.3).


   01/27/21  Liou, Jessica                        2.50       3,312.50        021                61046099
       CONFER WITH PREDECESSOR COUNSEL AND FIELDWOOD RE: DECOMMISSIONING (.4); ATTEND
       GOVERNMENT PRESENTATION (2.1).


    SUBTOTAL TASK 021 - Regulatory /                          32.40        $44,473.00
    Decommissioning / Environmental Matters:

   01/08/21   George, Jason                           0.10         77.00                 022    60884034
       EMAIL TO T. LAMME, W. BECKER, AND C. BROWN RE: OCP RETENTIONS.


   01/11/21  Carlson, Clifford W.                              0.20            220.00    022    60992714
       EMAILS REGARDING ADVISORS FEES.


   01/12/21  George, Jason                              0.20        154.00         022          60913732
       EMAIL V. BRAVO RE: SUPPLEMENTING OCP LIST (0.1); EMAILS WITH J. BLOOM RE: OCPS (0.1).


   01/14/21  George, Jason                           0.20       154.00                   022    60942861
       CORRESPONDENCE WITH J. LIOU AND C. CARLSON RE: AMENDING OCP SCHEDULE.


   01/15/21  Carlson, Clifford W.                  0.70       770.00        022                 60990880
       PREPARE FOR AND PARTICIPATE ON CALL WITH COMPANY REGARDING ORDINARY COURSE
       PROFESSIONAL RETENTION.


   01/20/21   George, Jason                                    1.00            770.00    022    60979291
       REVISE DRAFT OF OCP DECLARATION.


   01/22/21   Carlson, Clifford W.                 0.30                        330.00    022    61046540
       REVISE OCP DECLARATION AND EMAILS REGARDING SAME.
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   01/22/21  George, Jason                                    0.30            231.00    022    60979521
       CALL WITH C. CARLSON RE: OCP DECLARATION.


   01/25/21  George, Jason                                1.20        924.00       022         61003920
       DRAFT NOTICE RE: REVISED OCP LIST (1.1); EMAIL J. HAYDEN RE: OCP DECLARATION (0.1).


   01/27/21  George, Jason                           0.10                      77.00    022    61025787
       CORRESPOND WITH C. CARLSON RE: REVISED OCP LIST.


   01/29/21    George, Jason                             0.60       462.00        022       61049681
       CALL WITH C. CARLSON RE: REVISED OCP LIST (0.2); CORRESPOND WITH DPW TEAM, STROOCK TEAM,
       AND S. STATHAM RE: UPDATED OCP LISTS (0.4).


    SUBTOTAL TASK 022 - Retention / Fee                       4.90         $4,169.00
    Applications: OCPs:

   01/06/21  Liou, Jessica                       1.50        1,987.50                   023    60873966
       REVIEW AND COMMENT ON HOULIHAN RETENTION APPLICATION.


   01/06/21   Carlson, Clifford W.                   0.50       550.00        023          60913753
       PARTICIPATE ON CALLS WITH J. GEORGE REGARDING RYAN RETENTION APPLICATION (.2); EMAILS
       REGARDING RETENTION ISSUES (.3).


   01/06/21  George, Jason                           0.60         462.00         023        60875049
       PREPARE CORRECTED RETENTION APPLICATION FOR FILING (0.2); CALL WITH R. OLVERA RE: SAME (0.2);
       CALL WITH C. CARLSON RE: RETENTION APPLICATION (0.2).


   01/06/21  James, Hillarie                       0.30                       268.50    023    61163490
       RESEARCH INVESTMENT BANK INTERIM FEE APPLICATIONS.


   01/06/21     Olvera, Rene A.                               2.80          1,134.00    023    61080711
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        PREPARE, REDACT, REVISE, FINALIZE AND ELECTRONICALLY FILE RYAN LLC RETENTION APPLICATION.


   01/07/21  George, Jason                          0.20                   154.00    023        60875030
       CORRESPONDENCE RE: RETENTION APPLICATION ISSUE.


   01/08/21  Carlson, Clifford W.                  0.20                    220.00    023        60953503
       EMAILS REGARDING RYAN RETENTION APPLICATION.


   01/08/21   George, Jason                             0.70         539.00       023           60884022
       EMAIL S. STATHAM RE: RETENTION APPLICATION (0.1); EMAIL S. ASHURAEY RE: RETENTION
       APPLICATION (0.1); REVISE DRAFT OF MOTION RE: SOLE MANAGER (0.5).


   01/08/21  Lee, Kathleen Anne                       1.50          690.00 023        60892147
       RESEARCH ORDERS AUTHORIZING A DEBTOR TO EMPLOY CERTAIN PERSONS OR COMPANY’S UNDER
       SECTION 363(B) AND/OR 105(A) OF THE BANKRUPTCY CODE FOR J. GEORGE.


   01/11/21  George, Jason                            0.20                 154.00    023        60913730
       CALL WITH F. HULL RE: RETENTION APPLICATION ISSUE.


   01/14/21  George, Jason                           0.20          154.00         023           60942976
       CALL WITH S. ASHURAEY RE: RETENTION APPLICATION (0.1); EMAIL S. ASHURAEY RE: SAME (0.1).


   01/15/21  George, Jason                                 0.20            154.00    023        60942862
       CALL WITH F. HULL RE: RETENTION APPLICATION.


   01/15/21  James, Hillarie                        0.90                   805.50    023        61027066
       REVIEW JONES WALKER FEE APPLICATION AND DISCLOSURE.


   01/19/21  George, Jason                          0.20                   154.00    023        60960846
       CORRESPONDENCE WITH F. HULL RE: OBJECTION DEADLINE.


   01/19/21     James, Hillarie                            0.80            716.00    023        61046867
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        CORRESPONDENCE WITH ALIX PARTNERS TEAM REGARDING FEE STATEMENT (0.1); REVIEW JONES
        WALKER DISCLOSURES (0.7).


   01/20/21  Liou, Jessica                          0.30        397.50               023       60969878
       REVIEW DRAFT STIPULATION RE: RYAN RETENTION APPLICATION.


   01/20/21  Carlson, Clifford W.                    0.30       330.00        023              61043844
       CALLS AND EMAILS WITH U.S. TRUSTEE REGARDING RYAN RETENTION APPLICATION.


   01/20/21   George, Jason                             1.20         924.00         023        60979280
       CALL WITH H. JOBE RE: OBJECTION DEADLINE (0.3); DRAFT STIPULATION EXTENDING OBJECTION
       DEADLINE (0.5); CORRESPONDENCE WITH S. STATHAM, F. HULL, J. LIOU, C. CARLSON AND R. OLVERA RE:
       STIPULATION EXTENDING OBJECTION DEADLINE (0.4).


   01/20/21  James, Hillarie                       0.50       447.50         023               61046918
       REVIEW AND COORDINATE FILING OF JONES WALKER SUPPLEMENTAL DISCLOSURE.


   01/20/21  Olvera, Rene A.                        0.50       202.50        023        61292994
       PREPARE AND ELECTRONICALLY FILE STIPULATION EXTENDING OBJECTION DEADLINE FOR MOTION TO
       SEAL RYAN LLC RETENTION APPLICATION.


   01/22/21  George, Jason                            0.20        154.00             023       60979529
       CORRESPOND WITH F. HULL, H. JOBE AND S. ASHURAEY RE: RETENTION ORDER.


   01/24/21  George, Jason                           0.10                   77.00    023       61003897
       CORRESPOND WITH J. BLOOM RE: RETENTION ORDER.


   01/25/21  James, Hillarie                               0.20            179.00    023       61059087
       REVIEW JONES WALKER FEE APPLICATION.


   01/26/21     George, Jason                              0.80            616.00    023       61025873
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        CORRESPOND WITH F. HULL AND H. JOBE RE: RETENTION ORDER (.5); CORRESPOND WITH S. ASHURAEY,
        F. HULL AND H. JOBE RE: RETENTION ORDER (.3).


   01/26/21  James, Hillarie                        3.60       3,222.00                   023    61058724
       REVIEW JONES WALKER FEE APPLICATION FOR PRIVILEGED INFORMATION.


   01/27/21  Carlson, Clifford W.                  0.30                         330.00    023    61039793
       EMAILS REGARDING RYAN RETENTION APPLICATION.


   01/27/21   George, Jason                                 0.20      154.00         023         61025911
       EMAIL B. FILLER RE: PARTIES IN INTEREST LIST (0.1); CORRESPOND WITH S. STATHAM, H. JOBE AND F.
       HULL RE: RETENTION ORDER (0.1).


   01/27/21  James, Hillarie                     0.40         358.00                      023    61047130
       CORRESPOND WITH JONES WALKER TEAM REGARDING FEE APPLICATION.


   01/28/21   George, Jason                            1.50       1,155.00       023           61027798
       CALL WITH S. STATHAM RE: RETENTION ORDER (0.2); REVISE DRAFT OF RETENTION ORDER (0.5); DRAFT
       STIPULATION EXTENDING OBJECTION DEADLINE FOR RETENTION APPLICATION (0.5); CALL WITH F.
       HULL RE: RETENTION APPLICATION (0.2); CORRESPOND WITH S. ASHURAEY AND S. STATHAM RE:
       RETENTION ORDER (0.1).


   01/29/21    George, Jason                            0.70       539.00         023       61049691
       CORRESPOND WITH S. STATHAM, J. LIOU, C. CARLSON AND R. OLVERA RE: STIPULATION EXTENDING
       OBJECTION DEADLINE FOR RETENTION APPLICATION (0.2); CALL WITH S. STATHAM RE: MOTION TO
       SEAL (0.2); EMAIL F. HULL RE: REVISED DECLARATION (0.3).


   01/31/21  George, Jason                            0.30       231.00            023         61049725
       CORRESPOND WITH J. LIOU AND C. CARLSON RE: RETENTION ORDER (0.2); EMAIL F. HULL RE: RETENTION
       ORDER (0.1).


    SUBTOTAL TASK 023 - Retention / Fee                        21.90        $17,459.00
    Applications: Non-Weil Professionals:
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   01/05/21  Liou, Jessica                             2.40        3,180.00       024       60868872
       REVIEW AND COMMENT ON FIELDWOOD MONTHLY FEE STATEMENT FOR PRIVILEGE AND
       CONFIDENTIALITY (2.3); EMAIL M. DANE AND T. LAMME RE: RATE INCREASES (.1).


   01/07/21  Olvera, Rene A.                        3.00                 1,215.00    024    61201362
       PREPARE WEIL FEE STATEMENT FOR NOVEMBER 2020.


   01/11/21  Liou, Jessica                        1.10        1,457.50      024             60928661
       REVIEW AND REVISE MONTHLY FEE STATEMENT FOR PRIVILEGE AND CONFIDENTIALITY.


   01/11/21  Marzocca, Anthony P.                  3.20     3,152.00                 024    61070108
       REVIEW NOVEMBER FEE STATEMENT FOR PRIVILEGE AND CONFORMITY.


   01/11/21  Olvera, Rene A.                       0.20        81.00         024            61201416
       REVIEW AND RESPOND TO EMAIL REGARDING SERVICE OF NOVEMBER 2020 FEE STATEMENT.


   01/12/21   Olvera, Rene A.                              0.80            324.00    024    61292993
       REVISE NOVEMBER 2020 WEIL FEE STATEMENT.


   01/13/21  Friedman, Julie T.                    4.10       2,665.00               024    60950288
       REVIEW INVOICE FOR COMPLIANCE WITH US TRUSTEE GUIDELINES.


   01/13/21  Marzocca, Anthony P.                 2.50         2,462.50       024        61070025
       CORRESPONDENCE RE: NOVEMBER FEE STATEMENT (0.4); REVIEW SAME FOR CONFIDENTIALITY (2.1).


   01/13/21   Olvera, Rene A.                        0.80       324.00               024    61080704
       REVISE, FINALIZE AND SERVE WEIL FEE STATEMENT FOR NOVEMBER 2020.


   01/14/21  Friedman, Julie T.                    4.30       2,795.00               024    60950351
       REVIEW INVOICE FOR COMPLIANCE WITH US TRUSTEE GUIDELINES.
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   01/15/21  Liou, Jessica                          0.80     1,060.00                024    60952664
       REVIEW AND FINALIZE MONTHLY FEE APPLICATION FOR NOVEMBER 2020.


   01/15/21  Friedman, Julie T.                    2.00       1,300.00               024    60950128
       REVIEW INVOICE FOR COMPLIANCE WITH US TRUSTEE GUIDELINES.


   01/15/21  James, Hillarie                     0.90       805.50          024             61027070
       CORRESPONDENCE WITH WEIL TEAM REGARDING SUPPLEMENTAL DISCLOSURE (0.3); DRAFT
       SUPPLEMENTAL DISCLOSURE (0.6).


   01/15/21  Olvera, Rene A.                         0.80      324.00                024    61201701
       REVIEW, FINALIZE AND SERVE WEIL FEE STATEMENT FOR NOVEMBER 2020.


   01/17/21  James, Hillarie                               0.80            716.00    024    60993203
       DRAFT SUPPLEMENTAL DISCLOSURE SCHEDULE.


   01/18/21  James, Hillarie                               1.20          1,074.00    024    60993202
       DRAFT SUPPLEMENTAL DISCLOSURE SCHEDULE.


   01/20/21  Friedman, Julie T.                    0.20         130.00               024    60970399
       REVIEW INVOICE FOR COMPLIANCE WITH US TRUSTEE GUIDELINES.


   01/20/21  James, Hillarie                      0.50       447.50       024               61046868
       DRAFT WEIL SUPPLEMENTAL DISCLOSURE AND CORRESPONDENCE REGARDING SAME.


   01/21/21  Friedman, Julie T.                    1.10         715.00               024    60973348
       REVIEW INVOICE FOR COMPLIANCE WITH US TRUSTEE GUIDELINES.


   01/21/21  George, Jason                          0.10          77.00       024           60979311
       CORRESPOND WITH J. FRIEDMAN, A. MARZOCCA AND H. JAMES RE: MONTHLY STATEMENTS.
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   01/21/21  Marzocca, Anthony P.                    0.30        295.50                 024    61069880
       CORRESPOND WITH J. GEORGE RE: SECOND INTERIM FEE APPLICATION.


   01/22/21  George, Jason                                    2.50          1,925.00    024    60979528
       DRAFT BUDGET AND STAFFING PLAN.


   01/23/21  George, Jason                                    0.70            539.00    024    61003899
       DRAFT BUDGET AND STAFFING PLAN.


   01/25/21   Marzocca, Anthony P.                 4.80      4,728.00         024       61062243
       REVIEW DECEMBER FEE STATEMENT FOR PRIVILEGE AND ACCURACY (4.4); CORRESPONDENCE RE: SAME
       (0.4).


   01/26/21  Marzocca, Anthony P.                 1.10                      1,083.50    024    61062222
       CORRESPONDENCE RE: DECEMBER FEE STATEMENT.


   01/27/21  Marzocca, Anthony P.                 0.40                        394.00    024    61062188
       CORRESPONDENCE RE: DECEMBER FEE STATEMENT.


    SUBTOTAL TASK 024 - Retention / Fee                      40.60        $33,270.00
    Applications: Weil:

   01/05/21  Perez, Alfredo R.                    0.10                        159.50    025    60873215
       TELEPHONE CONFERENCE WITH WEIL TEAM REGARDING ARENA.


   01/05/21  Choi, Erin Marie                    0.30        330.00                     025    61394583
       CORRESPONDENCE REGARDING MEDIATION DATES FOR ARENA DISPUTE.


   01/05/21  James, Hillarie                       0.40         358.00      025                61291204
       CORRESPONDENCE WITH UST, UCC, AND LENDERS REGARDING JIB/VENDOR MATRICES.


   01/06/21     Carlson, Clifford W.                          0.30            330.00    025    61497738
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        EMAILS REGARDING LITIGATION WITH ARENA.


   01/07/21   Swenson, Robert M.                     1.10       1,265.00       025       60882145
       PARTICIPATE ON CONFERENCE CALL WITH M. COUVEGAN CONCERNING ARENA DISPUTE AND AUDIT
       ANALYSIS (0.5); REVIEW AND ANALYZE JOA AND AUDIT MATERIALS IN ADVANCE OF CONFERENCE
       CALL AND SEND PACKAGE OF MATERIALS FOR TO M. COUVEGAN (0.6).


   01/07/21   Whitelaw, Alexander                      8.10       6,237.00        025       60877716
       CALL WITH LITIGATION TEAM DISCUSSING ARENA DISPUTE (.9); CALL WITH EXPERT DISCUSSING
       ARENA DISPUTE (.5); DRAFT MEDIATION STATEMENT FOR ARENA DISPUTE (3.3); CIRCULATE AND
       COMPILE NOTES FROM CALL WITH EXPERT REGARDING ARENA DISPUTE (.3); DRAFT ENGAGEMENT
       LETTER FOR EXPERT IN ARENA DISPUTE (2.3); PREPARE APPENDIX OF DOCUMENTS SENT TO EXPERT
       AND CIRCULATE CLOUD DRIVE LINK TO EXPERT FOR ARENA DISPUTE (.8).


   01/08/21  Whitelaw, Alexander                   6.40                  4,928.00    025    60887586
       DRAFT MEDIATION STATEMENT FOR ARENA DISPUTE.


   01/11/21  Whitelaw, Alexander                    4.10      3,157.00       025       60900573
       DRAFT MEDIATION STATEMENT (2.9); REVIEW DOCUMENTS FOR ARENA CALCULATIONS TO SHARE
       WITH EXPERT (1.2).


   01/12/21  Whitelaw, Alexander                     4.30       3,311.00        025         60916191
       CALL WITH M. COUGEVAN DISCUSSING SUBSTANTIVE POINTS OF REPORT (.6); DISCUSS OUTSTANDING
       QUESTIONS FROM EXPERT WITH FIELDWOOD TEAM (.7); REVIEW INVOICE RE-BILLING FOR 2014/2015 IN
       CONNECTION WITH ARENA MEDIATION (.3); COMPILE ATTORNEYS NOTES FROM CALLS WITH
       COMPANY AND EXPERT IN PREPARATION FOR MEDIATION (.4); REVISE MEDIATION STATEMENT FOR
       ARENA DISPUTE (2.3).


   01/12/21  Choi, Erin Marie                    1.40       1,540.00          025           60917875
       CALL WITH FIELDWOOD AND M. COUVEGAN REGARDING ARENA DISPUTE (0.8); CALL WITH M.
       COUVEGAN REGARDING FOLLOW-UP FROM CLIENT CALL (0.6).


   01/12/21     James, Hillarie                            0.40            358.00    025    60918987
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        CORRESPONDENCE WITH UST, UCC AND LENDERS REGARDING JIB/VENDOR MATRIX.


   01/13/21  Whitelaw, Alexander                  2.30       1,771.00         025         60937129
       REVIEW DOCUMENTS SENT TO EXPERT FOR ANALYSIS IN CONNECTION WITH ARENA MEDIATION (1.4);
       REVIEW MEDIATION STATEMENT IN CONNECTION WITH ARENA DISPUTE (.7); UPDATE APPENDIX OF
       DOCUMENTS SENT TO EXPERT FOR ARENA MEDIATION (.2).


   01/14/21   Swenson, Robert M.                    3.00       3,450.00         025        60929573
       REVIEW AND ANALYZE EXPERT REPORT CONCERNING ARENA CURE CLAIM DISPUTE (1.2); CONFER WITH
       A. WHITELAW AND E. CHOI REGARDING MEDIATION STATEMENT (0.3); DRAFT AND REVISE MEDIATION
       STATEMENT AND CIRCULATE REVISED DRAFT TO E. CHOI AND A. WHITELAW (0.8); CONFER WITH LSS
       AND LITIGATION TEAM REGARDING DOCUMENT COLLECTION AND REVIEW (0.7).


   01/14/21  Carlson, Clifford W.                  0.40        440.00                025      60990897
       CALLS AND EMAILS REGARDING MEDIATION FOR ARENA DISPUTE.


   01/14/21    Simmons, Kevin Michael                  7.10          6,354.50       025       60931801
       PREDECESSOR GENOVESA 2004 EXAMINATION BRAINSTORMING SESSION WITH CLIENT (3.0); CALL WITH
       E. CHOI ON NEXT STEPS (0.1); SUMMARIZE CALL WITH CLIENT (0.3); RESEARCH REQUIREMENTS AND
       PROCEDURES FOR RULE 2004 EXAMINATION (0.8); CALL WITH E. CHOI STRATEGIZING ON RULE 2004
       EXAMINATION (0.3); DRAFT REQUESTS FOR PRODUCTION (2.6).


   01/14/21  Whitelaw, Alexander                   3.60       2,772.00        025         60932247
       OUTLINE ARGUMENT SECTION OF MEDIATION STATEMENT BASED ON EXPERT REPORT (1.6); REVIEW
       EUGENE ISLAND DOCUMENTS IN CONNECTION WITH ARENA MEDIATION (.5); REVIEW EXAMPLE
       REQUEST FOR MEDIATION BEFORE DRAFT MEDIATION REQUEST (.6); REVIEW EXPERT REPORT IN
       CONNECTION WITH ARENA MEDIATION (.9).


   01/15/21   Swenson, Robert M.                     1.70      1,955.00       025        60937648
       REVIEW AND ANALYZE MEDIATION STATEMENT IN CONNECTION WITH ARENA CURE CLAIM DISPUTE
       AND CIRCULATE COMMENTS TO WEIL TEAM (0.6); REVIEW AND ANALYZE EXPERT REPORT DRAFT
       FROM M. COUVEGAN (1.1).


   01/15/21     Whitelaw, Alexander                        7.60          5,852.00    025      60937153
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        CALL WITH LITIGATION TEAM DISCUSSING MEDIATION STATEMENT (.4); DRAFT ARGUMENT SECTION
        OF MEDIATION STATEMENT WITH EXPERT ANALYSIS (4.1); DRAFT EMAIL TO CLIENT REGARDING
        OUTSTANDING EXCEPTION AMOUNTS FOR ARENA MEDIATION (.6); DRAFT JOINT REQUEST FOR
        MEDIATION AND PROPOSED ORDER (2.5).


   01/15/21   Choi, Erin Marie                         2.50      2,750.00      025           60943007
       ATTENTION TO RULE 2004 REQUESTS (1.5); CALL REGARDING ARENA EXPERT ANALYSIS (0.5); CALL WITH
       C. CARLSON REGARDING PROTECTIVE ORDER (0.5).


   01/16/21  Whitelaw, Alexander                   1.70                  1,309.00    025     60943690
       DRAFT MEDIATION STATEMENT IN ARENA DISPUTE.


   01/18/21     Swenson, Robert M.                   3.10      3,565.00        025        60953143
       DRAFT AND REVISE MEDIATION STATEMENT AND CIRCULATE REVISED DRAFT TO E. CHOI AND A.
       WHITELAW (1.8); REVIEW JOINT OPERATING AGREEMENT AND EVALUATION AGREEMENT AND
       INCORPORATE PROVISIONS IN DRAFT MEDIATION STATEMENT (0.5); DRAFT AND SEND
       CORRESPONDENCE TO M. COUVEGAN REGARDING DRAFT EXPERT REPORT AND ENGAGEMENT LETTER
       (0.4); DRAFT AND REVISE ENGAGEMENT LETTER TO M. COUVEGAN (0.4).


   01/18/21   Whitelaw, Alexander                   1.20      924.00        025        60944501
       REVISE COUGEVAN ENGAGEMENT LETTER (0.8); REVIEW COMMENTS TO MEDIATION STATEMENT FROM
       LITIGATION TEAM (0.4).


   01/18/21  Choi, Erin Marie                     1.10     1,210.00                  025     60949103
       REVIEW ARENA MEDIATION STATEMENT AND PROVIDE COMMENTS ON SAME.


   01/19/21   Whitelaw, Alexander                     6.80      5,236.00       025         60965777
       REVISE MEDIATION STATEMENT (4.8); REVIEW ENGAGEMENT LETTER BEFORE SENDING TO EXPERT FOR
       REVIEW AND SIGNATURE (0.4); REVIEW LOCAL DISTRICT COURT RULES FOR MEDIATION ORDER (0.8);
       REVIEW ANALYSIS OF OUTSTANDING EXCEPTION AMOUNTS FROM THE COMPANY TO SEND TO EXPERT
       AND INCORPORATE INTO MEDIATION STATEMENT (0.8).


   01/19/21     Choi, Erin Marie                           0.50            550.00    025     61293257
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        REVIEW AND REVISE MEDIATION STIPULATION FOR ARENA DISPUTE.


   01/20/21  Carlson, Clifford W.                   0.30                   330.00    025     61293259
       CALL WITH E. CHOI REGARDING ARENA MEDIATION.


   01/20/21   Whitelaw, Alexander                    2.40       1,848.00        025          60967900
       REVISE MEDIATION STATEMENT (1.4); REVIEW PROPOSED JOINT MEDIATION ORDER (0.4); REVISE
       ENGAGEMENT LETTER FOR EXPERT IN ARENA DISPUTE (0.6).


   01/20/21  Choi, Erin Marie                     2.60       2,860.00       025        61293266
       PREPARE FOR AND ATTEND CALL WITH DPW REGARDING DISPUTE INVOLVING GENOVESA WELL.


   01/21/21  Swenson, Robert M.                   1.30      1,495.00       025         60977901
       DRAFT AND REVISE ARENA MEDIATION STATEMENT AND CIRCULATE REVISED DRAFT TO TEAM.


   01/21/21   Whitelaw, Alexander                          1.70          1,309.00    025     60980982
       DRAFT JOINT REQUEST FOR MEDIATION ORDER.


   01/22/21   Perez, Alfredo R.                      0.90      1,435.50       025           60991018
       CONFERENCE CALL WITH MANAGEMENT AND WEIL TEAM REGARDING DISPUTE INVOLVING GENOVESA
       WELL (.3); TELEPHONE CONFERENCE WITH P. GENENDER REGARDING PREDECESSOR LETTER (.2); REVIEW
       SAME (.2); VARIOUS COMMUNICATIONS WITH RED WILLOW'S LAWYERS (.2).


   01/22/21  Choi, Erin Marie                              0.40            440.00    025     61293260
       ATTENTION TO ARENA MEDIATION STATEMENT.


   01/23/21  Carlson, Clifford W.                          0.20            220.00    025     61394629
       EMAILS REGARDING ARENA DISPUTE.


   01/25/21  Swenson, Robert M.                    2.10       2,415.00               025     61027294
       PREPARE MEDIATION STATEMENT RE: ARENA CURE CLAIM DISPUTE.
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   01/25/21  Whitelaw, Alexander                   0.60                    462.00    025    60996173
       PREPARE INDEX FOR KEY DOCUMENTS IN ARENA DISPUTE.


   01/25/21  Morris, Sharron                      0.90       364.50          025            61293264
       ADDITIONAL EMAILS WITH TEAM REGARDING ARENA DOCUMENTS (.2); PREPARE SAME FOR
       ATTORNEY REVIEW (.7).


   01/26/21   Whitelaw, Alexander                    3.70       2,849.00       025        61006641
       REVISE MEDIATION STATEMENT (.3); PREPARE POTENTIAL DISCOVERY REQUESTS IN ARENA DISPUTE
       (3.4).


   01/27/21  Perez, Alfredo R.                       1.30      2,073.50        025         61021294
       TELEPHONE CONFERENCE WITH E. CHOI REGARDING STATUS OF MOTION (.1); REVIEW MOTION (.3);
       TELEPHONE CONFERENCE WITH P. GENENDER REGARDING MOTION (.2); VARIOUS COMMUNICATIONS
       WITH MANAGEMENT, GREENBERG AND WEIL TEAMS REGARDING FILINGS AND HEARINGS (.4);
       CONFERENCE CALL WITH T. LAMME, M. DANE AND P. GENENDER REGARDING STATUS (.3).


   01/27/21  Carlson, Clifford W.                     1.20      1,320.00       025        61039883
       EMAILS REGARDING ARENA DISPUTE (.4); PREPARE FOR AND PARTICIPATE ON CONFERENCE CALL
       REGARDING ARENA MEDIATION (.8).


   01/28/21  Swenson, Robert M.                    1.80       2,070.00               025    61027337
       DRAFT AND REVISE MEDIATION STATEMENT RE: ARENA CURE CLAIM DISPUTE.


   01/28/21   Choi, Erin Marie                    1.60          1,760.00      025        61206461
       PARTICIPATE ON ARENA MEDIATION STATEMENT CALL (0.3); DRAFT ARENA MEDIATION STATEMENT
       (1.3).


   01/29/21     Perez, Alfredo R.                          0.70          1,116.50    025    61040160
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        VARIOUS COMMUNICATIONS WITH MANAGEMENT AND WEIL TEAM REGARDING SOP AND
        DISCUSSIONS WITH PREDECESSOR (.3); TELEPHONE CONFERENCE WITH R. SERGESKETTER REGARDING
        RESPONSE TO PREDECESSOR (.3); VARIOUS COMMUNICATIONS WITH B. SKELTON REGARDING RED
        WILLOW (.1).


   01/29/21   Swenson, Robert M.                   2.60      2,990.00          025        61037991
       REVISE MEDIATION STATEMENT CONCERNING ARENA CURE CLAIM DISPUTE (1.3); CONFER WITH E.
       CHOI AND A. WHITELAW CONCERNING MEDIATION STATEMENT AND REVISIONS (0.6); REVIEW AND
       ANALYZE DRAFT REQUESTS FOR PRODUCTION TO BE SERVED ON ARENA COUNSEL (0.7).


   01/29/21  Whitelaw, Alexander                     3.00       2,310.00        025       61041257
       REVIEW COPAS PROVISIONS FROM EXPERT FOR MEDIATION STATEMENT IN ARENA DISPUTE (.7);
       HIGHLIGHT KEY DOCUMENTS TO ATTACH TO MEDIATION STATEMENT AS EXHIBITS (.9); CALL WITH
       TEAM DISCUSSING MEDIATION STATEMENT (1.0); REVISE MEDIATION STATEMENT (.4).


   01/29/21  Choi, Erin Marie                        4.50       4,950.00         025       61043775
       ONBOARDING SESSION WITH DOCUMENT VENDOR (1.0); CALL WITH COUNSEL FOR RLI AND FOLLOW-UP
       REGARDING SAME (0.5); PARTICIPATE ON COORDINATION CALL WITH DPW (0.5); ATTENTION TO
       GENOVESA DISPUTE, INCLUDING REDACTIONS OF EXHIBITS AND NEXT STEPS RE: SAME (2.5).


    SUBTOTAL TASK 025 - Royalty/JIB Matters:               103.30        $94,730.00

   01/01/21   Liou, Jessica                          0.20         265.00        026       60859884
       REVIEW AND RESPOND TO EMAILS FROM M. BARR (0.1); EMAILS WITH HL RE: BLOWOUT MATERIALS
       (0.1).


   01/01/21  Greene, Anthony L.                            2.50            2,600.00    026    61394745
       REVIEW REVISED PSA (2.0); REVISE PSA ISSUES LIST (.5).


   01/04/21  Moore, Rodney L.                                2.00          2,990.00    026    61507471
       ATTENTION TO PSA.


   01/05/21     Marcus, Courtney S.                          1.90          2,755.00    026    61049754
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        CALL WITH B&F TEAM REGARDING PAYOFF AND EXIT FINANCING NEXT STEPS (.3); DRAFT GOLDMAN
        FIRST LIEN EXIT FACILITY TERM SHEET (1.2); CONFERENCE WITH D. CROWLEY REGARDING GOLDMAN
        BUSINESS TERM SHEET (.4).


   01/05/21  Moore, Rodney L.                              4.80          7,176.00    026       61254029
       REVIEW AND REVISE CREDIT BID PSA.


   01/05/21  Liou, Jessica                              1.10      1,457.50         026         60868870
       CONFER WITH DAVIS POLK, R/I, WEIL, HL, AND ALIX PARTNERS RE: OPEN ISSUES, NEXT STEPS AND
       STRATEGY (0.8); CONFER WITH V&E AND N. TSIOURIS RE: 1L BLOWOUT TERMS (0.3).


   01/05/21  Peca, Samuel C.                           2.70      3,307.50       026            60863249
       COORDINATE CALL WITH ALL FIRMS (0.8); REVISE PSA FOR COMMENTS FROM R. MOORE (1.9).


   01/05/21   Delaney, Scott Michael                0.60        690.00           026         60891052
       CORRESPONDENCE WITH WEIL TEAM RE: CREDIT BID PSA REVISIONS (0.2); REVIEW REVISIONS TO
       CREDIT BID PSA (0.4).


   01/05/21  Bonhamgregory, Veronica Gayle         0.80                    832.00    026       61541913
       COORDINATION CALL WITH DAVIS POLK AND WEIL.


   01/05/21  Vinson, Elizabeth Blaine              0.90        805.50          026        60867113
       PREPARE FOR AND PARTICIPATE ON COORDINATION CALL WITH DAVIS POLK, WEIL, ALIX PARTNERS,
       ROTHSCHILD AND HL.


   01/05/21  George, Jason                         0.20         154.00               026       60875100
       CORRESPONDENCE WITH M. DANE AND T. LAMME RE: FLTL PROFESSIONAL FEES.


   01/05/21  Wheeler, Emma                         0.70       441.00       026       60877452
       ATTEND ADVISORS CALL TO COORDINATE ON PLAN AND DISCLOSURE STATEMENT WORKSTREAMS.


   01/05/21     Marzocca, Anthony P.                       0.80            788.00    026       61062166
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        CALL WITH ALL HANDS RE: DISCLOSURE STATEMENT AND PLAN COORDINATION.


   01/05/21  Greene, Anthony L.                    1.40         1,456.00       026            61163644
       COORDINATION CALL REGARDING CREDIT BID PURCHASE (0.8); REVIEW REVISED PSA (0.6).


   01/05/21  Sierra, Tristan M.                              0.70            539.00    026    61541178
       ATTEND COORDINATION CALL WITH DPW.


   01/06/21  Perez, Alfredo R.                    0.60        957.00        026               60873315
       CONFERENCE CALL WITH FLTL ADVISORS AND COMPANY'S ADVISORS REGARDING STATUS.


   01/06/21  Moore, Rodney L.                         2.30      3,438.50      026           60872064
       CONFERENCE CALL REGARDING PSA ISSUES (.5); REVIEW AND COMMENT ON ORRI ANALYSIS (.8);
       REVIEW PSA (1.0).


   01/06/21  Liou, Jessica                            0.70         927.50         026         60873953
       EMAIL V&E RE: CLEANSING MATERIALS (0.2); CONFER WITH DPW, RI, HL AND WEIL RE: STATUS AND
       NEXT STEPS (0.5).


   01/06/21   Peca, Samuel C.                                0.50            612.50    026    60871749
       REVISE PSA.


   01/06/21  Delaney, Scott Michael                     1.60      1,840.00      026        60891574
       REVIEW AND REVISE CREDIT BID PSA (0.7); REVIEW DISCLOSURE SCHEDULE INFORMATION PROVIDED BY
       FIELDWOOD (0.9).


   01/06/21   Bonhamgregory, Veronica Gayle                  0.50            520.00    026    60872551
       PARTICIPATE ON ADVISORS CALL.


   01/06/21  Hufendick, Jason                      0.80       788.00                   026    60888543
       ATTEND WEEKLY CALL WITH DPW TEAM RE: OPEN ITEMS AND NEXT STEPS.
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   01/06/21   Carlson, Clifford W.                           0.80            880.00    026      61163390
       PARTICIPATE ON LENDERS' ADVISORS CALL.


   01/06/21   George, Jason                        0.60           462.00         026         60875021
       PARTICIPATE ON WEEKLY CALL WITH FLTL ADVISORS (0.5); EMAIL M. HANEY RE: CREDIT BID PSA (0.1).


   01/06/21  Hosch, Patrick B.                               5.20          3,276.00    026      60870295
       REVIEW PSA.


   01/06/21  Wheeler, Emma                                   0.50            315.00    026      61542088
       ATTEND WEEKLY ADVISORS CALL.


   01/06/21  Greene, Anthony L.                       1.70        1,768.00        026       61163521
       REVIEW FURTHER REVISED PSA CIRCULATED BY S. PECA (1.1); REVIEW SCHEDULES AND EXHIBITS
       TEMPLATE TO PSA (.1); CALL WITH E. WHEELER REGARDING BACKSTOP MOTION (.5).


   01/07/21   Moore, Rodney L.                    1.50      2,242.50       026          60880434
       TELEPHONE CONFERENCE CALL WITH WEIL TEAM REGARDING PSA RELATED MATTERS (.5); ATTENTION
       TO PSA RELATED MATTERS (1).


   01/07/21  Liou, Jessica                               2.90       3,842.50        026         60892779
       EMAILS RE: CLEANSING MATERIALS (.2); REVIEW AND COMMENT ON DRAFT CREDIT BID APA (.3);
       REVIEW CREDIT BID APA (.4); CONFER WITH S. PECA, A. GREENE AND T. LAMME RE: CREDIT BID APA
       COMMENTS (2.0).


   01/07/21  Peca, Samuel C.                            4.10       5,022.50       026           61163560
       REVIEW PSA, REVISE AND PREP FOR CALL (2.2); PARTICIPATE ON PSA CALL WITH FWE (1.9).


   01/07/21  Barr, Matthew S.                                0.80          1,436.00    026      61163640
       REVIEW APA DRAFT (.6); AND ISSUES (.2).


   01/07/21     Delaney, Scott Michael                       8.70         10,005.00    026      60891547
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        REVIEW AND REVISE CREDIT BID PSA (3.5); REVIEW DISCLOSURE SCHEDULES AND PERFORM DUE
        DILIGENCE RE: SAME (1.3); CONFERENCE WITH FIELDWOOD AND WEIL TEAMS RE: CREDIT BID PSA (2.0);
        FURTHER REVIEW AND REVISE CREDIT BID PSA AND CORRESPONDENCE WITH S. PECA RE: SAME (1.5);
        PERFORM INITIAL REVIEW OF ANCILLARY TRANSACTION DOCUMENTS (0.4).


   01/07/21   Carlson, Clifford W.                 1.60       1,760.00               026       60913828
       PARTICIPATE ON CALL WITH COMPANY REGARDING CREDIT BID PSA .


   01/07/21  Martin, Robert Crawford                  5.40     5,805.00        026       60880356
       COMPILE EXHIBITS TO PURCHASE AGREEMENT (3.4); CONFERENCE WITH CLIENT REGARDING DRAFT
       PURCHASE AGREEMENT (2.0).


   01/07/21   Greene, Anthony L.                       3.20        3,328.00          026       61163799
       CREDIT BID PSA REVIEW CALL (1.7); REVIEW REVISED CREDIT BID PSA (1.5).


   01/08/21      Moore, Rodney L.                     4.20      6,279.00        026       60892889
       TELEPHONE CONFERENCE CALL WITH DPW REGARDING PSA/OTHER ISSUES(.5); ATTENTION TO PSA AND
       PROVIDE COMMENTS REGARDING SAME (2.3); REVIEW AND PROVIDE COMMENTS TO ORRI
       MOTION/OBJECTION (.8); ATTENTION TO EXHIBITS AND COORDINATION FOR PLAN OF MERGER AND
       PSA (.6).


   01/08/21   Liou, Jessica                              2.20         2,915.00         026   60893123
       REVIEW AND COMMENT ON CREDIT BID PSA (1.0); REVIEW AND RESPOND TO EMAIL WITH COMMENTS
       TO CREDIT BID PSA (.3); REVIEW AND COMMENT ON CREDIT BID APA AND CONFER WITH S. PECA RE:
       SAME (.3); REVIEW AND REVISE APA (.5); EMAILS WITH S. PECA RE: CREDIT BID APA (.1).


   01/08/21  Peca, Samuel C.                       3.50       4,287.50          026        60889018
       REVIEW AND REVISE PSA FOR COMMENTS FROM CALL WITH CLIENT (2.3); REVIEW SCHEDULES (0.6);
       ATTENTION TO RESTRUCTURING COMMENTS TO PSA (0.6).


   01/08/21  Delaney, Scott Michael                3.10        3,565.00        026          60891215
       REVIEW DISCLOSURE SCHEDULES AND RELATED DILIGENCE MATERIALS FOR PSA ISSUES (0.8); REVIEW
       AND REVISE CREDIT BID PSA AND CORRESPONDENCE WITH S. PECA AND A. GREENE RE: SAME (2.3).
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   01/08/21   Vinson, Elizabeth Blaine                        0.50            447.50    026    60889061
       PARTICIPATE ON DPW COORDINATION CALL.


   01/08/21  Martin, Robert Crawford                   4.40      4,730.00        026       60892564
       COMPILE CHECKLIST (2.1); COMPILE EXHIBITS TO PURCHASE AGREEMENT (2); CONFERENCE WITH TEAM
       REGARDING TRANSACTION ITEMS (.3).


   01/08/21  Wheeler, Emma                                    0.30            189.00    026    60883515
       ATTEND COORDINATION CALL WITH DPW.


   01/08/21  Marzocca, Anthony P.                             0.80            788.00    026    61070083
       CALL WITH WEIL AND DPW RE: UPDATES.


   01/08/21   Greene, Anthony L.                          0.50                520.00    026    61497744
       REVISE PSA ISSUES LIST (.3); REVIEW J. LIOU PSA COMMENTS (.2).


   01/09/21  Moore, Rodney L.                                 1.00          1,495.00    026    61497613
       ATTENTION TO PSA.


   01/11/21  Marcus, Courtney S.                 0.50        725.00       026        61497747
       REVIEW CREDIT AGREEMENT REGARDING SETTLEMENT OF CERTAIN ENVIRONMENTAL CLAIMS AND
       DISCUSS WITH WEIL TEAM.


   01/12/21  Moore, Rodney L.                                 1.50          2,242.50    026    61497750
       ATTENTION TO STRUCTURE AND PSA MATTERS.


   01/12/21  Delaney, Scott Michael                           0.30            345.00    026    61252794
       REVIEW CREDIT BID PSA CHECKLIST.


   01/12/21     Martin, Robert Crawford                       0.30            322.50    026    61497763
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        CORRESPOND WITH COMPANY AND LENDERS' COUNSEL REGARDING PURCHASE AGREEMENT
        WORKSTREAMS.


   01/13/21   Perez, Alfredo R.                     0.50                   797.50    026      60928551
       PARTICIPATE ON WEEKLY UPDATE CALL WITH FLTL ADVISORS.


   01/13/21  Moore, Rodney L.                        3.30      4,933.50       026             60926747
       ATTENTION TO PSA MATTERS (2.8); TELEPHONE CONFERENCE CALL WITH FIELDWOOD (.5).


   01/13/21   Liou, Jessica                          0.40           530.00         026        60929722
       REVIEW AND RESPOND TO EMAILS RE: CREDIT BID PSA (0.3); EMAIL WITH S. PECA AND R. MOORE RE:
       CREDIT BID APA ISSUES (0.1).


   01/13/21  Peca, Samuel C.                      0.60        735.00                 026      60924017
       COORDINATE RESPONSES TO QUESTIONS FROM DPW RELATED TO APA.


   01/13/21  Barr, Matthew S.                              0.40            718.00    026      61182294
       CALL WITH LENDER ADVISOR AND TEAM.


   01/13/21  Delaney, Scott Michael                  0.90       1,035.00         026          60933309
       REVIEW CREDIT BID PSA ISSUES LIST AND CORRESPONDENCE RE: SAME (0.5); FOLLOW-UP
       CORRESPONDENCE RE: DILIGENCE MATTERS (0.4).


   01/13/21   Bonhamgregory, Veronica Gayle                0.50            520.00    026      60946221
       PARTICIPATE ON WEEKLY ADVISORS CALL.


   01/13/21  Hufendick, Jason                       0.40                   394.00    026      60946858
       ATTEND UPDATE CALL WITH DIP AND FLTL LENDER ADVISORS.


   01/13/21   Carlson, Clifford W.                         1.00          1,100.00    026      61182296
       PARTICIPATE ON CALL WITH LENDERS' ADVISORS.
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   01/13/21  George, Jason                            0.10                  77.00    026      60942771
       CORRESPONDENCE WITH S. PECA RE: CREDIT BID PSA.


   01/13/21  Martin, Robert Crawford               3.60       3,870.00       026              60943047
       RESPOND TO QUESTIONS FROM LENDERS' COUNSEL RAISED IN CONNECTION WITH REVIEW OF
       PURCHASE AGREEMENT.


   01/13/21   Wheeler, Emma                                0.40            252.00    026      61542094
       PARTICIPATE ON WEEKLY ADVISORS CALL.


   01/13/21   Marzocca, Anthony P.                         0.50            492.50    026      61542097
       PARTICIPATE ON CALL WITH ALL ADVISORS.


   01/13/21   Greene, Anthony L.                           0.50            520.00    026      61542100
       PARTICIPATE ON ADVISORS CALL.


   01/14/21  Moore, Rodney L.                    1.60          2,392.00       026         60934409
       TELEPHONE CONFERENCE CALL REGARDING PSA MATTERS (.4); ATTENTION TO PSA MATTERS (1.2).


   01/14/21  Liou, Jessica                            0.30         397.50            026      60935538
       CONFER WITH R. MOORE AND S. PECA RE: EDITS TO CREDIT BID APA.


   01/14/21   Delaney, Scott Michael                2.10        2,415.00         026          60933173
       CONFERENCE WITH WEIL TEAM RE: ASSUMED LIABILITIES, CREDIT BID PSA OPEN ITEMS (0.5); REVIEW
       AND REVISE CORPORATE CHECKLIST AND CLOSING CHECKLIST (0.3); PERFORM DUE DILIGENCE RE:
       PREFERENTIAL RIGHTS, ORGANIZATIONAL DOCUMENTS (0.8); CORRESPONDENCE RE: CREDIT BID PSA
       OPEN ITEMS (0.5).


   01/14/21   Carlson, Clifford W.                 1.80        1,980.00          026         60990959
       PARTICIPATE ON CALL WITH WEIL TEAM REGARDING CREDIT BID PSA (.4); PARTICIPATE ON CALL
       WITH CLIENT REGARDING REQUEST FOR DOCUMENTS (1.0); EMAILS REGARDING REQUESTS FOR
       PRODUCTION RE: PSA (.4).
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   01/14/21   Greene, Anthony L.                           0.50            520.00    026        61185008
       PARTICIPATE ON ADVISORS CALL.


   01/15/21   Moore, Rodney L.                    2.70         4,036.50      026        60950552
       TELEPHONE CONFERENCE CALL WITH DPW REGARDING PSA (1.4); TELEPHONE CONFERENCE CALL WITH
       WEIL TEAM REGARDING PSA AND STRUCTURE MATTERS (.6); TELEPHONE CONFERENCE REGARDING
       DPW COORDINATION MATTERS (0.7).


   01/15/21  Liou, Jessica                             2.10        2,782.50         026         60952668
       CONFER WITH DPW RE: CREDIT BID APA (1.2); CONFER WITH S. GOLDRING RE: STRUCTURE OF CREDIT
       BID NEWCO (.6); PARTICIPATE ON WIP CALL WITH DPW AND R/I, WEIL, HL AND ALIX PARTNERS (0.3).


   01/15/21  Peca, Samuel C.                               1.00          1,225.00    026        61185003
       CALL WITH DPW TO DISCUSS PSA.


   01/15/21  Delaney, Scott Michael                 1.30        1,495.00        026        61184997
       CONFERENCE WITH WEIL AND DAVIS POLK TEAMS RE: CREDIT BID PSA MATTERS (1.0); CONFERENCE
       WITH WEIL AND DAVIS POLK TEAMS RE: COORDINATION CALL (0.3).


   01/15/21   Bonhamgregory, Veronica Gayle                0.30            312.00    026        60936956
       PARTICIPATE ON DPW COORDINATION CALL.


   01/15/21   Carlson, Clifford W.                1.70        1,870.00         026        61184999
       PARTICIPATE ON CALLS REGARDING AMENDMENTS TO THE RSA (.7); PARTICIPATE ON CALL WITH DPW
       REGARDING CREDIT BID PSA (1.0).


   01/15/21   Wheeler, Emma                                0.30            189.00    026        60936373
       PARTICIPATE ON COORDINATION CALL WITH DPW.


   01/15/21  Marzocca, Anthony P.                   1.00                   985.00    026        61069800
       CALL WITH WEIL AND DPW RE: CASE STATUS AND PROGRESS.
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   01/16/21  Marcus, Courtney S.                   1.40        2,030.00              026      60950631
       CALL WITH WEIL TEAM TO DISCUSS PROPOSED ACQUISITION STRUCTURE.


   01/16/21  Liou, Jessica                          0.10       132.50        026        60952621
       EMAILS WITH TEAM RE: TRANSACTION STRUCTURE ISSUES AND TOUCH BASE CALLS WITH DPW.


   01/16/21  Margolis, Steven M.                    1.20       1,470.00              026      60942630
       REVIEW BUYER MARKUP OF APA (0.8); CORRESPONDENCE RE: SAME (0.4).


   01/16/21  Delaney, Scott Michael                  3.30        3,795.00      026        60948300
       PREPARE ISSUES LIST FOR DRAFT OF PURCHASE AGREEMENT (3.0); CORRESPONDENCE WITH WEIL
       TEAM RE: ISSUES LIST (0.3).


   01/16/21   Carlson, Clifford W.                 1.30      1,430.00      026         60990681
       PARTICIPATE ON CALL WITH TAX AND CORPORATE TEAMS REGARDING STRUCTURE OF CREDIT BID
       TRANSACTION.


   01/16/21   George, Jason                           0.10                  77.00    026      60942870
       EMAIL TO M. DANE AND T. LAMME RE: FLTL INVOICING.


   01/16/21  Hong, Jeesun                          2.00     1,970.00        026          60949619
       INTERNAL CALL WITH RESTRUCTURING, BANKING AND CORPORATE TEAM RE: STRUCTURE (1.4);
       REVIEW DPW COMMENTS TO PSA (0.6).


   01/16/21  Tahiliani, Radhika                      3.30                3,250.50    026      60950284
       REVIEW PURCHASE AGREEMENT (1.8); DRAFT ISSUES LIST (1.5).


   01/16/21  Greene, Anthony L.                          4.70       4,888.00       026        60966841
       REVIEW REVISED PSA (3.5); PREPARE PSA ISSUES LIST FOR DISCUSSION WITH RX TEAM (1.2).


   01/17/21     Moore, Rodney L.                           4.20          6,279.00    026      60949955
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        REVIEW REVISED PSA FROM DPW AND PROVIDE COMMENTS (3.8); ATTENTION TO BUYER STRUCTURE
        ISSUES (.4).


   01/17/21   Peca, Samuel C.                         2.30               2,817.50    026          60941597
       REVISE PSA ISSUES LIST INCLUDING SPECIALIST COMMENTS.


   01/17/21  Margolis, Steven M.                       1.40        1,715.00          026          60942637
       REVIEW DPW MARKUP OF APA (0.3); DRAFT ISSUES LIST WITH R. TAHILIANI (1.1).


   01/17/21  Goslin, Thomas D.                       0.80        940.00        026                60950705
       REVIEW REVISIONS TO SALE AGREEMENT (.5); ATTEND TO CORRESPONDENCE RE: SAME (.3).


   01/17/21     Delaney, Scott Michael                  3.10        3,565.00        026        60948335
       REVIEW AND REVISE CREDIT BID PSA ISSUES LIST (1.3); CORRESPONDENCE WITH WEIL TEAM RE: SAME
       (0.2); REVIEW BUYER'S DRAFT OF DISCLOSURE SCHEDULES (0.7); REVISE CREDIT BID PSA (0.9).


   01/17/21  Tahiliani, Radhika                           1.60        1,576.00       026          60950280
       DISCUSS ISSUES LIST WITH S. MARGOLIS (1.2); REVISE ISSUES LIST AND SEND TO CORPORATE (0.4).


   01/18/21   Goldring, Stuart J.                  0.30                    538.50    026          60944751
       PARTICIPATE ON FIELDWOOD COORDINATION CALL.


   01/18/21   Marcus, Courtney S.                          0.20            290.00    026          60950926
       PARTICIPATE ON DPW COORDINATION CALL.


   01/18/21    Moore, Rodney L.                          4.70  7,026.50       026        60950242
       REVIEW AND PROVIDE COMMENTS ON PSA (2.3); TELEPHONE CONFERENCE CALL REGARDING PSA
       ISSUES (2.0); ATTENTION TO STRUCTURE ISSUES (.4).


   01/18/21  Rahman, Faiza N.                              0.30            382.50    026          61544762
       CALL WITH DPW RE: PLAN.
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   01/18/21     Liou, Jessica                           3.20         4,240.00       026         60953021
       REVIEW CREDIT BID APA AND ISSUES LIST (.6); CONFER WITH A. GREENE RE: CREDIT BID APA ISSUES
       (1.0); CONFER WITH T. LAMME, WEIL TEAM RE: CREDIT BID APA (1.6).


   01/18/21   Peca, Samuel C.                           5.30        6,492.50         026        60947167
       REVISE PSA (3.3); CALL WITH COMPANY TO DISCUSS ISSUES LIST (1.6); ATTENTION TO
       EXHIBITS/SCHEDULES (0.4).


   01/18/21    Margolis, Steven M.                   2.20      2,695.00           026       60948812
       REVIEW APA AND ISSUES LIST AND PREPARE FOR CALL WITH FWE (0.4); CONF. WITH FWE AND WEIL ON
       APA (1.5); COORDINATION CALL WITH DPW (0.3).


   01/18/21   Delaney, Scott Michael                    2.40        2,760.00      026        60947976
       REVIEW REVISIONS TO CREDIT BID PSA ISSUES LIST (0.2); CORRESPONDENCE WITH WEIL TEAM RE: TAX
       MATTERS (0.2); CONFERENCE WITH FIELDWOOD AND WEIL TEAMS RE: CREDIT BID PSA ISSUES LIST (1.6);
       REVISE CREDIT BID PSA (0.4).


   01/18/21   Abraham, Melissa S.                          0.20            215.00    026        60948793
       PARTICIPATE ON DPW COORDINATION CALL.


   01/18/21  Hufendick, Jason                        1.60     1,576.00         026          60946725
       ATTEND CALL WITH CLIENT RE: CREDIT BID PURCHASE AGREEMENT OPEN ISSUES (1.3); ATTEND CALL
       WITH DPW REGARDING CONFIRMATION AND OTHER WORKSTREAMS (0.3).


   01/18/21  Martin, Robert Crawford                 3.40      3,655.00       026        60951009
       REVIEW COMMENTS TO EXHIBITS AND SCHEDULES (1.1); CONFERENCE WITH CLIENT REGARDING
       LENDERS' COUNSEL'S COMMENTS TO DRAFT PURCHASE AGREEMENT (2); CONFERENCE WITH LENDERS'
       COUNSEL REGARDING SCHEDULES AND EXHIBITS (.3).


   01/18/21 Wheeler, Emma                            2.40      1,512.00       026               60954432
       CONDUCT RESEARCH RE: PSA PRECEDENT (2.2); ATTEND COORDINATION CALL WITH DPW (0.2).


   01/18/21     Hong, Jeesun                               0.90            886.50    026        60958540
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        ADVISOR COORDINATION CALL WITH DPW (0.2); DISCUSS WITH M. TIPPETT (0.2); CALL WITH FW,
        RESTRUCTURING AND CORPORATE TEAM RE: PSA ISSUES (0.5).


   01/18/21  Tahiliani, Radhika                              2.00          1,970.00    026       60950306
       ATTEND ISSUES LIST CALL.


   01/18/21  Marzocca, Anthony P.                   0.60                     591.00    026       61069842
       CALL WITH WEIL AND DPW RE: CASE STATUS AND UPDATES.


   01/18/21     Greene, Anthony L.                         2.30       2,392.00       026         61497766
       REVISE PSA ISSUES LIST PER CALL WITH J. LIOU (1.5); CALL WITH E. WHEELER REGARDING PSA ISSUES
       (.3); COORDINATION CALL WITH DPW (0.5).


   01/19/21  Moore, Rodney L.                         3.30       4,933.50      026           60958567
       CONFERENCE CALL REGARDING PSA ISSUES (1.0); ATTENTION TO PSA/STRUCTURE MATTERS (2.3).


   01/19/21  Liou, Jessica                               2.00       2,650.00           026       60962484
       REVIEW AND RESPOND TO EMAILS RE: CREDIT BID APA (.2); CONFER WITH T. LAMME, S. PECA, R.
       MOORE RE: CREDIT BID APA (1.2); CONFER WITH S. PECA RE: CREDIT BID APA (.3); REVIEW AND RESPOND
       TO EMAILS RE: CREDIT BID PSA (.3).


   01/19/21   Peca, Samuel C.                            5.10       6,247.50         026        60956555
       REVISE PSA (1.9); CALL WITH FIELDWOOD TO DISCUSS ISSUES LIST (1.1); FOLLOW UP CALLS REGARDING
       ISSUES LIST (0.4); PREPARE MATERIAL ISSUES LIST AND REVISE FOR WEIL TEAM'S COMMENTS (0.8);
       CALL REGARDING SCHEDULES AND EXHIBITS WITH FIELDWOOD (0.9).


   01/19/21  Barr, Matthew S.                      0.50                      897.50    026       61182047
       REVIEW APA CORRESPONDENCE (.2); AND DOCUMENT ISSUES (.3).


   01/19/21     Delaney, Scott Michael                       4.30          4,945.00    026       60989759
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        CONFERENCE WITH FIELDWOOD AND WEIL TEAMS RE: CREDIT BID PSA ISSUES LIST (1.2); PREPARE HIGH
        LEVEL ISSUES LIST AND CORRESPONDENCE WITH WEIL TEAM RE: SAME (1.2); REVIEW AND REVISE
        CREDIT BID PSA (1.6); REVIEW CLOSING CHECKLIST AND WIP CHECKLIST (0.3).


   01/19/21  Conley, Brendan C.                            0.10            110.00    026     61181917
       FOLLOW UP RE: 1L TERM SHEET.


   01/19/21   Carlson, Clifford W.                    1.40       1,540.00      026       61045090
       MULTIPLE EMAILS WITH ALIX PARTNERS TEAM AND WEIL M&A TEAM REGARDING SCHEDULES TO
       CREDIT BID PURCHASE AGREEMENT (0.4); PARTICIPATE ON CALL WITH COMPANY REGARDING THE
       CREDIT BID PSA (1.0).


   01/19/21   Greene, Anthony L.                     2.40         2,496.00          026      61182129
       PARTICIPATE ON PSA ISSUES CALL WITH WGM TEAM (1.0); REVISE PSA ISSUES LIST (1.4).


   01/20/21   Goldring, Stuart J.                  0.60                  1,077.00    026     60967409
       PARTICIPATE ON ADVISOR CALL REGARDING PLAN.


   01/20/21  Perez, Alfredo R.                     0.50         797.50      026        60970302
       CONFERENCE CALL WITH FLTL'S ADVISORS REGARDING DISPUTE INVOLVING GENOVESA WELL.


   01/20/21   Marcus, Courtney S.                          1.50          2,175.00    026     61049485
       PARTICIPATE ON WEEKLY ADVISORS CALL.


   01/20/21   Moore, Rodney L.                         5.90      8,820.50       026         60968057
       TELEPHONE CONFERENCE CALL WITH DPW REGARDING PSA/OTHER MATTERS (.5); ATTENTION TO PSA
       ISSUES LISTS AND RELATED MATTER (3.6); REVIEW PLAN AND RSA REGARDING PSA MATTERS (1.8).


   01/20/21   Macke, Jonathan J.                           0.40            518.00    026     61182176
       PARTICIPATE ON ADVISORS CALL.


   01/20/21     Liou, Jessica                              2.10          2,782.50    026     60969890
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        REVIEW AND COMMENT ON CREDIT BID APA ISSUES LIST AND CONFER WITH C. GRING RE: SAME (.4);
        CONFER WITH R. MOORE AND S. PECA RE: CREDIT BID APA TERMS (.3); CONFER WITH DPW, R/I, HL AND
        ALIX PARTNERS RE: STRATEGY, NEXT STEPS, AND OPEN WORKSTREAMS (.7); CONFER WITH C. CARLSON
        RE: NDA ISSUES (.7).


   01/20/21  Barr, Matthew S.                        0.50        897.50          026           60967382
       REVIEW PSA ISSUES (.4); AND CORRESPONDENCE WITH TEAM REGARDING SAME (.1).


   01/20/21   Budovalcev-Nicholas, Daniel R.               1.00          1,395.00    026       60969472
       PARTICIPATE ON WEEKLY ADVISORS CALL.


   01/20/21   Margolis, Steven M.                  0.80        980.00                026       60966324
       PARTICIPATE ON FWE WEEKLY ADVISORS CALL AND REVIEW ISSUES RE: SAME.


   01/20/21   Delaney, Scott Michael                    4.20      4,830.00          026        61191799
       CONFERENCE WITH WEIL TEAM RE: CREDIT BID PSA MATERIAL ISSUES LIST (0.6); CORRESPONDENCE
       WITH WEIL TEAM RE: SAME (0.2); REVIEW AND REVISE CONVEYANCE DOCUMENTS (1.2); REVIEW AND
       REVISE CREDIT BID PSA (1.4); CORRESPONDENCE RE: DILIGENCE MATTERS (0.3); PARTICIPATE ON
       WEEKLY ADVISORS CALL (0.5).


   01/20/21  Conley, Brendan C.                        5.20      5,720.00         026       60962700
       COORDINATE RE: LIEN CALL (.1); REVIEW 1L TERM SHEET MARKUP (2.9); REVIEW COMMITMENT LETTER
       MARKUP (1.0); MARKUP COMMITMENT LETTER (.6); PARTICIPATE ON ADVISOR CALL (0.6).


   01/20/21 Bonhamgregory, Veronica Gayle                  0.40            416.00    026       60969148
       WEEKLY ADVISOR MEETING.


   01/20/21   Abraham, Melissa S.                          0.50            537.50    026       60968132
       PARTICIPATE ON WEEKLY ADVISORS CALL.


   01/20/21  Hufendick, Jason                      0.60        591.00                026       60965599
       ATTEND STANDING CALL WITH COUNSEL TO FLTL AND DIP LENDERS.
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   01/20/21  George, Jason                              1.30     1,001.00          026       60979300
       CALL WITH C. CARLSON RE: NDAS (0.2); DRAFT NDAS FOR LENDERS (1.0); CORRESPONDENCE WITH N.
       MOORE RE: NDAS (0.1).


   01/20/21  Martin, Robert Crawford             4.70         5,052.50        026        60969028
       CONFERENCE REGARDING PURCHASE AGREEMENT ISSUES (.8); REVISE SCHEDULES TO PURCHASE
       AGREEMENT (3.9).


   01/20/21  Wheeler, Emma                                 0.50            315.00    026      61542115
       ATTEND WEEKLY ADVISORS CALL.


   01/20/21  Hong, Jeesun                           0.60                   591.00    026      60968586
       ADVISOR CALL WITH HL, ALIX PARTNERS AND DPW.


   01/20/21   Tahiliani, Radhika                     2.70       2,659.50         026       61018034
       RESEARCH ASSET SALES REQUIREMENTS UNDER LOUISIANA LAW (1.7); CONFERENCE WITH WEIL
       CORPORATE AND S. MARGOLIS (0.5); ATTEND WEEKLY ADVISORS CALL (0.3); CORRESPOND WITH
       CLIENT AND WEIL INTERNAL RE: EMPLOYMENT AGREEMENTS (0.2).


   01/20/21  Marzocca, Anthony P.                          0.60            591.00    026      61542118
       CALL WITH ALL ADVISORS.


   01/20/21   Greene, Anthony L.                      0.50                 520.00    026      61192388
       PARTICIPATE ON PSA ISSUES CALL WITH WEIL TEAM.


   01/20/21  Sierra, Tristan M.                            0.40            308.00    026      61192395
       ATTEND WEEKLY CALL WITH DPW.


   01/21/21   Ballack, Karen N.                        1.50     2,242.50          026         60976583
       REVIEW AND COMMENT ON DRAFT PURCHASE AND SALE AGREEMENT AND BUYER’S PROPOSED
       REVISIONS TO SAME (1.0); VARIOUS E-MAIL CORRESPONDENCE WITH S. DELANEY, S. PECA, L. GONZALEZ
       AND O. GREER REGARDING SAME (.5).
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   01/21/21   Marcus, Courtney S.                    3.70        5,365.00       026        61192433
       PARTICIPATE ON SECURED CLAIM DISCUSSION WITH WEIL, ALIX PARTNERS AND FIELDWOOD (1.3);
       FOLLOW UP CALL WITH WEIL AND LISKOW & LEWIS (.6); PARTICIPATE ON ADVISORS CLAIMS CALL
       (1.8).


   01/21/21  Moore, Rodney L.                        2.00      2,990.00        026             60976477
       TELEPHONE CONFERENCE CALL REGARDING PSA (.7); ATTENTION TO PSA MATTERS (1.3).


   01/21/21  Macke, Jonathan J.                            0.30            388.50    026       61255220
       REVIEW CREDIT BID PSA.


   01/21/21   Liou, Jessica                             0.90       1,192.50        026         60980176
       CONFER WITH A. STEINBERG RE: BID PROCESS (0.3); EMAILS WITH D. CROWLEY RE: BID PROCESS (0.2);
       EMAILS WITH A. GREENE RE: PSA MARKUP AND EMAILS WITH E. WHEELER RE: CORRESPONDENCE RE:
       NOTICING (0.4).


   01/21/21     Peca, Samuel C.                        4.30      5,267.50       026          60978641
       REVIEW AND COMMENT ON BCA (0.4); PARTICIPATE ON ALL HANDS CLAIMS CALL (1.7); REVISE PSA
       (1.7); CALL WITH R. MOORE TO DISCUSS FUNDS FLOW AND OTHER MATTERS (0.5).


   01/21/21  Margolis, Steven M.                        2.10       2,572.50      026       60974043
       VARIOUS CONFERENCES AND CORRESPONDENCE ON APA AND DPW MARKUP (0.4); REVIEW AND REVISE
       APA WITH R. TAHILIANI (1.1); REVIEW NEW ISSUES ON APA AND EMPLOYEE PLAN AND ASSUMED
       EMPLOYEE PLAN SCHEDULES (0.3); REVIEW ISSUES AND CORRESPONDENCE ON BACKSTOP
       COMMITMENT LETTER (0.3).


   01/21/21     Delaney, Scott Michael                 2.10         2,415.00      026         60989678
       FURTHER REVIEW AND REVISE CONVEYANCE DOCUMENTS (1.0); REVIEW AND REVISE CREDIT BID PSA
       (0.6); CORRESPONDENCE WITH WEIL SPECIALISTS RE: SAME (0.3); CORRESPONDENCE RE: DILIGENCE
       MATTERS (0.2).


   01/21/21     Conley, Brendan C.                         2.30          2,530.00    026       60974907
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        REVIEW COMMITMENT LETTER AND INCORPORATE COMMENTS FROM WEIL TEAM (1.5); PREPARE FOR
        AND PARTICIPATE ON SECURED CLAIMS CALL (.8).


   01/21/21  Gonzalez, Luis                         3.20      3,520.00        026        60976887
       CORRESPOND WITH K. BALLACK AND O. GREER REGARDING PURCHASE AND SALE AGREEMENT (0.3);
       CORRESPOND WITH S. DELANEY AND S. PECA REGARDING PURCHASE AND SALE AGREEMENT (0.3);
       CONFERENCE WITH S. PECA REGARDING PURCHASE AND SALE AGREEMENT (0.1); REVIEW AND REVISE
       PURCHASE AND SALE AGREEMENT (2.5).


   01/21/21  Bonhamgregory, Veronica Gayle          1.40        1,456.00      026        61193305
       CLAIMS CALL WITH ALIX PARTNERS, ROTHSCHILD, DAVIS POLK, HAYNES AND BOONE, GORDON AND
       ARRATA.


   01/21/21   Abraham, Melissa S.                          0.40            430.00    026      61193311
       PARTICIPATE ON WEEKLY ADVISORS CALL.


   01/21/21  Hufendick, Jason                     1.80      1,773.00        026               60974098
       ATTEND CLAIMS ANALYSIS CALL WITH COMPANY ADVISORS AND ADVISORS TO FLTL AND DIP
       LENDERS.


   01/21/21  Carlson, Clifford W.                          0.50            550.00    026      61043276
       REVIEW AND REVISE NDAS.


   01/21/21   George, Jason                           1.00        770.00        026           60979323
       REVISE DRAFT OF NDAS FOR LENDERS (0.5); CORRESPOND WITH DPW TEAM, T. LAMME, J. LIOU, AND C.
       CARLSON RE: NDAS (0.5).


   01/21/21  Martin, Robert Crawford                       1.20          1,290.00    026      61047140
       REVIEW AND REVISE PREF RIGHTS SCHEDULE.


   01/21/21  Hong, Jeesun                          1.50                  1,477.50    026      61197553
       PROVIDE COMMENTS TO DPW DRAFT CREDIT BID PSA.
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   01/21/21     Tahiliani, Radhika                   4.30       4,235.50         026        60976149
       REVIEW NOTES AND PURCHASE AGREEMENT (0.5); DISCUSS MARKUP WITH S. MARGOLIS (1.3); REVISE
       PURCHASE AGREEMENT (1.1); ATTEND STATUS CALL WITH WEIL INTERNAL (0.4); RESEARCH RE KERPS
       (0.6); REVIEW SEPARATION AGREEMENT AND CONSULTING AGREEMENT (0.4).


   01/21/21  Greene, Anthony L.                            0.30            312.00     026       61197562
       REVIEW PSA ISSUES LIST.


   01/22/21  Ballack, Karen N.                      3.20      4,784.00      026        60990638
       REVIEW AND REVISE BUYER’S REVISED DRAFT PURCHASE AND SALE AGREEMENT AND CONFER WITH L.
       GONZALEZ REGARDING SAME.


   01/22/21   Moore, Rodney L.                      4.30      6,428.50           026        60990344
       CONFERENCE CALL WITH DPW (.8); CONFERENCE CALL REGARDING PSA ISSUES (1.1); REVIEW AND
       REVISE PSA (2.4).


   01/22/21     Liou, Jessica                           2.40        3,180.00        026         61002565
       CONFER WITH D. SCHAIBLE AND N. TSIOURIS RE: CREDIT BID APA (.5); CONFER WITH DPW RE: CREDIT
       BID APA (1.0); CONFER WITH R. MOORE AND S. PECA RE: CREDIT BID APA OPEN ISSUES AND NEXT STEPS
       (.3); REVIEW AND RESPOND TO EMAIL FROM M. HANEY RE: CLEANSING (.2); REVIEW AND MARK UP NDA
       (.4).


   01/22/21   Peca, Samuel C.                              4.50      5,512.50         026       61197746
       REVISE PSA (3.8); REVISE NDA (0.3); PARTICIPATE ON UPDATE CALL WITH DPW (0.4).


   01/22/21   Margolis, Steven M.                     2.40       2,940.00       026        60988652
       REVIEW AND REVISE COMMENTS TO APA (0.7); CONF. AND CORRESPONDENCE WITH R. TAHILIANI ON
       SAME (0.3); REVIEW COMMENTS FROM FWE TEAM AND S. PECA AND CORRESPONDENCE ON SAME (0.5);
       CORRESPONDENCE WITH R. TAHILIANI ON SAME (0.1); PARTICIPATE ON DPW COORDINATION CALL
       AND REVIEW WIP AND ISSUES FOR SAME (0.8).


   01/22/21     Goslin, Thomas D.                          1.10          1,292.50     026       60988365
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        REVISE SALE AGREEMENT.


   01/22/21  Delaney, Scott Michael                7.50       8,625.00         026           61198040
       CONFERENCE WITH WEIL AND DPW TEAMS RE: CREDIT BID PSA MATERIAL ISSUES LIST (1.0); REVIEW
       AND REVISE CREDIT BID PSA (6.5).


   01/22/21     Gonzalez, Luis                        1.60        1,760.00      026         60990942
       CORRESPOND AND CONFERENCE WITH K. BALLACK REGARDING PURCHASE AND SALE AGREEMENT
       (0.9); REVIEW AND REVISE PURCHASE AND SALE AGREEMENT (0.5); CORRESPOND WITH O. GREER
       REGARDING PURCHASE AND SALE AGREEMENT (0.1); CORRESPOND WITH S. DELANEY REGARDING
       PURCHASE AND SALE AGREEMENT (0.1).


   01/22/21  Bonhamgregory, Veronica Gayle                  0.30            312.00    026       60978618
       COORDINATION CALL WITH DPW.


   01/22/21   Hufendick, Jason                      0.40         394.00               026       60994095
       PARTICIPATE ON STANDING CALL WITH COUNSEL TO FLTL AND DIP LENDERS.


   01/22/21   Carlson, Clifford W.                 0.40         440.00                026       61197770
       PARTICIPATE ON COORDINATION CALL WITH LENDERS' ADVISORS.


   01/22/21  Wheeler, Emma                           0.90          567.00             026       60994378
       ATTEND CALL WITH DPW TO DISCUSS CREDIT BID PSA ISSUES LIST.


   01/22/21  Hong, Jeesun                              1.60       1,576.00        026           61254559
       DISCUSSION WITH M. TIPPETT (0.3); REVISE COMMENTS TO THE DPW DRAFT CREDIT BID PSA (1.3).


   01/23/21  Moore, Rodney L.                               1.30          1,943.50    026       61198243
       REVIEW PSA.


   01/24/21     Greene, Anthony L.                          2.50          2,600.00    026       61497885
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        DRAFT PSA ISSUES LIST.


   01/25/21   Goldring, Stuart J.                   0.50                   897.50    026       61200942
       PARTICIPATE ON PERIODIC ADVISOR UPDATE CALL.


   01/25/21  Moore, Rodney L.                              2.80          4,186.00    026       61497960
       ATTENTION TO PSA AND RELATED ISSUES.


   01/25/21   Liou, Jessica                              2.90      3,842.50         026        61002489
       CONFER WITH DAVIS POLK, R/I, HL, WEIL RE: STATUS AND NEXT STEPS (.5); CONFER WITH M. DANE AND
       T. LAMME RE: MARATHON (.3); REVIEW AND REVISE CREDIT BID APA, CONFER WITH S. PECA RE: NEXT
       STEPS ON CREDIT BID APA (.7); CONFER WITH HL, ALIX PARTNERS AND WEIL RE: NEXT STEPS, PROCESS
       AND TIMING (.7); REVIEW AND COMMENT ON DRAFT CREDIT BID APA (.7).


   01/25/21   Peca, Samuel C.                          0.50                612.50    026       61497965
       REVISE PSA (0.3); EMAIL REGARDING PSA TO WEIL TEAM (0.2).


   01/25/21   Margolis, Steven M.                  0.60         735.00               026       61003040
       PARTICIPATE ON DPW COORDINATION CALL AND REVIEW WIP RE: SAME.


   01/25/21  Delaney, Scott Michael                        0.40            460.00    026       61254238
       REVIEW REVISIONS TO CREDIT BID PSA.


   01/25/21   Carlson, Clifford W.                         0.50            550.00    026       61042088
       PARTICIPATE ON LENDER COORDINATION CALL.


   01/25/21   Martin, Robert Crawford             0.70         752.50         026        61047207
       CORRESPOND WITH BUYERS' COUNSEL REGARDING PREF RIGHTS SCHEDULE (.3); REVIEW AND UPDATE
       PREF RIGHTS SCHEDULE (.4).


   01/25/21     Wheeler, Emma                              0.40            252.00    026       61013485
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        ATTEND COORDINATION CALL WITH DPW.


   01/25/21   Choi, Erin Marie                               0.30            330.00    026    61204779
       PARTICIPATE ON DPW COORDINATION CALL.


   01/25/21  Marzocca, Anthony P.                            0.50            492.50    026    61069693
       CALL WITH WEIL AND DPW RE: CASE PROGRESS.


   01/25/21   Greene, Anthony L.                      2.70       2,808.00              026    61077288
       PARTICIPATE ON DPW COORDINATION CALL (0.2); REVISE CREDIT BID PSA (2.5).


   01/26/21  Moore, Rodney L.                                2.50          3,737.50    026    61498882
       REVIEW AND REVISE PSA.


   01/26/21  Liou, Jessica                           0.80       1,060.00       026            61045931
       REVIEW AND REVISE CREDIT BID APA, REVIEW AND RESPOND TO EMAILS FROM R. MOORE RE:
       ADMINISTRATIVE EXPENSE CLAIMS TOGGLE.


   01/26/21  Peca, Samuel C.                                 1.90          2,327.50    026    61498890
       REVIEW AND REVISE PSA.


   01/26/21  Barr, Matthew S.                                0.10            179.50    026    61542121
       CORRESPOND WITH DPW REGARDING OPEN ISSUES.


   01/26/21   Margolis, Steven M.                       1.90       2,327.50       026        61006913
       REVIEW EMPLOYEE ISSUES ON APA AND CONFER WITH S. PECA AND R. MOORE ON SAME (0.3); REVIEW
       UPDATED APA FROM S. PECA (0.6); CONFER WITH R. TAHILIANI ON EMPLOYEE ISSUES AND REVIEW AND
       REVISE APA ON SAME (0.8); REVIEW FINAL COMMENTS ON SAME (0.2).


   01/26/21     Delaney, Scott Michael                       2.80          3,220.00    026    61026936
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        REVIEW AND REVISE CREDIT BID PSA (1.1); FURTHER REVIEW AND REVISE CREDIT BID PSA (0.5);
        CORRESPOND WITH L. SMITH RE: CONVEYANCE DOCUMENTS (0.2); REVIEW AND REVISE CONVEYANCE
        DOCUMENTS (1.0).


   01/27/21   Marcus, Courtney S.                          0.60            870.00    026      61013839
       PARTICIPATE ON WEEKLY ADVISORS CALL.


   01/27/21  Moore, Rodney L.                              4.20          6,279.00    026      61206284
       REVIEW AND REVISE PSA.


   01/27/21  Macke, Jonathan J.                            0.60            777.00    026      61254338
       ATTENTION TO CREDIT BID PSA.


   01/27/21   Rahman, Faiza N.                             0.20            255.00    026      61205918
       PARTICIPATE ON WEEKLY ADVISORS CALL.


   01/27/21  Liou, Jessica                                 0.20            265.00    026      61542130
       CONFER WITH DPW AND R/I RE: NEXT STEPS.


   01/27/21   Peca, Samuel C.                              1.40          1,715.00    026      61206287
       REVISE PSA.


   01/27/21   Budovalcev-Nicholas, Daniel R.               0.30            418.50    026      61015139
       PARTICIPATE ON WEEKLY ADVISOR CALL.


   01/27/21  Delaney, Scott Michael                      4.10       4,715.00      026         61026425
       CONFERENCE WITH S. PECA RE: PSA REVISIONS (0.2); PARTICIPATE ON WEEKLY ADVISORS CALL (0.2);
       FURTHER REVIEW AND REVISE CREDIT BID PSA (3.7).


   01/27/21   Bonhamgregory, Veronica Gayle                0.20            208.00    026      61020346
       PARTICIPATE ON WEEKLY ADVISORS CALL.
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   01/27/21   Carlson, Clifford W.                           0.40            440.00    026      61039824
       PARTICIPATE ON CALL WITH LENDER ADVISORS.


   01/27/21  Martin, Robert Crawford             0.30        322.50                    026      61498897
       CORRESPOND WITH COMPANY REGARDING STATUS OF DISCLOSURE SCHEDULES.


   01/27/21  Wheeler, Emma                                   0.20            126.00    026      61013507
       ATTEND WEEKLY ADVISORS CALL.


   01/27/21   Marzocca, Anthony P.                           0.30            295.50    026      61542133
       PARTICIPATE ON CALL WITH ALL ADVISORS.


   01/27/21   Greene, Anthony L.                             0.40            416.00    026      61201735
       PARTICIPATE ON WEEKLY ADVISORS CALL.


   01/28/21  Moore, Rodney L.                      3.80         5,681.00        026             61044401
       TELEPHONE CONFERENCE CALL REGARDING PSA ISSUES (1.0); ATTENTION TO PSA ISSUES AND
       SCHEDULES AND PROVIDE COMMENTS REGARDING PSA (2.8).


   01/28/21  Liou, Jessica                             1.40        1,855.00          026        61046035
       CONFER WITH S. PECA, R. MOORE, S. DELANEY RE: QUESTIONS RE: CREDIT BID APA (.3); REVIEW AND
       COMMENT ON CREDIT BID APA (.8); CONFER WITH N. TSIOURIS RE: NEXT STEPS (0.3).


   01/28/21   Peca, Samuel C.                          1.70      2,082.50        026          61498925
       REVISE PSA AND CIRCULATE TO DPW (0.9); CALL WITH WEIL TEAM REGARDING PSA (0.3); CALL WITH
       RESTRUCTURING REGARDING PSA AND OTHER ISSUES (0.5).


   01/28/21  Margolis, Steven M.                  0.80       980.00       026       61028529
       REVIEW TRANSACTION EMPLOYEE ISSUES, EMPLOYMENT AGREEMENTS AND RELATED CONCERNS (0.6);
       REVIEW COMMENTS AND CHANGES TO BACKSTOP COMMITMENT LETTER (0.2).


   01/28/21     Delaney, Scott Michael                       4.00          4,600.00    026      61026498
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        REVIEW AND REVISE CREDIT BID PSA (1.7); CONFERENCE WITH R. MOORE AND S. PECA RE: CREDIT BID
        PSA (0.3); CORRESPOND WITH J. LIOU RE: CREDIT BID PSA OPEN ISSUES (0.2); REVIEW AND REVISE
        FUNDING AGREEMENT (0.6); CONFERENCE WITH J. LIOU, R. MOORE AND S. PECA RE: CREDIT BID PSA (0.5);
        FURTHER REVIEW AND REVISE CREDIT BID PSA (0.7).


   01/28/21 Wheeler, Emma                                  2.10          1,323.00    026         61033570
       CONDUCT RESEARCH RE: CREDIT BID PSA.


   01/28/21   Hong, Jeesun                         1.00          985.00       026        61027298
       REVIEW COMMENTS TO THE BACK STOP LETTER AND PLAN (0.5); UPDATE DISCLOSURE STATEMENT
       (0.5).


   01/29/21  Moore, Rodney L.                        4.10      6,129.50     026         61043938
       REVIEW AND TELEPHONE CONFERENCE CALL REGARDING ISSUES ON COMMITMENT LETTER AND DEBT
       TERM SHEET (1.4); TELEPHONE CONFERENCE CALL WITH BPW REGARDING DOCUMENTS AND ISSUES (.7);
       ATTENTION TO STRUCTURE AND PSA ISSUES (2.0).


   01/29/21  Liou, Jessica                             0.30         397.50           026         61542375
       CONFER WITH DPW, R/I, WEIL, HL, AND ALIX PARTNERS RE: NEXT STEPS.


   01/29/21   Margolis, Steven M.                  0.40        490.00                026         61033065
       PARTICIPATE ON DPW COORDINATION CALL AND PREPARE FOR SAME.


   01/29/21   Carlson, Clifford W.                         0.30            330.00    026         61042043
       PARTICIPATE ON CALL WITH LENDERS' ADVISORS.


   01/29/21 Wheeler, Emma                                  0.70            441.00    026         61033547
       CONDUCT RESEARCH RE: CREDIT BID PSA.


   01/29/21   Hong, Jeesun                                 0.30            295.50    026         61206455
       PARTICIPATE ON ADVISOR CALL.
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   01/29/21  Marzocca, Anthony P.                             0.30            295.50    026    61062165
       CALL WITH WEIL AND DPW RE: COORDINATION.


   01/30/21 Wheeler, Emma                                     1.70          1,071.00    026    61033543
       CONDUCT RESEARCH RE: CREDIT BID PSA.


   01/31/21  Wheeler, Emma                                    0.30            189.00    026    61097120
       RESEARCH RE: CREDIT BID PSA.


    SUBTOTAL TASK 026 - Secured Creditor Issues /           364.20       $436,611.50
    Meetings / Communications:

   01/07/21  Macke, Jonathan J.                        0.80       1,036.00        027        60878533
       CONFERENCE WITH M. TIPPET AND J. HONG (.3); ATTENTION TO STATUS OF POTENTIAL CHANGES IN
       STRUCTURE (.2); ATTENTION TO POTENTIAL SUPPLEMENTS TO TAX DISCLOSURE (.3).


   01/07/21   Hong, Jeesun                                    0.30            295.50    027    60879219
       PARTICIPATE ON TAX INTERNAL CALL.


   01/07/21  Tippett, Matthew                    1.50       1,612.50        027        60884481
       TELEPHONE CONFERENCES WITH WORKING GROUP RE: TAX MATTERS (1.0); COMMUNICATIONS WITH
       OPPOSING TAX COUNSEL (.5).


   01/08/21  Macke, Jonathan J.                     1.30       1,683.50         027            60890380
       CORRESPONDENCE WITH DPW (.2); ATTENTION TO NON-US PERSON DISCLOSURE (1.1).


   01/08/21  Tippett, Matthew                    1.00       1,075.00       027                 60884549
       REVIEW CORRESPONDENCE FROM OPPOSING TAX COUNSEL AND ANALYZE TAX ISSUES.


   01/11/21     Goldring, Stuart J.                           2.00          3,590.00    027    60911607
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        CONSIDER COMMENTS TO BACKSTOP COMMITTMENT AGREEMENT (.5); CALL WITH M. TIPPETT
        REGARDING SAME AND DRAFT DISCLOSURE STATEMENT (.6); EMAIL EXCHANGES WITH J. MACKE, M.
        TIPPETT AND, IN PART, D. NICHOLAS REGARDING EXIT FACILITES (.9).


   01/11/21   Macke, Jonathan J.                       1.50       1,942.50      027        60902924
       ATTENTION TO BACKSTOP COMMITMENT LETTER (.4); CORRESPONDENCE RE: SAME (.2); ATTENTION TO
       CREDIT FACILITY TERM SHEETS (.3); CONFERENCE RE: CREDIT FACILITIES (.6).


   01/11/21  Budovalcev-Nicholas, Daniel R.        0.60        837.00      027              60905614
       ATTENTION TO TAX CONSIDERATIONS WITH RESPECT TO BACKSTOP COMMITMENT LETTER.


   01/11/21  Tippett, Matthew                      5.20         5,590.00       027       60920613
       COMMUNICATIONS AND TELEPHONE CONFERENCES WITH WORKING GROUP RE: TAX ISSUES WITH
       COMMITMENT PREMIUM (2.2); RESEARCH AND ANALYZE TAX (2.5); REVISE BACKSTOP COMMITMENT
       LETTER (.5).


   01/12/21  Goldring, Stuart J.                 1.00      1,795.00     027           60921176
       REVIEW EMAILS REGARDING COMMENTS TO BACKSTOP COMMITMENT AGREEMENT (.2); INTERNAL
       TEAM CALL REGARDING DRAFT BACKSTOP COMMITMENT AGREEMENT (.8).


   01/12/21  Macke, Jonathan J.                            0.20            259.00    027    60917371
       REVIEW BACKSTOP COMMITMENT LETTER.


   01/12/21  Budovalcev-Nicholas, Daniel R.       0.60                     837.00    027    60915705
       CALL REGARDING BACKSTOP COMMITMENT LETTER.


   01/12/21 Tippett, Matthew                     2.50     2,687.50        027               60922781
       COMMUNICATIONS AND TELEPHONE CONFERENCES WITH WORKING GROUP RE: BACKSTOP
       COMMITMENT LETTER.


   01/13/21 Tippett, Matthew                     0.50       537.50                   027    60943166
       COMMUNICATIONS WITH WORKING GROUP AND OPPOSING COUNSEL.
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   01/14/21  Macke, Jonathan J.                     0.60          777.00             027     60931623
       ATTENTION TO STRUCTURE (.4); CORRESPONDENCE WITH DPW (.2).


   01/14/21  Budovalcev-Nicholas, Daniel R.       0.40       558.00                  027     60962062
       ATTENTION TO FWE STRUCTURE AND COORDINATE EMAILS REGARDING SAME.


   01/14/21  Hong, Jeesun                          1.90      1,871.50      027        60933444
       REVIEW PRECEDENT DISCLOSURE STATEMENT AND PLAN FOR GRANDPARENT HOLDING STRUCTURE
       AND NON-US HOLDER DISCLOSURE; RESEARCH DISCLOSURE STATEMENTS WITH NON-US HOLDER
       SECTION.


   01/14/21  Tippett, Matthew                         1.80       1,935.00     027     60947169
       REVIEW LEGAL PRECEDENTS (.5); COMMUNICATIONS AND TELEPHONE CONFERENCES WITH WORKING
       GROUP RE: TAX ISSUES (1.0); COMMUNICATIONS WITH OPPOSING COUNSEL (.3).


   01/15/21  Goldring, Stuart J.                      3.00        5,385.00      027          60944741
       REVIEW DAVIS POLK DRAFT STRUCTURE CHART (.2); CALL WITH WEIL TAX AND DAVIS POLK TAX
       REGARDING SAME (.9); FOLLOW-UP CALLS WITH M. TIPPETT AND D. NICHOLAS REGARDING SAME (.9);
       CALLS WITH J. LIOU AND WEIL TAX TEAM REGARDING SAME (.7); FURTHER CONSIDER SAME (.3).


   01/15/21     Macke, Jonathan J.                     1.20     1,554.00        027       60941279
       ATTENTION TO STRUCTURE FROM DPW (.3); CONFERENCE WITH WEIL TEAM RE: PROPOSED STRUCTURE
       (.5); CORRESPONDENCE WITH FINANCE TEAM (.2); CORRESPONDENCE RE: FOREIGN SUBS (.2).


   01/15/21   Budovalcev-Nicholas, Daniel R.      2.20      3,069.00                 027     60962330
       CALLS REGARDING FWE TAX STRUCTURING AND FOLLOW-UP FROM SAME.


   01/15/21  Hong, Jeesun                         1.50       1,477.50         027         60950178
       REVIEW DPW STRUCTURE DECK AND DISCUSS STRUCTURE WITH DPW (1.0); INTERNAL TAX CALL (0.5).


   01/15/21     Tippett, Matthew                           4.50          4,837.50    027     60969583
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        TELEPHONE CONFERENCES AND COMMUNICATIONS WITH WORKING GROUP AND OPPOSING COUNSEL
        RE: STRUCTURE OF CREDIT BID TRANSACTION (3.5); COMMUNICATIONS AND TELEPHONE CONFERENCES
        WITH WORKING GROUP AND OPPOSING COUNSEL RE: PURCHASE AGREEMENT AND 338(G) ELECTION
        (1.0).


   01/16/21  Goldring, Stuart J.                   1.40      2,513.00       027        60944764
       INTERNAL CALL WITH BANKING, RESTRUCTURING AND TAX REGARDING CREDIT BID STRUCTURE.


   01/16/21  Macke, Jonathan J.                    1.00       1,295.00        027         60941371
       ATTENTION TO STRUCTURE AND ADMIN AGENT ABILITY TO FACILITY STRUCTURE (.5); CONFERENCE
       WITH WEIL WORKING GROUP RE: SAME (.5).


   01/16/21  Liou, Jessica                         1.90       2,517.50      027             60952770
       CONFER WITH WEIL TAX, BANKING, AND M&A TEAMS RE: TRANSACTION STRUCTURE
       CONSIDERATIONS.


   01/16/21   Budovalcev-Nicholas, Daniel R.      1.00      1,395.00                 027    60962354
       CALLS REGARDING FWE TAX STRUCTURING AND FOLLOW-UP THERETO.


   01/16/21  Conley, Brendan C.                     0.80                   880.00    027    60937566
       PREPARE FOR AND PARTICIPATE ON TAX STRUCTURING CALL.


   01/16/21   Tippett, Matthew                   1.50     1,612.50        027        60969628
       TELEPHONE CONFERENCES AND COMMUNICATIONS WITH WORKING GROUP RE: STRUCTURE OF CREDIT
       BID PURCHASER.


   01/17/21  Macke, Jonathan J.                     1.00      1,295.00               027    60950675
       ATTENTION TO PURCHASE AGREEMENT (.7); CONFERENCE WITH M. TIPPET (.3).


   01/17/21  Tippett, Matthew                    3.00      3,225.00       027            60969637
       REVIEW COMMENTS FROM DPW ON PURCHASE AGREEMENT AND PREPARE TAX ISSUES LIST (2.5);
       TELEPHONE CONFERENCE WITH J. MACKE (.5).
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   01/18/21     Macke, Jonathan J.                     0.90       1,165.50       027       60952480
       ATTENTION TO STATUS OF FOREIGN SUBSIDIARIES (.2); REVIEW CREDIT BID PURCHASE AGREEMENT
       (.3); CORRESPONDENCE WITH DPW TAX (.2); CORRESPONDENCE WITH PWC (.2).


   01/18/21  Budovalcev-Nicholas, Daniel R.        0.50                          697.50    027    60946429
       ATTEND WEEKLY CATCH-UP CALL AND PREP FOR SAME.


   01/18/21  Tippett, Matthew                         2.50     2,687.50        027     60969762
       TELEPHONE CONFERENCE WITH WORKING GROUP AND CLIENT RE: TAX ISSUES IN PURCHASE
       AGREEMENT AND PREPARE FOR SAME (1.5); COMMUNICATIONS WITH WORKING GROUP, OPPOSING
       COUNSEL AND CLIENT RE: TAX CLASSIFICATION OF INTERNATIONAL OPERATIONS (1.0).


   01/19/21  Macke, Jonathan J.                      0.80     1,036.00         027         60958145
       ATTENTION TO SALE OF FOREIGN SUBSIDIARIES AND CORRESPONDENCE RE: SAME (.3); ATTEND WIP
       CONFERENCE (.5).


   01/19/21   Tippett, Matthew                        2.80     3,010.00       027     60969920
       TELEPHONE CONFERENCES AND COMMUNICATIONS WITH WORKING GROUP (1.5); ANALYZE TAX
       ISSUES RELATED TO ACQUISITION OF FIELDWOOD'S INTERENATIONAL OPERATIONS (1.3).


   01/20/21  Macke, Jonathan J.                                  0.20            259.00    027    60966951
       CORRESPOND WITH DPW.


   01/20/21  Tippett, Matthew                      1.70    1,827.50       027                     60971935
       COMMUNICATIONS WITH WORKING GROUP AND OPPOSING COUNSEL RE: TAX MATTERS (1.2);
       TELEPHONE CONFERENCE WITH WORKING GROUP (.5).


   01/21/21  Macke, Jonathan J.                   0.20        259.00                       027    60976044
       REVIEW BACKSTOP COMMITMENT LETTER RE: TAX CONSIDERATIONS.


   01/21/21     Budovalcev-Nicholas, Daniel R.                   1.40          1,953.00    027    60976507
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        ATTENTION TO TAX CONSIDERATIONS WITH RESPECT TO 2L BACKSTOP COMMITMENT LETTER (1.0);
        ATTENTION TO TAX CONSIDERATIONS WITH RESPECT TO 1L TERM SHEET (0.4).


   01/21/21     Tippett, Matthew                        3.20     3,440.00       027       60971920
       COMMUNICATIONS WITH WORKING GROUP AND OPPOSING COUNSEL RE: BACKSTOP COMMITMENT
       LETTER (.7); RESEARCH AND ANALYZE SAME (1.5); TELEPHONE CONFERENCES WITH WORKING GROUP
       (.5); REVIEW COMMENTS FROM J. HONG AND REVISE PURCHASE AGREEMENT (.5).


   01/22/21  Macke, Jonathan J.                         1.00     1,295.00           027     60985966
       REVIEW PLAN (.5); CORRESPONDENCE RE: SAME (.3); CORRESPONDENCE RE: PSA (.2).


   01/22/21   Budovalcev-Nicholas, Daniel R.          0.80       1,116.00       027        60986506
       PARTICIPATE ON DPW CATCH-UP CALL (0.3); ATTENTION TO TAX CONSIDERATIONS WITH RESPECT TO
       1L AND TERM SHEET ISSUES LIST (0.5).


   01/22/21  Tippett, Matthew                       2.00       2,150.00       027       61010225
       REVIEW AND REVISE PURCHASE AGREEMENT AND PLAN (1.0); COMMUNICATIONS WITH WORKING
       GROUP RE: SAME (0.7); COMMUNICATIONS WITH WORKING GROUP RE: TAX MATTERS ON PURCHASE
       AGREEMENT (0.3).


   01/25/21  Goldring, Stuart J.                  0.30                     538.50    027    61002373
       REVIEW INTERNAL EMAIL EXCHANGES REGARDING DRAFT PLAN.


   01/25/21  Tippett, Matthew                    0.70       752.50         027              61023061
       REVIEW UPDATED PLAN AND COMMUNICATIONS WITH WORKING GROUP RE: SAME.


   01/26/21   Goldring, Stuart J.                    0.20                  359.00    027    61009196
       PARTICIPATE ON PERIODIC INTERNAL UPDATE CALL.


   01/26/21  Macke, Jonathan J.                            1.00          1,295.00    027    61005380
       REVIEW FUNDING AGREEMENT.
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   01/26/21  Hong, Jeesun                             1.90        1,871.50      027       61006847
       UPDATE TAX TEAM AND DISCUSS WITH M. TIPPETT (0.4); REVIEW FUNDING AGREEMENT AND PROVIDE
       COMMENTS (1.0); REVIEW AND RESPOND TO EMAIL RE: ADMIN CLAIM / TOGGLE ISSUES (0.5).


   01/26/21     Tippett, Matthew                     3.00       3,225.00       027       61023059
       REVIEW AND REVISE FUNDING AGREEMENT AND COMMUNICATIONS WITH WORKING GROUP RE: SAME
       (2.0); COMMUNICATIONS WITH WORKING GROUP RE: REVISIONS TO DISCLOSURE STATEMENT AND
       REVIEW SAME (1.0).


   01/27/21  Goldring, Stuart J.                    0.60     1,077.00                027     61020911
       CALLS WITH M. TIPPET REGARDING DRAFT PURCHASE AGREEMENT.


   01/27/21  Tippett, Matthew                      4.00       4,300.00       027             61023001
       REVIEW AND REVISE TRANSACTION DOCUMENTS (1.0); COMMUNICATIONS AND TELEPHONE
       CONFERENCES WITH WORKING GROUP (3.0).


   01/28/21   Goldring, Stuart J.                   0.40       718.00       027              61027706
       PARTICIPATE ON TAX CALL WITH DAVIS POLK REGRDING BACKSTOP AGREEMENT.


   01/28/21  Macke, Jonathan J.                            0.30            388.50    027     61030906
       REVIEW FUNDING AGREEMENT.


   01/28/21  Budovalcev-Nicholas, Daniel R.        1.00     1,395.00       027         61037351
       ATTENTION TO TAX CONSIDERATIONS RE: BACKSTOP COMMITMENT LETTER RELATED FEES AND CALL
       WITH DPW REGARDING SAME.


   01/28/21    Tippett, Matthew                    3.50         3,762.50       027           61023072
       TELEPHONE CONFERENCES AND COMMUNICATIONS WITH WORKING GROUP AND OPPOSING COUNSEL
       RE: 2L COMMITMENT LETTER AND DISCLOSURE STATEMENT (3.0); REVIEW AND REVISE SAME (.5).


   01/29/21  Hong, Jeesun                         0.70                     689.50    027     61042049
       REVIEW PLAN AND UPDATE DISCLOSURE STATEMENT.
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   01/31/21  Goldring, Stuart J.                   0.20        359.00       027             61045465
       CONSIDER PROPOSED LANGUAGE FOR BACKSTOP AGREEMENT (.1); EMAIL EXCHANGE WITH D.
       NICHOLAS AND M. TIPPET REGARDING SAME (.1).


    SUBTOTAL TASK 027 - Tax Matters:                      83.50       $101,602.50

   01/06/21  Liou, Jessica                        1.40      1,855.00                 028    60873941
       REVIEW AND COMMENT ON DRAFT PRESENTATION FOR UCC PROFESSIONALS.


   01/07/21  Liou, Jessica                          0.40       530.00                028    60892947
       CONFER WITH M. HANEY AND D. CROWLEY RE: UCC PRESENTATION.


   01/11/21  Perez, Alfredo R.                    0.80      1,276.00                 028    60909364
       CONFERENCE CALL WITH UCC ADVISORS REGARDING SURETY BOND ISSUES.


   01/11/21  Barr, Matthew S.                              0.40            718.00    028    61180087
       CALL WITH UCC REGARDING SURETIES.


   01/11/21   Carlson, Clifford W.                  1.00       1,100.00      028           60992740
       PARTICIPATE ON CALL WITH CREDITORS' COMMITTEE'S COUNSEL REGARDING SURETY ISSUES (.7);
       FINALIZE NDA FOR COMMITTEE MEMBER AND CALL WITH COUNSEL REGARDING SAME (.3).


   01/11/21  Choi, Erin Marie                      1.80         1,980.00         028        61180088
       CALL WITH FIELDWOOD REGARDING RULE 2004 REQUESTS (1.0); CALL WITH UCC (0.8).


   01/21/21  Liou, Jessica                          0.50        662.50         028         60980173
       REVIEW AND RESPOND TO EMAILS FROM HL RE: QUESTIONS FROM CONWAY (0.3); EMAIL WITH S.
       MILLMAN RE: STROOCK BILLING (0.2).


   01/26/21   Carlson, Clifford W.                  0.40       440.00                028    61041314
       PARTICIPATE ON CALL WITH UCC'S COUNSEL REGARDING CHAPTER 11 PLAN.
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   Date         Timekeeper/Narrative                      Hours           Amount      Task   Index

   01/27/21  Greene, Anthony L.                             0.20            208.00    028    61498907
       REVIEW CORRESPONDENCE FROM THE UCC.


   01/28/21   Liou, Jessica                       0.80       1,060.00        028         61046094
       REVIEW CHALLENGE STIPULATION AND CONFER WITH C. CARLSON RE: SAME; EMAIL M. BARR AND A.
       PEREZ RE: SAME.


   01/28/21  Peca, Samuel C.                                0.30            367.50    028    61498924
       REVIEW UCC MATERIALS.


   01/28/21  Barr, Matthew S.                           1.30      2,333.50            028    61027948
       REVIEW UCC PROPOSAL (.7); ATTEND TO SAME (.2); CALL REGARDING SAME (.4).


    SUBTOTAL TASK 028 - Unsecured Creditors                 9.30        $12,530.50
    Committee / Meetings / Communications:

   01/04/21   Liou, Jessica                          0.20      265.00        029        60859594
       EMAILS WITH S. MILLMAN, EMAILS WITH DPW, REVIEW AND COMMENT ON MATRICES AND EMAIL H.
       JAMES RE: SAME.


   01/04/21  Carlson, Clifford W.                 0.20                      220.00    029    60913454
       MULTIPLE EMAILS REGARDING NOTICE REQUIREMENTS.


   01/05/21  Carlson, Clifford W.                  0.20                     220.00    029    60913616
       MULTIPLE EMAILS REGARDING REPORTING OBLIGATIONS.


   01/08/21  Carlson, Clifford W.                  0.20                     220.00    029    60953511
       EMAILS REGARDING VARIOUS REPORTING OBLIGATIONS.


   01/12/21  Carlson, Clifford W.                           0.20            220.00    029    60991346
       EMAILS REGARDING REPORTING OBLIGATIONS.
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   Date         Timekeeper/Narrative                          Hours           Amount      Task   Index

   01/15/21  Perez, Alfredo R.                    0.10         159.50       029                  60950574
       TELEPHONE CONFERENCES WITH H. DURAN REGARDING 2015.3 RECENT DEVELOPMENTS.


   01/15/21  Margolis, Steven M.                      2.60      3,185.00          029       60942836
       CONFER WITH DPW AND WEIL TEAM ON PREVIEW OF ISSUES IN APA MARKUP (1.1); REVIEW WEIL
       DRAFT OF SAME (0.3); DRAFT SUMMARY OF EMPLOYEE ISSUES FOR WEIL TEAM (0.3); CONFER AND
       CORRESPONDENCE WITH R. TAHILIANI ON SAME (0.3); CORRESPONDENCE WITH WEIL TEAM ON DELA
       STATUS AND UPDATES (0.2); REVIEW DOCUMENTS AND CORRESPONDENCE ON TRANSACTION
       STRUCTURE (0.4).


   01/19/21  Carlson, Clifford W.                               0.10            110.00    029    61045169
       EMAILS REGARDING REPORTING OBLIGATIONS.


   01/22/21  Carlson, Clifford W.                  0.30                         330.00    029    61046579
       EMAILS REGARDING VARIOUS REPORTING OBLIGATIONS.


    SUBTOTAL TASK 029 - US                                      4.10         $4,929.50
    Trustee/MORs/Schedules & SOFAs/2015.3
    Reports:

   01/01/21   Moore, Rodney L.                       4.80      7,176.00      031        60833657
       FINALIZE PLAN OF MERGER/EXHIBITS ISSUE AND IMPLEMENTATION AGREEMENT AND MULTIPLE
       TELEPHONE CONFERENCE CALLS REGARDING SAME.


   01/01/21  Liou, Jessica                          3.00        3,975.00       031       60860067
       CONFERS AND EMAILS WITH T. LAMME, DPW, APACHE, HAK RE: APACHE DEFINITIVE DOCUMENTS.


   01/01/21  Margolis, Steven M.                0.30       367.50       031        60824591
       REVIEW COMMENTS AND CHANGES TO IMPLEMENTATION AGREEMENT AND CORRESPONDENCE RE:
       SAME.


   01/01/21     Carlson, Clifford W.                            0.80            880.00    031    61163229
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        PARTICIPATE ON CALLS WITH ADVISORS REGARDING PLAN OF MERGER.


   01/01/21   George, Jason                           7.20       5,544.00       031       60825433
       PREPARE APACHE DEFINITIVE DOCUMENTS FOR FILING (6.4); CALL WITH DPW TEAM AND HAK TEAM
       RE: PLAN OF MERGER (0.4); REVISE IMPLEMENTATION AGREEMENT (0.4).


   01/01/21   Martin, Robert Crawford                 9.10         9,782.50       031        60834750
       FINALIZE PLAN OF MERGER (INCLUDING EXHIBITS) FOR FILING (8.6); CONFERENCE WITH LENDERS'
       COUNSEL AND APACHE'S COUNSEL REGARDING FINALIZATION OF EXHIBITS (.5).


   01/01/21  Greene, Anthony L.                            0.30            312.00    031     61163233
       REVIEW MERGER DOCUMENTATION.


   01/05/21  Moore, Rodney L.                         0.80  1,196.00        031              60863841
       TELEPHONE CONFERENCE WITH CREDITORS REOPEN ITEMS/COORDINATION FOR FINALIZING
       DOCUMENTS (.5); ATTENTION TO PLAN OF MERGER (.3).


   01/05/21   George, Jason                          0.10                   77.00    031     60875087
       EMAIL TO T. ALLEN RE: APACHE DEFINITIVE DOCUMENTS.


   01/05/21  Tahiliani, Radhika                   0.50                     492.50    031     60879853
       CONFERENCE CALL TO DISCUSS APACHE DOCUMENTS.


   01/07/21  George, Jason                         4.90      3,773.00                031     61521047
       RESEARCH, OUTLINE, AND DRAFT MOTION TO EMPLOY SOLE MANAGER.


   01/10/21  George, Jason                                 0.20            154.00    031     60913737
       EMAIL A. MOUSSA RE: FARMOUT AGREEMENT.


   01/11/21     Carlson, Clifford W.                       2.40          2,640.00    031     60992777
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   Date         Timekeeper/Narrative                          Hours           Amount      Task   Index
        REVIEW AND REVISE MOTION TO ASSUME SUBLEASE AGREEMENT (1.9); CALLS AND EMAILS WITH H.
        JAMES REGARDING RELATED RESEARCH (.5).


   01/11/21   George, Jason                          0.10        77.00       031                 60913703
       EMAIL T. LAMME AND T. ALLEN RE: OBLIGATIONS UNDER IMPLEMENTATION AGREEMENT.


   01/15/21  Liou, Jessica                           0.30                       397.50    031    60952629
       CONFER WITH C. CARLSON RE: APACHE NEXT STEPS.


   01/21/21  Carlson, Clifford W.                  0.20      220.00                       031    61506453
       MULTIPLE EMAILS WITH APACHE'S COUNSEL REGARDING AMENDMENT TO RSA.


   01/25/21  Delaney, Scott Michael                1.60       1,840.00        031        61204778
       REVIEW AND REVISE CONVEYANCE DOCUMENTS (1.4); CORRESPOND WITH L. SMITH RE: CONVEYANCE
       DOCUMENTS (0.2).


   01/27/21  Macke, Jonathan J.                  0.40         518.00                      031    61015635
       ATTENTION TO FUNDING AGREEMENT AND CORRESPONDENCE RE: SAME.


   01/28/21  Perez, Alfredo R.                     0.50                         797.50    031    61029824
       CONFERENCE CALL WITH R. RUSSELL REGARDING APA ISSUES.


    SUBTOTAL TASK 031 - Apache Definitive                      37.50        $40,219.50
    Documentation:

   01/14/21  Goslin, Thomas D.                    0.60                          705.00    032    60934750
       ATTEND TO CORRESPONDENCE RE: ABANDONMENT ISSUES.


   01/21/21  Liou, Jessica                            0.70      927.50       032                 61193122
       CONFER WITH M. DANE, G. GALLOWAY, A. PEREZ RE: ABANDONMENT AND RELATED ISSUES.


   01/26/21     Liou, Jessica                                   0.50            662.50    032    61045988
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        CALL WITH PREDECESSOR COUNSEL.


    SUBTOTAL TASK 032 - Plugging & Abandonment              1.80        $2,295.00
    Liabilities:


    Total Fees Due                                      2,764.60    $2,935,808.50
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                                       Exhibit E

                                 EXPENSE SUMMARY
                       NOVEMBER 1, 2020 THROUGH JANUARY 31, 2021

EXPENSES                                                           AMOUNTS

Air Courier / Express Mail                                          $430.77

Computerized Research                                              $13,817.99

Corporation Services                                                $237.00

Court Reporting                                                     $54.00

Duplicating                                                        $6,472.11

Document Processing                                                 $302.20

Filing Fees                                                         $350.00

Total Expenses Requested:                                          $21,664.07
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                                               ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                         DISB TYPE     DISB ID#        AMOUNT

               11/18/20   Sierra, Tristan M.                                  H060           40545435              97.00
                          COMPUTERIZED RESEARCH
                          PAYEE: RESTRUCTURING CONCEPTS LLC (52222-01); INVOICE#: 112859; DATE: 11/10/2020 -
                          COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - CHAPTER 11 DOCKETS
                          (RESTRUCTURING CONCEPTS LLC) USAGE REPORT OCTOBER 2020.


               SUBTOTAL DISB TYPE H060:                                                                           $97.00

               11/30/20   Perez, Alfredo R.                                   H181           40554169            350.00
                          FILING FEES
                          INVOICE#: CREX4365570712011439; DATE: 11/30/2020 - NOV 25, 2020 - FILING FEE FOR THE
                          COMPLAINT FOR EXTENSION OF AUTOMATIC STAY FOR THE ADVERSARY PROCEEDING.


               SUBTOTAL DISB TYPE H181:                                                                          $350.00

               11/11/20   Sierra, Tristan M.                                  S061           40536048              18.70
                          COMPUTERIZED RESEARCH
                          HOUSTON WESTLAW - SIERRA,TRISTAN 10/28/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 8


               11/11/20   Sierra, Tristan M.                                  S061           40536016              37.41
                          COMPUTERIZED RESEARCH
                          HOUSTON WESTLAW - SIERRA,TRISTAN 10/27/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 14


               11/11/20   Sierra, Tristan M.                                  S061           40536053            237.64
                          COMPUTERIZED RESEARCH
                          HOUSTON WESTLAW - SIERRA,TRISTAN 10/29/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 26
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                                                   ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                       DISB TYPE   DISB ID#       AMOUNT

               11/12/20   Simmons, Kevin Michael                            S061         40537472          55.04
                          COMPUTERIZED RESEARCH
                          DALLAS WESTLAW - SIMMONS,KEVIN 10/29/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 38


               11/12/20   Simmons, Kevin Michael                            S061         40537556          19.29
                          COMPUTERIZED RESEARCH
                          DALLAS WESTLAW - SIMMONS,KEVIN 10/14/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 51


               11/12/20   Simmons, Kevin Michael                            S061         40537475          19.29
                          COMPUTERIZED RESEARCH
                          DALLAS WESTLAW - SIMMONS,KEVIN 10/13/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 4


               11/12/20   Simmons, Kevin Michael                            S061         40537469          57.88
                          COMPUTERIZED RESEARCH
                          DALLAS WESTLAW - SIMMONS,KEVIN 10/28/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 83


               11/12/20   Simmons, Kevin Michael                            S061         40537527          57.87
                          COMPUTERIZED RESEARCH
                          DALLAS WESTLAW - SIMMONS,KEVIN 10/17/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 43


               11/17/20   Marzocca, Anthony P.                              S061         40541782          39.44
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - MARZOCCA,ANTHONY 10/27/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 6
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                          NAME
               DATE       DESCRIPTION                                       DISB TYPE   DISB ID#    AMOUNT

               11/19/20   Simmons, Kevin Michael                            S061         40554962     123.87
                          COMPUTERIZED RESEARCH
                          DA LEXIS - SIMMONS, KEVIN 10/13/2020 ACCOUNT 424YN6CXS


               11/19/20   George, Jason                                     S061         40553469      57.09
                          COMPUTERIZED RESEARCH
                          NY LEXIS - GEORGE, JASON 10/28/2020 ACCOUNT 424YN6CXS


               11/19/20   Sierra, Tristan M.                                S061         40552577      54.73
                          COMPUTERIZED RESEARCH
                          HO LEXIS - SIERRA, TRISTAN 10/26/2020 ACCOUNT 424YN6CXS


               11/19/20   Marzocca, Anthony P.                              S061         40552847      30.56
                          COMPUTERIZED RESEARCH
                          NY LEXIS - MARZOCCA, ANTHONY 10/06/2020 ACCOUNT 424YN6CXS


               11/19/20   Sierra, Tristan M.                                S061         40552584     273.64
                          COMPUTERIZED RESEARCH
                          HO LEXIS - SIERRA, TRISTAN 10/27/2020 ACCOUNT 424YN6CXS


               11/19/20   Sierra, Tristan M.                                S061         40552574      52.52
                          COMPUTERIZED RESEARCH
                          HO LEXIS - SIERRA, TRISTAN 10/26/2020 ACCOUNT 424YN6CXS


               11/19/20   George, Jason                                     S061         40552879     109.54
                          COMPUTERIZED RESEARCH
                          NY LEXIS - GEORGE, JASON 10/02/2020 ACCOUNT 424YN6CXS


               11/19/20   Sierra, Tristan M.                                S061         40552588     218.93
                          COMPUTERIZED RESEARCH
                          HO LEXIS - SIERRA, TRISTAN 10/30/2020 ACCOUNT 424YN6CXS
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                                               ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                      DISB TYPE   DISB ID#    AMOUNT

               11/19/20   Sierra, Tristan M.                               S061         40552594     105.04
                          COMPUTERIZED RESEARCH
                          HO LEXIS - SIERRA, TRISTAN 10/27/2020 ACCOUNT 424YN6CXS


               11/19/20   George, Jason                                    S061         40552939     109.54
                          COMPUTERIZED RESEARCH
                          NY LEXIS - GEORGE, JASON 10/27/2020 ACCOUNT 424YN6CXS


               11/19/20   Sierra, Tristan M.                               S061         40552591     164.19
                          COMPUTERIZED RESEARCH
                          HO LEXIS - SIERRA, TRISTAN 10/29/2020 ACCOUNT 424YN6CXS


               11/19/20   George, Jason                                    S061         40552895     219.11
                          COMPUTERIZED RESEARCH
                          NY LEXIS - GEORGE, JASON 10/28/2020 ACCOUNT 424YN6CXS


               11/19/20   Sierra, Tristan M.                               S061         40552585     262.61
                          COMPUTERIZED RESEARCH
                          HO LEXIS - SIERRA, TRISTAN 10/30/2020 ACCOUNT 424YN6CXS


               11/20/20   George, Jason                                    S061         40551194      16.90
                          COMPUTERIZED RESEARCH
                          NY PACER SERVICE CENTER CHARGED 10/1/2020-10/31/2020


               11/20/20   Olvera, Rene A.                                  S061         40548643       5.90
                          COMPUTERIZED RESEARCH
                          HOUSTON PACER SERVICE CENTER CHARGED 10/1/2020-10/31/2020


               11/20/20   Lee, Kathleen Anne                               S061         40551109       0.30
                          COMPUTERIZED RESEARCH
                          NY PACER SERVICE CENTER CHARGED 10/1/2020-10/31/2020
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                                          ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                              DISB TYPE   DISB ID#   AMOUNT

               SUBTOTAL DISB TYPE S061:                                                   $2,347.03


                          TOTAL DISBURSEMENTS                                             $2,794.03
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                                                  ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                           DISB TYPE    DISB ID#       AMOUNT

               12/14/20   Choi, Erin Marie                                      H025          40564709           626.17
                          DUPLICATING
                          PAYEE: PLATINUM IDS, LLC (42172-01); INVOICE#: 68145; DATE: 10/15/2020 - PRINT
                          NOTEBOOKS AND DELIVERY REQUEST FOR E. CHOI


               12/15/20   Duron, Patrick Fabian                                 H025          40565968           154.73
                          DUPLICATING
                          PAYEE: PLATINUM IDS, LLC (42172-01); INVOICE#: 68142; DATE: 10/14/2020 - PHOTOCOPIES
                          REQUEST (RLM) WFH


               12/15/20   Duron, Patrick Fabian                                 H025          40565994           117.29
                          DUPLICATING
                          PAYEE: PLATINUM IDS, LLC (42172-01); INVOICE#: 68350; DATE: 11/06/2020 - PHOTOCOPIES
                          REQUEST (RLM) WFH


               12/15/20   Duron, Patrick Fabian                                 H025          40565976           196.37
                          DUPLICATING
                          PAYEE: PLATINUM IDS, LLC (42172-01); INVOICE#: 68519; DATE: 11/23/2020 - PHOTOCOPIES
                          REQUEST (RLM) WFH


               12/15/20   Duron, Patrick Fabian                                 H025          40565974           138.99
                          DUPLICATING
                          PAYEE: PLATINUM IDS, LLC (42172-01); INVOICE#: 68356; DATE: 11/10/2020 - PHOTOCOPIES
                          REQUEST (RLM) WFH


               12/15/20   Duron, Patrick Fabian                                 H025          40566006           157.20
                          DUPLICATING
                          PAYEE: PLATINUM IDS, LLC (42172-01); INVOICE#: 68420; DATE: 11/18/2020 - PHOTOCOPIES
                          REQUEST (RLM) WFH
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                                                  ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                         DISB TYPE     DISB ID#        AMOUNT

               12/15/20   Duron, Patrick Fabian                               H025           40565991            123.51
                          DUPLICATING
                          PAYEE: PLATINUM IDS, LLC (42172-01); INVOICE#: 68419; DATE: 11/17/2020 - PHOTOCOPIES
                          REQUEST (RLM) WFH


               12/15/20   Duron, Patrick Fabian                               H025           40565997            159.42
                          DUPLICATING
                          PAYEE: PLATINUM IDS, LLC (42172-01); INVOICE#: 68241; DATE: 10/22/2020 - PHOTOCOPIES
                          REQUEST (RLM) WFH


               12/15/20   Duron, Patrick Fabian                               H025           40565983            109.53
                          DUPLICATING
                          PAYEE: PLATINUM IDS, LLC (42172-01); INVOICE#: 68343; DATE: 11/03/2020 - PHOTOCOPIES
                          REQUEST (RLM) WFH


               SUBTOTAL DISB TYPE H025:                                                                       $1,783.21

               12/08/20   George, Jasen                                       H060           40560964             20.00
                          COMPUTERIZED RESEARCH
                          PAYEE: RESTRUCTURING CONCEPTS LLC (52222-01); INVOICE#: 113222; DATE: 12/4/2020 -
                          COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - CHAPTER 11 DOCKETS
                          (RESTRUCTURING CONCEPTS LLC) USAGE REPORT NOVEMBER 2020.


               12/08/20   Sierra, Tristan M.                                  H060           40560973              8.00
                          COMPUTERIZED RESEARCH
                          PAYEE: RESTRUCTURING CONCEPTS LLC (52222-01); INVOICE#: 113222; DATE: 12/4/2020 -
                          COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - CHAPTER 11 DOCKETS
                          (RESTRUCTURING CONCEPTS LLC) USAGE REPORT NOVEMBER 2020.


               SUBTOTAL DISB TYPE H060:                                                                          $28.00
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                          NAME
               DATE       DESCRIPTION                                          DISB TYPE     DISB ID#        AMOUNT

               12/15/20   Roland, Dana                                         H100           40565998         237.00
                          CORPORATION SERVICES
                          PAYEE: CT CORPORATION (10791-01); INVOICE#: 21629928-RI; DATE: 12/09/2020 -
                          PRE-CLEARANCE


               SUBTOTAL DISB TYPE H100:                                                                       $237.00

               12/03/20   Perez, Alfredo R.                                    H103           40556019          54.00
                          COURT REPORTING
                          INVOICE#: CREX4369266112031441; DATE: 12/3/2020 - COURT REPORTER, NOV 30, 2020 -
                          REQUEST TRANSCRIPT OF FIELDWOOD'S 11/25/2020 HEARING.


               SUBTOTAL DISB TYPE H103:                                                                        $54.00

               12/16/20   WGM, Firm                                            S011           40570982         454.00
                          DUPLICATING
                          908 COLOR PRINT(S) MADE IN NEW YORK BETWEEN 12/15/2020 TO 12/15/2020


               SUBTOTAL DISB TYPE S011:                                                                       $454.00

               12/21/20   WGM, Firm                                            S017           40573883         480.30
                          DUPLICATING
                          3202 PHOTOCOPY(S) MADE IN NEW YORK CITY BETWEEN 12/18/2020 TO 12/18/2020


               SUBTOTAL DISB TYPE S017:                                                                       $480.30

               12/23/20   Wheeler, Emma                                        S018           40581165          10.20
                          DOCUMENT BINDING
                          6 DOCUMENT BINDING IN NEW YORK CITY ON 12/19/2020 01:20AM FROM UNIT 03
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                                             ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                      DISB TYPE   DISB ID#    AMOUNT

               SUBTOTAL DISB TYPE S018:                                                              $10.20

               12/14/20   Jalomo, Chris                                    S061         40565093       8.50
                          COMPUTERIZED RESEARCH
                          HOUSTON PACER SERVICE CENTER CHARGED 11/1/2020-11/30/2020


               12/14/20   Pal, Himansu                                     S061         40569339       4.10
                          COMPUTERIZED RESEARCH
                          NY PACER SERVICE CENTER CHARGED 11/1/2020-11/30/2020


               12/14/20   Jalomo, Chris                                    S061         40565090     119.20
                          COMPUTERIZED RESEARCH
                          HOUSTON PACER SERVICE CENTER CHARGED 11/1/2020-11/30/2020


               12/14/20   Olvera, Rene A.                                  S061         40565091       6.00
                          COMPUTERIZED RESEARCH
                          HOUSTON PACER SERVICE CENTER CHARGED 11/1/2020-11/30/2020


               12/14/20   George, Jason                                    S061         40569068       0.10
                          COMPUTERIZED RESEARCH
                          NY PACER SERVICE CENTER CHARGED 11/1/2020-11/30/2020


               12/14/20   George, Jason                                    S061         40569092       6.30
                          COMPUTERIZED RESEARCH
                          NY PACER SERVICE CENTER CHARGED 11/1/2020-11/30/2020


               12/14/20   Hufendick, Jason                                 S061         40569185       2.70
                          COMPUTERIZED RESEARCH
                          NY PACER SERVICE CENTER CHARGED 11/1/2020-11/30/2020
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                                                 ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                        DISB TYPE    DISB ID#     AMOUNT

               12/15/20   George, Jason                                      S061          40568670       25.08
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - GEORGE,JASON 11/23/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 9


               12/15/20   Marzocca, Anthony P.                               S061          40567813       50.16
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - MARZOCCA,ANTHONY 11/12/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 11


               12/15/20   Liou, Jessica                                      S061          40568524       50.16
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - LIOU,JESSICA 11/19/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 2


               12/15/20   Marzocca, Anthony P.                               S061          40568390       50.16
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - MARZOCCA,ANTHONY 11/17/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 6


               12/15/20   Gilchrist, Roy W.                                  S061          40568079       50.16
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - GILCHRIST,ROY 11/02/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 11


               12/15/20   George, Jason                                      S061          40567385       92.96
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - LOSICK,MERILL 11/08/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 31
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                                                 ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                       DISB TYPE    DISB ID#       AMOUNT

               12/15/20   George, Jason                                     S061          40567759         46.48
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - GEORGE,JASON 11/04/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 2


               12/15/20   Swenson, Robert M.                                S061          40568338        100.32
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - SWENSON,ROBERT 11/25/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 14


               12/15/20   George, Jason                                     S061          40567115         92.96
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - GEORGE,JASON 11/01/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 4


               12/15/20   Marzocca, Anthony P.                              S061          40568563         25.08
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - MARZOCCA,ANTHONY 11/11/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 8


               12/18/20   Sierra, Tristan M.                                S061          40574316         33.17
                          COMPUTERIZED RESEARCH
                          HO LEXIS - SIERRA, TRISTAN 11/06/2020 ACCOUNT 424YN6CXS


               12/18/20   Sierra, Tristan M.                                S061          40574311        185.87
                          COMPUTERIZED RESEARCH
                          HO LEXIS - SIERRA, TRISTAN 11/10/2020 ACCOUNT 424YN6CXS


               12/18/20   Sierra, Tristan M.                                S061          40574293        681.53
                          COMPUTERIZED RESEARCH
                          HO LEXIS - SIERRA, TRISTAN 11/05/2020 ACCOUNT 424YN6CXS
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                                               ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                      DISB TYPE   DISB ID#    AMOUNT

               12/18/20   Sierra, Tristan M.                               S061         40574306     165.85
                          COMPUTERIZED RESEARCH
                          HO LEXIS - SIERRA, TRISTAN 11/09/2020 ACCOUNT 424YN6CXS


               12/18/20   Sierra, Tristan M.                               S061         40574304     178.36
                          COMPUTERIZED RESEARCH
                          HO LEXIS - SIERRA, TRISTAN 11/06/2020 ACCOUNT 424YN6CXS


               12/18/20   Sierra, Tristan M.                               S061         40574308     297.27
                          COMPUTERIZED RESEARCH
                          HO LEXIS - SIERRA, TRISTAN 11/24/2020 ACCOUNT 424YN6CXS


               12/18/20   Sierra, Tristan M.                               S061         40574314      61.96
                          COMPUTERIZED RESEARCH
                          HO LEXIS - SIERRA, TRISTAN 11/24/2020 ACCOUNT 424YN6CXS


               12/18/20   Sierra, Tristan M.                               S061         40574312      33.17
                          COMPUTERIZED RESEARCH
                          HO LEXIS - SIERRA, TRISTAN 11/24/2020 ACCOUNT 424YN6CXS


               12/18/20   Sierra, Tristan M.                               S061         40574309     185.87
                          COMPUTERIZED RESEARCH
                          HO LEXIS - SIERRA, TRISTAN 11/09/2020 ACCOUNT 424YN6CXS


               12/18/20   Sierra, Tristan M.                               S061         40574310      59.46
                          COMPUTERIZED RESEARCH
                          HO LEXIS - SIERRA, TRISTAN 11/10/2020 ACCOUNT 424YN6CXS


               12/18/20   Sierra, Tristan M.                               S061         40574313      61.96
                          COMPUTERIZED RESEARCH
                          HO LEXIS - SIERRA, TRISTAN 11/06/2020 ACCOUNT 424YN6CXS
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                          NAME
               DATE       DESCRIPTION                                      DISB TYPE   DISB ID#    AMOUNT

               12/18/20   Sierra, Tristan M.                               S061         40574317      61.95
                          COMPUTERIZED RESEARCH
                          HO LEXIS - SIERRA, TRISTAN 11/02/2020 ACCOUNT 424YN6CXS


               12/21/20   George, Jason                                    S061         40574753      60.93
                          COMPUTERIZED RESEARCH
                          NY LEXIS - GEORGE, JASON 11/23/2020 ACCOUNT 424YN6CXS


               12/21/20   George, Jason                                    S061         40574542     253.99
                          COMPUTERIZED RESEARCH
                          NY LEXIS - GEORGE, JASON 11/24/2020 ACCOUNT 424YN6CXS


               12/21/20   George, Jason                                    S061         40574673     127.00
                          COMPUTERIZED RESEARCH
                          NY LEXIS - GEORGE, JASON 11/03/2020 ACCOUNT 424YN6CXS


               12/21/20   George, Jason                                    S061         40574779      60.93
                          COMPUTERIZED RESEARCH
                          NY LEXIS - GEORGE, JASON 11/10/2020 ACCOUNT 424YN6CXS


               12/21/20   George, Jason                                    S061         40574948      63.51
                          COMPUTERIZED RESEARCH
                          NY LEXIS - GEORGE, JASON 11/20/2020 ACCOUNT 424YN6CXS


               12/21/20   George, Jason                                    S061         40574712      60.93
                          COMPUTERIZED RESEARCH
                          NY LEXIS - GEORGE, JASON 11/20/2020 ACCOUNT 424YN6CXS


               12/21/20   George, Jason                                    S061         40574965      63.51
                          COMPUTERIZED RESEARCH
                          NY LEXIS - GEORGE, JASON 11/05/2020 ACCOUNT 424YN6CXS
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                          NAME
               DATE       DESCRIPTION                                       DISB TYPE     DISB ID#     AMOUNT

               12/21/20   George, Jason                                     S061           40574998       63.51
                          COMPUTERIZED RESEARCH
                          NY LEXIS - GEORGE, JASON 11/25/2020 ACCOUNT 424YN6CXS


               12/21/20   George, Jason                                     S061           40574857       34.00
                          COMPUTERIZED RESEARCH
                          NY LEXIS - GEORGE, JASON 11/24/2020 ACCOUNT 424YN6CXS


               12/21/20   George, Jason                                     S061           40574823       63.51
                          COMPUTERIZED RESEARCH
                          NY LEXIS - GEORGE, JASON 11/13/2020 ACCOUNT 424YN6CXS


               12/21/20   Choi, Erin Marie                                  S061           40576132      332.40
                          COMPUTERIZED RESEARCH
                          DALLAS WESTLAW - CHOI,ERIN 11/01/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 41


               12/21/20   George, Jason                                     S061           40574936      182.80
                          COMPUTERIZED RESEARCH
                          NY LEXIS - GEORGE, JASON 11/12/2020 ACCOUNT 424YN6CXS


               12/21/20   George, Jason                                     S061           40574919      190.50
                          COMPUTERIZED RESEARCH
                          NY LEXIS - GEORGE, JASON 11/10/2020 ACCOUNT 424YN6CXS


               12/21/20   George, Jason                                     S061           40574898      121.88
                          COMPUTERIZED RESEARCH
                          NY LEXIS - GEORGE, JASON 11/27/2020 ACCOUNT 424YN6CXS
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                          NAME
               DATE       DESCRIPTION                                       DISB TYPE   DISB ID#        AMOUNT

               12/21/20   George, Jason                                     S061         40574786             60.93
                          COMPUTERIZED RESEARCH
                          NY LEXIS - GEORGE, JASON 11/24/2020 ACCOUNT 424YN6CXS


               12/21/20   Simmons, Kevin Michael                            S061         40576136             63.71
                          COMPUTERIZED RESEARCH
                          DALLAS WESTLAW - SIMMONS,KEVIN 11/01/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 92


               12/22/20   Sierra, Tristan M.                                S061         40576296             25.62
                          COMPUTERIZED RESEARCH
                          HOUSTON WESTLAW - SIERRA,TRISTAN 11/15/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 3


               12/22/20   Sierra, Tristan M.                                S061         40576300            102.48
                          COMPUTERIZED RESEARCH
                          HOUSTON WESTLAW - SIERRA,TRISTAN 11/17/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 29


               12/22/20   Sierra, Tristan M.                                S061         40576312            230.57
                          COMPUTERIZED RESEARCH
                          HOUSTON WESTLAW - SIERRA,TRISTAN 11/12/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 53


               12/22/20   Sierra, Tristan M.                                S061         40576290            128.09
                          COMPUTERIZED RESEARCH
                          HOUSTON WESTLAW - SIERRA,TRISTAN 11/24/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 35
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                          NAME
               DATE       DESCRIPTION                                       DISB TYPE   DISB ID#        AMOUNT

               12/22/20   Sierra, Tristan M.                                S061         40576318            102.48
                          COMPUTERIZED RESEARCH
                          HOUSTON WESTLAW - SIERRA,TRISTAN 11/16/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 15


               12/22/20   Sierra, Tristan M.                                S061         40576305             25.62
                          COMPUTERIZED RESEARCH
                          HOUSTON WESTLAW - SIERRA,TRISTAN 11/11/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 14


               12/22/20   Sierra, Tristan M.                                S061         40576309             25.62
                          COMPUTERIZED RESEARCH
                          HOUSTON WESTLAW - SIERRA,TRISTAN 11/10/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 3


               12/22/20   James, Hillarie                                   S061         40576316             51.24
                          COMPUTERIZED RESEARCH
                          HOUSTON WESTLAW - JAMES,HILLARIE 11/11/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 4


               12/22/20   Sierra, Tristan M.                                S061         40576297             73.09
                          COMPUTERIZED RESEARCH
                          HOUSTON WESTLAW - SIERRA,TRISTAN 11/23/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 10


               SUBTOTAL DISB TYPE S061:                                                                  $5,305.69

               12/28/20   Wheeler, Emma                                     S075         40579901              0.40
                          POSTAGE
                          NY POSTAGE 12/21/2020 NUMBER OF PIECES(S): 1
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                          NAME
               DATE       DESCRIPTION                                       DISB TYPE      DISB ID#    AMOUNT

               12/28/20   Wheeler, Emma                                     S075            40579912      10.95
                          POSTAGE
                          NY POSTAGE 12/21/2020 NUMBER OF PIECES(S): 1


               SUBTOTAL DISB TYPE S075:                                                                  $11.35

               12/30/20   Houston Office, H                                 S117            40581289     439.95
                          DUPLICATING
                          2933 PRINT(S) MADE IN HOUSTON BETWEEN 12/28/2020 TO 12/29/2020


               SUBTOTAL DISB TYPE S117:                                                                 $439.95


                          TOTAL DISBURSEMENTS                                                          $8,803.70
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                                                    ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                          DISB TYPE     DISB ID#        AMOUNT

               01/22/21   Stauble, Christopher A.                              H060           40597258           20.00
                          COMPUTERIZED RESEARCH
                          PAYEE: RESTRUCTURING CONCEPTS LLC (52222-01); INVOICE#: 113849; DATE: 1/11/2021 -
                          COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - CHAPTER 11 DOCKETS
                          (RESTRUCTURING CONCEPTS LLC) USAGE REPORT DECEMBER 2020.


               01/25/21   Greene, Anthony L.                                   H060           40599473              4.69
                          COMPUTERIZED RESEARCH
                          PAYEE: RELX INC, DBA LEXISNEXIS (20379-06); INVOICE#: 3093025532; DATE: 12/31/2020 -
                          COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - LEXISNEXIS COURTLINK
                          DECEMBER 2020.


               01/25/21   Stauble, Christopher A.                              H060           40599499              0.33
                          COMPUTERIZED RESEARCH
                          PAYEE: RELX INC, DBA LEXISNEXIS (20379-06); INVOICE#: 3093025532; DATE: 12/31/2020 -
                          COMPUTERIZED LEGAL RESEARCH DATABASE USAGE - LEXISNEXIS COURTLINK
                          DECEMBER 2020.


               SUBTOTAL DISB TYPE H060:                                                                          $25.02

               01/22/21   Mastando III, John P.                                H071           40597089           22.85
                          AIR COURIER/EXPRESS MAIL
                          PAYEE: FEDERAL EXPRESS (10793-03); INVOICE#: 723897967; DATE: 1/8/2021 - FEDEX INVOICE:
                          723897967 INVOICE DATE:210108TRACKING #: 782271656257 SHIPMENT DATE: 20210105
                          SENDER: JOHN MASTANDO III WEIL GOTSHAL & MANGES, 767 FIFTH AVENUE, NEW YORK
                          CITY, NY 10153 SHIP TO: JOHN MASTANDO III, MANHASSET, NY 11030
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                          NAME
               DATE       DESCRIPTION                                         DISB TYPE     DISB ID#        AMOUNT

               01/22/21   Wheeler, Emma                                       H071           40596511           42.66
                          AIR COURIER/EXPRESS MAIL
                          PAYEE: FEDERAL EXPRESS (10793-03); INVOICE#: 724672267; DATE: 1/15/2021 - FEDEX INVOICE:
                          724672267 INVOICE DATE:210115TRACKING #: 782306400533 SHIPMENT DATE: 20210106
                          SENDER: EMMA WHEELER WEIL GOTSHAL & MANGES, 767 FIFTH AVENUE, NEW YORK CITY,
                          NY 10153 SHIP TO: CLIFFORD CARLSON, HOUSTON, TX 77007


               01/22/21   Wheeler, Emma                                       H071           40596599           19.76
                          AIR COURIER/EXPRESS MAIL
                          PAYEE: FEDERAL EXPRESS (10793-03); INVOICE#: 724672267; DATE: 1/15/2021 - FEDEX INVOICE:
                          724672267 INVOICE DATE:210115TRACKING #: 782305859595 SHIPMENT DATE: 20210106
                          SENDER: EMMA WHEELER WEIL GOTSHAL & MANGES, 767 FIFTH AVENUE, NEW YORK CITY,
                          NY 10153 SHIP TO: EMMA WHEELER, NEW YORK, NY 10128


               01/22/21   Wheeler, Emma                                       H071           40596512           19.76
                          AIR COURIER/EXPRESS MAIL
                          PAYEE: FEDERAL EXPRESS (10793-03); INVOICE#: 724672267; DATE: 1/15/2021 - FEDEX INVOICE:
                          724672267 INVOICE DATE:210115TRACKING #: 782306167318 SHIPMENT DATE: 20210106
                          SENDER: EMMA WHEELER WEIL GOTSHAL & MANGES, 767 FIFTH AVENUE, NEW YORK CITY,
                          NY 10153 SHIP TO: JESSICA LIOU, FLUSHING, NY 11372


               01/22/21   Wheeler, Emma                                       H071           40596653           19.76
                          AIR COURIER/EXPRESS MAIL
                          PAYEE: FEDERAL EXPRESS (10793-03); INVOICE#: 724672267; DATE: 1/15/2021 - FEDEX INVOICE:
                          724672267 INVOICE DATE:210115TRACKING #: 782306879262 SHIPMENT DATE: 20210106
                          SENDER: EMMA WHEELER WEIL GOTSHAL & MANGES, 767 FIFTH AVENUE, NEW YORK CITY,
                          NY 10153 SHIP TO: ANTHONY GREENE, PORT CHESTER, NY 10573
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                          NAME
               DATE       DESCRIPTION                                         DISB TYPE     DISB ID#        AMOUNT

               01/25/21   Carlson, Clifford W.                                H071           40599024            25.00
                          AIR COURIER/EXPRESS MAIL
                          PAYEE: FEDERAL EXPRESS (10793-03); INVOICE#: 723267287; DATE: 1/1/2021 - FEDEX INVOICE:
                          723267287 INVOICE DATE:210101TRACKING #: 438370147950 SHIPMENT DATE: 20201229
                          SENDER: SHAWN MONROE WEIL, GOTSHAL & MANGES, 700 LOUISIANA ST, HOUSTON, TX
                          77002 SHIP TO: CLIFFORD CARLSON, HOUSTON, TX 77007


               SUBTOTAL DISB TYPE H071:                                                                        $149.79

               01/11/21   Liou, Jessica                                       H073           40587728            75.76
                          FIRM MESSENGER SERVICE
                          PAYEE: SKYLINE CREDIT SERVICES LLC (12217-02); INVOICE#: 5851680; DATE: 12/25/2020 - TAXI
                          CHARGES FOR 2020-12-25 INVOICE #5851680894799 JESSICA LIOU 5482 RIDE DATE: 2020-12-15
                          FROM: 767 5TH AVE, MANHATTAN, NY TO: JACKSON HEIGHTS, NY


               01/11/21   Wheeler, Emma                                       H073           40587705            60.31
                          FIRM MESSENGER SERVICE
                          PAYEE: SKYLINE CREDIT SERVICES LLC (12217-02); INVOICE#: 5851680; DATE: 12/25/2020 - TAXI
                          CHARGES FOR 2020-12-25 INVOICE #585168045253 EMMA WHEELER F446 RIDE DATE: 2020-12-19
                          FROM: 767 5TH AVENUE, MANHATTAN, NY TO: JACKSON HEIGHTS, NY


               01/11/21   Wheeler, Emma                                       H073           40587708          133.56
                          FIRM MESSENGER SERVICE
                          PAYEE: SKYLINE CREDIT SERVICES LLC (12217-02); INVOICE#: 5851680; DATE: 12/25/2020 - TAXI
                          CHARGES FOR 2020-12-25 INVOICE #585168046083 EMMA WHEELER F446 RIDE DATE: 2020-12-19
                          FROM: 767 5TH AVENUE, MANHATTAN, NY TO: PORT CHESTER, NY


               SUBTOTAL DISB TYPE H073:                                                                        $269.63

               01/06/21   WGM, Firm                                           S011           40601323          935.00
                          DUPLICATING
                          1870 COLOR PRINT(S) MADE IN NEW YORK BETWEEN 01/05/2021 TO 01/05/2021
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                          NAME
               DATE       DESCRIPTION                                        DISB TYPE    DISB ID#       AMOUNT

               01/20/21   WGM, Firm                                          S011          40593750       1,059.50
                          DUPLICATING
                          2119 COLOR PRINT(S) MADE IN NEW YORK BETWEEN 01/13/2021 TO 01/13/2021


               SUBTOTAL DISB TYPE S011:                                                                  $1,994.50

               01/11/21   WGM, Firm                                          S017          40590355        327.15
                          DUPLICATING
                          2181 PHOTOCOPY(S) MADE IN NEW YORK CITY BETWEEN 01/05/2021 TO 01/05/2021


               01/18/21   WGM, Firm                                          S017          40598983           5.70
                          DUPLICATING
                          38 PHOTOCOPY(S) MADE IN NEW YORK CITY BETWEEN 01/13/2021 TO 01/13/2021


               01/25/21   WGM, Firm                                          S017          40599827        481.65
                          DUPLICATING
                          3211 PHOTOCOPY(S) MADE IN NEW YORK CITY BETWEEN 01/21/2021 TO 01/22/2021


               SUBTOTAL DISB TYPE S017:                                                                   $814.50

               01/27/21   Olvera, Rene A.                                    S019          40601122           3.00
                          3 RING BINDER 1" TO 3"
                          1 3 RING BINDER 1" TO 3" IN NEW YORK CITY ON 01/22/2021 19:31PM FROM UNIT 15


               01/27/21   Perez, Alfredo R.                                  S019          40601143           6.00
                          3 RING BINDER 1" TO 3"
                          2 3 RING BINDER 1" TO 3" IN NEW YORK CITY ON 01/22/2021 20:35PM FROM UNIT 03


               SUBTOTAL DISB TYPE S019:                                                                     $9.00
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                                                  ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                        DISB TYPE    DISB ID#      AMOUNT

               01/06/21   Mastando III, John P.                              S020          40590470          8.00
                          3 RING BINDER 4"
                          1 3 RING BINDER 4" IN NEW YORK CITY ON 01/05/2021 17:15PM FROM UNIT 03


               SUBTOTAL DISB TYPE S020:                                                                     $8.00

               01/11/21   James, Hillarie                                    S030          40588011       260.00
                          DOCUMENT PROCESSING
                          NY DOCUMENT PROCESSING,12/11/2020,JOB# 53175,"CONVERSION",6.5 HOUR(S),OPERATOR:
                          DA SPECIALISTS


               SUBTOTAL DISB TYPE S030:                                                                   $260.00

               01/21/21   Greene, Anthony L.                                 S061          40596006       256.34
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - GREENE,ANTHONY 12/30/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 21


               01/21/21   Greene, Anthony L.                                 S061          40596002       205.07
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - GREENE,ANTHONY 12/13/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 30


               01/21/21   Marzocca, Anthony P.                               S061          40595328       115.62
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - MARZOCCA,ANTHONY 12/07/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 9
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                                                  ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                      DISB TYPE    DISB ID#        AMOUNT

               01/21/21   Wheeler, Emma                                    S061          40595331           25.63
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - WHEELER,EMMA 12/03/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 17


               01/21/21   Marzocca, Anthony P.                             S061          40595421           25.63
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - MARZOCCA,ANTHONY 12/08/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 5


               01/21/21   Swenson, Robert M.                               S061          40594947           25.63
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - SWENSON,ROBERT 12/31/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 9


               01/21/21   Wheeler, Emma                                    S061          40595191           25.63
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - WHEELER,EMMA 12/23/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 10


               01/21/21   Kleissler, Matthew Joseph                        S061          40595176           76.90
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - KLEISSLER,MATTHEW 12/14/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 4


               01/21/21   Greene, Anthony L.                               S061          40596007          116.88
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - GREENE,ANTHONY 12/04/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 28
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                                               ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                      DISB TYPE    DISB ID#        AMOUNT

               01/21/21   Greene, Anthony L.                               S061          40596005          25.63
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - GREENE,ANTHONY 12/03/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 8


               01/21/21   Wheeler, Emma                                    S061          40595190          25.63
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - WHEELER,EMMA 12/27/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 26


               01/21/21   Greene, Anthony L.                               S061          40596004         278.21
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - GREENE,ANTHONY 12/07/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 38


               01/21/21   Wheeler, Emma                                    S061          40595330          76.90
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - WHEELER,EMMA 12/13/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 29


               01/21/21   Greene, Anthony L.                               S061          40596003          76.90
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - GREENE,ANTHONY 12/06/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 11


               01/21/21   Wheeler, Emma                                    S061          40595177          21.87
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - WHEELER,EMMA 12/30/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 5
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                                                 ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                       DISB TYPE   DISB ID#        AMOUNT

               01/21/21   Swenson, Robert M.                                S061         40594946             76.90
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - SWENSON,ROBERT 12/29/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 12


               01/21/21   Swenson, Robert M.                                S061         40594979            295.06
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - SWENSON,ROBERT 12/28/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 33


               01/21/21   Marzocca, Anthony P.                              S061         40595329             25.63
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - MARZOCCA,ANTHONY 12/17/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 4


               01/21/21   Wheeler, Emma                                     S061         40595257             25.63
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - WHEELER,EMMA 12/04/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 12


               01/21/21   Swenson, Robert M.                                S061         40594392             51.27
                          COMPUTERIZED RESEARCH
                          NY WESTLAW - SWENSON,ROBERT 12/22/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 9


               01/22/21   Sierra, Tristan M.                                S061         40597858             46.81
                          COMPUTERIZED RESEARCH
                          HOUSTON WESTLAW - SIERRA,TRISTAN 12/28/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 4
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                                               ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                       DISB TYPE   DISB ID#        AMOUNT

               01/22/21   Sierra, Tristan M.                                S061         40597901             24.61
                          COMPUTERIZED RESEARCH
                          HOUSTON WESTLAW - SIERRA,TRISTAN 12/11/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 7


               01/22/21   Sierra, Tristan M.                                S061         40597891            140.44
                          COMPUTERIZED RESEARCH
                          HOUSTON WESTLAW - SIERRA,TRISTAN 12/30/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 26


               01/22/21   Sierra, Tristan M.                                S061         40597880             66.78
                          COMPUTERIZED RESEARCH
                          HOUSTON WESTLAW - SIERRA,TRISTAN 12/07/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 8


               01/22/21   Sierra, Tristan M.                                S061         40597906             49.22
                          COMPUTERIZED RESEARCH
                          HOUSTON WESTLAW - SIERRA,TRISTAN 12/01/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 22


               01/22/21   Sierra, Tristan M.                                S061         40597879             73.83
                          COMPUTERIZED RESEARCH
                          HOUSTON WESTLAW - SIERRA,TRISTAN 12/10/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 30


               01/22/21   Sierra, Tristan M.                                S061         40597886             67.47
                          COMPUTERIZED RESEARCH
                          HOUSTON WESTLAW - SIERRA,TRISTAN 12/03/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 24
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                                               ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                       DISB TYPE   DISB ID#        AMOUNT

               01/22/21   James, Hillarie                                   S061         40597915             24.61
                          COMPUTERIZED RESEARCH
                          HOUSTON WESTLAW - JAMES,HILLARIE 12/01/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 4


               01/22/21   Sierra, Tristan M.                                S061         40597881              8.78
                          COMPUTERIZED RESEARCH
                          HOUSTON WESTLAW - SIERRA,TRISTAN 12/31/2020 CONNECT TIME: 0:00:00 DOC/LINE(S): 0
                          TRANSACTIONS: 9


               01/26/21   Sierra, Tristan M.                                S061         40602569            135.18
                          COMPUTERIZED RESEARCH
                          HO LEXIS - SIERRA, TRISTAN 12/28/2020 ACCOUNT 424YN6CXS


               01/26/21   Sierra, Tristan M.                                S061         40602571            135.18
                          COMPUTERIZED RESEARCH
                          HO LEXIS - SIERRA, TRISTAN 12/14/2020 ACCOUNT 424YN6CXS


               01/26/21   Sierra, Tristan M.                                S061         40602572            140.88
                          COMPUTERIZED RESEARCH
                          HO LEXIS - SIERRA, TRISTAN 12/30/2020 ACCOUNT 424YN6CXS


               01/26/21   Sierra, Tristan M.                                S061         40602570            140.88
                          COMPUTERIZED RESEARCH
                          HO LEXIS - SIERRA, TRISTAN 12/10/2020 ACCOUNT 424YN6CXS


               01/26/21   Sierra, Tristan M.                                S061         40602564            675.94
                          COMPUTERIZED RESEARCH
                          HO LEXIS - SIERRA, TRISTAN 12/04/2020 ACCOUNT 424YN6CXS
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                                                    ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                        DISB TYPE   DISB ID#    AMOUNT

               01/26/21   Sierra, Tristan M.                                 S061         40602558       140.88
                          COMPUTERIZED RESEARCH
                          HO LEXIS - SIERRA, TRISTAN 12/04/2020 ACCOUNT 424YN6CXS


               01/26/21   Stauble, Christopher A.                            S061         40598605        28.50
                          COMPUTERIZED RESEARCH
                          BLAW USAGE REPORT - DECEMBER 2020; JENKINS, JAZZMINE; 5 DOCKET SEARCH; DATE:
                          12/1/2020-12/31/2020


               01/26/21   Sierra, Tristan M.                                 S061         40602568       422.64
                          COMPUTERIZED RESEARCH
                          HO LEXIS - SIERRA, TRISTAN 12/28/2020 ACCOUNT 424YN6CXS


               01/27/21   Olvera, Rene A.                                    S061         40600526         4.60
                          COMPUTERIZED RESEARCH
                          HOUSTON PACER SERVICE CENTER CHARGED 12/1/2020-12/31/2020


               01/27/21   Jalomo, Chris                                      S061         40600523         4.80
                          COMPUTERIZED RESEARCH
                          HOUSTON PACER SERVICE CENTER CHARGED 12/1/2020-12/31/2020


               01/27/21   George, Jason                                      S061         40603961        19.20
                          COMPUTERIZED RESEARCH
                          NY PACER SERVICE CENTER CHARGED 12/1/2020-12/31/2020


               01/27/21   Pugh, Daniela M.                                   S061         40603730         0.40
                          COMPUTERIZED RESEARCH
                          NY PACER SERVICE CENTER CHARGED 12/1/2020-12/31/2020
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                                                    ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                        DISB TYPE   DISB ID#    AMOUNT

               01/27/21   Jalomo, Chris                                      S061         40600527      24.40
                          COMPUTERIZED RESEARCH
                          HOUSTON PACER SERVICE CENTER CHARGED 12/1/2020-12/31/2020


               01/27/21   Marzocca, Anthony P.                               S061         40603732       4.70
                          COMPUTERIZED RESEARCH
                          NY PACER SERVICE CENTER CHARGED 12/1/2020-12/31/2020


               01/27/21   Stauble, Christopher A.                            S061         40603731       6.50
                          COMPUTERIZED RESEARCH
                          NY PACER SERVICE CENTER CHARGED 12/1/2020-12/31/2020


               01/28/21   George, Jason                                      S061         40602941     130.26
                          COMPUTERIZED RESEARCH
                          NY LEXIS - GEORGE, JASON 12/11/2020 ACCOUNT 424YN6CXS


               01/28/21   Greene, Anthony L.                                 S061         40602691      65.14
                          COMPUTERIZED RESEARCH
                          NY LEXIS - GREENE, ANTHONY 12/16/2020 ACCOUNT 424YN6CXS


               01/28/21   Wheeler, Emma                                      S061         40603399     130.26
                          COMPUTERIZED RESEARCH
                          NY LEXIS - WHEELER, EMMA 12/28/2020 ACCOUNT 424YN6CXS


               01/28/21   Wheeler, Emma                                      S061         40603106      34.87
                          COMPUTERIZED RESEARCH
                          NY LEXIS - WHEELER, EMMA 12/13/2020 ACCOUNT 424YN6CXS


               01/28/21   Hufendick, Jason                                   S061         40603117      65.14
                          COMPUTERIZED RESEARCH
                          NY LEXIS - HUFENDICK, JASON 12/04/2020 ACCOUNT 424YN6CXS
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                                             ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                     DISB TYPE   DISB ID#    AMOUNT

               01/28/21   Hufendick, Jason                                S061         40602779     250.00
                          COMPUTERIZED RESEARCH
                          NY LEXIS - HUFENDICK, JASON 12/04/2020 ACCOUNT 424YN6CXS


               01/28/21   George, Jason                                   S061         40603210      62.50
                          COMPUTERIZED RESEARCH
                          NY LEXIS - GEORGE, JASON 12/17/2020 ACCOUNT 424YN6CXS


               01/28/21   Wheeler, Emma                                   S061         40603277     130.26
                          COMPUTERIZED RESEARCH
                          NY LEXIS - WHEELER, EMMA 12/13/2020 ACCOUNT 424YN6CXS


               01/28/21   George, Jason                                   S061         40602907     195.39
                          COMPUTERIZED RESEARCH
                          NY LEXIS - GEORGE, JASON 12/21/2020 ACCOUNT 424YN6CXS


               01/28/21   George, Jason                                   S061         40602817      65.14
                          COMPUTERIZED RESEARCH
                          NY LEXIS - GEORGE, JASON 12/14/2020 ACCOUNT 424YN6CXS


               01/28/21   George, Jason                                   S061         40603320     455.96
                          COMPUTERIZED RESEARCH
                          NY LEXIS - GEORGE, JASON 12/22/2020 ACCOUNT 424YN6CXS


               01/28/21   George, Jason                                   S061         40603145      62.50
                          COMPUTERIZED RESEARCH
                          NY LEXIS - GEORGE, JASON 12/22/2020 ACCOUNT 424YN6CXS


               01/28/21   Wheeler, Emma                                   S061         40603398      65.14
                          COMPUTERIZED RESEARCH
                          NY LEXIS - WHEELER, EMMA 12/22/2020 ACCOUNT 424YN6CXS
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                                              ITEMIZED DISBURSEMENTS

                          NAME
               DATE       DESCRIPTION                                        DISB TYPE     DISB ID#    AMOUNT

               01/28/21   George, Jason                                      S061           40603408       62.50
                          COMPUTERIZED RESEARCH
                          NY LEXIS - GEORGE, JASON 12/07/2020 ACCOUNT 424YN6CXS


               SUBTOTAL DISB TYPE S061:                                                                 $6,015.25

               01/27/21   Houston Office, H                                  S117           40601053      505.65
                          DUPLICATING
                          3371 PRINT(S) MADE IN HOUSTON BETWEEN 01/22/2021 TO 01/22/2021


               SUBTOTAL DISB TYPE S117:                                                                  $505.65

               01/20/21   Wheeler, Emma                                      S220           40601244       15.00
                          3 RING BINDER 5"
                          1 BINDING 3 RING (5") IN NEW YORK CITY ON 01/13/2021 18:28PM FROM UNIT 15


               SUBTOTAL DISB TYPE S220:                                                                   $15.00


                          TOTAL DISBURSEMENTS                                                          $10,066.34
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                                                      Exhibit F

                                      Blended Rate Comparison Chart

       Category of Timekeeper                                   Blended Hourly Rate
                                           Billed by timekeepers in the
                                            Houston, New York, and
                                                                           Billed in this fee application
                                             Dallas offices, excluding
                                                   bankruptcy1
    Partner                                          $1,267.00                       $1,324.00
    Counsel                                            $1,010.00                               $1,101.00
    Senior Associate (7 years or                        $969.00                                $1,032.00
    more since first admission)
    Mid-level Associate (4-6 years                      $891.00                                 $955.00
    since first admission)
    Junior Associate (0-3 years                         $666.00                                 $762.00
    since first admission)
    Contract Attorney                                   $393.00                                     n/a
    Staff Attorney                                      $380.00                                     n/a
    Paralegal                                           $338.00                                 $356.00
    Other                                               $334.00                                 $367.00
    All timekeepers aggregated:                         $887.00                                 $977.00




1
  In accordance with the Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses
Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective November 1, 2013, preceding year is
a rolling 12 months year ending March 31, 2021; blended rates reflect work performed in preceding year in each of
the domestic offices in which timekeepers collectively billed at least 10% of the hours to the case during the application
period, excluding all data from bankruptcy law matters.
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                                                    Exhibit G
                        BUDGET OF WEIL, GOTSHAL & MANGES LLP
               FOR THE PERIOD NOVEMBER 1, 2020 THROUGH JANUARY 31, 2021

Task                                                       ESTIMATED ESTIMATED         ACTUAL      ACTUAL
                       Task Description
Code                                                         HOURS      FEES           HOURS       AMOUNT
         Administrative Expense Claims (excluding
 001                                                         25.00       $20,000        24.90      $19,178.50
         503(b)(9) Claims)
 002     Adversary Proceedings                                80.00       $80,000       27.50     $31,867.00
 003     Assets Acquisitions/ Dispositions/ 363 Matters      300.00      $375,000       12.80     $13,191.50
 004     Automatic Stay                                      240.00      $240,000       526.60    $488,914.50
 005     Bar Date and Claims Matters                         200.00      $200,000       243.40    $248,941.00
 006     Case Administration (WIP and Calendar)              250.00      $300,000       207.00    $188,250.50
         Chapter 11 Plan/ Confirmation/ Implementation/
 007                                                        1,100.00    $1,200,000     1,201.10   $1,274,609.00
         Plan Supplement
 008     Corporate Governance/ Securities/Equity Matters     200.00      $200,000       166.10    $183,920.50
         Customer/ Vendor Matters and Reclamation/
 009                                                         100.00      $100,000       77.40      $88,401.50
         503(b)(9) Claims
         DIP Financing/ Cash Collateral/ Cash
 010                                                         50.00       $50,000        33.80      $34,556.00
         Management
 011     Disclosure Statement/ Solicitation/ Voting          900.00      $900,000       741.80    $719,348.00
 012     Employee Matters                                     40.00       $40,000       47.50     $52,498.00
 013     Exclusivity                                         150.00      $150,000       134.80    $126,931.50
         Executory Contracts/ Leases/ Real Property/
 014                                                         180.00      $180,000       269.80    $277,572.50
         Other 365 Matters
         General Case Strategy (Including Team and
 015                                                         650.00      $650,000       409.90    $465,433.00
         Client Calls)
 016     Hearing and Court Matters                           250.00      $250,000       127.20    $108,056.00
 017     Hedges and Related Matters                           20.00       $20,000       16.60     $17,061.00
         Insurance, Surety Bond, & Letters of Credit
 018                                                         375.00      $300,000       488.40    $401,918.00
         Matters
 019     Non-Bankruptcy Litigation                           320.00      $320,000       47.10      $43,115.00
 020     Non-Working Travel                                   0.00        $0.00         0.00         $0.00
         Regulatory / Decommissioning / Environmental
 021                                                         40.00       $50,000        38.10      $50,973.00
         Matters
 022     Retention / Fee Applications: OCPs                  10.00       $10,000        12.10      $10,023.00
         Retention / Fee Applications: Non-Weil
 023                                                         50.00       $50,000        66.90      $55,175.50
         Professionals
 024     Retention / Fee Applications: Weil                  60.00       $50,000        104.30     $85,247.00
 025     Royalty/ JIB Matters                                20.00       $20,000        106.60     $97,744.00
         Secured Creditor Issues / Meetings /
 026                                                         275.00      $300,000       606.40    $700,759.00
         Communications
 027     Tax Matters                                         375.00      $425,000       349.20    $395,453.50
 028     Unsecured Creditors/ Meetings / Communications       25.00       $30,000       32.00     $37,605.00
         U.S. Trustee / MORs/ Schedules & SOFAs/
 029                                                         25.00       $25,000        29.10      $26,137.50
         2015.3 Report
 030     Utility Matters/ Adequate Assurance                  0.00         $0.00         0.00         $0.00
 031     Apache Definitive Documentation                     400.00      $425,000       390.20     $443,561.50
 032     Plugging & Abandonment Liabilities                   5.00         $5,000        2.40       $2,733.00
Total:                                                      6,715.00   $6,965,000.00   6,541.00   $6,689,175.00
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                                Exhibit H

 STAFFING PLAN OF WEIL, GOTSHAL & MANGES LLP PROVIDED TO THE
DEBTORS FOR THE PERIOD NOVEMBER 1, 2020 THROUGH JANUARY 31, 2021

                                NUMBER OF
                               TIMEKEEPERS
    CATEGORY OF
                          PROJECTED TO WORK ON   AVERAGE HOURLY RATE
    TIMEKEEPER
                            THE MATTER DURING
                            THE BUDGET PERIOD
         Partners                  20                    $1,375.00

         Counsel                    5                    $1,100.00

       Associates                  35                     $885.00

   Paralegals and Other
                                   20                     $375.00
     Non-Legal Staff
